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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

    TWINSTRAND BIOSCIENCES, INC., &
    UNIVERSITY OF WASHINGTON,
                                                         C.A. No. 21-1126-LPS
                   Plaintiffs and Counterclaim
                   Defendants,                           JURY TRIAL DEMANDED

            v.

    GUARDANT HEALTH, INC.,

                   Defendant and Counterclaim
                   Plaintiff.


    DEFENDANT GUARDANT HEALTH, INC.’S AMENDED ANSWER, AFFIRMATIVE
         DEFENSES, AND COUNTERCLAIMS TO PLAINTIFFS’ COMPLAINT

          Defendant Guardant Health, Inc. (“Guardant”) hereby answers the Complaint filed by

   TwinStrand Biosciences, Inc., (“TwinStrand”) and University of Washington (“UW,” collectively,

   “Plaintiffs”) on August 3, 2021, and submits its affirmative answers and counterclaims as follows.

          Except as expressly admitted, Guardant denies each and every allegation of Plaintiffs’

   Complaint. Guardant’s specific responses to the numbered allegations are set forth below and

   correspond to the numbered allegations in Plaintiffs’ Complaint. The opening paragraph of

   Plaintiffs’ Complaint does not appear to contain any allegations requiring a response. To the extent

   the opening paragraph contains allegations directed to Guardant, Guardant admits that Plaintiffs’

   pleading purports to be a complaint for patent infringement, but denies that Guardant has infringed

   any valid and enforceable patent claim or that Plaintiffs are entitled to any relief.

          For ease of reference, Guardant has included the headings from Plaintiffs’ Compliant. The

   inclusion of these headings is not an admission by Guardant and to the extent that any heading or
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   other non-numbered statement in Plaintiffs’ Complaint contains or implies any allegations,

   Guardant denies each and every allegation therein.

                                     NATURE OF THE ACTION

          1.      Guardant admits that the Complaint alleges infringement of United States Patent

   Nos. 10,287,631 (“the ’631 patent”); 10,689,699 (“the ’699 patent”); 10,752,951 (“the ’951

   patent”); and 10,760,127 (“the ’127 patent”) (collectively, “the Asserted Patents”) under the patent

   laws of the United States, 35 U.S.C. § 1, et seq. Guardant denies that Plaintiffs are entitled to any

   relief, including any relief under the patent laws of the United States. Except as expressly admitted

   herein, Guardant denies each and every allegation contained in Paragraph 1 of the Complaint.


                                            THE PARTIES

          2.      Guardant is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph, and therefore denies them.

          3.      Guardant is without knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph, and therefore denies them.

          4.      Guardant admits that Guardant is a corporation organized and existing under the

   laws of the State of Delaware with its principal place of business at 505 Penobscot Dr., Redwood

   City, CA 94063.

                                    JURISDICTION AND VENUE

          5.      Guardant admits that Plaintiffs purport to assert claims for patent infringement but

   denies that Guardant has infringed any valid and enforceable patent claim or that Plaintiffs are

   entitled to any relief. For purposes of this action, Guardant admits that this Court has jurisdiction

   over the subject matter of this action under 28 U.S.C. §§ 1331, 1338(a), 2201, and 2202 to the




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   extent that Plaintiffs are able to demonstrate a proper claim for patent infringement. The remaining

   allegations of this paragraph are legal conclusions, and, on that basis, Guardant denies them.

           6.     Guardant admits that it is a Delaware corporation. For purposes of this action,

   Guardant does not contest personal jurisdiction. The remaining allegations of this paragraph are

   legal conclusions, and, on that basis, Guardant denies them.

           7.     For purposes of this action, Guardant does not contest personal jurisdiction, but it

   denies committing, directly or indirectly, any acts of infringement. The remaining allegations of

   this paragraph are legal conclusions, and, on that basis, Guardant denies them.

           8.     Guardant admits that Guardant is a Delaware corporation. For purposes of this

   action, Guardant does not contest that venue is proper but denies that venue is convenient. The

   remaining allegations of this paragraph are legal conclusions, and, on that basis, Guardant denies

   them.

                                      THE PATENTS-IN-SUIT

           9.     Guardant admits that a document that purports to be a copy of the ʼ631 patent is

   attached as Exhibit A to the Complaint. On its face, Exhibit A appears to be entitled “Methods of

   Lowering the Error Rate of Massively Parallel DNA Sequencing Using Duplex Consensus

   Sequencing” and appears to have been issued on May 14, 2019. Guardant denies the remaining

   allegations of this paragraph.

           10.    Guardant admits that a document that purports to be a copy of the ʼ699 patent is

   attached as Exhibit B to the Complaint. On its face, Exhibit B appears to be entitled “Methods of

   Lowering the Error Rate of Massively Parallel DNA Sequencing Using Duplex Consensus

   Sequencing” and appears to have been issued on June 23, 2020. Guardant denies the remaining

   allegations of this paragraph.



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          11.     Guardant admits that a document that purports to be a copy of the ʼ951 patent is

   attached as Exhibit C to the Complaint. On its face, Exhibit C appears to be entitled “Methods of

   Lowering the Error Rate of Massively Parallel DNA Sequencing Using Duplex Consensus

   Sequencing” and appears to have been issued on August 25, 2020. Guardant denies the remaining

   allegations of this paragraph.

          12.     Guardant admits that a document that purports to be a copy of the ʼ127 patent is

   attached as Exhibit D to the Complaint. On its face, Exhibit D appears to be entitled “Methods of

   Lowering the Error Rate of Massively Parallel DNA Sequencing Using Duplex Consensus

   Sequencing” and appears to have been issued on September 1, 2020. Guardant denies the

   remaining allegations of this paragraph.

                                           BACKGROUND

          13.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states it lacks knowledge or information sufficient to form a belief about the truth of the

   allegations and thus denies the same.

          14.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states it lacks knowledge or information sufficient to form a belief about the truth of the

   allegations and thus denies the same.

          A.      The Need for High-Accuracy, High-Throughput Sequencing Methods

          15.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states that detecting genetic mutations is important in the diagnosis of cancers and other



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   illnesses. As to the remaining allegations, Guardant states that it lacks knowledge or information

   sufficient to form a belief about the truth of the allegations and thus denies the same.

          16.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states that a sequencing method known as Sanger sequencing was used in some manner

   as part of the Human Genome Project. As to the remaining allegations, Guardant states that it

   lacks knowledge or information sufficient to form a belief about the truth of the allegations and

   thus denies the same.

          17.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states that, in general, some forms of Next Generation Sequencing (“NGS”) have the

   ability to sequence DNA molecules at a much higher throughput compared to older sequencing

   methods. As to the remaining allegations, Guardant states that it lacks knowledge or information

   sufficient to form a belief about the truth of the allegations and thus denies the same.

          18.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states that it lacks knowledge or information sufficient to form a belief about the truth

   of the allegations and thus denies the same.

          B.      The Inventions

          19.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states that it lacks knowledge or information sufficient to form a belief about the truth

   of the allegations and thus denies the same.



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          20.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states that it lacks knowledge or information sufficient to form a belief about the truth

   of the allegations and thus denies the same.

          21.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states that it lacks knowledge or information sufficient to form a belief about the truth

   of the allegations and thus denies the same.

          22.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states that it lacks knowledge or information sufficient to form a belief about the truth

   of the allegations and thus denies the same.

          23.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states that it lacks knowledge or information sufficient to form a belief about the truth

   of the allegations and thus denies the same.

          24.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states that it lacks knowledge or information sufficient to form a belief about the truth

   of the allegations and thus denies the same.

          25.     The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,




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   Guardant states that it lacks knowledge or information sufficient to form a belief about the truth

   of the allegations and thus denies the same.

            26.      The allegations made in this paragraph do not appear to be directed at Guardant,

   and therefore no response is required. To the extent any response may be required, however,

   Guardant states that it lacks knowledge or information sufficient to form a belief about the truth

   of the allegations and thus denies the same.

            C.       Guardant’s [Alleged] Willful Infringement of the Asserted Patents

                     1.       Guardant’s [Alleged] infringing products and services

            27.      Guardant admits that it began selling certain products and services under the

   moniker “Digital Sequencing Technology” within the United States in 2014. Guardant admits that

   a document that purports to be a copy of the Guardant IPO Prospectus is attached as Exhibit F to

   the Complaint. Except as expressly admitted, Guardant denies the allegations of this paragraph.

            28.      Guardant admits that it sells diagnostic kits with the names Guardant360 lab

   developed test (“LDT”), Guardant360 CDx (“CDx”), GuardantOMNI (“Omni”), Guardant Reveal

   (“Reveal”), Guardant360 Response, and Guardant360 TissueNext (collectively, the “Guardant

   Kits”).1 Guardant admits that it has customers outside of the United States. Except as expressly

   admitted, Guardant denies the allegations of this paragraph.

            29.      Guardant admits that in 2017, Dr. Rick Lanman was Guardant’s Chief Medical

   Officer. As to the remaining allegations of this paragraph, Guardant is without knowledge or

   information sufficient at this time to form a belief as to the truth of the allegations of this paragraph

   and, on that basis, denies them.



   1
     Guardant’s LUNAR-2 is currently still in clinical trial which is recruiting through the end of 2021 (Evaluation of
   the ctDNA LUNAR test in an Average Patient Screening Episode or “ECLIPSE” trial). See ClinicalTraial.gov
   Identified: NCT04136002.Data from this trial will support submission to the FDA.

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          30.        Guardant admits that it provides certain data services to its customers and that it

   uses the terms Guardant Connect and GuardantINFORM (collectively, “the Guardant Services”)

   to describe some of its services. Except as expressly admitted, Guardant denies the allegations of

   this paragraph.

                     2.     Guardant [allegedly] knew or should have known of the Asserted
                     Patents and that its conduct amounted to infringement

          31.        Guardant admits that it attempted to license certain technology from UW. Except

   as expressly admitted, Guardant denies the allegations of this paragraph.

          32.        Guardant admits that during prosecution of its patents, it has cited certain patents

   and publications to the United States Patent & Trademark Office (“PTO”), including certain

   Asserted Patents and published patent applications belonging to Plaintiffs. Guardant further

   admits that during prosecution of its patents, the PTO has referenced certain Asserted Patents

   belonging to Plaintiffs. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          33.        Guardant admits that the Petition for Inter Partes Review in Foundation Medicine,

   Inc. v. Guardant Health, Inc., PTAB IPR2019-00130, alleged that U.S. Patent No. 9,752,188 is

   purportedly prior art to Guardant’s U.S. Patent 9,598,731. Guardant also admits that the Petition

   for Inter Partes Review in Foundation Medicine, Inc. v. Guardant Health, Inc., PTAB IPR2019-

   00653, alleged that U.S. Patent No. 9,752,188 is purportedly prior art to Guardant’s U.S. Patent

   9,843,822. Guardant further admits that the Petition in PTAB IPR2019-00653 includes U.S.

   Provisional Application 61/613,413 as EX1012. Except as expressly admitted, Guardant denies

   the allegations of this paragraph.




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             34.   Guardant admits that PCT application 2013/032665 was cited in EPO proceedings

   regarding Guardant’s European Patent Nos. 3087204, 3378952, and 2893040. Except as expressly

   admitted, Guardant denies the allegations of this paragraph.

             35.   Guardant denies the allegations of this paragraph.

                                               COUNT I

                    ([Alleged] Direct Infringement of U.S. Patent No. 10,287,631)

             36.   Guardant incorporates its responses to Paragraphs 1-35 above, as if fully set forth

   herein.

             37.   Guardant admits that this paragraph recites claim 1 of the ’631 Patent as set forth

   in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this paragraph.

             38.   Guardant denies the allegations of this paragraph.

             39.   Guardant admits that this paragraph recites a portion of the preamble from claim 1

   of the ’631 Patent as set forth in Exhibit A. Except as expressly admitted, Guardant denies the

   allegations of this paragraph.

             40.   Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

             41.   Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

             42.   Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.



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          43.    Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          44.    Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          45.    Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          46.    Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          47.    Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          48.    Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          49.    Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.




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             50.   Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

             51.   Guardant admits that this paragraph recites a portion of claim 1 of the ’631 Patent

   as set forth in Exhibit A. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

             52.   Guardant denies the allegations of this paragraph.

             53.   Guardant denies the allegations of this paragraph.

             54.   Guardant denies the allegations of this paragraph.

             55.   Guardant denies the allegations of this paragraph.

             56.   Guardant denies the allegations of this paragraph.

                                               COUNT II

                       ([Alleged] Infringement of U.S. Patent No. 10,689,699)

             57.   Guardant incorporates its responses to Paragraphs 1-56 above, as if fully set forth

   herein.

             58.   Guardant admits that this paragraph recites claim 1 of the ’699 Patent as set forth

   in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this paragraph.

             59.   Guardant denies the allegations of this paragraph.

             60.   Guardant admits that this paragraph recites a portion of claim 1 of the ’699 Patent

   as set forth in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.




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          61.    Guardant admits that this paragraph recites a portion of claim 1 of the ’699 Patent

   as set forth in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          62.    Guardant admits that this paragraph recites a portion of claim 1 of the ’699 Patent

   as set forth in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          63.    Guardant admits that this paragraph recites a portion of claim 1 of the ’699 Patent

   as set forth in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          64.    Guardant admits that this paragraph recites a portion of claim 1 of the ’699 Patent

   as set forth in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          65.    Guardant admits that this paragraph recites a portion of claim 1 of the ’699 Patent

   as set forth in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          66.    Guardant admits that this paragraph recites a portion of claim 1 of the ’699 Patent

   as set forth in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          67.    Guardant admits that this paragraph recites a portion of claim 1 of the ’699 Patent

   as set forth in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.




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             68.   Guardant admits that this paragraph recites a portion of claim 1 of the ’699 Patent

   as set forth in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

             69.   Guardant admits that this paragraph recites a portion of claim 1 of the ’699 Patent

   as set forth in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

             70.   Guardant admits that this paragraph recites a portion of claim 1 of the ’699 Patent

   as set forth in Exhibit B. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

             71.   Guardant denies the allegations of this paragraph.

             72.   Guardant denies the allegations of this paragraph.

             73.   Guardant denies the allegations of this paragraph.

             74.   Guardant denies the allegations of this paragraph.

             75.   Guardant denies the allegations of this paragraph.

                                              COUNT III

                       ([Alleged] Infringement of U.S. Patent No. 10,752,951)

             76.   Guardant incorporates its responses to Paragraphs 1-75 above, as if fully set forth

   herein.

             77.   Guardant admits that this paragraph recites claim 1 of the ’951 Patent as set forth

   in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this paragraph.

             78.   Guardant denies the allegations of this paragraph.




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          79.    Guardant admits that this paragraph recites a portion of claim 1 of the ’951 Patent

   as set forth in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          80.    Guardant admits that this paragraph recites a portion of claim 1 of the ’951 Patent

   as set forth in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          81.    Guardant admits that this paragraph recites a portion of claim 1 of the ’951 Patent

   as set forth in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          82.    Guardant admits that this paragraph recites a portion of claim 1 of the ’951 Patent

   as set forth in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          83.    Guardant admits that this paragraph recites a portion of claim 1 of the ’951 Patent

   as set forth in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          84.    Guardant admits that this paragraph recites a portion of claim 1 of the ’951 Patent

   as set forth in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          85.    Guardant admits that this paragraph recites a portion of claim 1 of the ’951 Patent

   as set forth in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.




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             86.   Guardant admits that this paragraph recites a portion of claim 1 of the ’951 Patent

   as set forth in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

             87.   Guardant admits that this paragraph recites a portion of claim 1 of the ’951 Patent

   as set forth in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

             88.   Guardant admits that this paragraph recites a portion of claim 1 of the ’951 Patent

   as set forth in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

             89.   Guardant admits that this paragraph recites a portion of claim 1 of the ’951 Patent

   as set forth in Exhibit C. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

             90.   Guardant denies the allegations of this paragraph.

             91.   Guardant denies the allegations of this paragraph.

             92.   Guardant denies the allegations of this paragraph.

             93.   Guardant denies the allegations of this paragraph.

             94.   Guardant denies the allegations of this paragraph.

                                              COUNT IV

                       ([Alleged] Infringement of U.S. Patent No. 10,760,127)

             95.   Guardant incorporates its responses to Paragraphs 1-94 above, as if fully set forth

   herein.

             96.   Guardant admits that this paragraph recites claim 1 of the ’127 Patent as set forth

   in Exhibit D. Except as expressly admitted, Guardant denies the allegations of this paragraph.



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          97.    Guardant denies the allegations of this paragraph.

          98.    Guardant admits that this paragraph recites a portion of claim 1 of the ’127 Patent

   as set forth in Exhibit D. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          99.    Guardant admits that this paragraph recites a portion of claim 1 of the ’127 Patent

   as set forth in Exhibit D. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          100.   Guardant admits that this paragraph recites a portion of claim 1 of the ’127 Patent

   as set forth in Exhibit D. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          101.   Guardant admits that this paragraph recites a portion of claim 1 of the ’127 Patent

   as set forth in Exhibit D. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          102.   Guardant admits that this paragraph recites a portion of claim 1 of the ’127 Patent

   as set forth in Exhibit D. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          103.   Guardant admits that this paragraph recites a portion of claim 1 of the ’127 Patent

   as set forth in Exhibit D. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          104.   Guardant admits that this paragraph recites a portion of claim 1 of the ’127 Patent

   as set forth in Exhibit D. Except as expressly admitted, Guardant denies the allegations of this

   paragraph.

          105.   Guardant denies the allegations of this paragraph.



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          106.    Guardant denies the allegations of this paragraph.

          107.    Guardant denies the allegations of this paragraph.

          108.    Guardant denies the allegations of this paragraph.

          109.    Guardant denies the allegations of this paragraph.

                                           JURY DEMAND

          110.    This paragraph sets forth Plaintiffs’ request for a jury trial to which no response is

   required.

                                       PRAYER FOR RELIEF

          These paragraphs set forth the statement of relief requested by Plaintiffs, to which no

   response is required. To the extent a response is required, Guardant denies that Plaintiffs are

   entitled to any relief whatsoever, either legal or equitable, from Guardant or this Court. Further,

   Guardant denies that this is an exceptional case such that an award of attorneys’ fees to Plaintiffs

   or an award of enhanced damages.

                             GENERAL DENIAL AND NON-WAIVER

          Each and every allegation in the Complaint not specifically admitted is denied, and the

   failure to deny a specific allegation, or assert a specific defense, shall not be deemed to be an

   admission of an allegation or a waiver of a defense.

                                    AFFIRMATIVE DEFENSES

          Without assuming any burden of proof that it would not otherwise bear, Guardant asserts

   the following separate and additional defenses, all of which are pled in the alternative, and none

   of which constitutes an admission that Guardant is in any way liable to Plaintiffs, that Plaintiffs

   have been or will be injured or damaged in any way, or that Plaintiffs are entitled to any relief

   whatsoever. In addition to the affirmative defenses described below, subject to its responses



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   above, Guardant specifically reserves all rights to allege additional affirmative defenses that

   become known through the course of discovery.

                                 FIRST AFFIRMATIVE DEFENSE
                                     (Failure to State a Claim)

          Plaintiffs’ claims are barred wholly or in part because Plaintiffs have failed to state any

   claim upon which relief can be granted with respect to Guardant with sufficient specificity and/or

   factual support to put Guardant on notice as to the claim being made and therefore failing to state

   a claim on which relief can be granted.

          Plaintiffs fail to state a claim for willful infringement for failing to identify any pre-suit

   factual basis that Guardant had actual knowledge of or was willfully blind to any of the Asserted

   Patents or Guardant’s alleged infringement, and for failing to plausibly allege facts sufficient to

   show that this is an egregious case of culpable behavior warranting enhanced damages.

                                SECOND AFFIRMATIVE DEFENSE
                                       (No Infringement)

          Guardant has not, does not, and will not directly or indirectly infringe any valid and

   enforceable claim of the ’631 patent, the ’699 patent, the ’951 patent, and the ’127 patent in any

   manner under 35 U.S.C. §§ 271(a), (b), (c), (f), and/or (g) literally or under the doctrine of

   equivalents, willfully or otherwise. Guardant has not performed any act and is not proposing to

   perform any act in violation of any rights validly belonging to Plaintiffs.

          Certain claims of the ’631 patent, the ’699 patent, the ’951 patent, and the ’127 patent recite

   methods and require, for direct infringement, Guardant to perform every recited step of every

   asserted claim according to the limitations described in each asserted claim. Neither Guardant

   itself, nor any Guardant employee, performs all of the required steps of the asserted method claims

   while using any accused product.



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                                  THIRD AFFIRMATIVE DEFENSE
                                           (Invalidity)

          One or more claims of the ’631 patent, the ’699 patent, the ’951 patent, and the ’127 patent

   are invalid for failure to comply with one or more of the conditions of patentability set forth in

   Title 35 of the United States Code including, but not limited to, Sections 101, 102, 103 and/or 112.

                                  FOURTH AFFIRMATIVE DEFENSE
                                      (Inventorship/Derivation)

          One or more claims of the ’631 patent, the ’699 patent, the ’951 patent, and the ’127 patent

   are invalid for failure to name the correct inventors pursuant to 35 U.S.C. § 116 and/or the claims

   were derived from the inventions of others.

                                   FIFTH AFFIRMATIVE DEFENSE
                                            (Standing)

          One or both of the Plaintiffs lack standing to assert one or more of the Asserted Patents.

                                   SIXTH AFFIRMATIVE DEFENSE
                                     (Prosecution History Estoppel)

          One or more claims of the ’631 patent, the ’699 patent, the ’951 patent, and the ’127 patent

   are and were limited by amendment, the prior art and/or by the statements made during prosecution

   before the PTO such that Plaintiffs are now estopped and/or otherwise precluded from maintaining

   that such claims of the ’631 patent, the ’699 patent, the ’951 patent, and the ’127 patent are of

   sufficient scope to cover the products accused of infringement in this case either literally or under

   the doctrine of equivalents.




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                                 SEVENTH AFFIRMATIVE DEFENSE
                                        (Waiver, Estoppel)

            Plaintiffs’ Complaint is barred by the doctrines of waiver and/or estoppel due to Plaintiffs’

   actions before, during, and after prosecution of the Asserted Patents, and Plaintiffs’ conduct before

   filing this action and in filing of this action.

                                  EIGHTH AFFIRMATIVE DEFENSE
                                         (Unclean Hands)

            Plaintiffs’ Complaint is barred by the doctrine of unclean hands as a result of the acts,

   conduct, and omissions of Plaintiffs or others that are attributable to Plaintiffs before, during, and

   after prosecution of the Asserted Patent and Plaintiffs’ conduct before filing this action and in

   filing of this action.

                                   NINTH AFFIRMATIVE DEFENSE
                                      (Notice, Damages and Cost)

            Plaintiffs’ claims for damages are statutorily limited under 35 U.S.C. § 286 and 287.

            Plaintiffs are barred from recovering costs in connection with this action under 35 U.S.C.

   § 288.

            Plaintiffs’ claims for relief are limited by the doctrines of full compensation, exhaustion,

   first sale and Plaintiffs are not entitled to double recovery.

                                  TENTH AFFIRMATIVE DEFENSE
                                    (No Right to Injunctive Relief)

            Plaintiffs are not entitled to preliminary or permanent injunctive relief, inter alia, because

   any injury to Plaintiffs is not immediate nor irreparable, and Plaintiffs have an adequate monetary

   remedy for any claim that they can prove, subject to any applicable defense and/or set-off.




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                              ELEVENTH AFFIRMATIVE DEFENSE
                              (No Pre-Suit Damages, Failure to Mark)

          Plaintiffs’ claims for pre-suit damages are limited by any noncompliance with the marking

   and actual notice requirements set forth in 35 U.S.C. § 287(a).

                            TWELFTH AFFIRMATIVE DEFENSE
             (Failure to Comply With Patentability Requirements of 35 U.S.C. § 135)

          One or more claims of the ’699 patent are invalid for failure to comply with one or more

   of the conditions of patentability set forth in 35 U.S.C. § 135.

                         RESERVATION OF AFFIRMATIVE DEFENSES

          As Guardant’s investigation is ongoing and discovery has not yet been completed,

   Guardant is without complete information regarding the existence or non-existence of other facts

   or acts that would constitute a defense to the purported causes of action in Plaintiffs’ Complaint.

   Accordingly, Guardant reserves the right to assert any other defenses that discovery may reveal.




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                                         COUNTERCLAIMS

          Guardant submits the following counterclaims against TwinStrand Biosciences, Inc. and

   University of Washington:

                                               PARTIES

          111.    Counterclaim-Plaintiff Guardant is a corporation organized and existing under the

   laws of the State of Delaware and having its principal place of business at 505 Penobscot Dr.,

   Redwood City, CA, 94063.

          112.    As alleged in Plaintiffs’ Complaint, TwinStrand Biosciences, Inc. (“TwinStrand”)

   is a corporation organized and existing under the laws of the State of Delaware and having its

   principal place of business at 3131 Elliott Ave., Suite 750, Seattle, WA, 98121.

          113.    As alleged in Plaintiffs’ Complaint, University of Washington (“UW”) is a public

   institution of higher education and an agency of the State of Washington and its principal place of

   business is in Seattle, Washington.

          114.    Guardant’s Counterclaims arise under the patent laws of the United States, Title 35

   of the United States Code.       This Court has subject matter jurisdiction over Guardant’s

   Counterclaims under 28 U.S.C. §§ 1331 and 1338.

          115.    Venue in this case is proper in this District because TwinStrand is a Delaware

   corporation, and by virtue of TwinStrand’s filing of the Complaint in this District, which gave rise

   to these Counterclaims. Plaintiffs contend in their Complaint that venue is proper in this District.

                                     FACTUAL BACKGROUND

          116.    Guardant is one of the leading precision oncology companies dedicated to helping

   conquer cancer with data obtained through its proprietary blood tests. Guardant was founded in

   2012 by Helmy Eltoukhy, PhD and AmirAli Talasaz, PhD, pioneers in DNA sequencing and



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   cancer diagnostics. Since its inception, Guardant has focused its expertise on the development of

   liquid biopsy cancer assays, including Guardant360® CDx—the first FDA-approved liquid biopsy

   test. To date, over 150,000 patients have benefitted from Guardant’s tests. Guardant’s expansive

   portfolio of IP includes nearly 500 patents and applications worldwide.

          117.    A liquid biopsy is the sampling and analysis of non-solid biological tissue, as

   opposed to a conventional biopsy which involves the removal of tissue for examination and is

   often conducted surgically or with a needle.          Guardant was one of the first companies to

   commercialize a comprehensive liquid biopsy assay to identify genomic biomarkers, which are

   biological molecules found in blood or tissues that may be indicative of a disease such as cancer

   using “cell-free DNA,” or “cfDNA,” taken from simple, non-invasive blood draws. Guardant’s

   liquid biopsy technology enables patients, including those who are ineligible for traditional tissue

   biopsies, to obtain detailed genomic information about their cancer. This allows physicians to

   select the best treatment, while also helping to detect cancer early.

          118.    For example, the Guardant360® CDx test is a liquid biopsy assay that provides

   clinically actionable sequence information from cfDNA molecules obtained from a routine blood

   draw taken from cancer patients. The assay sequences a panel of genes commonly mutated in

   cancer and detects genetic aberrations such as single nucleotide variants, indels (insertions or

   deletions of nucleotides), gene fusions, and copy number variants. Guardant360® CDx provides

   highly sensitive and accurate detection of genetic aberrations using innovative laboratory

   preparation techniques for cfDNA in concert with bioinformatic algorithms specific for single

   nucleotide variants, indels, gene fusions, and copy number variants.

          119.    In addition to the FDA-approved Guardant360® CDx test, Guardant currently

   offers six other tests: the Guardant360® laboratory developed test (LDT), Guardant360



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   Response™, Guardant360 TissueNext™, GuardantOMNI®, Guardant Reveal™, and LUNAR-22

   tests. These tests span the cancer care continuum, including early cancer screening, treatment

   selection, and residual disease and recurrence monitoring.

              120.     Guardant’s liquid biopsy technology has several additional advantages when

   compared to traditional tissue biopsies. Traditional tumor-based genotyping assays are limited in

   the number of genes interrogated, require invasive biopsies, and often take upwards of 15 days

   before results are generated. Guardant’s liquid biopsies are less painful and do not require hospital

   services. This technology is also less expensive and generates results in a shorter period of time.

   Further, since cfDNA samples are heterogenous samples, they allow for the detection of mutations

   that may be missed by a tissue biopsy sample.

              121.     As alleged in Plaintiffs’ Complaint, TwinStrand markets and sells kits and services

   under its TwinStrand Duplex Sequencing™ technology platform.                     TwinStrand’s “platform

   includes          access        to       a       secure        cloud-based   bioinformatics   pipeline.”

   (https://TwinStrandbio.com/technology/).

              122.     As alleged in Plaintiffs’ Complaint, Guardant is informed and believes and thereon

   alleges that TwinStrand exclusively licenses the Asserted TwinStrand Patents from UW.

              123.     As alleged in Plaintiffs’ Complaint, Guardant is informed and believes and thereon

   alleges that UW is the owner of the Asserted TwinStrand Patents.

              124.     TwinStrand was founded in 2015. Since its inception, TwinStrand has targeted

   Guardant and its innovative technologies with threats of patent infringement and more. Over the

   course of its interactions, TwinStrand has continuously exaggerated the scope of its patent

   portfolio and thwarted Guardant’s business opportunities with other licensors. TwinStrand has



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       Guardant’s LUNAR-2 is currently in clinical trials.

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   also shamelessly attacked Guardant’s patent portfolio by copying Guardant’s own patent claims

   into TwinStrand patent applications—misrepresenting TwinStrand employees and founders as the

   true inventors of the claimed inventions—and licensing the same to Guardant’s competitors in an

   attempt to usurp Guardant’s patent rights and undermine Guardant’s success in helping to establish

   the market for liquid biopsies. While doing so, TwinStrand has refused to acknowledge that its

   claims of infringement lack merit or, alternatively, consider reasonable royalty terms to resolve

   the ongoing dispute.

          125.    Further, TwinStrand’s egregious behavior of copying patent claims of other

   companies into its own patent applications is not just limited to Guardant. TwinStrand has taken

   the same approach with other competitors—attempting to secure additional patents to which they

   are not entitled. Not only has TwinStrand copied Guardant and others’ patent claims, it has also

   failed to dutifully inform the PTO of its claim copying in violation of 35 U.S.C. §§ 101, 115, and/or

   135(b)(1).

          126.    In early 2015, and well into the development of its own proprietary liquid biopsy

   technology, Guardant became aware of patent applications filed by UW concerning a different

   method of performing sequence analysis. These applications later issued as U.S. Patent Nos.

   9,752,188 (the “’188 Patent”) and 10,287,631 (the “’631 Patent”) (collectively the “UW Licensed

   Patents”). Neither of the UW Licensed Patents include claims directed to liquid biopsy, and none

   of the claims recite “cfDNA” or equivalents thereof. TwinStrand did not pursue claims to cfDNA

   until 2019. Although Guardant had developed its own, proprietary technology for analysis of

   cfDNA, it was interested in exploring a potential collaboration and/or licensing arrangement with

   UW concerning the alternative methodology.




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          127.    While these discussions and negotiations were ongoing, the named inventors of the

   TwinStrand Patents formed TwinStrand and immediately entered into negotiations with UW to

   acquire an exclusive license to the very patent applications that Guardant was discussing.

   Ultimately, UW gave TwinStrand the exclusive rights to the patent applications and UW informed

   Guardant that any further discussions regarding the patent applications should be had with

   TwinStrand.

          128.    As UW instructed, Guardant commenced discussions with TwinStrand, but almost

   immediately those discussions grew aggressive and unproductive. In contrast to the negotiations

   that had taken place with UW, Guardant found itself being accused of practicing the methodology

   set forth in the patent applications and TwinStrand sought to extract a large royalty-based payment

   on Guardant products that did not use the subject methodology.

          129.    Through a series of long, drawn-out negotiations and discussions, TwinStrand

   attempted to coax Guardant into disclosing its own proprietary technology under the auspices of

   negotiating a license. Despite numerous meetings and discussions, TwinStrand maintained its

   assertion that Guardant infringed the UW Licensed Patents. However, Guardant and TwinStrand

   were unable to reach a licensing agreement because TwinStrand’s demands for royalties proved

   untenable.

                              THE GUARDANT PATENTS-IN-SUIT

          130.    On October 13, 2020, the United States Patent and Trademark Office lawfully

   issued U.S. Patent No. 10,801,063 (the “’063 patent”), entitled “Methods and systems for detecting

   genetic variants.” A true and correct copy of the patent is attached hereto as Exhibit A.




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          131.    On January 12, 2021, the United States Patent and Trademark Office lawfully

   issued U.S. Patent No. 10,889,858 (the “’858 patent”), entitled “Methods and systems for detecting

   genetic variants.” A true and correct copy of the patent is attached hereto as Exhibit B.

          132.    On September 14, 2021, the United States Patent and Trademark Office lawfully

   issued U.S. Patent No. 11,118,221 (the “’221 patent”), entitled “Methods and systems for detecting

   genetic variants.” A true and correct copy of the patent is attached hereto as Exhibit C.

          133.    On October 19, 2021, the United States Patent and Trademark Office lawfully

   issued U.S. Patent No. 11,149,306 (the “’306 patent”), entitled “Methods and systems for detecting

   genetic variants.” A true and correct copy of the patent is attached hereto as Exhibit D.

           TWINSTRAND’S INFRINGEMENT OF THE GUARDANT PATENTS-IN-SUIT

          134.    TwinStrand manufactures and sells kits that utilize TwinStrand Duplex

   Sequencing™.     (https://TwinStrandbio.com/technology/).      According to public information,

   TwinStrand Duplex Sequencing separately and uniquely labels complementary strands of

   individual DNA molecules:




   (https://TwinStrandbio.com/wp-content/uploads/TwinStrand-Technology-Brochure-10JUL2020
   OL-WEB.pdf)


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          135.   TwinStrand’s tagging method allows one strand of each molecule to be

   differentiated from the other strand of that molecule, which allows for the comparison of

   complementary strands of the original target molecule so that true mutations, which occur on both

   strands, can be distinguished from sequencing errors, which occur on only one strand:




   (https://TwinStrandbio.com/wp-content/uploads/TwinStrand-Technology-Brochure-10JUL2020
   OL-WEB.pdf)

          136.   According to public information, TwinStrand Duplex Sequencing™ removes the

   noise found in standard NGS sequencing, where every position in the sequenced gene appears

   mutated in 0.1 to 1% of the molecules sequenced, allowing for the identification of low-frequency

   true mutations:




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   (https://TwinStrandbio.com/wp-content/uploads/TwinStrand-Technology-Brochure-10JUL2020
   OL-WEB.pdf)

          137.    TwinStrand also offers a bioinformatics solution “[p]urpose-built for DuplexSeq

   data” which “[p]rocesses raw read files to produce duplex error-corrected sequences, variant calls,

   and assay quality metrics.” (https://TwinStrandbio.com/technology/).

          138.    Based on TwinStrand’s promotional materials, TwinStrand Duplex Sequencing™

   may be used in liquid biopsies:




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   (https://TwinStrandbio.com/wp-content/uploads/TwinStrand-Technology-Brochure-10JUL2020
   OL-WEB.pdf)

          139.    By performing TwinStrand Duplex Sequencing™ and utilizing its bioinformatics

   solution, and by instructing its customers to do the same, TwinStrand has infringed at least claim

   15 of the ’063 patent, claim 1 of the ’858 patent, claim 1 of the ’212 patent, and claim 17 of the

   ’306 patent. See, e.g., Complaint at ¶26 (“TwinStrand provides services for nucleic acid analysis

   using the patented Duplex Sequencing methods and provides customers with Duplex Sequencing

   kits. These kits include a DNA library prep kit containing the reagents, adapters, and other

   components necessary to practice its Duplex Sequencing process. TwinStrand also provides

   access to bioinformatics software to process raw sequence read files and produce error-corrected

   sequences according to the patented processes.”).




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          140.    In addition to infringing Guardant’s patents, TwinStrand also has engaged in a

   predatory practice of copying Guardant’s and other third parties’ intellectual property and claiming

   it as its own. Specifically, TwinStrand has copied patent claims from Guardant’s and other third

   parties’ patents and patent applications into its own patent applications without permission and in

   violation of 35 U.S.C. §§ 101, 115, and/or 135(b)(1).

          141.    For example, TwinStrand substantially copied patent claims from Guardant’s U.S.

   Patent No. 9,834,822 (“’822 Patent”) into the application that issued as TwinStrand’s U.S. Patent

   No. 10,689,699, which it is now asserting against Guardant.

          142.    Guardant’s ’822 Patent titled “Systems and methods to detect rare mutations and

   copy number variation” issued on December 5, 2017 and names AmirAli Talasaz as inventor of

   the claimed subject matter.

          143.    TwinStrand did not notify the Examiner at any point during the prosecution of the

   ’699 patent that the claims were copied.

          144.    TwinStrand copied the claims of Guardant’s ’822 patent more than one year after

   the ʼ822 patent issued, thereby violating 35 U.S.C. § 135(b)(1).

          145.    TwinStrand also copied patent claims from Guardant Patent Application

   WO2015/100427 into TwinStrand’s Application No. 16/514,931 (which issued as U.S. Patent No.

   10,752,951). The ’951 Patent is now being asserted against Guardant.

          146.    The named inventors of the subject matter of Guardant’s Patent Application

   WO2015/100427 are Helmy Eltoukhy and AmirAli Talasaz.

          147.    TwinStrand did not notify the Examiner at any point during the prosecution of the

   ’951 Patent that the claims were copied.




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           148.    TwinStrand has also copied claims from Illumina Inc. and Grail patents and

   applications.

                                              COUNT I
                   (Direct and Indirect Infringement of U.S. Patent No. 10,801,063)

           149.    Guardant re-alleges and incorporated by reference Paragraphs 1-148 above, as if

   fully set forth herein.

           150.    The ’063 patent is directed to a method of determining genetic variants. Claim 15

   of the ’063 patent recites:


           15. A method for classifying unique sequencing reads generated from sequencing reads

           derived from double-stranded cell-free deoxyribonucleic acid (cfDNA) molecules from a

           bodily fluid sample of a human subject, the method comprising:

                   (a) tagging a population of double-stranded cfDNA molecules from the bodily

                   fluid sample with more than a 10× molar excess of adapters comprising molecular

                   barcodes, relative to the double-stranded cfDNA molecules in the population, to

                   generate tagged parent polynucleotides,

                             wherein at least 20% of the cfDNA molecules are ligated with the adapters

                             comprising the molecular barcodes at both ends of a molecule of the

                             double-stranded cfDNA molecules;

                   (b) amplifying a plurality of the tagged parent polynucleotides to produce progeny

                   polynucleotides;

                   (c) sequencing a plurality of the progeny polynucleotides to produce a set of

                   sequencing reads;

                   (d) mapping a plurality of sequencing reads from the set of sequencing reads to a

                   reference sequence;

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                  (e) determining unique sequencing reads from the set of mapped sequencing reads

                  based at least on the molecular barcode sequences, wherein a unique sequencing

                  read from among the unique sequencing reads is representative of a tagged parent

                  polynucleotide from among the tagged parent polynucleotides; and

                  (f) classifying one or more of the unique sequencing reads as either (1) paired

                  sequences generated from sequencing reads representing a Watson strand and a

                  Crick strand of a tagged parent polynucleotide or (2) unpaired sequences

                  generated from sequencing reads representing only one of either a Watson strand

                  or a Crick strand of a tagged parent polynucleotide.

          151.    TwinStrand has willfully infringed and continues to infringe at least claim 15 of the

   ’063 patent, literally or under the doctrine of equivalents, by performing the methods of the ’063

   patent in the United States. It is expected that discovery likely will reveal additional evidentiary

   support that TwinStrand performs the above limitations of the ’063 patent and Guardant reserves

   the right to supplement the evidence cited below as additional evidentiary support is obtained.

          152.    TwinStrand practices the preamble of claim 15 of the ’063 patent, which provides

   “[a] method for classifying unique sequencing reads generated from sequencing reads derived

   from double-stranded cell-free deoxyribonucleic acid (cfDNA) molecules from a bodily fluid

   sample of a human subject.” For example, TwinStrand’s Technology Brochure describes the

   sequencing methods used by TwinStrand to reveal mutations in double-stranded DNA, including

   cfDNA. See “TwinStrand Duplex Sequencing™” (“TS Brochure”) at 1-2 (Exhibit E).

   Applications described in the TS Brochure include “liquid biopsies” for early detection of cancer

   and residual disease monitoring. Id. at 2.




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          153.    Dr. Jesse Salk, CEO and Founder of TwinStrand, has made several public

   statements regarding TwinStrand’s sequencing methods including that “TwinStrand has developed

   [] a high-accuracy NGS technique called duplex sequencing, which uses both strands of a DNA

   molecule in the sequencing process to check for errors.” See “Sequencing Stars Urge Exploration

   of New Dimensions,” Genetic Engineering and Biotechnology News (April 1, 2020) (“GEB April

   2020”) at 5 (Exhibit F); “Liquid Biopsies Generate Ample Insights from Sparse Clues;” Genetic

   Engineering and Biotechnology News (August 2, 2020) (“GEB August 2020”) at 2 (Exhibit G).

   Dr. Salk has also stated that TwinStrand is “offering duplex sequencing kits and bioinformatics

   analysis” to consumers. See GEB August 2020 at 3.

          154.    TwinStrand has also posted several publications on its website describing the

   methods used by TwinStrand. For example, TwinStrand describes an ultra-sensitive sequencing

   method for cancer detection in cfDNA. See Salk, et al., “Ultra-Sensitive TP53 Sequencing for

   Cancer Detection Reveals Progressive Clonal Selection in Normal Tissues over a Century of

   Human Lifespan,” Cell Reports, 28(1): 132-144 (July 2, 2019) (“Salk 2019”) (Exhibit H). This

   article states “[t]o explore the abundance of TP53 mutations in liquid biopsies of clinical interest,

   we analyzed plasma-derived cell-free DNA (cfDNA) and peritoneal fluid from the 46-year old

   woman” and “[t]he fact that we identified one pathogenic mutation commonly found in cancers

   within cfDNA from a healthy woman (Figure S10; Table 5) raises important concerns over

   specificity in cancer-screening studies based on mutation detection in plasma.” Id. at 141, FIGS.

   S10(A), S10(B) and S6.

          155.    Further, in its Complaint, TwinStrand itself acknowledges that it practices the

   methods of the Asserted Patents, which include claims directed to methods for classifying unique




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   sequencing reads generated from sequencing reads derived from double-stranded polynucleotide

   molecules. See e.g., Compl. at ¶¶ 13, 18, 20, 22; ’951 patent at claims 1, 11, and 18.

          156.    TwinStrand also practices the “tagging” step of claim 15 of the ’063 patent. This

   element recites “(a) tagging a population of double-stranded cfDNA molecules from the bodily

   fluid sample with more than a 10× molar excess of adapters comprising molecular barcodes,

   relative to the double-stranded cfDNA molecules in the population, to generate tagged parent

   polynucleotides, wherein at least 20% of the cfDNA molecules are ligated with the adapters

   comprising the molecular barcodes at both ends of a molecule of the double-stranded cfDNA

   molecules.” For example, the TS Brochure shows tagging of DNA molecules:




   (TS Brochure at 1).

          157.    Further, publications posted on TwinStrand’s website show TwinStrand uses

   tagging of a population of double-stranded cfDNA molecules from the bodily fluid sample with

   more than a 10× molar excess of adapters comprising molecular barcodes relative to the double-

   stranded cfDNA molecules in the population wherein at least 20% of the cfDNA molecules are


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   ligated with adaptors. See TS Brochure at 1; Salk 2019 at e2. For example, Kennedy, et. al.

   describes methods used by TwinStrand, including the disclosure that during tagging a “20-fold

   molar excess of adapter relative to DNA” is used. See Kennedy, et. al., “Detecting ultralow-

   frequency mutations by Duplex Sequencing.” Nature Protocols 9(11): 2586-2606 (October 9,

   2014) (“Kennedy 2014”) at Abstract, FIG. 1, 2586, 2591, 2597 (Exhibit I). Kennedy further

   instructs in its methods during ligation to “calculate the amount of DS adaptors…that will be

   needed for a 20:1 molar excess relative to the total DNA concentration in the final ligation

   reaction.” Id. at 2597; see also Compl. at ¶¶ 20, 22; ’951 patent at claim 1; 16:38-46; FIG. 1.

          158.      TwinStrand also practices the “amplifying” step of claim 15 of the ’063 patent.

   This element recites “(b) amplifying a plurality of the tagged parent polynucleotides to produce

   progeny polynucleotides.” For example, TwinStrand advertises that “each strand of original

   molecule is uniquely labeled such that both ends can be tracked throughout amplification and

   sequencing for subsequent error detection.” TS Brochure at 1; see also TwinStrand’s website at 7

   (Exhibit J); Kennedy 2014 at Abstract (“Individually labeled strands are then PCR-amplified,

   creating sequence ‘families’ that share a common tag sequence derived from the two original

   complementary strands.”); Salk 2019 at e2 (“After initial amplification, 120 bp biotinylated

   oligonucleotide probes (Integrated DNA Technologies, Coralville, Iowa) were used to capture the

   coding region of TP53”); Compl. at ¶ 20; ’951 patent at FIG. 1. Amplification includes PCR

   amplification.

          159.      TwinStrand also practices the “sequencing” step of claim 15 of the ’063 patent.

   This element recites “(c) sequencing a plurality of the progeny polynucleotides to produce a set of

   sequencing reads.” For example, TwinStrand’s method is a sequencing method that produces a

   set of sequencing reads:



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   TS Brochure at 1.




   TwinStrand Website at 6; see also id. at 4, 13; Kennedy 2014 at FIG. 1(C), 2587; Compl. at 26

   (“TwinStrand provides services for nucleic acid analysis using the patented Duplex Sequencing

   methods and provides customers with Duplex Sequencing kits. These kits include a DNA library

   prep kit containing the reagents, adapters, and other components necessary to practice its Duplex

   Sequencing process. TwinStrand also provides access to bioinformatics software to process raw




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   sequence read files and produce error-corrected sequences according to the patented processes”);

   ’951 patent at claim 1; FIG. 1.

          160.    TwinStrand also practices the “mapping” step of claim 15 of the ’063 patent. This

   element recites “(d) mapping a plurality of sequencing reads from the set of sequencing reads to a

   reference sequence.” For example, Kennedy 2014 describes “a comprehensive computational

   pipeline that we use to process and analyze our data (Fig. 2). The computational workflow for DS

   uses a number of standard software packages to process the sequencing data; these include the

   Burrows-Wheeler Aligner (BWA)37, SAMtools38, Picard and the Genome Analysis Toolkit

   (GATK)39,40, as well as several custom Python scripts. The computational workflow is broken

   down into three major steps: (i) Tag parsing and initial alignment; (ii) SSCS assembly; and (iii)

   DCS assembly. The latest version of the DS software package can be downloaded from

   https://github.com/loeblab/Duplex-Sequencing.” Kennedy 2014 at 2589. “The reads are then

   aligned to the reference genome using BWA37. After alignment, reads sharing the same tag

   sequence and genomic coordinates are identified and grouped to form ‘tag families’ with a python

   script called ‘ConsensusMaker.py’. Id. at 2589, 2601; see also ’951 patent at claim 1 and 13;

   28:43-45 (“Initial nucleotides represent raw reads that contain the expected fixed adapter sequence

   following 12 degenerate nucleotides and map to the reference genome.”).

          161.    TwinStrand also practices the “determining unique sequencing reads” step of claim

   15 of the ’063 patent. This element recites “determining unique sequencing reads from the set of

   mapped sequencing reads based at least on the molecular barcode sequences, wherein a unique

   sequencing read from among the unique sequencing reads is representative of a tagged parent

   polynucleotide from among the tagged parent polynucleotides.” For example, TwinStrand’s




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   method produces duplex consensus sequences resulting from the comparison of sequencing reads

   from tagged parent polynucleotides:




    TS Brochure at 1; see also Kennedy 2014 at Abstract (“Individually labeled strands are then PCR-

    amplified, creating sequence ‘families’ that share a common tag sequence derived from the two

    original complementary strands. Mutations are scored only if the variant is present in the PCR

    families arising from both of the two DNA strands. Here we provide a detailed protocol for

    efficient DS adapter synthesis, library preparation and target enrichment, as well as an overview

    of the data analysis workflow.”), FIG. 1; Salk 2019 at e2 (“Sequencing reads were aligned to hg19

    then reads sharing a common molecular tag in both strand orientations were grouped and

    assembled into an error-corrected Duplex Consensus Sequence.”).

          162.    TwinStrand also practices the “classifying unique sequencing reads” step of claim

   15 of the ’063 patent. This element recites “classifying one or more of the unique sequencing

   reads as either (1) paired sequences generated from sequencing reads representing a Watson strand

                                                  39
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   and a Crick strand of a tagged parent polynucleotide or (2) unpaired sequences generated from

   sequencing reads representing only one of either a Watson strand or a Crick strand of a tagged

   parent polynucleotide.” For example, TwinStrand’s method involves the step of tagging both the

   Watson and Crick strand of the parent polynucleotides. See ¶¶ 156-157 above.

          163.    Further, in its Complaint, TwinStrand admits that it practices the claims of the

   Asserted Patents, including claims 1 and 27 of the ’951 patent. Claim 1 of the ’951 patent recites

   “(d) sorting sequence reads into paired sequence reads and unpaired sequence reads, wherein (i)

   each paired read corresponds to sequence reads generated from a first tagged strand and a second

   differently tagged complementary strand derived from an original parent polynucleotide molecule

   in said set, and (ii) each unpaired read represents a first tagged strand having no second differently

   tagged complementary strand derived from an original parent polynucleotide molecule represented

   among said sequence reads in said set of sequence reads; and (e) quantifying at least two of (i) said

   paired sequence reads, (ii) said unpaired sequence reads, (iii) read depth of said paired sequence

   reads and (iv) read depth of said unpaired sequence reads.” Claim 27 recites “The method of claim

   1, further comprising quantifying a total number of original double-stranded polynucleotide

   molecules or genome-equivalents in the sample based at least in part on said quantification of said

   paired sequence reads and said unpaired sequence reads.”

          164.    By making, selling, and offering to sell kits that utilize TwinStrand Duplex

   Sequencing™ with the express purpose of encouraging, aiding and/or causing such customers to

   practice at least claim 15 of the ’063 patent, TwinStrand willfully indirectly infringes at least claim

   15 of the ’063 patent through inducement and contributory infringement under 35 U.S.C. § 271 et

   seq. TwinStrand’s indirect infringement has and continues to be willful.




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           165.    Upon information and belief, TwinStrand has been aware of the existence of the

   ’063 patent since at least October 13, 2020 and/or has willfully blinded itself as to the infringing

   nature of its activity since the issuance of the ’063 patent.

           166.    By its actions, TwinStrand’s infringement of the ’063 patent has irreparably harmed

   Guardant. Unless TwinStrand’s infringing acts are enjoined by this Court, Guardant will continue

   to suffer additional irreparable injury. Guardant has no adequate remedy at law.

           167.    By its actions, TwinStrand’s infringement of the ’063 patent has damaged and

   continues to damage Guardant in an amount yet to be determined of at least a reasonable royalty

   and/or lost profits that Guardant would have made but for TwinStrand’s infringing acts.

                                             COUNT II
                  (Direct and Indirect Infringement of U.S. Patent No. 10,889,858)

           168.    Guardant re-alleges and incorporated by reference Paragraphs 1-167 above, as if

   fully set forth herein.

           169.    The ’858 patent is directed to a method of determining genetic variants. Claim 1

   of the patent recites:


           1. A method for analyzing sequencing reads of double-stranded cell-free

           deoxyribonucleic acid (cfDNA) molecules from a sample of a subject, comprising:

                   (a) tagging a plurality of double-stranded cfDNA molecules from a population of

                   double-stranded cfDNA molecules from the sample with a set of library adaptors

                   comprising a plurality of molecular barcodes to generate tagged parent

                   polynucleotides,

                             wherein the tagging comprises ligating a plurality of library adaptors from

                             the set of library adaptors to the plurality of double-stranded cfDNA

                             molecules from the population using more than a 10× molar excess of

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                          library adaptors as compared to the double-stranded cfDNA molecules of

                          the population;

                          wherein the tagging produces at least 20% of the double-stranded cfDNA

                          molecules of the populations having library adaptors ligated to both ends

                          of a molecule of the double-stranded cfDNA molecules;

                  (b) amplifying a plurality of the tagged parent polynucleotides to produce progeny

                  polynucleotides;

                  (c) sequencing a plurality of the progeny polynucleotides to produce a set of

                  sequencing reads; and

                  (d) determining, based at least on sequence information from the molecular

                  barcodes, individual double-stranded cfDNA molecules from among the tagged

                  parent polynucleotides for which either (1) both a Watson strand and a Crick

                  strand of the individual double-stranded cfDNA molecule are detected or (2) only

                  one of a Watson strand or a Crick strand of the individual double-stranded cfDNA

                  molecule is detected from a plurality of sequencing reads from the set of

                  sequencing reads.

          170.    TwinStrand has willfully infringed and continues to infringe at least claim 1 of the

   ’858 patent, literally or under the doctrine of equivalents, by performing the methods of the ’858

   patent in the United States. It is expected that discovery likely will reveal additional evidentiary

   support that TwinStrand performs the above limitations of the ’858 patent and Guardant reserves

   the right to supplement the evidence cited below as additional evidentiary support is obtained.

          171.    TwinStrand practices the preamble of claim 1 of the ’858 patent, which provides

   “[a] method for analyzing sequencing reads of double-stranded cell-free deoxyribonucleic acid



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   (cfDNA) molecules from a sample of a subject.”          For example, TwinStrand’s Technology

   Brochure describes the sequencing methods used by TwinStrand to reveal mutations in double-

   stranded DNA, including cfDNA. See TS Brochure at 1-2.

          172.    Dr. Jesse Salk, CEO and Founder of TwinStrand, has made several public

   statements regarding TwinStrand’s sequencing methods including that “TwinStrand has developed

   [] a high-accuracy NGS technique called duplex sequencing, which uses both strands of a DNA

   molecule in the sequencing process to check for errors.” See GEB April 2020 at 5 (Exhibit F);

   GEB August 2020” at 2 (Exhibit G). Dr. Salk has also stated that TwinStrand is “offering duplex

   sequencing kits and bioinformatics analysis” to consumers. See GEB August 2020 at 3.

          173.    TwinStrand has also posted several publications on its website describing the

   methods used by TwinStrand. For example, TwinStrand describes an ultra-sensitive sequencing

   method for cancer detection in cfDNA. See Salk 2019 (Exhibit H). This article states “[t]o explore

   the abundance of TP53 mutations in liquid biopsies of clinical interest, we analyzed plasma-

   derived cell-free DNA (cfDNA) and peritoneal fluid from the 46-year old woman” and “[t]he fact

   that we identified one pathogenic mutation commonly found in cancers within cfDNA from a

   healthy woman (Figure S10; Table 5) raises important concerns over specificity in cancer-

   screening studies based on mutation detection in plasma.” Id. at 141.

          174.    Further, in its Complaint, TwinStrand itself acknowledges that it practices the

   methods of the Asserted Patents, which include claims directed to methods for classifying unique

   sequencing reads generated from sequencing reads derived from double-stranded polynucleotide

   molecules. See e.g., Compl. at ¶¶ 20, 22; ’951 patent at claims 1, 11, and 18.

          175.    TwinStrand also practices the “tagging” step of claim 1 of the ’858 patent. This

   element recites “(a) tagging a plurality of double-stranded cfDNA molecules from a population of



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   double-stranded cfDNA molecules from the sample with a set of library adaptors comprising a

   plurality of molecular barcodes to generate tagged parent polynucleotides.” For example:




   TS Brochure at 1.

          176.    This “tagging” step includes tagging cfDNA. For example, “[t]o explore the

   abundance of TP53 mutations in liquid biopsies of clinical interest, we analyzed plasma-derived

   cell-free DNA (cfDNA) and peritoneal fluid from the 46-year old woman. TP53 mutations were

   identified in both, with cancer-like features similar to what was observed for solid tissue biopsies,

   UL, and leukocytes (Figure S10).” Salk 2019 at 141; see also id. at e2. Kennedy further instructs

   in its methods during ligation to “calculate the amount of DS adaptors…that will be needed for a

   20:1 molar excess relative to the total DNA concentration in the final ligation reaction.” Kennedy

   2014 at 2597; Abstract, FIG. 1, 2586, 2591, 2597; see also Compl. at ¶¶ 20, 22; ’951 patent at

   claims 1 and 21-25; 16:38-46 (“The step of tagging of both strands of individual duplex DNA may


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   be accomplished by ligation of degenerate or semi-degenerate complementary DNA sequences; as

   the complementary nature of the two strands of such a tag sequence allows the two molecules to

   be grouped together for error correction.”); FIG. 1.

          177.    TwinStrand also practices the “tagging” step of claim 1 of the ’858 patent “wherein

   the tagging comprises ligating a plurality of library adaptors from the set of library adaptors to the

   plurality of double-stranded cfDNA molecules from the population using more than a 10 times

   molar excess of library adaptors as compared to the double-stranded cfDNA molecules of the

   population.” For example, TwinStrand uses ligating a plurality of library adaptors from the set of

   library adaptors to the plurality of double-stranded cfDNA molecules from the population using

   more than a 10 times molar excess of library adaptors as compared to the double-stranded cfDNA

   molecules of the population. See Salk 2019 at e2; Kennedy 2014 at Abstract, FIG. 1, 2591 (“To

   minimize the presence of adapter dimers, we determine the molar concentration of DNA molecules

   in the preligated DNA library on an Agilent TapeStation 2200 or Bioanalyzer 2100 and then use

   20-fold molar excess of adapter relative to DNA.”); 2597 (“By using the amount of sample DNA

   determined in Step 28, calculate the amount of DS adaptors…that will be needed for a 20:1 molar

   excess relative to the total DNA concentration in the final ligation reaction.”); see also Compl. at

   ¶¶ 20, 22; ’951 patent at claims 1 and 21-25; 16:38-46; FIG. 1.

          178.    TwinStrand also practices the “tagging” step of claim 1 of the ’858 patent “wherein

   the tagging produces at least 20% of the double-stranded cfDNA molecules of the populations

   having library adaptors ligated to both ends of a molecule of the double-stranded cfDNA

   molecules.” See Kennedy 2014 at 2587, 2590 (end repair and dA-tailing); FIG.1.

          179.    TwinStrand also practices the “amplifying” step of claim 1 of the ’858 patent. This

   element recites “(b) amplifying a plurality of the tagged parent polynucleotides to produce progeny



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   polynucleotides.” For example, TwinStrand advertises that “each strand of original molecule is

   uniquely labeled such that both ends can be tracked throughout amplification and sequencing for

   subsequent error detection.” TS Brochure at 1; see also TwinStrand’s website at 7; Kennedy 2014

   at Abstract (“Individually labeled strands are then PCR-amplified, creating sequence ‘families’

   that share a common tag sequence derived from the two original complementary strands.”); Salk

   2019 at e2 (“After initial amplification, 120 bp biotinylated oligonucleotide probes (Integrated

   DNA Technologies, Coralville, Iowa) were used to capture the coding region of TP53”); Compl.

   at ¶ 20; ’951 patent at FIG. 1. Amplification includes PCR amplification.

          180.    TwinStrand also practices the “sequencing” step of claim 1 of the ’858 patent. This

   element recites “(c) sequencing a plurality of the progeny polynucleotides to produce a set of

   sequencing reads.” For example, TwinStrand’s method is a sequencing method that produces a

   set of sequencing reads:




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   TS Brochure at 1.




   TwinStrand Website at 6; see also id. at 4, 13; Kennedy 2014 at FIG. 1(C), 2587; Compl. at 26

   (“TwinStrand provides services for nucleic acid analysis using the patented Duplex Sequencing

   methods and provides customers with Duplex Sequencing kits. These kits include a DNA library

   prep kit containing the reagents, adapters, and other components necessary to practice its Duplex

   Sequencing process. TwinStrand also provides access to bioinformatics software to process raw

   sequence read files and produce error-corrected sequences according to the patented processes”);

   ’951 patent at claim 1; FIG. 1.

          181.    TwinStrand also practices the “determining individual double-stranded cfDNA

   molecules from among the tagged parent polynucleotides” step of claim 1 of the ’858 patent. This

   element recites “(d) determining, based at least on sequence information from the molecular

   barcodes, individual double-stranded cfDNA molecules from among the tagged parent

   polynucleotides for which either (1) both a Watson strand and a Crick strand of the individual

   double-stranded cfDNA molecule are detected or (2) only one of a Watson strand or a Crick strand

   of the individual double-stranded cfDNA molecule is detected from a plurality of sequencing reads

   from the set of sequencing reads.” For example, TwinStrand’s method produces duplex consensus

   sequences resulting from the comparison of sequencing reads from tagged parent polynucleotides:




                                                  47
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    TS Brochure at 1; see also Kennedy 2014 at Abstract (“Individually labeled strands are then PCR-

    amplified, creating sequence ‘families’ that share a common tag sequence derived from the two

    original complementary strands. Mutations are scored only if the variant is present in the PCR

    families arising from both of the two DNA strands. Here we provide a detailed protocol for

    efficient DS adapter synthesis, library preparation and target enrichment, as well as an overview

    of the data analysis workflow.”), FIG. 1; Salk 2019 at e2 (“Sequencing reads were aligned to hg19

    then reads sharing a common molecular tag in both strand orientations were grouped and

    assembled into an error-corrected Duplex Consensus Sequence.”).

          182.    Further, in its Complaint, TwinStrand admits that it practices the claims of the

   Asserted Patents, including claims 1 and 27 of the ’951 patent. Claim 1 of the ’951 patent recites

   “(d) sorting sequence reads into paired sequence reads and unpaired sequence reads, wherein (i)

   each paired read corresponds to sequence reads generated from a first tagged strand and a second

   differently tagged complementary strand derived from an original parent polynucleotide molecule

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   in said set, and (ii) each unpaired read represents a first tagged strand having no second differently

   tagged complementary strand derived from an original parent polynucleotide molecule represented

   among said sequence reads in said set of sequence reads; and (e) quantifying at least two of (i) said

   paired sequence reads, (ii) said unpaired sequence reads, (iii) read depth of said paired sequence

   reads and (iv) read depth of said unpaired sequence reads.” Claim 27 recites “The method of claim

   1, further comprising quantifying a total number of original double-stranded polynucleotide

   molecules or genome-equivalents in the sample based at least in part on said quantification of said

   paired sequence reads and said unpaired sequence reads.”

          183.    By making, selling, and offering to sell kits that utilize TwinStrand Duplex

   Sequencing™ with the express purpose of encouraging, aiding and/or causing such customers to

   practice at least claim 1 of the ’858 patent, TwinStrand willfully indirectly infringes at least claim

   1 of the ’858 patent through inducement and contributory infringement under 35 U.S.C. § 271 et

   seq. TwinStrand’s indirect infringement has and continues to be willful.

          184.    Upon information and belief, TwinStrand has been aware of the existence of the

   ’858 patent since at least January 12, 2021 and/or has willfully blinded itself as to the infringing

   nature of its activity since the issuance of the ’858 patent.

          185.    By its actions, TwinStrand’s infringement of the ’858 patent has irreparably harmed

   Guardant. Unless TwinStrand’s infringing acts are enjoined by this Court, Guardant will continue

   to suffer additional irreparable injury. Guardant has no adequate remedy at law.

          186.    By its actions, TwinStrand’s infringement of the ’858 patent has damaged and

   continues to damage Guardant in an amount yet to be determined of at least a reasonable royalty

   and/or lost profits that Guardant would have made but for TwinStrand’s infringing acts.

                                             COUNT III
                  (Direct and Indirect Infringement of U.S. Patent No. 11,118,221)


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           187.    Guardant re-alleges and incorporated by reference Paragraphs 1-186 above, as if

   fully set forth herein.

           188.    The ’221 patent is directed to a method of determining genetic variants. Claim 1

   of the patent recites:


           1. A method, comprising:

                   (a) providing a population of cell-free deoxyribonucleic acid (cfDNA) molecules

                   having first and second complementary strands;

                   (b) tagging a plurality of the cfDNA molecules of the population with a set of

                   duplex tags comprising molecular barcodes from a set of molecular barcodes to

                   produce tagged parent polynucleotides, wherein duplex tags from the set of

                   duplex tags are attached at both ends of a molecule of the plurality of the cfDNA

                   molecules;

                   (c) amplifying a plurality of the tagged parent polynucleotides to produce

                   amplified progeny polynucleotides;

                   (d) sequencing at least a subset of the amplified progeny polynucleotides to

                   produce a set of sequence reads; and

                   (e) reducing or tracking redundancy in the set of sequence reads using at least

                   sequence information from the molecular barcodes to generate a plurality of

                   consensus sequences representative of original cfDNA molecules from among the

                   tagged parent polynucleotides, wherein the plurality of consensus sequences is

                   generated from (i) paired reads corresponding to sequence reads generated from a

                   first tagged strand and a second tagged complementary strand derived from a

                   cfDNA molecule from among the tagged parent polynucleotides, and (ii) unpaired

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                  reads corresponding to sequence reads generated from a first tagged strand having

                  no second tagged complementary strand derived from a cfDNA molecule from

                  among the tagged parent polynucleotides.

          189.    TwinStrand has willfully infringed and continues to infringe at least claim 1 of the

   ’221 patent, literally or under the doctrine of equivalents, by performing the methods of the ’221

   patent in the United States. It is expected that discovery likely will reveal additional evidentiary

   support that TwinStrand performs the above limitations of the ’221 patent and Guardant reserves

   the right to supplement the evidence cited below as additional evidentiary support is obtained.

          190.    TwinStrand practices the preamble of claim 1 of the ’221 patent, which provides “a

   method.” For example, TwinStrand’s Technology Brochure describes the methods used by

   TwinStrand to reveal true mutations in double-stranded DNA, including cfDNA. TS Brochure at

   1-2.

          191.    Dr. Jesse Salk, CEO and Founder of TwinStrand, has made several public

   statements regarding TwinStrand’s sequencing methods including that “TwinStrand has developed

   [] a high-accuracy NGS technique called duplex sequencing, which uses both strands of a DNA

   molecule in the sequencing process to check for errors.” See GEB April 2020” at 5 (Exhibit F);

   GEB August 2020 at 2 (Exhibit G). Dr. Salk has also stated that TwinStrand is “offering duplex

   sequencing kits and bioinformatics analysis” to consumers. See GEB August 2020 at 3.

          192.    TwinStrand has also posted several publications on its website describing the

   methods used by TwinStrand. For example, TwinStrand describes an ultra-sensitive sequencing

   method for cancer detection in cfDNA. See Salk 2019 (Exhibit H). This article states “[t]o explore

   the abundance of TP53 mutations in liquid biopsies of clinical interest, we analyzed plasma-

   derived cell-free DNA (cfDNA) and peritoneal fluid from the 46-year old woman” and “[t]he fact



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   that we identified one pathogenic mutation commonly found in cancers within cfDNA from a

   healthy woman (Figure S10; Table 5) raises important concerns over specificity in cancer-

   screening studies based on mutation detection in plasma.” Id. at 141.

          193.    Further, in its Complaint, TwinStrand itself acknowledges that it practices the

   methods of the Asserted Patents, which include claims directed to methods for classifying unique

   sequencing reads generated from sequencing reads derived from double-stranded polynucleotide

   molecules. See e.g., Compl. at ¶¶ 20, 22; ’951 patent at claim 1.

          194.    TwinStrand also practices the “providing a cfDNA molecule” step of claim 1 of the

   ’221 patent. This element recites “(a) providing a population of cell-free deoxyribonucleic acid

   (cfDNA) molecules having first and second complementary strands.” For example, TwinStrand

   describes an ultra-sensitive sequencing method for cancer detection in cfDNA. See Salk 2019 at

   141.

          195.    Further, in its Complaint, TwinStrand itself acknowledges that it practices the

   methods of the Asserted Patents, which include claims directed to a method comprising “(a)

   providing a sample comprising a set of double-stranded polynucleotide molecules, each double-

   stranded polynucleotide molecule including first and second complementary strands.” ’951 patent

   at claim 1.

          196.    TwinStrand also practices the “tagging” step of claim 1 of the ’221 patent. This

   element recites “(b) tagging a plurality of the cfDNA molecules of the population with a set of

   duplex tags comprising molecular barcodes from a set of molecular barcodes to produce tagged

   parent polynucleotides, wherein duplex tags from the set of duplex tags are attached at both ends

   of a molecule of the plurality of the cfDNA molecules.” For example:




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   TS Brochure at 1.

          197.    This “tagging” step includes tagging cfDNA. For example, “[t]o explore the

   abundance of TP53 mutations in liquid biopsies of clinical interest, we analyzed plasma-derived

   cell-free DNA (cfDNA) and peritoneal fluid from the 46-year old woman. T P53 mutations were

   identified in both, with cancer-like features similar to what was observed for solid tissue biopsies,

   UL, and leukocytes (Figure S10).” Salk 2019 at 141; see also id. at e2.

          198.    Additional publications posted on TwinStrand’s website also show TwinStrand

   uses tagging of a population of double-stranded DNA molecules. See Kennedy 2014 at Abstract,

   FIG. 1 (“(b) Ligation of the adaptors to the sample DNA results in a unique 12-nt tag sequence on

   both ends of the molecule,”); 2586, 2591, 2597; see also Compl. at ¶¶ 20, 22; ’951 patent at claims

   1 and 21-25; 16:38-46 (“The step of tagging of both strands of individual duplex DNA may be

   accomplished by ligation of degenerate or semi-degenerate complementary DNA sequences; as


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   the complementary nature of the two strands of such a tag sequence allows the two molecules to

   be grouped together for error correction.”); FIG. 1.

          199.      TwinStrand also practices the “amplifying” step of claim 1 of the ’221 patent. This

   element recites “amplifying a plurality of the tagged parent polynucleotides to produce amplified

   progeny polynucleotides.” For example, TwinStrand advertises that “each strand of original

   molecule is uniquely labeled such that both ends can be tracked throughout amplification and

   sequencing for subsequent error detection.” TS Brochure at 1; see also TwinStrand’s website at

   7; Kennedy 2014 at Abstract (“Individually labeled strands are then PCR-amplified, creating

   sequence ‘families’ that share a common tag sequence derived from the two original

   complementary strands.”); Salk 2019 at e2 (“After initial amplification, 120 bp biotinylated

   oligonucleotide probes (Integrated DNA Technologies, Coralville, Iowa) were used to capture the

   coding region of TP53”); Compl. at ¶ 20; ’951 patent at FIG. 1. Amplification includes PCR

   amplification.

          200.      TwinStrand also practices the “sequencing” step of claim 1 of the ’221 patent. This

   element recites “(d) sequencing at least a subset of the amplified progeny polynucleotides to

   produce a set of sequence reads.” For example, TwinStrand’s method is a sequencing method that

   produces a set of sequencing reads:




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   TS Brochure at 1.




   TwinStrand Website at 6; see also id. at 4, 13; Kennedy 2014 at FIG. 1(C), 2587; Compl. at 26

   (“TwinStrand provides services for nucleic acid analysis using the patented Duplex Sequencing

   methods and provides customers with Duplex Sequencing kits. These kits include a DNA library

   prep kit containing the reagents, adapters, and other components necessary to practice its Duplex

   Sequencing process. TwinStrand also provides access to bioinformatics software to process raw




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   sequence read files and produce error-corrected sequences according to the patented processes”);

   ’951 patent at claim 1; FIG. 1.

          201.    TwinStrand also practices the “reducing or tracking redundancy in the set of

   sequencing reads” step of claim 1 of the ’221 patent. This element recites “(e) reducing or tracking

   redundancy in the set of sequence reads using at least sequence information from the molecular

   barcodes to generate a plurality of consensus sequences representative of original cfDNA

   molecules from among the tagged parent polynucleotides, wherein the plurality of consensus

   sequences is generated from (i) paired reads corresponding to sequence reads generated from a

   first tagged strand and a second tagged complementary strand derived from a cfDNA molecule

   from among the tagged parent polynucleotides, and (ii) unpaired reads corresponding to sequence

   reads generated from a first tagged strand having no second tagged complementary strand derived

   from a cfDNA molecule from among the tagged parent polynucleotides.”

          202.    For example, in its Complaint TwinStrand admits that it practices the methods of

   the Asserted Patents, including claim 1 of the ’951 patent, which recites “(d) sorting sequence

   reads into paired sequence reads and unpaired sequence reads, wherein (i) each paired read

   corresponds to sequence reads generated from a first tagged strand and a second differently tagged

   complementary strand derived from an original parent polynucleotide molecule in said set, and (ii)

   each unpaired read represents a first tagged strand having no second differently tagged

   complementary strand derived from an original parent polynucleotide molecule represented among

   said sequence reads in said set of sequence reads; and (e) quantifying at least two of (i) said paired

   sequence reads, (ii) said unpaired sequence reads, (iii) read depth of said paired sequence reads

   and (iv) read depth of said unpaired sequence reads.” See also claims 2-4 and 27-28.




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           203.    By making, selling, and offering to sell kits that utilize TwinStrand Duplex

   Sequencing™ with the express purpose of encouraging, aiding and/or causing such customers to

   practice at least claim 1 of the ’221 patent, TwinStrand indirectly infringes at least claim 1 of the

   ’221 patent through inducement and contributory infringement under 35 U.S.C. § 271 et seq.

   TwinStrand’s indirect infringement has and continues to be willful.

           204.    Upon information and belief, TwinStrand has been aware of the existence of the

   ’221 patent since at least September 14, 2021 and/or has willfully blinded itself as to the infringing

   nature of its activity since the issuance of the ’221 patent.

           205.    By its actions, TwinStrand’s infringement of the ’221 patent has irreparably harmed

   Guardant. Unless TwinStrand’s infringing acts are enjoined by this Court, Guardant will continue

   to suffer additional irreparable injury. Guardant has no adequate remedy at law.

           206.    By its actions, TwinStrand’s infringement of the ’221 patent has damaged and

   continues to damage Guardant in an amount yet to be determined of at least a reasonable royalty

   and/or lost profits that Guardant would have made but for TwinStrand’s infringing acts.

                                             COUNT IV
                  (Direct and Indirect Infringement of U.S. Patent No. 11,149,306)

           207.    Guardant re-alleges and incorporated by reference Paragraphs 1-206 above, as if

   fully set forth herein.

           208.    The ’306 patent is directed to a method of determining genetic variants. Claim 17

   of the patent recites:


           17. A method, comprising:

                   (a) tagging a population of double-stranded cell-free deoxyribonucleic acid

                   (cfDNA) molecules obtained or derived from a sample of a subject with a set of

                   tags comprising molecular barcodes to produce tagged parent polynucleotides;

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                    (b) amplifying a plurality of the tagged parent polynucleotides to produce

                    amplified progeny polynucleotides;

                    (c) sequencing at least a subset of the amplified progeny polynucleotides to

                    produce a set of sequence reads; and

                    (d) sorting a plurality of sequence reads from the set of sequence reads into (i)

                    families comprising paired reads corresponding to sequence reads generated from

                    a first tagged strand and a second tagged complementary strand derived from

                    double-stranded cfDNA molecules from among the tagged parent

                    polynucleotides, and (ii) families comprising unpaired reads corresponding to

                    sequence reads generated from a first tagged strand having no second tagged

                    complementary strand derived from double-stranded cfDNA molecules from

                    among the tagged parent polynucleotides.

             209.   TwinStrand has willfully infringed and continues to infringe at least claim 17 of the

   ’306 patent, literally or under the doctrine of equivalents, by performing the methods of the ’306

   patent in the United States. It is expected that discovery likely will reveal additional evidentiary

   support that TwinStrand performs the above limitations of the ’306 patent and Guardant reserves

   the right to supplement the evidence cited below as additional evidentiary support is obtained.

             210.   TwinStrand practices the preamble of claim 17 of the ’306 patent, which provides

   “a method.” For example, TwinStrand’s Technology Brochure describes the methods used by

   TwinStrand to reveal true mutations in double-stranded DNA, including cfDNA. See TS Brochure

   at 1-2.

             211.   Dr. Jesse Salk, CEO and Founder of TwinStrand, has made several public

   statements regarding TwinStrand’s sequencing methods including that “TwinStrand has developed



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   [] a high-accuracy NGS technique called duplex sequencing, which uses both strands of a DNA

   molecule in the sequencing process to check for errors.” See GEB April 2020” at 5 (Exhibit F);

   GEB August 2020 at 2 (Exhibit G). Dr. Salk has also stated that TwinStrand is “offering duplex

   sequencing kits and bioinformatics analysis” to consumers. See GEB August 2020 at 3.

          212.    TwinStrand has also posted several publications on its website describing the

   methods used by TwinStrand. For example, TwinStrand describes an ultra-sensitive sequencing

   method for cancer detection in cfDNA. See Salk 2019 (Exhibit H). This article states “[t]o explore

   the abundance of TP53 mutations in liquid biopsies of clinical interest, we analyzed plasma-

   derived cell-free DNA (cfDNA) and peritoneal fluid from the 46-year old woman” and “[t]he fact

   that we identified one pathogenic mutation commonly found in cancers within cfDNA from a

   healthy woman (Figure S10; Table 5) raises important concerns over specificity in cancer-

   screening studies based on mutation detection in plasma.” Id. at 141.

          213.    Further, in its Complaint, TwinStrand itself acknowledges that it practices the

   methods of the Asserted Patents, which include claims directed to methods for classifying unique

   sequencing reads generated from sequencing reads derived from double-stranded polynucleotide

   molecules. See e.g., Compl. at ¶¶ 20, 22; ’951 patent at claim 1.

          214.    TwinStrand also practices the “tagging” step of claim 17 of the ’306 patent. This

   element recites “(a) tagging a population of double-stranded cell-free deoxyribonucleic acid

   (cfDNA) molecules obtained or derived from a sample of a subject with a set of tags comprising

   molecular barcodes to produce tagged parent polynucleotides.” For example:




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   TS Brochure at 1.

          215.    This “tagging” step includes tagging cfDNA. For example, “[t]o explore the

   abundance of TP53 mutations in liquid biopsies of clinical interest, we analyzed plasma-derived

   cell-free DNA (cfDNA) and peritoneal fluid from the 46-year old woman. TP53 mutations were

   identified in both, with cancer-like features similar to what was observed for solid tissue biopsies,

   UL, and leukocytes (Figure S10).” Salk 2019 at 141; see also id. at e2.

          216.    Additional publications posted on TwinStrand’s website also show TwinStrand

   uses tagging of a population of double-stranded DNA molecules. See Kennedy 2014 at Abstract,

   FIG. 1 (“(b) Ligation of the adaptors to the sample DNA results in a unique 12-nt tag sequence on

   both ends of the molecule,”); 2586, 2590-91, 2597; see also Compl. at ¶¶ 20, 22; ’951 patent at

   claims 1 and 21-25; 16:38-46 (“The step of tagging of both strands of individual duplex DNA may

   be accomplished by ligation of degenerate or semi-degenerate complementary DNA sequences; as


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   the complementary nature of the two strands of such a tag sequence allows the two molecules to

   be grouped together for error correction.”); FIG. 1.

          217.      TwinStrand also practices the “amplifying” step of claim 17 of the ’306 patent.

   This element recites “(b) amplifying a plurality of the tagged parent polynucleotides to produce

   amplified progeny nucleotides.” For example, TwinStrand advertises that “each strand of original

   molecule is uniquely labeled such that both ends can be tracked throughout amplification and

   sequencing for subsequent error detection.” TS Brochure at 1; see also TwinStrand’s website at

   7; Kennedy 2014 at Abstract (“Individually labeled strands are then PCR-amplified, creating

   sequence ‘families’ that share a common tag sequence derived from the two original

   complementary strands.”); Salk 2019 at e2 (“After initial amplification, 120 bp biotinylated

   oligonucleotide probes (Integrated DNA Technologies, Coralville, Iowa) were used to capture the

   coding region of TP53”); Compl. at ¶ 20; ’951 patent at FIG. 1. Amplification includes PCR

   amplification.

          218.      TwinStrand also practices the “sequencing” step of claim 17 of the ’306 patent.

   This element recites “(c) sequencing at least a subset of the amplified progeny polynucleotides to

   produce a set of sequence reads.” For example, TwinStrand’s method is a sequencing method that

   produces a set of sequencing reads:




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   TS Brochure at 1.




   TwinStrand Website at 6; see also id. at 4, 13; Kennedy 2014 at FIG. 1(C), 2587; Compl. at 26

   (“TwinStrand provides services for nucleic acid analysis using the patented Duplex Sequencing

   methods and provides customers with Duplex Sequencing kits. These kits include a DNA library

   prep kit containing the reagents, adapters, and other components necessary to practice its Duplex

   Sequencing process. TwinStrand also provides access to bioinformatics software to process raw




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   sequence read files and produce error-corrected sequences according to the patented processes”);

   ’951 patent at claim 1; FIG. 1.

          219.    TwinStrand also practices the “sorting” step of claim 17 of the ’306 patent. This

   element recites “(d) sorting a plurality of sequence reads from the set of sequence reads into (i)

   families comprising paired reads corresponding to sequence reads generated from a first tagged

   strand and a second tagged complementary strand derived from double-stranded cfDNA molecules

   from among the tagged parent polynucleotides, and (ii) families comprising unpaired reads

   corresponding to sequence reads generated from a first tagged strand having no second tagged

   complementary strand derived from double-stranded cfDNA molecules from among the tagged

   parent polynucleotides.”

          220.    For example, in its Complaint, TwinStrand admits that it practices the claims of the

   Asserted Patents, including claim 1 of the ’951 patent. Claim 1 of the ’951 patent recites “(d)

   sorting sequence reads into paired sequence reads and unpaired sequence reads, wherein (i) each

   paired read corresponds to sequence reads generated from a first tagged strand and a second

   differently tagged complementary strand derived from an original parent polynucleotide molecule

   in said set, and (ii) each unpaired read represents a first tagged strand having no second differently

   tagged complementary strand derived from an original parent polynucleotide molecule represented

   among said sequence reads in said set of sequence reads; and (e) quantifying at least two of (i) said

   paired sequence reads, (ii) said unpaired sequence reads, (iii) read depth of said paired sequence

   reads and (iv) read depth of said unpaired sequence reads.”

          221.    Additional publications on TwinStrand’s website also show that TwinStrand

   practices the “sorting” step of claim 17 of the ’306 patent. For example:




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   TS Brochure at 1; see also Kennedy 2014 at FIG. 1. 2587.

          222.    By making, selling, and offering to sell kits that utilize TwinStrand Duplex

   Sequencing™ with the express purpose of encouraging, aiding and/or causing such customers to

   practice at least claim 17 of the ’306 patent, TwinStrand indirectly infringes at least claim 1 of the

   ’306 patent through inducement and contributory infringement under 35 U.S.C. § 271 et seq.

   TwinStrand’s indirect infringement has and continues to be willful.

          223.    Upon information and belief, TwinStrand has been aware of the existence of the

   ’306 patent since at least October 19, 2021 and/or has willfully blinded itself as to the infringing

   nature of its activity since the issuance of the ’306 patent.

          224.    By its actions, TwinStrand’s infringement of the ’306 patent has irreparably harmed

   Guardant. Unless TwinStrand’s infringing acts are enjoined by this Court, Guardant will continue

   to suffer additional irreparable injury. Guardant has no adequate remedy at law.


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           225.    By its actions, TwinStrand’s infringement of the ’306 patent has damaged and

   continues to damage Guardant in an amount yet to be determined of at least a reasonable royalty

   and/or lost profits that Guardant would have made but for TwinStrand’s infringing acts.

                                            COUNT V
         (Declaration of Unpatentability of the ’699 Patent Under 35 U.S.C. §§ 101 et seq)

           226.    Guardant re-alleges and incorporates by reference Paragraphs 1-225 above, as if

   fully set forth herein.

           227.    The claims of the ’699 Patent are unpatentable and invalid for failure to comply

   with 35 U.S.C. §§ 101, 115, and 135(b).

           228.    The ’699 Patent fails to name the actual inventor of the claimed subject matter.

           229.    Chapter 2157 of the Manual of Patent Examining Procedure states: “Although the

   AIA eliminated pre-AIA 35 U.S.C. § 102(f), the patent laws still require naming of the actual

   inventors of the claimed subject matter . . . In the rare situation where it [is] clear that the

   application does not name the correct inventorship and the applicant has not filed a request to

   correct inventorship under 37 C.F.R. § 1.48, Office personnel should reject the claims under 35

   U.S.C. § 101 and 35 U.S.C. § 115.”

           230.    35 U.S.C. § 101 states: “whoever invents or discovers any new and useful process,

   machine, manufacture, or composition of matter, or any new and useful improvement thereof, may

   obtain a patent therefore, subject to the conditions and requirements of this title.”

           231.    35 U.S.C. § 115(a) states: “an applicant for a patent that is filed under 111(a) . . .

   shall include, or be amended to include, the name of the inventor for any invention claimed in the

   application.”

           232.    35 U.S.C. § 135(b) states that a “claim which is the same as, or for the same or

   substantially the same subject matter as, a claim of an issued patent may not be made in any


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   application unless such a claim is made prior to one year from the date on which the patent was

   granted.”

           233.    The ’699 Patent fails to meet the statutory requirements of 35 U.S.C. §§ 101 and

   115, because, to the extent it claims inventive subject matter, such invention was not made by the

   named inventors.

           234.    The ’699 Patent fails to meet the statutory requirements of 35 USC § 135(b)(1),

   because the claims of the ’699 Patent were copied from Guardant’s ’822 Patent more than one year

   after the issue date of the ’822 Patent.

           235.    There exists as actual controversy between Guardant and TwinStrand regarding the

   patentability of the claims of the ’699 Patent given Guardant’s allegation of infringement, and a

   judicial declaration of unpatentability and/or invalidity is necessary and appropriate at this time.

                                            COUNT VI
         (Declaration of Unpatentability of the ’951 Patent Under 35 U.S.C. §§ 101 et seq)


           236.    Guardant re-alleges and incorporates by reference Paragraphs 1-235 above, as if

   fully set forth herein.

           237.    The claims of the ’951 Patent are unpatentable and invalid for failure to comply

   with 35 U.S.C. §§ 101 and 115.

           238.    The ’951 Patent fails to name the actual inventor of the claimed subject matter.

           239.    Chapter 2157 of the Manual of Patent Examining Procedure states: “Although the

   AIA eliminated pre-AIA 35 U.S.C. § 102(f), the patent laws still require naming of the actual

   inventors of the claimed subject matter . . . In the rare situation where it [is] clear that the

   application does not name the correct inventorship and the applicant has not filed a request to




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   correct inventorship under 37 C.F.R. § 1.48, Office personnel should reject the claims under 35

   U.S.C. § 101 and 35 U.S.C. § 115.”

           240.    35 U.S.C. § 101 states: “whoever invents or discovers any new and useful process,

   machine, manufacture, or composition of matter, or any new and useful improvement thereof, may

   obtain a patent therefore, subject to the conditions and requirements of this title.”

           241.    35 U.S.C. § 115(a) states: “an applicant for a patent that is filed under 111(a) . . .

   shall include, or be amended to include, the name of the inventor for any invention claimed in the

   application.”

           242.    The ’951 Patent fails to meet the statutory requirements of 35 U.S.C. §§ 101 and

   115, because, to the extent it claims inventive subject matter, such invention was not made by the

   named inventors.

           243.    There exists as actual controversy between Guardant and TwinStrand regarding the

   patentability of the claims of the ’951 Patent given Guardant’s allegation of infringement, and a

   judicial declaration of unpatentability and/or invalidity is necessary and appropriate at this time.


                                           COUNT VII
           (Declaration of Unenforceability of the ’699 Patent For Inequitable Conduct)

           244.    Guardant re-alleges and incorporates by reference Paragraphs 1-243 above, as if

   fully set forth herein.

           245.    During prosecution of the ’699 patent, TwinStrand made misrepresentations and

   omissions material to patentability and did so with the specific intent to mislead or deceive the

   PTO.

           246.    The TwinStrand applicants deliberately and improperly copied claims from the

   ’822 Patent more than one year after issuance of the ’822 Patent in violation of 35 U.S.C. § 135(b).



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   Under pre-AIA 35 U.S.C. § 135(b)(1), “[a] claim which is the same as, or for the same or

   substantially the same subject matter as, a claim of an issued patent may not be made in any

   application unless such a claim is made prior to one year from the date on which the patent was

   granted.” By doing so outside of the one-year timeframe, TwinStrand attempted to evade an

   interference proceeding.

          247.   Not only did the TwinStrand applicants violate the timing provisions of § 135(b)(1),

   but they also never informed the Patent Examiner that the claims were copied.

          248.   On May 13, 2019, Lara J. Dueppen, a patent attorney, filed U.S. Patent Application

   No. 16/411,066 (“’066 Application”), which issued as TwinStrand’s U.S. Patent No. 10,689,699,

   which it is now asserting against Guardant. The ’066 Application names Jesse Salk, Lawrence

   Loeb, and Michael Schmitt as inventors. All three inventors submitted declarations pursuant to 37

   C.F.R. § 1.76. The ’066 Application claims priority to Provisional Application No. 61/613,413,

   filed on March 20, 2012.

          249.   The ’066 Application presented 36 claims, which were reduced to 20 claims in a

   preliminary amendment filed on the same day. Claims 37-66 were first added in a May 24, 2019

   amendment, and subsequently amended on October 29, 2019, and February 4, 2020.

          250.   Claims 37-39 and 41-43 of the ’066 Application were exact copies of claims 1-3,

   6-7, and 10 from Guardant’s ’822 Patent, which issued on December 5, 2017. The subsequent

   amendment on October 29, 2019 and February 4, 2020 did not materially alter the copied claims.

          251.   The inventors and the assignee of the ’822 Patent are unrelated to Jesse Salk,

   Lawrence Loeb, and Michael Schmitt.




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          252.    Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen cited the ’822

   Patent in their June 18, 2019 Information Disclosure Statement. They were thus aware of the ’822

   Patent and its claims.

          253.    Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen are experienced

   before the PTO. Lara J. Dueppen was admitted to the State Bar of California in December 2008

   and has been registered as a patent attorney since August 2009. Jesse Salk, Lawrence Loeb, and

   Michael Schmitt are each named as inventors on multiple patents and applications for which they

   have submitted oaths and declarations.

          254.    Patent applicants and attorneys are subject to the duties of good faith, candor, and

   disclosure, among others, including a duty to disclose to the PTO all information known to that

   individual to be material to patentability of the claimed invention. 37 C.F.R. § 1.56.

          255.    7 C.F.R. § 1.607(c) requires that “[w]hen an applicant [for patent] presents a claim

   which corresponds exactly or substantially to a claim of a patent, the applicant shall identify the

   patent and the number of the patent claim. . . .”

          256.    MPEP § 2001.06(d) (8th ed., rev. 8, July 2010), as it existed at the time the ’066

   Application was filed, states that “[w]here claims are copied or substantially copied from a patent,

   37 C.F.R. 1.607(c) requires applicant shall, at the time he or she presents the claim(s), identify the

   patent and the numbers of the patent claims...”

          257.    Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen did not notify

   the PTO that claims 37-39 and 41-43 of the ’066 Application were copied from the ’822 Patent.

          258.    37 C.F.R. § 10.23(c)(7) states that “[k]nowingly withholding from the [PTO]

   information identifying a patent or patent application of another from which one or more claims

   have been copied” constitutes disreputable or gross misconduct.



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          259.    MPEP § 2001.06(d) (8th ed., rev. 8, July 2010), as it existed at the time the ’066

   Application was filed, states that “the information required by 37 CFR 1.607(c) as to the source of

   copied claims is material information under 37 CFR 1.56. . . .”

          260.    Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen’s failure to

   notify the PTO that claims 37-39 and 41-43 of the ’066 Application were copied from the ’822

   Patent and to identify which claims of the ’822 Patent were copied, constitutes affirmative

   egregious misconduct.

          261.    Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen’s failure to

   notify the PTO of the copied claims was material to the patentability of at least claims 1-5 of the

   ’699 Patent which correspond to originally filed claims 37-39 and 42-43 in the ’066 Application,

   because failure to identify such information to the PTO is per se material to patentability.

          262.    In addition, applicants’ failure to notify the PTO of the copied claims was material

   to the patentability of at least claims 1-5 of the ’699 Patent because identifying the copied claims

   would have triggered an interference, a much more thorough and in-depth examination as to

   whether the claims of the ’066 Application were entitled to be issued in light of the existence of

   identical claims in a previously-issued U.S. Patent.

          263.    On information and belief, the ’699 Patent would not have issued if Jesse Salk,

   Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen had notified the PTO of the copied claims.

          264.    On information and belief, Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara

   J. Dueppen affirmatively chose not to notify the PTO that they copied the claims of the ’066

   Application from the ’822 Patent with the intent to mislead the PTO. Alternatively, such intent to

   mislead the PTO is the only reasonable inference from the totality of the circumstances alleged in

   this counterclaim.



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          265.    This is consistent with Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J.

   Dueppen’s practice of copying claims into their own applications without disclosing that the claims

   are copied, which has occurred in at least the following instances:

         U.S. Application No. 16/118,290, filed August 30, 2018, included at least one copied claim

          from U.S. Application No. 2016/0319345, assigned to Illumina Inc. U.S. Application No.

          2016/0319345 was cited in an IDS during prosecution of U.S. Application No. 16/118,290.

         U.S. Application No. 16/120,072 (issued as U.S. Patent No. 10,385,393), filed August 31,

          2018, included at least one copied claim from U.S. Publication No. 2016/0319345,

          assigned to Illumina Inc. U.S. Publication No. 2016/0319345 was cited in an IDS during

          prosecution of U.S. Application No. 16/120,072.

         U.S. Application No. 16/120,091 (issued as U.S. Patent No. 10,370,713), filed August 31,

          2018, included at least one copied claim from U.S. Patent No. 9,920,366, assigned to

          Guardant. U.S. Patent No. 9,920,366 was cited in an IDS after issuance of U.S. Application

          No. 16/120,091.

         U.S. Application No. 16/411,045 (issued as U.S. Patent No. 10,604,804), filed May 13,

          2019, included at least one copied claim from U.S. Patent No. 9,598,731, assigned to

          Guardant. U.S. Patent No. 9,598,731 was cited in an IDS during prosecution of U.S.

          Application No. 16/411,045.

         U.S. Application No. 16/514,931, filed July 17, 2019, included at least one copied claim

          from WO2015/100427A1, assigned to Guardant.

          266.    In at least one instance of claim copying, Jesse Salk, Lawrence Loeb, Michael

   Schmitt, and Lara J. Dueppen did notify the PTO of the copied claims.




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           267.    In a December 14, 2020 response to a restriction requirement in U.S. Application

   No. 16/118,305, Lara J. Dueppen submitted the following statement “Claim Copying. Claims 39

   and 57 (newly introduced in a Preliminary Amendment filed on December 10, 2018 in the subject

   application) were substantially copied from claim 2 of U.S. Patent Appl. Publ. No. 2018/0291438.

   Applicant hereby specifically directs the Office’s attention to claims 39 and 57 that substantially

   correspond to claim 2 of U.S. Patent. Appl. Publ. No.2018/0291438.”

           268.    After notifying the PTO of the claim copying, no patent issued from U.S.

   Application No. 16/118,305.

           269.    Therefore, Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen knew

   they had a duty to disclose claim copying to the PTO. Their failure to notify the PTO of the copied

   claims in the application leading to the ‘699 Patent constitutes inequitable conduct that renders the

   ’699 Patent unenforceable.

                                          COUNT VIII
           (Declaration of Unenforceability of the ’951 Patent For Inequitable Conduct)

           270.    Guardant re-alleges and incorporates by reference Paragraphs 1-269 above, as if

   fully set forth herein.

           271.    During prosecution of the ’951 patent, TwinStrand made misrepresentations and

   omissions material to patentability and did so with the specific intent to mislead or deceive the

   PTO.

           272.    The TwinStrand applicants deliberately and improperly copied claims from

   Guardant’s Patent Application WO2015/100427 (“’427 Application”) more than one year after the

   publication of the ’427 Application in violation of 35 U.S.C. § 135(b). Under pre-AIA 35 U.S.C.

   § 135(b)(2), “[a] claim which is the same as, or for the same or substantially the same subject

   matter as, a claim of an application published under section 122(b) may be made in an application


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   filed after the application is published only if the claim is made before 1 year after the date on

   which the application is published.” By doing so outside of the one-year timeframe, TwinStrand

   attempted to evade an interference proceeding.

          273.    Not only did the TwinStrand applicants violate the timing provisions of § 135(b)(2),

   but they also never informed the Patent Examiner that the claims were copied.

          274.    On July 17, 2019, Lara J. Dueppen, a patent attorney, filed U.S. Patent Application

   No. 16/514,931 (“’931 Application”), which issued as TwinStrand’s U.S. Patent No. 10,752,951,

   which it is now asserting against Guardant. The ’931 Application names Jesse Salk, Lawrence

   Loeb, and Michael Schmitt as inventors. All three inventors submitted declarations pursuant to 37

   C.F.R. § 1.76. The ’931 Application presented 29 claims. The ’931 Application claims priority

   to Provisional Application No. 61/613,413, filed on March 20, 2012.

          275.    Claims 1-2 of the ’931 Application were almost exact copies of claims 77-78 from

   Guardant’s ’427 Application, which was published on July 7, 2015.

          276.    The inventors and the assignee of the ’427 Application are unrelated to Jesse Salk,

   Lawrence Loeb, and Michael Schmitt.

          277.    Jesse Salk, Lawrence Loeb, and Michael Schmitt cited the ’427 Application at least

   in their own application, WO2017/100441, published on June 15, 2017.             Thus Jesse Salk,

   Lawrence Loeb, and Michael Schmitt were aware of the ’427 Application and its claims two years

   prior to filing the ’931 Application.

          278.    Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen are experienced

   before the PTO. Lara J. Dueppen was admitted to the State Bar of California in December 2008

   and has been registered as a patent attorney since August 2009. Jesse Salk, Lawrence Loeb, and




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   Michael Schmitt are each named as inventors on multiple patents and applications for which they

   have submitted oaths and declarations.

          279.    Patent applicants and attorneys are subject to the duties of good faith, candor, and

   disclosure, among others, including a duty to disclose to the United States Patent and Trademark

   Office (“PTO”) all information known to that individual to be material to patentability.

          280.    7 C.F.R. § 1.607(c) requires that “[w]hen an applicant [for patent] presents a claim

   which corresponds exactly or substantially to a claim of a patent, the applicant shall identify the

   patent and the number of the patent claim. . . .”

          281.    MPEP § 2001.06(d) (8th ed., rev. 8, July 2010), both in its current incarnation and

   as it existed at the time the ’931 Application was filed, states that “[w]here claims are copied or

   substantially copied from a patent, 37 C.F.R. 1.607(c) requires applicant shall, at the time he or

   she presents the claim(s), identify the patent and the numbers of the patent claims...”

          282.    Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen did not notify

   the PTO that claims 1-2 of the ’931 Application were copied from the ’427 Application.

          283.    37 C.F.R. § 10.23(c)(7) states that “[k]nowingly withholding from the [PTO]

   information identifying a patent or patent application of another from which one or more claims

   have been copied” constitutes disreputable or gross misconduct.

          284.    MPEP § 2001.06(d) (8th ed., rev. 8, July 2010), both in its current incarnation and

   as it existed at the time the ’931 Application was filed, states that “the information required by 37

   CFR 1.607(c) as to the source of copied claims is material information under 37 CFR 1.56. . . .”

          285.    Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen’s failure to

   notify the PTO that claims 37-39 and 41-43 of the ’931 Application were copied from the ’427




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   Application and to identify which claims of the ’427 Application were copied, constitutes

   affirmative egregious misconduct.

             286.   Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen’s failure to

   notify the PTO of the copied claims was material to the patentability of at least claims 1-2 of the

   ’951 Patent which correspond to originally filed claims 77-78 in the ’427 Application, because

   failure to identify such information to the PTO is per se material to patentability.

             287.   In addition, Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen’s

   failure to notify the PTO of the copied claims was material to the patentability of at least claims

   1-2 of the ’951 Patent because identifying the copied claims would have triggered an interference,

   a much more thorough and in-depth examination as to whether the claims of the ’931 Application

   were entitled to be issued in light of the existence of identical claims in a previously-issued U.S.

   Patent.

             288.   On information and belief, the ’951 Patent would not have issued if the Jesse Salk,

   Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen had notified the PTO of the copied claims.

             289.   On information and belief, Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara

   J. Dueppen affirmatively chose not to notify the PTO that they copied the claims of the ’931

   Application from ’427 Application with the intent to mislead the PTO. Alternatively, such intent

   to mislead the PTO is the only reasonable inference from the totality of the circumstances alleged

   in this counterclaim.

             290.   This is consistent with Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J.

   Dueppen’s practice of copying claims into their own applications without disclosing that the claims

   are copied, which has occurred in at least the following instances:




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         U.S. Application No. 16/118,290, filed August 30, 2018, included at least one copied claim

          from U.S. Application No. 2016/0319345, assigned to Illumina Inc. U.S. Application No.

          2016/0319345 was cited in an IDS during prosecution of U.S. Application No. 16/118,290.

         U.S. Application No. 16/120,072 (issued as U.S. Patent No. 10,385,393), filed August 31,

          2018, included at least one copied claim from U.S. Publication No. 2016/0319345,

          assigned to Illumina Inc. U.S. Publication No. 2016/0319345 was cited in an IDS during

          prosecution of U.S. Application No. 16/120,072.

         U.S. Application No. 16/120,091 (issued as U.S. Patent No. 10,370,713), filed August 31,

          2018, included at least one copied claim from U.S. Patent No. 9,920,366, assigned to

          Guardant. U.S. Patent No. 9,920,366 was cited in an IDS after issuance of U.S. Application

          No. 16/120,091.

         U.S. Application No. 16/411,045 (issued as U.S. Patent No. 10,604,804), filed May 13,

          2019, included at least one copied claim from U.S. Patent No. 9,598,731, assigned to

          Guardant. U.S. Patent No. 9,598,731 was cited in an IDS during prosecution of U.S.

          Application No. 16/411,045.

         U.S. Application No. 16/411,066 (issued as U.S. Patent No. 10,689,699), filed May 13,

          2019, included at least one copied claim from U.S. Patent No. 9,834,822, assigned to

          Guardant. U.S. Patent No. 9,834,822 was cited in an IDS during prosecution of U.S.

          Application No. 16/411,066.

          291.   In at least one instance of claim copying, Jesse Salk, Lawrence Loeb, Michael

   Schmitt, and Lara J. Dueppen did notify the PTO of the copied claims.

          292.   In a December 14, 2020 response to a restriction requirement in U.S. Application

   No. 16/118,305, Lara J. Dueppen submitted the following statement “Claim Copying. Claims 39



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   and 57 (newly introduced in a Preliminary Amendment filed on December 10, 2018 in the subject

   application) were substantially copied from claim 2 of U.S. Patent Appl. Publ. No. 2018/0291438.

   Applicant hereby specifically directs the Office’s attention to claims 39 and 57 that substantially

   correspond to claim 2 of U.S. Patent. Appl. Publ. No.2018/0291438.”

              293.   After notifying the PTO of the claim copying, no patent issued from U.S.

   Application No. 16/118,305.

              294.   Therefore, Jesse Salk, Lawrence Loeb, Michael Schmitt, and Lara J. Dueppen knew

   they had a duty to disclose claim copying to the PTO and their failure to notify the PTO of the

   copied claims in the application leading to the ‘951 Patent constitutes inequitable conduct that

   renders the ’951 Patent unenforceable.

                                             JURY DEMAND

              Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Guardant demands a trial

   by jury of all issues presented by Plaintiffs’ Complaint and Guardant’s counterclaims that are so

   triable.

                                         PRAYER FOR RELIEF

              WHEREFORE, Guardant prays for judgment as follows:

              1.     A judgment dismissing Plaintiff’s Complaint against Guardant with prejudice;

              2.     A judgement that Guardant has not infringed, contributed to the infringement of, or

   induced others to infringe, either directly or indirectly, any valid claims of ’631 Patent, the ’699

   Patent, the ’951 Patent, and the ’127 Patent;

              3.     A judgment that the ’631 Patent, the ’699 Patent, the ’951 Patent, and the ’127

   Patent be found invalid;

              4.     A judgment that the claims of the ’699 Patent and ’951 Patent be found

   unpatentable and/or unenforceable;

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          5.      A judgment that the ’063 Patent, the ’858 Patent, the ’221 Patent, and the ’306

   Patent be found valid and infringed by TwinStrand;

          6.      A judgment that TwinStrand’s infringement of the ’063 Patent, the ’858 Patent, the

   ’221 Patent, and the ’306 Patent has been willful;

          7.      An award of damages adequate to compensate Guardant for the patent

   infringements that have occurred, together with pre-judgment interest and costs;

          8.      An accounting for acts of infringement not presented at trial and/or up to the

   judgment and an award by the Court of additional damage for any such acts of infringement;

          9.      A permanent injunction against TwinStrand, its affiliates, subsidiaries, officers

   directors, agents, and employees from further infringement, or alternatively, an award an ongoing

   royalty for TwinStrand’s post-verdict infringement, payable on each product or service offered by

   TwinStrand that is found to infringe one or more of the patents asserted herein, and on all future

   products and services that are not substantially different from those found to infringe;

          10.     An award of all other damages permitted by 35 U.S.C. § 284, including increased

   damages of three times the amount of compensatory damages found;

          11.     A judgment that the Court find this case exceptional under 35 U.S.C. § 285 and

   order an award to Guardant of its fees and expenses of litigation; and

          12.     Such other and further relief as this Court may deem just and proper.




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    Dated: January 11, 2022                           Respectfully submitted,

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                           EXHIBIT A
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                                                                                                    US010801063B2


    ( 12) United States Patent                                                   ( 10 ) Patent No .: US 10,801,063 B2
             Eltoukhy et al .                                                    (45) Date of Patent :    * Oct . 13 , 2020
    (54) METHODS AND SYSTEMS FOR DETECTING                                           5,714,330 A      2/1998 Brenner et al .
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    ( 71 ) Applicant: GUARDANT HEALTH , INC . ,                                      5,763,175 A      6/1998 Brenner
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    ( 72 ) Inventors: Helmy Eltoukhy , Atherton , CA (US );                          5,854,033 A     12/1998 Lizardi
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    ( 73 ) Assignee : GUARDANT HEALTH , INC . ,                                      5,968,740 A     10/1999 Fodor et al.
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    ( 52 )    U.S. Cl .
              CPC                 C12Q 1/6869 (2013.01 ) ; C12Q 1/6886
                           ( 2013.01 ) ; C12Q 2535/122 ( 2013.01 ) ; C12Q   Primary Examiner Kenneth R Horlick
                             2600/158 (2013.01 ) ; G16B 15/00 (2019.02 )    ( 74 ) Attorney, Agent, or Firm Timothy Hott
    ( 58 ) Field of Classification Search
           None
           See application file for complete search history.                ( 57 )                     ABSTRACT

    ( 56 )               References Cited                                   Disclosed herein in are methods and systems for determin
                                                                            ing genetic variants (e.g. , copy number variation ) in a
                           U.S. PATENT DOCUMENTS                            polynucleotide sample . A method for determining copy
                                                                            number variations includes tagging double - stranded poly
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                                                                            from the sample and estimating total number of polynucle
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                        Extract and isolate cell free polynucleotides
                                      from bodily fluid                    102


                      Tag double stranded polynucleotides with duplex
                       tags (“ Watson " strand tag distinguishable from
                                     " Crick " strand tag )
                                                                            104

                            Generate sequence reads for tagged
                                   polynucleotide strands
                                                                            106
                        Reduce and /or track redundancy of reads to
                               correspond to original strands

                       Map reads to selected locus or loci in genome
                                                                           110
                           Group reads into " Pairs” and “ Singlets ”;
                       -Pairs are reads from complementary strands of
                           original double stranded polynucleotides
                             Singlets are reads for which there is no
                      sequence read from the complementary strand of
                            the original double stranded molecule           112

                        Determine quantitative measure of Pairs and
                        Singlets mapping to each selected locus ( also
                        optionally read depth of paired and unpaired
                                           strands

                       Estimate number of Unseen polynucleotides in
                         original population mapping to each locus
                        Estimate number of Total polynucleotides in
                         original population mapping to each locus
                                                                            118

                       Estimate Copy Member Variation at each locus
                                                                             120


                                          Fig. 1
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                                              2250 Total
                        11




                                1440 pairs 720 singlets 90 unseen



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                              siled 000L spajpuis 000L vaasun 097
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                                              leo 1 0977




                                             Fig. 2
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                                    Fig. 3
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          1515                                                         1525


                 DC




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                                         Fig . 6
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                        Provide cell free polynucleotides from bodily
                          fluid of (a) a test sample and (b ) a control       802
                                            sample


                         Tag polynucleotides. Tag includes a source            804
                         identifier ( test or control ) and , optionally, a
                       further identifier (optionally with duplex tags ) .
                      Polynucleotides can be uniquely or non -uniquely
                                            tagged
                                                                               806
                             Pool tagged test and tagged control
                       polynucleotides at desired ratio (usually greater
                                        amount of test )


                                                                               808
               800     Generate sequence reads from pooled test and
                                 control polynucleotides

                                                                                810
                         Reduce and/or track redundancy of reads to
                             correspond to original molecules

                                                                               812
                       Quantify original molecules from each of test
                      and control mapping to one or more genetic loci .
                        (Can include normalizing against a reference
                                             locus )



                       Estimate copy number variation at each locus as              814
                            a function of test control comparison


                                            Fig. 8
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                                             < 80 nucleotides

                  S'                                                                                Partial

     Fig. 9A
                  39
                             De
                                                                V
                                                                 o                                  adaptor

                Primer hybridization site                Barcode             < 10 nucleotides
                                                         scqucncc




                  57                                                                            Tagged
      Fig. 9B     3           wooooo                                   ***
                                                                                                polynucleotide




                       Wwwwwwwwwww                                                      39

      Fig. 9C     39 BRE          Page
                                  wo


                              Sample identification motif
                                                        Sample identification inotif
                       w

                           Sequencer motif                                    Sequencer motif
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                                                          US 10,801,063 B2
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        METHODS AND SYSTEMS FOR DETECTING                                  of techniques, including ligation of hairpin , bubble, or
                          GENETIC VARIANTS                                forked adapters or other adaptors having double -stranded
                                                                          and single stranded segments (the unhybridized portion of a
                          CROSS -REFERENCE                                bubble, forked or hairpin adapter are deemed single
                                                                        5 stranded herein ). If tagged correctly, each original Watson
        This application is a continuation of U.S. application Ser.        and Crick (i.e. , strand) side of the input double - stranded
     No. 15 / 892,178 , filed Feb. 8 , 2018 , which is a continuation      DNA molecule can be differently tagged and identified by
     of U.S. application Ser. No. 14/ 861,989 , filed Sep. 22 , 2015
                                                                   the sequencer and subsequent bioinformatics. For all mol
     ( now U.S. Pat . No. 9,920,366 ) , which is a continuation    ecules in a particular region , counts of molecules where both
     application of International Application No. PCT /US2014 / 10 Watson and Crick sides were recovered (“ Pairs ” ) versus
     072383 , filed Dec. 24 , 2014 , which application claims the those where only one half was recovered (“ Singlets ” ) can be
     benefit under 35 U.S.C. § 119 ( e) of U.S. Provisional Appli         recorded . The number of unseen molecules can be estimated
     cation No. 61 / 921,456 , filed Dec. 28 , 2013 , and U.S. Pro        based on the number of Pairs and Singlets detected .
     visional  Application  No. incorporated
                                 61/948,509, herein
                                             filed Mar.                 An aspect of the present disclosure provides a method for
                                                        5 , 2014., 15 detecting
     each  of which  is entirely                    by reference                and / or quantifying rare deoxyribonucleic acid
                                                                     ( DNA ) in a heterogeneous population of original DNA
                            BACKGROUND                               fragments, comprising tagging the original DNA fragments
                                                                     in a single reaction using a library of a plurality of different
        The detection and quantification of polynucleotides is tags such that greater than 30 % of the fragments are tagged
     important for molecular biology and medical applications, 20 at both ends, wherein each of the tags comprises a molecular
     such as diagnostics. Genetic testing is particularly useful for barcode. The single reaction can be in a single reaction
     a number of diagnostic methods. For example, disorders that vessel . Greater than 50% of the fragments can be tagged at
     are caused by rare genetic alterations (e.g. , sequence vari both ends . The plurality of different tags can be no more than
     ants) or changes in epigenetic markers, such as cancer and any of 100 , 500 , 1000 , 10,000 or 100,000 different tags .
     partial or complete aneuploidy, may be detected or more 25 Another aspect provides a set of library adaptors that can
     accurately characterized with DNA sequence information . be used to tag the molecules of interest ( e.g. , by ligation ,
        Early detection and monitoring of genetic diseases , such hybridization, etc. ) . The set of library adaptors can comprise
     as cancer, is often useful and needed in the successful              plurality of polynucleotide molecules with molecular bar
     treatment or management of the disease . One approach may            codes , wherein the plurality of polynucleotide molecules are
     include the monitoring of a sample derived from cell - free 30 the
                                                                    less molecular
                                                                         than or equal to 80 nucleotide bases in length , wherein
                                                                                    barcodes are at least 4 nucleotide bases in
     nucleic acids , a population of polynucleotides that can be
     found in different types of bodily fluids. In some cases , length , and wherein (a ) the molecular barcodes are different
     disease may be characterized or detected based on detection from one another and have an edit distance of at least 1
     of genetic aberrations, such as copy number variation and /or between one another; ( b ) the molecular barcodes are located
     sequence variation of one or more nucleic acid sequences, or 35 at least one nucleotide base away from a terminal end of
     the development of other certain rare genetic alterations . their respective polynucleotide molecules ; (c ) optionally, at
     Cell- free DNA ( cfDNA ) may contain genetic aberrations least one terminal base is identical in all of the polynucle
     associated with a particular disease . With improvements in otide molecules ; and ( d ) none of the polynucleotide mol
     sequencing and techniques to manipulate nucleic acids , ecules contains a complete sequencer motif.
     there is a need in the art for improved methods and systems 40 In some embodiments, the library adaptors (or adapters )
     for using cell - free DNA to detect and monitor disease .       are identical to one another but for the molecular barcodes .
        In particular, many methods have been developed for In some embodiments, each of the plurality of library
     accurate copy number variation estimation , especially for adaptors comprises at least one double -stranded portion and
     heterogeneous genomic samples, such as tumor -derived at least one single - stranded portion ( e.g. , a non -complemen
     gDNA or for cfDNA for many applications (e.g. , prenatal, 45 tary portion or an overhang ). In some embodiments, the
     transplant, immune, metagenomics or cancer diagnostics ). double - stranded portion has a molecular barcode selected
     Most of these methods include sample preparation whereby from a collection of different molecular barcodes . In some
     the original nucleic acids are converted into a sequenceable embodiments , the given molecular barcode is a randomer . In
     library, followed by massively parallel sequencing, and               some embodiments, each of the library adaptors further
     finally bioinformatics to estimate copy number variation at 50 comprises a strand - identification barcode on the at least one
     one or more loci .                                                    single - stranded portion. In some embodiments , the strand
                                                                           identification barcode includes at least 4 nucleotide bases . In
                              SUMMARY                                      some embodiments, the single - stranded portion has a partial
                                                                     sequencer motif. In some embodiments, the library adaptors
        Although many of these methods are able to reduce or 55 do not include a complete sequencer motif.
     combat the errors introduced by the sample preparation and         In some embodiments, none of the library adaptors con
     sequencing processes for all molecules that are converted tains a sequence for hybridizing to a flow cell or forming a
     and sequenced , these methods are not able to infer the counts hairpin for sequencing.
     of molecules that were converted but not sequenced . Since         In some embodiments, all of the library adaptors have a
     this count of converted by unsequenced molecules can be 60 terminal end with nucleotide ( s ) that are the same . In some
     highly variable from genomic region to region , these counts embodiments, the identical terminal nucleotide ( s) are over
     can dramatically and adversely affect the sensitivity that can two or more nucleotide bases in length .
     be achieved .                                                      In some embodiments, each of the library adapters is
        To address this issue , input double - stranded deoxyribo    Y -shaped, bubble shaped or hairpin shaped. In some
     nucleic acid ( DNA ) can be converted by a process that tags 65 embodiments, none of the library adapters contains a sample
     both halves of the individual double - stranded molecule , in identification motif. In some embodiments, each of the
     some cases differently. This can be performed using a variety library adapters comprises a sequence that is selectively
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                                                         US 10,801,063 B2
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     hybridizable to a universal primer. In some embodiments, DNA fragments; and ( f) quantifying the consensus reads to
     each of the library adapters comprises a molecular barcode detect and / or quantify the rare DNA at a specificity that is
     that is at least 5 , 6 , 7 , 8 , 9 and 10 nucleotide bases in length . greater than 99.9 % .
     In some embodiments, each of the library adapters is from                 In some embodiments , ( e) comprises comparing sequence
     10 nucleotide bases to 80 in length, or 30 to 70 nucleotide 5 reads having the same or similar molecular barcodes and the
     bases in length, or 40 to 60 nucleotide bases in length . In same or similar end of fragment sequences. In some embodi
     some embodiments, at least 1 , 2 , 3 , or 4 terminal bases are ments, the comparing further comprises performing a phy
     identical in all of the library adaptors . In some embodiments , logentic analysis on the sequence reads having the same or
     at least 4 terminal bases are identical in all of the library 10 similar molecular barcodes. In some embodiments, the
     adaptors.                                                        molecular barcodes include a barcode having an edit dis
        In some embodiments, the edit distance of the molecular tance of up to 3. In some embodiments , the end of fragment
     barcodes of the library adapters is a Hamming distance . In sequence includes fragment sequences having an edit dis
     some embodiments, the edit distance is at least 1 , 2 , 3 , 4 or tance of up to 3 .
     5. In some embodiments, the edit distance is with respect to 15 In some embodiments, the method further comprises
     individual bases of the plurality of polynucleotide mol sorting sequence reads into paired reads and unpaired reads,
     ecules . In some embodiments , the molecular barcodes are and quantifying a number of paired reads and unpaired reads
     located at least 10 nucleotide base away from a terminal end that map to each of one or more genetic loci .
     of an adapter. In some embodiments, the plurality of library             In some embodiments , the tagging occurs by having an
     adapters includes at least 2 , 4 , 6 , 8 , 10 , 20 , 30 , 40 or 50 20 excess amount of library adaptors as compared to original
     different molecular barcodes, or from 2-100 , 4-80 , 6-60 or DNA fragments. In some embodiments , n the excess is at
     8-40 different molecular barcodes. In any of the embodi least a 5 - fold excess . In some embodiments, the tagging
     ments herein , there are more polynucleotides ( e.g. , cfDNA comprises using a ligase . In some embodiments, the tagging
     fragments ) to be tagged than there are different molecular comprises attachment to blunt ends.
     barcodes such that the tagging is not unique.                      25    In some embodiments, the method further comprises
         In some embodiments, the terminal end of an adaptor is binning the sequence reads according to the molecular
     configured for ligation ( e.g. , to a target nucleic acid mol barcodes and sequence information from at least one end of
     ecule ) . In some embodiments, the terminal end of an adaptor each of the original DNA fragments to create bins of single
     is a blunt end .                                                      stranded reads . In some embodiments, the method further
         In some embodiments, the adaptors are purified and 30 comprises             , in each
                                                                           original DNA        bin,among
                                                                                          fragment  determining  a sequence
                                                                                                           the original  DNA of  a given
                                                                                                                              fragments
     isolated . In some embodiments , the library comprises one or by          analyzing sequence reads . In some embodiments , the
     more non -naturally occurring bases .                                 method   further comprises detecting and / or quantifying the
         In some embodiments, the polynucleotide molecules
     comprise a primer sequence positioned 5 ' with respect to the 35 rare      DNA by comparing a number of times each base occurs
                                                                           at each position of a genome represented by the tagged ,
     molecular barcodes.                                                   amplified, and optionally enriched DNA fragments.
         In some embodiments , the set of library adaptors consists           In some embodiments, the library adaptors do not contain
     essentially of the plurality of polynucleotide molecules.             complete sequencer motifs . In some embodiments, the
         In another aspect , a method comprises (a ) tagging a method further comprises selectively enriching a subset of
     collection of polynucleotides with a plurality of polynucle- 40 the tagged DNA fragments. In some embodiments, the
     otide molecules from a library of adaptors to create a method further comprises, after enriching, amplifying the
     collection of tagged polynucleotides; and ( b ) amplifying the enriched tagged DNA fragments in the presence of sequenc
     collection of tagged polynucleotides in the presence of ing adaptors comprising primers . In some embodiments, (a )
     sequencing adaptors, wherein the sequencing adaptors have provides tagged DNA fragments having from 2 to 1000
     primers with nucleotide sequences that are selectively 45 different combinations of molecular barcodes.
     hybridizable to complementary sequences in the plurality of              In some embodiments, the DNA fragments are tagged
     polynucleotide molecules . The library of adaptors may be as with polynucleotide molecules from a library of adaptors as
     described above or elsewhere herein . In some embodiments,            described above or elsewhere herein .
     each of the sequencer adaptors further comprises an index                In another aspect , a method for processing and /or ana
     tag , which can be a sample identification motif.                  50 lyzing a nucleic acid sample of a subject comprises (a )
         Another aspect , provides a method for detecting and / or exposing polynucleotide fragments from the nucleic acid
     quantifying rare DNA in a heterogeneous population of sample to a set of library adaptors to generate tagged
     original DNA fragments, wherein the rare DNA has a polynucleotide fragments; and ( b ) subjecting the tagged
     concentration that is less than 1 % , the method comprising polynucleotide fragments to nucleic acid amplification reac
     ( a) tagging the original DNA fragments in a single reaction 55 tions under conditions that yield amplified polynucleotide
     such that greater than 30 % of the original DNA fragments fragments as amplification products of the tagged polynucle
     are tagged at both ends with library adaptors that comprise otide fragments. The set of library adaptors comprises a
     molecular barcodes , thereby providing tagged DNA frag plurality of polynucleotide molecules with molecular bar
     ments; ( b ) performing high - fidelity amplification on the codes , wherein the plurality of polynucleotide molecules are
     tagged DNA fragments ; (c) optionally, selectively enriching 60 less than or equal to 80 nucleotide bases in length ,wherein
     a subset of the tagged DNA fragments; (d) sequencing one the molecular barcodes are at least 4 nucleotide bases in
     or both strands of the tagged, amplified and optionally length , and wherein ( 1 ) the molecular barcodes are different
     selectively enriched DNA fragments to obtain sequence from one another and have an edit distance of at least 1
     reads comprising nucleotide sequences of the molecular between one another; (2 ) the molecular barcodes are located
     barcodes and at least a portion of the original DNA frag- 65 at least one nucleotide base away from a terminal end of
     ments; ( e) from the sequence reads , determining consensus their respective polynucleotide molecules; ( 3 ) optionally, at
     reads that are representative of single - strands of the original least one terminal base is identical in all of the polynucle
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     otide molecules ; and ( 4 ) none of the polynucleotide mol FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, GNAS, HNF1A ,
     ecules contains a complete sequencer motif.                 HRAS , IDH1 , IDH2 , JAK2 , JAK3, KDR , KIT, MLHI ,
        In some embodiments, the method further comprises MPL , NPM1 , PDGFRA, PROC , PTPN11 , RET, SMAD4 ,
     determining nucleotide sequences of the amplified tagged SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
     polynucleotide fragments. In some embodiments, the 5 CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     nucleotide sequences of the amplified tagged polynucleotide TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RITI , GATA3,
     fragments are determined without polymerase chain reaction MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     ( PCR) . In some embodiments, the method further comprises RHOA , and NTRK1 ; (b ) grouping with a computer proces
     analyzing the nucleotide sequences with a programmed sor the plurality of sequence reads into families, wherein
     computer processor to identify one or more genetic variants 10 each family comprises sequence reads from one of the
     in the nucleotide sample of the subject. In some embodi template polynucleotides; ( c ) for each of the families, merg
     ments , the one or more genetic variants are selected from the ing sequence reads to generate a consensus sequence ; (d)
     group consisting of base change ( s ), insertion ( s ), repeat ( s ), calling the consensus sequence at a given genomic locus
     deletion (s ), copy number variation ( s ) and transversion (s ). In among the genomic loci ; and ( e ) detecting at the given
     some embodiments, the one or more genetic variants include 15 genomic locus any of genetic variants among the calls ,
     one or more tumor associated genetic alterations.                     frequency of a genetic alteration among the calls , total
        In some embodiments , the subject has or is suspected of number of calls , and total number of alterations among the
     having a disease . In some embodiments, the disease is calls .
     cancer . In some embodiments , the method further comprises       In some embodiments , each family comprises sequence
     collecting the nucleic acid sample from the subject. In some 20 reads from only one of the template polynucleotides. In
     embodiments, the nucleic acid sample is collected from a some embodiments , the given genomic locus comprises at
     location selected from the group consisting of blood , least one nucleic acid base . In some embodiments, the given
     plasma , serum , urine, saliva , mucosal excretions, sputus              genomic locus comprises a plurality ofnucleic acid bases . In
     stool , cerebral spinal fluid and tears of the subject. In some some embodiments, the calling comprises calling at least
     embodiments, the nucleic acid sample is a cell - free nucleic 25 one nucleic acid base at the given genomic locus . In some
     acid sample. In some embodiments, the nucleic acid sample embodiments, the calling comprises calling a plurality of
     is collected from no more than 100 nanograms (ng ) of nucleic acid bases at the given genomic locus . In some
     double - stranded polynucleotide molecules of the subject.               embodiments, the calling comprises any one of phylogenetic
        In some embodiments, the polynucleotide fragments com                 analysis, voting, weighing, assigning a probability to each
     prise double - stranded polynucleotide molecules . In some 30 read at the locus in a family and calling the base with the
     embodiments , in ( a ) , the plurality of polynucleotide mol highest probability.
     ecules couple to the polynucleotide fragments via blunt end                 In some embodiments, the method further comprises
     ligation , sticky end ligation, molecular inversion probes, performing ( d) - ( e ) at an additional genomic locus among the
     PCR , ligation -based PCR , multiplex PCR , single stranded genomic loci . In some embodiments, the method further
     ligation, and single stranded circularization . In some 35 comprises determining a variation in copy number at one of
     embodiments, exposing the polynucleotide fragments of the the given genomic locus and additional genomic locus based
     nucleic acid sample to the plurality of polynucleotide mol on counts at the given genomic locus and additional
     ecules yields the tagged polynucleotide fragments with a genomic locus .
     conversion efficiency ofat least 10 % . In some embodiments,                In some embodiments, the grouping comprises classifying
     any of at least 5 % , 6 % , 7 % , 8 % , 9 % , 10% , 20 % , or 25 % of 40 the plurality of sequence reads into families by identifying
     the tagged polynucleotide fragments share a common poly (i ) different molecular barcodes coupled to the plurality of
     nucleotide molecule or sequence . In some embodiments , the polynucleotide molecules and (ii ) similarities between the
     method further comprises generating the polynucleotide plurality of sequence reads, wherein each family includes a
     fragments from the nucleic acid sample.                                  plurality of nucleic acid sequences that are associated with
        In some embodiments, the subjecting comprises ampli- 45 a different combination of molecular barcodes and similar or
     fying the tagged polynucleotide fragments from sequences identical sequence reads. Different molecular barcodes have
     corresponding to genes selected from the group consisting of different sequences.
     ALK , APC , BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 ,                           In some embodiments , the consensus sequence is gener
     KRAS, MYC , NOTCHI , NRAS, PIK3CA , PTEN , RB1 , ated by evaluating a quantitative measure or a statistical
     TP53 , MET, AR , ABL1 , AKT1 , ATM , CDH1 , CSF1R , 50 significance level for each of the sequence reads. In some
     CTNNB1, ERBB4 , EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, embodiments, the quantitative measure comprises use of a
     GNA11, GNAQ , GNAS, HNF1A , HRAS , IDH1 , IDH2 , binomial distribution, exponential distribution , beta distri
     JAK2 , JAK3, KDR , KIT, MLH1 , MPL , NPM1 , PDGFRA , bution , or empirical distribution . In some embodiments, the
     PROC , PTPN11 , RET, SMAD4, SMARCB1, SMO , SRC , method further comprises mapping the consensus sequence
     STK11 , VHL , TERT, CCND1 , CDK4 , CDKN2B , RAF1, 55 to the target genome. In some embodiments, the plurality of
     BRCA1 , CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , genes includes at least 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , 40 ,
     CCNE1 , ESR1 , RIT1 , GATA3, MAP2K1, RHEB , ROS1 , 50 or all of the plurality of genes selected from the group .
     ARAF, MAP2K2, NFE2L2 , RHOA , and NTRK1 .               Another aspect of the present disclosure provides a
        In another aspect , a method comprises (a ) generating a method, comprising (a ) providing template polynucleotide
     plurality of sequence reads from a plurality of polynucle- 60 molecules and a set of library adaptors in a single reaction
     otide molecules , wherein the plurality of polynucleotide vessel , wherein the library adaptors are polynucleotide mol
     molecules cover genomic loci of a target genome, wherein ecules that have different molecular barcodes (e.g. , from 2 to
     the genomic loci correspond to a plurality of genes selected 1,000 different molecular barcodes ), and wherein none of
     from the group consisting of ALK , APC , BRAF, CDKN2A , the library adaptors contains a complete sequencer motif; (b )
     EGFR , ERBB2 , FBXW7 , KRAS, MYC , NOTCHI , NRAS, 65 in the single reaction vessel , coupling the library adaptors to
     PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKTI , the template polynucleotide molecules at an efficiency of at
     ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 , least 10 % , thereby tagging each template polynucleotide
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     with a tagging combination that is among a plurality of                 template polynucleotides , (ii ) for each of the families, merge
     different tagging combinations ( e.g. , 4 to 1,000,000 different        sequence reads to generate a consensus sequence, ( iii ) call
     tagging combinations), to produce tagged polynucleotide                 the consensus sequence at a given genomic locus among the
     molecules ; ( c ) subjecting the tagged polynucleotide mol genomic loci , and (iv ) detect at the given genomic locus any
     ecules to an amplification reaction under conditions that 5 of genetic variants among the calls , frequency of a genetic
     yield amplified polynucleotide molecules as amplification alteration among the calls , total number of calls ; and total
     products of the tagged polynucleotide molecules ; and (d) number of alterations among the calls , wherein the genomic
     sequencing the amplified polynucleotide molecules.          loci correspond to a plurality of genes selected from the
        In some embodiments, the template polynucleotide mol group consisting of ALK , APC , BRAF, CDKN2A , EGFR ,
     ecules are blunt ended or sticky - ended. In some embodi- 10 ERBB2 , FBXW7 , KRAS , MYC , NOTCH1 , NRAS,
     ments, the library adaptors are identical but for the molecu   PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKTI ,
     lar barcodes. In some embodiments, each of the library ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     adaptors has a double stranded portion and at least one FGFR2 , FGFR3 , FLT3, GNA11 , GNAQ , GNAS, HNF1A ,
     single - stranded portion . In some embodiments, the double    HRAS, IDH1 , IDH2 , JAK2 , JAK3, KDR , KIT, MLHI ,
     stranded portion has a molecular barcode among the 15 MPL , NPM1 , PDGFRA, PROC , PTPN11 , RET, SMAD4,
     molecular barcodes. In some embodiments, each of the SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
     library adaptors further comprises a strand - identification CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     barcode on the at least one single - stranded portion. In some TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RIT1 , GATA3 ,
     embodiments, the single - stranded portion has a partial MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     sequencer motif . In some embodiments, the library adaptors 20 RHOA , and NTRK1 .
     have a sequence of terminal nucleotides that are the same . In   In another aspect , a set of oligonucleotide molecules that
     some embodiments , the template polynucleotide molecules selectively hybridize to at least 5 genes selected from the
     are double - stranded . In some embodiments, the library adap  group consisting of ALK , APC , BRAF, CDKN2A , EGFR ,
     tors couple to both ends of the template polynucleotide                 ERBB2 , FBXW7 , KRAS , MYC , NOTCHI , NRAS,
     molecules .                                              25 PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
        In some embodiments , subjecting the tagged polynucle    ATM , CDH1 , CSF1R , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     otide molecules to the amplification reaction comprises    FGFR2 , FGFR3 , FLT3, GNA11, GNAQ , GNAS, HNF1A ,
     non - specifically amplifying the tagged polynucleotide molHRAS, IDHI , IDH2 , JAK2 , JAK3, KDR , KIT, MLH1 ,
     ecules .                                                   MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4,
        In some embodiments, the amplification reaction com- 30 SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
     prises use of a priming site to amplify each of the tagged CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     polynucleotide molecules . In some embodiments , the prim  TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RITI , GATA3 ,
     ing site is a primer. In some embodin nts, the primer is a MAP2K1, RHEB , ROSI, ARAF, MAP2K2, NFE2L2 ,
     universal primer. In some embodiments, the priming site is RHOA , and NTRK1 .
     a nick .                                                           35     In some embodiments, the oligonucleotide molecules are
        In some embodiments, the method further comprises , from 10-200 bases in length . In some embodiments, the
     prior to ( e) , (i ) separating polynucleotide molecules com       oligonucleotide molecules selectively hybridize to exon
     prising one or more given sequences from the amplified regions of the at least 5 genes . In some embodiments, the
     polynucleotide molecules , to produce enriched polynucle           oligonucleotide molecules selectively hybridize to at least
     otide molecules ; and (ii ) amplifying the enriched polynucle- 40 30 exons in the at least 5 genes . In some embodiments,
     otide molecules with sequencing adaptors .                         multiple oligonucleotide molecules selectively hybridize to
        In some embodiments, the efficiency is at least 30 % , 40 % , each of the at least 30 exons . In some embodiments, the
     or 50 % . In some embodiments , the method further com             oligonucleotide molecules that hybridize to each exon have
     prises identifying genetic variants upon sequencing the sequences that overlap with at least 1 other oligonucleotide
     amplified polynucleotide molecules . In some embodiments , 45 molecule .
     the sequencing comprises (i ) subjecting the amplified poly           In another aspect , a kit comprises a first container con
     nucleotide molecules to an additional amplification reaction taining a plurality of library adaptors each having a different
     under conditions that yield additional amplified polynucle molecular barcode; and a second container containing a
     otide molecules as amplification products of the amplified plurality of sequencing adaptors, each sequencing adaptor
     polynucleotide molecules , and ( ii ) sequencing the additional 50 comprising at least a portion of a sequencer motif and
     amplified polynucleotide molecules . In some embodiments, optionally a sample barcode . The library adaptors can be as
     the additional amplification is performed in the presence of described above or elsewhere herein .
     sequencing adaptors .                                                 In some embodiments , the sequencing adaptor comprises
        In some embodiments , (b ) and ( c ) are performed without the sample barcode . In some embodiments, the library
     aliquoting the tagged polynucleotide molecules . In some 55 adaptors are blunt ended and Y -shaped , and are less than or
     embodiments , the tagging is non -unique tagging.                  equal to 80 nucleic acid bases in length. In some embodi
        Another aspect , provides a system for analyzing a target ments, the sequencing adaptor is up to 70 bases from end to
     nucleic acid molecule of a subject, comprising a communi end .
     cation interface that receives nucleic acid sequence reads for        In another aspect , a method for detecting sequence vari
     a plurality of polynucleotide molecules that cover genomic 60 ants in a cell free DNA sample , comprising detecting rare
     loci of a target genome; computer memory that stores the DNA at a concentration less than 1 % with a specificity that
     nucleic acid sequence reads for the plurality of polynucle is greater than 99.9 % .
     otide molecules received by the communication interface;              In another aspect , a method comprises detecting genetic
     and a computer processor operatively coupled to the com            variants in a sample comprising DNA with a detection limit
     munication interface and the memory and programmed to (i ) 65 of at least 1 % and specificity greater than 99.9 % . In some
     group the plurality of sequence reads into families, wherein embodiments, the method further comprises converting
     each family comprises sequence reads from one of the cDNA ( e.g. cfDNA ) into adaptor tagged DNA with a con
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     version efficiency of at least 30% , 40 % , or 50 % and reducing ( b ) reducing and / or tracking redundancy in the set of
     sequencing noise ( or distortion ) by eliminating false positive sequence reads ; ( c ) sorting sequence reads into paired reads
     sequence reads .                                                   and unpaired reads , wherein (i ) each paired read corresponds
        Another aspect provides a method , comprising ( a ) pro to sequence reads generated from a first tagged strand and a
     viding a sample comprising a set of double - stranded poly- 5 second differently tagged complementary strand derived
     nucleotide molecules , each double - stranded polynucleotide from a double - stranded polynucleotide molecule in the set,
     molecule including first and second complementary strands; and (ii ) each unpaired read represents a first tagged strand
     (b) tagging the double - stranded polynucleotide molecules having no second differently tag complementary strand
     with a set of duplex tags , wherein each duplex tag differently derived from a double - stranded polynucleotide molecule
     tags the first and second complementary strands of a double- 10 represented among the sequence reads in the set of sequence
     stranded polynucleotide molecule in the set; (c ) sequencing reads; ( d ) determining quantitative measures of (i ) the paired
     at least some of the tagged strands to produce a set of reads and ( ii ) the unpaired reads that map to each of one or
     sequence reads; ( d ) reducing and /or tracking redundancy in more genetic loci ; and ( e) estimating a quantitative measure
     the set of sequence reads; ( e) sorting sequence reads into of total double - stranded polynucleotide molecules in the set
     paired reads and unpaired reads, wherein ( i ) each paired read 15 that map to each of the one or more genetic loci based on the
     corresponds to sequence reads generated from a first tagged quantitative measure of paired reads and unpaired reads
     strand and a second differently tagged complementary strand mapping to each locus .
     derived from a double - stranded polynucleotide molecule in           Another aspect provides a method, comprising ( a) pro
     the set, and ( ii ) each unpaired read represents a first tagged viding a sample comprising a set of double -stranded poly
     strand having no second differently tag complementary 20 nucleotide molecules , each double - stranded polynucleotide
     strand derived from a double - stranded polynucleotide mol molecule including first and second complementary strands;
     ecule represented among the sequence reads in the set of ( b ) tagging the double - stranded polynucleotide molecules
     sequence reads ; ( f) determining quantitative measures of ( i ) with a set of duplex tags , wherein each duplex tag differently
     the paired reads and ( ii ) the unpaired reads that map to each tags the first and second complementary strands of a double
     of one or more genetic loci ; and ( g ) estimating with a 25 stranded polynucleotide molecule in the set ; (c ) sequencing
     programmed computer processor a quantitative measure of at least some of the tagged strands to produce a set of
     total double - stranded polynucleotide molecules in the set          sequence reads; (d) reducing and / or tracking redundancy in
     that map to each of the one or more genetic loci based on the        the set of sequence reads; ( e) sorting sequence reads into
     quantitative measure of paired reads and unpaired reads paired reads and unpaired reads, wherein (i ) each paired read
     mapping to each locus .                                         30 corresponds to sequence reads generated from a first tagged
        In some embodiments, the method further comprises (h ) strand and a second differently tagged complementary strand
     detecting copy number variation in the sample by determin          derived from a double - stranded polynucleotide molecule in
     ing a normalized total quantitative measure determined in the set , and ( ii ) each unpaired read represents a first tagged
     step ( g) at each of the one or more genetic loci and strand having no second differently tag complementary
     determining copy number variation based on the normalized 35 strand derived from a double - stranded polynucleotide mol
     measure . In some embodiments , the sample comprises ecule represented among the sequence reads in the set of
     double - stranded polynucleotide molecules sourced substan         sequence reads; and ( f) determining quantitative measures of
     tially from cell - free nucleic acids . In some embodiments, the at least two of (i ) the paired reads, ( ii ) the unpaired reads that
     duplex tags are not sequencing adaptors.                           map to each of one or more genetic loci , (iii ) read depth of
        In some embodiments, reducing redundancy in the set of 40 the paired reads and (iv ) read depth of unpaired reads .
     sequence reads comprises collapsing sequence reads pro                In some embodiments, ( f) comprises determining quan
     duced from amplified products of an original polynucleotide titative measures of at least three of ( i ) - (iv ) . In some
     molecule in the sample back to the original polynucleotide embodiments , ( f ) comprises determining quantitative mea
     molecule . In some embodiments , the method further com            sures of all of (i ) - (iv) . In some embodiments , the method
     prises determining a consensus sequence for the original 45 further comprises ( g) estimating with a programmed com
     polynucleotide molecule . In some embodiments, the method puter processor a quantitative measure of total double
     further comprises identifying polynucleotide molecules at stranded polynucleotide molecules in the set that map to
     one or more genetic loci comprising a sequence variant. In each of the one or more genetic loci based on the quantita
     some embodiments, the method further comprises determin            tive measure of paired reads and unpaired reads and their
     ing a quantitative measure of paired reads that map to a 50 read depths mapping to each locus .
     locus , wherein both strands of the pair comprise a sequence          In another aspect , a method comprises (a ) tagging control
     variant. In some embodiments , the method further comprises parent polynucleotides with a first tag set to produce tagged
     determining a quantitative measure of paired molecules in control parent polynucleotides, wherein the first tag set
     which only one member of the pair bears a sequence variant comprises a plurality of tags , wherein each tag in the first tag
     and / or determining a quantitative measure of unpaired mol- 55 set comprises a same control tag and an identifying tag, and
     ecules bearing a sequence variant. In some embodiments, wherein the tag set comprises a plurality of different iden
     the sequence variant is selected from the group consisting of tifying tags ; ( b ) tagging test parent polynucleotides with a
     a single nucleotide variant, an indel , a transversion , a second tag set to produce tagged test parent polynucleotides ,
     translocation , an inversion , a deletion , a chromosomal struc wherein the second tag set comprises a plurality of tags ,
     ture alteration, a gene fusion, a chromosome fusion , a gene 60 wherein each tag in the second tag set comprises a same test
     truncation , a gene amplification, a gene duplication and a tag that is distinguishable from the control tag and an
     chromosomal lesion .                                               identifying tag , and wherein the second tag set comprises a
        Another aspect provides a system comprising a computer plurality of different identifying tags; ( c ) mixing tagged
     readable medium comprising machine - executable code that, control parent polynucleotides with tagged test parent poly
     upon execution by a computer processor, implements a 65 nucleotides to form a pool ; (d) amplifying tagged parent
     method comprising (a ) receiving into memory a set of polynucleotides in the pool to form a pool of amplified,
     sequence reads of polynucleotides tagged with duplex tags ; tagged polynucleotides ; ( e) sequencing amplified , tagged
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     polynucleotides in the amplified pool to produce a plurality derived from a double - stranded polynucleotide molecule in
     of sequence reads ; ( f) grouping sequence reads into families , the set , and ( ii ) each unpaired read represents a first tagged
     each family comprising sequence reads generated from a strand having no second differently tag complementary
     same parent polynucleotide, which grouping is optionally strand derived from a double - stranded polynucleotide mol
     based on information from an identifying tag and from 5 ecule represented among the sequence reads in the set of
     start/ end sequences of the parent polynucleotides, and, sequence reads . In some embodiments, the method further
     optionally, determining a consensus sequence for each of a comprises determining quantitative measures of ( i ) the
     plurality of parent polynucleotides from the plurality of paired reads and ( ii ) the unpaired reads that map to each of
     sequence reads in a group ; (g ) classifying each family or one or more genetic loci to determine a quantitative measure
     consensus sequence as a control parent polynucleotide or as 10 of total double - stranded DNA molecules in the sample that
     a test parent polynucleotide based on having a test tag or a map to each of the one or more genetic loci based on the
     control tag ; ( h ) determining a quantitative measure of con quantitative measure of paired reads and unpaired reads
     trol parent polynucleotides and control test polynucleotides mapping to each locus .
     mapping to each of at least two genetic loci ; and (i )              In another aspect , a method for reducing distortion in a
     determining copy number variation in the test parent poly- 15 sequencing assay, comprises (a) tagging control parent poly
     nucleotides at at least one locus based on relative quantity of nucleotides with a first tag set to produce tagged control
     test parent polynucleotides and control parent polynucle parent polynucleotides; (b ) tagging test parent polynucle
     otides mapping to the at least one locus .                        otides with a second tag set to produce tagged test parent
        In another aspect , a method comprises (a ) generating a polynucleotides ; ( c ) mixing tagged control parent poly
     plurality of sequence reads from a plurality of template 20 nucleotides with tagged test parent polynucleotides to form
     polynucleotides, each polynucleotide mapped to a genomic a pool; ( d ) determining quantities of tagged control parent
     locus ; (b ) grouping the sequence reads into families, each polynucleotides and tagged test parent polynucleotides; and
     family comprising sequence reads generated from one of the ( e ) using the quantities of tagged control parent polynucle
     template polynucleotides ; ( c ) calling a base (or sequence) at otides to reduce distortion in the quantities of tagged test
     the genomic locus for each of the families; ( d ) detecting at 25 parent polynucleotides.
     the genomic locus any of genomic alterations among the                  In some embodiments, the first tag set comprises a plu
     calls , frequency of a genetic alteration among the calls , total    rality of tags , wherein each tag in the first tag set comprises
     number of calls and total number of alterations among the            a same control tag and an identifying tag , and wherein the
     calls .                                                              first tag set comprises a plurality of different identifying
        In some embodiments, calling comprises any of phylo- 30 tags . In some embodiments, the second tag set comprises a
     genetic analysis, voting , weighing, assigning a probability to plurality of tags , wherein each tag in the second tag set
     each read at the locus in a family, and calling the base with comprises a same test tag and an identifying tag , wherein the
     the highest probability. In some embodiments, the method is test tag is distinguishable from the control tag , and wherein
     performed at two loci , comprising determining CNV at one the second tag set comprises a plurality of different identi
     of the loci based on counts at each of the loci .                 35 fying tags . In some embodiments, (d) comprises amplifying
        Another aspect provides a method for determining a tagged parent polynucleotides in the pool to form a pool of
     quantitative measure indicative of a number of individual amplified, tagged polynucleotides , and sequencing ampli
     double - stranded DNA fragments in a sample comprising (a ) fied , tagged polynucleotides in the amplified pool to produce
     determining a quantitative measure of individual DNA mol a plurality of sequence reads . In some embodiments, the
     ecules for which both strands are detected; ( b) determining 40 method further comprises grouping sequence reads into
     a quantitative measure of individual DNA molecules for families, each family comprising sequence reads generated
     which only one of the DNA strands are detected ; ( c ) infer from a same parent polynucleotide, which grouping is
     ring from (a ) and ( b ) above a quantitative measure of optionally based on information from an identifying tag and
     individual DNA molecules for which neither strand was from start/ end sequences of the parent polynucleotides, and ,
     detected ; and (d) using (a ) - (c ) determining the quantitative 45 optionally, determining a consensus sequence for each of a
     measure indicative of a number of individual double                  plurality of parent polynucleotides from the plurality of
     stranded DNA fragments in the sample.                                sequence reads in a group.
        In some embodiments, the method further comprises                    In some embodiments, (d) comprises determining copy
     detecting copy number variation in the sample by determin number variation in the test parent polynucleotides at greater
     ing a normalized quantitative measure determined in step (d) 50 than or equal to one locus based on relative quantity of test
     at each of one or more genetic loci and determining copy parent polynucleotides and control parent polynucleotides
     number variation based on the normalized measure . In some mapping to the locus .
     embodiments , the sample comprises double - stranded poly               Another aspect provides a method comprising ( a) ligating
     nucleotide molecules sourced substantially from cell- free adaptors to double - stranded DNA polynucleotides, wherein
     nucleic acids .                                            55 ligating is performed in a single reaction vessel , and wherein
        In some embodiments, determining the quantitative mea the adaptors comprise molecular barcodes , to produce a
     sure of individual DNA molecules comprises tagging the tagged library comprising an insert from the double -stranded
     DNA molecules with a set of duplex tags , wherein each DNA polynucleotides, and having between 4 and 1 million
     duplex tag differently tags complementary strands of a different tags ; (b ) generating a plurality of sequence reads
     double -stranded DNA molecule in the sample to provide 60 for each of the double -stranded DNA polynucleotides in the
     tagged strands. In some embodiments, the method further tagged library ; ( c ) grouping sequence reads into families ,
     comprises sequencing at least some of the tagged strands to each family comprising sequence reads generated from a
     produce a set of sequence reads . In some embodiments, the single DNA polynucleotide among the double - stranded
     method further comprises sorting sequence reads into paired DNA polynucleotides, based on information in a tag and
     reads and unpaired reads , wherein ( i ) each paired read 65 information at an end of the insert; and (d) calling bases at
     corresponds to sequence reads generated from a first tagged each position in the double - stranded DNA molecule based
     strand and a second differently tagged complementary strand on bases at the position in members of a family. In some
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     embodiments , ( b ) comprises amplifying each of the double   FIG . 1 is a flowchart representation of a method of the
     stranded DNA polynucleotide molecules in the tagged present disclosure for determining copy number variation
     library to generate amplification products, and sequencing ( CNV );
     the amplification products. In some embodiments, the          FIG . 2 depicts mapping of pairs and singlets to Locus A
     method further comprises sequencing the double -stranded 5 and Locus B in a genome;
     DNA polynucleotide molecules a plurality of times . In some   FIG . 3 shows a reference sequence encoding a genetic
     embodiments, ( b ) comprises sequencing the entire insert. In Locus A ;
     some embodiments, (c ) further comprises collapsing              FIGS . 4A - C shows amplification , sequencing, redun
     sequence reads in each family to generate a consensus         dancy  reduction and pairing of complementary molecules ;
                                                                      FIG . 5 shows increased confidence in detecting sequence
     sequence . In some embodiments, ( d) comprises calling a 10 variants
     plurality of sequential bases from at least a subset of the             by pairing reads from Watson and Crick strands;
     sequence reads to identify single nucleotide variations otherwiseFIG . 6 shows a computer system that is programmed or
     (SNV ) in the double - stranded DNA molecule .                            configured to implement various methods of the
                                                                   present  disclosure
        Another aspect provides a method of detecting disease 15 FIG . 7 is schematic ;
     cell heterogeneity from a sample comprising polynucle lyzing a sample comprising       representation of a system for ana
     otides from somatic cells and disease cells . The method                                      nucleic acids from a user,
                                                                   including  a  sequencer; bioinformatic software and internet
     comprises quantifying polynucleotides in the sample bear connection for report analysis by, for example      , a hand held
     ing a nucleotide sequence variant at each of a plurality of device or a desk top computer;
     genetic loci ; determining copy number variation ( CNV ) at 20 FIG . 8 is a flowchart representation of a method of this
     each of the plurality of genetic loci , wherein the CNV invention for determining CNV using pooled test and con
     indicates a genetic dose of a locus in the disease cell trol pools ; and
     polynucleotides; determining with a programmed computer            FIGS . 9A - 9C schematically illustrate a method for tag
     processor a relative measure of quantity of polynucleotides ging a polynucleotide molecule with a library adaptor and
     bearing a sequence variant at a locus per the genetic dose at 25 subsequently a sequencing adaptor.
     the locus for each of a plurality of the loci ; and comparing                   DETAILED DESCRIPTION
     the relative measures at each of the plurality of loci , wherein
     different relative measures is indicative of tumor heteroge              While various embodiments of the invention have been
     neity.
       In another aspect, a method comprises subjecting a sub- 30 shown
                                                                  skilled inandthedescribed   herein
                                                                                   art that such    , it will beareobvious
                                                                                                 embodiments        providedtobythose
                                                                                                                                 way
    ject to one or more pulsed therapy cycles , each pulsed                of example only. Numerous variations, changes , and substi
    therapy cycle comprising ( a) a first period during which a            tutions may occur to those skilled in the art without depart
     drug is administered at a first amount; and (b ) a second             ing from the invention . It should be understood that various
     period during which the drug is administered at a second, 35 alternatives to the embodiments of the invention described
     reduced amount, wherein ( i ) the first period is characterized       herein may be employed .
     by a tumor burden detected above a first clinical level ; and       The term “ genetic variant,” as used herein , generally
     ( ii ) the second period is characterized by a tumor burden      refers  to an alteration , variant or polymorphism in a nucleic
     detected below a second clinical level .                         acid sample or genome of a subject. Such alteration , variant
        Additional aspects and advantages of the present disclo- 40 or polymorphism can be with respect to a reference genome,
     sure will become readily apparent to those skilled in this art which may be a reference genome of the subject or other
     from the following detailed description, wherein only illus individual. Single nucleotide polymorphisms (SNPs) are a
     trative embodiments of the present disclosure are shown and form of polymorphisms. In some examples, one or more
     described . As will be realized , the present disclosure is polymorphisms comprise one or more single nucleotide
     capable of other and different embodiments, and its several 45 variations ( SNVs ), insertions, deletions , repeats, small inser
     details are capable of modifications in various obvious tions , small deletions, small repeats, structural variant junc
     respects , all without departing from the disclosure . Accord    tions , variable length tandem repeats, and / or flanking
     ingly, the drawings and description are to be regarded as sequences. Copy number variants (CNVs), transversions
     illustrative in nature , and not as restrictive .                and other rearrangements are also forms of genetic variation .
                                                                   50 A genomic alternation may be a base change, insertion,
                 INCORPORATION BY REFERENCE                           deletion , repeat, copy number variation , or transversion.
                                                                         The term “ polynucleotide , ” as used herein , generally
        All publications , patents, and patent applications men       refers to a molecule comprising one or more nucleic acid
     tioned in this specification are herein incorporated by ref subunits . A polynucleotide can include one or more subunits
     erence to the same extent as if each individual publication, 55 selected from adenosine ( A ), cytosine (C) , guanine (G) ,
     patent, or patent application was specifically and individu thymine (T ) and uracil ( U ), or variants thereof. A nucleotide
     ally indicated to be incorporated by reference.                  can include A , C , G , T or U , or variants thereof. A nucleotide
                                                                      can include any subunit that can be incorporated into a
            BRIEF DESCRIPTION OF THE DRAWINGS                         growing nucleic acid strand. Such subunit can be an A , C , G ,
                                                                        60 T, or U , or any other subunit that is specific to one or more
       The novel features of the invention are set forth with              complementary A , C , G , T or U , or complementary to a
     particularity in the appended claims . A better understanding purine (i.e. , A or G , or variant thereof) or a pyrimidine (i.e. ,
     of the features and advantages of the present invention will C , T or U , or variant thereof). A subunit can enable indi
     be obtained by reference to the following detailed descrip vidual nucleic acid bases or groups of bases ( e.g. , AA , TA ,
     tion that sets forth illustrative embodiments , in which the 65 AT, GC , CG , CT, TC , GT, TG , AC , CA , or uracil -counter
     principles of the invention are utilized, and the accompany parts thereof) to be resolved . In some examples, a poly
     ing drawings (also “ figure” and “ FIG . ” herein ), of which : nucleotide is deoxyribonucleic acid ( DNA ) or ribonucleic
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     acid (RNA ), or derivatives thereof. A polynucleotide can be example , the amount “ at least 10 " can include the value 10
     single - stranded or double stranded .                                and any numerical value above 10 , such as 11 , 100 , and
         The term “ subject," as used herein , generally refers to an 1,000 .
     animal, such as a mammalian species ( e.g. , human ) or avian            The term “ at most ” and its grammatical equivalents in
     ( e.g. , bird ) species , or other organism , such as a plant. More 5 relation to a reference numerical value can include the
     specifically, the subject can be a vertebrate , a mammal, a              reference numerical value and less than that value . For
     mouse , a primate , a simian or a human . Animals include , but          example, the amount “ at most 10 ” can include the value 10
     are not limited to , farm animals, sport animals, and pets . A           and any numerical value under 10 , such as 9 , 8 , 5 , 1 , 0.5 , and
     subject can be a healthy individual, an individual that has or 0.1 .
     is suspected of having a disease or a pre -disposition to the 10 1. Methods for Processing and / or Analyzing a Nucleic
     disease , or an individual that is in need of therapy or                 Acid Sample
     suspected of needing therapy. A subject can be a patient.                  An aspect of the present disclosure provides methods for
         The term “ genome ” generally refers to an entirety of an determining a genomic alternation in a nucleic acid sample
     organism's hereditary information . A genome can be of a subject. FIG . 1 shows a method of determining copy
     encoded either in DNA or in RNA . A genome can comprise 15 number variation (CNV ). The method can be implemented
     coding regions that code for proteins as well as non -coding to determine other genomic alternations, such as SNVs.
     regions . A genome can include the sequence of all chromo                         A. Polynucleotide Isolation
     somes together in an organism . For example, the human                            Methods disclosed herein can comprise isolating one or
     genome has a total of 46 chromosomes. The sequence of all more polynucleotides. A polynucleotide can comprise any
     of these together constitutes a human genome.                               20 type of nucleic acid , for example, a sequence of genomic
         The terms “ adaptor (s ) ", " adapter ( s ) ” and “ tag ( s ) ” are used nucleic acid , or an artificial sequence ( e.g. , a sequence not
     synonymously throughout this specification. An adaptor or found in genomic nucleic acid) . For example, an artificial
     tag can be coupled to a polynucleotide sequence to be sequence can contain non -natural nucleotides . Also , a poly
     " tagged " by any approach including ligation , hybridization , nucleotide can comprise both genomic nucleic acid and an
     or other approaches .                                                       25 artificial sequence , in any portion . For example, a polynucle
         The term " library adaptor " or " library adapter " as used otide can comprise 1 to 99 % of genomic nucleic acid and
     herein , generally refers to a molecule (e.g. , polynucleotide) 99 % to 1 % of artificial sequence, where the total adds up to
     whose identity ( e.g. , sequence ) can be used to differentiate 100 % . Thus, fractions of percentages are also contemplated.
     polynucleotides in a biological sample ( also " sample " For example, a ratio of 99.1 % to 0.9 % is contemplated.
     herein ).                                                                   30    A polynucleotide can comprise any type of nucleic acids ,
         The term “ sequencing adaptor, ” as used herein , generally such as DNA and / or RNA . For example, if a polynucleotide
     refers to a molecule ( e.g. , polynucleotide) that is adapted to is DNA , it can be genomic DNA , complementary DNA
     permit a sequencing instrument to sequence a target poly                       ( cDNA ), or any other deoxyribonucleic acid . A polynucle
     nucleotide, such as by interacting with the target polynucle otide can also be cell- free DNA ( cfDNA ). For example, the
     otide to enable sequencing. The sequencing adaptor permits 35 polynucleotide can be circulating DNA . The circulating
     the target polynucleotide to be sequenced by the sequencing DNA can comprise circulating tumor DNA ( ctDNA ). A
     instrument. In an example, the sequencing adaptor com                          polynucleotide can be double - stranded or single - stranded.
     prises a nucleotide sequence that hybridizes or binds to a Alternatively, a polynucleotide can comprise a combination
     capture polynucleotide attached to a solid support of a of a double - stranded portion and a single - stranded portion .
     sequencing system , such as a flow cell . In another example, 40 Polynucleotides do not have to be cell- free . In some cases ,
     the sequencing adaptor comprises a nucleotide sequence that the polynucleotides can be isolated from a sample . For
     hybridizes or binds to a polynucleotide to generate a hairpin example , in step ( 102 ) ( FIG . 1 ) , double - stranded polynucle
     loop , which permits the target polynucleotide to be otides are isolated from a sample. A sample can be any
     sequenced by a sequencing system . The sequencing adaptor biological sample isolated from a subject. For example, a
     can include a sequencer motif, which can be a nucleotide 45 sample can comprise, without limitation, bodily fluid , whole
      sequence that is complementary to a flow cell sequence of blood , platelets , serum , plasma , stool , red blood cells , white
     other molecule ( e.g. , polynucleotide ) and usable by the blood cells or leucocytes, endothelial cells , tissue biopsies ,
     sequencing system to sequence the target polynucleotide.                 synovial fluid, lymphatic fluid, ascites fluid , interstitial or
     The sequencer motif can also include a primer sequence for               extracellular fluid , the fluid in spaces between cells , includ
     use in sequencing, such as sequencing by synthesis. The 50 ing gingival crevicular fluid , bone marrow , cerebrospinal
     sequencer motif can include the sequence ( s) needed to fluid , saliva , mucous, sputum , semen , sweat , urine, or any
     couple a library adaptor to a sequencing system and other bodily fluids. A bodily fluid can include saliva , blood ,
     sequence the target polynucleotide.                                     or serum . For example, a polynucleotide can be cell - free
        As used herein the terms at least” , “ at most” or “ about ” , DNA isolated from a bodily fluid , e.g. , blood or serum . A
     when preceding a series, refers to each member of the series, 55 sample can also be a tumor sample , which can be obtained
     unless otherwise identified .                                           from a subject by various approaches, including , but not
        The term " about" and its grammatical equivalents in limited to , venipuncture, excretion, ejaculation, massage ,
     relation to a reference numerical value can include a range biopsy, needle aspirate, lavage , scraping, surgical incision,
     of values up to plus or minus 10% from that value . For or intervention or other approaches.
     example , the amount “ about 10 ” can include amounts from 60 A sample can comprise various amount of nucleic acid
     9 to 11. In other embodiments, the term “ about” in relation that contains genome equivalents. For example , a sample of
     to a reference numerical value can include a range of values about 30 ng DNA can contain about 10,000 ( 104 ) haploid
     plus or minus 10 % , 9 % , 8 % , 7 % , 6 % , 5 % , 4 % , 3 % , 2 % , or human genome equivalents and, in the case of cfDNA , about
     1 % from that value .                                                   200 billion (2x101 ) individual polynucleotide molecules .
        The term “ at least ” and its grammatical equivalents in 65 Similarly, a sample of about 100 ng of DNA can contain
     relation to a reference numerical value can include the                  about 30,000 haploid human genome equivalents and , in the
     reference numerical value and greater than that value . For              case of cfDNA , about 600 billion individual molecules .
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                                     17                                                                           18
        A sample can comprise nucleic acids from different Efficiency can also be optimized by varying the addition
     sources . For example, a sample can comprise germline DNA           order of various components of the reaction . The end of tag
     or somatic DNA . A sample can comprise nucleic acids sequence can comprise dinucleotide to increase ligation
     carrying mutations. For example, a sample can comprise efficiency . When the tag comprises a non -complementary
     DNA carrying germline mutations and / orsomatic mutations. 5 portion ( e.g. , Y - shaped adaptor ), the sequence on the
     A sample can also comprise DNA carrying cancer-associ complementary portion of the tag adaptor can comprise one
     ated mutations (e.g. , cancer - associated somatic mutations). or more selected sequences that promote ligation efficiency.
        B. Tagging                                                       Preferably such sequences are located at the terminal end of
        Polynucleotides disclosed herein can be tagged . For the tag . Such sequences can comprise 1 , 2 , 3 , 4 , 5 , or 6
     example , in step ( 104 ) (FIG . 1 ) the double - stranded poly- 10 terminal bases . Reaction solution with high viscosity (e.g. , a
     nucleotides are tagged with duplex tags , tags that differently low Reynolds number ) can also be used to increase ligation
     label the complementary strands ( i.e. , the “ Watson” and efficiency. For example, solution can have a Reynolds num
     “ Crick ” strands ) of a double - stranded molecule . In one               ber less than 3000 , less than 2000 , less than 1000 , less than
     embodiment the duplex tags are polynucleotides having                      900 , less than 800 , less than 700 , less than 600 , less than
     complementary and non -complementary portions.                          15 500 , less than 400 , less than 300 , less than 200 , less than
        Tags can be any types of molecules attached to a poly        100 , less than 50 , less than 25 , or less than 10. It is also
     nucleotide , including , but not limited to , nucleic acids , contemplated that roughly unified distribution of fragments
     chemical compounds, florescent probes , or radioactive (e.g. , tight standard deviation ) can be used to increase
     probes. Tags can also be oligonucleotides (e.g. , DNA or ligation efficiency. For example, the variation in fragment
     RNA ). Tags can comprise known sequences , unknown 20 sizes can vary by less than 20% , less than 15 % , less than
     sequences , or both . A tag can comprise random sequences , 10% , less than 5 % , or less than 1 % . Tagging can also
     pre -determined sequences, or both . A tag can be double        comprise primer extension , for example , by polymerase
     stranded or single -stranded . A double - stranded tag can be a chain reaction ( PCR) . Tagging can also comprise any of
     duplex tag . A double - stranded tag can comprise two comple ligation- based PCR , multiplex PCR , single strand ligation ,
     mentary strands . Alternatively, a double - stranded tag can 25 or single strand circularization .
     comprise a hybridized portion and a non -hybridized portion .     In some instances , the tags herein comprise molecular
     The double - stranded tag can be Y -shaped, e.g. , the hybrid              barcodes . Such molecular barcodes can be used to differen
     ized portion is at one end of the tag and the non -hybridized tiate polynucleotides in a sample. Preferably molecular
     portion is at the opposite end of the tag . One such example barcodes are different from one another. For example,
     are the “ Y adapters ” used in Illumina sequencing. Other 30 molecular barcodes can have a difference between them that
     examples include hairpin shaped adapters or bubble shaped can be characterized by a predetermined edit distance or a
     adapters. Bubble shaped adapters have non -complementary Hamming distance . In some instances, the molecular bar
     sequences flanked on both sides by complementary codes herein have a minimum edit distance of 1 , 2 , 3 , 4 , 5 ,
     sequences.                                                                6 , 7 , 8 , 9 , or 10. To further improve efficiency of conversion
        Tagging disclosed herein can be performed using any 35 (e.g. , tagging ) of untagged molecular to tagged molecules ,
     method . A polynucleotide can be tagged with an adaptor by one preferably utilizes short tags . For example, in some
     hybridization. For example, the adaptor can have a nucleo                 embodiments, a library adapter tag can be up to 65 , 60 , 55 ,
     tide sequence that is complementary to at least a portion of 50 , 45 , 40 , or 35 nucleotide bases in length . A collection of
     a sequence of the polynucleotide. As an alternative, a such short library barcodes preferably includes a number of
     polynucleotide can be tagged with an adaptor by ligation . 40 different molecular barcodes , e.g. , at least 2 , 4 , 6 , 8 , 10 , 12 ,
        For example, tagging can comprise using one or more 14 , 16 , 18 or 20 different barcodes with a minimum edit
     enzymes . The enzyme can be a ligase . The ligase can be a distance of 1 , 2 , 3 or more.
     DNA ligase . For example, the DNA ligase can be a T4 DNA                      Thus, a collection of molecules can include one or more
     ligase , E. coli DNA ligase , and / or mammalian ligase . The tags . In some instances, some molecules in a collection can
     mammalian ligase can be DNA ligase I , DNA ligase III , or 45 include an identifying tag ( “ identifier” ) such as a molecular
     DNA ligase IV . The ligase can also be a thermostable ligase . barcode that is not shared by any other molecule in the
     Tags can be ligated to a blunt - end of a polynucleotide collection . For example, in some instances of a collection of
     ( blunt - end ligation) . Alternatively, tags can be ligated to a molecules , at least 50 % , at least 51 % , at least 52 % , at least
     sticky end of a polynucleotide ( sticky - end ligation ). Effi            53 % , at least 54 % , at least 55 % , at least 56 % , at least 57 % ,
     ciency of ligation can be increased by optimizing various 50 at least 58 % , at least 59 % , at least 60 % , at least 61 % , at least
     conditions . Efficiency of ligation can be increased by opti              62 % , at least 63 % , at least 64 % , at least 65 % , at least 66 % ,
     mizing the reaction time of ligation. For example, the at least 67 % , at least 68 % , at least 69 % , at least 70% , at least
     reaction time of ligation can be less than 12 hours, e.g. , less 71 % , at least 72 % , at least 73 % , at least 74 % , at least 75 % ,
     than 1 , less than 2 , less than 3 , less than 4 , less than 5 , less at least 76 % , at least 77 % , at least 78 % , at least 79 % , at least
     than 6 , less than 7 , less than 8 , less than 9 , less than 10 , less 55 80% , at least 81 % , at least 82 % , at least 83 % , at least 84 % ,
     than 11 , less than 12 , less than 13 , less than 14 , less than 15 ,      at least 85 % , at least 86 % , at least 87 % , at least 88 % , at least
     less than 16 , less than 17 , less than 18 , less than 19 , or less        89 % , at least 90% , at least 91 % , at least 92 % , at least 93 % ,
     than 20 hours. In a particular example, reaction time of                   at least 94 % , at least 95 % , at least 96 % , at least 97 % , at least
     ligation is less than 20 hours . Efficiency of ligation can be             98 % , at least 99 % , or 100 % of the molecules in the collec
     increased by optimizing the ligase concentration in the 60 tion can include an identifier or molecular barcode that is not
     reaction . For example, the ligase concentration can be at shared by any other molecule in the collection . As used
     least 10 , at least 50 , at least 100 , at least 150 , at least 200 , herein , a collection of molecules is considered to be
     at least 250 , at least 300 , at least 400 , at least 500 , or at least “ uniquely tagged ” if each of at least 95 % of the molecules
     600 unit/microliter. Efficiency can also be optimized by in the collection bears an identifier that is not shared by any
     adding or varying the concentration of an enzyme suitable 65 other molecule in the collection (“ unique tag ” or “ unique
     for ligation, enzyme cofactors or other additives , and / or identifier " ). A collection of molecules is considered to be
     optimizing a temperature of a solution having the enzyme. " non -uniquely tagged ” if each of at least 1 % , at least 5 % , at
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                                     19                                                                        20
     least 10% , at least 15 % , at least 20% , at least 25 % , at least       cancer, cutaneous T - cell lymphoma, ductal carcinoma in
     30 % , at least 35 % , at least 40 % , at least 45 % , or at least or     situ , endometrial cancer , esophageal cancer, Ewing Sar
     about 50 % of the molecules in the collection bears an                    coma , eye cancer, intraocular melanoma, retinoblastoma ,
     identifying tag or molecular barcode that is shared by at least fibrous histiocytoma , gallbladder cancer, gastric cancer,
     one other molecule in the collection ( “ non -unique tag ” or 5 glioma , hairy cell leukemia, head and neck cancer, heart
     “ non -unique identifier” ). Accordingly, in a non -uniquely cancer, hepatocellular (liver) cancer, Hodgkin lymphoma,
     tagged population no more than 1 % of the molecules are hypopharyngeal cancer, kidney cancer, laryngeal cancer , lip
     uniquely tagged . For example, in a non -uniquely tagged cancer, oral cavity cancer, lung cancer, non - small cell car
     population , no more than 1 % , 5 % , 10 % , 15 % , 20% , 25 % , cinoma , small cell carcinoma, melanoma, mouth cancer,
     30 % , 35 % , 40 % , 45 % , or 50 % of the molecules can be 10 myelodysplastic syndromes, multiple myeloma, medullo
     uniquely tagged .                                                      blastoma , nasal cavity cancer , paranasal sinus cancer, neu
        A number of different tags can be used based on the roblastoma, nasopharyngeal cancer , oral cancer, oropharyn
     estimated number of molecules in a sample. In some tagging geal cancer, osteosarcoma, ovarian cancer, pancreatic
     methods, the number of different tags can be at least the cancer, papillomatosis, paraganglioma, parathyroid cancer,
     same as the estimated number ofmolecules in the sample. In 15 penile cancer, pharyngeal cancer, pituitary tumor, plasma
     other tagging methods, the number of different tags can be cell neoplasm , prostate cancer, rectal cancer , renal cell
     at least two , three, four, five, six , seven , eight, nine, ten , one cancer, rhabdomyosarcoma, salivary gland cancer, Sezary
     hundred or one thousand times as many as the estimated syndrome, skin cancer, nonmelanoma, small intestine can
     number of molecules in the sample . In unique tagging , at cer, soft tissue sarcoma, squamous cell carcinoma, testicular
     least two times (or more ) as many different tags can be used 20 cancer , throat cancer, thymoma, thyroid cancer , urethral
     as the estimated number of molecules in the sample .                   cancer, uterine cancer, uterine sarcoma, vaginal cancer,
        The molecules in the sample may be non -uniquely tagged . vulvar cancer, Waldenstrom macroglobulinemia, and / or
     In such instances a fewer number of tags or molecular Wilms Tumor.
     barcodes is used then the number of molecules in the sample              A haploid human genome equivalent has about 3 pico
     to be tagged . For example, no more than 100 , 50 , 40 , 30 , 20 25 grams of DNA . A sample of about 1 microgram of DNA
     or 10 unique tags or molecular barcodes are used to tag a contains about 300,000 haploid human genome equivalents .
     complex sample such as a cell free DNA sample with many Improvements in sequencing can be achieved as long as at
     more different fragments.                                       least some of the duplicate or cognate polynucleotides bear
       The polynucleotide to be tagged can be fragmented, such unique identifiers with respect to each other, that is , bear
     as either naturally or using other approaches, such as , for 30 different tags . However, in certain embodiments, the number
     example, shearing. The polynucleotides can be fragmented of tags used is selected so that there is at least a 95 % chance
     by certain methods, including but not limited to , mechanical that all duplicate molecules starting at any one position bear
     shearing, passing the sample through a syringe , sonication , unique identifiers . For example , in a sample comprising
     heat treatment (e.g. , for 30 minutes at 90 ° C. ) , and / or about 10,000 haploid human genome equivalents of frag
     nuclease treatment (e.g. , using DNase , RNase , endonu- 35 mented genomic DNA , e.g. , cfDNA , z is expected to be
     clease , exonuclease , and / or restriction enzyme ).           between 2 and 8. Such a population can be tagged with
        The polynucleotides fragments ( prior to tagging ) can between about 10 and 100 different identifiers , for example,
     comprise sequences of any length . For example, polynucle                     about 2 identifiers, about 4 identifiers, about 9 identifiers ,
     otide fragments (prior to tagging ) can comprise at least 50 , about 16 identifiers, about 25 identifiers, about 36 different
     55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 , 105 , 110 , 115 , 120 , 40 identifiers, about 49 different identifiers, about 64 different
     125 , 130 , 135 , 140 , 145 , 150 , 155 , 160 , 165 , 170 , 175 , 180 , identifiers, about 81 different identifiers , or about 100 dif
     185 , 190 , 195 , 200 , 205 , 210 , 215 , 220 , 225 , 230 , 235 , 240 , ferent identifiers.
     245 , 250 , 255 , 260 , 265 , 270 , 275 , 280 , 285 , 290 , 295 , 300 ,          Nucleic acid barcodes having identifiable sequences
     400 , 500 , 600 , 700 , 800 , 900 , 1000 , 1100 , 1200 , 1300 , 1400 , including molecular barcodes, can be used for tagging . For
     1500 , 1600 , 1700 , 1800 , 1900 , 2000 or more nucleotides in 45 example, a plurality of DNA barcodes can comprise various
     length . The polynucleotide fragment are preferably about numbers of sequences of nucleotides. A plurality of DNA
     the average length of cell- free DNA . For example, the barcodes having 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 ,
     polynucleotide fragments can comprise about 160 bases in 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 or
     length . The polynucleotide fragment can also be fragmented more identifiable sequences of nucleotides can be used .
     from a larger fragment into smaller fragments about 160 50 When attached to only one end of a polynucleotide, the
     bases in length .                                           plurality of DNA barcodes can produce 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 ,
        Polynucleotides tagged can comprise sequences associ         10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 ,
     ated with cancer . The cancer -associated sequences can com     26 , 27 , 28 , 29 , 30 or more different identifiers. Alternatively,
     prise single nucleotide variation ( SNV ), copy number varia    when attached to both ends of a polynucleotide, the plurality
     tion (CNV ), insertions, deletions, and / or rearrangements. 55 DNA barcodes can produce 4 , 9 , 16 , 25 , 36 , 49 , 64 , 81 , 100 ,
        The polynucleotides can comprise sequences associated 121 , 144 , 169 , 196 , 225 , 256 , 289 , 324 , 361 , 400 or more
     with cancer , such as acute lymphoblastic leukemia (ALL ) , different identifiers (which is the “ 2 of when the DNA
     acute myeloid leukemia ( AML ), adrenocortical carcinoma, barcode is attached to only 1 end of a polynucleotide ). In one
     Kaposi Sarcoma, anal cancer, basal cell carcinoma, bile duct example, a plurality of DNA barcodes having 6 , 7 , 8 , 9 or 10
     cancer, bladder cancer, bone cancer, osteosarcoma, malig- 60 identifiable sequences of nucleotides can be used . When
     nant fibrous histiocytoma , brain stem glioma , brain cancer, attached to both ends of a polynucleotide, they produce 36 ,
     craniopharyngioma, ependymoblastoma, ependymoma, 49 , 64 , 81 or 100 possible different identifiers, respectively .
     medulloblastoma, medulloeptithelioma, pineal parenchymal In a particular example, the plurality of DNA barcodes can
     tumor, breast cancer, bronchial tumor, Burkitt lymphoma, comprise 8 identifiable sequences of nucleotides. When
     Non -Hodgkin lymphoma, carcinoid tumor, cervical cancer, 65 attached to only one end of a polynucleotide, the plurality of
     chordoma, chronic lymphocytic leukemia (CLL ) , chronic DNA barcodes can produce 8 different identifiers. Alterna
     myelogenous leukemia (CML ) , colon cancer, colorectal tively, when attached to both ends of a polynucleotide, the
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     plurality of DNA barcodes can produce 64 different identi                         can be attached to the polynucleotide by ligation using an
     fiers. Samples tagged in such a way can be those with a          enzyme. The barcode identifier can also be incorporated into
     range of about 10 ng to any of about 100 ng , about 1 about      the polynucleotide through PCR . In other cases , the reaction
     10 ug of fragmented polynucleotides, e.g. , genomic DNA ,        may comprise addition of a metal isotope , either directly to
     e.g. , cfDNA.                                                 5 the analyte or by a probe labeled with the isotope . Generally ,
        A polynucleotide can be uniquely identified in various assignment of unique or non -unique identifiers or molecular
     ways . A polynucleotide can be uniquely identified by a barcodes in reactions of this disclosure may follow methods
     unique DNA barcode. For example, any two polynucleotides and systems described by, for example, U.S. patent appli
     in a sample are attached two different DNA barcodes . cations 2001/0053519 , 2003/0152490 , 2011/0160078 and
     Alternatively, a polynucleotide can be uniquely identified by 10 U.S. Pat. No. 6,582,908 , each of which is entirely incorpo
     the combination of a DNA barcode and one or more endog           rated herein by reference .
     enous sequences of the polynucleotide. For example, any             Identifiers or molecular barcodes used herein may be
     two polynucleotides in a sample can be attached the same completely endogenous whereby circular ligation of indi
     DNA barcode, but the two polynucleotides can still be vidual fragments may be performed followed by random
     identified by different endogenous sequences. The endog- 15 shearing or targeted amplification. In this case, the combi
     enous sequence can be on an end of a polynucleotide. For nation of a new start and stop point of the molecule and the
     example, the endogenous sequence can be adjacent ( e.g. , original intramolecular ligation point can form a specific
     base in between ) to the attached DNA barcode . In some                 identifier.
     instances the endogenous sequence can be at least 2 , 4 , 6 , 8 ,          Identifiers or molecular barcodes used herein can com
     10 , 20 , 30 , 40 , 50 , 60 , 70 , 80 , 90 , or 100 bases in length. 20 prise any types of oligonucleotides. In some cases , identi
     Preferably, the endogenous sequence is a terminal sequence fiers may be predetermined, random , or semi- random
     of the fragment/polynucleotides to be analyzed . The endog sequence oligonucleotides. Identifiers can be barcodes. For
     enous sequence may be the length of the sequence . For example, a plurality of barcodes ma be used such that
     example, a plurality of DNA barcodes comprising 8 different barcodes are not necessarily unique to one another in the
     DNA barcodes can be attached to both ends of each poly- 25 plurality. Alternatively, a plurality of barcodes may be used
     nucleotide in a sample. Each polynucleotide in the sample such that each barcode is unique to any other barcode in the
     can be identified by the combination of the DNA barcodes plurality. The barcodes can comprise specific sequences
     and about 10 base pair endogenous sequence on an end of (e.g. , predetermined sequences ) that can be individually
     the polynucleotide. Without being bound by theory, the tracked . Further, barcodes may be attached ( e.g. , by ligation )
     endogenous sequence of a polynucleotide can also be the 30 to individual molecules such that the combination of the
     entire polynucleotide sequence .                                        barcode and the sequence it may be ligated to creates a
        Also disclosed herein are compositions of tagged poly                          specific sequence that may be individually tracked . As
     nucleotides . The tagged polynucleotide can be single           described herein , detection of barcodes in combination with
     stranded . Alternatively , the tagged polynucleotide can be sequence data of beginning ( start) and / or end ( stop ) portions
     double - stranded ( e.g. , duplex -tagged polynucleotides ). 35 of sequence reads can allow assignment of a unique identity
     Accordingly, this invention also provides compositions of to a particular molecule . The length or number of base pairs
     duplex -tagged polynucleotides. The polynucleotides can of an individual sequence read may also be used to assign a
     comprise any types of nucleic acids ( DNA and / or RNA ). unique identity to such a molecule . As described herein ,
     The polynucleotides comprise any types of DNA disclosed                           fragments from a single strand of nucleic acid having been
     herein. For example , the polynucleotides can comprise 40 assigned a unique identity, may thereby permit subsequent
     DNA , e.g. , fragmented DNA or cfDNA . A set of polynucle       identification of fragments from the parent strand . In this
     otides in the composition that map to a mappable base way the polynucleotides in the sample can be uniquely or
     position in a genome can be non -uniquely tagged, that is , the substantially uniquely tagged . A duplex tag can include a
     number of different identifiers can be at least 2 and fewer degenerate or semi-degenerate nucleotide sequence , e.g. , a
     than the number of polynucleotides that map to the map- 45 random degenerate sequence. The nucleotide sequence can
     pable base position . The number of different identifiers can comprise any number of nucleotides . For example, the
     also be at least 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 ,   nucleotide sequence can comprise 1 ( if using a non - natural
     17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 and fewer than the number
                                                                      nucleotide ), 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 ,
     of polynucleotides that map to the mappable base position .      17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 ,
        In some instances, as a composition goes from about 1 ng 50 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 ,
     to about 10 ug or higher, a larger set of different molecular 49 , 50 or more nucleotides. In a particular example , the
     barcodes can be used . For example, between 5 and 100 sequence can comprise 7 nucleotides . In another example,
     different library adaptors can be used to tag polynucleotides the sequence can comprise 8 nucleotides. The sequence can
     in a cfDNA sample.                                               also comprise 9 nucleotides . The sequence can comprise 10
        The systems and methods disclosed herein may be used in 55 nucleotides.
     applications that involve the assignment of molecular bar          A barcode can comprise contiguous or non -contiguous
     codes . The molecular barcodes can be assigned to any types sequences. A barcode that comprises at least 1 , 2 , 3 , 4 , 5 or
     of polynucleotides disclosed in this invention . For example, more nucleotides is a contiguous sequence or non -contigu
     the molecular barcodes can be assigned to cell - free poly       ous sequence . if the 4 nucleotides are uninterrupted by any
     nucleotides ( e.g. , cfDNAs). Often , an identifier disclosed 60 other nucleotide . For example, if a barcode comprises the
     herein can be a barcode oligonucleotide that is used to tag sequence TTGC , a barcode is contiguous if the barcode is
     the polynucleotide. The barcode identifier may be a nucleic TTGC . On the other hand, a barcode is non - contiguous if the
     acid oligonucleotide ( e.g. , a DNA oligonucleotide ). The barcode is TTXGC , where X is a nucleic acid base .
     barcode identifier can be single - stranded . Alternatively, the An identifier or molecular barcode can have an n -mer
     barcode identifier can be double - stranded . The barcode 65 sequence which may be 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 ,
     identifier can be attached to polynucleotides using any 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 ,
     method disclosed herein . For example, the barcode identifier 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 ,
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     46 , 47 , 48 , 49 , 50 or more nucleotides in length . A tag herein   The location of the different barcode sequences can vary
     can comprise any range of nucleotides in length . For within the plurality of polynucleotides. For example, the
     example , the sequence can be between 2 to 100 , 10 to 90 , 20 different barcode sequences can be within 20 , 15 , 10 , 9 , 8 ,
     to 80 , 30 to 70 , 40 to 60 , or about 50 nucleotides in length . 7 , 6 , 5 , 4 , 3 , or 2 nucleic acid bases from a terminal end of
        The tag can comprise a double - stranded fixed reference 5 a respective one of the plurality of polynucleotide mol
     sequence downstream of the identifier or molecular barcode . ecules . In an example , a plurality of polynucleotide mol
     Alternatively, the tag can comprise a double -stranded fixed ecules has distinct barcode sequences that are within 10
     reference sequence upstream or downstream of the identifier                        nucleic acid bases from the terminal end . In another
     or molecular barcode. Each strand of a double - stranded fixed                     example , a plurality of polynucleotide molecules has distinct
     reference sequence can be , for example , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 barcode sequences that are within 5 or 1 nucleic acid bases
     10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , from the terminal end . In other instances , the distinct bar
     26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , code sequences can be at the terminal end of a respective one
     42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 nucleotides in length .              of the plurality of polynucleotide molecules . Other varia
        C. Adaptors                                                                  tions include that the distinct molecular barcode sequences
        A library of polynucleotidemolecules can be synthesized 15 can be within 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10, 11 , 12 , 13 , 14 , 15 , 16 ,
     for use in sequencing. For example , a library of polynucle                        17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 ,
     otides comprising a plurality of polynucleotide molecules 33 , 34 , 35 , 36 , 37 , 38 , 39 , or 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 ,
     that are each less than or equal to 100 , 90 , 80 , 70 , 60 , 50 , 45 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 , 61 , 62 , 63 ,
     40 , or 35 nucleic acid (or nucleotide ) bases in length can be 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 , 77 , 78 , 79 ,
     made . A plurality of polynucleotide molecules can be each 20 80 , 81 , 82 , 83 , 84 , 85, 86 , 87 , 88 , 89 , 90 , 91 , 92 , 93 , 94, 95 ,
     less than or equal to 35 nucleic acid bases in length . A 96 , 97 , 98 , 99 , 100 , 101 , 102 , 103 , 104 , 105 , 106 , 107 , 108 ,
     plurality of polynucleotide molecules can be each less than 109 , 110 , 111 , 112 , 113 , 114 , 115 , 116 , 117 , 118 , 119 , 120 ,
     or equal to 30 nucleic acid bases in length. A plurality of 121 , 122 , 123 , 124 , 125 , 126 , 127 , 128 , 129 , 130 , 131 , 132 ,
     polynucleotide molecules can also be less than or equal to 133 , 134 , 135 , 136 , 137 , 138 , 139 , 140 , 141 , 142 , 143 , 144 ,
     250 , 200 , 150 , 100 , or 50 nucleic acid bases . Additionally, 25 145 , 146 , 147 , 148 , 149 , 150 , 151 , 152 , 153 , 154 , 155 , 156 ,
     the plurality of polynucleotide molecules can also be less 157 , 158 , 159 , 160 , 161 , 162 , 163 , 164 , 165 , 166 , 167 , 168 ,
     than or equal to 100 , 99 , 98 , 97 , 96 , 95 , 94 , 93 , 92 , 91 , 90 , 169 , 170 , 171 , 172 , 173 , 174 , 175 , 176 , 177 , 178 , 179 , 180 ,
     89 , 88 , 87 , 86 , 85 , 84 , 83 , 82 , 81 , 80 , 79 , 78 , 77 , 76 , 75 , 74 ,    181 , 182 , 183 , 184 , 185 , 186 , 187 , 188 , 189 , 190 , 191 , 192 ,
     73 , 72 , 71 , 70 , 69 , 68 , 67 , 66 , 65 , 64 , 63 , 62 , 61 , 60 , 59 , 58 , 193 , 194 , 195 , 196 , 197 , 198 , 199 , 200 , or more nucleic acid
     57 , 56 , 55 , 54 , 53 , 52 , 51 , 50 , 49 , 48 , 47 , 46 , 45 , 44 , 43 , 42 , 30 bases from a terminal end of a respective one of the plurality
     41 , 40 , 39 , 38 , 37 , 36 , 35 , 34 , 33 , 32 , 31 , 30 , 29 , 28 , 27 , 26 , of polynucleotide molecules .
     25 , 24 , 23 , 22 , 21 , 20 , 19 , 18 , 17 , 16 , 15 , 14 , 13 , 12 , 11 , or         The terminal end of the plurality of polynucleotide mol
     10 nucleic acid bases .                                                            ecules can be adapted for ligation to a target nucleic acid
        A library of polynucleotides comprising a plurality of molecule . For example, the terminal end can be a blunt end .
     polynucleotide molecules can also have distinct (with 35 In some other cases , the terminal end is adapted for hybrid
     respect to each other) molecular barcode sequences (or ization to a complementary sequence of a target nucleic acid
     molecular barcodes) with respect to at least 4 nucleic acid molecule .
     bases . A molecular barcode (also “ barcode” or “ identifier"                        A library of polynucleotides comprising a plurality of
     herein ) sequence is a nucleotide sequence that distinguishes polynucleotide molecules can also have an edit distance of
     one polynucleotide from another. In other embodiments, the 40 at least 1. In some cases , the edit distance is with respect to
     polynucleotide molecules can also have different barcode individual bases of the plurality of polynucleotide mol
     sequences with respect to 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , ecules . In other cases , the plurality of polynucleotide mol
     14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , ecules can have an edit distance of at least 1 , 2 , 3 , 4 , 5 , 6 ,
     30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 ,
     46 , 47 , 48 , 49 , 50 or more nucleic acid bases .                            45 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 ,
       A library of polynucleotides comprising a plurality of 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 or more . The edit
     polynucleotide molecules can also have a plurality of dif distance can be a Hamming distance .
     ferent barcode sequences. For example, a plurality of poly                           In some cases , the plurality of polynucleotides does not
     nucleotide molecules can have at least 4 different molecular contain sequencing adaptors. A sequence adaptor can be a
     barcode sequences. In some cases , the plurality of poly- 50 polynucleotide that comprises a sequence that hybridizes to
     nucleotide molecules has from 2-100 , 4-50 , 4-30 , 4-20 , or one or more sequencing adaptors or primers . A sequencing
     4-10 different molecular barcode sequences . The plurality of adaptor can further comprise a sequence hybridizing to a
     polynucleotides molecules can also have other ranges of solid support, e.g. , a flow cell sequence . The term “ flow cell
     different barcode sequences such as , 1-4 , 2-5 , 3-6 , 4-7 , 5-8 , sequence ” and its grammatical equivalents as used herein ,
     6-9 , 7-10 , 8-11 , 9-12 , 10-13 , 11-14 , 12-15 , 13-16 , 14-17 , 55 refers to a sequence that permits hybridization to a substrate,
     15-18 , 16-19 , 17-20 , 18-21 , 19-22 , 20-23 , 21-24 , or 22-25 for example, by way of a primer attached to the substrate .
     different barcode sequences. In other cases , a plurality of The substrate can be bead or a planar surface. In some
     polynucleotide molecules can have at least 2 , 3 , 4 , 5 , 6 , 7 , 8 , embodiments, a flow cell sequence can allow a polynucle
     9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , otide to attach to a flow cell or surface (e.g. , surface of a
     25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 60 bead , for example, an Illumina flow cell .
     41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 ,
                                                                     When a plurality of polynucleotide molecules does not
     57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 ,
                                                                   contain sequencing adaptors or primers, each polynucleotide
     73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 ,
                                                                   molecule of the plurality does not contain a nucleic acid
     89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , or 100 more
                                                                   sequence or other moiety that is adapted to permit sequenc
     different barcode sequences. In a particular example , the 65 ing of a target nucleic acid molecule with a given sequencing
     plurality library adapters comprise at least 8 different approach, such as Illumina , SOLID , Pacific Biosciences ,
     sequences.                                                    GeneReader, Oxford Nanopore, Complete Genomics, Gnu
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                                                                    US 10,801,063 B2
                                        25                                                                                    26
     Bio , Ion Torrent, Oxford Nanopore or Genia . In some                              polynucleotide molecules can have distinct barcode
     examples, when a plurality of polynucleotide molecules sequences that are within 10 nucleic acid bases from the
     does not contain sequencing adaptors or primers , the plu      terminal end .
     rality of polynucleotide molecules does not contain flow cell    In another aspect, a plurality of polynucleotide molecules
     sequences . For example , the plurality of polynucleotide 5 can be sequencing adaptors. A sequencing adaptor can
     molecules cannot bind to flow cells , such as used in Illumina comprise a sequence hybridizing to one or more sequencing
     flow cell sequencers. However, these flow cell sequences, if         primers. A sequencing adaptor can further comprise a
     desired , can be added to the plurality of polynucleotide            sequence hybridizing to a solid support, e.g. , a flow cell
     molecules by methods such as PCR amplification or liga               sequence . For example, a sequencing adaptor can be a flow
     tion . At this point, Illumina flow cell sequencers can be used . 10 cell adaptor. The sequencing adaptors can be attached to one
     Alternatively, when the plurality of polynucleotide mol or both ends of a polynucleotide fragment. In another
     ecules does not contain sequencing adaptors or primers , the example , a sequencing adaptor can be hairpin shaped . For
     plurality of polynucleotide molecules does not contain hair example , the hairpin shaped adaptor can comprise a comple
     pin shaped adaptors or adaptors for generating hairpin loops mentary double - stranded portion and a loop portion, where
     in a target nucleic acid molecule , such as Pacific Bioscience 15 the double - stranded portion can be attached (e.g. , ligated) to
     SMRTbellTM adaptors. However, these hairpin shaped adap              a double - stranded polynucleotide. Hairpin shaped sequenc
     tors , if desired , can be added to the plurality of polynucle ing adaptors can be attached to both ends of a polynucleotide
     otide molecules by methods such as PCR amplification or fragment to generate a circular molecule , which can be
     ligation. The plurality of polynucleotide molecules can be sequenced multiple times . A sequencing adaptor can be up
     circular or linear .                                                           20 to 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 ,
       A plurality of polynucleotide molecules can be double                           25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 ,
     stranded . In some cases , the plurality of polynucleotide                         41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 ,
     molecules can be single stranded, or can comprise hybrid                           57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 ,
     ized and non - hybridized regions. A plurality of polynucle                        73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 ,
     otide molecules can be non -naturally occurring polynucle- 25 89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 , or more bases
     otide molecules .                                                   from end to end . For example, a sequencing adaptor can be
         Adaptors can be polynucleotide molecules . The poly up to 70 bases from end to end . The sequencing adaptor can
     nucleotide molecules can be Y - shaped, bubble - shaped or comprise 20-30 , 20-40 , 30-50 , 30-60 , 40-60 , 40-70 , 50-60 ,
     hairpin - shaped. A hairpin adaptor may contain a restriction 50-70 , bases from end to end . In a particular example, the
     site ( s ) or a Uracil containing base . Adaptors can comprise a 30 sequencing adaptor can comprise 20-30 bases from end to
     complementary portion and a non - complementary portion . end . In another example, the sequencing adaptor can com
     The non -complementary portion can have an edit distance prise 50-60 bases from end to end . A sequencing adaptor can
     ( e.g. , Hamming distance ). For example , the edit distance can comprise one or more barcodes . For example, a sequencing
     be at least 1 , at least 2 , at least 3 , at least 4 , at least 5 , at least       adaptor can comprise a sample barcode . The sample barcode
     6 , at least 7 , at least 8 , at least 9 , at least 10 , at least 11 , at 35 can comprise a pre -determined sequence. The sample bar
     least 12 , at least 13 , at least 14 , at least 15 , at least 16 , at least        codes can be used to identify the source of the polynucle
     17 , at least 18 , at least 19 , at least 20 , at least 21 , at least 22 ,         otides . The sample barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 , 7 ,
     at least 23 , at least 24 , at least 25 , at least 26 , at least 27 , at           8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 ,
     least 28 , at least 29 , or at least 30. The complementary                         25 , or more (or any length as described throughout) nucleic
     portion of the adaptor can comprise sequences that are 40 acid bases , e.g. , at least 8 bases . The barcode can be
     selected to enable and / or promote ligation to a polynucle contiguous or non -contiguous sequences, as described
     otide, e.g. , a sequence to enable and / or promote ligation to above .
     a polynucleotide at a high yield .                                 The plurality of polynucleotide molecules as described
        A plurality of polynucleotide molecules as disclosed herein can be used as adaptors . Adaptors can comprise one
     herein can be purified . In some cases , a plurality of poly- 45 or more identifiers. An adaptor can comprise an identifier
     nucleotide molecules as disclosed herein can be isolated with a random sequence . Alternatively, an adaptor can
     polynucleotide molecules . In other cases , a plurality of comprise an identifier with pre -determined sequences. Some
     polynucleotide molecules as disclosed herein can be purified adaptors can comprise an identifier with a random sequence
     and isolated polynucleotide molecules .                           and another identifier with a pre -determined sequence . The
       In certain aspects , each of the plurality of polynucleotide 50 adaptors comprising identifiers can be double - stranded or
     molecules is Y -shaped or hairpin - shaped. Each of the plu       single -stranded adaptors. The adaptors comprising identifi
     rality of polynucleotide molecules can comprise a different ers can be Y - shaped adaptors . A Y - shaped adaptor can
     barcode . The different barcode can be a randomer in the                          comprise one or more identifiers with a random sequence .
     complementary portion ( e.g. , double stranded portion of the The one or more identifiers can be on the hybrid portion
     Y -shaped or hairpin - shaped adaptor. Alternatively, the dif- 55 and /or non -hybridized portion of the Y - shaped adaptor. A
     ferent barcode can be in one strand of the non -complemen                         Y -shaped adaptor can comprise one or more identifiers with
     tary portion (e.g. , one of the Y -shaped arms). As discussed a pre -determined sequence . The one or more identifiers with
     above , the different barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 , pre -determined sequence can be on the hybridized portion
     7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , and / or non -hybridized portion of the Y - shaped adaptor. A
     24 , 25 , or more ( or any length as described throughout) 60 Y - shaped adaptor can comprise one or more identifiers with
     nucleic acid bases , e.g. , 7 bases . The barcode can be con                      a random sequence and one or more identifiers with a
     tiguous or non - contiguous sequences , as described above. pre -determined sequence. For example, the one or more
     The plurality of polynucleotide molecules is from 10 nucleic identifiers with a random sequence can be on the hybridized
     acid bases to 35 nucleic acid bases (or any length as portion of the Y -shaped adaptor and / or the non -hybridized
     described above ) in length . Further, the plurality of poly- 65 portion of the Y - shaped adaptor. The one or more identifiers
     nucleotide molecules can comprise an edit distance (as with a pre -determined sequence can be on the hybridized
     described above ), that is a Hamming distance . A plurality of portion of the Y - shaped adaptor and / or the non -hybridized
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                                                             US 10,801,063 B2
                                     27                                                                        28
     portion of the Y -shaped adaptor. In a particular example , a a binding interaction between the ends of the library adap
     Y -shaped adaptor can comprise an identifier with a random tors and the target polynucleotides .
     sequence on its hybridized portion and an identifier with a            In some cases , none of the library adaptors contains a
     pre -determined sequence on its non -hybridized portion . The sample identification motif (or sample molecular barcode ).
     identifiers can be in any length disclosed herein . For 5 Such sample identification motif can be provided via
     example , a Y - shaped adaptor can comprise an identifier with sequencing adaptors . A sample identification motif can
     a random sequence of 7 nucleotides on its hybridized portion 40      include a sequencer of at least 4 , 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , or
     and an identifier with a pre - determined sequence of 8 nucleotide      nucleotide bases that permits the identification of poly
     nucleotides on its non -hybridized portion .                                    molecules from a given sample from polynucle
        An adaptor can include a double - stranded portion with a 10 permit
                                                                          otide molecules from other samples . For example, this can
                                                                                  polynucleotide molecules from two subjects to be
     molecular barcode and at least one or two single - stranded sequenced            in the same pool and sequence reads for the
     portion . For example , the adaptor can be Y -shaped and subjects subsequently              identified .
     include a double -stranded portion and two single - stranded
     portions. The single - stranded portions can include 15 needed to couple a libraryincludes
                                                                            A   sequencer   motif                nucleotide sequence (s )
                                                                                                       adaptor to a sequencing system
     sequences that are not complementary to one another.                 and sequence a target polynucleotide coupled to the library
        The adaptor can include a terminal end that has a adaptor. The sequencer motif can include a sequence that is
     sequence that is selected to permit the adaptor to be effi complementary to a flow cell sequence and a sequence
     ciently (e.g. , at an efficiency of at least about 20 % , 30 % , ( sequencing initiation sequence) that is selectively hybrid
     40 % , 50 % ) ligated or otherwise coupled to a polynucleotide. 20 izable to a primer ( or priming sequence ) for use in sequenc
     In some examples, terminal nucleotides in a double - stranded ing . For example , such sequencing initiation sequence can
     portion of an adaptor are selected from a combination of be complementary to a primer that is employed for use in
     purines and pyrimidines to provide for efficient ligation.           sequence by synthesis ( e.g. , Illumina) . Such primer can be
        In some examples, a set of library adaptors comprises a included in a sequencing adaptor. A sequencing initiation
     plurality of polynucleotide molecules (library adaptors ) with 25 sequence can be a primer hybridization site .
     molecular barcodes. The library adaptors are less than or              In some cases , none of the library adaptors contains a
     equal to 80 , 70 , 60 , 50 , 45 , or 40 nucleotide bases in length . complete sequencer motif. The library adaptors can contain
     The molecular barcodes can be at least 4 nucleotide bases in partial or no sequencer motifs . In some cases , the library
     length, but may be from 4 to 20 nucleotide bases in length . adaptors include a sequencing initiation sequence . The
     The molecular barcodes can be different from one another 30 library adaptors can include a sequencing initiation sequence
     and have an edit distance of at least 1 , 2 , 3 , 4 , or 5 between       but no flow cell sequence . The sequence initiation sequence
     one another. The molecular barcodes are located at least 1 ,             can be complementary to a primer for sequencing. The
     2 , 3 , 4, 5 , or 20 nucleotide bases away from a terminal         primer can be a sequence specific primer or a universal
     end of their respective library adaptors. In some cases , the at primer. Such sequencing initiation sequences may be situ
     least one terminal base is identical in all of the library 35 ated on single - stranded portions of the library adaptors . As
     adaptors.                                                          an alternative, such sequencing initiation sequences may be
        The library adaptors can be identical but for the molecular priming sites (e.g. , kinks or nicks ) to permit a polymerase to
     barcodes . For example, the library adaptors can have iden         couple to the library adaptors during sequencing.
     tical sequences but differ only with respect to nucleotide           In some cases , partial or complete sequencer motifs are
     sequences of the molecular barcodes.                            40 provided by sequencing adaptors. A sequencing adaptor can
        Each of the library adaptors can have a double stranded include a sample molecular barcode and a sequencer motif.
     portion and at least one single -stranded portion . By " single The sequencing adaptors can be provided in a set that is
     stranded portion” is meant an area of non - complementarity separate from the library adaptors. The sequencing adaptors
     or an overhang. In some cases , each of the library adaptors in a given set can be identical — i.e ., they contain the same
     has a double - stranded portion and two single - stranded por- 45 sample barcode and sequencer motif.
     tions . The double - stranded portion can have a molecular           Sequencing adaptors can include sample identification
     barcode. In some cases , the molecular barcode is a rando          motifs and sequencer motifs. Sequencer motifs can include
     mer . Each of the library adaptors can further include a primers that are complementary to a sequencing initiation
     strand - identification barcode on a single - stranded portion. sequence . In some cases , sequencer motifs also include flow
     The strand - identification barcode can include at least 4 50 cell sequences or other sequences that permit a polynucle
     nucleotide bases , in some cases from 4 to 20 nucleotide                 otide to a configured or arranged in a manner that permits the
     bases .                                                                  polynucleotide to be sequenced by a sequencer.
        In some examples, each of the library adaptors has a                     Library adaptors and sequencing adaptors can each be
     double - stranded portion with a molecular barcode and two               partial adaptors, that is , containing part but not all of the
     single -stranded portions. The single - stranded portions may 55 sequences necessary to enable sequencing by a sequencing
     not hybridize to one another. The single - stranded portions             platform . Together they provide complete adaptors. For
     may not be completely complementary to one another.                      example , library adaptors can include partial or no sequencer
       The library adaptors can have a sequence of terminal                   motifs, but such sequencer motifs are provided by sequenc
     nucleotides in a double - stranded portion that are the same. ing adaptors.
     The sequence of terminal nucleotides can be at least 2 , 3 , 4 , 60 FIGS . 9A - 9C schematically illustrate a method for tag
     5 or 6 nucleotide bases in length . For example , one strand of ging a target polynucleotide molecule with library adaptors .
     a double -stranded portion of the library adaptor can have the FIG . 9A shows a library adaptor as a partial adaptor con
     sequence ACTT, TCGC , or TACC at the terminal end, while taining a primer hybridization site on one of the strands and
     the other strand can have a complementary sequence . In a molecular barcode towards another end . The primer
     some cases , such a sequence is selected to optimize the 65 hybridization site can be a sequencing initiation sequence
     efficiency at which the library adaptors ligate to target for subsequent sequencing. The library adaptor is less than
     polynucleotides. Such sequences can be selected to optimize or equal to 80 nucleotide bases in length . In FIG . 9B , the
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                                   29                                                                   30
     library adaptors are ligated at both ends of the target            reaction conditions that reduce or minimize amplification
     polynucleotide molecule to provide a tagged target poly            biases , e.g. , due to fragment length, GC content, etc.
     nucleotide molecule . The tagged target polynucleotide mol            Amplification of a single strand of a polynucleotide by
     ecule may be subjected to nucleic acid amplification to            PCR will generate copies both of that strand and its comple
     generate copies of the target. Next, in FIG . 9C , sequencing 5 ment. During sequencing, both the strand and its comple
     adaptors containing sequencer motifs are provided and ment will generate sequence reads . However, sequence
     hybridized to the tagged target polynucleotide molecule . The reads generated from the complement of, for example, the
     sequencing adaptors contain sample identification motifs . the     Watson strand, can be identified as such because they bear
     The sequencing adaptors can contain sequences to permit 10 the complement              of the portion of the duplex tag that tagged
                                                                             original Watson strand . In contrast , a sequence read
     sequencing of the tagged target with a given sequencer.            generated from a Crick strand or its amplification product
        D. Sequencing
        Tagged polynucleotides can be sequenced to generate will              bear the portion of the duplex tag that tagged the
     sequence reads ( e.g. , as shown in step ( 106 ) , FIG . 1 ) . For from an Crick
                                                                        original          strand . In this way , a sequence read generated
                                                                                   amplified product of a complement of the Watson
     example , a tagged duplex polynucleotide can be sequenced. 15 strand can be distinguished from a complement sequence
     Sequence reads can be generated from only one strand of a
     tagged duplex polynucleotide. Alternatively, both strands of read        generated from an amplification product of the Crick
                                                                        strand of the original molecule .
     a tagged duplex polynucleotide can generate sequence reads .         All amplified polynucleotides can be submitted to a
     The two strands of the tagged duplex polynucleotide can              sequencing device for sequencing. Alternatively, a sampling,
     comprise the same tags. Alternatively, the two strands of the 20 or subset, of all of the amplified polynucleotides is submitted
     tagged duplex polynucleotide can comprise different tags . to a sequencing device for sequencing. With respect to any
     When the two strands of the tagged duplex polynucleotide original double - stranded polynucleotide there can be three
     are differently tagged , sequence reads generated from one results with respect to sequencing. First , sequence reads can
     strand ( e.g. , a Watson strand) can be distinguished from be generated from both complementary strands of the origi
     sequence reads generated from the other strands (e.g. , a 25 nal molecule (that is , from both the Watson strand and from
     Crick strand ). Sequencing can involve generating multiple the Crick strand ). Second, sequence reads can be generated
     sequence reads for each molecule . This occurs , for example ,       from only one of the two complementary strands ( that is ,
     as a result the amplification of individual polynucleotide           either from the Watson strand or from the Crick strand, but
     strands during the sequencing process , e.g. , by PCR .              not both ). Third, no sequence read may be generated from
       Methods disclosed herein can comprise amplifying of 30 either of the two complementary strands. Consequently,
     polynucleotides. Polynucleotides amplification can result in counting unique sequence reads mapping to a genetic locus
     the incorporation of nucleotides into a nucleic acid molecule will underestimate the number of double - stranded poly
     or primer thereby forming a new nucleic acid molecule nucleotides in the original sample mapping to the locus .
     complementary to a template nucleic acid . The newly Described herein are methods of estimating the unseen and
     formed polynucleotide molecule and its template can be 35 uncounted polynucleotides.
     used as templates to synthesize additional polynucleotides.      The sequencing method can be massively parallel
     The polynucleotides being amplified can be any nucleic sequencing, that is , simultaneously ( or in rapid succession )
     acids , for example , deoxyribonucleic acids , including sequencing any of at least 100 , 1000 , 10,000 , 100,000 , 1
     genomic DNAs, cDNAs ( complementary DNA ), cDNAs,                    million , 10 million , 100 million , or 1 billion polynucleotide
     and circulating tumor DNAs ( ctDNAs). The polynucleotides 40 molecules . Sequencing methods may include, but are not
     being amplified can also be RNAs . As used herein , one limited to : high - throughput sequencing, pyrosequencing,
     amplification reaction may comprise many rounds of DNA sequencing -by - synthesis, single -molecule
                                                                                                       molecule sequencing,
     replication. DNA amplification reactions can include, for nanopore sequencing, semiconductor sequencing, sequenc
     example, polymerase chain reaction ( PCR) . One PCR reac ing -by - ligation, sequencing -by -hybridization , RNA -Seq ( ll
     tion may comprise 2-100 " cycles ” of denaturation , anneal- 45 lumina ), Digital Gene Expression (Helicos ) , Next genera
     ing , and synthesis of a DNA molecule . For example, 2-7 , tion sequencing, Single Molecule Sequencing by Synthesis
     5-10 , 6-11 , 7-12 , 8-13 , 9-14 , 10-15 , 11-16 , 12-17 , 13-18 , ( SMSS ) ( Helicos ) , massively - parallel sequencing, Clonal
     14-19 , or 15-20 cycles can be performed during the ampli Single Molecule Array ( Solexa ), shotgun sequencing,
     fication step . The condition of the PCR can be optimized Maxam -Gilbertor Sanger sequencing, primer walking,
     based on the GC content of the sequences, including the 50 sequencing using PacBio , SOLID , Ion Torrent, or Nanopore
     primers.                                                           platforms and any other sequencing methods known in the
        Nucleic acid amplification techniques can be used with art .
     the assays described herein . Some amplification techniques           For example , duplex - tagged polynucleotides can be
     are the PCR methodologies which can include, but are not amplified , by for example PCR ( see e.g. , FIG . 4A duplex
     limited to , solution PCR and in situ PCR . For example, 55 tagged polynucleotides are referred to as mm ' and nn '). In
     amplification may comprise PCR - based amplification. Alter FIG . 4A , the strand of the duplex polynucleotide including
     natively, amplification may comprise non PCR -based ampli sequence m bears sequence tags w and y , while the strand of
     fication . Amplification of the template nucleic acid may the duplex polynucleotide including sequence m ' bears
     comprise use of one or more polymerases. For example, the sequence tags x and z . Similarly, the strand of the duplex
     polymerase may be a DNA polymerase or an RNA poly- 60 polynucleotide including sequence n bears sequence tags a
     merase . In some cases , high fidelity amplification is per and c , while the strand of the duplex polynucleotide includ
     formed such as with the use of high fidelity polymerase ( e.g. , ing sequence n' bears sequence tags b and d . During ampli
     Phusion® High - Fidelity DNA Polymerase ) or PCR proto           fication , each strand produces itself and its complementary
     cols . In some cases , the polymerase may be a high fidelity sequence . However, for example, an amplification progeny
     polymerase . For example, the polymerase may be KAPA 65 of original strand m that includes the complementary
     HiFi DNA polymerase. The polymerase may also be Phu sequence , m ' , is distinguishable from an amplification prog
     sion DNA polymerase. The polymerase may be used under eny of original strand m' because the progeny from original
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                                                           US 10,801,063 B2
                                    31                                                                     32
     strand m will have the sequence 5 ' - y'm'w ' - 3 ' and the progeny formatics. For example, if all or most of the sequence reads
     of the original m ' strand one strand will have the sequence tracking back to an original molecule bear the same
     5 ' - zm'x - 3 ' . FIG . 4B shows amplification in more detail. sequence variant, that variant probably existed in the origi
     During amplification , errors can be introduced into the nal molecule . On the other hand, if a sequence variant exists
     amplification progeny, represented by dots . The application 5 in a subset of redundant sequence reads, that variant may
     progeny are sampled for sequencing, so that not all strands have been introduced during amplification /sequencing and
     produce sequence reads, resulting in the sequence reads represents an artifact not existing in the original. Further
     indicated . Because sequence reads can come from either of more , if only sequence reads derived from the Watson or
     a strand or its complement, both sequences and complement Crick strand of an original polynucleotide contain the vari
     sequences will be included in the set of sequence reads . It 10 ant, the variant may have been introduced through single
     should be noted that it is possible that a polynucleotide sided DNA damage, first -cycle PCR error or through con
     would bear the same tag on each end . Thus, for a tag “ a ” , and taminating    polynucleotides that were amplified from a
     polynucleotide “ m ”, a first strand could be tagged a -m - a' , different sample   .
     and the complement could be tagged a - m' - a .                       After fragments are amplified and the sequences of ampli
           E. Determining Consensus Sequence Reads                      15
           Methods disclosed herein can comprise determining con fied fragments are read and aligned , the fragments are
     sensus sequence reads in sequence reads ( e.g. , as shown in           subjected to base calling, e.g. , determining for each locus the
     step ( 108 ) , FIG . 1 ) , such as by reducing or tracking redun most likely nucleotide. However, variations in the number of
     dancy. Sequencing of amplified polynucleotides can produce amplified fragments and unseen amplified fragments ( e.g. ,
     reads of the several amplification products from the same 20 those without being read their sequences; reasons could be
     original polynucleotide, referred to as “ redundant reads ” . By too many such as amplification errors, sequencing reading
     identifying redundant reads , unique molecules in the origi            errors , too long, too short, being chopped, etc.) may intro
     nal sample can be determined . If the molecules in a sample            duce errors in base calling . If there are too many unseen
     are uniquely tagged , then reads generated from amplification amplified fragments with respect to the seen amplified
     of a single unique original molecule can be identified based 25 fragments ( amplified fragments actually being read ), the
     on their distinct barcode . Ignoring barcodes , reads from reliability of base calling may be diminished .
     unique original molecules can be determined based on                 Therefore, disclosed herein is a method to correct for the
     sequences at the beginning and end of a read , optionally in number           of unseen fragments in base calling . For example,
     combination with the length of the read . In certain cases , when base calling for locus A ( an arbitrary locus ) , it is first
     however, a sample may be expected to have a plurality of 30 assumed that there are N amplified fragments. The sequence
     original molecules having the same start stop sequences and readouts can come from two types of fragments : double
     the same length . Without barcoding, these molecules are strand fragments and single - strand fragments. Therefore, we
     difficult distinguish from one another. However, if a
     collection of polynucleotides is non - uniquely tagged ( that is , assign   N1 , N2 , and N3 as the numbers of double - strands,
                                                                        single - strands, and unseen fragments, respectively . Thus,
     anoneoriginal moleculemolecule
           other original     shares)the same identifier
                                     , combining         with atfrom
                                                 information      leasta 35 N =N1 +N2 +N3 (N1 and N2 are known from the sequence
     barcode with start/ stop sequence and / or polynucleotide readouts  solved
                                                                                  , and N and N3 are unknown ). If the formula is
                                                                                 for N (or N3 ) , then N3 (or N) will be inferred .
     length significantly increases the probability that any                Probability is used to estimate N. For example, we assign
     sequence read can be traced back to an original polynucle " p " to be the probability          of having detected ( or having read )
     otide . This is because , in part, even without unique tagging , 40
     it is unlikely that any two original polynucleotides having strand .
                                                                         a nucleotide  of  locus A  in a sequence readout of a single
     the same start / stop sequence and length also will be tagged       For sequence readouts from double - strands, the nucleo
     with the same identifier.                                        tide call from a double - strand amplified fragment has a
        F. Collapsing                                                 probability of p * p = p2 , seeing all N1 double - strands has the
        Collapsing allows for reduction in noise ( i.e. , back- 45 following equation       : N1 = N * ( p ^ 2 ).
     ground) that is generated at each step of the process.
     Methods disclosed herein can comprise collapsing , e.g. , that one of the 2 strands is from
                                                                         For  sequence    readouts              a single -strand. Assuming
     generating a consensus sequence by comparing multiple probability of seeing one strand is “ p ”the seen , and
                                                                                                                       ,
                                                                                                                           other is unseen, the
                                                                                                                         but the probability of
     sequence reads . For example , sequence reads generated missing the other strand is ( 1 - p ) . Furthermore                      , by not
     from a single original polynucleotide can be used to generate 50 distinguishing the single strand sourcing from 5 -primer and
     a consensus sequence of that original polynucleotide. Itera sourcing from 3 - primer, there is a factor of 2. Therefore, the
     tive rounds of amplification can introduce errors into prog nucleotide
     eny polynucleotides. Also , sequencing typically may not be a probabilitycall2xpx from a single - strand amplified fragment has
                                                                                           ( 1 - p ) . Thus, seeing all N2 single - strands
     performed with perfect fidelity so sequencing errors are has the following equation
     introduced at this stage as well . However, comparison of 55 “ p ” is also unknown. To : solve      N2 = Nx2xpx ( 1 - p ).
                                                                                                                  p , the ratio of N1 to N2 is
     sequence reads of molecules derived from a single original used to solve for " p " :
     molecule , including those that have sequence variants, can
     be analyzed so as to determine the original , or “ consensus ”
     sequence. This can be done phylogenetically. Consensus                           N1          Np?               p2          ?
     sequences can be generated from families of sequence reads 60                R=                         =           =
                                                                                      N2 2N p ( 1 - P ) 2p ( 1 - p ) 2 ( 1 - p )
     by any of a variety of methods. Such methods include , for
     example, linear or non -linear methods of building consensus
     sequences ( such as voting (e.g. , biased voting ) , averaging, Once “ p ” is found , N can be found. After N is found, can be
     statistical , maximum a posteriori or maximum likelihood               found N3 =N -N1 -N2 .
     detection , dynamic programming, Bayesian, hidden Markov 65 Besides the ratio of paired versus unpaired strands (which
     or support vector machine methods, etc.) derived from is a measure post -collapsing ), there is useful information in
     digital communication theory, information theory, or bioin the pre - collapsing read depth at each locus . This information
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     can be used to further improve the call for total molecule                  nucleotide position that varies within the population, e.g. a
     count and /or increase confidence of calling variants .             single nucleotide variation (SNV ) or a single nucleotide
       For example, FIG . 4C demonstrates sequence reads cor             polymorphism ( SNP ) .
     rected for complementary sequences. Sequences generated               A reference genome for mapping can include the genome
     from an original Watson strand or an original Crick strand 5 of any species of interest. Human genome sequences useful
     can be differentiated on the basis of their duplex tags . as references can include the hg19 assembly or any previous
     Sequences generated from the same original strand can be or available             hg assembly. Such sequences can be interro
     grouped . Examination of the sequences can allow one to gated              using the genome browser available at genome.uc
                                                                         sc.edu/index.html. Other species genomes include, for
     infer the sequence of the original strand ( the " consensus 10 example        PanTro2 ( chimp) and mm9 (mouse ).
     sequence ” ). In this case , for example, the sequence variant
     in the nn ' molecule is included in the consensus sequence before or afterdisclosed
                                                                           In methods
                                                                                         mapping .
                                                                                                  herein , collapsing can be performed
                                                                                                   In some aspects , collapsing can be
     because it included in every sequence read while other performed before mapping
     variants are seen to be stray errors . After collapsing can be grouped into families. based        For example, sequence reads
                                                                                                               on their tags and one or
     sequences  , original  polynucleotide   pairs can be  identified 15 more  endogenous    sequences ,  without  regard to where the
     based on their complementary sequences and duplex tags . reads map in the genome . Then , the members of a family can
        FIG . 5 demonstrates increased confidence in detecting be collapsed into a consensus sequence . The consensus
     sequence variants by pairing reads from Watson and Crick sequence can be generated using any collapsing method
     strands. Sequence nn ' can include a sequence variant indi disclosed herein . Then the consensus sequence can be
     cated by a dot . In some cases , sequence pp' does not include 20 mapped to locations in the genome . Reads mapped to a locus
     a sequence variant. Amplification, sequencing, redundancy can be quantified ( e.g. , counted ). Percentage of reads car
     reduction and pairing can result in both Watson and Crick rying a mutation at a locus can also be determined . Alter
     strands of the same original molecule including the sequence natively, collapsing can be performed after mapping. For
     variant. In contrast, as a result of errors introduced during example, all reads can first be mapped to the genome. Then
     amplification and sampling during sequencing, the consen- 25 the reads can be grouped into families based on their tags
     sus sequence of the Watson strand p can contain a sequence          and one or more endogenous sequences. Since the reads
     variant, while the consensus sequence of the Crick strand p ' have        been mapped to the genome , consensus bases can be
     does not . It is less likely that amplification and sequencing determined for each family at each locus . In other aspects ,
     will introduce the same variant into both strands (nn ' consensus sequence can be generated for one strand of a
     sequence) of a duplex than onto one strand (pp' sequence ). 30 Mapping
                                                                         DNA molecule ( e.g. , for a Watson strand or a Crick strand ).
                                                                                    can be performed before or after the consensus
     Therefore , the variant in the pp ' sequence is more likely to sequence for       one strand of the DNA molecule is determined .
     be an artifact, and the variant in the nn ' sequence is more Numbers of Doublets          and Singlets can be determined . These
     likely to exist in the original molecule .                          numbers can be used to calculate unseen molecules . For
        Methods disclosed herein can be used to correct errors 35 example, the unseen molecules can be calculated using the
     resulted from experiments, e.g. , PCR , amplification, and / or following equation: N=D + S +U ; D = Np ( 2 ), S = N2pq , where
     sequencing. For example, such a method can comprises p = 1-4 , where p is the probability of seeing ; q is the
     attaching one or more double stranded adaptors to both ends probability of missing a strand .
     of a double stranded polynucleotide, thereby providing a              H. Grouping
     tagged double stranded polynucleotide; amplifying the 40 Methods disclosed herein can also comprise grouping
     double stranded tagged polynucleotide; sequencing both sequence reads. Sequence reads can be grouped based on
     strands of the tagged polynucleotide; comparing the various types of sequences, e.g. , sequences of an oligonucle
     sequence of one strand with its complement to determine otide tag (e.g. , a barcode) , sequence of a polynucleotide
     any errors introduced during sequencing; and correcting fragments, or any combinations. For example, as shown in
     errors in the sequence based on (d) . The adaptors used in this 45 step ( 112 ) (FIG . 1 ) , sequence reads can be grouped as
     method can be any adaptors disclosed herein , e.g. , Y - shaped follows: Sequence reads generated from a “ Watson” strand
     adaptors. The adaptor can comprise any barcodes ( e.g. , and those generated from a “ Crick ” strand of a double
     distinct barcodes ) disclosed herein .                                             stranded polynucleotide in the sample are identifiable based
         G. Mapping                                                                     on the duplex tags that they bear. In this way, a sequence
         Sequence reads or consensus sequences can be mapped to 50 read or consensus sequence from a Watson strand of a
     one or more selected genetic loci (e.g. , as shown step ( 110 ) , duplex polynucleotide can be paired with a sequence read or
     FIG . 1 ) . A genetic locus can be , for example , a specific consensus sequence from its complementary Crick strand .
     nucleotide position in the genome, a sequence of nucleotides Paired sequence reads are referred to as a “ Pair ” .
     ( for example, an open reading frame ), a fragment of a                                 Sequence reads for which no sequence read correspond
     chromosome, a whole chromosome, or an entire genome. A 55 ing to a complementary strand can be found among the
     genetic locus can be a polymorphic locus . Polymorphic sequence reads are termed “ Singlets ”.
     locus can be a locus at which sequence variation exists in the                          Double - stranded polynucleotides for which a sequence
     population and / or exists in a subject and /or a sample. A read for neither of the two complementary strands has been
     polymorphic locus can be generated by two or more distinct generated are referred to as “ Unseen ” molecules .
     sequences coexisting at the same location of the genome . 60 I. Quantifying
     The distinct sequences can differ from one another by one or                            Methods disclosed herein also comprise quantifying
     more nucleotide substitutions, a deletion / insertion , and / or a sequence reads. For example, as shown in step ( 114 ) ( FIG .
     duplication of any number of nucleotides, generally a rela                         1 ) , Pairs and Singlets mapping to a selected genetic locus , or
     tively small number of nucleotides , such as less than 50 , 45 , to each of a plurality of selected genetic loci , are quantified ,
     40 , 35 , 30 , 25 , 24 , 23 , 22 , 21 , 20 , 19 , 18 , 17 , 16 , 15 , 14 , 13 , 65 e.g. , counted .
     12 , 11 , 10 , 9 , 8 , 7 , 6 , 5 , 4 , 3 , 2 , or 1 nucleotide ( s ), among             The quantifying can comprise estimating number of poly
     others . A polymorphic locus can be created by a single nucleotides in the sample ( e.g. , Pairs polynucleotides, Sin
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     glets polynucleotides, or Unseen polynucleotides . For number. Quantitative measures can be compared against the
     example, as shown in step ( 116 ) (FIG . 1 ) , the number of amount of nucleic acid in any sample disclosed herein . For
     double - stranded polynucleotides in the sample for which no example, in another method, the quantitative measure can be
     sequence reads were generated (“ Unseen ” polynucleotides ) compared against the amount of nucleic acid in the original
     is estimated . The probability that a double strand polynucle- 5 sample. For example, if the original sample contained
     otide generates no sequence reads can be determined based 10,000 haploid gene equivalents, the quantitative measure
     on the relative number of Pairs and Singlets at any locus . can be compared against an expected measure for diploidy.
     Using this probability, the number of Unseen polynucleotide In another method , the quantitative measure can be normal
     can be estimated .                                               ized against a measure from a control sample , and normal
        In step ( 118 ) an estimate for the total number of double- 10 ized measures at different loci can be compared .
     stranded polynucleotides in a sample mapping to a selected              In some cases , in which copy number variation analysis is
     locus is the sum of the number of Pairs , the number of desired , sequence data may be : 1 ) aligned with a reference
     Singlets and the number of Unseen molecules mapping to genome; 2 ) filtered and mapped ; 3 ) partitioned into windows
     the locus .                                                          or bins of sequence ; 4 ) coverage reads counted for each
        The number of Unseen original molecules in a sample can 15 window ; 5 ) coverage reads can then be normalized using a
     be estimated based on the relative number of Pairs and stochastic or statistical modeling algorithm ; 6 ) and an output
     Singlets ( FIG . 2 ) . Referring to FIG . 2 , as an example , counts file can be generated reflecting discrete copy number states
     for a particular genomic locus , Locus A , are recorded , where at various positions in the genome. In other cases , in which
     1000 molecules are paired and 1000 molecules are unpaired. rare mutation analysis is desired, sequence data may be 1 )
     Assuming a uniform probability , p , for an individual Watson 20 aligned with a reference genome ; 2 ) filtered and mapped ; 3 )
     or Crick strand to make it through the process subsequent to frequency of variant bases calculated based on coverage
     conversion , one can calculate the proportion of molecules reads for that specific base ; 4 ) variant base frequency
     that fail to make it through the process (Unseen ) as follows: normalized using a stochastic , statistical or probabilistic
     Let R = ratio of paired to unpaired molecules = 1 , so R = 1 = p ?/ modeling algorithm ; 5 ) and an output file can be generated
     ( 2p ( 1 - p ) ) . This implies that p =2 / 3 and that the quantity of 25 reflecting mutation states at various positions in the genome.
     lost molecules is equal to ( 1 - p ) 2 = 1 / 9 . Thus in this example ,      After the sequence read coverage ratios have been deter
     approximately 11 % of converted molecules are lost and mined, a stochastic modeling algorithm can be optionally
     never detected . Consider another genomic locus , Locus B , in applied to convert the normalized ratios for each window
     the same sample where 1440 molecules are paired and 720 region into discrete copy number states . In some cases , this
     are unpaired. Using the same method , we can infer the 30 algorithm may comprise a Hidden Markov Model . In other
     number of molecules that are lost , only 4% . Comparing cases , the stochastic model may comprise dynamic program
     the two areas, it may be assumed that Locus A had 2000 ming , support vector machine, Bayesian modeling, proba
     unique molecules as compared to 2160 molecules in Locus bilistic modeling, trellis decoding, Viterbi decoding , expec
     B a difference of almost 8 % . However, by correctly adding tation maximization , Kalman filtering methodologies, or
     in the lost molecules in each region , we infer there are 35 neural networks.
     2000/ ( 8/9 ) =2250 molecules in Locus A and 2160 /0.96 = 2250   Methods disclosed herein can comprise detecting SNVS,
     molecules in Locus B. Hence , the counts in both regions are CNVs, insertions, deletions , and / or rearrangements at a
     actually equal. This correction and thus much higher sensi specific region in a genome. The specific genomic region
     tivity can be achievable by converting the original double     can comprise a sequence in a gene , such as ALK , APC ,
     stranded nucleic acid molecules and bioinformatically keep- 40 BRAF, CDKN2A , EGFR, ERBB2 , FBXW7 , KRAS, MYC ,
     ing track of all those that are paired and unpaired at the end NOTCH1 , NRAS , PIK3CA , PTEN , RB1 , TP53 , MET, AR ,
     of the process. Similarly, the same procedure can be used to ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,
     infer true copy number variations in regions that appear to EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, GNA11, GNAQ,
     have similar counts of observed unique molecules . By GNAS , HNF1A , HRAS , IDH1 , IDH2 , JAK2 , JAK3 , KDR ,
     taking the number of unseen molecules into consideration in 45 KIT, MLHI , MPL , NPM1 , PDGFRA , PROC , PTPN11 ,
     the two or more regions, the copy number variation becomes RET, SMAD4 , SMARCB1, SMO , SRC , STK11 , VHL ,
     apparent .                                                            TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 ,
       In addition to using binomial distribution, other methods           CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNE1 ,
     of estimating numbers of unseen molecules include expo                ESR1 , RIT ) , GATA3, MAP2K1 , RHEB , ROS1 , ARAF,
     nential, beta, gamma or empirical distributions based on the 50 MAP2K2, NFE2L2 , RHOA , or NTRK1 .
     redundancy of sequence reads observed . In the latter case ,      In some cases , the method uses a panel which comprises
     the distribution of read counts for paired and unpaired exons of one or more genes. The panel can comprise introns
     molecules can be derived from such redundancy to infer the         of one or more genes as well . The panel can also comprise
     underlying distribution of original polynucleotide molecules       exons and introns of one or more genes . The one or more
     at a particular locus . This can often lead to a better estima- 55 genes can be those disclosed above. The panel can comprise
     tion of the number of unseen molecules .                           about 80,000 bases which cover a panel of genes. The panel
        J. CNV Detection                                                can comprise about 1000 , 2000 , 3000 , 4000 , 5000 , 10000 ,
        Methods disclosed herein also comprise detecting CNV . 15000 , 20000 , 25000 , 30000 , 35000 , 40000 , 45000 , 50000 ,
     For example, as shown in step ( 120 ) ( FIG . 1 ) , once the total 55000 , 60000 , 65000 , 70000 , 75000 , 80000 , 85000 , 90000 ,
     number of polynucleotides mapping to a locus is deter- 60 95000 , 100000 , 105000 , 110000 , 115000 , 120000 , 125000 ,
     mined , this number can be used in standard methods of or more bases .
     determining CNV at the locus . A quantitative measure can        In some aspects , copy number of a gene can be reflected
     be normalized against a standard . The standard can be an in the frequency of a genetic form of the gene in a sample.
     amount of any polynucleotides . In one method, a quantita For example, in a healthy individual, no copy number
     tive measure at a test locus can be standardized against a 65 variation is reflected in a variant in a gene in one chromo
     quantitative measure of polynucleotides mapping to a con      some ( e.g. , heterozygosity ) being detected in about 50% of
     trol locus in the genome, such as gene of known copy detected molecules in a sample. Also , in a healthy indi
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     vidual, duplication of a gene bearing a variant can be find that DNA bearing the BRAF mutation has decreased to
     reflected in the variant being detected in about 66 % of 0.5 % of polynucleotides in cfDNA . Again , dabrafenib
     detected molecules in a sample. Accordingly, if the tumor therapy can be stopped or reduced . The cycle can be
     burden in a DNA sample is 10% , the frequency of a somatic repeated a number of times .
     mutation in a gene in one chromosome of cancer cells , 5 A therapeutic intervention can also be changed upon
     without CNV, can be about 5 % . The converse can be true in detection of the rise of a mutant form resistant to an original
     the case of aneuploidy.                                              drug. For example , cancers with the EGFR mutation L858R
         The methods disclosed herein can be used to determine respond to therapy with erlotinib . However, cancers with the
     whether a sequence variant is more likely present in the EGFR mutation T790M are resistant to erlotinib . However,
     germ line level or resulted from a somatic cell mutation , e.g. , 10 they are responsive to ruxolitinib . A method of this invention
     in a cancer cell . For example, a sequence variant in a gene involves monitoring changes in tumor profile and changing
     detected at levels arguably consistent with heterozygosity in a therapeutic intervention when a genetic variant associated
     the germ line is more likely the product of a somatic with drug resistance rises to a predetermined clinical level.
     mutation if CNV is also detected in that gene . In some cases ,         Methods disclosed in this invention can comprise a
     to the extent we expect that a gene duplication in the germ 15 method of detecting disease cell heterogeneity from a
     line bears a variant consistent with genetic dose ( e.g. , 66 % sample comprising polynucleotides from somatic cells and
     for trisomy at a locus ) , detection gene amplification with a disease cells , the method comprising : a ) quantifying poly
     sequence variant dose that deviates significantly from this nucleotides in the sample bearing a sequence variant at each
     expected amount indicates that the CNV is more likely of a plurality of genetic loci ; b ) determining CNV at each of
     present as a result of somatic cell mutation .                    20 the plurality of genetic loci ; different relative amounts of
         The methods disclosed herein can also be used to infer           disease molecules at a locus , wherein the CNV indicates a
     tumor heterogeneity in a situation in which sequence vari genetic dose of a locus in the disease cell polynucleotides ;
     ants in two genes are detected at different frequencies. For c ) determining a relative measure of quantity of polynucle
     example, tumor heterogeneity can be inferred when two otides bearing a sequence variant at a locus per genetic dose
     genes are detected at different frequencies but their copy 25 at the locus for each of a plurality of the loci ; and d)
     numbers are relatively equal. Alternatively, tumor homoge comparing the relative measures at each of the plurality of
     neity can be inferred when the difference in frequency loci , wherein different relative measures indicates tumor
     between two sequence variants is consistent with difference heterogeneity. In the methods disclosed herein , the genetic
     in copy number for the two genes . Thus, for example, if an dose can be determined on a total molecule basis . For
     EGFR variant is detected at 11 % and a KRAS variant is 30 example , if there are 1x total molecules at a first locus , and
     detected at 5 % , and no CNV is detected at these genes , the 1.2x molecules mapped to a second locus , then the genetic
     difference in frequency likely reflects tumor heterogeneity dose is 1.2 . Variants at this locus can be divided by 1.2 . In
     ( e.g. , all tumor cells carry an EGFR            and half the some aspects , the method disclosed herein can be used to
     tumor cells also carry a KRAS mutant ). Alternatively, if the detect any disease cell heterogeneity, e.g. , tumor cell het
     EGFR gene carrying the mutant is detected at 2 -times 35 erogeneity. The methods can be used to detect disease cell
     normal copy number, one interpretation is a homogenous heterogeneity from a sample comprising any types of poly
     population of tumor cells , each cell carrying a mutant in the nucleotides, e.g. , cfDNA , genomic DNA, DNA , or ctDNA .
     EGFR and KRAS genes, but in which the KRAS gene is In the methods, the quantifying can comprise, for example,
     duplicated.                                                    determining the number or relative amount of the polynucle
        In response to chemotherapy, a dominant tumor form can 40 otides . Determining CNV can comprise mapping and nor
     eventually give way through Darwinian selection to cancer malizing different relative amounts of total molecules to a
     cells carrying mutants that render the cancer unresponsive to locus .
     the therapy regimen . Appearance of these resistance mutants      In another aspect , in response to chemotherapy, a domi
     can be delayed through methods of this invention . In one nant tumor form can eventually give way through Darwinian
     embodiment of this method, a subject is subjected to one or 45 selection to cancer cells carrying mutants that render the
     more pulsed therapy cycles , each pulsed therapy cycle cancer unresponsive to the therapy regimen . Appearance of
     comprising a first period during which a drug is adminis these resistance mutants can be delayed through methods
     tered at a first amount and a second cycle during which the disclosed throughout. The methods disclosed herein can
     drug is administered at a second, reduced amount. The first comprise a method comprising: a ) subjecting a subject to
     period can be characterized by a tumor burden detected 50 one or more pulsed therapy cycles , each pulsed therapy
     above a first clinical level . The second period can be cycle comprising ( i ) a first period during which a drug is
     characterized by a tumor burden detected below a second                     administered at a first amount and (ii ) a second period during
     clinical level . First and second clinical levels can be different          which the drug is administered at a second , reduced amount;
     in different pulsed therapy cycles . For example, the first                 wherein (A) the first period is characterized by a tumor
     clinical level can be lower in succeeding cycles.A plurality 55 burden detected above a first clinical level; and (B ) the
     of cycles can include at least 2 , 3 , 4 , 5 , 6 , 7 , 8 or more cycles . second period is characterized by a tumor burden detected
     For example, the BRAF mutant V600E may be detected in below a second clinical level .
     polynucleotides of a disease cell at an amount indicating a                  K. Sequence Variant Detection
     tumor burden of 5 % in cfDNA . Chemotherapy can com                          Systems and methods disclosed herein can be used to
     mence with dabrafenib . Subsequent testing can show that 60 detect sequence variants, e.g. , SNVs. For example, a
     the amount of the BRAF mutant in the cfDNA falls below sequence variant can be detected from consensus sequences
     0.5 % or to undetectable levels . At this point, dabrafenib from multiple sequence reads, for example, from at least 2 ,
     therapy can stop or be significantly curtailed . Further sub              at least 3 , at least 4 , at least 5 , at least 6 , at least 7 , at least
     sequent testing may find that DNA bearing the BRAF 8 , at least 9 , at least 10 , at least 11 , at least 12 , at least 13 ,
     mutation has risen to 2.5 % of polynucleotides in cfDNA . At 65 at least 14 , at least 15 , at least 16 , at least 17 , at least 18 , at
     this point, dabrafenib therapy can be re - started , e.g. , at the          least 19 , at least 20 , at least 21 , at least 22 , at least 23 , at least
     same level as the initial treatment. Subsequent testing may                 24 , at least 25 , at least 26 , at least 27 , at least 28 , at least 29 ,
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     at least 30 , at least 31 , at least 32 , at least 33 , at least 34 , at can be a polynucleotide that comprises a genetic variant
     least 35 , at least 36 , at least 37 , at least 38 , at least 39 , at least occurring in a population of polynucleotides at a frequency
     40 , at least 41 , at least 42 , at least 43 , at least 44 , at least 45 , of less than 10% , 5 % , 4 % , 3 % , 2 % , 1 % , or 0.1 % . rare
     at least 46 , at least 47 , at least 48 , at least 49 , at least 50 , at DNA can be a polynucleotide with a detectable property at
     least 51 , at least 52 , at least 53 , at least 54 , at least 55 , at least 5 a concentration less than 50 % , 25 % , 10 % , 5 % , 1 % , or 0.1 %
     56 , at least 57 , at least 58 , at least 59 , at least 60 , at least 61 ,       Tagging can occur in a single reaction . In some cases , two
     at least 62 , at least 63 , at least 64 , at least 65 , at least 66 , at or more reactions can be performed and pooled together.
     least 67 , at least 68 , at least 69 , at least 70 , at least 71 , at least Tagging each original DNA fragments in a single reaction
     72 , at least 73 , at least 74 , at least 75 , at least 76 , at least 77 , can result in tagging such that greater than 50 % (e.g. , 60 % ,
     at least 78 , at least 79 , at least 80 , at least 81 , at least 82 , at 10 70% , 80 % , 90 % , 95 % , or 99 % ) of the original DNA
     least 83 , at least 84 , at least 85 , at least 86 , at least 87 , at least fragments are tagged at both ends with tags that comprise
     88 , at least 89 , at least 90 , at least 91 , at least 92 , at least 93 , molecular barcodes , thereby providing tagged DNA frag
     at least 94 , at least 95 , at least 96 , at least 97 , at least 98 , at ments . Tagging can also result in greater than 30% , 35 % ,
     least 99 , at least 100 , at least 200 , at least 300 , at least 400 , 40% , 45 % , 50 % , 51 % , 52 % , 53 % , 54 % , 55 % , 56 % , 57 % ,
     at least 500 , at least 600 , at least 700 , at least 800 , at least 15 58 % , 59 % , 60 % , 61 % , 62 % , 63 % , 64 % , 65 % , 66 % , 67 % ,
     900 , at least 1000 , at least 2000 , at least 3000 , at least 4000 , 68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % ,
     at least 5000 , at least 6000 , at least 7000 , at least 8000 , at 78 % , 79 % , 80 % , 81 % , 82 % , 83 % , 84 % , 85 % , 86 % , 87 % ,
     least 9000 , at least 10000 or more sequence reads . A 88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % ,
     consensus sequence can be from sequence reads of a single 98 % , or 99 % of the original DNA fragments tagged at both
     strand polynucleotide. A consensus sequence can also be 20 ends with tags that comprise molecular barcodes . Tagging
     from sequence reads of one strand of a double - stranded can also result in 100 % of the original DNA fragments
     polynucleotide (e.g. , pairing reads ). In an exemplary tagged at both ends with tags that comprise molecular
     method, pairing reads allows one to identify with increased barcodes. Tagging can also result in single end tagging .
     confidence the existence of a sequence variant in a molecule .  Tagging can also occur by using an excess amount of tags
     For example, if both strands of a Pair include the same 25 as compared to the original DNA fragments. For example,
     variant, one can be reasonably sure that the variant existed the excess can be at least 5 - fold excess . In other cases , the
     in the original molecule , as the chance that the same variant             excess can be at least 1.25 , 1.5 , 1.75 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 ,
     is introduced into both strands during amplification / se                  11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 30 ,
     quencing is rare . In contrast , if only one strand of a Pair              35 , 40 , 45 , 50 , 55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 or more
     includes the sequence variant, this is more likely to be an 30 fold excess . Tagging can comprise attachment to blunt ends
     artifact. Similarly, the confidence that a Singlet bearing a or sticky ends. Tagging can also be performed by hybrid
     sequence variant existed in the original molecule is less than ization PCR . Tagging can also be performed in low reaction
     the confidence if the variant exists in a Duplex, as there is   volumes, such as 1 , 2 , 3 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 ,
     higher probability that the variant can be introduced once      15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 ,
     than twice during amplification /sequencing.                 35 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 ,
       Other methods of copy number variation detection and the 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 , 61 , 62 ,
     sequence variant detection are described in PCT /US2013 / 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 , 77 , 78 ,
     058061 , which is entirely incorporated herein by reference . 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , 89 , 90 , 91 , 92 , 93 , 94 ,
         Sequence reads can be collapsed to generate a consensus 95 , 96 , 97 , 98 , 99 , or 100 pico- and /or microliters .
     sequence, which can be mapped to a reference sequence to 40 The method can also include performing high fidelity
     identify genetic variants, such as CNV or SNV . As an amplification on the tagged DNA fragments. Any high
     alternative , the sequence reads are mapped prior to or even fidelity DNA polymerases can be used . For example, the
     without mapping . In such a case , the sequence reads can be polymerase may be KAPA HiFi DNA polymerase or Phu
     individually mapped to the reference to identify a CNV or sion DNA polymerase.
     SNV .                                                               45   Further, the method can comprise selectively enriching a
        FIG . 3 shows a reference sequence encoding a genetic subset of the tagged DNA fragments . For example , selective
     Locus A. The polynucleotides in FIG . 3 may be Y -shaped or enrichment can be performed by hybridization or amplifi
     have other shapes , such as hairpin .                                  cation techniques. The selective enrichment can be per
        In some cases , an SNV or multiple -nucleotide variant formed using a solid support ( e.g. , beads ) . The solid support
     (MNV ) can be determined across multiple sequence reads at 50 (e.g. , beads ) can comprise probes ( e.g. , oligonucleotides
     a given locus (e.g. , nucleotide base ) by aligning sequence specifically hybridizing to certain sequences. For example,
     reads that correspond to that locus . Next, a plurality of the probes can hybridize with certain genomic regions , e.g. ,
     sequential nucleotide bases from at least a subset of the genes. In some cases , the genomic regions, e.g. , genes, can
     sequence reads are mapped to the reference to a SNV or be regions associated with diseases , e.g. , cancer. After
     MNV in a polynucleotide molecule or portion thereof that 55 enrichment, the selected fragmented can be attached any
     corresponds to the reads. The plurality of sequential nucleo           sequencing adaptor disclosed in this invention. For example,
     tide bases can span an actual, inferred or suspected location a sequence adaptor can comprise a flow cell sequence, a
     of the SNV or MNV . The plurality of sequential nucleotide sample barcode, or both . In another example, a sequence
     bases can span at least 3 , 4 , 5 , 6 , 7 , 8 , 9 , or 10 nucleotide adaptor can be a hairpin shaped adaptor and / or comprises a
     bases .                                                             60 sample barcode. Further, the resulting fragments can be
        L. Detecting /Quantifying Nucleic Acids                             amplified and sequenced . In some cases , the adaptor does
        The methods described throughout can be used to tag not comprise a sequencing primer region .
     nucleic acids fragments , such as deoxyribonucleic acid                  The method can include sequencing one or both strands of
     (DNA ), at extremely high efficiency. This efficient tagging the DNA fragments. In one case , both strands of the DNA
     allows a person to efficiently and accurately detect rare DNA 65 fragment are independently sequenced . The tagged , ampli
     in heterogenous populations of original DNA fragments fied, and /or selectively enriched DNA fragments are
     ( such as in cfDNA ). A rare polynucleotide (e.g. , rare DNA ) sequenced to obtain sequence reads that comprise sequence
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                                                              US 10,801,063 B2
                                     41                                                                    42
     information of the molecular barcodes and at least a portion              length and have distinct barcode sequences with respect to
     of the original DNA fragments.                                             at least 4 nucleic acid bases and an edit distance of at least
         The method can include reducing or tracking redundancy 1 , wherein each of the distinct barcode sequences is within
     ( as described above) in the sequence reads to determine 20 nucleic acid bases from a terminal end of a respective one
     consensus reads that are representative of single - strands of 5 of the plurality of polynucleotide molecules , and wherein
     the original DNA fragments. For example, to reduce or track the plurality of polynucleotide molecules are not sequencing
     redundancy, the method can include comparing sequence adaptors .
     reads having the same or similar molecular barcodes and the                   The tagged polynucleotide fragments can be subjected to
     same or similar end of fragment sequences. The method can nucleic acid amplification reactions under conditions that
     comprise performing a phylogentic analysis on the sequence 10 yield amplified polynucleotide fragments as amplification
     reads having the same or similar molecular barcodes . The products of the tagged polynucleotide fragments. After
     molecular barcodes can have a barcode with varying edit amplification, the nucleotide sequence of the amplified
     distances ( including any edit distances as described through tagged polynucleotide fragments is determined . In some
     out) , for example , an edit distance of up to 3. The end of the cases , the nucleotide sequences of the amplified tagged
     fragment sequencescan include fragment sequences having 15 polynucleotide fragments are determined without the use of
     an edit distance with varying distances ( including any edit polymerase chain reaction ( PCR ) .
     distances as described throughout ), for example, an edit                     The method can comprise analyzing the nucleotide
     distance of up to 3 .                                                      sequences with a programmed computer processor to iden
         The method can comprise binning the sequence reads tify one or more genetic variants in the nucleotide sample of
     according to the molecular barcodes and sequence informa- 20 the subject. Any genetic alterations can be identified , includ
     tion . For example , binning the sequence reads according to ing but not limited to , base change ( s ), insertion ( s ), repeat( s ),
     the molecular barcodes and sequence information can be deletion (s ), copy number variation ( s ), epigenetic modifica
     performed from at least one end of each of the original DNA tion ( s ) , nucleosome binding site ( s ) , copy number change ( s)
     fragments to create bins of single stranded reads. The due to origin ( s ) of replication , and transversion ( s ). Other
     method can further comprise in each bin , determining a 25 genetic alterations can include, but are not limited to , one or
     sequence of a given original DNA fragment among the more tumor associated genetic alterations.
     original DNA fragments by analyzing sequence reads.                           The subject of the methods can be suspected of having a
         In some cases , sequence reads in each bin can be col disease . For example, the subject can be suspected of having
     lapsed to a consensus sequence and subsequently mapped to cancer . The method can comprise collecting a nucleic acid
     a genome . As an alternative, sequence reads can be mapped 30 sample from a subject. The nucleic acid sample can be
     to a genome prior to binning and subsequently collapsed to collected from blood , plasma , serum , urine , saliva , mucosal
     a consensus sequence .                                                     excretions, sputum , stool , cerebral spinal fluid , skin , hair,
         The method can also comprise sorting sequence reads into sweat , and / or tears . The nucleic acid sample can be a
     paired reads and unpaired reads . After sorting, the number of cell- free nucleic acid sample. In some cases , the nucleic acid
     paired reads and unpaired reads that map to each of one or 35 sample is collected from no more than 100 nanograms (ng)
     more genetic loci can be quantified .                                      of double - stranded polynucleotide molecules of the subject.
         The method can include quantifying the consensus reads                    The polynucleotide fragments can comprise double
     to detect and / or quantify the rare DNA, which are described stranded polynucleotide molecules . In some cases , the plu
     throughout. The method can comprise detecting and /or rality of polynucleotide molecules are coupled to the poly
     quantifying the rare DNA by comparing a number of times 40 nucleotide fragments via blunt end ligation , sticky end
     each base occurs at each position of a genome represented ligation, molecular inversion probes , polymerase chain reac
     by the tagged , amplified, and /or enriched DNA fragments. tion ( PCR ) , ligation -based PCR , multiplex PCR , single
         The method can comprise tagging the original DNA strand ligation , or single strand circularization.
     fragments in a single reaction using a library of tags . The                  The method as described herein results in high efficiency
     library can include at least 2 , at least 3 , at least 4 , at least 5 , 45 tagging of nucleic acids . For example , exposing the poly
     at least 6 , at least 7 , at least 8 , at least 9 , at least 10 , at least nucleotide fragments of the nucleic acid sample to the
     11 , at least 12 , at least 13 , at least 14 , at least 15 , at least 16 , plurality of polynucleotide molecules yields the tagged
     at least 17 , at least 18 , at least 19 , at least 20 , at least 50 , at polynucleotide fragments with a conversion efficiency of at
     least 100 , at least 500 , at least 1000 , at least 5000 , at least least 30 % , e.g. , of at least 50% ( e.g. , 60 % , 70 % , 80 % , 90 % ,
     10000 , or any number of tags as disclosed throughout. For 50 95 % , or 99 % ) . Conversion efficiency of at least 30 % , 35 % ,
     example, the library of tags can include at least 8 tags . The 40% , 45 % , 50 % , 51 % , 52 % , 53 % , 54 % , 55 % , 56 % , 57 % ,
     library of tags can include 8 tags (which can generate 64 58 % , 59 % , 60 % , 61 % , 62 % , 63 % , 64 % , 65 % , 66 % , 67 % ,
     different possible combinations). The method can be con                    68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % ,
     ducted such that a high percentage of fragments, e.g. , greater 78 % , 79 % , 80 % , 81 % , 82 % , 83 % , 84 % , 85 % , 86 % , 87 % ,
     than 50 % (or any percentages as described throughout) are 55 88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % ,
     tagged at both ends, wherein each of the tags comprises a 98 % , or 99 % can be achieved .
     molecular barcode .                                                 The method can result in a tagged polynucleotide frag
        M. Processing and /or Analyzing Nucleic Acids                 ment that share common polynucleotide molecules . For
        The methods described throughout can be used for pro          example , any of at least 5 % , 6 % , 7 % , 8 % , 9 % , 10 % , 20 % ,
     cessing and/ or analyzing a nucleic acid sample of a subject. 60 25 % , 30% , 35 % , 40 % , 45 % , 50 % , 55 % , 60% , 65 % , 70% ,
     The method can comprising exposing polynucleotide frag           75 % , 80 % , 85 % , 90% , 95 % , 96 % , 97 % , 98 % , 99 % or 100 %
     ments of the nucleic acid sample to a plurality of polynucle of the tagged polynucleotide fragments share a common
     otide molecules to yield tagged polynucleotide fragments . polynucleotide molecule. The method can comprise gener
     The plurality of polynucleotide molecules that can be used ating the polynucleotide fragments from the nucleic acid
     are described throughout the application .                    65 sample.
        For example, the plurality of polynucleotide molecules           In some cases , the subjecting of the method comprises
     can be each less than or equal to 40 nucleic acid bases in amplifying the tagged polynucleotide fragments in the pres
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                                                                      US 10,801,063 B2
                                          43                                                                           44
     ence primers corresponding to a plurality of genes selected                       particular location . The method can further comprise map
     from the group consisting of ALK , APC , BRAF, CDKN2A ,   ping a consensus sequence to a target genome.
     EGFR , ERBB2 , FBXW7 , KRAS, MYC , NOTCH1 , NRAS ,           The method can further comprising performing consensus
     PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,      calling at an additional genomic locus among the genomic
     ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 , 5 loci . The method can comprise determining a variation in
     FGFR2 , FGFR3 , FLT3, GNA11, GNAQ , GNAS, HNF1A , copy number at one of the given genomic locus and addi
     HRAS, IDHI , IDH2 , JAK2, JAK3, KDR , KIT, MLH1 , tional         genomic locus based on counts at the given genomic
     MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4 , locus        and additional genomic locus .
                                                                  The methods described herein can comprise providing
     SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
     CDK4, CDKN2B, RAFI, BRCA1 , CCND2, CDK6 , NF1, 10 template          polynucleotide
                                                                               moleculesmolecules  and avessel
                                                                                                           library. Theof adaptor
     TP53 , ARIDIA , BRCA2 , CCNE1 , ESR1 , RITI , GATA3, polynucleotide
                                                               polynucleotide  molecules
                                                                                          in a reaction
                                                                                          can have from  2  to 1,000
                                                                                                                          adaptor
                                                                                                                         different
     MAP2K1, RHEB , ROS1 , ARAF, MAP2K2, NFE2L2 ,
     RHOA , and NTRK1 . Additionally, any combination of these barcode   sequences and in some cases are not sequencing
                                                               adaptors. Other variations of adaptor polynucleotide mol
     genes can be amplified. For example, 1 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 15 ecules are described throughout, which can also be used in
     10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 ,   the methods.
     26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 ,   The polynucleotide molecules of the adaptors can have
     42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , or all 54 of these the same sample tag . The adaptor polynucleotide molecules
     genes can be amplified.                                                        can be coupled to both ends of the template polynucleotide
        The methods described herein can comprise generating a 20 molecules . The method can comprise coupling the adaptor
     plurality of sequence reads from a plurality of polynucle polynucleotide molecules to the template polynucleotide
     otide molecules . The plurality of polynucleotide molecules molecules at an efficiency of at least 30 % , e.g. , of at least
     can cover genomic loci of a target genome. For example, the 50% (e.g. , 60 % , 70 % , 80 % , 90 % , 95 % , or 99 % ) , thereby
     genomic loci can correspond to a plurality of genes as listed tagging each template polynucleotide with a tagging com
     above . Further, the genomic loci can be any combination of 25 bination that is among 4 to 1,000,000 different tagging
     these genes . Any given genomic locus can comprise at least combinations, to produce tagged polynucleotide molecules .
     two nucleic acid bases . Any given genomic locus can also In some cases , the reaction can occur in a single reaction
     comprise a plurality of nucleic acid bases , for example, 2 , 3 , vessel . Coupling efficiency can also be at least 30 % , 35 % ,
     4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 40% , 45 % , 50 % , 51 % , 52 % , 53 % , 54 % , 55 % , 56 % , 57 % ,
     22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 30 58 % , 59 % , 60 % , 61 % , 62 % , 63 % , 64 % , 65 % , 66 % , 67 % ,
     38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , or more 68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % ,
     nucleic acid bases .                                                              78 % , 79 % , 80 % , 81 % , 82 % , 83 % , 84 % , 85 % , 86 % , 87 % ,
        The method can comprise grouping with a computer                               88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % ,
     processor the plurality of sequence reads into families. Each 98 % , or 99 % . Tagging can be non - unique tagging .
     of the family can comprises sequence reads from one of the 35 The tagged polynucleotide molecules can then be subject
     template polynucleotides. Each family can comprise to an amplification reaction under conditions that will yield
     sequence reads from only one of the template polynucle          amplified polynucleotide molecules as amplification prod
     otides . For each of the family, the sequence reads can be      ucts of the tagged polynucleotide molecules . The template
     merged to generate a consensus sequence . The grouping can      polynucleotide molecules can be double -stranded . Further,
     comprise classifying the plurality of sequence reads into 40 the template polynucleotide molecules can be blunt ended .
     families by identifying ( i ) distinct molecular barcodes In some cases , the amplification reaction comprises non
     coupled to the plurality of polynucleotide molecules and ( ii ) specifically amplifying the tagged polynucleotide mol
     similarities between the plurality of sequence reads , wherein ecules . The amplification reaction can also comprises using
     each family includes a plurality of nucleic acid sequences a priming site to amplify each of the tagged polynucleotide
     that are associated with a distinct combination of molecular 45 molecules . The priming site can be a primer, e.g. , a universal
     barcodes and similar or identical sequence reads.               primer. The priming site can also be a nick .
        Once merged, a consensus sequence can be called at a            The method can also comprise sequencing the amplified
     given genomic locus among the genomic loci . At any given polynucleotide molecules . The sequencing can comprise (i )
     genomic loci , any of the following can be determined : i ) subjecting the amplified polynucleotide molecules to an
     genetic variants among the calls ; ii ) frequency of a genetic 50 additional amplification reaction under conditions that yield
     alteration among the calls ; iii ) total number of calls ; and iv )               additional amplified polynucleotide molecules as amplifica
     total number of alterations among the calls . The calling can                     tion products of the amplified polynucleotide molecules ,
     comprise calling at least one nucleic acid base at the given and / or (ii ) sequencing the additional amplified polynucle
     genomic locus . The calling can also comprise calling a otide molecules . The additional amplification can be per
     plurality of nucleic acid bases at the given genomic locus . In 55 formed in the presence of primers comprising flow cells
     some cases , the calling can comprise phylogenetic analysis , sequences, which will produce polynucleotide molecules
     voting (e.g. , biased voting ) , weighing, assigning a probabil that are capable of binding to a flow cell . The additional
     ity to each read at the locus in a family, or calling the base amplification can also be performed in the presence of
     with the highest probability . The consensus sequence can be primers comprising sequences for hairpin shaped adaptors.
     generated by evaluating a quantitative measure or a statis- 60 The hairpin shaped adaptors can be attached to both ends of
     tical significance level for each of the sequence reads . If a a polynucleotide fragment to generate a circular molecule ,
     quantitative measure is performed , the method can comprise which can be sequenced multiple times . The method can
     use of a binomial distribution , exponential distribution, beta further comprise identifying genetic variants upon sequenc
     distribution , or empirical distribution . However, frequency ing the amplified polynucleotide molecules .
     of the base at the particular location can also be used for 65 The method can further comprising separating polynucle
     calling, for example , if 51 % or more of the reads is a “ A ” at otide molecules comprising one or more given sequences
     the location, then the base may be called an “ A ” at that from the amplified polynucleotide molecules , to produce
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                                                            US 10,801,063 B2
                                    45                                                                         46
     enriched polynucleotide molecules . The method can also                    a positive predictive value of at least 90 % , 91 % , 92 % , 93 % ,
     comprise amplifying the enriched polynucleotide molecules                  94 % , 95 % , 96 % , 97 % , 98 % , 99 % , 99.9 % , 99.99 % ,
     with primers comprising the flow cell sequences. This                      99.999 % , or 99.9999 % .
     amplification with primers comprising flow cell sequences         Subjects identified as positive in a test that are in reality
     will produce polynucleotide molecules that are capable of 5 positive are referred as true positives (TP) . Subjects identi
     binding to a flow cell . The amplification can also be per fied as positive in a test that are in reality negative are
     formed in the presence of primers comprising sequences for referred as false positives (FP ) . Subjects identified as nega
     hairpin shaped adaptors . The hairpin shaped adaptors can be tive in a test that are in reality negative are referred as true
     attached to both ends of a polynucleotide fragment to negatives (TN) . Subjects identified as negative in a test that
     generate a circular molecule, which can be sequenced mul- 10 are   in realityis the
                                                                    Sensitivity      positive     are referred
                                                                                         percentage     of actualas positives
                                                                                                                     false negatives  ( FNin).
                                                                                                                               identified
     tiple times.                                                   a test as positive . This includes, for example, instances in
        Flow cell sequences or hairpin shaped adaptors can be which         one should have found a cancer genetic variant and
     added by non -amplification methods such as through liga did . ( Sensitivity       = TP / ( TP + FN ) .) Specificity is the percentage
     tion of such sequences. Other techniques such as hybridiza- 15 of actual negatives        identified in a test as negative. This
     tion methods can be used , e.g. , nucleotide overhangs.        includes, for example , instances in which one should have
        The method can be performed without aliquoting the found no cancer genetic variant and did not . Specificity can
     tagged polynucleotide molecules . For example, once the be calculated using the following equation : Specificity = TN /
     tagged polynucleotide molecule is made, the amplification (TN + FP) . Positive predictive value ( PPV) can be measured
     and sequencing can occur in the same tube without any 20 by the percentage of subjects who test positive that are true
     further preparation .                                           positives . PPV can be calculated using the following equa
        The methods described herein can be useful in detecting tion : PPV=TP/ ( TP + FP ) . Positive predictive value can be
     single nucleotide variations (SNV ), copy number variations increased by increasing sensitivity ( e.g. , chance of an actual
     ( CNV ), insertions, deletions, and / or rearrangements. In positive being detected ) and / or specificity (e.g. , chance of
     some cases , the SNVs, CNVs, insertions, deletions, and / or 25 not mistaking an actual negative for a positive ) .
     rearrangements, can be associated with disease , for example ,     Low conversion rates of polynucleotides into adaptor
     cancer.                                                         tagged polynucleotides can compromise sensitivity as it
        N. Monitoring a Patient's Status                             decreases the chance of converting, and therefore detecting,
        Methods disclosed herein can also be used to monitor a       rare polynucleotide targets. Noise in a test can compromise
     patient's disease status. The disease of a subject can be 30 specificity as it increases the number of false positives
                                                                  detected in a test . Both low conversion rate and noise
     monitored over time to determine a progression of the                      compromise positive predictive value as they decrease the
     disease (e.g. , regression) . Markers indicative of the disease            percentage of true positives and increase the percentage of
     can be monitored in a biological sample of the subject, such               false positives.
     as a cell - free DNA sample.                                          35     The methods disclosed herein can achieve high levels of
       For example, monitoring a subject's cancer status can                    agreement, e.g. , sensitivity and specificity, leading to high
     comprise (a) determining an amount of one or more SNVs        positive predictive values . Methods of increasing sensitivity
     or copy numbers of a plurality of genes (e.g. , in an exon) , ( b )
                                                                   include high efficiency conversion of polynucleotides into
     repeating such determination at different points in time , andadaptor -tagged polynucleotides in a sample . Methods of
     (c) determining if there is a difference in the number of 40 increasing specificity include reducing sequencing errors,
     SNVs, level of SNVs, number or level of genomic rear for example, by molecular tracking.
     rangements, or copy numbers between (a ) and ( b ). The genes    Methods of the present disclosure can be used to detect
     can be selected from the group consisting of ALK , APC , genetic variation in non -uniquely tagged initial starting
     BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS , MYC , genetic material ( e.g. , rare DNA ) at a concentration that is
     NOTCH1 , NRAS, PIK3CA , PTEN , RB1 , TP53 , MET, AR , 45 less than 5 % , 1 % , 0.5 % , 0.1 % , 0.05 % , or 0.01 % , at a
     ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , specificity of at least 99 % , 99.9 % , 99.99 % , 99.999 % ,
     EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, 99.9999 % , or 99.99999 % . In some aspects , the methods can
     GNAS, HNF1A , HRAS , IDH1 , IDH2 , JAK2, JAK3 , KDR , further comprise converting polynucleotides in the initial
     KIT, MLHI , MPL , NPM1 , PDGFRA, PROC , PTPN11 , starting material at an efficiency of at least at least 10 % , at
     RET, SMAD4, SMARCB1, SMO , SRC , STK11 , VHL , 50 least 20% , at least 30 % , at least 40 % , at least 50% , at least
     TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 , 60% , at least 70 % , at least 80 % , or at least 90 % . Sequence
     CCND2 , CDK6 , NF1 , TP53 , ARID1A , BRCA2 , CCNEI , reads of tagged polynucleotides can be subsequently tracked
     ESR1 , RIT ) , GATA3, MAP2K1, RHEB , ROS1 , ARAF, to generate consensus sequences for polynucleotides with an
     MAP2K2, NFE2L2 , RHOA , and NTRK1 . The genes can be error rate of no more than 2 % , 1 % , 0.1 % , or 0.01% .
     selected from any 5 , 10 , 15 , 20 , 30 , 40 , 50 , or all of the genes 55 2. Pooling Methods
     in this group.                                                               Disclosed herein are methods of detecting copy number
        O. Sensitivity and Specificity                                         variation and /or sequence variants at one or more genetic
        Methods disclosed herein can be used to detect cancer loci in a test sample. One embodiment is shown in FIG . 8 .
     polynucleotides in a sample, and cancer in a subject, with Typically, detecting copy number variation involves deter
     high  measures of agreement, e.g. , high sensitivity and / or 60 mining a quantitative measure (e.g. , an absolute or relative
     specificity. For example, such methods can detect cancer number) of polynucleotides mapping to a genetic locus of
     polynucleotides ( e.g. , rare DNA ) in a sample at a concen       interest in a genome of a test sample, and comparing that
     tration that is less than 5 % , 1 % , 0.5 % , 0.1 % , 0.05 % , or number to a quantitative measure of polynucleotides map
     0.01 % , at a specificity of at least 99 % , 99.9 % , 99.99 % , ping to that locus in a control sample . In certain methods, the
     99.999 % , 99.9999 % , or 99.99999% . Such polynucleotides 65 quantitative measure is determined by comparing the num
     may be indicative of cancer or other disease . Further, such ber of molecules in the test sample that map to a locus of
     methods can detect cancer polynucleotides in a sample with interest with a number of molecules in the test sample
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                                      47                                                                       48
     mapping to a reference sequence , e.g. , a sequence expected              ( sticky - end ligation ). The polynucleotides can be tagged by
     to be present at wild type ploidy number. In some examples,               blunt end ligation using adaptors ( e.g. , adaptors having
     the reference sequence is HG19 , build 37 , or build 38. The              forked ends ) . High efficiency of ligation can be achieved
     comparison could involve , for example, determining a ratio .             using high excess of adaptors ( e.g. , more than 1.5x , more
     Then , this measure is compared with a similar measure 5 than 2x , more than 3x , more than 4x , more than 5x , more
     determined in a control sample. So , for example, if a test than 6x , more than 7x , more than 8x , more than 9x , more
     sample has a ratio of 1.5 : 1 for locus of interest versus than 10x , more than 11x , more than 12x , more than 13x ,
     reference locus , and a control sample has a ratio of 1 : 1 for more than 14x , more than 15x , more than 20x , more than
     the same loci , one may conclude that the test sample exhibits 25x , more than 30x , more than 35x , more than 40x , more
     polyploidy at the locus of interest.                           10 than 45x , more than 50x , more than 55x , more than 60x ,
        When the test sample and the control sample are analyzed more than 65x , more than 70x , more than 75x , more than
     separately, the work flow can introduce distortions between 80x , more than 85x , more than 90x , more than 95x , or more
     final numbers in the control and test samples.                    than 100 ).
         In one method disclosed herein ( e.g. , flow chart 800 ) ,       Once tagged with tags that identify source of the poly
     polynucleotides are provided from a test and a control 15 nucleotides, polynucleotides from different sources ( e.g. ,
     sample (802 ) . Polynucleotides in a test sample and those in different samples ) can be pooled . After pooling, polynucle
     a control sample are tagged with tags that identify the otides from different sources ( e.g. , different samples) can be
     polynucleotides as originating from the test or control distinguished by any measurement using the tags , including
     sample ( a source tag ) . (804. ) The tag can be , for example, a any process of quantitative measurement. For example , as
     polynucleotide sequence or barcode that unambiguously 20 shown in ( 806 ) (FIG . 8 ) , polynucleotides from the control
     identifies the source .                                           sample and the test sample can be pooled . The pooled
         The polynucleotides in each of the control and test molecules can be subject to the sequencing ( 808 ) and
     samples also can be tagged with identifier tags that will be bioinformatic work flow . Both will be subject to the same
     carried by all amplification progeny of a polynucleotide. variations in the process and, therefore , any differential bias
     Information from start and end sequences of a polynucle- 25 is reduced . Because molecules originating from control and
     otide and identifier tags can identify sequence reads from test samples are differently tagged , they can be distinguished
     polynucleotides amplified from an original parent molecule . in any process of quantitative measurement.
     Each molecule can be uniquely tagged compared with other             The relative amount of control and test sample pooled can
     molecules in the sample. Alternatively, each molecule need be varied . The amount of control sample can be same as the
     not be uniquely tagged compared with other molecules in 30 amount of test sample. The amount of control sample can
     the sample. That is , the number of different identifier also be larger than the amount of test sample. Alternatively,
     sequences can be fewer than that the number of molecules the amount of control sample can be smaller than the amount
     in sample. By combining identifier information with start / of test sample. The smaller the relative amoun of one
     stop sequence information, the probability of confusing two sample to the total , the fewer identifying tags needed in the
     molecules having the same start/ stop sequence is signifi- 35 original tagging process. A number can be selected to reduce
     cantly diminished .                                               to acceptable levels the probability that two parent mol
         Number of different identifiers used to tag a nucleic acid ecules having the same start/ end sequences will bear the
     ( e.g. , cfDNA ) can dependent on the number of different same identifying tag . This probability can be less than 10 % ,
     haploid genome equivalents . Different identifiers can be                 less than 1 % , less than 0.1 % or less than 0.01 % . The
     used to tag at least 2 , least 10 , least 100 , least 200 , least 300 , 40 probability can be less than 25 % , 24 % , 23 % , 22 % , 21 % ,
     least 400 , least 500 , least 600 , least 700 , least 800 , least 900 ,   20% , 19 % , 18 % , 17 % , 16 % , 15 % , 14 % , 13 % , 12 % , 11 % ,
     least 1,000 , least 2,000 , least 3,000 , least 4,000 , least 5,000 ,     10% , 9 % , 8 % , 7 % , 6 % , 5 % , 4 % , 3 % , 2 % , or 1 % .
     least 6,000 , least 7,000 , least 8,000 , least 9,000 , least 10,000        Methods disclosed herein can also comprise grouping
     or more different haploid genome equivalents. Accordingly,                sequence reads . For example, bioinformatic workflow can
     the number of different identifiers used to tag a nucleic acid 45 include grouping sequence reads produced from progeny of
     sample, e.g. , cell - free DNA from 500 to 10,000 different a single parent molecule , as shown in ( 810 ) (FIG . 8 ) . This
     haploid genome equivalents and be between any of 1 , 2 , 3 , can involve any of the redundancy reduction methods
     4 and 5 and no more than 100 , 90 , 80 , 70 , 60 , 50 , 40 or 30 .        described herein . Molecules sourced from test and control
     For example, the number of different identifier used to tag a samples can be differentiated based on source tags they carry
     nucleic acid sample from 500 to 10,000 different haploid 50 (812 ) . Molecules mapping to a target locus are quantified for
     genome equivalents can be 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , both test- sourced and control - sourced molecules (812 ) . This
     13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , can include the normalization methods discussed herein ,
     29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , e.g. , in which numbers at a target locus are normalized
     45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 , against numbers at a reference locus .
     61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 , 55 Normalized (or raw ) quantities at a target locus from test
     77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , 89 , 90 , 91 , 92 , and control samples are compared to determine presence of
     93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 or less .                                  copy number variation ( 814 ) .
        Polynucleotides can be tagged by ligation of adaptors           3. Computer Control Systems
     comprising the tags or identifiers before amplification. Liga      The present disclosure provides computer control systems
     tion can be performed using an enzyme, e.g. , a ligase . For 60 that are programmed to implement methods of the disclo
     example , tagging can be performed using a DNA ligase . The sure. FIG . 6 shows a computer system 1501 that is pro
     DNA ligase can be a T4 DNA ligase , E. coli DNA ligase , grammed or otherwise configured to implement the methods
     and / or mammalian ligase . The mammalian ligase can be of the present disclosure. The computer system 1501 can
     DNA ligase I , DNA ligase III , or DNA ligase IV . The ligase regulate various aspects sample preparation, sequencing
     may also be a thermostable ligase . Tags can be ligated to a 65 and / or analysis. In some examples, the computer system
     blunt- end of a polynucleotide ( blunt -end ligation ). Alterna 1501 is configured to perform sample preparation and
     tively, tags can be ligated to a sticky end of a polynucleotide sample analysis, including nucleic acid sequencing. The
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     computer system 1501 can be an electronic device of a user system 1501 , such as , for example , on the memory 1510 or
     or a computer system that is remotely located with respect electronic storage unit 1515. The machine executable or
     to the electronic device . The electronic device can be a machine readable code can be provided in the form of
     mobile electronic device .                                         software. During use , the code can be executed by the
         The computer system 1501 includes a central processing 5 processor 1505. In some cases , the code can be retrieved
     unit ( CPU , also “ processor" and " computer processor ” from the storage unit 1515 and stored on the memory 1510
     herein ) 1505 , which can be a single core or multi core for ready access by the processor 1505. In some situations ,
     processor, or a plurality of processors for parallel process the electronic storage unit 1515 can be precluded , and
     ing . The computer system 1501 also includes memory or machine - executable instructions are stored on memory
     memory location 1510 (e.g. , random - access memory , read- 10 1510 .
     only memory, flash memory ), electronic storage unit 1515             The code can be pre -compiled and configured for use with
     ( e.g. , hard disk ), communication interface 1520 ( e.g. , net a machine have a processor adapted to execute the code , or
     work adapter) for communicating with one or more other can be compiled during runtime. The code can be supplied
     systems , and peripheral devices 1525 , such as cache, other in a programming language that can be selected to enable the
     memory, data storage and / or electronic display adapters . The 15 code to execute in a pre -compiled or as - compiled fashion .
     memory 1510 , storage unit 1515 , interface 1520 and periph           Aspects of the systems and methods provided herein , such
     eral devices 1525 are in communication with the CPU 1505 as the computer system 1501 , can be embodied in program
     through a communication bus ( solid lines ) , such as a moth       ming . Various aspects of the technology may be thought of
     erboard. The storage unit 1515 can be a data storage unit (or as " products " or " articles of manufacture ” typically in the
     data repository ) for storing data . The computer system 1501 20 form of machine ( or processor) executable code and / or
     can be operatively coupled to a computer network (“ net associated data that is carried on or embodied in a type of
     work ” ) 1530 with the aid of the communication interface machine readable medium . Machine - executable code can be
     1520. The network 1530 can be the Internet, an internet stored on an electronic storage unit , such memory ( e.g. ,
     and / or extranet, or an intranet and /or extranet that is in read -only memory , random - access memory , flash memory )
     communication with the Internet. The network 1530 in some 25 or a hard disk . “ Storage” type media can include any or all
     cases is a telecommunication and / or data network . The of the tangible memory of the computers, processors or the
     network 1530 can include one or more computer servers , like, or associated modules thereof, such as various semi
     which can enable distributed computing, such as cloud conductor memories , tape drives, disk drives and the like ,
     computing. The network 1530 , in some cases with the aid of which may provide non - transitory storage at any time for the
     the computer system 1501 , can implement a peer - to - peer 30 software programming. All or portions of the software may
     network , which may enable devices coupled to the computer at times be communicated through the Internet or various
     system 1501 to behave as a client or a server.                     other telecommunication networks. Such communications,
         The CPU 1505 can execute a sequence of machine for example , may enable loading of the software from one
     readable instructions, which can be embodied in a program computer or processor into another, for example, from a
     or software . The instructions may be stored in a memory 35 management server or host computer into the computer
     location , such as the memory 1510. The instructions can be platform of an application server . Thus , another type of
     directed to the CPU 1505 , which can subsequently program media that may bear the software elements includes optical ,
     or otherwise configure the CPU 1505 to implement methods electrical and electromagnetic waves , such as used across
     of the present disclosure . Examples of operations performed physical interfaces between local devices, through wired and
     by the CPU 1505 can include fetch , decode , execute , and 40 optical landline networks and over various air- links. The
     writeback .                                                        physical elements that carry such waves, such as wired or
         The CPU 1505 can be part of a circuit, such as an wireless links, optical links or the like , also may be consid
     integrated circuit . One or more other components of the ered as media bearing the software. As used herein , unless
     system 1501 can be included in the circuit . In some cases , restricted to non -transitory, tangible “ storage ” media , terms
     the circuit is an application specific integrated circuit 45 such as computer or machine “ readable medium ” refer to
     (ASIC ) .                                                          any medium that participates in providing instructions to a
         The storage unit 1515 can store files, such as drivers , processor for execution.
     libraries and saved programs. The storage unit 1515 can               Hence , a machine readable medium , such as computer
     store user data , e.g. , user preferences and user programs. The executable code , may take many forms, including but not
     computer system 1501 in some cases can include one or 50 limited to , a tangible storage medium , a carrier wave
     more additional data storage units that are external to the medium or physical transmission medium . Non - volatile
     computer system 1501 , such as located on a remote server storage media include , for example, optical or magnetic
     that is in communication with the computer system 1501 disks , such as any of the storage devices in any computer ( s )
     through an intranet or the Internet.                               or the like , such as may be used to implement the databases ,
         The computer system 1501 can communicate with one or 55 etc. shown in the drawings. Volatile storage media include
     more remote computer systems through the network 1530 . dynamic memory, such as main memory of such a computer
     For instance, the computer system 1501 can communicate platform . Tangible transmission media include coaxial
     with a remote computer system of a user ( e.g. , an operator). cables; copper wire and fiber optics , including the wires that
     Examples of remote computer systems include personal comprise a bus within a computer system . Carrier -wave
     computers (e.g. , portable PC) , slate or tablet PC's (e.g. , 60 transmission media may take the form of electric or elec
     Apple iPad , Samsung Galaxy Tab ), telephones, Smart tromagnetic signals, or acoustic or light waves such as those
     phones ( e.g. , Apple iPhone, Android -enabled device, generated during radio frequency (RF ) and infrared (IR) data
     Blackberry® ), or personal digital assistants . The user can communications. Common forms of computer -readable
     access the computer system 1501 via the network 1530 .           media therefore include for example: a floppy disk , a flexible
        Methods as described herein can be implemented by way 65 disk, hard disk, magnetic tape , any other magnetic medium ,
     of machine (e.g. , computer processor) executable code a CD - ROM , DVD or DVD -ROM , any other optical
     stored on an electronic storage location of the computer medium , punch cards paper tape, any other physical storage
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     medium with patterns of holes , a RAM , a ROM , a PROM the group consisting of ALK , APC , BRAF, CDKN2A ,
     and EPROM , a FLASH - EPROM , any other memory chip or EGFR , ERBB2 , FBXW7 , KRAS, MYC , NOTCH1 , NRAS ,
     cartridge , a carrier wave transporting data or instructions, PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
     cables or links transporting such a carrier wave , or any other ATM , CDH1 , CSF1R , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     medium from which a computer may read programming 5 FGFR2 , FGFR3 , FLT3, GNA11 , GNAQ , GNAS, HNF1A ,
     code and / or data . Many of these forms of computer readable HRAS, IDH1 , IDH2 , JAK2 , JAK3 , KDR , KIT, MLH1 ,
     media may be involved in carrying one or more sequences           MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4 ,
     of one or more instructions to a processor for execution .        SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
        The computer system 1501 can include or be in commu CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     nication with an electronic display 1535 that comprises a 10 TP53 , ARID1A , BRCA2 , CCNE1, ESR1 , RIT1 , GATA3,
     user interface (UI ) 1540. The UI can allow a user to set MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     various conditions for the methods described herein , for RHOA , and NTRK1 . The number genes to which the
     example, PCR or sequencing conditions . Examples of UI's oligonucleotide probes can selectively hybridize can vary .
     include , without limitation, a graphical user interface (GUI) For example, the number of genes can comprise 1 , 2 , 3 , 4 ,
     and web -based user interface .                                15 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 ,
        Methods and systems of the present disclosure can be 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 ,
     implemented by way of one or more algorithms. An algo             38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 ,
     rithm can be implemented by way of software upon execu            or 54. The kit can include a container that includes the
     tion by the central processing unit 1505. The algorithm can , plurality of oligonucleotide probes and instructions for per
     for example, process the reads to generate a consequence 20 forming any of the methods described herein .
     sequence .                                                                   The oligonucleotide probes can selectively hybridize to
        FIG . 7 schematically illustrates another system for ana                exon regions of the genes, e.g. , of the at least 5 genes . In
     lyzing a sample comprising nucleic acids from a subject. some cases , the oligonucleotide probes can selectively
     The system includes a sequencer, bioinformatic software hybridize to at least 30 exons of the genes, e.g. , of the at least
     and internet connection for report analysis by, for example, 25 5 genes. In some cases , the multiple probes can selectively
     a hand held device or a desktop computer                        hybridize to each of the at least 30 exons . The probes that
        Disclosed herein is a system for analyzing a target nucleic hybridize to each exon can have sequences that overlap with
     acid molecule of a subject, comprising: a communication at least 1 other probe . In some embodiments, the oligoprobes
     interface that receives nucleic acid sequence reads for a can selectively hybridize to non - coding regions of genes
     plurality of polynucleotide molecules that cover genomic 30 disclosed herein , for example, intronic regions of the genes .
     loci of a target genome; computer memory that stores the The oligoprobes can also selectively hybridize to regions of
     nucleic acid sequence reads for the plurality of polynucle genes comprising both exonic and intronic regions of the
     otide molecules received by the communication interface ; genes disclosed herein.
     and a computer processor operatively coupled to the com         Any number of exons can be targeted by the oligonucle
     munication interface and the memory and programmed to (i ) 35 otide probes . For example , at least 1 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 ,
     group the plurality of sequence reads into families, wherein 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 30 ,
     each family comprises sequence reads from one of the 35 , 40 , 45 , 50 , 55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 , 105 ,
     template polynucleotides, (ii ) for each of the families , merge 110 , 115 , 120 , 125 , 130 , 135 , 140 , 145 , 150 , 155 , 160 , 165 ,
     sequence reads to generate a consensus sequence , ( iii ) call 170 , 175 , 180 , 185 , 190 , 195 , 200 , 205 , 210 , 215 , 220 , 225 ,
     the consensus sequence at a given genomic locus among the 40 230 , 235 , 240 , 245 , 250 , 255 , 260 , 265 , 270 , 275 , 280 , 285 ,
     genomic loci , and ( iv ) detect at the given genomic locus any 290 , 295 , 300 , 400 , 500 , 600 , 700 , 800 , 900 , 1,000 , or more ,
     of genetic variants among the calls , frequency of a genetic exons can be targeted .
     alteration among the calls , total number of calls ; and total  The kit can comprise at least 4 , 5 , 6 , 7 , or 8 different
     number of alterations among the calls , wherein the genomic library adaptors having distinct molecular barcodes and
     loci correspond to a plurality of genes selected from the 45 identical sample barcodes . The library adaptors may not be
     group consisting of ALK , APC , BRAF, CDKN2A , EGFR , sequencing adaptors. For example, the library adaptors do
     ERBB2 , FBXW7 , KRAS, MYC , NOTCHI , NRAS , not include flow cell sequences or sequences that permit the
     PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABLI , AKT1 , formation of hairpin loops for sequencing. The different
     ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 , variations and combinations of molecular barcodes and
     FGFR2 , FGFR3 , FLT3, GNA11, GNAQ , GNAS , HNF1A , 50 sample barcodes are described throughout, and are appli
     HRAS, IDH1 , IDH2 , JAK2, JAK3, KDR , KIT, MLH1 , cable to the kit . Further, in some cases , the adaptors are not
     MPL , NPMI , PDGFRA , PROC , PTPN11 , RET, SMAD4, sequencing adaptors . Additionally, the adaptors provided
     SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 , with the kit can also comprise sequencing adaptors . A
     CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 , sequencing adaptor can comprise a sequence hybridizing to
     TP53 , ARID1A , BRCA2 , CCNE1 , ESR1 , RITI , GATA3, 55 one or more sequencing primers . A sequencing adaptor can
     MAP2K1, RHEB , ROS1 , ARAF, MAP2K2, NFE2L2 , further comprise a sequence hybridizing to a solid support,
     RHOA , and NTRK1 . The different variations of each com      e.g. , a flow cell sequence. For example, a sequencing
     ponent of the system are described throughout the disclosure adaptor can be a flow cell adaptor. The sequencing adaptors
     within the methods and compositions. These individual can be attached to one or both ends of a polynucleotide
     components and variations thereof, are also applicable in 60 fragment. In some cases , the kit can comprise at least 8
     this system .                                                different library adaptors having distinct molecular barcodes
       4. Kits                                                                 and identical sample barcodes. The library adaptors may not
        Kits comprising the compositions as described herein . be sequencing adaptors . The kit can further include a
     The kits can be useful in performing the methods as sequencing adaptor having a first sequence that selectively
     described herein . Disclosed herein is a kit comprising a 65 hybridizes to the library adaptors and a second sequence that
     plurality of oligonucleotide probes that selectively hybridize selectively hybridizes to a flow cell sequence . In another
     to least 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , 40 or all genes selected from example, a sequencing adaptor can be hairpin shaped. For
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     example , the hairpin shaped adaptor can comprise a comple                   fragment can be identified by the random sequence on the
     mentary double stranded portion and a loop portion, where                    hairpin adaptors and a 10 p endogenous sequence on the
     the double stranded portion can be attached ( e.g. , ligated) to             fragment.
     a double - stranded polynucleotide. Hairpin shaped sequenc                      Tagged DNA is amplified by 10 cycles of PCR to produce
     ing adaptors can be attached to both ends of a polynucleotide 5 about 1-7 ug DNAs that contain approximately 500 copies
     fragment to generate a circular molecule , which can be                              of each of the 800 HGE in the starting material.
     sequenced multiple times . A sequencing adaptor can be up                               Buffer optimization , polymerase optimization and cycle
     to 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , reduction may be performed to optimize the PCR reactions .
     25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , Amplification bias , e.g. , non - specific bias , GC bias , and /or
     41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 10 polymerase
                                                                                          size bias are also reduced by optimization . Noise ( s ) ( e.g.,
                                                                                                        - introduced errors ) are reduced by using high
     57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , fidelity polymerases         .
     73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 ,         The  Library   may   be prepared using Verniata or Sequenom
     89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 , or more bases methods.
     from end to end . The sequencing adaptor can comprise 15
     20-30 , 20-40 , 30-50 , 30-60 , 40-60 , 40-70 , 50-60 , 50-70 , of Sequences                          may be enriched as follow : DNAs with regions
     bases from end to end . In a particular example, the sequenc probe to ROIs . )The       interest ( ROI    are captured using biotin -labeled bead with
                                                                                                                    ROIs are amplified with 12 cycles of
     ing adaptor can comprise 20-30 bases from end to end. In PCR to generate a 2000                                    times amplification. The resulting
     another example, the sequencing adaptor can comprise DNA is then denatured and diluted to 8 PM and loaded into
     50-60 bases from end to end . A sequencing adaptor can 20 an Illumina sequencer.
     comprise one or more barcodes. For example, a sequencing                                Massively Parallel Sequencing
     adaptor can comprise a sample barcode. The sample barcode                               0.1 to 1 % of the sample (approximately 100pg) are used
     can comprise a pre -determined sequence . The sample bar for sequencing
     codes can be used to identify the source of the polynucle                               Digital Bioinformatics
     otides. The sample barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 , 7 , 25 Sequence reads are grouped into families, with about 10
     8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , sequence reads in each family. Families are collapsed into
     25 , or more (or any length as described throughout) nucleic consensus sequences by voting ( e.g. , biased voting ) each
     acid bases , e.g. , at least 8 bases . The barcode can be position in a family. A base is called for consensus sequence
     contiguous or non -contiguous sequences, as described 30 if 8 or 9 members agree . A base is not called for consensus
     above .                                                                              sequence if no more than 60% of the members agree .
         The library adaptors can be blunt ended and Y - shaped and                          The resulting consensus sequences are mapped to a ref
     can be less than or equal to 40 nucleic acid bases in length . erence                covered
                                                                                                   genome. Each base in a consensus sequence is
                                                                                                   by about 3000 different families . A quality score for
     Other variations of the can be found throughout and are each sequence                                  is calculated and sequences are filtered based
     applicable to the kit .                                                           35 on the their quality scores .
                                      EXAMPLES                                               Sequence variation is detected by counting distribution of
                                                                                          bases at each locus . If 98 % of the reads have the same base
             Example 1. Methods for Copy Number Variation                                 (homozygous ) and 2 % have a different base , the locus is
                                       Detection                                          likely to have a sequence variant, presumably from cancer
                                                                                       40 DNA .
         Blood Collection
                                                                                             CNV is detected by counting the total number of
                                                                                          sequences (bases ) mapping to a locus and comparing with a
         10-30 mL Blood samples are collected at om tempera                               control locus . To increase CNV detection , CNV analysis is
     ture. The samples are centrifuged to remove cells . Plasma is performed specific regions, including regions on ALK , APC ,
     collected after centrifugation .                                                  45 BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS, MYC ,
         cfDNA Extraction                                                                 NOTCH1 , NRAS, PIK3CA , PTEN , RB1 , TP53 , MET, AR ,
         The sample is subjected to proteinase K digestion . DNA ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,
     is precipitated with isopropanol. DNA is captured on a DNA EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3 , GNA11, GNAQ ,
     purification column ( e.g. , a QIAamp DNA Blood Mini Kit ) GNAS, HNF1A , HRAS , IDHI , IDH2 , JAK2 , JAK3 , KDR ,
     and eluted in 100 ul solution . DNAs below 500 bp are 50 KIT, MLH1 , MPL , NPM1 , PDGFRA , PROC , PTPN11 ,
     selected with Ampure SPRI magnetic bead capture ( PEG / RET, SMAD4 , SMARCB1, SMO , SRC , STK11 , VHL ,
     salt) . The resulting production is suspended in 30 ul H2O . TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 ,
     Size distribution is checked (major peak = 166 nucleotides ; CCND2 , CDK6 , NF1 , TP53 , ARID1A , BRCA2 , CCNEI ,
     minor peak = 330 nucleotides ) and quantified . 5 ng of ESR1 , RIT ) , GATA3, MAP2K1 , RHEB , ROS1 , ARAF,
     extracted DNA contain approximately 1700 haploid genome 55 MAP2K2, NFE2L2 , RHOA , or NTRK1 genes.
     equivalents ( “ HGE ” ). The general correlation between the
     amount of DNA and HGE is as follow : 3 pg DNA = 1 HGE ;                                  Example 2. Method for Correcting Base Calling by
     3 ng DNA = 1K HGE ; 3 ug DNA = 1M HGE ; 10 pg DNA = 3                                     Determining the Total Number Unseen Molecules
     HE ; 10 ng DNA = 3K HGE ; 10 ug DNA = 3M HGE .                                                                   in a Sample
         “ Single Molecule” Library Prep                                               60
         High -efficiency DNA tagging ( > 80 % ) is performed by                             After fragments are amplified and the sequences of ampli
     blunt - end repair and ligation with 8 different octomers (i.e. , fied fragments are read and aligned , the fragments are
     64 combinations) with overloaded hairpin adaptors . 2.5 ng subjected to base calling . Variations in the number of
     DNA ( i.e. approximately 800 HGE ) is used as the starting amplified fragments and unseen amplified fragments can
     material. Each hairpin adaptor comprises a random sequence 65 introduce errors in base calling . These variations are cor
     on its non - complementary portion . Both ends of each DNA rected by calculating the number of unseen amplified frag
     fragment are attached with hairpin adaptors. Each tagged                     ments.
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        When base calling for locus A ( an arbitrary locus ) , it is                 Genetic variants are detected in the circulating cell - free
     first assumed that there are N amplified fragments. The DNA isolated from this patient's blood specimen . These
     sequence readouts can come from two types of fragments: genetic variants are cancer - associated somatic variants,
     double - strand fragments and single - strand fragments. The some of which have been associated with either increased or
     following is a theoretical example of calculating the total 5 reduced clinical response to specific treatment. “ Minor
     number of unseen molecules in a sample.                       Alterations” are defined as those alterations detected at less
        N is the total number of molecules in the sample .         than 10 % the allele frequency of “ Major Alterations ” . The
        Assuming 1000 is the number of duplexes detected .         detected allele frequencies of these alterations ( Table 3 ) and
        Assuming 500 is the number of single -stranded molecule 10 associated treatments for this patient are annotated .
     detected .                                                      All genes listed in Tables 1 and 2 are analyzed as part of
        P is the probability of seeing a strand .                  the Guardant360TM test . Amplification is not detected for
        Q is the probability of not detecting a strand.            ERBB2 , EGFR, or MET in the circulating cell -free DNA
        Since Q = 1 - P.                                                          isolated from this patient's blood specimen .
        1000 = NP ( 2 ).                                                     15
        500 = N2PQ.                                                                  Patient test results comprising the genetic variants are
        1000 / P ( 2 ) = N .                                                      listed in Table 4 .
        500-2 PQ = N .                                                                                             TABLE 1
        1000 /P (2 ) = 500 + 2PQ .
        1000 * 2 PQ = 500 P (2 ) .                                           20                      Genes in which all exons are sequenced
        2000 PQ = 500 P ( 2 ) .                                                              GENES IN WHICH ALL EXONS ARE SEQUENCED
        2000 Q = 500 P.                                                                ALK                     < 0.1 %         APC                      < 0.1 %
        2000 ( 1 - P) = 500P                                                           AN                      < 0.1 %         BRAF                     < 0.1 %
        2000-2000 P = 500P .                                                           CDKN2A                  < 0.1 %         EGFR                     < 0.1 %
       2000= 500P + 2000 P.                                                  25        ERBB2                   < 0.1 %         FBXW7                    < 0.1 %
                                                                                       KRAS                    < 0.1 %         MET                      < 0.1 %
       2000=2500 P.                                                                    MYC                     < 0.1 %         NOTCH1                   < 0.1 %
       2000 2500 = P .                                                                 NRAS                    < 0.1 %         PIK3CA                   < 0.1 %
       0.8 = P .                                                                       PTEN                    < 0.1 %         PROC                     < 0.1 %
        1000 / P ( 2 ) = N .                                                           RB1                     < 0.1 %         TP53                     < 0.1 %
        1000 + 0.64 = N .                                                    30
                                                                                  LOD : Limit of Detection. The minimum detectable mutant allele frequency for this
        1562 = N .                                                                specimen in which 80 % of somatic variants is detected .
       Number of unseen fragments = 62 .
         Example 3. Identification of Genetic Variants in                                                          TABLE 2
         Cancer - Associated Somatic Variants in a Patient                   35                 Genes in which exons with a previously reported
                                                                                                        somatic mutation are sequenced
                                                                                      GENES IN WHICH EXONS WITH A PREVIOUSLY REPORTED
       An assay is used to analyze a panel of genes to identify                                   SOMATIC MUTATION ARE SEQUENCED
     genetic variants in cancer - associated somatic variants with
     high sensitivity .                                                                ABL1
                                                                                       ATM
                                                                                                                < 0.1 %
                                                                                                                < 0.1 %
                                                                                                                               AKT1
                                                                                                                               CDH1
                                                                                                                                                     < 0.1 %
                                                                                                                                                     < 0.1 %
                                                                             40
        Cell - free DNA is extracted from plasma of a patient and                      CSF1R                    <0.1 %         CTNNB1                < 0.1 %
     amplified by PCR . Genetic variants are analyzed by mas                           ERBB4
                                                                                       FGFR1
                                                                                                                < 0.1 %
                                                                                                                < 0.1 %
                                                                                                                               EZH2
                                                                                                                               FGFR2
                                                                                                                                                     < 0.1 %
                                                                                                                                                     < 0.1 %
     sively parallel sequencing of the amplified target genes . For                    FGFR3                    <0.1 %         FLT3                  < 0.1 %
     one set of genes , all exons are sequenced as such sequencing                     GNA11                    <0.1 %         GNAQ                  < 0.1 %
     coverage had shown to have clinically utility ( Table 1 ) . For 45                GNAS
                                                                                       HRAS
                                                                                                                < 0.1 %
                                                                                                                < 0.1 %
                                                                                                                               HNF1A
                                                                                                                               IDH1
                                                                                                                                                     < 0.1 %
                                                                                                                                                     < 0.1 %
     another set of genes, sequencing coverage included those                          IDH2                     < 0.1 %        JAK2                  < 0.1 %
     exons with a previously reported somatic mutation ( Table 2 ) .                   JAK3
                                                                                       KIT
                                                                                                                < 0.1 %
                                                                                                                < 0.1 %
                                                                                                                               KDR
                                                                                                                               MLH1
                                                                                                                                                     < 0.1 %
                                                                                                                                                     < 0.1 %
     The minimum detectable mutant allele (limit of detection ) is                     MPL                      < 0.1 %        NPM1                  < 0.1 %
     dependent on the patient's sample cell - free DNA concen                          PDGFRA                   <0.1 %         PTPN11                < 0.1 %
     tration , which varied from less than 10 to over 1,000 50                         RET
                                                                                       SMARCB1       <0.1 %
                                                                                                                <0.1 %
                                                                                                                     SMO
                                                                                                                               SMAD4                 <0.1 %
                                                                                                                                                     < 0.1 %
     genomic equivalents per mL of peripheral blood . Amplifi               SRC                      <0.1 %          STK11               < 0.1 %
     cation may not be detected in samples with lower amounts               TERT                     < 0.1 %         VHL                 < 0.1 %
     of cell - free DNA and / or low - level gene copy amplification . LOD : Limit of Detection. The minimum detectable mutant allele frequency for this
     Certain sample or variant characteristics resulted in reduced 55 specimen in which 80 % of somatic variants is detected .
     analytic sensitivity, such as low sample quality or improper
     collection .                                                                                                  TABLE 3
       The percentage of genetic variants found in cell - free DNA
     circulating in blood is related to the unique tumor biology of                                   Allele frequency of altered circulating
                                                                                                      cell- free DNA detected in this patient
     this patient. Factors that affected the amount /percentages of 60
     detected genetic variants in circulating cell - free DNA in                                         cfDNA with alterations       cfDNA without alterations
     blood include tumor growth , turn -over, size , heterogeneity, Gene                                           (%)                           (% )
     vascularization , disease progression or treatment. Table 3 BRAF V600E                                        8.9                           91.1
     annotates the percentage, or allele frequency, of altered NRAS Q61K                                           6.2                           93.8
     circulating cell- free DNA (% cfDNA ) detected in this 65 JAK V617F                                            1.5                          98.6
     patient. Some of the detected genetic variants are listed in
     descending order by % cfDNA .
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                                             57                                                                                 58
                                                            TABLE 4
                                       Genomic alterations detected in selected genes
                                             Detected : 51 Genomic Alterations
                                                  Mutation Mutation
     Gene         Chromosome Position                (nt)     (AA )     Percentage Cosmic ID          DBSNP ID
     KRAS               12           25368462       C>T                   100.0 %                     rs4362222
     ALK                 2           29416572       T>C       11461V      100.0 %                     rs1 670283
     ALK                 2           29444095       C>T                   100.0 %                     rs1569156
     ALK                 2           29543663       T>C       Q5000       100.0 %                     rs2293564
     ALK                 2            29940529      A > T P234P           100.0 %                     rs2246745
     APC                 5           112176756      T > A V1822D          100.0 %                     rs459552
     CDKN2A              9            21968199      C>G                   100.0 % COSM14251           rs11515
     FGFR3               4             1807894      G > A T651T           100.0 %                     rs7688609
     NOTCH1              9           139410424      A>G                   100.0 %                     rs3125006
     PDGFRA              4            55141055      A>G   P567P           100.0 %                     rs 1873778
     HRAS               11              534242      A > G H27H            100.0 % COSM249860          rs12628
     EGFR                7            55214348      C>T       N158N        99.9 % COSM42978           rs2072454
     TP53               17             7579472      G>C       P72R         99.8 %                     rs1042522
     APC                 5           112162854      T>C       Y486Y        55.0 %                     rs2229992
     APC                 5           112177171      G>A       P1960P       53.8 %                     rs465899
     EGFR                7           55266417       T > C T903T            53.6 %                     rs1140475
     APC                 5           112176325      G>A       G1678G       53.2 %                     rs42427
     APC                 5           112176559      T>G       S1756S       53.0 %                     rs866006
     EGFR                7            55229255      G>A       R521K        53.0 %
     MET                 7           116397572      A>G       Q648Q        52.7 %
     APC                 5           112175770      G > A T1493T           52.7%                      rs41115
     EGFR                7            55249063      G>A       Q7870        52.6 %                     rs1050171
     NOTCH1              9           139411714      T>C                    52.4%                      rs11145767
     EGFR                7            55238874      T>A       T629T        52.0 %                     rs2227984
     ERBB2              17            37879588      A>G       1655V        51.6 %                     rs 1136201
     NOTCH1              9           139397707      G>A       D1698D       51.3 % COSM33747           rs10521
     ALK                 2            30143499      G>C       LIL          51.0 %                     rs4358080




                        ANOW
     APC                 5           112164561      G>A       A545A        51.0 %                     rs351771
     FLT3               13            28610183      A>G                    50.8 %                     rs2491231
     NOTCH1                          139418260      A>G       N104N        50.5 %                     rs4489420
     ALK                              29444076      G>T                    50.4%                      rs1534545
     PIK3CA                          178917005      A>G                    50.3 %                     rs3729674
     NOTCH1                          139412197      G>A                    50.2 %                     rs9411208
     ALK                              29455267      A>G       G845G        50.0 % COSM148825 rs2256740
     KIT                 4            55593464      A>C       M541L        49.9 % COSM28026
     NOTCH1              9           139391636      G>A       D2185D       48.9 %             rs2229974
     PDGFRA              4            55152040      C>T       V824V        48.9 % COSM22413   rs2228230
     ALK                 2            29416481      T>C       K1491R       48.9 % COSM1130802 rs1881420
     ALK                 2            29445458      G>T       G1125G       48.6 %             rs3795850
     NOTCH1              9           139410177      T>C                    48.5 %             rs3124603
     RET                10            43613843      G>T       L769L        48.2 %             rs1800861
     EGFR                7           55214443       G>A                    48.0 %             rs7801956
     ALK                 2           29416366       G>C       D1529E       47.2 %             rs 1881421
     EGFR                7           55238087       C>T                    45.5 %             rs10258429
     RET                10           43615633       C>G       S9045        44.8 %             rs1800863
     BRAF                7           140453136      A>T       V600E         8.9 % COSM476
     NRAS                1           115256530      G>T       Q61K          6.2 % COSM580             rs121913254
     JAK2                9             5073770      G>T       V617F         1.5 % COSM12600           rs77375493



           Example 4. Determining Patient - Specific Limits of                                                       TABLE 5 - continued
            Detection for Genes Analyzed by Guardant360TM                               50
                                         assays .                                               Limits of Detection of selected genes in a patient using Guardant
                                                                                             CDK4 *                      CDK6 *                 CDKN2A         0.1 %
        Using the method of Example 3 , Genetic alterations in CDKN2B*                      EGFR *         < 0.1 % ERBB2 *                                     0.1 %
                                                                                                                                                               0.1 %
     cell- free DNA of a patient are detected . The sequence reads FGFR1
                                                                     KIT *
                                                                                   <0.1 % FGFR2 *
                                                                                     0.1 % KRAS *
                                                                                                             0.1 % HRAS
                                                                                                             0.1 % MET *                                       0.1 %
     of these genes include exon and / or intron sequences.       55 MYC *           0.1 % NF1                     NRAS                                        0.1 %
        Limits of detection of the test are shown in Table 5. The    PDGFRA *        0.1 % PIK3CA *          0.1 % PTEN                                        0.1 %
     limits of detection values are dependent on cell - free DNA RAF1 *                     TP53             0.1 %
     concentration and sequencing coverage for each gene .                    Exons Covered with Reported Somatic Mutations
                                                                                             AKT1                0.1 %   ALK           < 0.1 % ARAF
                                        TABLE 5                                         60 ATM                   0.1 %   CDH1           0.1 % CTNNB1           0.1 %
                                                                                           ESR1                          EZH2           0.1 % FBXW7            0.1 %
           Limits of Detection of selected genes in a patient using Guardant               FGFR3                 0.1 %   GATA3                 GNA11           0.1 %
                      Complete Exon and Partial Intron Coverage                              GNAQ                0.1 %   GNAS           0.1 % HNF1A            0.1 %
                                                                                             IDH1                0.1 %   IDH2           0.1 % JAK2             0.1 %
     APC                     0.1 %    AR *              0.2 % ARIDIA                         JAK3                0.1 %   MAP2K1                MAP2K2
     BRAF *                  0.1 %    BRCA1                   BRCA2                     65 MLH1                  0.1 %   MPL            0.2 % NFE2L2
     CCND1 *                          CCND2 *                 CCNE1 *                        NOTCH1              0.1 %   NPM1           0.1 % PTPN11           0.1 %
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                                          59                                                                            60
                               TABLE 5 - continued                                   Furthermore , it shall be understood that all aspects of the
                                                                                     invention are not limited to the specific depictions , configu
            Limits of Detection of selected genes in a patient using Guardant                  rations or relative proportions set forth herein which depend
     RET                   0.1 %   RHEB                    RHOA
                                                           SMAD4
                                                                                               upon a variety of conditions and variables. It should be
     RIT1                            ROS1                                             0.1 % 5 understood that various alternatives to the embodiments of
     SMO                   0.1 % SRC               < 0.1 % STK11                      0.2 %
     TERT                  0.1 % VHL                      0.2 %                                the invention described herein may be employed in practic
                                           Fusions                                             ing the invention . It is therefore contemplated that the
     ALK                  < 0.1 % RET                     0.1 % ROS1
                                                                                               invention shall also cover any such alternatives, modifica
     NTRK1                                                                                  10 tions   , variations or equivalents. It is intended that the
                                                                                               following claims define the scope of the invention and that
     LOD : Limit of Detection. The minimum detectable mutant allele frequency for this methods and structures within the scope of these claims and
     specimen in which 80 % of somatic variants is detected . * indicates CNV genes .
                                                                                               their equivalents be covered thereby.
          Example 5. Correcting Sequence Errors Comparing 15 What is claimed is :
                          Watson and Crick Sequences                                              1. A method for classifying consensus sequences gener
        Double - stranded cell - free DNA is isolated from the cell- free                      ated     from sequencing reads derived from double - stranded
     plasma of a patient. The cell - free DNA fragments are tagged sample ofdeoxyribonucleic                                   acid ( cfDNA ) molecules from a
     using 16 different bubble -containing adaptors , each ofwhich 20 ( a) non -uniquely tagging athe         a human   subject,     method comprising:
                                                                                                                                 population of double - stranded
     comprises a distinctive barcode . The bubble - containing                                         cfDNA molecules from the sample with more than a
     adaptors are attached to both ends of each cell - free DNA                                         10x molar excess of adapters comprising molecular
     fragment by ligation . After ligation, each of the cell - free                                    barcodes , relative to the double - stranded cfDNA mol
     DNA fragment can be distinctly identified by the sequence                                         ecules in the population, to generate non -uniquely
     of the distinct barcodes and two 20 bp endogenous 25                                              tagged parent polynucleotides ,
     sequences at each end of the cell - free DNA fragment.                                            wherein the double -stranded cfDNA molecules that
        The tagged cell- free DNA fragments are amplified by                                              map to a mappable base position of a reference
     PCR . The amplified fragments are enriched using beads                                               sequence are tagged with a number of different
     comprising oligonucleotide probes that specifically bind to a                                        molecular barcodes ranging from at least 2 to fewer
     group of cancer- associated genes. Therefore , cell - free DNA 30                                    than a number of double - stranded cfDNA molecules
     fragments from the group of cancer- associated genes are                                             that map to the mappable base position , and
     selectively enriched .                                                                            wherein at least 20 % of the double - stranded cfDNA
        Sequencing adaptors, each of which comprises a sequenc                                            molecules are non -uniquely tagged with the adapters
     ing primer binding site , a sample barcode, and a cell - flow                                        comprising the molecular barcodes at both ends of a
     sequence, are attached to the enriched DNA molecules . The 35                                        molecule of the double -stranded cfDNA molecules ;
     resulting molecules are amplified by PCR .                                                   (b ) amplifying a plurality of the non -uniquely tagged
        Both strands of the amplified fragments are sequenced.                                         parent polynucleotides to produce progeny polynucle
     Because each bubble -containing adaptor comprises a non                                           otides ;
     complementary portion (e.g. , the bubble) , the sequence of                                  ( c ) enriching a plurality of the progeny polynucleotides
     the one strand of the bubble -containing adaptor is different 40                                  for target regions of interest to generate enriched prog
     from the sequence of the other strand ( complement). There                                        eny polynucleotides;
     fore , the sequence reads of amplicons derived from the                                      ( d) sequencing a plurality of the enriched progeny poly
     Watson strand of an original cell - free DNA can be distin                                        nucleotides to produce a set of sequencing reads;
     guished from amplicons from the Crick strand of the original   ( e ) mapping a plurality of sequencing reads from the set
     cell - free DNA by the attached bubble -containing adaptor 45       of sequencing reads to the reference sequence ;
     sequences.                                                     ( f) grouping a plurality of the mapped sequencing reads
        The sequence reads from a strand of an original cell- free       into families of mapped sequencing reads based at least
     DNA fragment are compared to the sequence reads from the            on (i ) sequence information from the molecular bar
     other strand of the original cell - free DNA fragment. If a         codes and (ii ) a beginning base position and an ending
     variant occurs in only the sequence reads from one strand , 50      base position of the mapped sequencing reads;
     but not other strand, of the original cell- free DNA fragment, ( g ) generating a consensus sequence for each family from
     this variant will be identified as an error ( e.g. , resulted from    among one or more of the families to produce a set of
     PCR and / or amplification ), rather than a true genetic variant.     consensus sequences ; and
        The sequence reads are grouped into families. Errors in         (h) classifying one or more consensus sequences from
     the sequence reads are corrected . The consensus sequence of 55       among the set of consensus sequences as ( 1 ) paired
     each family is generated by collapsing.                               consensus sequences generated from sequencing reads
        While preferred embodiments of the present invention               representing a Watson strand and a Crick strand of a
     have been shown and described herein , it will be obvious to          non -uniquely tagged parent polynucleotide or (2 )
     those skilled in the art that such embodiments are provided           unpaired consensus sequences generated from sequenc
     by way of example only. It is not intended that the invention 60      ing reads representing only one of either a Watson
     be limited by the specific examples provided within the               strand or a Crick strand of a non -uniquely tagged parent
     specification. While the invention has been described with            polynucleotide.
     reference to the aforementioned specification, the descrip         2. The method of claim 1 , wherein the population of
     tions and illustrations of the embodiments herein are not double -stranded cfDNA molecules comprises 1 nanogram
     meant to be construed in a limiting sense . Numerous varia- 65 (ng ) to 100 ng of double - stranded cfDNA molecules .
     tions , changes, and substitutions will now occur to those         3. The method of claim 1 , wherein the sample is blood ,
     skilled in the art without departing from the invention . plasma , or serum .
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                                  61                                                                62
        4. The method of claim 1 , wherein the adapters compris     15. A method for classifying unique sequencing reads
     ing the molecular barcodes are non -uniquely tagged to the generated from sequencing reads derived from double
     double - stranded cfDNA molecules by blunt - end ligation or stranded cell- free deoxyribonucleic acid ( cfDNA ) molecules
     sticky - end ligation.                                       from a bodily fluid sample of a human subject, the method
        5. The method of claim 1 , wherein at least 40% of the 5 comprising:
     double - stranded cfDNA molecules are non - uniquely tagged    ( a) tagging a population of double - stranded cfDNA mol
     with the adapters comprising the molecular barcodes at both        ecules from the bodily fluid sample with more than a
     ends of a molecule of the double - stranded cfDNA mol              10x molar excess of adapters comprising molecular
     ecules .                                                           barcodes , relative to the double - stranded cfDNA mol
        6. The method of claim 1 , wherein more than a 90x molar 10        ecules in the population, to generate tagged parent
     excess of the adapters relative to the double -stranded cfDNA         polynucleotides ,
     molecules in the population is used to generate the non               wherein at least 20 % of the cfDNA molecules are
     uniquely tagged parent polynucleotides.                                  ligated with the adapters comprising the molecular
       7. The method of claim 1 , wherein the molecular barcodes              barcodes at both ends of a molecule of the double
     are from a set of molecular barcodes having 2 to 1,000 15                stranded cfDNA molecules;
     different molecular barcode sequences.                              ( b ) amplifying a plurality of the tagged parent polynucle
        8. The method of claim 1 , wherein the molecular barcodes             otides to produce progeny polynucleotides ;
     are from a set of molecular barcodes having 5 to 100                ( c ) sequencing a plurality of the progeny polynucleotides
     different molecular barcode sequences that have a length of              to produce a set of sequencing reads;
     5 to 20 nucleotides.                                          20    ( d) mapping a plurality of sequencing reads from the set
        9. The method of claim 1 , wherein the target regions of              of sequencing reads to a reference sequence;
     interest associated with cancer comprise genetic sequences          ( e) determining unique sequencing reads from the set of
     of a plurality of genes selected from the group consisting of            mapped sequencing reads based at least on the molecu
     ALK , APC , BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 ,                        lar barcode sequences , wherein a unique sequencing
     KRAS , MYC , NOTCHI , NRAS, PIK3CA , PTEN , RB1 , 25                     read from among the unique sequencing reads is rep
     TP53 , MET, AR , ABL1 , AKT1 , ATM , CDHI , CSFIR ,                   resentative of a tagged parent polynucleotide from
     CTNNB1, ERBB4 , EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3,                  among the tagged parent polynucleotides ; and
     GNA11, GNAQ , GNAS, HNF1A , HRAS, IDHI , IDH2 ,                     ( f) classifying one or more of the unique sequencing reads
     JAK2 , JAK3, KDR , KIT, MLH1 , MPL , NPM1 , PDGFRA ,                    as either ( 1 ) paired sequences generated from sequenc
     PROC , PTPN11 , RET, SMAD4 , SMARCB1, SMO , SRC , 30                    ing reads representing a Watson strand and a Crick
     STK11 , VHL , TERT, CCND1 , CDK4 , CDKN2B , RAF1,                       strand of a tagged parent polynucleotide or (2 ) unpaired
     BRCA1 , CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 ,                  sequences generated from sequencing reads represent
     CCNE1 , ESR1 , RIT1 , GATA3, MAP2K1, EB ,                S1,          ing only one of either a Watson strand or a Crick strand
     ARAF , MAP2K2, NFE2L2 , RHOA , and NTRK1 .                             of a tagged parent polynucleotide.
        10. The method of claim 1 , further comprising amplifying 35 16. The method of claim 15 , further comprising selec
     a plurality of the enriched progeny polynucleotides prior to tively enriching a plurality of the progeny polynucleotides
     sequencing .                                                     for target regions of.
        11. The method of claim 1 , further comprising:                  17. The method of claim 16 , wherein determining the
        (i ) calculating a first quantitative measure of paired con   unique sequencing reads comprises grouping a plurality of
             sensus sequences that map to a locus of the reference 40 the mapped sequencing reads into families, wherein a family
            sequence , and                                            of the families comprises mapped sequencing reads of
        (ii ) calculating a second quantitative measure of unpaired progeny polynucleotides amplified from a same tagged
          consensus sequences that map to the locus of the parent polynucleotide from among the tagged parent poly
         reference sequence.                                 nucleotides .
       12. The method of claim 11 , further comprising:   45    18. The method of claim 15 , further comprising:
       (iii ) calculating a third quantitative measure of double         ( i ) calculating a first quantitative measure of paired
           stranded cfDNA molecules that map to the locus of the           sequences that map to a locus of the reference
          reference sequence for which neither complementary                 sequence, and
          strand of the double - stranded cfDNA molecules is             ( ii ) calculating a second quantitative measure of unpaired
          detected in the set of consensus sequences, wherein the 50          sequences that map to the locus of the reference
         third quantitative measure is calculated based at least in           sequence .
         part on the first quantitative measure and the second           19. The method of claim 18 , further comprising:
          quantitative measure .                                         ( iii ) calculating a third quantitative measure of double
       13. The method of claim 12 , further comprising:                       stranded cfDNA molecules that map to the locus of the
       (iv ) calculating a fourth quantitative measure of a number 55      reference sequence for which neither complementary
          of non -uniquely tagged double - stranded cfDNA mol              strand of the double - stranded cfDNA molecules is
          ecules , wherein the number of non -uniquely tagged              detected in the set of unique sequence reads , wherein
          double - stranded cfDNA molecules comprises unseen                the third quantitative measure is calculated based at
          double -stranded cfDNA molecules , and wherein the                least in part on the first quantitative measure and the
          number of non - uniquely tagged double -stranded 60               second quantitative measure .
          cfDNA molecules is calculated based at least in part on        20. The method of claim 19 , further comprising:
          the first quantitative measure , the second quantitative       ( iv ) calculating a fourth quantitative measure of a number
          measure , and the third quantitative measure .                     of non -uniquely tagged double - stranded cfDNA mol
        14. The method of claim 13 , comprising calculating the              ecules , wherein the number of non -uniquely tagged
     first quantitative measure , the second quantitative measure , 65       double -stranded cfDNA molecules comprises unseen
     the third quantitative measure , and the fourth quantitative          double - stranded cfDNA molecules , and wherein the
     measure with a programmed computer processor.                         number of non - uniquely tagged double - stranded
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                                  63                                                                  64
          cfDNA molecules is determined based at least in part          cfDNA molecules in the population is used to generate the
          on the first quantitative measure, the second quantita        tagged parent polynucleotides.
         tive measure, and the third quantitative measure.                26. The method of claim 15 , further comprising quanti
        21. The method of claim 20 , comprising calculating the fying a number of the unique sequencing reads determined
     first quantitative
     the third          measure
                quantitative    , the second
                             measure   , and thequantitative measure, 5 from the set of mapped sequencing reads.
                                                   fourth quantitative
     measure with a programmed computer processor.                        27. The method of claim 15 , wherein determining the
        22. The method of claim 15 , wherein the molecular unique sequencing reads is further based on ( 1 ) a start base
     barcodes are from a set of molecular barcodes having 2 to position of a given sequencing read from among the set of
     10,000
       23. Thedifferent
                  methodmolecular
                            of claimbarcode  sequencesthe
                                       15 , wherein     . molecular 10 mapped sequencing reads at which the given sequencing
     barcodes are pre -determined sequences .
                                                                        read starts aligning to the reference sequence , and (2 ) a stop
        24. The method of claim 15 , wherein at least 40 % of the
                                                                        base position of the given sequencing read at which the
     cfDNA molecules are tagged with the adapters comprising given sequencing read stops aligning to the reference
                                                                         sequence .
     the molecular barcodes at both ends of a molecule of the 15
     double - stranded cfDNA molecules .                                   28. The method of claim 1 , further comprising determin
       25. The method of claim 15 , wherein more than a 90x              ing a quantity of the set of consensus sequences .
     molar excess of the adapters relative to the double - stranded                             *
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                           EXHIBIT B
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                                                                                                  US010889858B2

     ( 12) United States Patent                                                  ( 10 ) Patent No.: US 10,889,858 B2
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     ( 51 ) Int. Ci.                                                        Primary Examiner Kenneth R Horlick
               C12P 19/34               ( 2006.01 )                         (74 ) Attorney, Agent, or Firm — Timothy A. Hott
               C12Q 1/6869              ( 2018.01 )
               C12Q 1/6886              ( 2018.01 )
            G16B 15/00                  ( 2019.01 )                         (57 )                      ABSTRACT
     ( 52 ) U.S. CI .
               CPC        C12Q 1/6869 (2013.01 ) ; C12Q 1/6886              Disclosed herein in are methods and systems for determin
                   ( 2013.01 ) ; C12Q 2535/122 ( 2013.01 ) ; C12Q           ing genetic variants (e.g. , copy number variation ) in a
                     2600/158 (2013.01 ) ; G16B 15/00 (2019.02 )            polynucleotide sample . A method for determining copy
     ( 58 ) Field of Classification Search                                  number variations includes tagging double - stranded poly
            None                                                            nucleotides with duplex tags, sequencing polynucleotides
            See application file for complete search history.               from the sample and estimating total number of polynucle
                                                                            otides mapping to selected genetic loci . The estimate of total
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                                                                            ber of double - stranded polynucleotides in the original
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                         Extract and isolate cell free polynucleotides
                                       from bodily fluid                    102


                       Tag double stranded polynucleotides with duplex
                        tags (“ Watson " strand tag distinguishable from
                                      " Crick " strand tag )
                                                                             104

                             Generate sequence reads for tagged
                                    polynucleotide strands
                                                                             106
                         Reduce and /or track redundancy of reads to
                                correspond to original strands

                        Map reads to selected locus or loci in genome
                                                                            110
                            Group reads into " Pairs” and “ Singlets ”;
                        -Pairs are reads from complementary strands of
                            original double stranded polynucleotides
                              Singlets are reads for which there is no
                       sequence read from the complementary strand of
                             the original double stranded molecule           112

                         Determine quantitative measure of Pairs and
                         Singlets mapping to each selected locus ( also
                         optionally read depth of paired and unpaired
                                            strands

                        Estimate number of Unseen polynucleotides in
                          original population mapping to each locus
                         Estimate number of Total polynucleotides in
                          original population mapping to each locus
                                                                             118

                        Estimate Copy Member Variation at each locus
                                                                              120


                                           Fig. 1
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                                                 2250 Total
                          11




                                   1440 pairs 720 singlets 90 unseen


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                 LAocus
                                pairs 1000 singlets 1000 unseen 250
                          1
                          11


                           13
                                                 Total 2250




                                                Fig. 2
Case 1:21-cv-01126-GBW-SRF Document 30 Filed 01/12/22 Page 149 of 439 PageID #: 1595


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                                       Fig. 3
Case 1:21-cv-01126-GBW-SRF Document 30 Filed 01/12/22 Page 150 of 439 PageID #: 1596


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     U.S. Patent                                             Jan. 12 , 2021                         Sheet 6 of 11             US 10,889,858 B2




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                                          Fig . 6
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                        Provide cell free polynucleotides from bodily
                          fluid of (a) a test sample and (b ) a control       802
                                            sample


                         Tag polynucleotides. Tag includes a source            804
                         identifier ( test or control ) and , optionally, a
                       further identifier (optionally with duplex tags ) .
                      Polynucleotides can be uniquely or non -uniquely
                                            tagged
                                                                               806
                             Pool tagged test and tagged control
                       polynucleotides at desired ratio (usually greater
                                        amount of test )


                                                                               808
               800     Generate sequence reads from pooled test and
                                 control polynucleotides

                                                                                810
                         Reduce and/or track redundancy of reads to
                             correspond to original molecules

                                                                               812
                       Quantify original molecules from each of test
                      and control mapping to one or more genetic loci .
                        (Can include normalizing against a reference
                                             locus )



                       Estimate copy number variation at each locus as              814
                            a function of test control comparison


                                            Fig. 8
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                                             < 80 nucleotides

                  S'                                                                                Partial

     Fig. 9A
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                Primer hybridization site                Barcode             < 10 nucleotides
                                                         scqucncc




                  57                                                                            Tagged
      Fig. 9B     3           wooooo                                   ***
                                                                                                polynucleotide




                       Wwwwwwwwwww                                                      39

      Fig. 9C     39 BRE          Page
                                  wo


                              Sample identification motif
                                                        Sample identification inotif
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                           Sequencer motif                                    Sequencer motif
Case 1:21-cv-01126-GBW-SRF Document 30 Filed 01/12/22 Page 158 of 439 PageID #: 1604


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        METHODS AND SYSTEMS FOR DETECTING                                   To address this issue , input double - stranded deoxyribo
                GENETIC VARIANTS                                         nucleic acid (DNA ) can be converted by a process that tags
                                                                         both halves of the individual double - stranded molecule , in
                         CROSS -REFERENCE                                some cases differently. This can be performed using a variety
                                                                         of techniques, including ligation of hairpin , bubble , or
       This application is a continuation of U.S. application Ser.       forked adapters or other adaptors having double - stranded
     No. 16 / 672,267 , filed Nov. 1 , 2019 , which is a continuation    and single stranded segments ( the unhybridized portion of a
     of U.S. application Ser. No. 16/ 601,168 , filed Oct. 14 , 2019 ,   bubble, forked or hairpin adapter are deemed single
     which is a continuation of U.S. application Ser. No. 15/892 ,       stranded herein ). If tagged correctly, each original Watson
     178 , filed Feb. 8 , 2018 , which is a continuation of U.S. 10 and Crick (i.e. , strand) side of the input double -stranded
     application Ser. No. 14/ 861,989 , filed Sep. 22 , 2015 ( now      DNA molecule can be differently tagged and identified by
     U.S. Pat . No. 9,920,366 , issued Mar. 20 , 2018 ) , which is a    the sequencer and subsequent bioinformatics. For all mol
     continuation application of International Application No. ecules
     PCT /US2014 /072383, filed Dec. 24 , 2014 , which applica Watsoninand         a particular region , counts of molecules where both
                                                                                        Crick sides were recovered ( “ Pairs ” ) versus
     tion claims the benefit under 35 U.S.C. $ 119 ( e) of U.S. 15 those where only         one half was recovered (“ Singlets ” ) can be
     Provisional Application No. 61 / 921,456 , filed Dec. 28 , recorded . The number
     2013 , and U.S. Provisional Application No. 61 / 948,509 , based on the number ofof Pairs      unseen molecules can be estimated
                                                                                                           and Singlets detected .
     filed Mar. 5 , 2014 , each of which is entirely incorporated          An aspect of the present disclosure provides a method for
     herein by reference .
                                                                     20 detecting and / or quantifying rare deoxyribonucleic acid
                            BACKGROUND                                  (DNA ) in a heterogeneous population of original DNA
                                                                        fragments, comprising tagging the original DNA fragments
        The detection and quantification of polynucleotides is in a single reaction using a library of a plurality of different
     important for molecular biology and medical applications, tags such that greater than 30 % of the fragments are tagged
     such as diagnostics. Genetic testing is particularly useful for 25 at both ends, wherein each of the tags comprises a molecular
     a number of diagnostic methods. For example, disorders that barcode . The single reaction can be in a single reaction
     are caused by rare genetic alterations (e.g. , sequence vari vessel . Greater than 50% of the fragments can be tagged at
     ants) or changes in epigenetic markers , such as cancer and both ends . The plurality of different tags can be no more than
     partial or complete aneuploidy, may be detected or more any of 100 , 500 , 1000 , 10,000 or 100,000 different tags .
     accurately characterized with DNA sequence information . 30 Another aspect provides a set of library adaptors that can
        Early detection and monitoring of genetic diseases , such be used to tag the molecules of interest ( e.g. , by ligation ,
     as cancer, is often useful and needed in the successful hybridization, etc. ) . The set of library adaptors can comprise
     treatment or management of the disease . One approach may plurality of polynucleotide molecules with molecular bar
     include the monitoring of a sample derived from cell - free codes , wherein the plurality of polynucleotide molecules are
     nucleic acids , a population of polynucleotides that can be 35 less than or equal to 80 nucleotide bases in length , wherein
     found in different types of bodily fluids . In some cases , the molecular barcodes are at least 4 nucleotide bases in
     disease may be characterized or detected based on detection length , and wherein (a ) the molecular barcodes are different
     of genetic aberrations, such as copy number variation and / or from one another and have an edit distance of at least 1
     sequence variation of one or more nucleic acid sequences, or between one another ; (b ) the molecular barcodes are located
     the development of other certain rare genetic alterations. 40 at least one nucleotide base away from a terminal end of
     Cell- free DNA ( cfDNA ) may contain genetic aberrations their respective polynucleotide molecules ; (c ) optionally, at
     associated with a particular disease . With improvements in least one terminal base is identical in all of the polynucle
     sequencing and techniques to manipulate nucleic acids , otide molecules ; and ( d ) none of the polynucleotide mol
     there is a need in the art for improved methods and systems ecules contains a complete sequencer motif.
     for using cell - free DNA to detect and monitor disease . 45 In some embodiments, the library adaptors (or adapters)
        In particular, many methods have been developed for are identical to one another but for the molecular barcodes .
     accurate copy number variation estimation , especially for In some embodiments, each of the plurality of library
     heterogeneous genomic samples, such as tumor-derived adaptors comprises at least one double - stranded portion and
     gDNA or for cfDNA for many applications (e.g. , prenatal, at least one single - stranded portion (e.g. , a non -complemen
     transplant, immune, metagenomics or cancer diagnostics ). 50 tary portion or an overhang ). In some embodiments , the
     Most of these methods include sample preparation whereby double - stranded portion has a molecular barcode selected
     the original nucleic acids are converted into a sequenceable from a collection of different molecular barcodes. In some
     library, followed by massively parallel sequencing, and embodiments, the given molecular barcode is a randomer. In
     finally bioinformatics to estimate copy number variation at some embodiments, each of the library adaptors further
     one or more loci .                                              55 comprises a strand - identification barcode on the at least one
                                                                        single - stranded portion. In some embodiments, the strand
                               SUMMARY                                  identification barcode includes at least 4 nucleotide bases . In
                                                                        some embodiments, the single - stranded portion has a partial
        Although many of these methods are able to reduce or sequencer motif. In some embodiments, the library adaptors
     combat the errors introduced by the sample preparation and 60 do not include a complete sequencer motif.
     sequencing processes for all molecules that are converted             In some embodiments, none of the library adaptors con
     and sequenced, these methods are not able to infer the counts tains a sequence for hybridizing to a flow cell or forming a
     of molecules that were converted but not sequenced . Since hairpin for sequencing.
     this count of converted by unsequenced molecules can be               In some embodiments , all of the library adaptors have a
     highly variable from genomic region to region, these counts 65 terminal end with nucleotide( s ) that are the same . In some
     can dramatically and adversely affect the sensitivity that can embodiments, the identical terminal nucleotide ( s) are over
     be achieved .                                                      two or more nucleotide bases in length.
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        In some embodiments, each of the library adapters is barcodes and at least a portion of the original DNA frag
     Y - shaped , bubble shaped or hairpin shaped . In some ments; ( e) from the sequence reads , determining consensus
     embodiments, none of the library adapters contains a sample reads that are representative of single - strands of the original
     identification motif. In some embodiments, each of the DNA fragments; and (f) quantifying the consensus reads to
     library adapters comprises a sequence that is selectively 5 detect and / or quantify the rare DNA at a specificity that is
     hybridizable to a universal primer. In some embodiments , greater than 99.9% .
     each of the library adapters comprises a molecular barcode                In some embodiments, ( e) comprises comparing sequence
     that is at least 5 , 6 , 7 , 8 , 9 and 10 nucleotide bases in length . reads having the same or similar molecular barcodes and the
     In some embodiments, each of the library adapters is from same or similar end of fragment sequences. In some embodi
     10 nucleotide bases to 80 in length, or 30 to 70 nucleotide 10 ments, the comparing further comprises performing a phy
     bases in length, or 40 to 60 nucleotide bases in length . In logentic analysis on the sequence reads having the same or
     some embodiments, at least 1 , 2 , 3 , or 4 terminal bases are      similar molecular barcodes . In some embodiments, the
     identical in all of the library adaptors. In some embodiments,      molecular barcodes include a barcode having an edit dis
     at least 4 terminal bases are identical in all of the library       tance of up to 3. In some embodiments, the end of fragment
     adaptors .                                                       15 sequence includes fragment sequences having an edit dis
       In some embodiments, the edit distance of the molecular           tance of up to 3 .
     barcodes of the library adapters is a Hamming distance . In           In some embodiments, the method further comprises
     some embodiments, the edit distance is at least 1 , 2 , 3 , 4 or sorting sequence reads into paired reads and unpaired reads ,
     5. In some embodiments, the edit distance is with respect to and quantifying a number of paired reads and unpaired reads
     individual bases of the plurality of polynucleotide mol- 20 that map to each of one or more genetic loci .
     ecules . In some embodiments, the molecular barcodes are              In some embodiments, the tagging occurs by having an
     located at least 10 nucleotide base away from a terminal end excess amount of library adaptors as compared to original
     of an adapter. In some embodiments, the plurality of library DNA fragments. In some embodiments, n the excess is at
     adapters includes at least 2 , 4 , 6 , 8 , 10 , 20 , 30 , 40 or 50 least a 5 - fold excess . In some embodiments, the tagging
     different molecular barcodes, or from 2-100 , 4-80 , 6-60 or 25 comprises using a ligase . In some embodiments, the tagging
     8-40 different molecular barcodes. In any of the embodi- comprises attachment to blunt ends .
     ments herein , there are more polynucleotides ( e.g. , cfDNA          In some embodiments, the method further comprises
     fragments ) to be tagged than there are different molecular binning the sequence reads according to the molecular
     barcodes such that the tagging is not unique.                      barcodes and sequence information from at least one end of
        In some embodiments, the terminal end of an adaptor is 30 each of the original DNA fragments to create bins of single
     configured for ligation ( e.g. , to a target nucleic acid mol- stranded reads . In some embodiments, the method further
     ecule ) . In some embodiments, the terminal end of an adaptor comprises, in each bin , determining a sequence of a given
     is a blunt end .                                                   original DNA fragment among the original DNA fragments
        In some embodiments, the adaptors are purified and by analyzing sequence reads. In some embodiments, the
     isolated . In some embodiments, the library comprises one or 35 method further comprises detecting and / or quantifying the
     more non -naturally occurring bases .                              rare DNA by comparing a number of times each base occurs
        In some embodiments, the polynucleotide molecules at each position of a genome represented by the tagged ,
     comprise a primer sequence positioned 5 ' with respect to the amplified, and optionally enriched DNA fragments.
     molecular barcodes .                                                  In some embodiments, the library adaptors do not contain
        In some embodiments, the set of library adaptors consists 40 complete sequencer motifs. In some embodiments, the
      essentially of the plurality of polynucleotide molecules .        method further comprises selectively enriching a subset of
        In another aspect , a method comprises (a ) tagging a the tagged DNA fragments. In some embodiments , the
     collection of polynucleotides with a plurality of polynucle- method further comprises, after enriching, amplifying the
     otide molecules from a library of adaptors to create a enriched tagged DNA fragments in the presence of sequenc
     collection of tagged polynucleotides; and (b ) amplifying the 45 ing adaptors comprising primers . In some embodiments, (a )
     collection of tagged polynucleotides in the presence of provides tagged DNA fragments having from 2 to 1000
     sequencing adaptors, wherein the sequencing adaptors have           different combinations of molecular barcodes.
     primers with nucleotide sequences that are selectively                In some embodiments, the DNA fragments are tagged
     hybridizable to complementary sequences in the plurality of         with polynucleotide molecules from a library of adaptors as
     polynucleotide molecules . The library of adaptors may be as 50 described above or elsewhere herein .
     described above or elsewhere herein . In some embodiments,        In another aspect , a method for processing and / or ana
     each of the sequencer adaptors further comprises an index lyzing a nucleic acid sample of a subject comprises (a )
     tag , which can be a sample identification motif.               exposing polynucleotide fragments from the nucleic acid
        Another aspect , provides a method for detecting and / or sample to a set of library adaptors to generate tagged
     quantifying rare DNA in a heterogeneous population of 55 polynucleotide fragments; and ( b ) subjecting the tagged
     original DNA fragments, wherein the rare DNA has a polynucleotide fragments to nucleic acid amplification reac
     concentration that is less than 1 % , the method comprising tions under conditions that yield amplified polynucleotide
     ( a ) tagging the original DNA fragments in a single reaction  fragments as amplification products of the tagged polynucle
     such that greater than 30 % of the original DNA fragments      otide fragments. The set of library adaptors comprises a
     are tagged at both ends with library adaptors that comprise 60 plurality of polynucleotide molecules with molecular bar
     molecular barcodes , thereby providing tagged DNA frag- codes , wherein the plurality of polynucleotide molecules are
     ments; (b ) performing high - fidelity amplification on the         less than or equal to 80 nucleotide bases in length , wherein
     tagged DNA fragments; ( c ) optionally, selectively enriching       the molecular barcodes are at least 4 nucleotide bases in
     a subset of the tagged DNA fragments; (d) sequencing one            length, and wherein ( 1 ) the molecular barcodes are different
     or both strands of the tagged, amplified and optionally 65 from one another and have an edit distance of at least 1
     selectively enriched DNA fragments to obtain sequence between one another; (2 ) the molecular barcodes are located
     reads comprising nucleotide sequences of the molecular at least one nucleotide base away from a terminal end of
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     their respective polynucleotide molecules ; (3 ) optionally, at PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKTI ,
     least one terminal base is identical in all of the polynucle- ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     otide molecules ; and ( 4 ) none of the polynucleotide mol- FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, GNAS, HNF1A ,
     ecules contains a complete sequencer motif .                    HRAS, IDHI , IDH2 , JAK2 , JAK3, KDR , KIT, MLH1 ,
        In some embodiments, the method further comprises 5 MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET,SMAD4 ,
     determining nucleotide sequences of the amplified tagged SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
     polynucleotide fragments. In some embodiments, the CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     nucleotide sequences of the amplified tagged polynucleotide TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RIT ) , GATA3,
     fragments are determined without polymerase chain reaction MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     (PCR) . In some embodiments, the method further comprises 10 RHOA, and NTRK1 ; (b ) grouping with a computer proces
     analyzing the nucleotide sequences with a programmed sor the plurality of sequence reads into families, wherein
     computer processor to identify one or more genetic variants each family comprises sequence reads from one of the
     in the nucleotide sample of the subject. In some embodi- template polynucleotides; ( c ) for each of the families, merg
     ments, the one or more genetic variants are selected from the ing sequence reads to generate a consensus sequence ; (d)
     group consisting of base change ( s ), insertion ( s ), repeat ( s ), 15 calling the consensus sequence at a given genomic locus
     deletion ( s ), copy number variation ( s ) and transversion ( s ). In among the genomic loci ; and ( e ) detecting at the given
     some embodiments, the one or more genetic variants include genomic locus any of genetic variants among the calls ,
     one or more tumor associated genetic alterations.                        frequency of a genetic alteration among the calls , total
        In some embodiments, the subject has or is suspected of number of calls , and total number of alterations among the
     having a disease . In some embodiments , the disease is 20 calls .
     cancer . In some embodiments , the method further comprises                 In some embodiments, each family comprises sequence
     collecting the nucleic acid sample from the subject. In some reads from only one of the template polynucleotides. In
     embodiments , the nucleic acid sample is collected from a some embodiments, the given genomic locus comprises at
     location selected from the group consisting of blood , least one nucleic acid base . In some embodiments, the given
     plasma , serum , urine, saliva , mucosal excretions, sputum , 25 genomic locus comprises a plurality ofnucleic acid bases . In
     stool , cerebral spinal fluid and tears of the subject. In some some embodiments, the calling comprises calling at least
     embodiments, the nucleic acid sample is a cell- free nucleic one nucleic acid base at the given genomic locus . In some
     acid sample. In some embodiments, the nucleic acid sample embodiments, the calling comprises calling a plurality of
     is collected from no more than 100 nanograms (ng) of nucleic acid bases at the given genomic locus . In some
     double - stranded polynucleotide molecules of the subject. 30 embodiments, the calling comprises any one of phylogenetic
        In some embodiments, the polynucleotide fragments com- analysis , voting, weighing, assigning a probability to each
     prise double - stranded polynucleotide molecules . In some read at the locus in a family and calling the base with the
     embodiments, in (a ) , the plurality of polynucleotide mol- highest probability .
     ecules couple to the polynucleotide fragments via blunt end     In some embodiments , the method further comprises
     ligation, sticky end ligation, molecular inversion probes, 35 performing ( d) - ( e ) at an additional genomic locus among the
     PCR , ligation -based PCR , multiplex PCR , single stranded genomic loci . In some embodiments, the method further
     ligation, and single stranded circularization . In some comprises determining a variation in copy number at one of
     embodiments, exposing the polynucleotide fragments of the the given genomic locus and additional genomic locus based
     nucleic acid sample to the plurality of polynucleotide mol- on counts at the given genomic locus and additional
     ecules yields the tagged polynucleotide fragments with a 40 genomic locus .
     conversion efficiency of at least 10 % . In some embodiments ,           In some embodiments, the grouping comprises classifying
     any of at least 5 % , 6 % , 7 % , 8 % , 9 % , 10% , 20 % , or 25 % of the plurality of sequence reads into families by identifying
     the tagged polynucleotide fragments share a common poly- ( i ) different molecular barcodes coupled to the plurality of
     nucleotide molecule or sequence . In some embodiments , the polynucleotide molecules and (ii ) similarities between the
     method further comprises generating the polynucleotide 45 plurality of sequence reads, wherein each family includes a
     fragments from the nucleic acid sample.                            plurality of nucleic acid sequences that are associated with
       In some embodiments, the subjecting comprises ampli-             a different combination of molecular barcodes and similar or
     fying the tagged polynucleotide fragments from sequences           identical sequence reads. Different molecular barcodes have
     corresponding to genes selected from the group consisting of       different sequences.
     ALK , APC , BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , 50 In some embodiments , the consensus sequence is gener
     KRAS, MYC , NOTCHI , NRAS, PIK3CA , PTEN , RB1 , ated by evaluating a quantitative measure or a statistical
     TP53 , MET, AR , ABL1 , AKT1 , ATM , CDHI , CSF1R , significance level for each of the sequence reads. In some
     CTNNB1, ERBB4 , EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, embodiments , the quantitative measure comprises use of a
     GNA11, GNAQ, GNAS, HNF1A , HRAS, IDH1 , IDH2 , binomial distribution, exponential distribution , beta distri
     JAK2 , JAK3, KDR , KIT, MLH1 , MPL , NPM1 , PDGFRA , 55 bution , or empirical distribution . In some embodiments, the
     PROC , PTPN11 , RET,SMAD4, SMARCB1, SMO , SRC , method further comprises mapping the consensus sequence
     STK11 , VHL , TERT, CCND1 , CDK4 , CDKN2B , RAF1, to the target genome. In some embodiments, the plurality of
     BRCA1 , CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , genes includes at least 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , 40 ,
     CCNE1 , ESR1 , RIT ) , GATA3, MAP2K1, RHEB , ROSI , 50 or all of the plurality of genes selected from the group .
     ARAF, MAP2K2, NFE2L2 , RHOA , and NTRK1 .            60   Another aspect of the present disclosure provides a
        In another aspect, a method comprises ( a ) generating       method , comprising ( a ) providing template polynucleotide
     plurality of sequence reads from a plurality of polynucle- molecules and a set of library adaptors in a single reaction
     otide molecules , wherein the plurality of polynucleotide vessel , wherein the library adaptors are polynucleotide mol
     molecules cover genomic loci of a target genome, wherein ecules that have different molecular barcodes (e.g. , from 2 to
     the genomic loci correspond to a plurality of genes selected 65 1,000 different molecular barcodes ), and wherein none of
     from the group consisting of ALK , APC , BRAF, CDKN2A , the library adaptors contains a complete sequencer motif; ( b )
     EGFR , ERBB2 , FBXW7 , KRAS , MYC , NOTCH1 , NRAS ,                in the single reaction vessel , coupling the library adaptors to
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     the template polynucleotide molecules at an efficiency of at group the plurality of sequence reads into families, wherein
     least 10 % , thereby tagging each template polynucleotide each family comprises sequence reads from one of the
     with a tagging combination that is among a plurality of template polynucleotides, (ii ) for each of the families, merge
     different tagging combinations ( e.g. , 4 to 1,000,000 different sequence reads to generate a consensus sequence , ( iii ) call
     tagging combinations ), to produce tagged polynucleotide 5 the consensus sequence at a given genomic locus among the
     molecules ; ( c ) subjecting the tagged polynucleotide mol- genomic loci , and (iv ) detect at the given genomic locus any
     ecules to an amplification reaction under conditions that of genetic variants among the calls , frequency of a genetic
     yield amplified polynucleotide molecules as amplification alteration among the calls , total number of calls ; and total
     products of the tagged polynucleotide molecules ; and (d) number of alterations among the calls , wherein the genomic
     sequencing the amplified polynucleotide molecules .             10 loci correspond to a plurality of genes selected from the
        In some embodiments , the template polynucleotide mol- group consisting of ALK , APC , BRAF, CDKN2A , EGFR ,
     ecules are blunt ended or sticky -ended . In some embodi- ERBB2 , FBXW7 , KRAS, MYC , NOTCHI , NRAS ,
     ments , the library adaptors are identical but for the molecu- PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
     lar barcodes. In some embodiments, each of the library ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     adaptors has a double stranded portion and at least one 15 FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, GNAS, HNF1A ,
     single - stranded portion . In some embodiments, the double- HRAS , IDHI , IDH2 , JAK2 , JAK3, KDR , KIT, MLHI ,
     stranded portion has a molecular barcode among the MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4 ,
     molecular barcodes . In some embodiments, each of the SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
     library adaptors further comprises a strand - identification CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     barcode on the at least one single - stranded portion . In some 20 TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RIT1 , GATA3,
     embodiments , the single - stranded portion has a partial MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     sequencer motif. In some embodiments , the library adaptors RHOA , and NTRK1 .
     have a sequence of terminal nucleotides that are the same . In       In another aspect , a set of oligonucleotide molecules that
     some embodiments , the template polynucleotide molecules selectively hybridize to at least 5 genes selected from the
     are double - stranded . In some embodiments, the library adap- 25 group consisting of ALK , APC , BRAF, CDKN2A , EGFR ,
     tors couple to both ends of the template polynucleotide ERBB2 , FBXW7 , KRAS , MYC , NOTCHI , NRAS,
     molecules .                                                       PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
        In some embodiments, subjecting the tagged polynucle-          ATM , CDH1 , CSF1R , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     otide molecules to the amplification reaction comprises FGFR2 , FGFR3 , FLT3, GNA11, GNAQ , GNAS , HNF1A ,
     non - specifically amplifying the tagged polynucleotide mol- 30 HRAS, IDHI , IDH2 , JAK2 , JAK3, KDR , KIT, MLH1 ,
     ecules .                                                      MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET,SMAD4,
        In some embodiments, the amplification reaction com-       SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCNDI ,
     prises use of a priming site to amplify each of the tagged    CDK4 , CDKN          1 , BRCA1 , CCND2 , CDK6 , NF
     polynucleotide molecules . In some embodiments , the prim-    TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RITI , GATA3 ,
     ing site is a primer. In some embodiments, the primer is a 35 MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     universal primer. In some embodiments , the priming site is RHOA , and NTRK1 .
     a nick.                                                         In some embodiments , the oligonucleotide molecules are
        In some embodiments, the method further comprises, from 10-200 bases in length. In some embodiments, the
     prior to ( e) , (i ) separating polynucleotide molecules com- oligonucleotide molecules selectively hybridize to exon
     prising one or more given sequences from the amplified 40 regions of the at least 5 genes . In some embodiments, the
     polynucleotide molecules , to produce enriched polynucle- oligonucleotide molecules selectively hybridize to at least
     otide molecules ; and (ii ) amplifying the enriched polynucle- 30 exons in the at least 5 genes . In some embodiments ,
     otide molecules with sequencing adaptors.                          multiple oligonucleotide molecules selectively hybridize to
        In some embodiments, the efficiency is at least 30 % , 40 % , each of the at least 30 exons . In some embodiments, the
     or 50 % . In some embodiments, the method further com- 45 oligonucleotide molecules that hybridize to each exon have
     prises identifying genetic variants upon sequencing the sequences that overlap with at least 1 other oligonucleotide
     amplified polynucleotide molecules . In some embodiments , molecule .
     the sequencing comprises ( i ) subjecting the amplified poly-        In another aspect , a kit comprises a first container con
     nucleotide molecules to an additional amplification reaction taining a plurality of library adaptors each having a different
     under conditions that yield additional amplified polynucle- 50 molecular barcode ; and a second container containing a
     otide molecules as amplification products of the amplified plurality of sequencing adaptors , each sequencing adaptor
     polynucleotide molecules , and ( ii ) sequencing the additional comprising at least a portion of a sequencer motif and
     amplified polynucleotide molecules . In some embodiments, optionally a sample barcode . The library adaptors can be as
     the additional amplification is performed in the presence of described above or elsewhere herein .
     sequencing adaptors .                                           55   In some embodiments, the sequencing adaptor comprises
        In some embodiments, (b ) and ( c ) are performed without the sample barcode . In some embodiments, the library
     aliquoting the tagged polynucleotide molecules . In some adaptors are blunt ended and Y -shaped, and are less than or
     embodiments , the tagging is non - unique tagging.                 equal to 80 nucleic acid bases in length . In some embodi
        Another aspect , provides a system for analyzing a target ments, the sequencing adaptor is up to 70 bases from end to
     nucleic acid molecule of a subject, comprising a communi- 60 end .
     cation interface that receives nucleic acid sequence reads for       In another aspect , a method for detecting sequence vari
     a plurality of polynucleotide molecules that cover genomic ants in a cell free DNA sample, comprising detecting rare
     loci of a target genome; computer memory that stores the DNA at a concentration less than 1 % with a specificity that
     nucleic acid sequence reads for the plurality of polynucle- is greater than 99.9 % .
     otide molecules received by the communication interface; 65 In another aspect , a method comprises detecting genetic
     and a computer processor operatively coupled to the com- variants in a sample comprising DNA with a detection limit
     munication interface and the memory and programmed to (i ) of at least 1 % and specificity greater than 99.9 % . In some
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     embodiments , the method further comprises converting               method comprising (a ) receiving into memory a set of
     cDNA ( e.g. cfDNA ) into adaptor tagged DNA with a con-             sequence reads of polynucleotides tagged with duplex tags ;
     version efficiency of at least 30% , 40 % , or 50 % and reducing    ( b ) reducing and / or tracking redundancy in the set of
     sequencing noise ( or distortion ) by eliminating false positive    sequence reads; ( c ) sorting sequence reads into paired reads
     sequence reads.                                                   5 and unpaired reads , wherein (i ) each paired read corresponds
         Another aspect provides a method , comprising ( a) pro- to sequence reads generated from a first tagged strand and a
     viding a sample comprising a set of double - stranded poly- second differently tagged complementary strand derived
     nucleotide molecules , each double - stranded polynucleotide from a double - stranded polynucleotide molecule in the set,
     molecule including first and second complementary strands; and (ii ) each unpaired read represents a first tagged strand
     (b ) tagging the double - stranded polynucleotide molecules 10 having no second differently tag complementary strand
     with a set of duplex tags , wherein each duplex tag differently derived from a double - stranded polynucleotide molecule
     tags the first and second complementary strands of a double- represented among the sequence reads in the set of sequence
     stranded polynucleotide molecule in the set; (c ) sequencing reads; ( d ) determining quantitative measures of (i ) the paired
     at least some of the tagged strands to produce a set of reads and ( ii ) the unpaired reads that map to each of one or
     sequence reads; ( d ) reducing and /or tracking redundancy in 15 more genetic loci ; and (e) estimating a quantitative measure
     the set of sequence reads; ( e) sorting sequence reads into of total double - stranded polynucleotide molecules in the set
     paired reads and unpaired reads, wherein ( i ) each paired read that map to each of the one or more genetic loci based on the
     corresponds to sequence reads generated from a first tagged quantitative measure of paired reads and unpaired reads
     strand and a second differently tagged complementary strand mapping to each locus .
     derived from a double - stranded polynucleotide molecule in 20 Another aspect provides a method, comprising ( a) pro
     the set, and ( ii ) each unpaired read represents a first tagged viding a sample comprising a set of double - stranded poly
     strand having no second differently tag complementary nucleotide molecules , each double - stranded polynucleotide
     strand derived from a double - stranded polynucleotide mol- molecule including first and second complementary strands ;
     ecule represented among the sequence reads in the set of ( b ) tagging the double - stranded polynucleotide molecules
     sequence reads ; ( f) determining quantitative measures of ( i ) 25 with a set of duplex tags , wherein each duplex tag differently
     the paired reads and ( ii ) the unpaired reads that map to each        tags the first and second complementary strands of a double
     of one or more genetic loci ; and ( g ) estimating with a              stranded polynucleotide molecule in the set ; (c ) sequencing
     programmed computer processor a quantitative measure of at least some of the tagged strands to produce a set of
     total double - stranded polynucleotide molecules in the set sequence reads ; ( d ) reducing and / or tracking redundancy in
     that map to each of the one or more genetic loci based on the 30 the set of sequence reads; ( e) sorting sequence reads into
     quantitative measure of paired reads and unpaired reads paired reads and unpaired reads, wherein (i ) each paired read
     mapping to each locus .                                          corresponds to sequence reads generated from a first tagged
        In some embodiments , the method further comprises ( h ) strand and a second differently tagged complementary strand
     detecting copy number variation in the sample by determin- derived from a double -stranded polynucleotide molecule in
     ing a normalized total quantitative measure determined in 35 the set, and (ii) each unpaired read represents a first tagged
     step ( g) at each of the one or more genetic loci and strand having no second differently tag complementary
     determining copy number variation based on the normalized strand derived from a double - stranded polynucleotide mol
     measure . In some embodiments, the sample comprises ecule represented among the sequence reads in the set of
     double - stranded polynucleotide molecules sourced substan- sequence reads; and ( f) determining quantitative measures of
     tially from cell- free nucleic acids . In some embodiments , the 40 at least two of (i ) the paired reads, ( ii ) the unpaired reads that
     duplex tags are not sequencing adaptors.                            map to each of one or more genetic loci , (iii ) read depth of
        In some embodiments, reducing redundancy in the set of the paired reads and (iv ) read depth of unpaired reads .
     sequence reads comprises collapsing sequence reads pro-                In some embodiments, ( f) comprises determining quan
     duced from amplified products of an original polynucleotide titative measures of at least three of ( i ) - (iv ) . In some
     molecule in the sample back to the original polynucleotide 45 embodiments , ( f) comprises determining quantitative mea
     molecule . In some embodiments, the method further com- sures of all of (i ) - (iv) . In some embodiments , the method
     prises determining a consensus sequence for the original further comprises ( g) estimating with a programmed com
     polynucleotide molecule . In some embodiments, the method puter processor a quantitative measure of total double
     further comprises identifying polynucleotide molecules at stranded polynucleotide molecules in the set that map to
     one or more genetic loci comprising a sequence variant. In 50 each of the one or more genetic loci based on the quantita
     some embodiments, the method further comprises determin- tive measure of paired reads and unpaired reads and their
     ing a quantitative measure of paired reads that map to a read depths mapping to each locus .
     locus , wherein both strands of the pair comprise a sequence           In another aspect , a method comprises (a ) tagging control
     variant. In some embodiments, the method further comprises parent polynucleotides with a first tag set to produce tagged
     determining a quantitative measure of paired molecules in 55 control parent polynucleotides, wherein the first tag set
     which only one member of the pair bears a sequence variant comprises a plurality of tags , wherein each tag in the first tag
     and / or determining a quantitative measure of unpaired mol- set comprises a same control tag and an identifying tag , and
     ecules bearing a sequence variant. In some embodiments , wherein the tag set comprises a plurality of different iden
     the sequence variant is selected from the group consisting of       tifying tags ; ( b ) tagging test parent polynucleotides with a
     a single nucleotide variant, an indel , a transversion , a 60 second tag set to produce tagged test parent polynucleotides,
     translocation, an inversion, a deletion , a chromosomal struc- wherein the second tag set comprises a plurality of tags ,
     ture alteration , a gene fusion , a chromosome fusion, a gene wherein each tag in the second tag set comprises a same test
     truncation , a gene amplification, a gene duplication and a tag that is distinguishable from the control tag and an
     chromosomal lesion .                                                identifying tag , and wherein the second tag set comprises a
        Another aspect provides a system comprising a computer 65 plurality of different identifying tags ; ( c ) mixing tagged
     readable medium comprising machine - executable code that, control parent polynucleotides with tagged test parent poly
     upon execution by a computer processor, implements a nucleotides to form a pool ; (d) amplifying tagged parent
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     polynucleotides in the pool to form a pool of amplified, corresponds to sequence reads generated from a first tagged
     tagged polynucleotides ; ( e ) sequencing amplified , tagged strand and a second differently tagged complementary strand
     polynucleotides in the amplified pool to produce a plurality derived from a double - stranded polynucleotide molecule in
     of sequence reads ; ( f) grouping sequence reads into families, the set , and ( ii ) each unpaired read represents a first tagged
     each family comprising sequence reads generated from a 5 strand having no second differently tag complementary
     same parent polynucleotide, which grouping is optionally strand derived from a double - stranded polynucleotide mol
     based on information from an identifying tag and from ecule represented among the sequence reads in the set of
     start / end sequences of the parent polynucleotides, and , sequence reads . In some embodiments , the method further
     optionally, determining a consensus sequence for each of a comprises determining quantitative measures of ( i ) the
     plurality of parent polynucleotides from the plurality of 10 paired reads and ( ii ) the unpaired reads that map to each of
     sequence reads in a group ; ( g ) classifying each family or one or more genetic loci to determine a quantitative measure
     consensus sequence as a control parent polynucleotide or as of total double - stranded DNA molecules in the sample that
     a test parent polynucleotide based on having a test tag or a map to each of the one or more genetic loci based on the
     control tag ; (h ) determining a quantitative measure of con- quantitative measure of paired reads and unpaired reads
     trol parent polynucleotides and control test polynucleotides 15 mapping to each locus .
     mapping to each of at least two genetic loci ; and (i )              In another aspect , a method for reducing distortion in a
     determining copy number variation in the test parent poly- sequencing assay, comprises (a ) tagging control parent poly
     nucleotides at at least one locus based on relative quantity of nucleotides with a first tag set to produce tagged control
     test parent polynucleotides and control parent polynucle- parent polynucleotides; ( b ) tagging test parent polynucle
     otides mapping to the at least one locus .                     20 otides with a second tag set to produce tagged test parent
        In another aspect , a method comprises (a ) generating a polynucleotides; ( c ) mixing tagged control parent poly
     plurality of sequence reads from a plurality of template nucleotides with tagged test parent polynucleotides to form
     polynucleotides , each polynucleotide mapped to a genomic a pool ; (d) determining quantities of tagged control parent
     locus ; (b ) grouping the sequence reads into families, each polynucleotides and tagged test parent polynucleotides; and
     family comprising sequence reads generated from one of the 25 (e ) using the quantities of tagged control parent polynucle
     template polynucleotides; ( c ) calling a base ( or sequence) at     otides to reduce distortion in the quantities of tagged test
     the genomic locus for each of the families; ( d) detecting at parent polynucleotides.
     the genomic locus any of genomic alterations among the               In some embodiments, the first tag set comprises a plu
     calls , frequency of a genetic alteration among the calls , total rality of tags , wherein each tag in the first tag set comprises
     number of calls and total number of alterations among the 30 a same control tag and an identifying tag , and wherein the
     calls .                                                           first tag set comprises a plurality of different identifying
        In some embodiments, calling comprises any of phylo- tags . In some embodiments , the second tag set comprises a
     genetic analysis, voting , weighing, assigning a probability to plurality of tags , wherein each tag in the second tag set
     each read at the locus in a family, and calling the base with comprises a same test tag and an identifying tag , wherein the
     the highest probability. In some embodiments, the method is 35 test tag is distinguishable from the control tag , and wherein
     performed at two loci , comprising determining CNV at one the second tag set comprises a plurality of different identi
     of the loci based on counts at each of the loci .                 fying tags . In some embodiments, (d) comprises amplifying
        Another aspect provides a method for determining a tagged parent polynucleotides in the pool to form a pool of
     quantitative measure indicative of a number of individual amplified, tagged polynucleotides, and sequencing ampli
     double - stranded DNA fragments in a sample comprising (a ) 40 fied, tagged polynucleotides in the amplified pool to produce
     determining a quantitative measure of individual DNA mol- a plurality of sequence reads . In some embodiments, the
     ecules for which both strands are detected ; (b ) determining method further comprises grouping sequence reads into
     a quantitative measure of individual DNA molecules for families, each family comprising sequence reads generated
     which only one of the DNA strands are detected ; ( c ) infer- from a same parent polynucleotide, which grouping is
     ring from (a ) and ( b ) above a quantitative measure of 45 optionally based on information from an identifying tag and
     individual DNA molecules for which neither strand was from start/ end sequences of the parent polynucleotides, and ,
     detected ; and ( d ) using ( a ) - ( c ) determining the quantitative optionally, determining a consensus sequence for each of a
     measure indicative of a number of individual double                   plurality of parent polynucleotides from the plurality of
     stranded DNA fragments in the sample.                                 sequence reads in a group .
        In some embodiments , the method further comprises 50 In some embodiments, (d) comprises determining copy
     detecting copy number variation in the sample by determin- number variation in the test parent polynucleotides at greater
     ing a normalized quantitative measure determined in step (d) than or equal to one locus based on relative quantity of test
     at each of one or more genetic loci and determining copy parent polynucleotides and control parent polynucleotides
     number variation based on the normalized measure . In some mapping to the locus .
     embodiments, the sample comprises double - stranded poly- 55 Another aspect provides a method comprising ( a ) ligating
     nucleotide molecules sourced substantially from cell- free adaptors to double - stranded DNA polynucleotides, wherein
     nucleic acids .                                                       ligating is performed in a single reaction vessel , and wherein
        In some embodiments , determining the quantitative mea- the adaptors comprise molecular barcodes, to produce a
     sure of individual DNA molecules comprises tagging the tagged library comprising an insert from the double -stranded
     DNA molecules with a set of duplex tags , wherein each 60 DNA polynucleotides, and having between 4 and 1 million
     duplex tag differently tags complementary strands of a different tags ; (b ) generating a plurality of sequence reads
     double - stranded DNA molecule in the sample to provide for each of the double - stranded DNA polynucleotides in the
     tagged strands. In some embodiments, the method further tagged library ; (c ) grouping sequence reads into families,
     comprises sequencing at least some of the tagged strands to each family comprising sequence reads generated from a
     produce a set of sequence reads . In some embodiments, the 65 single DNA polynucleotide among the double - stranded
     method further comprises sorting sequence reads into paired DNA polynucleotides, based on information in a tag and
     reads and unpaired reads , wherein ( i ) each paired read            information at an end of the insert; and (d) calling bases at
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     each position in the double - stranded DNA molecule based       FIG . 1 is a flowchart representation of a method of the
     on bases at the position in members of a family. In some present disclosure for determining copy number variation
     embodiments , ( b ) comprises amplifying each of the double- ( CNV );
     stranded DNA polynucleotide molecules in the tagged             FIG . 2 depicts mapping of pairs and singlets to Locus A
     library to generate amplification products, and sequencing 5 and Locus B in a genome;
     the amplification products. In some embodiments, the            FIG . 3 shows a reference sequence encoding a genetic
     method further comprises sequencing the double - stranded Locus A ;
     DNA polynucleotide molecules a plurality of times . In some     FIGS . 4A - C shows amplification , sequencing, redun
     embodiments, ( b ) comprises sequencing the entire insert. In dancy reduction and pairing of complementary molecules ;
     some embodiments, (c ) further comprises collapsing 10 FIG . 5 shows increased confidence in detecting sequence
     sequence reads in each family to generate a consensus variants by pairing reads from Watson and Crick strands;
     sequence. In some embodiments, ( d) comprises calling a         FIG . 6 shows a computer system that is programmed or
     plurality of sequential bases from least a subset of the otherwise configured to implement various methods of the
     sequence reads to identify single nucleotide variations 15 present disclosure;
     ( SNV ) in the double - stranded DNA molecule .                 FIG . 7 is schematic representation of a system for ana
        Another aspect provides a method of detecting disease lyzing a sample comprising nucleic acids from a user,
     cell heterogeneity from a sample comprising polynucle- including a sequencer; bioinformatic software and internet
     otides from somatic cells and disease cells . The method connection for report analysis by, for example , a hand held
     comprises quantifying polynucleotides in the sample bear- device or a desk top computer;
     ing a nucleotide sequence variant at each of a plurality of 20 FIG . 8 is a flowchart representation of a method of this
     genetic loci ; determining copy number variation ( CNV ) at invention for determining CNV using pooled test and con
     each of the plurality of genetic loci , wherein the CNV trol pools ; and
     indicates a genetic dose of a locus in the disease cell         FIGS . 9A - 9C schematically illustrate a method for tag
     polynucleotides; determining with a programmed computer ging a polynucleotide molecule with a library adaptor and
     processor a relative measure of quantity of polynucleotides 25 subsequently a sequencing adaptor.
     bearing a sequence variant at a locus per the genetic dose at                 DETAILED DESCRIPTION
    the locus for each of a plurality of the loci ; and comparing
    the relative measures at each of the plurality of loci , wherein       While various embodiments of the invention have been
    different relative measures is indicative of tumor heteroge
    neity.                                                           30 shown and described herein , it will be obvious to those
         In another aspect , a method comprises subjecting a sub skilled in the art that such embodiments are provided by way
    ject to one or more pulsed therapy cycles , each pulsed of example only. Numerous variations, changes , and substi
    therapy cycle comprising (a ) a first period during which a tutions may occur to those skilled in the art without depart
    drug is administered at a first amount; and (b ) a second ing from the invention . It should be understood that various
    period during which the drug is administered at a second, 35 alternatives to the embodiments of the invention described
    reduced amount, wherein ( i ) the first period is characterized herein may be employed .
    by a tumor burden detected above a first clinical level ; and          The term “ genetic variant,” as used herein , generally
    ( ii ) the second period is characterized by a tumor burden refers to an alteration , variant or polymorphism in a nucleic
    detected below a second clinical level.                             acid sample or genome of a subject. Such alteration , variant
         Additional aspects and advantages of the present disclo- 40 or polymorphism can be with respect to a reference genome,
    sure will become readily apparent to those skilled in this art which may be a reference genome of the subject or other
    from the following detailed description , wherein only illus individual. Single nucleotide polymorphisms ( SNPs ) are a
    trative embodiments of the present disclosure are shown and form of polymorphisms. In some examples, one or more
    described . As will be realized , the present disclosure is polymorphisms comprise one or more single nucleotide
    capable of other and different embodiments, and its several 45 variations ( SNVs ), insertions, deletions , repeats, small inser
    details are capable of modifications in various obvious tions , small deletions, small repeats, structural variant junc
    respects , all without departing from the disclosure . Accord- tions , variable length tandem repeats, and / or flanking
    ingly, the drawings and description are to be regarded as sequences. Copy number variants (CNVs), transversions
    illustrative in nature , and not as restrictive .                   and other rearrangements are also forms of genetic variation .
                                                                     50 A genomic alternation may be a base change, insertion,
                 INCORPORATION BY REFERENCE                             deletion , repeat, copy number variation , or transversion.
                                                                           The term “ polynucleotide , ” as used herein , generally
         All publications , patents, and patent applications men- refers to a molecule comprising one or more nucleic acid
    tioned in this specification are herein incorporated by ref- subunits . A polynucleotide can include one or more subunits
    erence to the same extent as if each individual publication, 55 selected from adenosine ( A ), cytosine (C) , guanine (G) ,
    patent, or patent application was specifically and individu- thymine (T ) and uracil ( U ), or variants thereof. A nucleotide
    ally indicated to be incorporated by reference.                     can include A , C , G , T or U , or variants thereof. A nucleotide
                                                                        can include any subunit that can be incorporated into a
             BRIEF DESCRIPTION OF THE DRAWINGS                          growing nucleic acid strand. Such subunit can be an A , C , G ,
                                                                      60 T, or U , or any other subunit that is specific to one or more
       The novel features of the invention are set forth with            complementary A , C , G , T or U , or complementary to a
     particularity in the appended claims . A better understanding purine (i.e. , A or G , or variant thereof) or a pyrimidine (i.e. ,
     of the features and advantages of the present invention will C , T or U , or variant thereof). A subunit can enable indi
     be obtained by reference to the following detailed descrip- vidual nucleic acid bases or groups of bases ( e.g. , AA , TA ,
     tion that sets forth illustrative embodiments , in which the 65 AT, GC , CG , CT, TC , GT, TG , AC , CA , or uracil -counter
     principles of the invention are utilized, and the accompany- parts thereof) to be resolved . In some examples, a poly
     ing drawings (also “ figure” and “ FIG . ” herein ), of which : nucleotide is deoxyribonucleic acid ( DNA ) or ribonucleic
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     acid ( RNA ), or derivatives thereof. A polynucleotide can be example , the amount “ at least 10 " can include the value 10
     single - stranded or double stranded .                                and any numerical value above 10 , such as 11 , 100 , and
         The term “ subject," as used herein , generally refers to an 1,000 .
     animal, such as a mammalian species ( e.g. , human ) or avian            The term “ at most ” and its grammatical equivalents in
     ( e.g. , bird ) species , or other organism , such as a plant. More 5 relation to a reference numerical value can include the
     specifically, the subject can be a vertebrate , a mammal, a              reference numerical value and less than that value . For
     mouse , a primate , a simian or a human . Animals include , but          example, the amount “ at most 10 ” can include the value 10
     are not limited to , farm animals, sport animals, and pets . A           and any numerical value under 10 , such as 9 , 8 , 5 , 1 , 0.5 , and
     subject can be a healthy individual, an individual that has or 0.1 .
     is suspected of having a disease or a pre -disposition to the 10 1. Methods for Processing and / or Analyzing a Nucleic
     disease , or an individual that is in need of therapy or                 Acid Sample
     suspected of needing therapy. A subject can be a patient.                  An aspect of the present disclosure provides methods for
         The term “ genome ” generally refers to an entirety of an determining a genomic alternation in a nucleic acid sample
     organism's hereditary information . A genome can be of a subject. FIG . 1 shows a method of determining copy
     encoded either in DNA or in RNA . A genome can comprise 15 number variation (CNV ). The method can be implemented
     coding regions that code for proteins as well as non -coding to determine other genomic alternations, such as SNVs.
     regions . A genome can include the sequence of all chromo-                        A. Polynucleotide Isolation
     somes together in an organism . For example, the human                            Methods disclosed herein can comprise isolating one or
     genome has a total of 46 chromosomes. The sequence of all more polynucleotides. A polynucleotide can comprise any
     of these together constitutes a human genome.                               20 type of nucleic acid , for example, a sequence of genomic
         The terms “ adaptor (s ) ", " adapter ( s ) ” and “ tag ( s ) ” are used nucleic acid , or an artificial sequence ( e.g. , a sequence not
     synonymously throughout this specification. An adaptor or found in genomic nucleic acid) . For example, an artificial
     tag can be coupled to a polynucleotide sequence to be sequence can contain non -natural nucleotides . Also , a poly
     " tagged " by any approach including ligation , hybridization , nucleotide can comprise both genomic nucleic acid and an
     or other approaches .                                                       25 artificial sequence , in any portion . For example, a polynucle
         The term " library adaptor " or " library adapter " as used otide can comprise 1 to 99 % of genomic nucleic acid and
     herein , generally refers to a molecule (e.g. , polynucleotide) 99 % to 1 % of artificial sequence, where the total adds up to
     whose identity ( e.g. , sequence ) can be used to differentiate 100 % . Thus, fractions of percentages are also contemplated.
     polynucleotides in a biological sample ( also " sample " For example, a ratio of 99.1 % to 0.9 % is contemplated.
     herein ).                                                                   30    A polynucleotide can comprise any type of nucleic acids ,
         The term “ sequencing adaptor, ” as used herein , generally such as DNA and / or RNA . For example, if a polynucleotide
     refers to a molecule ( e.g. , polynucleotide) that is adapted to is DNA , it can be genomic DNA , complementary DNA
     permit a sequencing instrument to sequence a target poly- ( cDNA ), or any other deoxyribonucleic acid . A polynucle
     nucleotide, such as by interacting with the target polynucle- otide can also be cell- free DNA ( cfDNA ). For example, the
     otide to enable sequencing. The sequencing adaptor permits 35 polynucleotide can be circulating DNA . The circulating
     the target polynucleotide to be sequenced by the sequencing DNA can comprise circulating tumor DNA ( ctDNA ). A
     instrument. In an example, the sequencing adaptor com- polynucleotide can be double - stranded or single - stranded.
     prises a nucleotide sequence that hybridizes or binds to a Alternatively, a polynucleotide can comprise a combination
     capture polynucleotide attached to a solid support of a of a double - stranded portion and a single - stranded portion .
     sequencing system , such as a flow cell . In another example, 40 Polynucleotides do not have to be cell- free . In some cases ,
     the sequencing adaptor comprises a nucleotide sequence that the polynucleotides can be isolated from a sample . For
     hybridizes or binds to a polynucleotide to generate a hairpin example , in step ( 102 ) ( FIG . 1 ) , double - stranded polynucle
     loop , which permits the target polynucleotide to be otides are isolated from a sample. A sample can be any
     sequenced by a sequencing system . The sequencing adaptor biological sample isolated from a subject. For example, a
     can include a sequencer motif, which can be a nucleotide 45 sample can comprise, without limitation, bodily fluid , whole
      sequence that is complementary to a flow cell sequence of blood , platelets , serum , plasma , stool , red blood cells , white
     other molecule ( e.g. , polynucleotide ) and usable by the blood cells or leucocytes, endothelial cells , tissue biopsies ,
     sequencing system to sequence the target polynucleotide.                 synovial fluid, lymphatic fluid, ascites fluid , interstitial or
     The sequencer motif can also include a primer sequence for               extracellular fluid , the fluid in spaces between cells , includ
     use in sequencing, such as sequencing by synthesis. The 50 ing gingival crevicular fluid , bone marrow , cerebrospinal
     sequencer motif can include the sequence ( s) needed to fluid , saliva , mucous, sputum , semen , sweat , urine, or any
     couple a library adaptor to a sequencing system and other bodily fluids. A bodily fluid can include saliva , blood ,
     sequence the target polynucleotide.                                     or serum . For example, a polynucleotide can be cell - free
        As used herein the terms at least” , “ at most” or “ about ” , DNA isolated from a bodily fluid , e.g. , blood or serum . A
     when preceding a series, refers to each member of the series, 55 sample can also be a tumor sample , which can be obtained
     unless otherwise identified .                                           from a subject by various approaches, including , but not
        The term " about" and its grammatical equivalents in limited to , venipuncture, excretion, ejaculation, massage ,
     relation to a reference numerical value can include a range biopsy, needle aspirate, lavage , scraping, surgical incision,
     of values up to plus or minus 10% from that value . For or intervention or other approaches.
     example , the amount “ about 10 ” can include amounts from 60 A sample can comprise various amount of nucleic acid
     9 to 11. In other embodiments, the term “ about” in relation that contains genome equivalents. For example , a sample of
     to a reference numerical value can include a range of values about 30 ng DNA can contain about 10,000 ( 104 ) haploid
     plus or minus 10 % , 9 % , 8 % , 7 % , 6 % , 5 % , 4 % , 3 % , 2 % , or human genome equivalents and, in the case of cfDNA , about
     1 % from that value .                                                   200 billion (2x101 ) individual polynucleotide molecules .
        The term “ at least ” and its grammatical equivalents in 65 Similarly, a sample of about 100 ng of DNA can contain
     relation to a reference numerical value can include the                  about 30,000 haploid human genome equivalents and , in the
     reference numerical value and greater than that value . For              case of cfDNA , about 600 billion individual molecules .
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        A sample can comprise nucleic acids from different Efficiency can also be optimized by varying the addition
     sources . For example, a sample can comprise germline DNA           order of various components of the reaction . The end of tag
     or somatic DNA . A sample can comprise nucleic acids sequence can comprise dinucleotide to increase ligation
     carrying mutations. For example, a sample can comprise efficiency . When the tag comprises a non -complementary
     DNA carrying germline mutations and / orsomatic mutations. 5 portion ( e.g. , Y - shaped adaptor ), the sequence on the
     A sample can also comprise DNA carrying cancer-associ- complementary portion of the tag adaptor can comprise one
     ated mutations (e.g. , cancer - associated somatic mutations). or more selected sequences that promote ligation efficiency.
        B. Tagging                                                       Preferably such sequences are located at the terminal end of
        Polynucleotides disclosed herein can be tagged . For the tag . Such sequences can comprise 1 , 2 , 3 , 4 , 5 , or 6
     example , in step ( 104 ) (FIG . 1 ) the double - stranded poly- 10 terminal bases . Reaction solution with high viscosity (e.g. , a
     nucleotides are tagged with duplex tags , tags that differently low Reynolds number ) can also be used to increase ligation
     label the complementary strands ( i.e. , the “ Watson” and efficiency. For example, solution can have a Reynolds num
     “ Crick ” strands ) of a double - stranded molecule . In one               ber less than 3000 , less than 2000 , less than 1000 , less than
     embodiment the duplex tags are polynucleotides having                      900 , less than 800 , less than 700 , less than 600 , less than
     complementary and non -complementary portions.                          15 500 , less than 400 , less than 300 , less than 200 , less than
        Tags can be any types of molecules attached to a poly- 100 , less than 50 , less than 25 , or less than 10. It is also
     nucleotide , including , but not limited to , nucleic acids , contemplated that roughly unified distribution of fragments
     chemical compounds, fluorescent probes , or radioactive (e.g. , tight standard deviation ) can be used to increase
     probes. Tags can also be oligonucleotides (e.g. , DNA or ligation efficiency. For example, the variation in fragment
     RNA ). Tags can comprise known sequences , unknown 20 sizes can vary by less than 20% , less than 15 % , less than
     sequences , or both . A tag can comprise random sequences , 10% , less than 5 % , or less than 1 % . Tagging can also
     pre -determined sequences, or both . A tag can be double- comprise primer extension , for example , by polymerase
     stranded or single -stranded . A double - stranded tag can be a chain reaction ( PCR) . Tagging can also comprise any of
     duplex tag . A double - stranded tag can comprise two comple- ligation- based PCR , multiplex PCR , single strand ligation ,
     mentary strands . Alternatively, a double - stranded tag can 25 or single strand circularization .
     comprise a hybridized portion and a non -hybridized portion .     In some instances , the tags herein comprise molecular
     The double - stranded tag can be Y -shaped, e.g. , the hybrid-             barcodes . Such molecular barcodes can be used to differen
     ized portion is at one end of the tag and the non -hybridized tiate polynucleotides in a sample. Preferably molecular
     portion is at the opposite end of the tag . One such example barcodes are different from one another. For example,
     are the “ Y adapters ” used in Illumina sequencing. Other 30 molecular barcodes can have a difference between them that
     examples include hairpin shaped adapters or bubble shaped can be characterized by a predetermined edit distance or a
     adapters. Bubble shaped adapters have non -complementary Hamming distance . In some instances, the molecular bar
     sequences flanked on both sides by complementary codes herein have a minimum edit distance of 1 , 2 , 3 , 4 , 5 ,
     sequences.                                                                6 , 7 , 8 , 9 , or 10. To further improve efficiency of conversion
        Tagging disclosed herein can be performed using any 35 (e.g. , tagging ) of untagged molecular to tagged molecules ,
     method . A polynucleotide can be tagged with an adaptor by one preferably utilizes short tags . For example, in some
     hybridization. For example, the adaptor can have a nucleo- embodiments, a library adapter tag can be up to 65 , 60 , 55 ,
     tide sequence that is complementary to at least a portion of 50 , 45 , 40 , or 35 nucleotide bases in length . A collection of
     a sequence of the polynucleotide. As an alternative, a such short library barcodes preferably includes a number of
     polynucleotide can be tagged with an adaptor by ligation . 40 different molecular barcodes , e.g. , at least 2 , 4 , 6 , 8 , 10 , 12 ,
        For example, tagging can comprise using one or more 14 , 16 , 18 or 20 different barcodes with a minimum edit
     enzymes . The enzyme can be a ligase . The ligase can be a distance of 1 , 2 , 3 or more.
     DNA ligase . For example, the DNA ligase can be a T4 DNA                      Thus, a collection of molecules can include one or more
     ligase , E. coli DNA ligase , and / or mammalian ligase . The tags . In some instances, some molecules in a collection can
     mammalian ligase can be DNA ligase I , DNA ligase III , or 45 include an identifying tag ( “ identifier” ) such as a molecular
     DNA ligase IV . The ligase can also be a thermostable ligase . barcode that is not shared by any other molecule in the
     Tags can be ligated to a blunt - end of a polynucleotide collection . For example, in some instances of a collection of
     ( blunt - end ligation) . Alternatively, tags can be ligated to a molecules , at least 50 % , at least 51 % , at least 52 % , at least
     sticky end of a polynucleotide ( sticky - end ligation ). Effi- 53 % , at least 54 % , at least 55 % , at least 56 % , at least 57 % ,
     ciency of ligation can be increased by optimizing various 50 at least 58 % , at least 59 % , at least 60 % , at least 61 % , at least
     conditions . Efficiency of ligation can be increased by opti- 62 % , at least 63 % , at least 64 % , at least 65 % , at least 66 % ,
     mizing the reaction time of ligation. For example, the at least 67 % , at least 68 % , at least 69 % , at least 70% , at least
     reaction time of ligation can be less than 12 hours, e.g. , less 71 % , at least 72 % , at least 73 % , at least 74 % , at least 75 % ,
     than 1 , less than 2 , less than 3 , less than 4 , less than 5 , less at least 76 % , at least 77 % , at least 78 % , at least 79 % , at least
     than 6 , less than 7 , less than 8 , less than 9 , less than 10 , less 55 80% , at least 81 % , at least 82 % , at least 83 % , at least 84 % ,
     than 11 , less than 12 , less than 13 , less than 14 , less than 15 ,      at least 85 % , at least 86 % , at least 87 % , at least 88 % , at least
     less than 16 , less than 17 , less than 18 , less than 19 , or less        89 % , at least 90% , at least 91 % , at least 92 % , at least 93 % ,
     than 20 hours. In a particular example, reaction time of                   at least 94 % , at least 95 % , at least 96 % , at least 97 % , at least
     ligation is less than 20 hours . Efficiency of ligation can be             98 % , at least 99 % , or 100 % of the molecules in the collec
     increased by optimizing the ligase concentration in the 60 tion can include an identifier or molecular barcode that is not
     reaction . For example, the ligase concentration can be at shared by any other molecule in the collection . As used
     least 10 , at least 50 , at least 100 , at least 150 , at least 200 , herein , a collection of molecules is considered to be
     at least 250 , at least 300 , at least 400 , at least 500 , or at least “ uniquely tagged ” if each of at least 95 % of the molecules
     600 unit/microliter. Efficiency can also be optimized by in the collection bears an identifier that is not shared by any
     adding or varying the concentration of an enzyme suitable 65 other molecule in the collection (“ unique tag ” or “ unique
     for ligation, enzyme cofactors or other additives , and / or identifier " ). A collection of molecules is considered to be
     optimizing a temperature of a solution having the enzyme. " non -uniquely tagged ” if each of at least 1 % , at least 5 % , at
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                                     19                                                                       20
     least 10% , at least 15 % , at least 20% , at least 25 % , at least      cancer, cutaneous T - cell lymphoma, ductal carcinoma in
     30 % , at least 35 % , at least 40 % , at least 45 % , or at least or    situ , endometrial cancer , esophageal cancer, Ewing Sar
     about 50 % of the molecules in the collection bears an                   coma , eye cancer, intraocular melanoma, retinoblastoma ,
     identifying tag or molecular barcode that is shared by at least fibrous histiocytoma , gallbladder cancer, gastric cancer,
     one other molecule in the collection ( “ non -unique tag ” or 5 glioma , hairy cell leukemia, head and neck cancer, heart
     “ non -unique identifier” ). Accordingly, in a non -uniquely cancer, hepatocellular (liver) cancer, Hodgkin lymphoma,
     tagged population no more than 1 % of the molecules are hypopharyngeal cancer, kidney cancer, laryngeal cancer , lip
     uniquely tagged . For example, in a non -uniquely tagged cancer, oral cavity cancer, lung cancer, non - small cell car
     population , no more than 1 % , 5 % , 10 % , 15 % , 20% , 25 % , cinoma , small cell carcinoma, melanoma, mouth cancer,
     30 % , 35 % , 40 % , 45 % , or 50 % of the molecules can be 10 myelodysplastic syndromes, multiple myeloma, medullo
     uniquely tagged .                                                      blastoma , nasal cavity cancer , paranasal sinus cancer, neu
        A number of different tags can be used based on the roblastoma, nasopharyngeal cancer , oral cancer, oropharyn
     estimated number of molecules in a sample. In some tagging geal cancer, osteosarcoma, ovarian cancer, pancreatic
     methods, the number of different tags can be at least the cancer, papillomatosis, paraganglioma, parathyroid cancer,
     same as the estimated number ofmolecules in the sample. In 15 penile cancer, pharyngeal cancer, pituitary tumor, plasma
     other tagging methods, the number of different tags can be cell neoplasm , prostate cancer, rectal cancer , renal cell
     at least two , three, four, five, six , seven , eight, nine, ten , one cancer, rhabdomyosarcoma, salivary gland cancer, Sezary
     hundred or one thousand times as many as the estimated syndrome, skin cancer, nonmelanoma, small intestine can
     number of molecules in the sample . In unique tagging , at cer, soft tissue sarcoma, squamous cell carcinoma, testicular
     least two times (or more ) as many different tags can be used 20 cancer , throat cancer, thymoma, thyroid cancer , urethral
     as the estimated number of molecules in the sample .                   cancer, uterine cancer, uterine sarcoma, vaginal cancer,
        The molecules in the sample may be non -uniquely tagged . vulvar cancer, Waldenstrom macroglobulinemia, and / or
     In such instances a fewer number of tags or molecular Wilms Tumor.
     barcodes is used then the number of molecules in the sample              A haploid human genome equivalent has about 3 pico
     to be tagged . For example, no more than 100 , 50 , 40 , 30 , 20 25 grams of DNA . A sample of about 1 microgram of DNA
     or 10 unique tags or molecular barcodes are used to tag a contains about 300,000 haploid human genome equivalents .
     complex sample such as a cell free DNA sample with many Improvements in sequencing can be achieved as long as at
     more different fragments.                                       least some of the duplicate or cognate polynucleotides bear
       The polynucleotide to be tagged can be fragmented, such unique identifiers with respect to each other, that is , bear
     as either naturally or using other approaches, such as , for 30 different tags . However, in certain embodiments, the number
     example, shearing. The polynucleotides can be fragmented of tags used is selected so that there is at least a 95 % chance
     by certain methods, including but not limited to , mechanical that all duplicate molecules starting at any one position bear
     shearing, passing the sample through a syringe , sonication , unique identifiers . For example , in a sample comprising
     heat treatment (e.g. , for 30 minutes at 90 ° C. ) , and / or about 10,000 haploid human genome equivalents of frag
     nuclease treatment (e.g. , using DNase , RNase , endonu- 35 mented genomic DNA , e.g. , cfDNA , z is expected to be
     clease , exonuclease , and / or restriction enzyme ).           between 2 and 8. Such a population can be tagged with
        The polynucleotides fragments ( prior to tagging ) can between about 10 and 100 different identifiers , for example,
     comprise sequences of any length . For example, polynucle- about 2 identifiers, about 4 identifiers, about 9 identifiers ,
     otide fragments (prior to tagging ) can comprise at least 50 , about 16 identifiers, about 25 identifiers, about 36 different
     55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 , 105 , 110 , 115 , 120 , 40 identifiers, about 49 different identifiers, about 64 different
     125 , 130 , 135 , 140 , 145 , 150 , 155 , 160 , 165 , 170 , 175 , 180 , identifiers, about 81 different identifiers , or about 100 dif
     185 , 190 , 195 , 200 , 205 , 210 , 215 , 220 , 225 , 230 , 235 , 240 , ferent identifiers.
     245 , 250 , 255 , 260 , 265 , 270 , 275 , 280 , 285 , 290 , 295 , 300 ,          Nucleic acid barcodes having identifiable sequences
     400 , 500 , 600 , 700 , 800 , 900 , 1000 , 1100 , 1200 , 1300 , 1400 , including molecular barcodes, can be used for tagging . For
     1500 , 1600 , 1700 , 1800 , 1900 , 2000 or more nucleotides in 45 example, a plurality of DNA barcodes can comprise various
     length . The polynucleotide fragment are preferably about numbers of sequences of nucleotides. A plurality of DNA
     the average length of cell- free DNA . For example, the barcodes having 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 ,
     polynucleotide fragments can comprise about 160 bases in 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 or
     length . The polynucleotide fragment can also be fragmented more identifiable sequences of nucleotides can be used .
     from a larger fragment into smaller fragments about 160 50 When attached to only one end of a polynucleotide, the
     bases in length .                                           plurality of DNA barcodes can produce 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 ,
        Polynucleotides tagged can comprise sequences associ- 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 ,
     ated with cancer . The cancer -associated sequences can com- 26 , 27 , 28 , 29 , 30 or more different identifiers. Alternatively,
     prise single nucleotide variation ( SNV ), copy number varia- when attached to both ends of a polynucleotide, the plurality
     tion (CNV ), insertions, deletions, and / or rearrangements. 55 DNA barcodes can produce 4 , 9 , 16 , 25 , 36 , 49 , 64 , 81 , 100 ,
        The polynucleotides can comprise sequences associated 121 , 144 , 169 , 196 , 225 , 256 , 289 , 324 , 361 , 400 or more
     with cancer , such as acute lymphoblastic leukemia (ALL ) , different identifiers (which is the “ 2 of when the DNA
     acute myeloid leukemia ( AML ), adrenocortical carcinoma, barcode is attached to only 1 end of a polynucleotide ). In one
     Kaposi Sarcoma, anal cancer, basal cell carcinoma, bile duct example, a plurality of DNA barcodes having 6 , 7 , 8 , 9 or 10
     cancer, bladder cancer, bone cancer, osteosarcoma, malig- 60 identifiable sequences of nucleotides can be used . When
     nant fibrous histiocytoma , brain stem glioma , brain cancer, attached to both ends of a polynucleotide, they produce 36 ,
     craniopharyngioma, ependymoblastoma, ependymoma, 49 , 64 , 81 or 100 possible different identifiers, respectively .
     medulloblastoma, medulloeptithelioma, pineal parenchymal In a particular example, the plurality of DNA barcodes can
     tumor, breast cancer, bronchial tumor, Burkitt lymphoma, comprise 8 identifiable sequences of nucleotides. When
     Non -Hodgkin lymphoma, carcinoid tumor, cervical cancer, 65 attached to only one end of a polynucleotide, the plurality of
     chordoma, chronic lymphocytic leukemia (CLL ) , chronic DNA barcodes can produce 8 different identifiers. Alterna
     myelogenous leukemia (CML ) , colon cancer, colorectal tively, when attached to both ends of a polynucleotide, the
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     plurality of DNA barcodes can produce 64 different identi-       can be attached to the polynucleotide by ligation using an
     fiers. Samples tagged in such a way can be those with a          enzyme. The barcode identifier can also be incorporated into
     range of about 10 ng to any of about 100 ng , about 1 ug ,       the polynucleotide through PCR . In other cases , the reaction
     about 10 ug of fragmented polynucleotides, e.g. , genomic        may comprise addition of a metal isotope , either directly to
     DNA, e.g., cfDNA .                                            5 the analyte or by a probe labeled with the isotope . Generally ,
       A polynucleotide can be uniquely identified in various assignment of unique or non -unique identifiers or molecular
     ways . A polynucleotide can be uniquely identified by a barcodes in reactions of this disclosure may follow methods
     unique DNA barcode. For example, any two polynucleotides and systems described by, for example, U.S. patent appli
     in a sample are attached two different DNA barcodes . cations 2001/0053519 , 2003/0152490 , 2011/0160078 and
     Alternatively, a polynucleotide can be uniquely identified by 10 U.S. Pat. No. 6,582,908 , each of which is entirely incorpo
     the combination of a DNA barcode and one or more endog- rated herein by reference .
     enous sequences of the polynucleotide. For example, any             Identifiers or molecular barcodes used herein may be
     two polynucleotides in a sample can be attached the same completely endogenous whereby circular ligation of indi
     DNA barcode, but the two polynucleotides can still be vidual fragments may be performed followed by random
     identified by different endogenous sequences. The endog- 15 shearing or targeted amplification. In this case, the combi
     enous sequence can be on an end of a polynucleotide. For nation of a new start and stop point of the molecule and the
     example, the endogenous sequence can be adjacent ( e.g. , original intramolecular ligation point can form a specific
     base in between ) to the attached DNA barcode . In some                 identifier.
     instances the endogenous sequence can be at least 2 , 4 , 6 , 8 ,          Identifiers or molecular barcodes used herein can com
     10 , 20 , 30 , 40 , 50 , 60 , 70 , 80 , 90 , or 100 bases in length. 20 prise any types of oligonucleotides. In some cases , identi
     Preferably, the endogenous sequence is a terminal sequence fiers may be predetermined, random , or semi- random
     of the fragment/polynucleotides to be analyzed . The endog- sequence oligonucleotides. Identifiers can be barcodes. For
     enous sequence may be the length of the sequence . For example, a plurality of barcodes ma be used such that
     example, a plurality of DNA barcodes comprising 8 different barcodes are not necessarily unique to one another in the
     DNA barcodes can be attached to both ends of each poly- 25 plurality. Alternatively, a plurality of barcodes may be used
     nucleotide in a sample. Each polynucleotide in the sample such that each barcode is unique to any other barcode in the
     can be identified by the combination of the DNA barcodes plurality. The barcodes can comprise specific sequences
     and about 10 base pair endogenous sequence on an end of (e.g. , predetermined sequences ) that can be individually
     the polynucleotide. Without being bound by theory, the tracked . Further, barcodes may be attached ( e.g. , by ligation )
     endogenous sequence of a polynucleotide can also be the 30 to individual molecules such that the combination of the
     entire polynucleotide sequence .                                        barcode and the sequence it may be ligated to creates a
        Also disclosed herein are compositions of tagged poly-                         specific sequence that may be individually tracked . As
     nucleotides . The tagged polynucleotide can be single- described herein , detection of barcodes in combination with
     stranded . Alternatively , the tagged polynucleotide can be sequence data of beginning ( start) and / or end ( stop ) portions
     double - stranded ( e.g. , duplex -tagged polynucleotides ). 35 of sequence reads can allow assignment of a unique identity
     Accordingly, this invention also provides compositions of to a particular molecule . The length or number of base pairs
     duplex -tagged polynucleotides. The polynucleotides can of an individual sequence read may also be used to assign a
     comprise any types of nucleic acids ( DNA and / or RNA ). unique identity to such a molecule . As described herein ,
     The polynucleotides comprise any types of DNA disclosed                           fragments from a single strand of nucleic acid having been
     herein. For example , the polynucleotides can comprise 40 assigned a unique identity, may thereby permit subsequent
     DNA , e.g. , fragmented DNA or cfDNA . A set of polynucle- identification of fragments from the parent strand . In this
     otides in the composition that map to a mappable base way the polynucleotides in the sample can be uniquely or
     position in a genome can be non -uniquely tagged, that is , the substantially uniquely tagged . A duplex tag can include a
     number of different identifiers can be at least 2 and fewer degenerate or semi-degenerate nucleotide sequence , e.g. , a
     than the number of polynucleotides that map to the map- 45 random degenerate sequence. The nucleotide sequence can
     pable base position . The number of different identifiers can comprise any number of nucleotides . For example, the
     also be at least 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 ,   nucleotide sequence can comprise 1 ( if using a non - natural
     17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 and fewer than the number
                                                                      nucleotide ), 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 ,
     of polynucleotides that map to the mappable base position .      17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 ,
        In some instances, as a composition goes from about 1 ng 50 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 ,
     to about 10 ug or higher, a larger set of different molecular 49 , 50 or more nucleotides. In a particular example , the
     barcodes can be used . For example, between 5 and 100 sequence can comprise 7 nucleotides . In another example,
     different library adaptors can be used to tag polynucleotides the sequence can comprise 8 nucleotides. The sequence can
     in a cfDNA sample.                                               also comprise 9 nucleotides . The sequence can comprise 10
        The systems and methods disclosed herein may be used in 55 nucleotides.
     applications that involve the assignment of molecular bar-         A barcode can comprise contiguous or non -contiguous
     codes . The molecular barcodes can be assigned to any types sequences. A barcode that comprises at least 1 , 2 , 3 , 4 , 5 or
     of polynucleotides disclosed in this invention . For example, more nucleotides is a contiguous sequence or non -contigu
     the molecular barcodes can be assigned to cell - free poly- ous sequence . if the 4 nucleotides are uninterrupted by any
     nucleotides ( e.g. , cfDNAs). Often , an identifier disclosed 60 other nucleotide . For example, if a barcode comprises the
     herein can be a barcode oligonucleotide that is used to tag sequence TTGC , a barcode is contiguous if the barcode is
     the polynucleotide. The barcode identifier may be a nucleic TTGC . On the other hand, a barcode is non - contiguous if the
     acid oligonucleotide ( e.g. , a DNA oligonucleotide ). The barcode is TTXGC , where X is a nucleic acid base .
     barcode identifier can be single - stranded . Alternatively, the An identifier or molecular barcode can have an n -mer
     barcode identifier can be double - stranded . The barcode 65 sequence which may be 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 ,
     identifier can be attached to polynucleotides using any 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 ,
     method disclosed herein . For example, the barcode identifier 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 ,
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     46 , 47 , 48 , 49 , 50 or more nucleotides in length . A tag herein   The location of the different barcode sequences can vary
     can comprise any range of nucleotides in length . For within the plurality of polynucleotides. For example, the
     example , the sequence can be between 2 to 100 , 10 to 90 , 20 different barcode sequences can be within 20 , 15 , 10 , 9 , 8 ,
     to 80 , 30 to 70 , 40 to 60 , or about 50 nucleotides in length . 7 , 6 , 5 , 4 , 3 , or 2 nucleic acid bases from a terminal end of
        The tag can comprise a double - stranded fixed reference 5 a respective one of the plurality of polynucleotide mol
     sequence downstream of the identifier or molecular barcode . ecules . In an example , a plurality of polynucleotide mol
     Alternatively, the tag can comprise a double -stranded fixed ecules has distinct barcode sequences that are within 10
     reference sequence upstream or downstream of the identifier                        nucleic acid bases from the terminal end . In another
     or molecular barcode. Each strand of a double - stranded fixed                     example , a plurality of polynucleotide molecules has distinct
     reference sequence can be , for example , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 barcode sequences that are within 5 or 1 nucleic acid bases
     10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , from the terminal end . In other instances , the distinct bar
     26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , code sequences can be at the terminal end of a respective one
     42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 nucleotides in length .              of the plurality of polynucleotide molecules . Other varia
        C. Adaptors                                                                  tions include that the distinct molecular barcode sequences
        A library of polynucleotidemolecules can be synthesized 15 can be within 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10, 11 , 12 , 13 , 14 , 15 , 16 ,
     for use in sequencing. For example , a library of polynucle- 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 ,
     otides comprising a plurality of polynucleotide molecules 33 , 34 , 35 , 36 , 37 , 38 , 39 , or 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 ,
     that are each less than or equal to 100 , 90 , 80 , 70 , 60 , 50 , 45 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 , 61 , 62 , 63 ,
     40 , or 35 nucleic acid (or nucleotide ) bases in length can be 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 , 77 , 78 , 79 ,
     made . A plurality of polynucleotide molecules can be each 20 80 , 81 , 82 , 83 , 84 , 85, 86 , 87 , 88 , 89 , 90 , 91 , 92 , 93 , 94, 95 ,
     less than or equal to 35 nucleic acid bases in length . A 96 , 97 , 98 , 99 , 100 , 101 , 102 , 103 , 104 , 105 , 106 , 107 , 108 ,
     plurality of polynucleotide molecules can be each less than 109 , 110 , 111 , 112 , 113 , 114 , 115 , 116 , 117 , 118 , 119 , 120 ,
     or equal to 30 nucleic acid bases in length. A plurality of 121 , 122 , 123 , 124 , 125 , 126 , 127 , 128 , 129 , 130 , 131 , 132 ,
     polynucleotide molecules can also be less than or equal to 133 , 134 , 135 , 136 , 137 , 138 , 139 , 140 , 141 , 142 , 143 , 144 ,
     250 , 200 , 150 , 100 , or 50 nucleic acid bases . Additionally, 25 145 , 146 , 147 , 148 , 149 , 150 , 151 , 152 , 153 , 154 , 155 , 156 ,
     the plurality of polynucleotide molecules can also be less 157 , 158 , 159 , 160 , 161 , 162 , 163 , 164 , 165 , 166 , 167 , 168 ,
     than or equal to 100 , 99 , 98 , 97 , 96 , 95 , 94 , 93 , 92 , 91 , 90 , 169 , 170 , 171 , 172 , 173 , 174 , 175 , 176 , 177 , 178 , 179 , 180 ,
     89 , 88 , 87 , 86 , 85 , 84 , 83 , 82 , 81 , 80 , 79 , 78 , 77 , 76 , 75 , 74 ,    181 , 182 , 183 , 184 , 185 , 186 , 187 , 188 , 189 , 190 , 191 , 192 ,
     73 , 72 , 71 , 70 , 69 , 68 , 67 , 66 , 65 , 64 , 63 , 62 , 61 , 60 , 59 , 58 , 193 , 194 , 195 , 196 , 197 , 198 , 199 , 200 , or more nucleic acid
     57 , 56 , 55 , 54 , 53 , 52 , 51 , 50 , 49 , 48 , 47 , 46 , 45 , 44 , 43 , 42 , 30 bases from a terminal end of a respective one of the plurality
     41 , 40 , 39 , 38 , 37 , 36 , 35 , 34 , 33 , 32 , 31 , 30 , 29 , 28 , 27 , 26 , of polynucleotide molecules .
     25 , 24 , 23 , 22 , 21 , 20 , 19 , 18 , 17 , 16 , 15 , 14 , 13 , 12 , 11 , or        The terminal end of the plurality of polynucleotide mol
     10 nucleic acid bases .                                                            ecules can be adapted for ligation to a target nucleic acid
        A library of polynucleotides comprising a plurality of molecule . For example, the terminal end can be a blunt end .
     polynucleotide molecules can also have distinct (with 35 In some other cases , the terminal end is adapted for hybrid
     respect to each other) molecular barcode sequences (or ization to a complementary sequence of a target nucleic acid
     molecular barcodes) with respect to at least 4 nucleic acid molecule .
     bases . A molecular barcode (also “ barcode” or “ identifier"                        A library of polynucleotides comprising a plurality of
     herein ) sequence is a nucleotide sequence that distinguishes polynucleotide molecules can also have an edit distance of
     one polynucleotide from another. In other embodiments, the 40 at least 1. In some cases , the edit distance is with respect to
     polynucleotide molecules can also have different barcode individual bases of the plurality of polynucleotide mol
     sequences with respect to 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , ecules . In other cases , the plurality of polynucleotide mol
     14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , ecules can have an edit distance of at least 1 , 2 , 3 , 4 , 5 , 6 ,
     30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 ,
     46 , 47 , 48 , 49 , 50 or more nucleic acid bases .                            45 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 ,
       A library of polynucleotides comprising a plurality of 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 or more . The edit
     polynucleotide molecules can also have a plurality of dif- distance can be a Hamming distance .
     ferent barcode sequences. For example, a plurality of poly-                          In some cases , the plurality of polynucleotides does not
     nucleotide molecules can have at least 4 different molecular contain sequencing adaptors. A sequence adaptor can be a
     barcode sequences. In some cases , the plurality of poly- 50 polynucleotide that comprises a sequence that hybridizes to
     nucleotide molecules has from 2-100 , 4-50 , 4-30 , 4-20 , or one or more sequencing adaptors or primers . A sequencing
     4-10 different molecular barcode sequences . The plurality of adaptor can further comprise a sequence hybridizing to a
     polynucleotides molecules can also have other ranges of solid support, e.g. , a flow cell sequence . The term “ flow cell
     different barcode sequences such as , 1-4 , 2-5 , 3-6 , 4-7 , 5-8 , sequence ” and its grammatical equivalents as used herein ,
     6-9 , 7-10 , 8-11 , 9-12 , 10-13 , 11-14 , 12-15 , 13-16 , 14-17 , 55 refers to a sequence that permits hybridization to a substrate,
     15-18 , 16-19 , 17-20 , 18-21 , 19-22 , 20-23 , 21-24 , or 22-25 for example, by way of a primer attached to the substrate .
     different barcode sequences. In other cases , a plurality of The substrate can be bead or a planar surface. In some
     polynucleotide molecules can have at least 2 , 3 , 4 , 5 , 6 , 7 , 8 , embodiments, a flow cell sequence can allow a polynucle
     9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , otide to attach to a flow cell or surface (e.g. , surface of a
     25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 60 bead , for example, an Illumina flow cell .
     41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 ,
                                                                     When a plurality of polynucleotide molecules does not
     57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 ,
                                                                   contain sequencing adaptors or primers, each polynucleotide
     73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 ,
                                                                   molecule of the plurality does not contain a nucleic acid
     89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , or 100 more
                                                                   sequence or other moiety that is adapted to permit sequenc
     different barcode sequences. In a particular example , the 65 ing of a target nucleic acid molecule with a given sequencing
     plurality library adapters comprise at least 8 different approach, such as Illumina , SOLID , Pacific Biosciences ,
     sequences.                                                    GeneReader, Oxford Nanopore, Complete Genomics, Gnu
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     Bio , Ion Torrent, Oxford Nanopore or Genia . In some                              polynucleotide molecules can have distinct barcode
     examples, when a plurality of polynucleotide molecules sequences that are within 10 nucleic acid bases from the
     does not contain sequencing adaptors or primers , the plu- terminal end .
     rality of polynucleotide molecules does not contain flow cell    In another aspect, a plurality of polynucleotide molecules
     sequences . For example , the plurality of polynucleotide 5 can be sequencing adaptors. A sequencing adaptor can
     molecules cannot bind to flow cells , such as used in Illumina comprise a sequence hybridizing to one or more sequencing
     flow cell sequencers. However, these flow cell sequences, if         primers. A sequencing adaptor can further comprise a
     desired , can be added to the plurality of polynucleotide            sequence hybridizing to a solid support, e.g. , a flow cell
     molecules by methods such as PCR amplification or liga-              sequence . For example, a sequencing adaptor can be a flow
     tion . At this point, Illumina flow cell sequencers can be used . 10 cell adaptor. The sequencing adaptors can be attached to one
     Alternatively, when the plurality of polynucleotide mol- or both ends of a polynucleotide fragment. In another
     ecules does not contain sequencing adaptors or primers , the example , a sequencing adaptor can be hairpin shaped . For
     plurality of polynucleotide molecules does not contain hair- example , the hairpin shaped adaptor can comprise a comple
     pin shaped adaptors or adaptors for generating hairpin loops mentary double - stranded portion and a loop portion, where
     in a target nucleic acid molecule , such as Pacific Bioscience 15 the double - stranded portion can be attached (e.g. , ligated) to
     SMRTbellTM adaptors. However, these hairpin shaped adap- a double - stranded polynucleotide. Hairpin shaped sequenc
     tors , if desired , can be added to the plurality of polynucle- ing adaptors can be attached to both ends of a polynucleotide
     otide molecules by methods such as PCR amplification or fragment to generate a circular molecule , which can be
     ligation. The plurality of polynucleotide molecules can be sequenced multiple times . A sequencing adaptor can be up
     circular or linear .                                                           20 to 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 ,
       A plurality of polynucleotide molecules can be double                           25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 ,
     stranded . In some cases , the plurality of polynucleotide                         41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 ,
     molecules can be single stranded, or can comprise hybrid-                          57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 ,
     ized and non - hybridized regions. A plurality of polynucle-                       73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 ,
     otide molecules can be non -naturally occurring polynucle- 25 89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 , or more bases
     otide molecules .                                                   from end to end . For example, a sequencing adaptor can be
         Adaptors can be polynucleotide molecules . The poly- up to 70 bases from end to end . The sequencing adaptor can
     nucleotide molecules can be Y - shaped, bubble - shaped or comprise 20-30 , 20-40 , 30-50 , 30-60 , 40-60 , 40-70 , 50-60 ,
     hairpin - shaped. A hairpin adaptor may contain a restriction 50-70 , bases from end to end . In a particular example, the
     site ( s ) or a Uracil containing base . Adaptors can comprise a 30 sequencing adaptor can comprise 20-30 bases from end to
     complementary portion and a non - complementary portion . end . In another example, the sequencing adaptor can com
     The non -complementary portion can have an edit distance prise 50-60 bases from end to end . A sequencing adaptor can
     ( e.g. , Hamming distance ). For example , the edit distance can comprise one or more barcodes . For example, a sequencing
     be at least 1 , at least 2 , at least 3 , at least 4 , at least 5 , at least       adaptor can comprise a sample barcode . The sample barcode
     6 , at least 7 , at least 8 , at least 9 , at least 10 , at least 11 , at 35 can comprise a pre -determined sequence. The sample bar
     least 12 , at least 13 , at least 14 , at least 15 , at least 16 , at least        codes can be used to identify the source of the polynucle
     17 , at least 18 , at least 19 , at least 20 , at least 21 , at least 22 ,         otides . The sample barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 , 7 ,
     at least 23 , at least 24 , at least 25 , at least 26 , at least 27 , at           8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 ,
     least 28 , at least 29 , or at least 30. The complementary                         25 , or more (or any length as described throughout) nucleic
     portion of the adaptor can comprise sequences that are 40 acid bases , e.g. , at least 8 bases . The barcode can be
     selected to enable and / or promote ligation to a polynucle- contiguous or non -contiguous sequences, as described
     otide, e.g. , a sequence to enable and / or promote ligation to above .
     a polynucleotide at a high yield .                                 The plurality of polynucleotide molecules as described
        A plurality of polynucleotide molecules as disclosed herein can be used as adaptors . Adaptors can comprise one
     herein can be purified . In some cases , a plurality of poly- 45 or more identifiers. An adaptor can comprise an identifier
     nucleotide molecules as disclosed herein can be isolated with a random sequence . Alternatively, an adaptor can
     polynucleotide molecules . In other cases , a plurality of comprise an identifier with pre -determined sequences. Some
     polynucleotide molecules as disclosed herein can be purified adaptors can comprise an identifier with a random sequence
     and isolated polynucleotide molecules .                           and another identifier with a pre -determined sequence . The
       In certain aspects , each of the plurality of polynucleotide 50 adaptors comprising identifiers can be double - stranded or
     molecules is Y -shaped or hairpin - shaped. Each of the plu- single -stranded adaptors. The adaptors comprising identifi
     rality of polynucleotide molecules can comprise a different ers can be Y - shaped adaptors . A Y - shaped adaptor can
     barcode . The different barcode can be a randomer in the                          comprise one or more identifiers with a random sequence .
     complementary portion ( e.g. , double stranded portion of the The one or more identifiers can be on the hybrid portion
     Y -shaped or hairpin - shaped adaptor. Alternatively, the dif- 55 and /or non -hybridized portion of the Y - shaped adaptor. A
     ferent barcode can be in one strand of the non -complemen- Y -shaped adaptor can comprise one or more identifiers with
     tary portion (e.g. , one of the Y -shaped arms). As discussed a pre -determined sequence . The one or more identifiers with
     above , the different barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 , pre -determined sequence can be on the hybridized portion
     7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , and / or non -hybridized portion of the Y - shaped adaptor. A
     24 , 25 , or more ( or any length as described throughout) 60 Y - shaped adaptor can comprise one or more identifiers with
     nucleic acid bases , e.g. , 7 bases . The barcode can be con- a random sequence and one or more identifiers with a
     tiguous or non - contiguous sequences , as described above. pre -determined sequence. For example, the one or more
     The plurality of polynucleotide molecules is from 10 nucleic identifiers with a random sequence can be on the hybridized
     acid bases to 35 nucleic acid bases (or any length as portion of the Y -shaped adaptor and / or the non -hybridized
     described above ) in length . Further, the plurality of poly- 65 portion of the Y - shaped adaptor. The one or more identifiers
     nucleotide molecules can comprise an edit distance (as with a pre -determined sequence can be on the hybridized
     described above ), that is a Hamming distance . A plurality of portion of the Y - shaped adaptor and / or the non -hybridized
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                                     27                                                                        28
     portion of the Y -shaped adaptor. In a particular example , a a binding interaction between the ends of the library adap
     Y -shaped adaptor can comprise an identifier with a random tors and the target polynucleotides .
     sequence on its hybridized portion and an identifier with a            In some cases , none of the library adaptors contains a
     pre -determined sequence on its non -hybridized portion . The sample identification motif (or sample molecular barcode ).
     identifiers can be in any length disclosed herein . For 5 Such sample identification motif can be provided via
     example , a Y - shaped adaptor can comprise an identifier with sequencing adaptors . A sample identification motif can
     a random sequence of 7 nucleotides on its hybridized portion 40      include a sequencer of at least 4 , 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , or
     and an identifier with a pre - determined sequence of 8 nucleotide      nucleotide bases that permits the identification of poly
     nucleotides on its non -hybridized portion .                                    molecules from a given sample from polynucle
        An adaptor can include a double - stranded portion with a 10 permit
                                                                          otide molecules from other samples . For example, this can
                                                                                  polynucleotide molecules from two subjects to be
     molecular barcode and at least one or two single - stranded sequenced            in the same pool and sequence reads for the
     portion . For example , the adaptor can be Y -shaped and subjects subsequently              identified .
     include a double -stranded portion and two single - stranded
     portions. The single - stranded portions can include 15 needed to couple a libraryincludes
                                                                            A   sequencer   motif                nucleotide sequence (s )
                                                                                                       adaptor to a sequencing system
     sequences that are not complementary to one another.                 and sequence a target polynucleotide coupled to the library
        The adaptor can include a terminal end that has a adaptor. The sequencer motif can include a sequence that is
     sequence that is selected to permit the adaptor to be effi complementary to a flow cell sequence and a sequence
     ciently (e.g. , at an efficiency of at least about 20 % , 30 % , ( sequencing initiation sequence) that is selectively hybrid
     40 % , 50 % ) ligated or otherwise coupled to a polynucleotide. 20 izable to a primer ( or priming sequence ) for use in sequenc
     In some examples, terminal nucleotides in a double - stranded ing . For example , such sequencing initiation sequence can
     portion of an adaptor are selected from a combination of be complementary to a primer that is employed for use in
     purines and pyrimidines to provide for efficient ligation.           sequence by synthesis ( e.g. , Illumina) . Such primer can be
        In some examples, a set of library adaptors comprises a included in a sequencing adaptor. A sequencing initiation
     plurality of polynucleotide molecules (library adaptors ) with 25 sequence can be a primer hybridization site .
     molecular barcodes. The library adaptors are less than or              In some cases , none of the library adaptors contains a
     equal to 80 , 70 , 60 , 50 , 45 , or 40 nucleotide bases in length . complete sequencer motif. The library adaptors can contain
     The molecular barcodes can be at least 4 nucleotide bases in partial or no sequencer motifs . In some cases , the library
     length, but may be from 4 to 20 nucleotide bases in length . adaptors include a sequencing initiation sequence . The
     The molecular barcodes can be different from one another 30 library adaptors can include a sequencing initiation sequence
     and have an edit distance of at least 1 , 2 , 3 , 4 , or 5 between       but no flow cell sequence . The sequence initiation sequence
     one another. The molecular barcodes are located at least 1 ,             can be complementary to a primer for sequencing. The
     2 , 3 , 4, 5 , or 20 nucleotide bases away from a terminal         primer can be a sequence specific primer or a universal
     end of their respective library adaptors. In some cases , the at primer. Such sequencing initiation sequences may be situ
     least one terminal base is identical in all of the library 35 ated on single - stranded portions of the library adaptors . As
     adaptors.                                                          an alternative, such sequencing initiation sequences may be
        The library adaptors can be identical but for the molecular priming sites (e.g. , kinks or nicks ) to permit a polymerase to
     barcodes . For example, the library adaptors can have iden- couple to the library adaptors during sequencing.
     tical sequences but differ only with respect to nucleotide           In some cases , partial or complete sequencer motifs are
     sequences of the molecular barcodes.                            40 provided by sequencing adaptors. A sequencing adaptor can
        Each of the library adaptors can have a double stranded include a sample molecular barcode and a sequencer motif.
     portion and at least one single -stranded portion . By " single The sequencing adaptors can be provided in a set that is
     stranded portion” is meant an area of non - complementarity separate from the library adaptors. The sequencing adaptors
     or an overhang. In some cases , each of the library adaptors in a given set can be identical — i.e ., they contain the same
     has a double - stranded portion and two single - stranded por- 45 sample barcode and sequencer motif.
     tions . The double - stranded portion can have a molecular           Sequencing adaptors can include sample identification
     barcode. In some cases , the molecular barcode is a rando- motifs and sequencer motifs. Sequencer motifs can include
     mer . Each of the library adaptors can further include a primers that are complementary to a sequencing initiation
     strand - identification barcode on a single - stranded portion. sequence . In some cases , sequencer motifs also include flow
     The strand - identification barcode can include at least 4 50 cell sequences or other sequences that permit a polynucle
     nucleotide bases , in some cases from 4 to 20 nucleotide                 otide to a configured or arranged in a manner that permits the
     bases .                                                                  polynucleotide to be sequenced by a sequencer.
        In some examples, each of the library adaptors has a                     Library adaptors and sequencing adaptors can each be
     double - stranded portion with a molecular barcode and two               partial adaptors, that is , containing part but not all of the
     single -stranded portions. The single - stranded portions may 55 sequences necessary to enable sequencing by a sequencing
     not hybridize to one another. The single - stranded portions             platform . Together they provide complete adaptors. For
     may not be completely complementary to one another.                      example , library adaptors can include partial or no sequencer
       The library adaptors can have a sequence of terminal                   motifs, but such sequencer motifs are provided by sequenc
     nucleotides in a double - stranded portion that are the same. ing adaptors.
     The sequence of terminal nucleotides can be at least 2 , 3 , 4 , 60 FIGS . 9A - 9C schematically illustrate a method for tag
     5 or 6 nucleotide bases in length . For example , one strand of ging a target polynucleotide molecule with library adaptors .
     a double -stranded portion of the library adaptor can have the FIG . 9A shows a library adaptor as a partial adaptor con
     sequence ACTT, TCGC , or TACC at the terminal end, while taining a primer hybridization site on one of the strands and
     the other strand can have a complementary sequence . In a molecular barcode towards another end . The primer
     some cases , such a sequence is selected to optimize the 65 hybridization site can be a sequencing initiation sequence
     efficiency at which the library adaptors ligate to target for subsequent sequencing. The library adaptor is less than
     polynucleotides. Such sequences can be selected to optimize or equal to 80 nucleotide bases in length . In FIG . 9B , the
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     library adaptors are ligated at both ends of the target            reaction conditions that reduce or minimize amplification
     polynucleotide molecule to provide a tagged target poly-           biases , e.g. , due to fragment length, GC content, etc.
     nucleotide molecule . The tagged target polynucleotide mol-           Amplification of a single strand of a polynucleotide by
     ecule may be subjected to nucleic acid amplification to            PCR will generate copies both of that strand and its comple
     generate copies of the target. Next, in FIG . 9C , sequencing 5 ment. During sequencing, both the strand and its comple
     adaptors containing sequencer motifs are provided and ment will generate sequence reads . However, sequence
     hybridized to the tagged target polynucleotide molecule . The reads generated from the complement of, for example, the
     sequencing adaptors contain sample identification motifs . the     Watson strand, can be identified as such because they bear
     The sequencing adaptors can contain sequences to permit 10 the complement              of the portion of the duplex tag that tagged
                                                                             original Watson strand . In contrast , a sequence read
     sequencing of the tagged target with a given sequencer.            generated from a Crick strand or its amplification product
        D. Sequencing
        Tagged polynucleotides can be sequenced to generate will              bear the portion of the duplex tag that tagged the
     sequence reads ( e.g. , as shown in step ( 106 ) , FIG . 1 ) . For from an Crick
                                                                        original          strand . In this way , a sequence read generated
                                                                                   amplified product of a complement of the Watson
     example , a tagged duplex polynucleotide can be sequenced. 15 strand can be distinguished from a complement sequence
     Sequence reads can be generated from only one strand of a
     tagged duplex polynucleotide. Alternatively, both strands of read        generated from an amplification product of the Crick
                                                                        strand of the original molecule .
     a tagged duplex polynucleotide can generate sequence reads .          All amplified polynucleotides can be submitted to a
     The two strands of the tagged duplex polynucleotide can sequencing device for sequencing. Alternatively, a sampling,
     comprise the same tags. Alternatively, the two strands of the 20 or subset, of all of the amplified polynucleotides is submitted
     tagged duplex polynucleotide can comprise different tags . to a sequencing device for sequencing. With respect to any
     When the two strands of the tagged duplex polynucleotide original double - stranded polynucleotide there can be three
     are differently tagged , sequence reads generated from one results with respect to sequencing. First , sequence reads can
     strand ( e.g. , a Watson strand) can be distinguished from be generated from both complementary strands of the origi
     sequence reads generated from the other strands (e.g. , a 25 nal molecule (that is , from both the Watson strand and from
     Crick strand ). Sequencing can involve generating multiple the Crick strand ). Second, sequence reads can be generated
     sequence reads for each molecule . This occurs , for example , from only one of the two complementary strands ( that is ,
     as a result the amplification of individual polynucleotide either from the Watson strand or from the Crick strand, but
     strands during the sequencing process , e.g. , by PCR .            not both ). Third, no sequence read may be generated from
        Methods disclosed herein can comprise amplifying of 30 either of the two complementary strands. Consequently,
     polynucleotides. Polynucleotides amplification can result in counting unique sequence reads mapping to a genetic locus
     the incorporation of nucleotides into a nucleic acid molecule will underestimate the number of double - stranded poly
     or primer thereby forming a new nucleic acid molecule nucleotides in the original sample mapping to the locus .
     complementary to a template nucleic acid . The newly Described herein are methods of estimating the unseen and
     formed polynucleotide molecule and its template can be 35 uncounted polynucleotides.
     used as templates to synthesize additional polynucleotides.           The sequencing method can be massively parallel
     The polynucleotides being amplified can be any nucleic sequencing, that is , simultaneously ( or in rapid succession )
     acids , for example , deoxyribonucleic acids , including sequencing any of at least 100 , 1000 , 10,000 , 100,000 , 1
     genomic DNAs, cDNAs ( complementary DNA ), cDNAs, million , 10 million , 100 million , or 1 billion polynucleotide
     and circulating tumor DNAs ( ctDNAs). The polynucleotides 40 molecules . Sequencing methods may include, but are not
     being amplified can also be RNAs . As used herein , one limited to : high - throughput sequencing, pyrosequencing,
     amplification reaction may comprise many rounds of DNA sequencing -by - synthesis, single -molecule sequencing, nan
     replication. DNA amplification reactions can include, for opore sequencing, semiconductor sequencing, sequencing
     example, polymerase chain reaction ( PCR) . One PCR reac- by - ligation , sequencing -by -hybridization , RNA -Seq ( Illu
     tion may comprise 2-100 “ cycles ” of denaturation , anneal- 45 mina ) , Digital Gene Expression (Helicos ) , Next generation
     ing , and synthesis of a DNA molecule . For example, 2-7 , sequencing, Single Molecule Sequencing by Synthesis
     5-10 , 6-11 , 7-12 , 8-13 , 9-14 , 10-15 , 11-16 , 12-17 , 13-18 , ( SMSS ) ( Helicos ) , massively -parallel sequencing, Clonal
     14-19 , or 15-20 cycles can be performed during the ampli- Single Molecule Array ( Solexa ), shotgun sequencing,
     fication step . The condition of the PCR can be optimized Maxam -Gilbertor Sanger sequencing , primer walking,
     based on the GC content of the sequences, including the 50 sequencing using PacBio , SOLID , Ion Torrent, or Nanopore
     primers.                                                           platforms and any other sequencing methods known in the
        Nucleic acid amplification techniques can be used with art .
     the assays described herein . Some amplification techniques           For example , duplex - tagged polynucleotides can be
     are the PCR methodologies which can include, but are not amplified , by for example PCR ( see e.g. , FIG . 4A duplex
     limited to , solution PCR and in situ PCR . For example, 55 tagged polynucleotides are referred to as mm ' and nn '). In
     amplification may comprise PCR - based amplification. Alter- FIG . 4A , the strand of the duplex polynucleotide including
     natively, amplification may comprise non PCR -based ampli- sequence m bears sequence tags w and y , while the strand of
     fication . Amplification of the template nucleic acid may the duplex polynucleotide including sequence m ' bears
     comprise use of one or more polymerases. For example, the sequence tags x and z . Similarly, the strand of the duplex
     polymerase may be a DNA polymerase or an RNA poly- 60 polynucleotide including sequence n bears sequence tags a
     merase . In some cases , high fidelity amplification is per- and c , while the strand of the duplex polynucleotide includ
     formed such as with the use of high fidelity polymerase ( e.g. , ing sequence n' bears sequence tags b and d . During ampli
     Phusion® High - Fidelity DNA Polymerase ) or PCR proto- fication , each strand produces itself and its complementary
     cols . In some cases , the polymerase may be a high fidelity sequence . However, for example, an amplification progeny
     polymerase . For example, the polymerase may be KAPA 65 of original strand m that includes the complementary
     HiFi DNA polymerase. The polymerase may also be Phu- sequence , m ' , is distinguishable from an amplification prog
     sion DNA polymerase. The polymerase may be used under eny of original strand m' because the progeny from original
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     strand m will have the sequence 5 ' - y'm'w ' - 3 ' and the progeny formatics . For example, if all or most of the sequence reads
     of the original m ' strand one strand will have the sequence tracking back to an original molecule bear the same
     5 ' - zm'x - 3 ' . FIG . 4B shows amplification in more detail. sequence variant, that variant probably existed in the origi
     During amplification , errors can be introduced into the nal molecule . On the other hand , if a sequence variant exists
     amplification progeny, represented by dots . The application 5 in a subset of redundant sequence reads, that variant may
     progeny are sampled for sequencing, so that not all strands have been introduced during amplification /sequencing and
     produce sequence reads, resulting in the sequence reads represents an artifact not existing in the original. Further
     indicated . Because sequence reads can come from either of more , if only sequence reads derived from the Watson or
     a strand or its complement, both sequences and complement Crick strand of an original polynucleotide contain the vari
     sequences will be included in the set of sequence reads . It 10 ant, the variant may have been introduced through single
     should be noted that it is possible that a polynucleotide sided DNA damage, first -cycle PCR error or through con
     would bear the same tag on each end . Thus, for a tag “ a ” , and taminating polynucleotides that were amplified from a
     polynucleotide “ m ”, a first strand could be tagged a -m - a' , different sample.
     and the complement could be tagged a - m' - a .                          After fragments are amplified and the sequences of ampli
           E. Determining Consensus Sequence Reads                      15 fied fragments are read and aligned , the fragments are
           Methods disclosed herein can comprise determining con- subjected to base calling , e.g. , determining for each locus the
     sensus sequence reads in sequence reads ( e.g. , as shown in most likely nucleotide. However, variations in the number of
     step ( 108 ) , FIG . 1 ) , such as by reducing or tracking redun- amplified fragments and unseen amplified fragments ( e.g. ,
     dancy. Sequencing of amplified polynucleotides can produce those without being read their sequences; reasons could be
     reads of the several amplification products from the same 20 too many such as amplification errors, sequencing reading
     original polynucleotide, referred to as “ redundant reads ” . By errors , too long, too short, being chopped , etc.) may intro
     identifying redundant reads , unique molecules in the origi- duce errors in base calling . If there are too many unseen
     nal sample can be determined . If the molecules in a sample amplified fragments with respect to the seen amplified
     are uniquely tagged , then reads generated from amplification fragments ( amplified fragments actually being read ), the
     of a single unique original molecule can be identified based 25 reliability of base calling may be diminished .
     on their distinct barcode . Ignoring barcodes , reads from                Therefore, disclosed herein is a method to correct for the
     unique original molecules can be determined based on                    number of unseen fragments in base calling . For example,
     sequences at the beginning and end of a read, optionally in             when base calling for locus A ( an arbitrary locus ) , it is first
     combination with the length of the read . In certain cases ,            assumed that there are N amplified fragments. The sequence
     however, a sample may be expected to have a plurality of 30 readouts can come from two types of fragments: double
     original molecules having the same start stop sequences and strand fragments and single - strand fragments. Therefore, we
     the same length . Without barcoding, these molecules are assign N1 , N2 , and N3 as the numbers of double - strands,
     difficult distinguish from one another. However, if a single - strands, and unseen fragments , respectively . Thus,
     collection of polynucleotides is non - uniquely tagged ( that is , N = N1 + N2 + N3 (N1 and N2 are known from the sequence
     an original molecule shares the same identifier with at least 35 readouts , and N and N3 are unknown ). If the formula is
     one other original molecule ) , combining information from a solved for N (or N3 ) , then N3 (or N) will be inferred .
     barcode with start/ stop sequence and / or polynucleotide            Probability is used to estimate N. For example, we assign
     length significantly increases the probability that any “ p ” to be the probability of having detected ( or having read)
     sequence read can be traced back to an original polynucle- a nucleotide of locus A in a sequence readout of a
     otide . This is because , in part, even without unique tagging , 40 single - strand .
     it is unlikely that any two original polynucleotides having            For sequence readouts from double - strands, the nucleo
     the same start / stop sequence and length also will be tagged tide call from a double - strand amplified fragment has a
     with the same identifier.                                           probability of p * p = p ^ 2, seeing all N1 double - strands has the
        F. Collapsing                                                    following equation : N1= N * ( p 2 ).
        Collapsing allows for reduction in noise ( i.e. , back- 45 For sequence readouts from a single -strand. Assuming
     ground) that is generated at each step of the process . that one of the 2 strands is seen, and the other is unseen, the
     Methods disclosed herein can comprise collapsing , e.g. , probability of seeing one strand is " p " , but the probability of
     generating a consensus sequence by comparing multiple missing the other strand is ( 1 - p ) . Furthermore , by not
     sequence reads . For example , sequence reads generated distinguishing the single strand sourcing from 5 -primer and
     from a single original polynucleotide can be used to generate 50 sourcing from 3 -primer, there is a factor of 2. Therefore, the
     a consensus sequence of that original polynucleotide. Itera- nucleotide call from a single -strand amplified fragment has
     tive rounds of amplification can introduce errors into prog- a probability 2xpx ( 1 - p ) . Thus, seeing all N2 single - strands
     eny polynucleotides . Also , sequencing typically may not be has the following equation : N2 = Nx2xpx ( 1 - p ).
     performed with perfect fidelity so sequencing errors are           “ p ” is also unknown . To solve p , the ratio of N1 to N2 is
     introduced at this stage as well . However, comparison of 55 used to solve for “ p ” :
     sequence reads of molecules derived from a single original              R = N1/N2 = Np< / 2Np ( 1 - p ) = p² /2p ( 1 - p ) = p / 2 ( 1 - p )
     molecule , including those that have sequence variants, can
     be analyzed so as to determine the original , or “ consensus ” Once “ p ” is found, N can be found. After N is found, can be
     sequence. This can be done phylogenetically. Consensus found N3 =N -N1 -N2 .
     sequences can be generated from families of sequence reads 60 Besides the ratio of paired versus unpaired strands (which
     by any of a variety of methods. Such methods include , for is a measure post -collapsing ), there is useful information in
     example, linear or non -linear methods of building consensus the pre - collapsing read depth at each locus . This information
     sequences ( such as voting (e.g. , biased voting ) , averaging, can be used to further improve the call for total molecule
     statistical , maximum a posteriori or maximum likelihood count and / or increase confidence of calling variants.
     detection , dynamic programming, Bayesian, hidden Markov 65 For example , FIG . 4C demonstrates sequence reads cor
     or support vector machine methods, etc.) derived from rected for complementary sequences. Sequences generated
     digital communication theory, information theory, or bioin- from an original Watson strand or an original Crick strand
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     can be differentiated on the basis of their duplex tags .                   gated using the genome browser available at genom
     Sequences generated from the same original strand can be                    e.ucsc.edu/index.html. Other species genomes include , for
     grouped. Examination of the sequences can allow one to                      example PanTro2 ( chimp) and mm9 (mouse ).
     infer the sequence of the original strand ( the " consensus                   In methods disclosed herein , collapsing can be performed
     sequence ” ). In this case , for example, the sequence variant 5 before or after mapping. In some aspects , collapsing can be
     in the nn ' molecule is included in the consensus sequence       performed before mapping. For example, sequence reads
     because it included in every sequence read while other can be grouped into families based on their tags and one or
     variants are seen to be stray errors. After collapsing more endogenous sequences, without regard to where the
     sequences , original polynucleotide pairs can be identified            map in the genome . Then , the members of a family can
     based on their complementary sequences and duplex tags . 10 reads
        FIG . 5 demonstrates increased confidence in detecting sequence can into
                                                                      be  collapsed
                                                                                      be
                                                                                          a consensus sequence . The consensus
                                                                                         generated using any collapsing method
     sequence variants by pairing reads from Watson and Crick
     strands. Sequence nn ' can include a sequence variant indi                       disclosed herein . Then the consensus sequence can be
                                                                                      mapped   to locations in the genome . Reads mapped to a locus
     acated  by a dotvariant
         sequence        . In some    cases , sequence
                                . Amplification            pp ' does, redundancy
                                                     , sequencing     not include 15 can be quantified    (e.g. , counted ). Percentage of reads car
     reduction and pairing can result in both Watson and Crick rying                         a mutation at a locus can also be determined . Alter
      strands of the same original molecule including the sequence natively, collapsing can be performed after mapping. For
     variant. In contrast, as a result of errors introduced during example, all reads can first be mapped to the genome. Then
     amplification and sampling during sequencing, the consen- the reads can be grouped into families based on their tags
      sus sequence of the Watson strand p can contain a sequence 20 and one or more endogenous sequences . Since the reads
      variant, while the consensus sequence of the Crick strand p ' have been mapped to the genome , consensus bases can be
     does not. It is less likely that amplification and sequencing determined for each family at each locus . In other aspects ,
      will introduce the same variant into both strands ( nn ' consensus sequence can be generated for one strand of a
      sequence ) of a duplex than onto one strand ( pp ' sequence ). DNA molecule ( e.g. , for a Watson strand or a Crick strand ).
      Therefore, the variant in the pp ' sequence is more likely to 25 Mapping can be performed before or after the consensus
      be an artifact, and the variant in the nn ' sequence is more sequence for one strand of the DNA molecule is determined .
      likely to exist in the original molecule .                                      Numbers of Doublets and Singlets can be determined . These
          Methods disclosed herein can be used to correct errors                      numbers can be used to calculate unseen molecules . For
     resulted from experiments, e.g. , PCR , amplification, and / or example, the unseen molecules can be calculated using the
      sequencing. For example , such a method can comprises 30 following equation : N = D + S + U ; D = Np ( 2 ), S = N2pq , where
      attaching one or more double stranded adaptors to both ends p = 1-4 , where p is the probability of seeing ; q is the
      of a double stranded polynucleotide, thereby providing a probability of missing a strand.
     tagged double stranded polynucleotide; amplifying the                               H. Grouping
      double stranded tagged polynucleotide; sequencing both                             Methods disclosed herein can also comprise grouping
      strands of the tagged polynucleotide; comparing the 35 sequence reads. Sequence reads can be grouped based on
      sequence of one strand with its complement to determine various types of sequences, e.g. , sequences of an oligonucle
      any errors introduced during sequencing ; and correcting otide tag (e.g. , a barcode) , sequence of a polynucleotide
     errors in the sequence based on (d) . The adaptors used in this fragments, or any combinations. For example, as shown in
     method can be any adaptors disclosed herein , e.g. , Y - shaped step ( 112 ) (FIG . 1 ) , sequence reads can be grouped as
      adaptors. The adaptor can comprise any barcodes ( e.g. , 40 follows: Sequence reads generated from a “ Watson ” strand
      distinct barcodes ) disclosed herein .
          G. Mapping
                                                                                      and those generated from a “ Crick ” strand of a double
                                                                                      stranded polynucleotide in the sample are identifiable based
          Sequence reads or consensus sequences can be mapped to on the duplex tags that they bear. In this way, a sequence
      one or more selected genetic loci (e.g. , as shown step ( 110 ) , read or consensus sequence from a Watson strand of a
      FIG . 1 ) . A genetic locus can be , for example, a specific 45 duplex polynucleotide can be paired with a sequence read or
      nucleotide position in the genome, a sequence of nucleotides consensus sequence from its complementary Crick strand .
      ( for example, an open reading frame ), a fragment of a Paired sequence reads are referred to as a “ Pair ” .
      chromosome, a whole chromosome, or an entire genome. A                             Sequence reads for which no sequence read correspond
     genetic locus can be a polymorphic locus . Polymorphic ing to a complementary strand can be found among the
      locus can be a locus at which sequence variation exists in the 50 sequence reads are termed “ Singlets ”.
     population and / or exists in a subject and / or a sample. A                        Double - stranded polynucleotides for which a sequence
     polymorphic locus can be generated by two or more distinct read for neither of the two complementary strands has been
      sequences coexisting at the same location of the genome . generated are referred to as “ Unseen ” molecules .
      The distinct sequences can differ from one another by one or                       I. Quantifying
     more nucleotide substitutions, a deletion / insertion , and /or a 55 Methods disclosed herein also comprise quantifying
      duplication of any number of nucleotides, generally a rela- sequence reads. For example, as shown in step ( 114 ) ( FIG .
     tively small number of nucleotides, such as less than 50 , 45 , 1 ) , Pairs and Singlets mapping to a selected genetic locus , or
      40 , 35 , 30 , 25 , 24 , 23 , 22 , 21 , 20 , 19 , 18 , 17 , 16 , 15 , 14 , 13 , to each of a plurality of selected genetic loci , are quantified ,
      12 , 11 , 10 , 9 , 8 , 7 , 6 , 5 , 4 , 3 , 2 , or 1 nucleotide ( s ), among e.g., counted.
     others. A polymorphic locus can be created by a single 60 The quantifying can comprise estimating number of poly
     nucleotide position that varies within the population, e.g. a nucleotides in the sample ( e.g. , Pairs polynucleotides, Sin
     single nucleotide variation (SNV ) or a single nucleotide glets polynucleotides, or Unseen polynucleotides. For
     polymorphism (SNP ).                                          example, as shown in step ( 116 ) (FIG . 1 ) , the number of
        A reference genome for mapping can include the genome double -stranded polynucleotides in the sample for which no
     of any species of interest. Human genome sequences useful 65 sequence reads were generated (“Unseen ” polynucleotides )
     as references can include the hg19 assembly or any previous is estimated . The probability that a double strand polynucle
     or available hg assembly. Such sequences can be interro-                    otide generates no sequence reads can be determined based
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                                   35                                                                      36
     on the relative number of Pairs and Singlets at any locus . can be compared against an expected measure for diploidy.
     Using this probability, the number of Unseen polynucleotide In another method, the quantitative measure can be normal
     can be estimated .                                                       ized against a measure from a control sample, and normal
        In step ( 118 ) an estimate for the total number of double ized measures at different loci can be compared .
     stranded polynucleotides in a sample mapping to a selected 5 In some cases , in which copy number variation analysis is
     locus is the sum of the number of Pairs , the number of desired, sequence data may be : 1 ) aligned with a reference
     Singlets and the number of Unseen molecules mapping to genome; 2 ) filtered and mapped ; 3 ) partitioned into windows
     the locus .
        The number of Unseen original molecules in a sample can or               bins of sequence ; 4 ) coverage reads counted for each
     be estimated based on the relative number of Pairs and 10 stochastic; 5or) coverage
                                                                              window
                                                                                            statistical
                                                                                                       reads can then be normalized using a
                                                                                                        modeling algorithm ; 6 ) and an output
     Singlets ( FIG . 2 ) . Referring to FIG . 2 , as an example, counts file can be generated reflecting       discrete copy number states
     for a particular genomic locus , Locus A , are recorded, where at various positions in the genome             . In other cases , in which
     1000 molecules are paired and 1000 molecules are unpaired .
     Assuming a uniform probability , p , for an individual Watson rare mutation analysis is desired, sequence data may be 1)
     or Crick strand to make it through the process subsequent to 15 aligned          with a reference genome ; 2) filtered and mapped; 3)
                                                                              frequency of variant bases calculated based on coverage
     conversion , one can calculate the proportion of molecules reads                for that specific base ; 4 ) variant base frequency
     that fail to make it through the process (Unseen ) as follows:
     Let R = ratio of paired to unpaired molecules = 1 , so R = 1 = p²/ normalized using a stochastic , statistical or probabilistic
     ( 2p ( 1 - p ) ) . This implies that p =2 / 3 and that the quantity of modeling algorithm ; 5 ) and an output file can be generated
     lost molecules is equal to ( 1 – p) 2 = 1/ 9. Thus in this example, 20 reflecting mutation states at various positions in the genome.
     approximately 11 % of converted molecules are lost and                     After the sequence read coverage ratios have been deter
     never detected . Consider another genomic locus , Locus B , in mined, a stochastic modeling algorithm can be optionally
     the same sample where 1440 molecules are paired and 720 applied to convert the normalized ratios for each window
     are unpaired. Using the same method , we can infer the region into discrete copy number states . In some cases , this
     number of molecules that are lost , is only 4 % . Comparing 25 algorithm may comprise a Hidden Markov Model . In other
     the two areas, it may be assumed that Locus A had 2000 cases , the stochastic model may comprise dynamic program
     unique molecules as compared to 2160 molecules in Locus ming, support vector machine , Bayesian modeling , proba
     B- a difference of almost 8 % . However , by correctly adding bilistic modeling, trellis decoding, Viterbi decoding, expec
     in the lost molecules in each region, we infer there are tation maximization , Kalman filtering methodologies, or
     2000/ ( 8/9 ) =2250 molecules in Locus A and 2160 / 0.96 = 2250 30
     molecules in Locus B. Hence , the counts in both regions are neural             networks.
                                                                                Methods    disclosed herein can comprise detecting SNVs,
     actually equal. This correction and thus much higher sensi
     tivity can be achievable by converting the original double CNVs                , insertions, deletions, and /or rearrangements at a
     stranded nucleic acid molecules and bioinformatically keep specific region in a genome. The specific genomic region
     ing track of all those that are paired and unpaired at the end 35 can comprise a sequence in a gene, such as ALK , APC ,
     of the process. Similarly, the same procedure can be used to NOTCHI      BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS, MYC ,
     infer true copy number variations in regions that appear to                        , NRAS , PIK3CA , PTEN , RB1 , TP53 , MET, AR ,
     have similar counts of observed unique molecules . By ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,
     taking the number of unseen molecules into consideration in EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, GNA11, GNAQ ,
     the two or more regions, the copy number variation becomes 40 GNAS , HNF1A , HRAS, IDHL IDH2 , JAK2 , JAK3 , KDR ,
     apparent.                                                                KIT, MLH1 , MPL , NPM1 , PDGFRA , PROC , PTPN11 ,
        In addition to using binomial distribution, other methods RET,SMAD4, SMARCB1, SMO , SRC , STK11 , VHL ,
     of estimating numbers of unseen molecules include expo- TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 ,
     nential, beta, gamma or empirical distributions based on the CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNEI ,
     redundancy of sequence reads observed . In the latter case , 45 ESR1 , RIT1, GATA3, MAP2K1 , RHEB , ROS1 , ARAF,
     the distribution of read counts for paired and unpaired MAP2K2, NFE2L2 , RHOA , or NTRK1 .
     molecules can be derived from such redundancy to infer the                 In some cases , the method uses a panel which comprises
     underlying distribution of original polynucleotide molecules exons of one or more genes. The panel can comprise introns
     at a particular locus . This can often lead to a better estima- of one or more genes as well . The panel can also comprise
     tion of the number of unseen molecules .                              50 exons and introns of one or more genes . The one or more
        J. CNV Detection                                                      genes can be those disclosed above . The panel can comprise
        Methods disclosed herein also comprise detecting CNV . about 80,000 bases which cover a panel of genes. The panel
     For example, as shown in step ( 120 ) ( FIG . 1 ) , once the total can comprise about 1000 , 2000 , 3000 , 4000 , 5000 , 10000 ,
     number of polynucleotides mapping to a locus is deter- 15000 , 20000 , 25000 , 30000 , 35000 , 40000 , 45000 , 50000 ,
     mined , this number can be used in standard methods of 55 55000 , 60000 , 65000 , 70000 , 75000 , 80000 , 85000 , 90000 ,
     determining CNV at the locus . A quantitative measure can 95000 , 100000 , 105000 , 110000 , 115000 , 120000 , 125000 ,
     be normalized against a standard. The standard can be an or more bases .
     amount of any polynucleotides. In one method, a quantita-                  In some aspects , copy number of a gene can be reflected
     tive measure at a test locus can be standardized against a in the frequency of a genetic form of the gene in a sample.
     quantitative measure of polynucleotides mapping to a con- 60 For example, in a healthy individual, no copy number
     trol locus in the genome, such as gene of known copy variation is reflected in a variant in a gene in one chromo
     number. Quantitative measures can be compared against the some ( e.g. , heterozygosity ) being detected in about 50% of
     amount of nucleic acid in any sample disclosed herein . For detected molecules in a sample . Also , in a healthy indi
     example, in another method, the quantitative measure can be vidual, duplication of a gene bearing a variant can be
     compared against the amount of nucleic acid in the original 65 reflected in the variant being detected in about 66 % of
     sample. For example, if the original sample contained detected molecules in a sample. Accordingly, if the tumor
     10,000 haploid gene equivalents, the quantitative measure burden in a DNA sample is 10 % , the frequency of a somatic
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     mutation in a gene in one chromosome of cancer cells ,              A therapeutic intervention can also be changed upon
     without CNV, can be about 5 % . The converse can be true in detection of the rise of a mutant form resistant to an original
     the case of aneuploidy.                                           drug. For example, cancers with the EGFR mutation L858R
        The methods disclosed herein can be used to determine respond to therapy with erlotinib . However, cancers with the
     whether a sequence variant is more likely present in the 5 EGFR mutation T790M are resistant to erlotinib . However,
     germ line level or resulted from a somatic cell mutation , e.g. , they are responsive to ruxolitinib . A method of this invention
     in a cancer cell . For example, a sequence variant in a gene involves monitoring changes in tumor profile and changing
     detected at levels arguably consistent with heterozygosity in            a therapeutic intervention when a genetic variant associated
     the germ line is more likely the product of a somatic                    with drug resistance rises to a predetermined clinical level.
     mutation if CNV is also detected in that gene . In some cases , 10 Methods disclosed in this invention can comprise a
     to the extent we expect that a gene duplication in the germ method of detecting disease cell heterogeneity from a
     line bears a variant consistent with genetic dose ( e.g. , 66 % sample comprising polynucleotides from somatic cells and
     for trisomy at a locus ) , detection gene amplification with a disease cells , the method comprising : a ) quantifying poly
     sequence variant dose that deviates significantly from this nucleotides in the sample bearing a sequence variant at each
     expected amount indicates that the CNV is more likely 15 of a plurality of genetic loci ; b ) determining CNV at each of
     present as a result of somatic cell mutation .                    the plurality of genetic loci ; different relative amounts of
        The methods disclosed herein can also be used to infer disease molecules at a locus , wherein the CNV indicates a
     tumor heterogeneity in a situation in which sequence vari- genetic dose of a locus in the disease cell polynucleotides ;
     ants in two genes are detected at different frequencies. For c ) determining a relative measure of quantity of polynucle
     example , tumor heterogeneity can be inferred when two 20 otides bearing a sequence variant at a locus per genetic dose
     genes are detected at different frequencies but their copy at the locus for each of a plurality of the loci ; and d)
     numbers are relatively equal. Alternatively, tumor homoge- comparing the relative measures at each of the plurality of
     neity can be inferred when the difference in frequency loci , wherein different relative measures indicates tumor
     between two sequence variants is consistent with difference heterogeneity. In the methods disclosed herein , the genetic
     in copy number for the two genes . Thus, for example, if an 25 dose can be determined on a total molecule basis . For
     EGFR variant is detected at 11 % and a KRAS variant is                   example , if there are 1x total molecules at a first locus , and
     detected at 5 % , and no CNV is detected at these genes, the             1.2x molecules mapped to a second locus , then the genetic
     difference in frequency likely reflects tumor heterogeneity              dose is 1.2 . Variants at this locus can be divided by 1.2 . In
     ( e.g. , all tumor cells carry an EGFR mutant and half the               some aspects , the method disclosed herein can be used to
     tumor cells also carry a KRAS mutant ). Alternatively, if the 30 detect any disease cell heterogeneity, e.g. , tumor cell het
     EGFR gene carrying the mutant is detected at 2 -times erogeneity. The methods can be used to detect disease cell
     normal copy number , one interpretation is a homogenous                  heterogeneity from a sample comprising any types of poly
     population of tumor cells , each cell carrying a mutant in the nucleotides, e.g. , cfDNA , genomic DNA , cDNA , or ctDNA .
     EGFR and KRAS genes, but in which the KRAS gene is In the methods, the quantifying can comprise, for example,
     duplicated.                                                   35 determining the number or relative amount of the polynucle
        In response to chemotherapy, a dominant tumor form can otides . Determining CNV can comprise mapping and nor
     eventually give way through Darwinian selection to cancer malizing different relative amounts of total molecules to a
     cells carrying mutants that render the cancer unresponsive to locus .
     the therapy regimen . Appearance of these resistance mutants       In another aspect , in response to chemotherapy, a domi
     can be delayed through methods of this invention . In one 40 nant tumor form can eventually give way through Darwinian
     embodiment of this method, a subject is subjected to one or selection to cancer cells carrying mutants that render the
     more pulsed therapy cycles , each pulsed therapy cycle cancer unresponsive to the therapy regimen . Appearance of
     comprising a first period during which a drug is adminis- these resistance mutants can be delayed through methods
     tered at a first amount and a second cycle during which the disclosed throughout. The methods disclosed herein can
     drug is administered at a second, reduced amount. The first 45 comprise a method comprising: a ) subjecting a subject to
     period can be characterized by a tumor burden detected one or more pulsed therapy cycles , each pulsed therapy
     above a first clinical level. The second period can be cycle comprising ( i ) a first period during which a drug is
     characterized by a tumor burden detected below a second administered at a first amount and (ii ) a second period during
     clinical level . First and second clinical levels can be different which the drug is administered at a second , reduced amount;
     in different pulsed therapy cycles . For example , the first 50 wherein (A) the first period is characterized by a tumor
     clinical level can be lower in succeeding cycles . A plurality burden detected above a first clinical level; and (B ) the
     of cycles can include at least 2 , 3 , 4 , 5 , 6 , 7 , 8 or more cycles . second period is characterized by a tumor burden detected
     For example, the BRAF mutant V600E may be detected in below a second clinical level .
     polynucleotides of a disease cell at an amount indicating a                 K. Sequence Variant Detection
     tumor burden of 5 % in cfDNA . Chemotherapy can com- 55 Systems and methods disclosed herein can be used to
     mence with dabrafenib . Subsequent testing can show that detect sequence variants, e.g. , SNVs. For example, a
     the amount of the BRAF mutant in the cfDNA falls below sequence variant can be detected from consensus sequences
     0.5 % or to undetectable levels . At this point, dabrafenib from multiple sequence reads, for example, from at least 2 ,
     therapy can stop or be significantly curtailed . Further sub- at least 3 , at least 4 , at least 5 , at least 6 , at least 7 , at least
     sequent testing may find that DNA bearing the BRAF 60 8 , at least 9 , at least 10 , at least 11 , at least 12 , at least 13 ,
     mutation has risen to 2.5 % of polynucleotides in cfDNA . At at least 14 , at least 15 , at least 16 , at least 17 , at least 18 , at
     this point, dabrafenib therapy can be re - started, e.g. , at the least 19 , at least 20 , at least 21 , at least 22 , at least 23 , at least
     same level as the initial treatment. Subsequent testing may 24 , at least 25 , at least 26 , at least 27 , at least 28 , at least 29 ,
     find that DNA bearing the BRAF mutation has decreased to at least 30 , at least 31 , at least 32 , at least 33 , at least 34 , at
     0.5 % of polynucleotides in cfDNA . Again , dabrafenib 65 least 35 , at least 36 , at least 37 , at least 38 , at least 39 , at least
     therapy can be stopped or reduced . The cycle can be                     40 , at least 41 , at least 42 , at least 43 , at least 44 , at least 45 ,
     repeated a number of times .                                             at least 46 , at least 47 , at least 48 , at least 49 , at least 50 , at
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     least 51 , at least 52 , at least 53 , at least 54 , at least 55 , at least   DNA can be a polynucleotide with a detectable property at
     56 , at least 57 , at least 58 , at least 59 , at least 60 , at least 61 ,    a concentration less than 50 % , 25 % , 10 % , 5 % , 1 % , or 0.1 %
     at least 62 , at least 63 , at least 64 , at least 65 , at least 66 , at         Tagging can occur in a single reaction . In some cases , two
     least 67 , at least 68 , at least 69 , at least 70 , at least 71 , at least  or more reactions can be performed and pooled together.
     72 , at least 73 , at least 74 , at least 75 , at least 76 , at least 77 , 5 Tagging each original DNA fragments in a single reaction
     at least 78 , at least 79 , at least 80 , at least 81 , at least 82 , at can result in tagging such that greater than 50 % (e.g. , 60 % ,
     least 83 , at least 84 , at least 85 , at least 86 , at least 87 , at least 70% , 80 % , 90 % , 95 % , or 99 % ) of the original DNA
     88 , at least 89 , at least 90 , at least 91 , at least 92 , at least 93 , fragments are tagged at both ends with tags that comprise
     at least 94 , at least 95 , at least 96 , at least 97 , at least 98 , at 10 molecular barcodes , thereby providing tagged DNA frag
     least 99 , at least 100 , at least 200 , at least 300 , at least 400 , ments. Tagging can also result in greater than 30% , 35 % ,
     at least 500 , at least 600 , at least 700 , at least 800 , at least          40% , 45 % , 50 % , 51 % , 52 % , 53 % , 54 % , 55 % , 56 % , 57 % ,
     900 , at least 1000 , at least 2000 , at least 3000 , at least 4000 , 58 % , 59 % , 60 % , 61 % , 62 % , 63 % , 64 % , 65 % , 66 % , 67 % ,
     at least 5000 , at least 6000 , at least 7000 , at least 8000 , at 68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % ,
     least 9000 , at least 10000 or more sequence reads . A 15 78 % , 79 % , 80 % , 81 % , 82 % 83 % , 84 % , 85 % , 86 % , 87 % ,
     consensus sequence can be from sequence reads of a single                     88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % ,
     strand polynucleotide. A consensus sequence can also be                       98 % , or 99 % of the original DNA fragments tagged at both
     from sequence reads of one strand of a double -stranded ends with tags that comprise molecular barcodes. Tagging
     polynucleotide ( e.g. , pairing reads ). In an exemplary can also result in 100 % of the original DNA fragments
     method, pairing reads allows one to identify with increased 20 tagged at both ends with tags that comprise molecular
     confidence the existence of a sequence variant in a molecule . barcodes. Tagging can also result in single end tagging .
     For example, if both strands of a Pair include the same             Tagging can also occur by using an excess amount of tags
     variant, one can be reasonably sure that the variant existed as compared to the original DNA fragments. For example,
     in the original molecule , as the chance that the same variant the excess can be at least 5 - fold excess . In other cases , the
     is introduced into both strands during amplification / se- 25 excess can be at least 1.25 , 1.5 , 1.75 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 ,
     quencing is rare . In contrast, if only one strand of a Pair 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 30 ,
     includes the sequence variant, this is more likely to be an 35 , 40 , 45 , 50 , 55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 or more
     artifact. Similarly, the confidence that a Singlet bearing a fold excess . Tagging can comprise attachment to blunt ends
     sequence variant existed in the original molecule is less than or sticky ends. Tagging can also be performed by hybrid
     the confidence if the variant exists in a Duplex, as there is 30 ization PCR . Tagging can also be performed in low reaction
     higher probability that the variant can be introduced once volumes, such as 1 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 ,
     than twice during amplification /sequencing.                     15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 ,
       Other methods of copy number variation detection and the                    31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 ,
     sequence variant detection are described in PCT /US2013 /                     47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 , 61 , 62 ,
     058061 , which is entirely incorporated herein by reference . 35 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 , 77 , 78 ,
        Sequence reads can be collapsed to generate a consensus 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , 89 , 90 , 91 , 92 , 93 , 94 ,
     sequence , which can be mapped to a reference sequence to 95 , 96 , 97 , 98 , 99 , or 100 pico- and / or microliters .
     identify genetic variants, such as CNV or SNV. As an                     The method can also include performing high fidelity
     alternative, the sequence reads are mapped prior to or even amplification on the tagged DNA fragments. Any high
     without mapping . In such a case , the sequence reads can be 40 fidelity DNA polymerases can be used . For example, the
     individually mapped to the reference to identify a CNV or polymerase may be KAPA HiFi DNA polymerase or Phu
     SNV.                                                                   sion DNA polymerase.
        FIG . 3 shows a reference sequence encoding a genetic                 Further, the method can comprise selectively enriching a
     Locus A. The polynucleotides in FIG . 3 may be Y -shaped or subset of the tagged DNA fragments. For example, selective
     have other shapes , such as hairpin .                               45 enrichment can be performed by hybridization or amplifi
        In some cases, an SNV or multiple -nucleotide variant cation techniques. The selective enrichment can be per
     (MNV ) can be determined across multiple sequence reads at formed using a solid support ( e.g. , beads ) . The solid support
     a given locus (e.g. , nucleotide base ) by aligning sequence ( e.g. , beads) can comprise probes ( e.g. , oligonucleotides
     reads that correspond to that locus . Next, a plurality of specifically hybridizing to certain sequences. For example ,
     sequential nucleotide bases from at least a subset of the 50 the probes can hybridize with certain genomic regions , e.g. ,
     sequence reads are mapped to the reference to a SNV or genes. In some cases , the genomic regions, e.g. , genes, can
     MNV in a polynucleotide molecule or portion thereof that be regions associated with diseases , e.g. , cancer . After
     corresponds to the reads. The plurality of sequential nucleo- enrichment, the selected fragmented can be attached any
     tide bases can span an actual, inferred or suspected location sequencing adaptor disclosed in this invention . For example ,
     of the SNV or MNV. The plurality of sequential nucleotide 55 a sequence adaptor can comprise a flow cell sequence, a
     bases can span at least 3 , 4 , 5 , 6 , 7 , 8 , 9 , or 10 nucleotide sample barcode, or both . In another example, a sequence
     bases .                                                                adaptor can be a hairpin shaped adaptor and / or comprises a
        L. Detecting/Quantifying Nucleic Acids                              sample barcode. Further, the resulting fragments can be
        The methods described throughout can be used to tag amplified and sequenced. In some cases , the adaptor does
     nucleic acids fragments, such as deoxyribonucleic acid 60 not comprise a sequencing primer region .
     (DNA ), at extremely high efficiency . This efficient tagging            The method can include sequencing one or both strands of
     allows a person to efficiently and accurately detect rare DNA the DNA fragments. In one case , both strands of the DNA
     in heterogenous populations of original DNA fragments fragment are independently sequenced. The tagged , ampli
     ( such as in cfDNA ). A rare polynucleotide (e.g. , rare DNA ) fied , and / or selectively enriched DNA fragments are
     can be a polynucleotide that comprises a genetic variant 65 sequenced to obtain sequence reads that comprise sequence
     occurring in a population of polynucleotides at a frequency                   information of the molecular barcodes and at least a portion
     of less than 10% , 5 % , 4 % , 3 % , 2 % , 1 % , or 0.1 % . A rare            of the original DNA fragments.
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         The method can include reducing or tracking redundancy 1 , wherein each of the distinct barcode sequences is within
     ( as described above) in the sequence reads to determine 20 nucleic acid bases from a terminal end of a respective one
     consensus reads that are representative of single - strands of of the plurality of polynucleotide molecules , and wherein
     the original DNA fragments. For example, to reduce or track the plurality of polynucleotide molecules are not sequencing
     redundancy, the method can include comparing sequence 5 adaptors.
     reads having the same or similar molecular barcodes and the       The tagged polynucleotide fragments can be subjected to
     same or similar end of fragment sequences. The method can nucleic acid amplification reactions under conditions that
     comprise performing a phylogentic analysis on the sequence yield amplified polynucleotide fragments as amplification
     reads having the same or similar molecular barcodes . The products of the tagged polynucleotide fragments. After
     molecular barcodes can have a barcode with varying edit 10 amplification, the nucleotide sequence of the amplified
     distances ( including any edit distances as described through- tagged polynucleotide fragments is determined . In some
     out) , for example, an edit distance of up to 3. The end of the cases , the nucleotide sequences of the amplified tagged
     fragment sequences can include fragment sequences having polynucleotide fragments are determined without the use of
     an edit distance with varying distances ( including any edit polymerase chain reaction ( PCR) .
     distances as described throughout ), for example, an edit 15 The method can comprise analyzing the nucleotide
     distance of up to 3 .                                            sequences with a programmed computer processor to iden
        The method can comprise binning the sequence reads tify one or more genetic variants in the nucleotide sample of
     according to the molecular barcodes and sequence informa- the subject. Any genetic alterations can be identified , includ
     tion . For example, binning the sequence reads according to ing but not limited to , base change ( s ), insertion ( s ), repeat( s ),
     the molecular barcodes and sequence information can be 20 deletion ( s ), copy number variation (s ), epigenetic modifica
     performed from at least one end of each of the original DNA tion ( s ) , nucleosome binding site ( s ) , copy number change ( s)
     fragments to create bins of single stranded reads. The due to origin ( s ) of replication, and transversion (s ). Other
     method can further comprise in each bin , determining a genetic alterations can include, but are not limited to , one or
     sequence of a given original DNA fragment among the more tumor associated genetic alterations.
     original DNA fragments by analyzing sequence reads . 25 The subject of the methods can be suspected of having a
        In some cases , sequence reads in each bin can be col- disease . For example , the subject can be suspected of having
     lapsed to a consensus sequence and subsequently mapped to cancer . The method can comprise collecting a nucleic acid
     a genome . As an alternative, sequence reads can be mapped sample from a subject. The nucleic acid sample can be
     to a genome prior to binning and subsequently collapsed to collected from blood , plasma , serum , urine, saliva , mucosal
     a consensus sequence.                                         30 excretions, sputum , stool , cerebral spinal fluid , skin , hair,
        The method can also comprise sorting sequence reads into sweat , and / or tears . The nucleic acid sample can be a
     paired reads and unpaired reads . After sorting, the number of cell - free nucleic acid sample. In some cases , the nucleic acid
     paired reads and unpaired reads that map to each of one or sample is collected from no more than 100 nanograms (ng)
     more genetic loci can be quantified.                             of double - stranded polynucleotide molecules of the subject.
        The method can include quantifying the consensus reads 35 The polynucleotide fragments can comprise double
     to detect and / or quantify the rare DNA , which are described stranded polynucleotide molecules . In some cases , the plu
     throughout. The method can comprise detecting and / or rality of polynucleotide molecules are coupled to the poly
     quantifying the rare DNA by comparing a number of times nucleotide fragments via blunt end ligation , sticky end
     each base occurs at each position of a genome represented ligation, molecular inversion probes , polymerase chain reac
     by the tagged , amplified , and / or enriched DNA fragments. 40 tion (PCR) , ligation -based PCR , multiplex PCR , single
        The method can comprise tagging the original DNA strand ligation , or single strand circularization.
     fragments in a single reaction using a library of tags . The       The method as described herein results in high efficiency
     library can include at least 2 , at least 3 , at least 4 , at least 5 , tagging of nucleic acids . For example , exposing the poly
     at least 6 , at least 7 , at least 8 , at least 9 , at least 10 , at least nucleotide fragments of the nucleic acid sample to the
     11 , at least 12 , at least 13 , at least 14 , at least 15 , at least 16 , 45 plurality of polynucleotide molecules yields the tagged
     at least 17 , at least 18 , at least 19 , at least 20 , at least 50 , at polynucleotide fragments with a conversion efficiency of at
     least 100 , at least 500 , at least 1000 , at least 5000 , at least least 30 % , e.g. , of at least 50% ( e.g. , 60 % , 70 % , 80 % , 90 % ,
     10000 , or any number of tags as disclosed throughout. For 95 % , or 99 % ) . Conversion efficiency of at least 30 % , 35 % ,
     example, the library of tags can include at least 8 tags . The 40% , 45 % , 50 % , 51 % , 52 % , 53 % , 54 % , 55 % , 56 % , 57 % ,
     library of tags can include 8 tags (which can generate 64 50 58 % , 59 % , 60 % , 61 % , 62 % , 63 % , 64 % , 65 % , 66 % , 67 % ,
     different possible combinations ). The method can be con- 68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % ,
     ducted such that a high percentage of fragments, e.g. , greater 78 % , 79 % , 80 % , 81 % , 82 % , 83 % , 84 % , 85 % , 86 % , 87 % ,
     than 50 % (or any percentages as described throughout) are 88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % ,
     tagged at both ends, wherein each of the tags comprises a 98 % , or 99 % can be achieved .
     molecular barcode.                                                         55    The method can result in a tagged polynucleotide frag
       M. Processing and / or Analyzing Nucleic Acids                        ment that share common polynucleotide molecules . For
        The methods described throughout can be used for pro- example , any of at least 5 % , 6 % , 7 % , 8 % , 9 % , 10 % , 20 % ,
     cessing and / or analyzing a nucleic acid sample of a subject. 25 % , 30% , 35 % , 40 % , 45 % , 50 % , 55 % , 60% , 65 % , 70% ,
     The method can comprising exposing polynucleotide frag- 75 % , 80 % , 85 % , 90% , 95 % , 96 % , 97 % , 98 % , 99 % or 100 %
     ments of the nucleic acid sample to a plurality of polynucle- 60 of the tagged polynucleotide fragments share a common
     otide molecules to yield tagged polynucleotide fragments. polynucleotide molecule . The method can comprise gener
     The plurality of polynucleotide molecules that can be used ating the polynucleotide fragments from the nucleic acid
     are described throughout the application .                       sample .
        For example, the plurality of polynucleotide molecules                 In some cases , the subjecting of the method comprises
     can be each less than or equal to 40 nucleic acid bases in 65 amplifying the tagged polynucleotide fragments in the pres
     length and have distinct barcode sequences with respect to              ence primers corresponding to a plurality of genes selected
     at least 4 nucleic acid bases and an edit distance of at least          from the group consisting of ALK , APC , BRAF, CDKN2A ,
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                                                                          US 10,889,858 B2
                                            43                                                                             44
     EGFR , ERBB2 , FBXW7 , KRAS, MYC , NOTCH1 , NRAS ,                                 The method can further comprising performing consensus
     PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABLI , AKT1 ,                            calling at an additional genomic locus among the genomic
     ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,                             loci . The method can comprise determining a variation in
     FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, GNAS, HNF1A ,                                copy number at one of the given genomic locus and addi
     HRAS , IDH1 , IDH2 , JAK2, JAK3, KDR , KIT, MLH1 , 5 tional genomic locus based on counts at the given genomic
     MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET ,SMAD4, locus and additional genomic locus .
     SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 , template                          The methods described herein can comprise providing
     CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,                                        polynucleotide molecules and a library of adaptor
     TP53 , ARIDIA , BRCA2 , CCNE1 , ESR1 , RIT1 , GATA3, polynucleotide molecules   polynucleotide  molecules in a reaction vessel . The adaptor
     MAP2K1, RHEB , ROS1 , ARAF, MAP2K2, NFE2L2 , 10 barcode                                   sequences  and in
                                                                                                                can have from 2 to 1,000 different
                                                                                                                 some cases are not sequencing
     RHOA , and NTRK1 . Additionally, any combination of these adaptors. Other variations of
     genes can be amplified . For example , 1 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , ecules are described throughoutadaptor, which
                                                                                                                             polynucleotide mol
                                                                                                                              can also be used in
     10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 ,       the methods .
     26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 15
     42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , or all 54 of these theThe polynucleotide molecules of the adaptors can have
                                                                                        same sample tag . The adaptor polynucleotide molecules
     genes can be amplified .                                                       can be coupled to both ends of the template polynucleotide
        The methods described herein can comprise generating a molecules . The method can comprise coupling the adaptor
     plurality of sequence reads from a plurality of polynucle- polynucleotide molecules to the template polynucleotide
     otide molecules . The plurality of polynucleotide molecules 20 molecules at an efficiency of at least 30% , e.g. , of at least
     can cover genomic loci of a target genome. For example, the 50% (e.g. , 60 % , 70 % , 80 % , 90 % , 95 % , or 99 % ) , thereby
     genomic loci can correspond to a plurality of genes as listed tagging each template polynucleotide with a tagging com
     above . Further, the genomic loci can be any combination of bination that is among 4 to 1,000,000 different tagging
     these genes . Any given genomic locus can comprise at least combinations , to produce tagged polynucleotide molecules .
     two nucleic acid bases . Any given genomic locus can also 25 In some cases , the reaction can occur in a single reaction
     comprise a plurality of nucleic acid bases , for example, 2 , 3 , vessel . Coupling efficiency can also be at least 30 % , 35 % ,
     4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 ,   40% , 45 % , 50 % , 51 % , 52 % , 53 % , 54 % , 55 % , 56 % , 57 % ,
     22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 ,       58 % , 59 % , 60 % , 61 % , 62 % , 63 % , 64 % , 65 % , 66 % , 67 % ,
     38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , or more              68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % ,
     nucleic acid bases .                                         30 78 % , 79 % , 80 % , 81 % , 82 % , 83 % , 84 % , 85 % , 86 % , 87 % ,
        The method can comprise grouping with a computer 88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % ,
     processor the plurality of sequence reads into families. Each 98 % , or 99 % . Tagging can be non -unique tagging .
     of the family can comprises sequence reads from one of the         The tagged polynucleotide molecules can then be subject
     template polynucleotides. Each family can comprise to an amplification reaction under conditions that will yield
     sequence reads from only one of the template polynucle- 35 amplified polynucleotide molecules as amplification prod
     otides . For each of the family, the sequence reads can be ucts of the tagged polynucleotide molecules . The template
     merged to generate a consensus sequence. The grouping can polynucleotide molecules can be double - stranded . Further,
     comprise classifying the plurality of sequence reads into the template polynucleotide molecules can be blunt ended .
     families by identifying ( i ) distinct molecular barcodes In some cases , the amplification reaction comprises non
     coupled to the plurality of polynucleotide molecules and (ii ) 40 specifically amplifying the tagged polynucleotide mol
     similarities between the plurality of sequence reads , wherein ecules . The amplification reaction can also comprises using
     each family includes a plurality of nucleic acid sequences a priming site to amplify each of the tagged polynucleotide
     that are associated with a distinct combination of molecular molecules . The priming site can be a primer, e.g. , a universal
     barcodes and similar or identical sequence reads.                   primer. The priming site can also be a nick .
        Once merged, a consensus sequence can be called at a 45 The method can also comprise sequencing the amplified
     given genomic locus among the genomic loci . At any given polynucleotide molecules . The sequencing can comprise (i )
     genomic loci, any of the following can be determined : i ) subjecting the amplified polynucleotide molecules to an
     genetic variants among the calls ; ii ) frequency of a genetic additional amplification reaction under conditions that yield
     alteration among the calls ; iii ) total number of calls ; and iv ) additional amplified polynucleotide molecules as amplifica
     total number of alterations among the calls . The calling can 50 tion products of the amplified polynucleotide molecules ,
     comprise calling at least one nucleic acid base at the given and / or ( ii ) sequencing the additional amplified polynucle
     genomic locus . The calling can also comprise calling a otide molecules . The additional amplification can be per
     plurality of nucleic acid bases at the given genomic locus . In formed in the presence of primers comprising flow cells
     some cases , the calling can comprise phylogenetic analysis , sequences , which will produce polynucleotide molecules
     voting (e.g. , biased voting) , weighing, assigning a probabil- 55 that are capable of binding to a flow cell . The additional
     ity to each read at the locus in a family, or calling the base amplification can also be performed in the presence of
     with the highest probability. The consensus sequence can be primers comprising sequences for hairpin shaped adaptors .
     generated by evaluating a quantitative measure or a statis- The hairpin shaped adaptors can be attached to both ends of
     tical significance level for each of the sequence reads . If a a polynucleotide fragment to generate a circular molecule ,
     quantitative measure is performed , the method can comprise 60 which can be sequenced multiple times . The method can
     use of a binomial distribution , exponential distribution , beta further comprise identifying genetic variants upon sequenc
     distribution , or empirical distribution . However, frequency ing the amplified polynucleotide molecules .
     of the base at the particular location can also be used for           The method can further comprising separating polynucle
     calling, for example, if 51 % or more of the reads is a “ A ” at otide molecules comprising one or more given sequences
     the location , then the base may be called an “ A ” at that 65 from the amplified polynucleotide molecules , to produce
     particular location . The method can further comprise map- enriched polynucleotide molecules . The method can also
     ping a consensus sequence to a target genome .                      comprise amplifying the enriched polynucleotide molecules
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                                   45                                                                    46
     with primers comprising the flow cell sequences . This          Subjects identified as positive in a test that are in reality
     amplification with primers comprising flow cell sequences    positive are referred as true positives ( TP ) . Subjects identi
     will produce polynucleotide molecules that are capable of    fied as positive in a test that are in reality negative are
     binding to a flow cell . The amplification can also be per   referred as false positives (FP ) . Subjects identified as nega
     formed in the presence of primers comprising sequences for 5 tive in a test that are in reality negative are referred as true
     hairpin shaped adaptors. The hairpin shaped adaptors can be negatives (TN) . Subjects identified as negative in a test that
     attached to both ends of a polynucleotide fragment to are in reality positive are referred as false negatives ( FN) .
     generate a circular molecule , which can be sequenced mul aSensitivity    is the percentage of actual positives identified in
                                                                    test as positive . This includes, for example, instances in
     tiple times.
       Flow cell sequences or hairpin shaped adaptors can be 10 which one should have founda cancer genetic variant and
     added by non -amplification methods such as through liga did        . (Sensitivity = TP / ( TP + FN ) .) Specificity is the percentage
                                                                     of actual negatives identified in a test as negative . This
     tion of such sequences. Other techniques such as hybridiza includes       , for example , instances in which one should have
     tion methods can be used , e.g. , nucleotide overhangs.         found no cancer genetic variant and did not . Specificity can
        The method can be performed without aliquoting the 15 be calculated using the following equation: Specificity = TN /
     tagged polynucleotide molecules . For example, once the (TN + FP) . Positive predictive value ( PPV) can be measured
     tagged polynucleotide molecule is made, the amplification by the percentage of subjects who test positive that are true
     and sequencing can occur in the same tube without any positives . PPV can be calculated using the following equa
     further preparation.                                            tion : PPV=TP/ ( TP + FP ) . Positive predictive value can be
        The methods described herein can be useful in detecting 20 increased by increasing sensitivity (e.g., chance of an actual
     single nucleotide variations (SNV ), copy number variations positive being detected ) and / or specificity ( e.g. , chance of
     ( CNV ), insertions, deletions, and / or rearrangements . In not mistaking an actual negative for a positive ) .
     some cases , the SNVs, CNVs, insertions, deletions, and /or        Low conversion rates of polynucleotides into adaptor
     rearrangements, can be associated with disease , for example, tagged polynucleotides can compromise sensitivity as it
     cancer .                                                     25 decreases the chance of converting, and therefore detecting,
        N. Monitoring a Patient's Status                             rare polynucleotide targets. Noise in a test can compromise
       Methods disclosed herein can also be used to monitor a             specificity as it increases the number of false positives
     patient's disease status . The disease of a subject can be           detected in a test . Both low conversion rate and noise
     monitored over time to determine a progression of the compromise positive predictive value as they decrease the
     disease (e.g. , regression) . Markers indicative of the disease 30 percentage of true positives and increase the percentage of
     can be monitored in a biological sample of the subject, such         false positives.
     as a cell - free DNA sample.                                            The methods disclosed herein can achieve high levels of
        For example, monitoring a subject's cancer atus can               agreement, e.g. , sensitivity and specificity, leading to high
     comprise ( a ) determining an amount of one or more SNVs positive predictive values . Methods of increasing sensitivity
     or copy numbers of a plurality of genes (e.g. , in an exon) , (b ) 35 include high efficiency conversion of polynucleotides into
     repeating such determination at different points in time , and adaptor -tagged polynucleotides in a sample . Methods of
     ( c ) determining if there is a difference in the number of increasing specificity include reducing sequencing errors,
     SNVs, level of SNVs, number or level of genomic rear- for example, by molecular tracking.
     rangements , or copy numbers between (a ) and ( b ). The genes   Methods of the present disclosure can be used to detect
     can be selected from the group consisting of ALK , APC , 40 genetic variation in non -uniquely tagged initial starting
     BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS , MYC , genetic material ( e.g. , rare DNA ) at a concentration that is
     NOTCH1 , NRAS , PIK3CA , PTEN , RB1 , TP53 , MET, AR , less than 5 % , 1 % , 0.5 % , 0.1 % , 0.05 % , or 0.01 % , at a
     ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , specificity of at least 99 % , 99.9 % , 99.99 % , 99.999 % ,
     EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, 99.9999 % , or 99.99999 % . In some aspects , the methods can
     GNAS, HNF1A , HRAS , IDH1 , IDH2 , JAK2, JAK3 , KDR , 45 further comprise converting polynucleotides in the initial
     KIT, MLH1 , MPL , NPM1 , PDGFRA , PROC , PTPN11 ,                    starting material at an efficiency of at least at least 10 % , at
     RET ,SMAD4, SMARCB1, SMO , SRC , STK11 , VHL ,                       least 20% , at least 30 % , at least 40 % , at least 50% , at least
     TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 , 60% , at least 70 % , at least 80 % , or at least 90 % . Sequence
     CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNEI , reads of tagged polynucleotides can be subsequently tracked
     ESR1 , RIT1 , GATA3, MAP2K1, RHEB , ROS1 , ARAF, 50 to generate consensus sequences for polynucleotides with an
     MAP2K2, NFE2L2 , RHOA , and NTRK1 . The genes can be error rate of no more than 2 % , 1 % , 0.1 % , or 0.01% .
     selected from any 5 , 10 , 15 , 20 , 30 , 40 , 50 , or all of the genes    2. Pooling Methods
     in this group.                                                             Disclosed herein are methods of detecting copy number
        0. Sensitivity and Specificity                                       variation and / or sequence variants at one or more genetic
        Methods disclosed herein can be used to detect cancer 55 loci in a test sample. One embodiment is shown in FIG . 8 .
     polynucleotides in a sample , and cancer in a subject, with Typically, detecting copy number variation involves deter
     high measures of agreement, e.g. , high sensitivity and / or         mining a quantitative measure ( e.g. , an absolute or relative
     specificity . For example, such methods can detect cancer number ) of polynucleotides mapping to a genetic locus of
     polynucleotides ( e.g. , rare DNA ) in a sample at a concen- interest in a genome of a test sample, and comparing that
     tration that is less than 5 % , 1 % , 0.5 % , 0.1 % , 0.05 % , or 60 number to a quantitative measure of polynucleotides map
     0.01 % , at a specificity of at least 99 % , 99.9 % , 99.99 % , ping to that locus in a control sample. In certain methods, the
     99.999 % , 99.9999 % , or 99.99999 % . Such polynucleotides quantitative measure is determined by comparing the num
     may be indicative of cancer or other disease . Further, such ber of molecules in the test sample that map to a locus of
     methods can detect cancer polynucleotides in a sample with interest with a number of molecules in the test sample
     a positive predictive value of at least 90% , 91 % , 92% , 93 % , 65 mapping to a reference sequence , e.g. , a sequence expected
     94 % , 95 % , 96 % , 97 % , 98 % , 99 % , 99.9 % , 99.99 % , to be present at wild type ploidy number. In some examples,
     99.999 % , or 99.9999 % .                                            the reference sequence is HG19 , build 37 , or build 38. The
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                                      47                                                                           48
     comparison could involve, for example, determining a ratio .                using high excess of adaptors ( e.g. , more than 1.5x , more
     Then, this measure is compared with a similar measure than 2x , more than 3x , more than 4x , more than 5x , more
     determined in a control sample. So , for example, if a test than 6x , more than 7x , more than 8x , more than 9x , more
     sample has a ratio of 1.5 : 1 for locus of interest versus than 10x , more than 11x , more than 12x , more than 13x ,
     reference locus , and a control sample has a ratio of 1 : 1 for 5 more than 14x , more than 15x , more than 20x , more than
     the same loci , one may conclude that the test sample exhibits 25x , more than 30x , more than 35x , more than 40x , more
     polyploidy at the locus of interest.                              than 45x , more than 50x , more than 55x , more than 60x ,
          When the test sample and the control sample are analyzed
     separately, the work flow can introduce distortions between more           80x  ,
                                                                                        than 65x , more than 70x , more than 75x , more than
                                                                                       more    than 85x , more than 90x , more than 95x , or more
     final numbers in the control and test samples .                         10
                                                                                than   100  ).
          In one method disclosed herein ( e.g. , flow chart 800 ) ,               Once tagged with tags that identify source of the poly
     polynucleotides are provided from a test and a control nucleotides                        , polynucleotides from different sources ( e.g. ,
     sample (802 ) . Polynucleotides in a test sample and those in different samples                  ) can be pooled. After pooling, polynucle
     a control sample are tagged with tags that identify the
     polynucleotides as originating from the test or control 15 distinguished by any sources
                                                                                otides   from   different           ( e.g. , different samples) can be
                                                                                                            measurement using the tags , including
     sample ( a source tag ) . (804. ) The tag can be , for example, a
     polynucleotide sequence or barcode that unambiguously any process of quantitative measurement. For example, as
     identifies the source .                                                    shown in ( 806 ) (FIG . 8 ) , polynucleotides from the control
          The polynucleotides in each of the control and test sample and the test sample can be pooled . The pooled
     samples also can be tagged with identifier tags that will be 20 molecules can be subject to the sequencing (808 ) and
     carried by all amplification progeny of a polynucleotide. bioinformatic work flow . Both will be subject to the same
     Information from start and end sequences of a polynucle- variations in the process and, therefore , any differential bias
     otide and identifier tags can identify sequence reads from is reduced . Because molecules originating from control and
     polynucleotides amplified from an original parent molecule . test samples are differently tagged , they can be distinguished
     Each molecule can be uniquely tagged compared with other 25 in any process of quantitative measurement.
     molecules in the sample. Alternatively, each molecule need                    The relative amount of control and test sample pooled can
     not be uniquely tagged compared with other molecules in be varied . The amount of control sample can be same as the
     the sample . That is , the number of different identifier amount of test sample. The amount of control sample can
     sequences can be fewer than that the number of molecules also be larger than the amount of test sample. Alternatively,
     instopsample . By information
              sequence  combining ,identifier   information
                                      the probability           with start
                                                        of confusing   two/ 30 of
                                                                                the amount ofcontrol sample can be smaller than the amount
     molecules having the same start/ stop sequence is signifi sample               test sample. The smaller the relative amount of one
     cantly diminished .                                                                  to the total , the fewer identifying tags needed in the
                                                                                original   tagging process. A number can be selected to reduce
     (e.g.Number
             , cfDNAof)different identifiers used to tag a nucleic acid
                        can dependent      on the number of different 35 to acceptable levels the probability that two parent mol
     haploid genome equivalents. Different identifiers can be ecules            same
                                                                                          having the same start/ end sequences will bear the
                                                                                        identifying   tag . This probability can be less than 10 % ,
     used to tag at least 2 , least 10 , least 100 , least 200 , least 300 ,
     least 400 , least 500 , least 600 , least 700 , least 800 , least 900 , less than 1 % , less than 0.1 % or less than 0.01 % . The
     least 1,000 , least 2,000 , least 3,000 , least 4,000 , least 5,000 , probability can be less than 25 % , 24 % , 23 % , 22 % , 21 % ,
     least 6,000 , least 7,000 , least 8,000 , least 9,000 , least 10,000 40 20% , 19 % , 18 % , 17 % , 16 % , 15 % , 14 % , 13 % , 12 % , 11 % ,
     or more different haploid genome equivalents. Accordingly, 10% , 9 % , 8 % , 7 % , 6 % , 5 % , 4 % , 3 % , 2 % , or 1 % .
     the number of different identifiers used to tag a nucleic acid                       Methods disclosed herein can also comprise grouping
     sample, e.g. , cell - free DNA from 500 to 10,000 different sequence reads . For example, bioinformatic workflow can
     haploid genome equivalents and be between any of 1 , 2 , 3 , include grouping sequence reads produced from progeny of
     4 and 5 and no more than 100 , 90 , 80 , 70 , 60 , 50 , 40 or 30. 45 a single parent molecule , as shown in ( 810 ) (FIG . 8 ) . This
     For example , the number of different identifier used to tag a can involve any of the redundancy reduction methods
     nucleic acid sample from 500 to 10,000 different haploid described herein . Molecules sourced from test and control
     genome equivalents can be 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , samples can be differentiated based on source tags they carry
     13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , (812 ) . Molecules mapping to a target locus are quantified for
     29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 50 both test - sourced and control - sourced molecules (812 ) . This
     45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 , can include the normalization methods discussed herein ,
     61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 , e.g. , in which numbers at a target locus are normalized
     77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , 89 , 90 , 91 , 92 , against numbers at a reference locus .
     93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 or less .                                     Normalized (or raw ) quantities at a target locus from test
        Polynucleotides can be tagged by ligation of adaptors 55 and control samples are compared to determine presence of
     comprising the tags or identifiers before amplification . Liga- copy number variation ( 814 ) .
     tion can be performed using an enzyme, e.g. , a ligase . For      3. Computer Control Systems
     example , tagging can be performed using a DNA ligase . The       The present disclosure provides computer control systems
     DNA ligase can be a T4 DNA ligase , E. coli DNA ligase , that are programmed to implement methods of the disclo
     and / or mammalian ligase . The mammalian ligase can be 60 sure . FIG . 6 shows a computer system 1501 that is pro
     DNA ligase I , DNA ligase III , or DNA ligase IV . The ligase grammed or otherwise configured to implement the methods
     may also be a thermostable ligase . Tags can be ligated to a of the present disclosure. The computer system 1501 can
     blunt - end of a polynucleotide ( blunt -end ligation ). Alterna- regulate various aspects sample preparation, sequencing
     tively, tags can be ligated to a sticky end of a polynucleotide and / or analysis. In some examples, the computer system
     ( sticky -end ligation ). The polynucleotides can be tagged by 65 1501 is configured to perform sample preparation and
     blunt end ligation using adaptors (e.g. , adaptors having sample analysis, including nucleic acid sequencing. The
     forked ends ) . High efficiency of ligation can be achieved computer system 1501 can be an electronic device of a user
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                                  49                                                                 50
     or a computer system that is remotely located with respect electronic storage unit 1515. The machine executable or
     to the electronic device . The electronic device can be a machine readable code can be provided in the form of
     mobile electronic device .                                    software . During use , the code can be executed by the
        The computer system 1501 includes a central processing processor 1505. In some cases , the code can be retrieved
     unit ( CPU , also “ processor” and “ computer processor ” 5 from the storage unit 1515 and stored on the memory 1510
     herein ) 1505 , which can be a single core or multi core for ready access by the processor 1505. In some situations ,
     processor, or a plurality of processors for parallel process- the electronic storage unit 1515 can be precluded , and
     ing . The computer system 1501 also includes memory or machine - executable instructions are stored on memory
     memory location 1510 (e.g. , random - access memory , read- 1510 .
     only memory , flash memory ), electronic storage unit 1515 10 The code can be pre -compiled and configured for use with
     ( e.g. , hard disk ), communication interface 1520 ( e.g. , net- a machine have a processor adapted to execute the code , or
     work adapter ) for communicating with one or more other can be compiled during runtime. The code can be supplied
     systems , and peripheral devices 1525 , such as cache, other in a programming language that can be selected to enable the
     memory , data storage and / or electronic display adapters . The code to execute in a pre -compiled or as - compiled fashion .
     memory 1510 , storage unit 1515 , interface 1520 and periph- 15 Aspects of the systems and methods provided herein , such
     eral devices 1525 are in communication with the CPU 1505 as the computer system 1501 , can be embodied in program
     through a communication bus ( solid lines ) , such as a moth- ming . Various aspects of the technology may be thought of
     erboard . The storage unit 1515 can be a data storage unit (or as “ products ” or “ articles of manufacture ” typically in the
     data repository ) for storing data . The computer system 1501 form of machine ( or processor) executable code and / or
     can be operatively coupled to a computer network (“ net- 20 associated data that is carried on or embodied in a type of
     work ” ) 1530 with the aid of the communication interface          machine readable medium . Machine -executable code can be
     1520. The network 1530 can be the Internet, an internet            stored on an electronic storage unit , such memory ( e.g. ,
     and /or extranet, or an intranet and /or extranet that is in       read -only memory, random - access memory, flash memory )
     communication with the Internet. The network 1530 in some          or a hard disk . “ Storage ” type media can include any or all
     cases is a telecommunication and / or data network . The 25 of the tangible memory of the computers, processors or the
     network 1530 can include one or more computer servers ,            like, or associated modules thereof, such as various semi
     which can enable distributed computing, such as cloud              conductor memories , tape drives, disk drives and the like ,
     computing. The network 1530 , in some cases with the aid of which may provide non - transitory storage at any time for the
     the computer system 1501 , can implement a peer -to -peer software programming. All or portions of the software may
     network , which may enable devices coupled to the computer 30 at times be communicated through the Internet or various
     system 1501 to behave as a client or a server.                     other telecommunication networks. Such communications,
        The CPU 1505 can execute a sequence of machine- for example , may enable loading of the software from one
     readable instr ons , which can be embodied in a program computer or processor into another, for example, from a
     or software . The instructions may be stored in a memory management server or host computer into the computer
     location , such as the memory 1510. The instructions can be 35 platform of an application server. Thus, another type of
     directed to the CPU 1505 , which can subsequently program media that may bear the software elements includes optical ,
     or otherwise configure the CPU 1505 to implement methods electrical and electromagnetic waves , such as used across
     of the present disclosure. Examples of operations performed physical interfaces between local devices, through wired and
     by the CPU 1505 can include fetch , decode , execute , and optical landline networks and over various air - links. The
     writeback .                                                     40 physical elements that carry such waves , such as wired or
        The CPU 1505 can be part of a circuit, such as an wireless links, optical links or the like , also may be consid
     integrated circuit . One or more other components of the ered as media bearing the software. As used herein , unless
     system 1501 can be included in the circuit . In some cases , restricted to non -transitory, tangible “ storage” media , terms
     the circuit is an application specific integrated circuit such as computer or machine “ readable medium ” refer to
     ( ASIC ) .                                                      45 any medium that participates in providing instructions to a
        The storage unit 1515 can store files, such as drivers , processor for execution.
     libraries and saved programs. The storage unit 1515 can               Hence , a machine readable medium , such as computer
     store user data , e.g. , user preferences and user programs. The executable code, may take many forms, including but not
     computer system 1501 in some cases can include one or limited to , a tangible storage medium , a carrier wave
     more additional data storage units that are external to the 50 medium or physical transmission medium . Non - volatile
     computer system 1501, such as located on a remote server storage media include , for example, optical or magnetic
     that is in communication with the computer system 1501 disks , such as any of the storage devices in any computer ( s)
     through an intranet or the Internet.                               or the like , such as may be used to implement the databases ,
        The computer system 1501 can communicate with one or etc. shown in the drawings. Volatile storage media include
     more remote computer systems through the network 1530. 55 dynamic memory, such as main memory of such a computer
     For instance, the computer system 1501 can communicate platform . Tangible transmission media include coaxial
     with a remote computer system of a user ( e.g. , an operator ). cables ; copper wire and fiber optics , including the wires that
     Examples of remote computer systems include personal comprise a bus within a computer system . Carrier -wave
     computers ( e.g. , portable PC) , slate or tablet PC's ( e.g. , transmission media may take the form of electric or elec
     Apple® iPad , Samsung® Galaxy Tab ), telephones, Smart 60 tromagnetic signals, or acoustic or light waves such as those
     phones ( e.g. , Apple iPhone , Android -enabled device , generated during radio frequency (RF ) and infrared (IR) data
     Blackberry® ), or personal digital assistants . The user can communications. Common forms of computer - readable
     access the computer system 1501 via the network 1530 .             media therefore include for example: a floppy disk , a flexible
        Methods as described herein can be implemented by way disk, hard disk, magnetic tape , any other magnetic medium ,
     of machine (e.g. , computer processor) executable code 65 a CD - ROM , DVD or DVD - ROM , any other optical
     stored on an electronic storage location of the computer medium , punch cards paper tape , any other physical storage
     system 1501 , such as , for example, on the memory 1510 or medium with patterns of holes , a RAM , a ROM , a PROM
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                                     51                                                                              52
     and EPROM , a FLASH - EPROM , any other memory chip or                     EGFR , ERBB2 , FBXW7 , KRAS, MYC , NOTCH1 , NRAS ,
     cartridge, a carrier wave transporting data or instructions, PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
     cables or links transporting such a carrier wave , orany other ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     medium from which a computer may read programming FGFR2 , FGFR3 , FLT3 , GNA11, GNAQ , GNAS , HNF1A ,
     code and / or data . Many of these forms of computer readable 5 HRAS , IDHI , IDH2 , JAK2 , JAK3, KDR , KIT, MLHI ,
     media may be involved in carrying one or more sequences MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET ,SMAD4,
     of one or more instructions to a processor for execution .      SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
        The computer system 1501 can include or be in commu- CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     nication with an electronic display 1535 that comprises a TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RIT1 , GATA3,
     user interface (UI ) 1540. The UI can allow a user to set 10 MAP2K1, RHEB , ROSI, ARAF, MAP2K2, NFE2L2 ,
     various conditions for the methods described herein , for RHOA , and NTRK1 . The number genes to which the
     example , PCR or sequencing conditions . Examples of UI's oligonucleotide probes can selectively hybridize can vary.
     include , without limitation, a graphical user interface (GUI) For example, the number of genes can comprise 1 , 2 , 3 , 4 ,
     and web -based user interface .                                5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 ,
       Methods and systems of the present disclosure can be 15 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 ,
     implemented by way of one or more algorithms. An algo-                     38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 ,
     rithm can be implemented by way of software upon execu-                    or 54. The kit can include a container that includes the
     tion by the central processing unit 1505. The algorithm can ,              plurality of oligonucleotide probes and instructions for per
     for example, process the reads to generate a consequence                   forming any of the methods described herein .
     sequence .                                                            20      The oligonucleotide probes can selectively hybridize to
       FIG . 7 schematically illustrates another system for ana-      exon regions of the genes , e.g. , of the at least 5 genes . In
     lyzing a sample comprising nucleic acids from a subject.         some cases , the oligonucleotide probes can selectively
     The system includes a sequencer, bioinformatic software          hybridize to at least 30 exons of the genes, e.g. , of the at least
     and internet connection for report analysis by, for example, 5 genes. In some cases , the multiple probes can selectively
     a hand held device or a desktop computer                      25 hybridize to each of the at least 30 exons . The probes that
        Disclosed herein is a system for analyzing a target nucleic hybridize to each exon can have sequences that overlap with
     acid molecule of a subject, comprising: a communication at least 1 other probe . In some embodiments, the oligoprobes
     interface that receives nucleic acid sequence reads for a can selectively hybridize to non- coding regions of genes
     plurality of polynucleotide molecules that cover genomic disclosed herein , for example, intronic regions of the genes .
     loci of a target genome; computer memory that stores the 30 The oligoprobes can also selectively hybridize to regions of
     nucleic acid sequence reads for the plurality of polynucle- genes comprising both exonic and intronic regions of the
     otide molecules received by the communication interface; genes disclosed herein .
     and a computer processor operatively coupled to the com-           Any number of exons can be targeted by the oligonucle
     munication interface and the memory and programmed to (i ) otide probes . For example, at least 1 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 ,
     group the plurality of sequence reads into families, wherein 35 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 30 ,
     each family comprises sequence reads from one of the 35 , 40 , 45 , 50 , 55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 , 105 ,
     template polynucleotides, ( ii ) for each of the families , merge 110 , 115 , 120 , 125 , 130 , 135 , 140 , 145 , 150 , 155 , 160 , 165 ,
     sequence reads to generate a consensus sequence , ( iii ) call 170 , 175 , 180 , 185 , 190 , 195 , 200 , 205 , 210 , 215 , 220 , 225 ,
     the consensus sequence at a given genomic locus among the 230 , 235 , 240 , 245 , 250 , 255 , 260 , 265 , 270 , 275 , 280 , 285 ,
     genomic loci , and ( iv ) detect at the given genomic locus any 40 290 , 295 , 300 , 400 , 500 , 600 , 700 , 800 , 900 , 1,000 , or more ,
     of genetic variants among the calls , frequency of a genetic exons can be targeted .
     alteration among the calls , total number of calls ; and total The kit can comprise at least 4 , 5 , 6 , 7 , or 8 different
     number of alterations among the calls , wherein the genomic library adaptors having distinct molecular barcodes and
     loci correspond to a plurality of genes selected from the identical sample barcodes. The library adaptors may not be
     group consisting of ALK , APC , BRAF, CDKN2A , EGFR , 45 sequencing adaptors. For example, the library adaptors do
     ERBB2 , FBXW7 , KRAS, MYC , NOTCHI , NRAS , not include flow cell sequences or sequences that permit the
     PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 , formation of hairpin loops for sequencing. The different
     ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,      variations and combinations of molecular barcodes and
     FGFR2 , FGFR3 , FLT3, GNA11, GNAQ , GNAS, HNF1A , sample barcodes are described throughout, and are appli
     HRAS, IDHI , IDH2 , JAK2, JAK3, KDR , KIT, MLH1 , 50 cable to the kit . Further, in some cases , the adaptors are not
     MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET,SMAD4, sequencing adaptors. Additionally, the adaptors provided
     SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCNDI , with the kit can also comprise sequencing adaptors. A
     CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 , sequencing adaptor can comprise a sequence hybridizing to
     TP53 , ARID1A , BRCA2 , CCNE1 , ESR1 , RITI , GATA3, one or more sequencing primers . A sequencing adaptor can
     MAP2K1, RHEB , ROSI , ARAF, MAP2K2, NFE2L2 , 55 further comprise a sequence hybridizing to a solid support,
     RHOA , and NTRK1 . The different variations of each com- e.g. , a flow cell sequence . For example, a sequencing
     ponent of the system are described throughout the disclosure               adaptor can be a flow cell adaptor. The sequencing adaptors
     within the methods and compositions. These individual                       can be attached to one or both ends of a polynucleotide
     components and variations thereof, are also applicable in                   fragment. In some cases , the kit can comprise at least 8
     this system .                                                            60 different library adaptors having distinct molecular barcodes
        4. Kits                                                                  and identical sample barcodes. The library adaptors may not
        Kits comprising the compositions as described herein . be sequencing adaptors . The kit can further include a
     The kits can be useful in performing the methods as sequencing adaptor having a first sequence that selectively
     described herein . Disclosed herein is a kit comprising a hybridizes to the library adaptors and a second sequence that
     plurality of oligonucleotide probes that selectively hybridize 65 selectively hybridizes to a flow cell sequence . In another
     to least 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , 40 or all genes selected from example , a sequencing adaptor can be hairpin shaped. For
     the group consisting of ALK , APC , BRAF, CDKN2A ,                         example, the hairpin shaped adaptor can comprise a comple
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                                                                US 10,889,858 B2
                                      53                                                                            54
     mentary double stranded portion and a loop portion, where fragment can be identified by the random sequence on the
     the double stranded portion can be attached ( e.g. , ligated ) to hairpin adaptors and a 10 p endogenous sequence on the
     a double - stranded polynucleotide. Hairpin shaped sequenc- fragment.
     ing adaptors can be attached to both ends of a polynucleotide        Tagged DNA is amplified by 10 cycles of PCR to produce
     fragment to generate a circular molecule , which can be 5 about 1-7 ug DNAs that contain approximately 500 copies
     sequenced multiple times . A sequencing adaptor can be up of each of the 800 HGE in the starting material.
     to 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 ,        Buffer optimization, polymerase optimization and cycle
     25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , reduction may be performed to optimize the PCR reactions.
     41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 10 Amplification bias , e.g. , non - specific bias, GC bias , and /or
     57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , size bias are also reduced by optimization . Noise ( s ) ( e.g. ,
     73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , polymerase - introduced errors) are reduced by using high
     89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 , or more bases fidelity polymerases.
     from end to end . The sequencing adaptor can comprise                                    The Library may be prepared using Verniata or Sequenom
     20-30 , 20-40 , 30-50 , 30-60 , 40-60 , 40-70 , 50-60 , 50-70 , 15 methods.
     bases from end to end . In a particular example, the sequenc-                            Sequences may be enriched as follow : DNAs with regions
     ing adaptor can comprise 20-30 bases from end to end . In of interest (ROI ) are captured using biotin - labeled bead with
     another example, the sequencing adaptor can comprise probe to ROIs . The ROIs are amplified with 12 cycles of
     50-60 bases from end to end . A sequencing adaptor can PCR to generate a 2000 times amplification. The resulting
     comprise one or more barcodes. For example, a sequencing 20 DNA is then denatured and diluted to 8 PM and loaded into
     adaptor can comprise a sample barcode. The sample barcode an Illumina sequencer.
     can comprise a pre -determined sequence. The sample bar-                                 Massively Parallel Sequencing
     codes can be used to identify the source of the polynucle-                               0.1 to 1 % of the sample ( approximately 100 pg ) are used
     otides. The sample barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 , 7 , for sequencing.
     8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 Digital Bioinformatics
     25 , or more (or any length as described throughout) nucleic                             Sequence reads are grouped into families, with about 10
     acid bases , e.g. , at least 8 bases . The barcode can be sequence reads in each family. Families are collapsed into
     contiguous or non -contiguous sequences, as described consensus sequences by voting ( e.g. , biased voting ) each
     above .                                                                               position in a family. A base is called for consensus sequence
         The library adaptors can be blunt ended and Y -shaped and 30 ifsequence              8 or 9 members   agree . A base is not called for consensus
                                                                                                      if no more than 60% of the members agree.
     can be less than or equal to 40 nucleic acid bases in length.                            The resulting consensus sequences are mapped to a ref
     Other variations of the can be found throughout and are erence                                 genome. Each base in a consensus sequence is
     applicable to the kit.                                                                covered by about 3000 different families . A quality score for
                                      EXAMPLES                                          35 each sequence is calculated and sequences are filtered based
                                                                                           on the their quality scores .
                                       Example 1                                              Sequence variation is detected by counting distribution of
                                                                                           bases at each locus . If 98 % of the reads have the same base
              Methods for Copy Number Variation Detection                                  ( homozygous) and 2 % have a different base , the locus is
                                                                                        40 likely to have a sequence variant, presumably from cancer
                                                                                           DNA .
         Blood Collection                                                                     CNV is detected by counting the total number of
         10-30 mL Blood samples are collected at om tempera sequences (bases ) mapping to a locus and comparing with a
     ture. The samples are centrifuged to remove cells . Plasma is control locus . To increase CNV detection , CNV analysis is
     collected after centrifugation .                                                   45 performed specific regions, including regions on ALK , APC ,
        cfDNA Extraction                                          BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS , MYC ,
        The sample is subjected to proteinase K digestion . DNA NOTCH1 , NRAS , PIK3CA , PTEN , RB1 , TP53 , MET, AR ,
     is precipitated with isopropanol. DNA is captured on a DNA ABL1 , AKT1 , ATM , CDH1 , CSF1R , CTNNB1, ERBB4 ,
     purification column (e.g. , a Q1Aamp DNA Blood Mini Kit ) EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, GNA11, GNAQ ,
     and eluted in 100 usolution . DNAs below 500 bp are 50 GNAS , HNF1A , HRAS, IDH1 , IDH2 , JAK2 , JAK3 , KDR ,
     selected with Ampure SPRI magnetic bead capture ( PEG / KIT, MLH1 , MPL , NPM1 , PDGFRA , PROC , PTPN11 ,
     salt) . The resulting production is suspended in 30 ul H2O . RET ,SMAD4 , SMARCB1, SMO , SRC , STK11 , VHL ,
     Size distribution is checked (major peak = 166 nucleotides ; TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 ,
     minor peak = 330 nucleotides ) and quantified . 5 ng of CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNEI ,
     extracted DNA contain approximately 1700 haploid genome 55 ESR1 , RITI, GATA3, MAP2K1 , RHEB , ROS1 , ARAF,
     equivalents ( “ HGE ” ). The general correlation between the MAP2K2, NFE2L2 , RHOA , or NTRK1 genes .
     amount of DNA and HGE is as follow : 3 pg DNA = 1 HGE ;
     3 ng DNA = 1K HGE ; 3 ug DNA = 1M HGE ; 10 pg DNA = 3                                      Example 2
     HE ; 10 ng DNA = 3K HGE ; 10 ug DNA = 3M HGE .
       “ Single Molecule” Library Prep                                 60        Method for Correcting Base Calling by
        High -efficiency DNA tagging ( > 80 % ) is performed by             Determining the Total Number Unseen Molecules
     blunt - end repair and ligation with 8 different octomers (i.e. ,                         in a Sample
     64 combinations) with overloaded hairpin adaptors . 2.5 ng
     DNA ( i.e. approximately 800 HGE ) is used as the starting           After fragments are amplified and the sequences of ampli
     material. Each hairpin adaptor comprises a random sequence 65 fied fragments are read and aligned , the fragments are
     on its non - complementary portion . Both ends of each DNA subjected to base calling . Variations in the number of
     fragment are attached with hairpin adaptors. Each tagged amplified fragments and unseen amplified fragments can
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                                            55                                                                     56
     introduce errors in base calling . These variations are cor- dependent on the patient's sample cell - free DNA concen
     rected by calculating the number of unseen amplified frag- tration , which varied from less than 10 to over 1,000
     ments.                                                            genomic equivalents per mL of peripheral blood . Amplifi
        When base calling for locus A ( an arbitrary locus ) , it is cation may not be detected in samples with lower amounts
     first assumed that there are N amplified fragments . The 5 of cell- free DNA and / or low - level gene copy amplification .
     sequence readouts can come from two types of fragments: Certain sample or variant characteristics resulted in reduced
     double -strand fragments and single - strand fragments. The analytic sensitivity, such as low sample quality or improper
     following is a theoretical example of calculating the total collection .
     number of unseen molecules in a sample.                              The percentage of genetic variants found in cell - free DNA
        N is the total number of molecules in the sample.           10 circulating in blood is related to the unique tumor biology of
        Assuming 1000 is the number of duplexes detected .             this patient. Factors that affected the amount/ percentages of
        Assuming 500 is the number of single - stranded molecule detected genetic variants in circulating cell- free DNA in
     detected .                                                        blood include tumor growth , turn -over, size , heterogeneity,
        P is the probability of seeing a strand .                      vascularization, disease progression or treatment. Table 3
        Q is the probability of not detecting a strand .            15 annotates the percentage, or allele frequency , of altered
            Since Q = 1 - P.                                           circulating cell- free DNA ( % cDNA ) detected in this
                                                                       patient. Some of the detected genetic variants are listed in
            1000 = NP ( 2 ).                                           descending order by % cfDNA .
                                                                          Genetic variants are detected in the circulating cell - free
           500 = N2PQ                                               20 DNA isolated from this patient's blood specimen . These
                                                                       genetic variants are cancer - associated somatic variants,
           1000 / P ( 2 ) = N .                                            some of which have been associated with either increased or
                                                                           reduced clinical response to specific treatment. “ Minor
           500-2PQ = N .                                                   Alterations ” are defined as those alterations detected at less
           1000 / P ( 2 ) = 500 : 2PQ.
                                                                      25 than 10 % the allele frequency of “ Major Alterations ” . The
                                                                         detected allele frequencies of these alterations ( Table 3 ) and
           1000 * 2PQ = 500P (2 ) .                                      associated treatments for this patient are annotated .
                                                                           All genes listed in Tables 1 and 2 are analyzed as part of
           2000PQ = 500P( 2 ) .                                            the Guardant360TM test . Amplification is not detected for
                                                                      30 ERBB2 , EGFR , or MET in the circulating cell - free DNA
          2000Q = 500P.                                                    isolated from this patient's blood specimen.
                                                                              Patient test results comprising the genetic variants are
          2000 ( 1 - P ) = 500P                                            listed in Table 4 .
           2000-2000P = 500P.                                         35                                TABLE 1
           2000 = 500P + 2000P.                                                            Genes in which all exons are sequenced
                                                                                      GENES IN WHICH ALL EXONS ARE SEQUENCED
           2000 = 2500P.
                                                                                ALK                     < 0.1 %         APC                   < 0.1 %
                                                                      40        AR                      < 0.1 %         BRAF                  < 0.1 %
          2000-2500 = P .                                                       CDKN2A                  < 0.1 %         EGFR                  < 0.1 %
                                                                                ERBB2                   <0.1 %          FBXW7                 < 0.1 %
          0.8 = P.                                                              KRAS                    < 0.1 %         MET                   < 0.1 %
                                                                                MYC                     < 0.1 %         NOTCH1                < 0.1 %
                                                                                NRAS                    < 0.1 %         PIK3CA                < 0.1 %
           1000 / P ( 2 ) = N .                                                 PTEN                    < 0.1 %         PROC                  < 0.1 %
                                                                      45
                                                                                RB1                     < 0.1 %         TP53                  < 0.1 %
           1000-0.64 = N .
                                                                           LOD : Limit of Detection. The minimum detectable mutant allele frequency for this
           1562 = N .                                                      specimen in which 80 % of somatic variants is detected .

          Number of unseen fragments = 62.                            50                                    TABLE 2
                                         Example 3                                           Genes in which exons with a previously
                                                                                             reported somatic mutation are sequenced
                                                                                       GENES IN WHICH EXONS WITH A PREVIOUSLY
               Identification of Genetic Variants in                                REPORTED SOMATIC MUTATION ARE SEQUENCED
          Cancer - Associated Somatic Variants in a Patient           55
                                                                                ABL1                     < 0.1 %        AKT1                  < 0.1 %
                                                                                ATM                      <0.1 %         CDH1                  < 0.1 %
       An assay is used to analyze a panel of genes to identify                 CSF1R                    <0.1 %         CTNNB1                < 0.1 %
     genetic variants in cancer - associated somatic variants with              ERBB4                    < 0.1 %        EZH2                  < 0.1 %
     high sensitivity.                                                          FGFR1
                                                                                FGFR3
                                                                                                         < 0.1 %
                                                                                                         < 0.1 %
                                                                                                                        FGFR2
                                                                                                                        FLT3
                                                                                                                                              < 0.1 %
                                                                                                                                              < 0.1 %
       Cell -free DNA is extracted from plasma of a patient and 60              GNA11                    < 0.1 %        GNAQ                  < 0.1 %
     amplified by PCR . Genetic variants are analyzed by mas                    GNAS                     <0.1 %         HNF1A                 < 0.1 %
     sively parallel sequencing of the amplified target genes. For              HRAS                     <0.1 %         IDH1                  < 0.1 %
     one set of genes , all exons are sequenced as such sequencing              IDH2
                                                                                JAK3
                                                                                                         < 0.1 %
                                                                                                         < 0.1 %
                                                                                                                        JAK2
                                                                                                                        KDR
                                                                                                                                              < 0.1 %
                                                                                                                                              < 0.1 %
     coverage had shown to have clinically utility ( Table 1 ) . For            KIT                      <0.1 %         MLH1                  < 0.1 %
     another set of genes , sequencing coverage included those 65               MPL                      <0.1 %         NPM1                  < 0.1 %
     exons with a previously reported somatic mutation ( Table 2 ) .            PDGFRA                   < 0.1 %        PTPN11                < 0.1 %
     The minimum detectable mutant allele ( limit of detection ) is
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                                                                          US 10,889,858 B2
                                                57                                                                                   58
                                 TABLE 2 - continued                                                                           TABLE 3
                         Genes in which exons with a previously                                                   Allele frequency of altered circulating
                         reported somatic mutation are sequenced                                                  cell- free DNA detected in this patient
                 GENES IN WHICH EXONS WITH A PREVIOUSLY
                                                                                           5
               REPORTED SOMATIC MUTATION ARE SEQUENCED                                                                         cfDNA with            CfDNA without
          RET                         < 0.1 %         SMAD4               < 0.1 %                    Gene                     alterations ( % )      alterations (%)
          SMARCB1                     < 0.1 %         SMO                 < 0.1 %
          SRC                         < 0.1 %         STK11               < 0.1 %                    BRAE V600E                       8.9                   91.1
          TERT                        <0.1 %          VHL                 < 0.1 %                   NRAS Q61K                         6.2                   93.8
                                                                                           10        JAK V61F                         1.5                   98.6
     LOD : Limit of Detection . The minimum detectable mutant allele frequency for this
     specimen in which 80 % of somatic variants is detected .

                                                                                                            TABLE 4
                                                                                         Genomic alterations detected in selected genes
                                                                                                Detected : 51 Genomic Alterations

                                                     Gene       Chromosome          Position    Mutation ( nt) Mutation (AA ) Percentage Cosmic ID           DBSNP ID

                                                   KRAS             12           25368462C > T                                      100.0 %                  rs4362222
                                                   ALK               2           29416572 T > C               I1461V                100.0 %                  rs1 670283
                                                   ALK               2           29444095 C > T                                     100.0 %                  rs1569156
                                                   ALK               2           29543663 T > C               Q500Q                 100.0 %            rs2293564
                                                     ALK             2           29940529 A > T               P234P                 100.0 %            rs 2246745
                                                     APC             5          112176756 T > A               V1822D                100.0 %            rs459552
                                                     CDKN2A          9           21968199 C > G                                     100.0 % COSM14251  rs11515
                                                     FGFR3           4            1807894 G > A               T651T                 100.0 %            rs7688609
                                                     NOTCH1          9          139410424 A > G                                     100.0 %            rs3125006
                                                     PDGFRA          4.          55141055 A > G               P567P                 100.0 %            rs1873778
                                                     HRAS           11             534242 A > G               H27H                  100.0 % COSM249860 rs12628
                                                     EGFR            7            5214348 C > T               N158N                  99.9 % COSM42978  rs2072454
                                                     TP53           17               7579472 G > C            P72R                   99.8 %                  rs 1042522
                                                   APC               5          112162854       T>C           Y486Y                  55.0 %                  rs2229992
                                                   APC               5          112177171       G>A           P1960P                 53.8 %                  rs465899
                                                   EGFR                          55266417       T>C           T903T                  53.6 %                  rs1140475
                                                   APC               5          112176325       G>A           G1678G                 53.2 %                  rs42427
                                                   APC               5          112176559 T > G               S1756S                 53.0 %                  rs866006
                                                   EGFR              7           55229255 G > A               R521K                  53.0 %
                                                   MET               7          116397572 A > G               Q648Q                  52.7 %
                                                   APC               5          112175770 GA                  T1493T                 52.7 %                  rs41115
                                                   EGFR              7              55249063 G > A            Q7870                  52.6 %                  rs1050171
                                                   NOTCH1            9          139411714 T > C                                      52.4%                   rs11145767
                                                   EGFR              7           55238874 T > A               T629T                  52.0 %                  rs2227984
                                                   ERBB2            17           37879588       A>G           1655V                  51.6 %                  rs1136201
                                                   NOTCH1            9          139397707       G>A           D1698D                 51.3 % COSM33747        rs10521
                                                   ALK               2           30143499       G>C           LOL                    51.0 %                  rs4358080
                                                   APC               5          112164561       G>A           A545A                  51.0 %                  rs351771
                                                   FLT3             13           28610183 A > G                                      50.8 %                  rs2491231
                                                     NOTCH1          9          139418260 AG                  N104N                  50.5 %                  rs4489420
                                                     ALK             2           29444076 G > T                                      50.4%                   rs1534545
                                                     PIK3CA          3          178917005 A > G                                      50.3%                   rs3729674
                                                     NOTCH1          9          139412197 G > A                                      50.2 %            rs9411208
                                                   ALK               2           29455267 A > G               G845G                  50.0 % COSM148825 rs2256740
                                                   KIT               4           55593464 A > C               M541L                  49.9 % COSM28026
                                                     NOTCH1          9          139391636 G > A               D2185D                 48.9 %             rs2229974
                                                   PDGFRA            4           55152040 C > T               V824V                  48.9 % COSM22413   rs2228230
                                                   ALK               2           29416481 T > C               K1491R                 48.9 % COSM1130802 rs1881420
                                                   ALK               2           29445458 G > T               G1125G                 48.6 %             rs3795850
                                                   NOTCH1            9          139410177 T > C                                      48.5 %                  rs3124603
                                                   RET              10              43613843 G > T            L769L                  48.2 %                  rs1800861
                                                   EGFR              7              55214443    G>A                                  48.0 %                  rs7801956
                                                   ALK               2              29416366    G>C           D1529E                 47.2 %                  rs1881421
                                                     EGFR            7              55238087    C>T                                  45.5 %                  rs10258429
                                                     RET            10              43615633    C>G           S904S                  44.8 %                  rs1800863
                                                   BRAF              7          140453136 AXT                 V600E                   8.9 % COSM476
                                                   NRAS              1          115256530 G > T               Q61K                    6.2 % COSM580          rs121913254
                                                     JAK2            9            5073770 G > T               V617F                   1.5 % COSM12600        rs77375493
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                                                                         US 10,889,858 B2
                                             59                                                                            60
                                       Example 4                                             sequence , are attached to the enriched DNA molecules . The
                                                                                  resulting molecules are amplified by PCR .
             Determining Patient-Specific Limits of Detection                        Both strands of the amplified fragments are sequenced.
            for Genes Analyzed by Guardant360TM Assays                            Because each bubble -containing adaptor comprises a non
                                                                                5 complementary portion (e.g. , the bubble) , the sequence of
        Using the method of Example 3 , Genetic alterations in the one strand of the bubble -containing adaptor is different
     cell- free DNA of a patient are detected . The sequence reads fore           from the sequence of the other strand ( complement ). There
     of these genes include exon and / or intron sequences .                          , the sequence reads of amplicons derived from the
        Limits of detection of the test are shown in Table 5. The                 Watson strand of an original cell - free DNA can be distin
     limits of detection values are dependent on cell- free DNA 10 guished        cell- freefrom
                                                                                             DNAamplicons   from the bubble
                                                                                                   by the attached    Crick strand     of the original
                                                                                                                               -containing    adaptor
     concentration and sequencing coverage for each gene .                        sequences.
                                   TABLE 5                                           The sequence reads from a strand of an original cell- free
                                                                                  DNA fragment are compared to the sequence reads from the
         Limits of Detection of selected genes in a patient using Guardant     15 other strand of the original cell - free DNA fragment. If a
                    Complete Exon and Partial Intron Coverage
                                                                                  variant occurs in only the sequence reads from one strand,
                                                                                  but not other strand, of the original cell - free DNA fragment,
     APC                 0.1 % AR *                0.2 % ARIDIA                   this variant will be identified as an error ( e.g. , resulted from
     BRAF *              0.1 % BRCA1                      BRCA2                   PCR and /or amplification ), rather than a true genetic variant.
     CCND1 *
     CDK4 *
                                 CCND2 *
                                 CDK6 *
                                                          CCNE1 *
                                                          CDKN2A         0.1 %
                                                                               20    The sequence reads are grouped into families. Errors in
     CDKN2B                      EGFR *           <0.1 % ERBB2 *         0.1 %    the sequence reads are corrected . The consensus sequence of
     FGFR1 *            < 0.1 % FGFR2 *            0.1 % HRAS            0.1 %    each family is generated by collapsing.
     KIT *
     MYC *
                              0.1 % KRAS *
                              0.1 % NF1
                                                        0.1 % MET *             0.1 %           While preferred embodiments of the present invention
     PDGFRA *                 0.1 % PIK3CA *
                                                              NRAS
                                                        0.1 % PTEN
                                                                                0.1 %
                                                                                0.1 %
                                                                                             have been shown and described herein , it will be obvious to
     RAF1 *                         TP53                0.1 %                             25 those skilled in the art that such embodiments are provided
                   Exons Covered with Reported Somatic Mutations                             by way of example only. It is not intended that the invention
                                                                                             be limited by the specific examples provided within the
     AKT1
     ATM
                              0.1 % ALK
                              0.1 % CDH1
                                                      < 0.1 % ARAF
                                                        0.1 % CTNNB1            0.1 %
                                                                                             specification . While the invention has been described with
     ESR1                           EZH2                0.1 % FBXW7             0.1 %        reference to the aforementioned specification, the descrip
     FGFR3                    0.1 % GATA3                     GNA11             0.1 % 30 tions and illustrations of the embodiments herein are not
     GNAQ
     IDH1
                              0.1 % GNAS                0.1 % HNF1A             0.1 %    meant to be construed in a limiting sense . Numerous varia
                              0.1 %   IDH2              0.1 % JAK2              0.1 %    tions , changes , and substitutions will now occur to those
     JAK3                     0.1 %   MAP2K1                  MAP2K2
     MLH1                     0.1 %   MPL               0.2 % NFE2L2                     skilled in the art without departing from the invention .
     NOTCH1                   0.1 %   NPM1              0.1 % PTPN11            0.1 %    Furthermore, it shall be understood that all aspects of the
     RET                      0.1 % RHEB                      RHOA                    35 invention are not limited to the specific depictions , configu
     RIT1
     SMO                      0.1 %
                                      ROS1
                                      SRC
                                                              SMAD4
                                                      < 0.1 % STK11
                                                                                0.1 %
                                                                                0.2 %
                                                                                         rations or relative proportions set forth herein which depend
     TERT                     0.1 %   VHL               0.2 %                            upon a variety of conditions and variables. It should be
                                          Fusions                                        understood that various alternatives to the embodiments of
                                                                                         the invention described herein may be employed in practic
     ALK
     NTRK1
                          < 0.1 %     RET               0.1 % ROS1                    40 ing the invention . It is therefore contemplated that the
                                                                                         invention shall also cover any such alternatives, modifica
     LOD : Limit of Detection . The minimum detectable mutant allele frequency for this      tions , variations or equivalents. It is intended that the
     specimen in which 80 % of somatic variants is detected .
     * indicates CNV genes.                                                                  following claims define the scope of the invention and that
                                                                                             methods and structures within the scope of these claims and
                                                                                          45 their equivalents be covered thereby.
                                       Example 5                                                What is claimed is :
                                                                                                1. A method for analyzing sequencing reads of double
         Correcting Sequence Errors Comparing Watson and                                     stranded cell - free deoxyribonucleic acid ( cfDNA ) molecules
                         Crick Sequences                                                     from a sample of a subject, comprising:
                                                                                          50    ( a) tagging a plurality of double - stranded cfDNA mol
        Double - stranded cell - free DNA is isolated from the                                    ecules from a population of double - stranded cfDNA
     plasma of a patient. The cell - free DNA fragments are tagged                                molecules from the sample with a set of library adap
     using 16 different bubble -containing adaptors, each ofwhich                                 tors comprising a plurality of molecular barcodes to
     comprises a distinctive barcode . The bubble -containing                                     generate tagged parent polynucleotides,
     adaptors are attached to both ends of each cell - free DNA 55                                wherein the tagging comprises ligating a plurality of
     fragment by ligation . After ligation, each of the cell - free                                 library adaptors from the set of library adaptors to
     DNA fragment can be distinctly identified by the sequence                                      the plurality of double - stranded cfDNA molecules
     of the distinct barcodes and two 20 bp endogenous                                              from the population using more than a 10x molar
     sequences at each end of the cell- free DNA fragment.                                          excess of library adaptors as compared to the double
       The tagged cell- free DNA fragments are amplified by 60                                      stranded cfDNA molecules of the population ;
     PCR . The amplified fragments are enriched using beads                                       wherein the tagging produces at least 20 % of the
     comprising oligonucleotide probes that specifically bind to a                                  double - stranded cfDNA molecules of the popula
     group of cancer- associated genes. Therefore , cell - free DNA                                  tions having library adaptors ligated to both ends of
     fragments from the group of cancer- associated genes are                                        a molecule of the double -stranded cfDNA mol
     selectively enriched .                                        65                                ecules ;
        Sequencing adaptors, each of which comprises a sequenc-                                 ( b ) amplifying a plurality of the tagged parent polynucle
     ing primer binding site , a sample barcode, and a cell - flow                                   otides to produce progeny polynucleotides;
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                                                        US 10,889,858 B2
                                  61                                                                 62
       ( c ) sequencing a plurality of the progeny polynucleotides         15. The method of claim 11 , further comprising amplify
            to produce a set of sequencing reads; and                   ing a plurality of the enriched progeny polynucleotides .
       (d) determining, based at least on sequence information            16. A method for analyzing double - stranded cell - free
            from the molecular barcodes , individual double-            deoxyribonucleic acid ( cfDNA ) molecules from a sample of
           stranded cfDNA molecules from among the tagged 5 a subject, comprising:
           parent polynucleotides for which either ( 1 ) both a           ( a) tagging a plurality of double - stranded cfDNA mol
           Watson strand and a Crick strand of the individual                  ecules from a population of double - stranded cfDNA
           double - stranded cfDNA molecule are detected or (2 )               molecules from the sample with a set of library adap
           only one of a Watson strand or a Crick strand of the                tors comprising a plurality of molecular barcodes to
           individual double - stranded cDNA molecule is 10                    generate tagged parent polynucleotides,
           detected from a plurality of sequencing reads from the              wherein the tagging comprises ligating a plurality of
           set of sequencing reads .                                              library adaptors from the set of library adaptors to
        2. The method of claim 1 , wherein the sample is selected                 the plurality of double - stranded cfDNA molecules
     from the group consisting of blood, plasma , serum , urine,                  from the population using more than a 10x molar
     saliva , mucosal excretions, sputum , stool , and tears .       15           excess of library adaptors as compared to the double
        3. The method of claim 1 , wherein the plurality of library               stranded cfDNA molecules of the population ;
     adaptors is ligated to the plurality of double - stranded cfDNA           wherein the tagging produces at least 20 % of the
     molecules by blunt - end ligation or sticky -end ligation .                  double - stranded cDNA molecules of the population
        4. The method of claim 1 , wherein the ligating comprises                 having library adaptors ligated to both ends of a
     using more than a 100xmolar excess of library adaptors as 20                 molecule of the double - stranded cfDNA molecules ;
     compared to the double - stranded cfDNA molecules.                   ( b ) amplifying a plurality of the tagged parent polynucle
        5. The method of claim 1 , wherein the tagging produces                otides to progeny polynucleotides;
     at least 40 % of the double - stranded cfDNA molecules of the        ( c ) determining nucleotide sequences of a plurality of the
     population having library adaptors ligated to both ends of a              progeny polynucleotides ; and
     molecule of the double -stranded cfDNA molecules .              25   ( d) analyzing a plurality of the nucleotide sequences with
        6. The method of claim 1 , wherein the plurality of                    a programmed computer processor, the analyzing com
     molecular barcodes of the plurality of library adaptors has               prising :
     between 2 and 100,000 different molecular barcode                         mapping a plurality of the nucleotide sequences to a
     sequences.                                                                   reference sequence to produce mapped sequences ,
        7. The method of claim 1 , wherein the plurality of 30                 grouping a plurality of the mapped sequences into
     molecular barcodes of the plurality of library adaptors has                  families based on a combination of sequence infor
     between 5 and 100 different molecular barcode sequences.                     mation from the molecular barcodes and start and
        8. The method of claim 7 , wherein molecular barcodes of                  stop positions of the mapped sequences, wherein a
     the plurality of molecular barcodes have a length of between                 family of the families is representative of an indi
     5 and 20 nucleotides.                                           35           vidual double -stranded cfDNA molecule from
        9. The method of claim 1 , wherein a plurality of the                     among the tagged parent polynucleotides, and
     plurality of molecular barcodes have different sequences                  identifying a plurality of the families as having nucleo
     from one another and have an edit distance of at least 1                   tide sequences representing either ( 1 ) both a Watson
     nucleotide base between one another.                                       strand and a Crick strand of an individual double
       10. The method of claim 1 , wherein library adaptors of the 40           stranded cfDNA molecule from among the tagged
     plurality of library adaptors are Y - shaped adaptors .               parent polynucleotides or (2 ) only one of a Watson
        11. The method of claim 1 , further comprising selectively         strand or a Crick strand of an individual double
     enriching a plurality of the progeny polynucleotides for              stranded cfDNA molecule from among the tagged
     genomic regions of interest.                                          parent polynucleotides .
        12. The method of claim 11 , wherein the genomic regions 45 17. The method of claim 16 , wherein the sample is
     of interest comprises exon sequences.                         selected from the group consisting of blood , plasma , serum ,
        13. The method of claim 11 , wherein the genomic regions urine , saliva , mucosal excretions, sputum , stool , and tears.
     of interest comprise sequences from one or more genes            18. The method of claim 16 , wherein the plurality of
     selected from the group consisting of:                        library adaptors is ligated to the plurality of double - stranded
        ALK , APC , BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , 50 cfDNA molecules by blunt - end ligation or sticky -end liga
          KRAS , MYC , NOTCH1 , NRAS, PIK3CA , PTEN ,                   tion .
          RB1 , TP53 , MET, AR , ABL1 , AKT1 , ATM , CDHI ,                19. The method of claim 16 , wherein the ligating com
          CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 , FGFR2 , prises using more than a 100x molar excess of library
          FGFR3 , FLT3, GNA11 , GNAQ, GNAS, HNF1A , adaptors as compared to the double - stranded cfDNA mol
          HRAS, IDH1 , IDH2 , JAK2 , JAK3 , KDR , KIT, MLH1 , 55 ecules .
          MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET,               20. The method of claim 16 , wherein the tagging produces
          SMAD4, SMARCB1, SMO , SRC , STK11 , VHL , at least 40 % of the double -stranded cfDNA molecules of the
          TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 , population having library adaptors ligated to both ends of a
          CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 ,           molecule of the double - stranded cfDNA molecules .
          CCNE1 , ESR1 , RITI , GATA3, MAP2K1, RHEB , 60 21. The method of claim 16 , further comprising selec
          ROS1 , ARAF, MAP2K2 , NFE2L2 , RHOA , and tively enriching a plurality of the progeny polynucleotides
          NTRK1 .                                                  for genomic regions of interest prior to determining the
        14. The method of claim 11 , wherein selectively enriching nucleotide sequences , wherein the genomic regions of inter
     the plurality of the progeny polynucleotides for the genomic est comprise sequences from one or more genes selected
     regions of interest comprises using a set of probes that 65 from the group consisting of:
     hybridize to at least a portion of the genomic regions of             ALK , APC , BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 ,
     interest.                                                               KRAS, MYC , NOTCH1 , NRAS, PIK3CA , PTEN ,
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                                                       US 10,889,858 B2
                                 63                                                                64
           RB1 , TP53 , MET, AR , ABL1 , AKT1 , ATM , CDHI ,          25. The method of claim 1 , wherein sequencing reads
           CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 , FGFR2 , produced from a Watson strand of a double - stranded cfDNA
           FGFR3 , FLT3, GNA11, GNAQ , GNAS , HNF1A , molecule from among the tagged parent polynucleotides are
           HRAS, IDHI , IDH2 , JAK2 , JAK3 , KDR , KIT, MLH1 , distinguished from sequencing reads generated from a Crick
           MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, 5 strand of the double - stranded cfDNA molecule from among
           SMAD4, SMARCB1, SMO , SRC , STK11 , VHL , the tagged parent polynucleotides based on sequence infor
           TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 , mation from the molecular barcodes and / or sequence infor
           CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , mation from endogenous nucleotide sequences of the prog
           CCNEI , ESR1 , RITI , GATA3, MAP2K1, RHEB , eny polynucleotides.
           ROS1 , ARAF, MAP2K2 , NFE2L2 , RHOA , and 10
          NTRK1 .                                                     26. The method of claim 1 , further comprising, prior to
        22. The method of claim 16 , wherein double -stranded ( d ) , mapping a plurality of sequencing reads from the set of
     cfDNA molecules of the plurality of double - stranded cfDNA sequencing reads to a reference sequence to produce mapped
     molecules are non -uniquely tagged , wherein the double- sequencing reads.
     stranded cfDNA molecules that map to a mappable base 15 27. The method of claim 26 , further comprising grouping
     position of a reference sequence are tagged with a number a plurality of the mapped sequencing reads into families
     of different molecular barcodes ranging from at least 2 to based on a combination of sequence information from the
     fewer than a number of the double - stranded cfDNA mol         molecular barcodes and start and stop positions of the
     ecules that map to the mappable base position .                mapped     sequencing reads , wherein a family of the families
        23. The method of claim 16 , wherein nucleotide 20 representative
     sequences determined from a Watson strand of an individual ismolecule      from
                                                                                        of an individual double - stranded cfDNA
                                                                                      among   the tagged parent polynucleotides.
     double - stranded cfDNA molecule from among the tagged
     parent polynucleotides are distinguished from nucleotide         28. The method of claim 1 , further comprising:
     sequences generated from a Crick strand of the individual        ( e) for a plurality of genetic loci of a reference sequence ,
     double - stranded cfDNA molecule from among the tagged 25            estimating a number of tagged parent polynucleotides
     parent polynucleotides based on sequence information from            that map to the genetic locus of the reference sequence
     the molecular barcodes and / or sequence information from            based at least on quantitative measures of the individual
     endogenous nucleotide sequences of the progeny polynucle             double - stranded cfDNA molecules determined in (d)
     otides.
        24. The method of claim 1 , wherein the tagging comprises 30 29. Themapmethod
                                                                          that       to the genetic locus .
                                                                                            of claim 28 , wherein estimating the
     non -uniquely tagging the plurality of double -stranded
     cfDNA molecules , wherein double -stranded cfDNA mol         number of tagged parent polynucleotides is further based on
                                                                  inferring, from at least the quantitative measures of the
     ecules of the plurality of double - stranded cfDNA molecules individual
     that map to a mappable base position of a reference sequence             double - stranded cfDNA molecules determined in
     are tagged with a number of different molecular barcodes 35 ( d ), a quantitative measure of individual double -stranded
     ranging from at least 2 to fewer than a number of the neithercfDNA molecules that map to the genetic locus for which
     double - stranded cfDNA molecules that map to the mappable            a Watson strand nor a Crick strand is detected .
     base position .
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                           EXHIBIT C
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                                                                                                    US011118221B2

     ( 12) United States Patent                                                  ( 10 ) Patent No .:              US 11,118,221 B2
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     (51 ) Int. Ci.                                                         Primary Examiner Kenneth R Horlick
               C12P 19/34               ( 2006.01 )                         (74 ) Attorney, Agent, or Firm — Timothy A. Hott
               C12Q 1/6869              ( 2018.01 )
               C12Q 1/6886              ( 2018.01 )
            G16B 15/00                  ( 2019.01 )                         ( 57 )                       ABSTRACT
     ( 52 ) U.S. CI .
               CPC        C12Q 1/6869 (2013.01 ) ; C12Q 1/6886              Disclosed herein in are methods and systems for determin
                   ( 2013.01 ) ; C12Q 2535/122 ( 2013.01 ) ; C12Q           ing genetic variants (e.g. , copy number variation ) in a
                     2600/158 (2013.01 ) ; G16B 15/00 (2019.02 )            polynucleotide sample. A method for determining copy
     ( 58 ) Field of Classification Search                                  number variations includes tagging double - stranded poly
            CPC                                    C12Q 1/6869              nucleotides with duplex tags , sequencing polynucleotides
            See application file for complete search history.               from the sample and estimating total number of polynucle
                                                                            otides mapping to selected genetic loci . The estimate of total
     ( 56 )               References Cited                                  number of polynucleotides can involve estimating the num
                                                                            ber of double - stranded polynucleotides in the original
                       U.S. PATENT DOCUMENTS                                sample for which no sequence reads are generated. This
                                                                            number can be generated using the number of polynucle
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                                                                            otides for which reads for both complementary strands are
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                         Extract and isolate cell free polynucleotides
                                       from bodily fluid                    102


                       Tag double stranded polynucleotides with duplex
                        tags (“ Watson " strand tag distinguishable from
                                      " Crick " strand tag )
                                                                             104

                             Generate sequence reads for tagged
                                    polynucleotide strands
                                                                             106
                         Reduce and /or track redundancy of reads to
                                correspond to original strands
                                                                             108
                        Map reads to selected locus or loci in genome
                                                                            110
                            Group reads into " Pairs” and “ Singlets ”;
                        -Pairs are reads from complementary strands of
                            original double stranded polynucleotides
                              Singlets are reads for which there is no
                       sequence read from the complementary strand of
                             the original double stranded molecule           112

                         Determine quantitative measure of Pairs and
                         Singlets mapping to each selected locus ( also
                         optionally read depth of paired and unpaired
                                            strands

                        Estimate number of Unseen polynucleotides in
                          original population mapping to each locus
                                                                              116
                         Estimate number of Total polynucleotides in
                          original population mapping to each locus
                                                                             118

                        Estimate Copy Member Variation at each locus
                                                                              120


                                           Fig. 1
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                                                 Fig. 2
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     U.S. Patent        Sep. 14 , 2021                    Sheet 3 of 11                US 11,118,221 B2




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                                     Fig. 3
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     U.S. Patent                    Sep. 14 , 2021                 Sheet 4 of 11         US 11,118,221 B2




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     U.S. Patent                                             Sep. 14 , 2021                     Sheet 6 of 11                US 11,118,221 B2



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                                         Fig . 6
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                        Provide cell free polynucleotides from bodily
                          fluid of (a) a test sample and (b ) a control       802
                                            sample


                         Tag polynucleotides. Tag includes a source            804
                         identifier ( test or control ) and , optionally, a
                       further identifier (optionally with duplex tags ) .
                      Polynucleotides can be uniquely or non -uniquely
                                            tagged
                                                                               806
                             Pool tagged test and tagged control
                       polynucleotides at desired ratio (usually greater
                                        amount of test )


                                                                               808
               800     Generate sequence reads from pooled test and
                                 control polynucleotides

                                                                                810
                         Reduce and/or track redundancy of reads to
                             correspond to original molecules

                                                                               812
                       Quantify original molecules from each of test
                      and control mapping to one or more genetic loci .
                        (Can include normalizing against a reference
                                             locus )



                       Estimate copy number variation at each locus as              814
                            a function of test control comparison


                                            Fig. 8
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                                                < 80 nucleotides

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     Fig. 9A
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                                                                                                         adaptor

                Primer hybridization site                   Barcode             < 10 nucleotides
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      Fig. 9C       39 BRE           ?????
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                              Sequencer motif                                      Sequencer motif
Case 1:21-cv-01126-GBW-SRF Document 30 Filed 01/12/22 Page 214 of 439 PageID #: 1660


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        METHODS AND SYSTEMS FOR DETECTING                                    To address this issue , input double - stranded deoxyribo
                GENETIC VARIANTS                                          nucleic acid (DNA ) can be converted by a process that tags
                                                                          both halves of the individual double - stranded molecule , in
                         CROSS -REFERENCE                                 some cases differently. This can be performed using a variety
                                                                          of techniques, including ligation of hairpin , bubble , or
       This application is a continuation of U.S. application Ser.        forked adapters or other adaptors having double - stranded
     No. 16 / 601,168 , filed Oct. 14 , 2019 ( now U.S. Pat . No.         and single stranded segments ( the unhybridized portion of a
     10,801,063 , issued Oct. 13 , 2020 ) , which is a continuation of    bubble, forked or hairpin adapter are deemed single
     U.S. application Ser. No. 15 / 892,178 , filed Feb. 8 , 2018         stranded herein ). If tagged correctly, each original Watson
     ( now U.S. Pat. No. 10,883,139 , issued Jan. 5 , 2021), which 10 and Crick (i.e. , strand ) side of the input double -stranded
     is a continuation of U.S. application Ser. No. 14 / 861,989 , DNA molecule can be differently tagged and identified by
     filed Sep. 22 , 2015 ( now U.S. Pat. No. 9,920,366 , issued the sequencer and subsequent bioinformatics. For all mol
     Mar. 20 , 2018 ) , which is a continuation application of ecules in a particular region , counts of molecules where both
     International Application No. PCT/US2014 / 072383 , filed Watson and Crick sides were recovered ( “ Pairs ” ) versus
     Dec. 24 , 2014 , which application claims the benefit under 35 15 those where only one half was recovered (“ Singlets ”) can be
     U.S.C. $ 119 ( e ) of U.S. Provisional Application No. 61/921 , recorded  . The number of unseen molecules can be estimated
     456 , filed Dec. 28 , 2013 , and U.S. Provisional Application        based on the number of Pairs and Singlets detected .
     No. 61 / 948,509 , filed Mar. 5 , 2014 , each of which is entirely
     incorporated herein by reference .                                     An aspect of the present disclosure provides a method for
                                                                     20 detecting and /or quantifying rare deoxyribonucleic acid
                            BACKGROUND                                  (DNA ) in a heterogeneous population of original DNA
                                                                        fragments, comprising tagging the original DNA fragments
        The detection and quantification of polynucleotides is in a single reaction using a library of a plurality of different
     important for molecular biology and medical applications, tags such that greater than 30 % of the fragments are tagged
     such as diagnostics. Genetic testing is particularly useful for 25 at both ends, wherein each of the tags comprises a molecular
     a number of diagnostic methods. For example, disorders that barcode . The single reaction can be in a single reaction
     are caused by rare genetic alterations (e.g. , sequence vari vessel . Greater than 50% of the fragments can be tagged at
     ants) or changes in epigenetic markers , such as cancer and both ends . The plurality of different tags can be no more than
     partial or complete aneuploidy, may be detected or more any of 100 , 500 , 1000 , 10,000 or 100,000 different tags .
     accurately characterized with DNA sequence information . 30 Another aspect provides a set of library adaptors that can
        Early detection and monitoring of genetic diseases , such be used to tag the molecules of interest ( e.g. , by ligation ,
     as cancer, is often useful and needed in the successful hybridization, etc. ) . The set of library adaptors can comprise
     treatment or management of the disease . One approach may plurality of polynucleotide molecules with molecular bar
     include the monitoring of a sample derived from cell - free codes , wherein the plurality of polynucleotide molecules are
     nucleic acids , a population of polynucleotides that can be 35 less than or equal to 80 nucleotide bases in length , wherein
     found in different types of bodily fluids . In some cases , the molecular barcodes are at least 4 nucleotide bases in
     disease may be characterized or detected based on detection length , and wherein (a ) the molecular barcodes are different
     of genetic aberrations, such as copy number variation and / or from one another and have an edit distance of at least 1
     sequence variation of one or more nucleic acid sequences, or between one another ; (b ) the molecular barcodes are located
     the development of other certain rare genetic alterations. 40 at least one nucleotide base away from a terminal end of
     Cell- free DNA ( cfDNA ) may contain genetic aberrations their respective polynucleotide molecules ; (c ) optionally, at
     associated with a particular disease . With improvements in least one terminal base is identical in all of the polynucle
     sequencing and techniques to manipulate nucleic acids , otide molecules ; and ( d ) none of the polynucleotide mol
     there is a need in the art for improved methods and systems ecules contains a complete sequencer motif.
     for using cell - free DNA to detect and monitor disease . 45 In some embodiments, the library adaptors (or adapters)
        In particular, many methods have been developed for are identical to one another but for the molecular barcodes .
     accurate copy number variation estimation , especially for In some embodiments, each of the plurality of library
     heterogeneous genomic samples, such as tumor-derived adaptors comprises at least one double - stranded portion and
     gDNA or for cfDNA for many applications (e.g. , prenatal, at least one single - stranded portion (e.g. , a non -complemen
     transplant, immune, metagenomics or cancer diagnostics ). 50 tary portion or an overhang ). In some embodiments , the
     Most of these methods include sample preparation whereby double - stranded portion has a molecular barcode selected
     the original nucleic acids are converted into a sequenceable from a collection of different molecular barcodes. In some
     library, followed by massively parallel sequencing, and embodiments, the given molecular barcode is a randomer. In
     finally bioinformatics to estimate copy number variation at some embodiments, each of the library adaptors further
     one or more loci .                                              55 comprises a strand - identification barcode on the at least one
                                                                        single - stranded portion. In some embodiments, the strand
                               SUMMARY                                  identification barcode includes at least 4 nucleotide bases . In
                                                                        some embodiments, the single - stranded portion has a partial
        Although many of these methods are able to reduce or sequencer motif. In some embodiments, the library adaptors
     combat the errors introduced by the sample preparation and 60 do not include a complete sequencer motif.
     sequencing processes for all molecules that are converted             In some embodiments, none of the library adaptors con
     and sequenced, these methods are not able to infer the counts tains a sequence for hybridizing to a flow cell or forming a
     of molecules that were converted but not sequenced . Since hairpin for sequencing.
     this count of converted by unsequenced molecules can be               In some embodiments , all of the library adaptors have a
     highly variable from genomic region to region, these counts 65 terminal end with nucleotide( s ) that are the same . In some
     can dramatically and adversely affect the sensitivity that can embodiments, the identical terminal nucleotide ( s) are over
     be achieved .                                                      two or more nucleotide bases in length.
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        In some embodiments, each of the library adapters is barcodes and at least a portion of the original DNA frag
     Y - shaped , bubble shaped or hairpin shaped . In some ments; ( e) from the sequence reads , determining consensus
     embodiments, none of the library adapters contains a sample reads that are representative of single - strands of the original
     identification motif. In some embodiments, each of the DNA fragments; and (f) quantifying the consensus reads to
     library adapters comprises a sequence that is selectively 5 detect and / or quantify the rare DNA at a specificity that is
     hybridizable to a universal primer. In some embodiments , greater than 99.9% .
     each of the library adapters comprises a molecular barcode                In some embodiments, ( e) comprises comparing sequence
     that is at least 5 , 6 , 7 , 8 , 9 and 10 nucleotide bases in length . reads having the same or similar molecular barcodes and the
     In some embodiments, each of the library adapters is from same or similar end of fragment sequences. In some embodi
     10 nucleotide bases to 80 in length, or 30 to 70 nucleotide 10 ments, the comparing further comprises performing a phy
     bases in length, or 40 to 60 nucleotide bases in length . In logentic analysis on the sequence reads having the same or
     some embodiments, at least 1 , 2 , 3 , or 4 terminal bases are      similar molecular barcodes . In some embodiments, the
     identical in all of the library adaptors. In some embodiments,      molecular barcodes include a barcode having an edit dis
     at least 4 terminal bases are identical in all of the library       tance of up to 3. In some embodiments, the end of fragment
     adaptors .                                                       15 sequence includes fragment sequences having an edit dis
       In some embodiments, the edit distance of the molecular           tance of up to 3 .
     barcodes of the library adapters is a Hamming distance . In           In some embodiments, the method further comprises
     some embodiments, the edit distance is at least 1 , 2 , 3 , 4 or sorting sequence reads into paired reads and unpaired reads ,
     5. In some embodiments, the edit distance is with respect to and quantifying a number of paired reads and unpaired reads
     individual bases of the plurality of polynucleotide mol- 20 that map to each of one or more genetic loci .
     ecules . In some embodiments, the molecular barcodes are              In some embodiments, the tagging occurs by having an
     located at least 10 nucleotide base away from a terminal end excess amount of library adaptors as compared to original
     of an adapter. In some embodiments, the plurality of library DNA fragments. In some embodiments, n the excess is at
     adapters includes at least 2 , 4 , 6 , 8 , 10 , 20 , 30 , 40 or 50 least a 5 - fold excess . In some embodiments, the tagging
     different molecular barcodes, or from 2-100 , 4-80 , 6-60 or 25 comprises using a ligase . In some embodiments, the tagging
     8-40 different molecular barcodes. In any of the embodi- comprises attachment to blunt ends .
     ments herein , there are more polynucleotides ( e.g. , cfDNA          In some embodiments, the method further comprises
     fragments ) to be tagged than there are different molecular binning the sequence reads according to the molecular
     barcodes such that the tagging is not unique.                      barcodes and sequence information from at least one end of
        In some embodiments, the terminal end of an adaptor is 30 each of the original DNA fragments to create bins of single
     configured for ligation ( e.g. , to a target nucleic acid mol- stranded reads . In some embodiments, the method further
     ecule ) . In some embodiments, the terminal end of an adaptor comprises, in each bin , determining a sequence of a given
     is a blunt end .                                                   original DNA fragment among the original DNA fragments
        In some embodiments, the adaptors are purified and by analyzing sequence reads. In some embodiments, the
     isolated . In some embodiments, the library comprises one or 35 method further comprises detecting and / or quantifying the
     more non -naturally occurring bases .                              rare DNA by comparing a number of times each base occurs
        In some embodiments, the polynucleotide molecules at each position of a genome represented by the tagged ,
     comprise a primer sequence positioned 5 ' with respect to the amplified, and optionally enriched DNA fragments.
     molecular barcodes .                                                  In some embodiments, the library adaptors do not contain
        In some embodiments, the set of library adaptors consists 40 complete sequencer motifs. In some embodiments, the
      essentially of the plurality of polynucleotide molecules .        method further comprises selectively enriching a subset of
        In another aspect , a method comprises (a ) tagging a the tagged DNA fragments. In some embodiments , the
     collection of polynucleotides with a plurality of polynucle- method further comprises, after enriching, amplifying the
     otide molecules from a library of adaptors to create a enriched tagged DNA fragments in the presence of sequenc
     collection of tagged polynucleotides; and (b ) amplifying the 45 ing adaptors comprising primers . In some embodiments, (a )
     collection of tagged polynucleotides in the presence of provides tagged DNA fragments having from 2 to 1000
     sequencing adaptors, wherein the sequencing adaptors have           different combinations of molecular barcodes.
     primers with nucleotide sequences that are selectively                In some embodiments, the DNA fragments are tagged
     hybridizable to complementary sequences in the plurality of         with polynucleotide molecules from a library of adaptors as
     polynucleotide molecules . The library of adaptors may be as 50 described above or elsewhere herein .
     described above or elsewhere herein . In some embodiments,        In another aspect , a method for processing and / or ana
     each of the sequencer adaptors further comprises an index lyzing a nucleic acid sample of a subject comprises (a )
     tag , which can be a sample identification motif.               exposing polynucleotide fragments from the nucleic acid
        Another aspect , provides a method for detecting and / or sample to a set of library adaptors to generate tagged
     quantifying rare DNA in a heterogeneous population of 55 polynucleotide fragments; and ( b ) subjecting the tagged
     original DNA fragments, wherein the rare DNA has a polynucleotide fragments to nucleic acid amplification reac
     concentration that is less than 1 % , the method comprising tions under conditions that yield amplified polynucleotide
     ( a ) tagging the original DNA fragments in a single reaction  fragments as amplification products of the tagged polynucle
     such that greater than 30 % of the original DNA fragments      otide fragments. The set of library adaptors comprises a
     are tagged at both ends with library adaptors that comprise 60 plurality of polynucleotide molecules with molecular bar
     molecular barcodes , thereby providing tagged DNA frag- codes , wherein the plurality of polynucleotide molecules are
     ments; (b ) performing high - fidelity amplification on the         less than or equal to 80 nucleotide bases in length , wherein
     tagged DNA fragments; ( c ) optionally, selectively enriching       the molecular barcodes are at least 4 nucleotide bases in
     a subset of the tagged DNA fragments; (d) sequencing one            length, and wherein ( 1 ) the molecular barcodes are different
     or both strands of the tagged, amplified and optionally 65 from one another and have an edit distance of at least 1
     selectively enriched DNA fragments to obtain sequence between one another; (2 ) the molecular barcodes are located
     reads comprising nucleotide sequences of the molecular at least one nucleotide base away from a terminal end of
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     their respective polynucleotide molecules ; (3 ) optionally, at PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
     least one terminal base is identical in all of the polynucle- ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     otide molecules ; and ( 4 ) none of the polynucleotide mol- FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, GNAS, HNF1A ,
     ecules contains a complete sequencer motif .                    HRAS , IDHI , IDH2 , JAK2 , JAK3, KDR , KIT, MLH1 ,
        In some embodiments, the method further comprises 5 MPL , NPM1 , PDGFRA, PROC , PTPN11 , RET, SMAD4,
     determining nucleotide sequences of the amplified tagged SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
     polynucleotide fragments. In some embodiments, the CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     nucleotide sequences of the amplified tagged polynucleotide TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RITI , GATA3,
     fragments are determined without polymerase chain reaction MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     (PCR) . In some embodiments, the method further comprises 10 RHOA, and NTRK1 ; (b ) grouping with a computer proces
     analyzing the nucleotide sequences with a programmed sor the plurality of sequence reads into families, wherein
     computer processor to identify one or more genetic variants each family comprises sequence reads from one of the
     in the nucleotide sample of the subject. In some embodi- template polynucleotides; ( c ) for each of the families, merg
     ments, the one or more genetic variants are selected from the ing sequence reads to generate a consensus sequence ; (d)
     group consisting of base change ( s ), insertion ( s ), repeat ( s ), 15 calling the consensus sequence at a given genomic locus
     deletion ( s ), copy number variation ( s ) and transversion ( s ). In among the genomic loci ; and ( e ) detecting at the given
     some embodiments, the one or more genetic variants include genomic locus any of genetic variants among the calls ,
     one or more tumor associated genetic alterations.                        frequency of a genetic alteration among the calls , total
        In some embodiments, the subject has or is suspected of number of calls , and total number of alterations among the
     having a disease . In some embodiments , the disease is 20 calls .
     cancer . In some embodiments , the method further comprises                 In some embodiments, each family comprises sequence
     collecting the nucleic acid sample from the subject. In some reads from only one of the template polynucleotides. In
     embodiments , the nucleic acid sample is collected from a some embodiments, the given genomic locus comprises at
     location selected from the group consisting of blood , least one nucleic acid base . In some embodiments, the given
     plasma , serum , urine, saliva , mucosal excretions, sputum , 25 genomic locus comprises a plurality ofnucleic acid bases . In
     stool , cerebral spinal fluid and tears of the subject. In some some embodiments, the calling comprises calling at least
     embodiments, the nucleic acid sample is a cell- free nucleic one nucleic acid base at the given genomic locus . In some
     acid sample. In some embodiments, the nucleic acid sample embodiments, the calling comprises calling a plurality of
     is collected from no more than 100 nanograms (ng) of nucleic acid bases at the given genomic locus . In some
     double - stranded polynucleotide molecules of the subject. 30 embodiments, the calling comprises any one of phylogenetic
        In some embodiments, the polynucleotide fragments com- analysis , voting, weighing, assigning a probability to each
     prise double - stranded polynucleotide molecules . In some read at the locus in a family and calling the base with the
     embodiments, in (a ) , the plurality of polynucleotide mol- highest probability .
     ecules couple to the polynucleotide fragments via blunt end     In some embodiments , the method further comprises
     ligation, sticky end ligation, molecular inversion probes, 35 performing ( d) - ( e ) at an additional genomic locus among the
     PCR , ligation -based PCR , multiplex PCR , single stranded genomic loci . In some embodiments, the method further
     ligation, and single stranded circularization . In some comprises determining a variation in copy number at one of
     embodiments, exposing the polynucleotide fragments of the the given genomic locus and additional genomic locus based
     nucleic acid sample to the plurality of polynucleotide mol- on counts at the given genomic locus and additional
     ecules yields the tagged polynucleotide fragments with a 40 genomic locus .
     conversion efficiency of at least 10 % . In some embodiments ,           In some embodiments, the grouping comprises classifying
     any of at least 5 % , 6 % , 7 % , 8 % , 9 % , 10% , 20 % , or 25 % of the plurality of sequence reads into families by identifying
     the tagged polynucleotide fragments share a common poly- (i ) different molecular barcodes coupled to the plurality of
     nucleotide molecule or sequence . In some embodiments , the polynucleotide molecules and (ii ) similarities between the
     method further comprises generating the polynucleotide 45 plurality of sequence reads, wherein each family includes a
     fragments from the nucleic acid sample.                            plurality of nucleic acid sequences that are associated with
       In some embodiments, the subjecting comprises ampli-             a different combination of molecular barcodes and similar or
     fying the tagged polynucleotide fragments from sequences           identical sequence reads. Different molecular barcodes have
     corresponding to genes selected from the group consisting of       different sequences.
     ALK , APC , BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , 50 In some embodiments , the consensus sequence is gener
     KRAS, MYC , NOTCHI , NRAS, PIK3CA , PTEN , RB1 , ated by evaluating a quantitative measure or a statistical
     TP53 , MET, AR , ABL1 , AKT1 , ATM , CDHI , CSF1R , significance level for each of the sequence reads. In some
     CTNNB1, ERBB4 , EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, embodiments , the quantitative measure comprises use of a
     GNA11, GNAQ, GNAS, HNF1A , HRAS, IDH1 , IDH2 , binomial distribution, exponential distribution , beta distri
     JAK2 , JAK3, KDR , KIT, MLH1 , MPL , NPM1 , PDGFRA , 55 bution , or empirical distribution . In some embodiments, the
     PROC , PTPN11 , RET, SMAD4, SMARCB1, SMO , SRC , method further comprises mapping the consensus sequence
     STK11 , VHL , TERT, CCND1 , CDK4 , CDKN2B , RAF1, to the target genome. In some embodiments, the plurality of
     BRCA1 , CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , genes includes at least 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , 40 ,
     CCNE1 , ESR1 , RIT ) , GATA3, MAP2K1, RHEB , ROSI , 50 or all of the plurality of genes selected from the group .
     ARAF, MAP2K2, NFE2L2 , RHOA , and NTRK1 .            60   Another aspect of the present disclosure provides a
       In another aspect, a method comprises ( a ) generating           method , comprising ( a ) providing template polynucleotide
     plurality of sequence reads from a plurality of polynucle- molecules and a set of library adaptors in a single reaction
     otide molecules , wherein the plurality of polynucleotide vessel , wherein the library adaptors are polynucleotide mol
     molecules cover genomic loci of a target genome, wherein ecules that have different molecular barcodes (e.g. , from 2 to
     the genomic loci correspond to a plurality of genes selected 65 1,000 different molecular barcodes ), and wherein none of
     from the group consisting of ALK , APC , BRAF, CDKN2A , the library adaptors contains a complete sequencer motif; ( b )
     EGFR , ERBB2 , FBXW7 , KRAS , MYC , NOTCH1 , NRAS ,                in the single reaction vessel , coupling the library adaptors to
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     the template polynucleotide molecules at an efficiency of at group the plurality of sequence reads into families, wherein
     least 10 % , thereby tagging each template polynucleotide each family comprises sequence reads from one of the
     with a tagging combination that is among a plurality of template polynucleotides, (ii ) for each of the families, merge
     different tagging combinations ( e.g. , 4 to 1,000,000 different sequence reads to generate a consensus sequence , ( iii ) call
     tagging combinations ), to produce tagged polynucleotide 5 the consensus sequence at a given genomic locus among the
     molecules ; ( c ) subjecting the tagged polynucleotide mol- genomic loci , and (iv ) detect at the given genomic locus any
     ecules to an amplification reaction under conditions that of genetic variants among the calls , frequency of a genetic
     yield amplified polynucleotide molecules as amplification alteration among the calls , total number of calls ; and total
     products of the tagged polynucleotide molecules ; and (d) number of alterations among the calls , wherein the genomic
     sequencing the amplified polynucleotide molecules .             10 loci correspond to a plurality of genes selected from the
        In some embodiments , the template polynucleotide mol- group consisting of ALK , APC , BRAF, CDKN2A , EGFR ,
     ecules are blunt ended or sticky -ended . In some embodi- ERBB2 , FBXW7 , KRAS, MYC , NOTCHI , NRAS ,
     ments , the library adaptors are identical but for the molecu- PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
     lar barcodes. In some embodiments, each of the library ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     adaptors has a double stranded portion and at least one 15 FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, GNAS, HNF1A ,
     single - stranded portion . In some embodiments, the double- HRAS, IDH1 , IDH2 , JAK2 , JAK3, KDR , KIT, MLHI ,
     stranded portion has a molecular barcode among the MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4,
     molecular barcodes . In some embodiments, each of the SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
     library adaptors further comprises a strand - identification CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     barcode on the at least one single - stranded portion . In some 20 TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RIT1 , GATA3,
     embodiments , the single - stranded portion has a partial MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     sequencer motif. In some embodiments , the library adaptors RHOA , and NTRK1 .
     have a sequence of terminal nucleotides that are the same . In       In another aspect , a set of oligonucleotide molecules that
     some embodiments , the template polynucleotide molecules selectively hybridize to at least 5 genes selected from the
     are double - stranded . In some embodiments, the library adap- 25 group consisting of ALK , APC , BRAF, CDKN2A , EGFR ,
     tors couple to both ends of the template polynucleotide ERBB2 , FBXW7 , KRAS , MYC , NOTCHI , NRAS,
     molecules .                                                       PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
        In some embodiments, subjecting the tagged polynucle-          ATM , CDH1 , CSF1R , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     otide molecules to the amplification reaction comprises FGFR2 , FGFR3 , FLT3, GNA11, GNAQ , GNAS , HNF1A ,
     non - specifically amplifying the tagged polynucleotide mol- 30 HRAS, IDHI , IDH2 , JAK2 , JAK3, KDR , KIT, MLH1 ,
     ecules .                                                          MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4,
        In some embodiments, the amplification reaction com-           SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCNDI ,
     prises use of a priming site to amplify each of the tagged        CDK4 , CDKN         1 , BRCA1 , CCND2 , CDK6 , NF
     polynucleotide molecules . In some embodiments , the prim-        TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RITI , GATA3 ,
     ing site is a primer. In some embodiments, the primer is a 35 MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     universal primer. In some embodiments , the priming site is RHOA , and NTRK1 .
     a nick.                                                            In some embodiments , the oligonucleotide molecules are
        In some embodiments, the method further comprises, from 10-200 bases in length. In some embodiments, the
     prior to ( e) , (i ) separating polynucleotide molecules com- oligonucleotide molecules selectively hybridize to exon
     prising one or more given sequences from the amplified 40 regions of the at least 5 genes . In some embodiments, the
     polynucleotide molecules , to produce enriched polynucle- oligonucleotide molecules selectively hybridize to at least
     otide molecules ; and (ii ) amplifying the enriched polynucle- 30 exons in the at least 5 genes . In some embodiments ,
     otide molecules with sequencing adaptors.                        multiple oligonucleotide molecules selectively hybridize to
        In some embodiments, the efficiency is at least 30 % , 40 % , each of the at least 30 exons . In some embodiments, the
     or 50 % . In some embodiments, the method further com- 45 oligonucleotide molecules that hybridize to each exon have
     prises identifying genetic variants upon sequencing the sequences that overlap with at least 1 other oligonucleotide
     amplified polynucleotide molecules . In some embodiments , molecule .
     the sequencing comprises ( i ) subjecting the amplified poly-      In another aspect , a kit comprises a first container con
     nucleotide molecules to an additional amplification reaction taining a plurality of library adaptors each having a different
     under conditions that yield additional amplified polynucle- 50 molecular barcode ; and a second container containing a
     otide molecules as amplification products of the amplified plurality of sequencing adaptors , each sequencing adaptor
     polynucleotide molecules , and ( ii ) sequencing the additional comprising at least a portion of a sequencer motif and
     amplified polynucleotide molecules . In some embodiments, optionally a sample barcode . The library adaptors can be as
     the additional amplification is performed in the presence of described above or elsewhere herein .
     sequencing adaptors .                                          55   In some embodiments, the sequencing adaptor comprises
        In some embodiments, (b ) and ( c ) are performed without the sample barcode . In some embodiments, the library
     aliquoting the tagged polynucleotide molecules . In some adaptors are blunt ended and Y -shaped, and are less than or
     embodiments , the tagging is non - unique tagging.                equal to 80 nucleic acid bases in length . In some embodi
        Another aspect , provides a system for analyzing a target ments, the sequencing adaptor is up to 70 bases from end to
     nucleic acid molecule of a subject, comprising a communi- 60 end .
     cation interface that receives nucleic acid sequence reads for      In another aspect , a method for detecting sequence vari
     a plurality of polynucleotide molecules that cover genomic ants in a cell free DNA sample, comprising detecting rare
     loci of a target genome; computer memory that stores the DNA at a concentration less than 1 % with a specificity that
     nucleic acid sequence reads for the plurality of polynucle- is greater than 99.9 % .
     otide molecules received by the communication interface; 65 In another aspect , a method comprises detecting genetic
     and a computer processor operatively coupled to the com- variants in a sample comprising DNA with a detection limit
     munication interface and the memory and programmed to (i ) of at least 1 % and specificity greater than 99.9 % . In some
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     embodiments , the method further comprises converting               method comprising (a ) receiving into memory a set of
     cDNA ( e.g. cfDNA ) into adaptor tagged DNA with a con-             sequence reads of polynucleotides tagged with duplex tags ;
     version efficiency of at least 30% , 40 % , or 50 % and reducing    ( b ) reducing and / or tracking redundancy in the set of
     sequencing noise ( or distortion ) by eliminating false positive    sequence reads; ( c ) sorting sequence reads into paired reads
     sequence reads.                                                   5 and unpaired reads , wherein (i ) each paired read corresponds
         Another aspect provides a method , comprising ( a) pro- to sequence reads generated from a first tagged strand and a
     viding a sample comprising a set of double - stranded poly- second differently tagged complementary strand derived
     nucleotide molecules , each double - stranded polynucleotide from a double - stranded polynucleotide molecule in the set,
     molecule including first and second complementary strands; and (ii ) each unpaired read represents a first tagged strand
     (b ) tagging the double - stranded polynucleotide molecules 10 having no second differently tag complementary strand
     with a set of duplex tags , wherein each duplex tag differently derived from a double - stranded polynucleotide molecule
     tags the first and second complementary strands of a double- represented among the sequence reads in the set of sequence
     stranded polynucleotide molecule in the set; (c ) sequencing reads; ( d ) determining quantitative measures of (i ) the paired
     at least some of the tagged strands to produce a set of reads and ( ii ) the unpaired reads that map to each of one or
     sequence reads; ( d ) reducing and /or tracking redundancy in 15 more genetic loci ; and (e) estimating a quantitative measure
     the set of sequence reads; ( e) sorting sequence reads into of total double - stranded polynucleotide molecules in the set
     paired reads and unpaired reads, wherein ( i ) each paired read that map to each of the one or more genetic loci based on the
     corresponds to sequence reads generated from a first tagged quantitative measure of paired reads and unpaired reads
     strand and a second differently tagged complementary strand mapping to each locus .
     derived from a double - stranded polynucleotide molecule in 20 Another aspect provides a method, comprising ( a) pro
     the set, and ( ii ) each unpaired read represents a first tagged viding a sample comprising a set of double - stranded poly
     strand having no second differently tag complementary nucleotide molecules , each double - stranded polynucleotide
     strand derived from a double - stranded polynucleotide mol- molecule including first and second complementary strands ;
     ecule represented among the sequence reads in the set of ( b ) tagging the double - stranded polynucleotide molecules
     sequence reads ; ( f) determining quantitative measures of ( i ) 25 with a set of duplex tags , wherein each duplex tag differently
     the paired reads and ( ii ) the unpaired reads that map to each        tags the first and second complementary strands of a double
     of one or more genetic loci ; and ( g ) estimating with a              stranded polynucleotide molecule in the set ; (c ) sequencing
     programmed computer processor a quantitative measure of at least some of the tagged strands to produce a set of
     total double - stranded polynucleotide molecules in the set sequence reads ; ( d ) reducing and / or tracking redundancy in
     that map to each of the one or more genetic loci based on the 30 the set of sequence reads; ( e) sorting sequence reads into
     quantitative measure of paired reads and unpaired reads paired reads and unpaired reads, wherein (i ) each paired read
     mapping to each locus .                                          corresponds to sequence reads generated from a first tagged
        In some embodiments , the method further comprises ( h ) strand and a second differently tagged complementary strand
     detecting copy number variation in the sample by determin- derived from a double -stranded polynucleotide molecule in
     ing a normalized total quantitative measure determined in 35 the set, and (ii) each unpaired read represents a first tagged
     step ( g) at each of the one or more genetic loci and strand having no second differently tag complementary
     determining copy number variation based on the normalized strand derived from a double - stranded polynucleotide mol
     measure . In some embodiments, the sample comprises ecule represented among the sequence reads in the set of
     double - stranded polynucleotide molecules sourced substan- sequence reads; and ( f) determining quantitative measures of
     tially from cell- free nucleic acids . In some embodiments , the 40 at least two of (i ) the paired reads, ( ii ) the unpaired reads that
     duplex tags are not sequencing adaptors.                            map to each of one or more genetic loci , (iii ) read depth of
        In some embodiments, reducing redundancy in the set of the paired reads and (iv ) read depth of unpaired reads .
     sequence reads comprises collapsing sequence reads pro-                In some embodiments, ( f) comprises determining quan
     duced from amplified products of an original polynucleotide titative measures of at least three of ( i ) - (iv ) . In some
     molecule in the sample back to the original polynucleotide 45 embodiments , ( f) comprises determining quantitative mea
     molecule . In some embodiments, the method further com- sures of all of (i ) - (iv) . In some embodiments , the method
     prises determining a consensus sequence for the original further comprises ( g) estimating with a programmed com
     polynucleotide molecule . In some embodiments, the method puter processor a quantitative measure of total double
     further comprises identifying polynucleotide molecules at stranded polynucleotide molecules in the set that map to
     one or more genetic loci comprising a sequence variant. In 50 each of the one or more genetic loci based on the quantita
     some embodiments, the method further comprises determin- tive measure of paired reads and unpaired reads and their
     ing a quantitative measure of paired reads that map to a read depths mapping to each locus .
     locus , wherein both strands of the pair comprise a sequence           In another aspect , a method comprises (a ) tagging control
     variant. In some embodiments, the method further comprises parent polynucleotides with a first tag set to produce tagged
     determining a quantitative measure of paired molecules in 55 control parent polynucleotides, wherein the first tag set
     which only one member of the pair bears a sequence variant comprises a plurality of tags , wherein each tag in the first tag
     and / or determining a quantitative measure of unpaired mol- set comprises a same control tag and an identifying tag , and
     ecules bearing a sequence variant. In some embodiments , wherein the tag set comprises a plurality of different iden
     the sequence variant is selected from the group consisting of       tifying tags ; ( b ) tagging test parent polynucleotides with a
     a single nucleotide variant, an indel , a transversion , a 60 second tag set to produce tagged test parent polynucleotides,
     translocation, an inversion, a deletion , a chromosomal struc- wherein the second tag set comprises a plurality of tags ,
     ture alteration , a gene fusion , a chromosome fusion, a gene wherein each tag in the second tag set comprises a same test
     truncation , a gene amplification, a gene duplication and a tag that is distinguishable from the control tag and an
     chromosomal lesion .                                                identifying tag , and wherein the second tag set comprises a
        Another aspect provides a system comprising a computer 65 plurality of different identifying tags ; ( c ) mixing tagged
     readable medium comprising machine - executable code that, control parent polynucleotides with tagged test parent poly
     upon execution by a computer processor, implements a nucleotides to form a pool ; (d) amplifying tagged parent
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     polynucleotides in the pool to form a pool of amplified, corresponds to sequence reads generated from a first tagged
     tagged polynucleotides ; ( e ) sequencing amplified , tagged strand and a second differently tagged complementary strand
     polynucleotides in the amplified pool to produce a plurality derived from a double - stranded polynucleotide molecule in
     of sequence reads ; ( f) grouping sequence reads into families, the set , and ( ii ) each unpaired read represents a first tagged
     each family comprising sequence reads generated from a 5 strand having no second differently tag complementary
     same parent polynucleotide, which grouping is optionally strand derived from a double - stranded polynucleotide mol
     based on information from an identifying tag and from ecule represented among the sequence reads in the set of
     start / end sequences of the parent polynucleotides, and , sequence reads . In some embodiments , the method further
     optionally, determining a consensus sequence for each of a comprises determining quantitative measures of ( i ) the
     plurality of parent polynucleotides from the plurality of 10 paired reads and ( ii ) the unpaired reads that map to each of
     sequence reads in a group ; ( g ) classifying each family or one or more genetic loci to determine a quantitative measure
     consensus sequence as a control parent polynucleotide or as of total double - stranded DNA molecules in the sample that
     a test parent polynucleotide based on having a test tag or a map to each of the one or more genetic loci based on the
     control tag ; (h ) determining a quantitative measure of con- quantitative measure of paired reads and unpaired reads
     trol parent polynucleotides and control test polynucleotides 15 mapping to each locus .
     mapping to each of at least two genetic loci ; and (i )              In another aspect , a method for reducing distortion in a
     determining copy number variation in the test parent poly- sequencing assay, comprises (a ) tagging control parent poly
     nucleotides at at least one locus based on relative quantity of nucleotides with a first tag set to produce tagged control
     test parent polynucleotides and control parent polynucle- parent polynucleotides; ( b ) tagging test parent polynucle
     otides mapping to the at least one locus .                     20 otides with a second tag set to produce tagged test parent
        In another aspect , a method comprises (a ) generating a polynucleotides; ( c ) mixing tagged control parent poly
     plurality of sequence reads from a plurality of template nucleotides with tagged test parent polynucleotides to form
     polynucleotides , each polynucleotide mapped to a genomic a pool ; (d) determining quantities of tagged control parent
     locus ; (b ) grouping the sequence reads into families, each polynucleotides and tagged test parent polynucleotides; and
     family comprising sequence reads generated from one of the 25 (e ) using the quantities of tagged control parent polynucle
     template polynucleotides; ( c ) calling a base ( or sequence) at     otides to reduce distortion in the quantities of tagged test
     the genomic locus for each of the families; ( d) detecting at parent polynucleotides.
     the genomic locus any of genomic alterations among the               In some embodiments, the first tag set comprises a plu
     calls , frequency of a genetic alteration among the calls , total rality of tags , wherein each tag in the first tag set comprises
     number of calls and total number of alterations among the 30 a same control tag and an identifying tag , and wherein the
     calls .                                                           first tag set comprises a plurality of different identifying
        In some embodiments, calling comprises any of phylo- tags . In some embodiments , the second tag set comprises a
     genetic analysis, voting , weighing, assigning a probability to plurality of tags , wherein each tag in the second tag set
     each read at the locus in a family, and calling the base with comprises a same test tag and an identifying tag , wherein the
     the highest probability. In some embodiments, the method is 35 test tag is distinguishable from the control tag , and wherein
     performed at two loci , comprising determining CNV at one the second tag set comprises a plurality of different identi
     of the loci based on counts at each of the loci .                 fying tags . In some embodiments, (d) comprises amplifying
        Another aspect provides a method for determining a tagged parent polynucleotides in the pool to form a pool of
     quantitative measure indicative of a number of individual amplified, tagged polynucleotides, and sequencing ampli
     double - stranded DNA fragments in a sample comprising (a ) 40 fied, tagged polynucleotides in the amplified pool to produce
     determining a quantitative measure of individual DNA mol- a plurality of sequence reads . In some embodiments, the
     ecules for which both strands are detected ; (b ) determining method further comprises grouping sequence reads into
     a quantitative measure of individual DNA molecules for families, each family comprising sequence reads generated
     which only one of the DNA strands are detected ; ( c ) infer- from a same parent polynucleotide, which grouping is
     ring from (a ) and ( b ) above a quantitative measure of 45 optionally based on information from an identifying tag and
     individual DNA molecules for which neither strand was from start/ end sequences of the parent polynucleotides, and ,
     detected ; and ( d ) using ( a ) - ( c ) determining the quantitative optionally, determining a consensus sequence for each of a
     measure indicative of a number of individual double                   plurality of parent polynucleotides from the plurality of
     stranded DNA fragments in the sample.                                 sequence reads in a group .
        In some embodiments , the method further comprises 50 In some embodiments, (d) comprises determining copy
     detecting copy number variation in the sample by determin- number variation in the test parent polynucleotides at greater
     ing a normalized quantitative measure determined in step (d) than or equal to one locus based on relative quantity of test
     at each of one or more genetic loci and determining copy parent polynucleotides and control parent polynucleotides
     number variation based on the normalized measure . In some mapping to the locus .
     embodiments, the sample comprises double - stranded poly- 55 Another aspect provides a method comprising ( a ) ligating
     nucleotide molecules sourced substantially from cell- free adaptors to double - stranded DNA polynucleotides, wherein
     nucleic acids .                                                       ligating is performed in a single reaction vessel , and wherein
        In some embodiments , determining the quantitative mea- the adaptors comprise molecular barcodes, to produce a
     sure of individual DNA molecules comprises tagging the tagged library comprising an insert from the double -stranded
     DNA molecules with a set of duplex tags , wherein each 60 DNA polynucleotides, and having between 4 and 1 million
     duplex tag differently tags complementary strands of a different tags ; (b ) generating a plurality of sequence reads
     double - stranded DNA molecule in the sample to provide for each of the double - stranded DNA polynucleotides in the
     tagged strands. In some embodiments, the method further tagged library ; (c ) grouping sequence reads into families,
     comprises sequencing at least some of the tagged strands to each family comprising sequence reads generated from a
     produce a set of sequence reads . In some embodiments, the 65 single DNA polynucleotide among the double - stranded
     method further comprises sorting sequence reads into paired DNA polynucleotides, based on information in a tag and
     reads and unpaired reads , wherein ( i ) each paired read            information at an end of the insert; and (d) calling bases at
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                                  13                                                                    14
     each position in the double - stranded DNA molecule based       FIG . 1 is a flowchart representation of a method of the
     on bases at the position in members of a family. In some present disclosure for determining copy number variation
     embodiments , ( b ) comprises amplifying each of the double- ( CNV );
     stranded DNA polynucleotide molecules in the tagged             FIG . 2 depicts mapping of pairs and singlets to Locus A
     library to generate amplification products, and sequencing 5 and Locus B in a genome;
     the amplification products. In some embodiments, the            FIG . 3 shows a reference sequence encoding a genetic
     method further comprises sequencing the double - stranded Locus A;
     DNA polynucleotide molecules a plurality of times . In some     FIGS . 4A - C shows amplification , sequencing, redun
     embodiments, ( b ) comprises sequencing the entire insert. In dancy reduction and pairing of complementary molecules ;
     some embodiments, (c ) further comprises collapsing 10 FIG . 5 shows increased confidence in detecting sequence
     sequence reads in each family to generate a consensus variants by pairing reads from Watson and Crick strands;
     sequence. In some embodiments, ( d) comprises calling a         FIG . 6 shows a computer system that is programmed or
     plurality of sequential bases from least a subset of the otherwise configured to implement various methods of the
     sequence reads to identify single nucleotide variations 15 present disclosure;
     ( SNV ) in the double - stranded DNA molecule .                 FIG . 7 is schematic representation of a system for ana
        Another aspect provides a method of detecting disease lyzing a sample comprising nucleic acids from a user,
     cell heterogeneity from a sample comprising polynucle- including a sequencer; bioinformatic software and internet
     otides from somatic cells and disease cells . The method connection for report analysis by, for example , a hand held
     comprises quantifying polynucleotides in the sample bear- device or a desk top computer;
     ing a nucleotide sequence variant at each of a plurality of 20 FIG . 8 is a flowchart representation of a method of this
     genetic loci ; determining copy number variation ( CNV ) at invention for determining CNV using pooled test and con
     each of the plurality of genetic loci , wherein the CNV trol pools ; and
     indicates a genetic dose of a locus in the disease cell         FIGS . 9A - 9C schematically illustrate a method for tag
     polynucleotides; determining with a programmed computer ging a polynucleotide molecule with a library adaptor and
     processor a relative measure of quantity of polynucleotides 25 subsequently a sequencing adaptor.
     bearing a sequence variant at a locus per the genetic dose at                 DETAILED DESCRIPTION
    the locus for each of a plurality of the loci ; and comparing
    the relative measures at each of the plurality of loci , wherein       While various embodiments of the invention have been
    different relative measures is indicative of tumor heteroge
    neity.                                                           30 shown and described herein , it will be obvious to those
         In another aspect , a method comprises subjecting a sub skilled in the art that such embodiments are provided by way
    ject to one or more pulsed therapy cycles , each pulsed of example only. Numerous variations, changes , and substi
    therapy cycle comprising (a ) a first period during which a tutions may occur to those skilled in the art without depart
    drug is administered at a first amount; and (b ) a second ing from the invention . It should be understood that various
    period during which the drug is administered at a second, 35 alternatives to the embodiments of the invention described
    reduced amount, wherein ( i ) the first period is characterized herein may be employed .
    by a tumor burden detected above a first clinical level ; and          The term “ genetic variant,” as used herein , generally
    ( ii ) the second period is characterized by a tumor burden refers to an alteration , variant or polymorphism in a nucleic
    detected below a second clinical level.                             acid sample or genome of a subject. Such alteration , variant
         Additional aspects and advantages of the present disclo- 40 or polymorphism can be with respect to a reference genome,
    sure will become readily apparent to those skilled in this art which may be a reference genome of the subject or other
    from the following detailed description , wherein only illus individual. Single nucleotide polymorphisms (SNPs) are a
    trative embodiments of the present disclosure are shown and form of polymorphisms. In some examples, one or more
    described . As will be realized , the present disclosure is polymorphisms comprise one or more single nucleotide
    capable of other and different embodiments, and its several 45 variations ( SNVs ), insertions, deletions , repeats, small inser
    details are capable of modifications in various obvious tions , small deletions, small repeats , structural variant junc
    respects , all without departing from the disclosure . Accord- tions , variable length tandem repeats, and / or flanking
    ingly, the drawings and description are to be regarded as sequences, Copy number variants ( CNVs ), transversions
    illustrative in nature , and not as restrictive .                   and other rearrangements are also forms of genetic variation .
                                                                     50 A genomic alternation may be a base change, insertion,
                 INCORPORATION BY REFERENCE                             deletion , repeat, copy number variation , or transversion.
                                                                           The term “ polynucleotide , ” as used herein , generally
         All publications , patents, and patent applications men- refers to a molecule comprising one or more nucleic acid
    tioned in this specification are herein incorporated by ref- subunits . A polynucleotide can include one or more subunits
    erence to the same extent as if each individual publication, 55 selected from adenosine ( A ), cytosine (C) , guanine (G) ,
    patent, or patent application was specifically and individu- thymine (T ) and uracil ( U ), or variants thereof. A nucleotide
    ally indicated to be incorporated by reference.                     can include A , C , G , T or U , or variants thereof. A nucleotide
                                                                        can include any subunit that can be incorporated into a
             BRIEF DESCRIPTION OF THE DRAWINGS                          growing nucleic acid strand. Such subunit can be an A , C , G ,
                                                                      60 T, or U , or any other subunit that is specific to one or more
       The novel features of the invention are set forth with            complementary A , C , G , T or U , or complementary to a
     particularity in the appended claims . A better understanding purine (i.e. , A or G , or variant thereof) or a pyrimidine (i.e. ,
     of the features and advantages of the present invention will C , T or U , or variant thereof). A subunit can enable indi
     be obtained by reference to the following detailed descrip- vidual nucleic acid bases or groups of bases ( e.g. , AA , TA ,
     tion that sets forth illustrative embodiments , in which the 65 AT, GC , CG , CT, TC , GT, TG , AC , CA , or uracil -counter
     principles of the invention are utilized, and the accompany- parts thereof) to be resolved . In some examples, a poly
     ing drawings (also “ figure” and “ FIG . ” herein ), of which : nucleotide is deoxyribonucleic acid ( DNA ) or ribonucleic
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     acid ( RNA ), or derivatives thereof. A polynucleotide can be example, the amount “ at least 10 ” can include the value 10
     single - stranded or double stranded .                                and any numerical value above 10 , such as 11 , 100 , and
         The term “ subject," as used herein , generally refers to an 1,000 .
     animal, such as a mammalian species ( e.g. , human ) or avian            The term “ at most ” and its grammatical equivalents in
     ( e.g. , bird ) species , or other organism , such as a plant. More 5 relation to a reference numerical value can include the
     specifically, the subject can be a vertebrate , a mammal, a               reference numerical value and less than that value . For
     mouse , a primate , a simian or a human . Animals include , but           example, the amount “ at most 10 " can include the value 10
     are not limited to , farm animals, sport animals, and pets . A            and any numerical value under 10 , such as 9 , 8 , 5 , 1 , 0.5 , and
      subject can be a healthy individual, an individual that has or 0.1 .
     is suspected of having a disease or a pre -disposition to the 10
     disease , or an individual that is in need of therapy or                               1. Methods for Processing and /or Analyzing a
      suspected of needing therapy. A subject can be a patient.                                            Nucleic Acid Sample
         The term “ genome ” generally refers to an entirety of an
     organism's hereditary information . A genome can be                               An aspect of the present disclosure provides methods for
     encoded   either in DNA     or   in RNA .  A    genome    can     comprise   15 determining   a genomic alternation in a nucleic acid sample
     coding regions that code for proteins as well as non -coding of a subject. FIG . 1 shows a method of determining copy
     regions . A genome can include the sequence of all chromo- number variation (CNV ) . The method can be implemented
     somes together in an organism . For example, the human to determine other genomic alternations, such as SNVs.
     genome has a total of 46 chromosomes. The sequence of all
     of these together constitutes a human genome.                                20                  A. Polynucleotide Isolation
         The terms “ adaptor (s ) ", " adapter ( s ) ” and “ tag ( s ) ” are used
     synonymously throughout this specification. An adaptor or                          Methods disclosed herein can comprise isolating one or
     tag can be coupled to a polynucleotide sequence to be more polynucleotides. A polynucleotide can comprise any
     " tagged " by any approach including ligation , hybridization , type of nucleic acid , for example, a sequence of genomic
     or other approaches .                                                        25 nucleic acid , or an artificial sequence ( e.g. , a sequence not
         The term " library adaptor " or " library adapter " as used found in genomic nucleic acid) . For example, an artificial
     herein , generally refers to a molecule (e.g. , polynucleotide) sequence can contain non -natural nucleotides. Also , a poly
     whose identity ( e.g. , sequence ) can be used to differentiate nucleotide can comprise both genomic nucleic acid and an
     polynucleotides in a biological sample (also " sample " artificial sequence, in any portion. For example , a polynucle
     herein ).                                                                    30 otide can comprise 1 to 99 % of genomic nucleic acid and
         The term “ sequencing adaptor," as used herein , generally 99 % to 1 % of artificial sequence , where the total adds up to
     refers to a molecule ( e.g. , polynucleotide) that is adapted to 100 % . Thus, fractions of percentages are also contemplated.
     permit a sequencing instrument to sequence a target poly- For example, a ratio of 99.1 % to 0.9 % is contemplated.
     nucleotide, such as by interacting with the target polynucle-                      A polynucleotide can comprise any type of nucleic acids ,
     otide to enable sequencing. The sequencing adaptor permits 35 such as DNA and / or RNA . For example, if a polynucleotide
     the target polynucleotide to be sequenced by the sequencing is DNA , it can be genomic DNA , complementary DNA
     instrument. In an example, the sequencing adaptor com- ( cDNA ), or any other deoxyribonucleic acid . A polynucle
     prises a nucleotide sequence that hybridizes or binds to a otide can also be cell- free DNA ( cfDNA ). For example, the
     capture polynucleotide attached to a solid support of a polynucleotide can be circulating DNA . The circulating
      sequencing system , such as a flow cell . In another example, 40 DNA can comprise circulating tumor DNA ( ctDNA ). A
     the sequencing adaptor comprises a nucleotide sequence that polynucleotide can be double - stranded or single - stranded .
     hybridizes or binds to a polynucleotide to generate a hairpin Alternatively, a polynucleotide can comprise a combination
     loop , which permits the target polynucleotide to be of a double - stranded portion and a single - stranded portion .
      sequenced by a sequencing system . The sequencing adaptor                         Polynucleotides do not have to be cell- free. In some cases ,
     can include a sequencer motif, which can be a nucleotide 45 the polynucleotides can be isolated from a sample . For
      sequence that is complementary to a flow cell sequence of example , in step ( 102 ) ( FIG . 1 ) , double - stranded polynucle
     other molecule ( e.g. , polynucleotide ) and usable by the otides are isolated from a sample . A sample can be any
      sequencing system to sequence the target polynucleotide. biological sample isolated from a subject. For example, a
     The sequencer motif can also include a primer sequence for sample can comprise, without limitation, bodily fluid , whole
     use in sequencing, such as sequencing by synthesis. The 50 blood , platelets , serum , plasma , stool , red blood cells , white
     sequencer motif can include the sequence ( s) needed to blood cells or leucocytes, endothelial cells , tissue biopsies ,
     couple a library adaptor to a sequencing system and synovial fluid , lymphatic fluid , ascites fluid , interstitial or
     sequence the target polynucleotide.                                             extracellular fluid , the fluid in spaces between cells , includ
       As used herein the terms at least” , “ at most” or “ about ” ,          ing gingival crevicular fluid , bone marrow , cerebrospinal
     when preceding a series , refers to each member of the series, 55 fluid , saliva , mucous , sputum , semen , sweat, urine, or any
     unless otherwise identified .                                             other bodily fluids. A bodily fluid can include saliva , blood ,
       The term " about" and its grammatical equivalents in                    or serum . For example, a polynucleotide can be cell - free
     relation to a reference numerical value can include a range DNA isolated from a bodily fluid , e.g. , blood or serum . A
     of values up to plus or minus 10% from that value . For sample can also be a tumor sample, which can be obtained
     example, the amount “ about 10 " can include amounts from 60 from a subject by various approaches, including , but not
     9 to 11. In other embodiments, the term “ about” in relation limited to , venipuncture, excretion , ejaculation, massage ,
     to a reference numerical value can include a range of values biopsy, needle aspirate, lavage , scraping, surgical incision ,
     plus or minus 10 % , 9 % , 8 % , 7 % , 6 % , 5 % , 4 % , 3 % , 2 % , or or intervention or other approaches.
     1 % from that value .                                                     A sample can comprise various amount of nucleic acid
        The term “ at least and its grammatical equivalents in 65 that contains genome equivalents. For example, a sample of
     relation to a reference numerical value can include the about 30 ng DNA can contain about 10,000 ( 104 ) haploid
     reference numerical value and greater than that value . For human genome equivalents and, in the case of cfDNA , about
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     200 billion (2x1011 ) individual polynucleotide molecules . least 10 , at least 50 , at least 100 , at least 150 , at least 200 ,
     Similarly, a sample of about 100 ng of DNA can contain at least 250 , at least 300 , at least 400 , at least 500 , or at least
     about 30,000 haploid human genome equivalents and, in the 600 unit microliter
                                                                              /            . Efficiency can also be optimized by
     case of cfDNA , about 600 billion individual molecules .        adding or varying the concentration of an enzyme suitable
       A sample can comprise nucleic acids from different 5 for ligation, enzyme cofactors or other additives , and / or
     sources . For example , a sample can comprise germline DNA optimizing a temperature of a solution having the enzyme.
     or somatic DNA . A sample can comprise nucleic acids Efficiency can also be optimized by varying the addition
     carrying mutations. For example, a sample can comprise order of various components of the reaction . The end of tag
     DNA carrying germline mutations and /orsomatic mutations . sequence can comprise dinucleotide to increase ligation
     A sample can also comprise DNA carrying cancer -associ- 10 efficiency. When the tag comprises a non -complementary
     ated mutations (e.g. , cancer - associated somatic mutations ). portion ( e.g. , Y - shaped adaptor ), the sequence on the
                                                                     complementary portion of the tag adaptor can comprise one
                               B. Tagging                            or more selected sequences that promote ligation efficiency.
                                                                     Preferably such sequences are located at the terminal end of
        Polynucleotides disclosed herein can be tagged . For 15 the tag . Such sequences can comprise 1 , 2 , 3 , 4 , 5 , or 6
     example , in step ( 104 ) (FIG . 1 ) the double - stranded poly- terminal bases . Reaction solution with high viscosity (e.g. , a
     nucleotides are tagged with duplex tags , tags that differently low Reynolds number) can also be used to increase ligation
     label the complementary strands ( i.e. , the “ Watson ” and efficiency. For example, solution can have a Reynolds num
     " Crick ” strands ) of a double - stranded molecule . In one ber less than 3000 , less than 2000 , less than 1000 , less than
     embodiment the duplex tags are polynucleotides having 20 900 , less than 800 , less than 700 , less than 600 , less than
     complementary and non -complementary portions.                   500 , less than 400 , less than 300 , less than 200 , less than
        Tags can be any types of molecules attached to a poly- 100 , less than 50 , less than 25 , or less than 10. It is also
     nucleotide, including , but not limited to , nucleic acids , contemplated that roughly unified distribution of fragments
     chemical compounds, florescent probes, or radioactive (e.g. , tight standard deviation ) can be used to increase
     probes. Tags can also be oligonucleotides (e.g. , DNA or 25 ligation efficiency. For example , the variation in fragment
     RNA ). Tags can comprise known sequences , unknown sizes can vary by less than 20% , less than 15 % , less than
     sequences , or both . A tag can comprise random sequences , 10% , less than 5 % , or less than 1 % . Tagging can also
     pre -determined sequences, or both . A tag can be double- comprise primer extension , for example, by polymerase
     stranded or single -stranded . A double - stranded tag can be a chain reaction ( PCR) . Tagging can also comprise any of
     duplex tag . A double - stranded tag can comprise two comple- 30 ligation- based PCR , multiplex PCR , single strand ligation ,
     mentary strands. Alternatively, a double -stranded tag can or single strand circularization.
     comprise a hybridized portion and a non -hybridized portion .       In some instances , the tags herein comprise molecular
     The double - stranded tag can be Y -shaped, e.g. , the hybrid- barcodes . Such molecular barcodes can be used to differen
     ized portion is at one end of the tag and the non -hybridized tiate polynucleotides in a sample. Preferably molecular
     portion is at the opposite end of the tag . One such example 35 barcodes are different from one another. For example ,
     are the “ Y adapters” used in Illumina sequencing. Other molecular barcodes can have a difference between them that
     examples include hairpin shaped adapters or bubble shaped can be characterized by a predetermined edit distance or a
     adapters. Bubble shaped adapters have non - complementary Hamming distance. In some instances, the molecular bar
     sequences flanked on both sides by complementary codes herein have a minimum edit distance of 1 , 2 , 3 , 4 , 5 ,
     sequences .                                                  40 6 , 7 , 8 , 9 , or 10. To further improve efficiency of conversion
        Tagging disclosed herein can be performed using any (e.g. , tagging ) of untagged molecular to tagged molecules ,
     method. A polynucleotide can be tagged with an adaptor by one preferably utilizes short tags . For example , in some
     hybridization. For example , the adaptor can have a nucleo- embodiments, a library adapter tag can be up to 65 , 60 , 55 ,
     tide sequence that is complementary to at least a portion of 50 , 45 , 40 , or 35 nucleotide bases in length . A collection of
     a sequence of the polynucleotide. As an alternative, a 45 such short library barcodes preferably includes a number of
     polynucleotide can be tagged with an adaptor by ligation .      different molecular barcodes , e.g. , at least 2 , 4 , 6 , 8 , 10 , 12 ,
        For example, tagging can comprise using one or more 14 , 16 , 18 or 20 different barcodes with a minimum edit
     enzymes . The enzyme can be a ligase . The ligase can be a distance of 1 , 2 , 3 or more .
     DNA ligase . For example, the DNA ligase can be a T4 DNA            Thus, a collection of molecules can include one or more
     ligase , E. coli DNA ligase , and / or mammalian ligase . The 50 tags . In some instances, some molecules in a collection can
     mammalian ligase can be DNA ligase I , DNA ligase III , or include an identifying tag (“ identifier” ) such as a molecular
     DNA ligase IV . The ligase can also be a thermostable ligase . barcode that is not shared by any other molecule in the
     Tags can be ligated to a blunt - end of a polynucleotide collection . For example, in some instances of a collection of
     (blunt -end ligation) . Alternatively, tags can be ligated to a molecules , at least 50 % , at least 51 % , at least 52 % , at least
     sticky end of a polynucleotide ( sticky - end ligation ). Effi- 55 53 % , at least 54 % , at least 55 % , at least 56 % , at least 57 % ,
     ciency of ligation can be increased by optimizing various at least 58 % , at least 59 % , at least 60 % , at least 61 % , at least
     conditions . Efficiency of ligation can be increased by opti- 62 % , at least 63 % , at least 64 % , at least 65 % , at least 66 % ,
     mizing the reaction time of ligation. For example, the at least 67 % , at least 68 % , at least 69 % , at least 70% , at least
     reaction time of ligation can be less than 12 hours, e.g. , less 71 % , at least 72 % , at least 73 % , at least 74 % , at least 75 % ,
     than 1 , less than 2 , less than 3 , less than 4 , less than 5 , less 60 at least 76 % , at least 77 % , at least 78 % , at least 79 % , at least
     than 6 , less than 7 , less than 8 , less than 9 , less than 10 , less 80% , at least 81 % , at least 82 % , at least 83 % , at least 84 % ,
     than 11 , less than 12 , less than 13 , less than 14 , less than 15 , at least 85 % , at least 86 % , at least 87 % , at least 88 % , at least
     less than 16 , less than 17 , less than 18 , less than 19 , or less 89 % , at least 90% , at least 91 % , at least 92 % , at least 93 % ,
     than 20 hours. In a particular example, reaction time of at least 94 % , at least 95 % , at least 96 % , at least 97 % , at least
     ligation is less than 20 hours . Efficiency of ligation can be 65 98 % , at least 99 % , or 100 % of the molecules in the collec
     increased by optimizing the ligase concentration in the tion can include an identifier or molecular barcode that is not
     reaction . For example, the ligase concentration can be at shared by any other molecule in the collection . As used
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     herein , a collection of molecules is considered to be craniopharyngioma, ependymoblastoma, ependymoma,
     " uniquely tagged ” if each of at least 95 % of the molecules medulloblastoma, medulloeptithelioma, pineal parenchymal
     in the collection bears an identifier that is not shared by any tumor, breast cancer, bronchial tumor, Burkitt lymphoma,
     other molecule in the collection ( “ unique tag ” or “ unique Non -Hodgkin lymphoma, carcinoid tumor, cervical cancer,
     identifier ” ). A collection of molecules is considered to be 5 chordoma, chronic lymphocytic leukemia (CLL ) , chronic
     " non -uniquely tagged " if each of at least 1 % , at least 5 % , at myelogenous leukemia (CML ) , colon cancer, colorectal
     least 10% , at least 15 % , at least 20% , at least 25 % , at least cancer, cutaneous T - cell lymphoma, ductal carcinoma in
     30 % , at least 35 % , at least 40 % , at least 45 % , or at least or situ , endometrial cancer , esophageal cancer, Ewing Sar
     about 50 % of the molecules in the collection bears an                       coma , eye cancer, intraocular melanoma , retinoblastoma ,
     identifying tag or molecular barcode that is shared by at least 10 fibrous histiocytoma , gallbladder cancer, gastric cancer,
     one other molecule in the collection (" non - unique tag ” or                glioma , hairy cell leukemia, head and neck cancer, heart
     " non -unique identifier" ). Accordingly, in a non -uniquely cancer, hepatocellular ( liver) cancer, Hodgkin lymphoma,
     tagged population no more than 1 % of the molecules are hypopharyngeal cancer , kidney cancer, laryngeal cancer, lip
     uniquely tagged . For example, in a non - uniquely tagged cancer, oral cavity cancer, lung cancer, non - small cell car
     population , no more than 1 % , 5 % , 10 % , 15 % , 20% , 25 % , 15 cinoma , small cell carcinoma, melanoma, mouth cancer,
     30 % , 35 % , 40 % , 45 % , or 50 % of the molecules can be myelodysplastic syndromes, multiple myeloma, medullo
     uniquely tagged                                                        blastoma , nasal cavity cancer, paranasal sinus cancer, neu
        A number of different tags can be used based on the roblastoma, nasopharyngeal cancer, oral cancer, oropharyn
     estimated number ofmolecules in a sample. In some tagging geal cancer, osteosarcoma, ovarian cancer, pancreatic
     methods , the number of different tags can be at least the 20 cancer, papillomatosis, paraganglioma , parathyroid cancer,
     same as the estimated number of molecules in the sample. In penile cancer, pharyngeal cancer, pituitary tumor, plasma
     other tagging methods, the number of different tags can be cell neoplasm , prostate cancer, rectal cancer, renal cell
     at least two , three, four, five, six , seven , eight, nine, ten , one cancer , rhabdomyosarcoma, salivary gland cancer , Sezary
     hundred or one thousand times as many as the estimated syndrome, skin cancer, nonmelanoma, small intestine can
     number of molecules in the sample . In unique tagging , at 25 cer, soft tissue sarcoma, squamous cell carcinoma, testicular
     least two times (or more ) as many different tags can be used cancer , throat cancer , thymoma, thyroid cancer, urethral
     as the estimated number of molecules in the sample .                   cancer, uterine cancer, uterine sarcoma, vaginal cancer,
        The molecules in the sample may be non - uniquely tagged . vulvar cancer , Waldenstrom macroglobulinemia, and / or
     In such instances a fewer number of tags or molecular Wilms Tumor.
     barcodes is used then the number of molecules in the sample 30 A haploid human genome equivalent has about 3 pico
     to be tagged . For example, no more than 100 , 50 , 40 , 30 , 20 grams of DNA . A sample of about 1 microgram of DNA
     or 10 unique tags or molecular barcodes are used to tag a contains about 300,000 haploid human genome equivalents .
     complex sample such as a cell free DNA sample with many Improvements in sequencing can be achieved as long as at
     more different fragments.                                              least some of the duplicate or cognate polynucleotides bear
        The polynucleotide to be tagged can be fragmented , such 35 unique identifiers with respect to each other, that is , bear
     as either naturally or using other approaches, such as , for different tags . However, in certain embodiments, the number
     example , shearing. The polynucleotides can be fragmented of tags used is selected so that there is at least a 95 % chance
     by certain methods, including but not limited to , mechanical that all duplicate molecules starting at any one position bear
     shearing, passing the sample through a syringe , sonication , unique identifiers. For example , in a sample comprising
     heat treatment (e.g. , for 30 minutes at 90 ° C. ) , and / or 40 about 10,000 haploid human genome equivalents of frag
     nuclease treatment (e.g. , using DNase , RNase , endonu- mented genomic DNA , e.g. , cfDNA , z is expected to be
     clease , exonuclease, and / or restriction enzyme).                    between 2 and 8. Such a population can be tagged with
        The polynucleotides fragments ( prior to tagging) can between about 10 and 100 different identifiers , for example,
     comprise sequences of any length . For example, polynucle- about 2 identifiers , about 4 identifiers, about 9 identifiers ,
     otide fragments ( prior to tagging) can comprise at least 50 , 45 about 16 identifiers, about 25 identifiers, about 36 different
     55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 , 105 , 110 , 115 , 120 ,   identifiers , about 49 different identifiers, about 64 different
     125 , 130 , 135 , 140 , 145 , 150 , 155 , 160 , 165 , 170 , 175 , 180 ,      identifiers , about 81 different identifiers, or about 100 dif
     185 , 190 , 195 , 200 , 205 , 210 , 215 , 220 , 225 , 230 , 235 , 240 ,   ferent identifiers.
     245 , 250 , 255 , 260 , 265 , 270 , 275 , 280 , 285 , 290 , 295 , 300 ,      Nucleic acid barcodes having identifiable sequences
     400 , 500 , 600 , 700 , 800 , 900 , 1000 , 1100 , 1200 , 1300 , 1400 , 50 including molecular barcodes , can be used for tagging . For
     1500 , 1600 , 1700 , 1800 , 1900 , 2000 or more nucleotides in example, a plurality of DNA barcodes can comprise various
     length . The polynucleotide fragment are preferably about numbers of sequences of nucleotides . A plurality of DNA
     the average length of cell - free DNA . For example, the barcodes having 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 ,
     polynucleotide fragments can comprise about 160 bases in 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 or
     length . The polynucleotide fragment can also be fragmented 55 more identifiable sequences of nucleotides can be used .
     from a larger fragment into smaller fragments about 160 When attached to only one end of a polynucleotide , the
     bases in length .                                                         plurality of DNA barcodes can produce 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 ,
        Polynucleotides tagged can comprise sequences associ- 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 ,
     ated with cancer . The cancer -associated sequences can com- 26 , 27 , 28 , 29 , 30 or more different identifiers. Alternatively,
     prise single nucleotide variation ( SNV ), copy number varia- 60 when attached to both ends of a polynucleotide, the plurality
     tion (CNV ), insertions, deletions, and / or rearrangements.     DNA barcodes can produce 4 , 9 , 16 , 25 , 36 , 49 , 64 , 81 , 100 ,
       The polynucleotides can comprise sequences associated 121 , 144 , 169 , 196 , 225 , 256 , 289 , 324 , 361 , 400 or more
     with cancer, such as acute lymphoblastic leukemia (ALL ) , different identifiers (which is the ^ 2 of when the DNA
     acute myeloid leukemia (AML ), adrenocortical carcinoma, barcode is attached to only 1 end of a polynucleotide ) . In one
     Kaposi Sarcoma, anal cancer, basal cell carcinoma, bile duct 65 example, a plurality of DNA barcodes having 6 , 7 , 8 , 9 or 10
     cancer, bladder cancer, bone cancer, osteosarcoma, malig- identifiable sequences of nucleotides can be used . When
     nant fibrous histiocytoma , brain stem glioma , brain cancer, attached to both ends of a polynucleotide, they produce 36 ,
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                                      21                                                                            22
     49 , 64 , 81 or 100 possible different identifiers, respectively .           the polynucleotide. The barcode identifier may be a nucleic
     In a particular example, the plurality of DNA barcodes can acid oligonucleotide ( e.g. , a DNA oligonucleotide ). The
     comprise 8 identifiable sequences of nucleotides . When barcode identifier can be single - stranded . Alternatively, the
     attached to only one end of a polynucleotide, the plurality of barcode identifier can be double - stranded . The barcode
     DNA barcodes can produce 8 different identifiers. Alterna- 5 identifier can be attached to polynucleotides using any
     tively, when attached to both ends of a polynucleotide, the method disclosed herein . For example, the barcode identifier
     plurality of DNA barcodes can produce 64 different identi- can be attached to the polynucleotide by ligation using an
     fiers . Samples tagged in such a way can be those with a enzyme. The barcode identifier can also be incorporated into
     range of about 10 ng to any of about 100 ng , about 1 ug , the polynucleotide through PCR . In other cases , the reaction
     about 10 ug of fragmented polynucleotides, e.g. , genomic 10 may comprise addition of a metal isotope , either directly to
     DNA, e.g. , cfDNA.                                             the analyte or by a probe labeled with the isotope . Generally,
        A polynucleotide can be uniquely identified in various assignment of unique or non -unique identifiers or molecular
     ways . A polynucleotide can be uniquely identified by a barcodes in reactions of this disclosure may follow methods
     unique DNA barcode. For example, any two polynucleotides and systems described by, for example, U.S. patent appli
     in a sample are attached two different DNA barcodes. 15 cations 2001/0053519 , 2003/0152490 , 2011/0160078 and
     Alternatively, a polynucleotide can be uniquely identified by U.S. Pat . No. 6,582,908 , each of which is entirely incorpo
     the combination of a DNA barcode and one or more endog- rated herein by reference .
     enous sequences of the polynucleotide. For example, any           Identifiers or molecular barcodes used herein may be
     two polynucleotides in a sample can be attached the same completely endogenous whereby circular ligation of indi
     DNA barcode, but the two polynucleotides can still be 20 vidual fragments may be performed followed by random
     identified by different endogenous sequences . The endog- shearing or targeted amplification . In this case , the combi
     enous sequence can be on an end of a polynucleotide. For nation of a new start and stop point of the molecule and the
     example , the endogenous sequence can be adjacent ( e.g. , original intramolecular ligation point can form a specific
     base in between ) to the attached DNA barcode . In some identifier.
     instances the endogenous sequence can be at least 2 , 4 , 6 , 8 , 25 Identifiers or molecular barcodes used herein can com
     10 , 20 , 30 , 40 , 50 , 60 , 70 , 80 , 90 , or 100 bases in length. prise any types of oligonucleotides. In some cases , identi
     Preferably, the endogenous sequence is a terminal sequence fiers may be predetermined , random , or semi- random
     of the fragment /polynucleotides to be analyzed. The endog- sequence oligonucleotides. Identifiers can be barcodes. For
     enous sequence may be the length of the sequence . For example , a plurality of barcodes may be used such that
     example, a plurality of DNA barcodes comprising 8 different 30 barcodes are not necessarily unique to one another in the
     DNA barcodes can be attached to both ends of each poly- plurality. Alternatively, a plurality of barcodes may be used
     nucleotide in a sample. Each polynucleotide in the sample such that each barcode is unique to any other barcode in the
     can be identified by the combination of the DNA barcodes plurality. The barcodes can comprise specific sequences
     and about 10 base pair endogenous sequence on an end of ( e.g. , predetermined sequences ) that can be individually
     the polynucleotide. Without being bound by theory, the 35 tracked . Further, barcodes may be attached ( e.g. , by ligation )
     endogenous sequence of a polynucleotide can also be the to individual molecules such that the combination of the
     entire polynucleotide sequence.                               barcode and the sequence it may be ligated to creates a
        Also disclosed herein are compositions of tagged poly- specific sequence that may be individually tracked . As
     nucleotides . The tagged polynucleotide can be single- described herein , detection of barcodes in combination with
     stranded . Alternatively, the tagged polynucleotide can be 40 sequence data of beginning ( start) and /or end ( stop ) portions
     double - stranded ( e.g. , duplex - tagged polynucleotides ). of sequence reads can allow assignment of a unique identity
     Accordingly, this invention also provides compositions of to a particular molecule . The length or number of base pairs
     duplex - tagged polynucleotides. The polynucleotides can of an individual sequence read may also be used to assign a
     comprise any types of nucleic acids (DNA and / or RNA ). unique identity to such a molecule . As described herein ,
     polynucleotides comprise any types of DNA disclosed 45 fragments from a single strand of nucleic acid having been
     herein . For example, the polynucleotides can comprise assigned a unique identity, may thereby permit subsequent
     DNA, e.g. , fragmented DNA or cfDNA . A set of polynucle- identification of fragments from the parent strand . In this
     otides in the composition that map to a mappable base way the polynucleotides in the sample can be uniquely or
     position in a genome can be non -uniquely tagged, that is , the substantially uniquely tagged . A duplex tag can include a
     number of different identifiers can be at least 2 and fewer 50 degenerate or semi-degenerate nucleotide sequence , e.g. , a
     than the number of polynucleotides that map to the map- random degenerate sequence . The nucleotide sequence can
     pable base position . The number of different identifiers can comprise any number of nucleotides . For example, the
     also be at least 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , nucleotide sequence can comprise 1 ( if using a non -natural
     17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 and fewer than the number nucleotide ), 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 ,
     of polynucleotides that map to the mappable base position . 55 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 ,
        In some instances, as a composition goes from about 1 ng 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 ,
     to about 10 ug or higher, a larger set of different molecular 49 , 50 or more nucleotides . In a particular example, the
     barcodes can be used . For example , between 5 and 100 sequence can comprise 7 nucleotides. In another example ,
     different library adaptors can be used to tag polynucleotides the sequence can comprise 8 nucleotides. The sequence can
     in a cfDNA sample.                                                             60 also comprise 9 nucleotides . The sequence can comprise 10
        The systems and methods disclosed herein may be used in nucleotides.
     applications that involve the assignment of molecular bar-                          A barcode can comprise contiguous or non - contiguous
     codes . The molecular barcodes can be assigned to any types sequences. A barcode that comprises at least 1 , 2 , 3 , 4 , 5 or
     of polynucleotides disclosed in this invention . For example, more nucleotides is a contiguous sequence or non -contigu
     the molecular barcodes can be assigned to cell - free poly- 65 ous sequence. if the 4 nucleotides are uninterrupted by any
     nucleotides ( e.g. , cfDNAs ). Often , an identifier disclosed other nucleotide . For example, if a barcode comprises the
     herein can be a barcode oligonucleotide that is used to tag sequence TTGC, a barcode is contiguous if the barcode is
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                                          23                                                                                 24
     TTGC . On the other hand , a barcode is non -contiguous if the                    25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 ,
     barcode is TTXGC , where X is a nucleic acid base .                               41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 ,
        An identifier or molecular barcode can have an n -mer                          57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 ,
     sequence which may be 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 ,         73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 ,
     14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 5 89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , or 100 more
     30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , different barcode sequences. In a particular example, the
     46 , 47 , 48 , 49 , 50 or more nucleotides in length . A tag herein plurality library adapters comprise at least 8 different
     can comprise any range of nucleotides in length . For sequences .
     example, the sequence can be between 2 to 100 , 10 to 90 , 20                          The location of the different barcode sequences can vary
     to 80 , 30 to 70 , 40 to 60 , or about 50 nucleotides in length . 10 within the plurality of polynucleotides. For example, the
        The tag can comprise a double - stranded fixed reference
     sequence downstream of the identifier or molecular barcode. different                             barcode sequences can be within 20 , 15 , 10 , 9 , 8 ,
     Alternatively, the tag can comprise a double - stranded fixed a respective3 , orone2 nucleic
                                                                                        7 , 6 , 5  , 4 ,                   acid bases from a terminal end of
                                                                                                                   of the plurality of polynucleotide mol
     reference sequence upstream or downstream of the identifier
     or molecular barcode.Each strand of a double-stranded fixed 15 ecules                        . In an example, a plurality of polynucleotide mol
                                                                                        ecules has distinct barcode sequences that are within 10
     reference sequence can be , for example, 3 , 4 , 5 , 6 , 7 , 8 , 9 , nucleic                      acid bases from the terminal end . In another
     10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 ,
                                                                                        example      ,
     26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , barcode sequences   a plurality of polynucleotide molecules has distinct
     42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 nucleotides in length .                                             that are within 5 or 1 nucleic acid bases
                                                                                     20 from the terminal end . In other instances , the distinct bar
                                    C. Adaptors                                         code sequences can be at the terminal end of a respective one
                                                                                        of the plurality of polynucleotide molecules . Other varia
        A library of polynucleotide molecules can be synthesized tions include that the distinct molecular barcode sequences
     for use in sequencing. For example , a library of polynucle- can be within 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 ,
     otides comprising a plurality of polynucleotide molecules 25 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 ,
     that are each less than or equal to 100 , 90 , 80 , 70 , 60 , 50 , 45 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , or 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 ,
     40 , or 35 nucleic acid (or nucleotide ) bases in length can be 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 , 61 , 62 , 63 ,
     made . A plurality of polynucleotide molecules can be each 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 , 77 , 78 , 79 ,
     less than or equal to 35 nucleic acid bases in length . A 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , 89 , 90 , 91 , 92 , 93 , 94 , 95 ,
     plurality of polynucleotide molecules can be each less than 30 96 , 97 , 98 , 99 , 100 , 101 , 102 , 103 , 104 , 105 , 106 , 107 , 108 ,
     or equal to 30 nucleic acid bases in length. A plurality of 109 , 110 , 111 , 112 , 113 , 114 , 115 , 116 , 117 , 118 , 119 , 120 ,
     polynucleotide molecules can also be less than or equal to 121 , 122 , 123 , 124 , 125 , 126 , 127 , 128 , 129 , 130 , 131 , 132 ,
      250 , 200 , 150 , 100 , or 50 nucleic acid bases . Additionally, 133 , 13 135 , 136 , 137 , 138 , 139 , 140 , 141 , 142 , 143 , 144 ,
     the plurality of polynucleotide molecules can also be less 145 , 146 , 147 , 148 , 149 , 150 , 151 , 152 , 153 , 154 , 155 , 156 ,
     than or equal to 100 , 99 , 98 , 97 , 96 , 95 , 94 , 93 , 92 , 91 , 90 , 35 157 , 158 , 159 , 160 , 161 , 162 , 163 , 164 , 165 , 166 , 167 , 168 ,
     89 , 88 , 87 , 86 , 85 , 84 , 83 , 82 , 81 , 80 , 79 , 78 , 77 , 76 , 75 , 74 , 169 , 170 , 171 , 172 , 173 , 174 , 175 , 176 , 177 , 178 , 179 , 180 ,
     73 , 72 , 71 , 70 , 69 , 68 , 67 , 66 , 65 , 64 , 63 , 62 , 61 , 60 , 59 , 58 ,    181 , 182 , 183 , 184 , 185 , 186 , 187 , 188 , 189 , 190 , 191 , 192 ,
     57 , 56 , 55 , 54 , 53 , 52 , 51 , 50 , 49 , 48 , 47 , 46 , 45 , 44 , 43 , 42 , 193 , 194 , 195 , 196 , 197 , 198 , 199 , 200 , or more nucleic acid
     41 , 40 , 39 , 38 , 37 , 36 , 35 , 34 , 33 , 32 , 31 , 30 , 29 , 28 , 27 , 26 ,   bases from a terminal end of a respective one of the plurality
     2510 , nucleic
             24 , 23 , acid
                       22 , 21bases
                                , 20 ., 19 , 18 , 17 , 16 , 15 , 14 , 13 , 12 , 11 , or 40 of polynucleotide molecules .
                                                                        The terminal end of the plurality of polynucleotide mol
        A library of polynucleotides comprising a plurality of ecules can be adapted for ligation to a target nucleic acid
     polynucleotide molecules can also have distinct (with molecule . For example, the terminal end can be a blunt end.
     respect to each other) molecular barcode sequences (or In some other cases , the terminal end is adapted for hybrid
     molecular barcodes ) with respect to at least 4 nucleic acid 45 ization to a complementary sequence of a target nucleic acid
     bases . A molecular barcode (also " barcode ” or “ identifier ” molecule .
     herein ) sequence is a nucleotide sequence that distinguishes     A library of polynucleotides comprising a plurality of
     one polynucleotide from another. In other embodiments, the polynucleotide molecules can also have an edit distance of
     polynucleotide molecules can also have different barcode at least 1. In some cases , the edit distance is with respect to
     sequences with respect to 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 50 individual bases of the plurality of polynucleotide mol
     14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 ,   ecules . In other cases , the plurality of polynucleotide mol
     30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 ,   ecules can have an edit distance of at least 1 , 2 , 3 , 4 , 5 , 6 ,
     46 , 47 , 48 , 49 , 50 or more nucleic acid bases .                               7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 ,
        A library of polynucleotides comprising a plurality of                         24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 ,
     polynucleotide molecules can also have a plurality of dif- 55 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 or more . The edit
     ferent barcode sequences. For example, a plurality of poly- distance can be a Hamming distance .
     nucleotide molecules can have at least 4 different molecular    In some cases , the plurality of polynucleotides does not
     barcode sequences. In some cases , the plurality of poly- contain sequencing adaptors. A sequence adaptor can be a
     nucleotide molecules has from 2-100 , 4-50 , 4-30 , 4-20 , or                     polynucleotide that comprises a sequence that hybridizes to
     4-10 different molecular barcode sequences. The plurality of 60 one or more sequencing adaptors or primers . A sequencing
     polynucleotides molecules can also have other ranges of                           adaptor can further comprise a sequence hybridizing to a
     different barcode sequences such as , 1-4 , 2-5 , 3-6 , 4-7 , 5-8 , solid support, e.g. , a flow cell sequence . The term “ flow cell
     6-9 , 7-10 , 8-11 , 9-12 , 10-13 , 11-14 , 12-15 , 13-16 , 14-17 ,             sequence" and its grammatical equivalents as used herein ,
     15-18 , 16-19 , 17-20 , 18-21 , 19-22 , 20-23 , 21-24 , or 22-25 refers to a sequence that permits hybridization to a substrate ,
     different barcode sequences. In other cases , a plurality of 65 for example, by way of a primer attached to the substrate.
     polynucleotide molecules can have at least 2 , 3 , 4 , 5 , 6 , 7 , 8 , The substrate can be bead or a planar surface . In some
     9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , embodiments, a flow cell sequence can allow a polynucle
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                                  25                                                                                        26
     otide to attach to a flow cell or surface (e.g. , surface of a                  7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 ,
     bead , for example, an Illumina flow cell .                       24 , 25 , or more ( or any length as described throughout)
       When a plurality of polynucleotide molecules does not           nucleic acid bases , e.g. , 7 bases . The barcode can be con
     contain sequencing adaptors or primers, each polynucleotide tiguous or non - contiguous sequences, as described above .
     molecule of the plurality does not contain a nucleic acid 5 The plurality ofpolynucleotide molecules is from 10 nucleic
     sequence or other moiety that is adapted to permit sequenc- acid bases to 35 nucleic acid bases ( or any length as
     ing of a target nucleic acid molecule with a given sequencing described above ) in length . Further, the plurality of poly
     approach, such as Illumina , SOLID , Pacific Biosciences, nucleotide molecules can comprise an edit distance (as
     GeneReader, Oxford Nanopore, Complete Genomics, Gnu- described above ), that is a Hamming distance . A plurality of
     Bio , Ion Torrent, Oxford Nanopore or Genia . In some 10 polynucleotide molecules can have distinct barcode
     examples, when a plurality of polynucleotide molecules sequences that are within 10 nucleic acid bases from the
     does not contain sequencing adaptors or primers, the plu- terminal end .
     rality of polynucleotide molecules does not contain flow cell        In another aspect , a plurality of polynucleotide molecules
     sequences . For example , the plurality of polynucleotide can be sequencing adaptors. A sequencing adaptor can
     molecules cannot bind to flow cells , such as used in Illumina 15 comprise a sequence hybridizing to one or more sequencing
     flow cell sequencers. However, these flow cell sequences, if primers. A sequencing adaptor can further comprise a
     desired , can be added to the plurality of polynucleotide sequence hybridizing to a solid support , e.g. , a flow cell
     molecules by methods such as PCR amplification or liga- sequence. For example, a sequencing adaptor can be a flow
     tion . At this point, Illumina flow cell sequencers can be used . cell adaptor. The sequencing adaptors can be attached to one
     Alternatively, when the plurality of polynucleotide mol- 20 or both ends of a polynucleotide fragment. In another
     ecules does not contain sequencing adaptors or primers , the example , a sequencing adaptor can be hairpin shaped. For
     plurality of polynucleotide molecules does not contain hair- example, the hairpin shaped adaptor can comprise a comple
     pin shaped adaptors or adaptors for generating hairpin loops mentary double - stranded portion and a loop portion, where
     in a target nucleic acid molecule , such as Pacific Bioscience the double - stranded portion can be attached (e.g. , ligated) to
     SMARTbellTM adaptors . However, these hairpin shaped 25 a double - stranded polynucleotide. Hairpin shaped sequenc
     adaptors, if desired, can be added to the plurality of poly- ing adaptors can be attached to both ends of a polynucleotide
     nucleotide molecules by methods such as PCR amplification fragment to generate a circular molecule , which can be
     or ligation . The plurality of polynucleotide molecules can be sequenced multiple times . A sequencing adaptor can be up
     circular or linear.                                                             to 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 ,
        A plurality of polynucleotide molecules can be double 30 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 ,
     stranded . In some cases , the plurality of polynucleotide                      41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 ,
     molecules can be single stranded , or can comprise hybrid-                      57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 ,
     ized and non -hybridized regions. A plurality of polynucle-                     73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 86 , 87 , 88 ,
     otide molecules can be non -naturally occurring polynucle-                      89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 , or more bases
     otide molecules .                                              35 from end to end . For example, a sequencing adaptor can be
        Adaptors can be polynucleotide molecules . The poly-           up to 70 bases from end to end . The sequencing adaptor can
     nucleotide molecules can be Y - shaped , bubble -shaped or        comprise 20-30 , 20-40 , 30-50 , 30-60 , 40-60 , 40-70 , 50-60 ,
     hairpin - shaped. A hairpin adaptor may contain a restriction     50-70 , bases from end to end . In a particular example, the
     site ( s) or a Uracil containing base . Adaptors can comprise a sequencing adaptor can comprise 20-30 bases from end to
     complementary portion and a non - complementary portion. 40 end. In another example, the sequencing adaptor can com
     The non -complementary portion can have an edit distance prise 50-60 bases from end to end . A sequencing adaptor can
     ( e.g. , Hamming distance ). For example, the edit distance can comprise one or more barcodes. For example , a sequencing
     be at least 1 , at least 2 , at least 3 , at least 4 , at least 5 , at least adaptor can comprise a sample barcode . The sample barcode
     6 , at least 7 , at least 8 , at least 9 , at least 10 , at least 11 , at can comprise a pre -determined sequence. The sample bar
     least 12 , at least 13 , at least 14 , at least 15 , at least 16 , at least 45 codes can be used to identify the source of the polynucle
     17 , at least 18 , at least 19 , at least 20 , at least 21 , at least 22 , otides . The sample barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 , 7 ,
     at least 23 , at least 24 , at least 25 , at least 26 , at least 27 , at 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 ,
     least 28 , at least 29 , or at least 30. The complementary 25 , or more (or any length as described throughout) nucleic
     portion of the adaptor can comprise sequences that are acid bases , e.g. , at least 8 bases . The barcode can be
     selected to enable and / or promote ligation to a polynucle- 50 contiguous or non - contiguous sequences, as described
     otide, e.g. , a sequence to enable and / or promote ligation to above .
     a polynucleotide at a high yield .                                      The plurality of polynucleotide molecules as described
        A plurality of polynucleotide molecules as disclosed herein can be used as adaptors . Adaptors can comprise one
     herein can be purified. In some cases , a plurality of poly- or more identifiers . An adaptor can comprise an identifier
     nucleotide    molecules as disclosed herein can be isolated 55 with a random sequence. Alternatively, an adaptor can
     polynucleotide molecules . In other cases , a plurality of comprise an identifier with pre -determined sequences. Some
     polynucleotide molecules as disclosed herein can be purified adaptors can comprise an identifier with a random sequence
     and isolated polynucleotide molecules .                               and another identifier with a pre -determined sequence . The
        In certain aspects , each of the plurality of polynucleotide adaptors comprising identifiers can be double -stranded or
     molecules is Y - shaped or hairpin -shaped. Each of the plu- 60 single - stranded adaptors. The adaptors comprising identifi
     rality of polynucleotide molecules can comprise a different ers can be Y - shaped adaptors . A Y - shaped adaptor can
     barcode . The different barcode can be a randomer in the comprise one or more identifiers with a random sequence .
     complementary portion ( e.g. , double stranded portion of the The one or more identifiers can be on the hybrid portion
     Y - shaped or hairpin - shaped adaptor. Alternatively, the dif- and / or non -hybridized portion of the Y -shaped adaptor. A
     ferent barcode can be in one strand of the non -complemen- 65 Y - shaped adaptor can comprise one or more identifiers with
     tary portion (e.g. , one of the Y -shaped arms). As discussed a pre - determined sequence . The one or more identifiers with
     above , the different barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 , pre -determined sequence can be on the hybridized portion
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                                    27                                                                     28
     and / or non -hybridized portion of the Y - shaped adaptor. A          The sequence of terminal nucleotides can be at least 2 , 3 , 4 ,
     Y - shaped adaptor can comprise one or more identifiers with 5 or 6 nucleotide bases in length . For example, one strand of
     a random sequence and one or more identifiers with a a double - stranded portion of the library adaptor can have the
     pre -determined sequence. For example, the one or more sequence ACTT, TCGC , or TACC at the terminal end, while
     identifiers with a random sequence can be on the hybridized 5 the other strand can have a complementary sequence. In
     portion of the Y - shaped adaptor and/ or the non hybridized some cases , such a sequence is selected to optimize the
     portion of the Y - shaped adaptor. The one or more identifiers efficiency at which the library adaptors ligate to target
     with a pre -determined sequence can be on the hybridized polynucleotides. Such sequences can be selected to optimize
     portion of the Y - shaped adaptor and / or the non -hybridized a binding interaction between the ends of the library adap
     portion of the Y -shaped adaptor. In a particular example , a 10 tors and the target polynucleotides.
     Y -shaped adaptor can comprise an identifier with a random                In some cases, none of the library adaptors contains a
     sequence on its hybridized portion and an identifier with a sample identification motif (or sample molecular barcode).
     pre -determined sequence on its non--hybridized portion . The Such sample identification motif can be provided via
     identifiers can be in any length disclosed herein . For sequencing adaptors . A sample identification motif can
     example, a Y -shaped adaptor can comprise an identifier with 15 include a sequencer of at least 4 , 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , or
     a randomsequence of 7 nucleotides on its hybridized portion 40 nucleotide bases that permits the identification of poly
     and an identifier with a pre -determined sequence of 8 nucleotide molecules from a given sample from polynucle
     nucleotides on its non- hybridized portion .                            otide molecules from other samples. For example, this can
        An adaptor can include a double - stranded portion with a permit polynucleotide molecules from two subjects to be
     molecular barcode and at least one or two single - stranded 20 sequenced in the same pool and sequence reads for the
     portion. For example, the adaptor can be Y - shaped and subjects subsequently identified .
     include a double -stranded portion and two single - stranded              A sequencer motif includes nucleotide sequence (s )
     portions. The single - stranded portions can include needed to couple a library adaptor to a sequencing system
     sequences that are not complementary to one another.                    and sequence a target polynucleotide coupled to the library
        The adaptor can include a terminal end that has a 25 adaptor. The sequencer motif can include a sequence that is
     sequence that is selected to permit the adaptor to be effi- complementary to a flow cell sequence and a sequence
     ciently (e.g. , at an efficiency of at least about 20 % , 30 % , ( sequencing initiation sequence) that is selectively hybrid
     40 % , 50 % ) ligated or otherwise coupled to a polynucleotide. izable to a primer ( or priming sequence) for use in sequenc
     In some examples, terminal nucleotides in a double -stranded ing . For example , such sequencing initiation sequence can
     portion of an adaptor are selected from a combination of 30 be complementary to a primer that is employed for use in
     purines and pyrimidines to provide for efficient ligation .             sequence by synthesis ( e.g. , Illumina ). Such primer can be
        In some examples , a set of library adaptors comprises a included in a sequencing adaptor. A sequencing initiation
     plurality of polynucleotide molecules (library adaptors ) with sequence can be a primer hybridization site .
     molecular barcodes. The library adaptors are less than or                 In some cases , none of the library adaptors contains a
     equal to 80 , 70 , 60 , 50 , 45 , or 40 nucleotide bases in length . 35 complete sequencer motif. The library adaptors can contain
     The molecular barcodes can be at least 4 nucleotide bases in partial or no sequencer motifs . In some cases , the library
     length , but may be from 4 to 20 nucleotide bases in length . adaptors include a sequencing initiation sequence . The
     The molecular barcodes can be different from one another               library adaptors can include a sequencing initiation sequence
     and have an edit distance of at least 1 , 2 , 3 , 4 , or 5 between     but no flow cell sequence. The sequence initiation sequence
     one another. The molecular barcodes are located at least 1 , 40 can be complementary to a primer for sequencing. The
     2 , 3 , 4 , 5 , 10 , or 20 nucleotide bases away from a terminal   primer can be a sequence specific primer or a universal
     end of their respective library adaptors. In some cases , the at   primer. Such sequencing initiation sequences may be situ
     least one terminal base is identical in all of the library         ated on single - stranded portions of the library adaptors. As
     adaptors .                                                         an alternative , such sequencing initiation sequences may be
        The library adaptors can be identical but for the molecular 45 priming sites (e.g. , kinks or nicks ) to permit a polymerase to
     barcodes. For example, the library adaptors can have iden- couple to the library adaptors during sequencing.
     tical sequences but differ only with respect to nucleotide           In some cases , partial or complete sequencer motifs are
     sequences of the molecular barcodes.                               provided by sequencing adaptors. A sequencing adaptor can
        Each of the library adaptors can have a double stranded include a sample molecular barcode and a sequencer motif.
     portion and at least one single - stranded portion. By “ single 50 The sequencing adaptors can be provided in a set that is
     stranded portion ” is meant an area of non - complementarity separate from the library adaptors . The sequencing adaptors
     or an overhang. In some cases , each of the library adaptors in a given set can be identical — i.e ., they contain the same
     has a double -stranded portion and two single - stranded por- sample barcode and sequencer motif.
     tions . The double - stranded portion can have a molecular           Sequencing adaptors can include sample identification
     barcode. In some cases , the molecular barcode is a rando- 55 motifs and sequencer motifs. Sequencer motifs can include
     mer . Each of the library adaptors can further include a primers that are complementary to a sequencing initiation
     strand - identification barcode on a single -stranded portion . sequence . In some cases , sequencer motifs also include flow
     The strand - identification barcode can include at least 4 cell sequences or other sequences that permit a polynucle
     nucleotide bases , in some cases from 4 to 20 nucleotide otide to a configured or arranged in a manner that permits the
     bases .                                                         60 polynucleotide to be sequenced by a sequencer.
        In some examples, each of the library adaptors has a              Library adaptors and sequencing adaptors can each be
     double - stranded portion with a molecular barcode and two partial adaptors, that is , containing part but not all of the
     single -stranded portions. The single - stranded portions may sequences necessary to enable sequencing by a sequencing
     not hybridize to one another. The single -stranded portions platform . Together they provide complete adaptors. For
     may not be completely complementary to one another. 65 example , library adaptors can include partial or no sequencer
        The library adaptors can have a sequence of terminal motifs, but such sequencer motifs are provided by sequenc
     nucleotides in a double - stranded portion that are the same. ing adaptors.
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                                    29                                                                 30
        FIGS . 9A - 9C schematically illustrate a method for tag- comprise use of one or more polymerases . For example, the
     ging a target polynucleotide molecule with library adaptors. polymerase may be a DNA polymerase or an RNA poly
     FIG . 9A shows a library adaptor as a partial adaptor con- merase . In some cases , high fidelity amplification is per
     taining a primer hybridization site on one of the strands and formed such as with the use of high fidelity polymerase ( e.g. ,
     a molecular barcode towards another end . The primer 5 Phusion® High -Fidelity DNA Polymerase) or PCR proto
     hybridization site can be a sequencing initiation sequence cols . In some cases , the polymerase may be a high fidelity
     for subsequent sequencing. The library adaptor is less than polymerase. For example, the polymerase may be KAPA
     or equal to 80 nucleotide bases in length . In FIG . 9B , the HiFi DNA polymerase. The polymerase may also be Phu
     library adaptors are ligated at both ends of the target sion DNA polymerase. The polymerase may be used under
     polynucleotide molecule to provide a tagged target poly- 10 reaction conditions that reduce or minimize amplification
     nucleotide molecule . The tagged target polynucleotide mol- biases , e.g. , due to fragment length , GC content, etc.
     ecule may be subjected to nucleic acid amplification to             Amplification of a single strand of a polynucleotide by
     generate copies of the target. Next , in FIG . 9C , sequencing PCR will generate copies both of that strand and its comple
     adaptors containing sequencer motifs are provided and ment. During sequencing, both the strand and its comple
     hybridized to the tagged target polynucleotide molecule . The 15 ment will generate sequence reads . However, sequence
     sequencing adaptors contain sample identification motifs . reads generated from the complement of, for example, the
     The sequencing adaptors can contain sequences to permit Watson strand , can be identified as such because they bear
     sequencing of the tagged target with a given sequencer.          the complement of the portion of the duplex tag that tagged
                                                                      the original Watson strand . In contrast, a sequence read
                            D. Sequencing                          20 generated from a Crick strand or its amplification product
                                                                      will bear the portion of the duplex tag that tagged the
       Tagged polynucleotides can be sequenced to generate original Crick strand . In this way, a sequence read generated
     sequence reads ( e.g. , as shown in step ( 106 ) , FIG . 1 ) . For
                                                                  from an amplified product of a complement of the Watson
     example , a tagged duplex polynucleotide can be sequenced . strand can be distinguished from a complement sequence
     Sequence reads can be generated from only one strand of a 25 read generated from an amplification product of the Crick
     tagged duplex polynucleotide. Alternatively, both strands of         strand of the original molecule .
     a tagged duplex polynucleotide can generate sequence reads .           All amplified polynucleotides can be submitted to a
     The two strands of the tagged duplex polynucleotide can              sequencing device for sequencing. Alternatively, a sampling,
     comprise the same tags. Alternatively, the two strands of the or subset, of all of the amplified polynucleotides is submitted
     tagged duplex polynucleotide can comprise different tags . 30 to a sequencing device for sequencing. With respect to any
     When the two strands of the tagged duplex polynucleotide original double - stranded polynucleotide there can be three
     are differently tagged , sequence reads generated from one results with respect to sequencing. First , sequence reads can
     strand ( e.g. , a Watson strand ) can be distinguished from be generated from both complementary strands of the origi
     sequence reads generated from the other strands (e.g. , a nal molecule ( that is , from both the Watson strand and from
     Crick strand ). Sequencing can involve generating multiple 35 the Crick strand ). Second , sequence reads can be generated
     sequence reads for each molecule . This occurs , for example, from only one of the two complementary strands ( that is ,
     as a result the amplification of individual polynucleotide either from the Watson strand or from the Crick strand, but
     strands during the sequencing process , e.g. , by PCR .       not both ). Third , no sequence read may be generated from
        Methods disclosed herein can comprise amplifying of either of the two complementary strands. Consequently,
     polynucleotides . Polynucleotides amplification can result in 40 counting unique sequence reads mapping to a genetic locus
     the incorporation of nucleotides into a nucleic acid molecule will underestimate the number of double - stranded poly
     or primer thereby forming a new nucleic acid molecule nucleotides in the original sample mapping to the locus .
     complementary to a template nucleic acid . The newly Described herein are methods of estimating the unseen and
     formed polynucleotide molecule and its template can be uncounted polynucleotides.
     used as templates to synthesize additional polynucleotides. 45 The sequencing method can be massively parallel
     The polynucleotides being amplified can be any nucleic sequencing, that is , simultaneously ( or in rapid succession)
     acids , for example, deoxyribonucleic acids , including sequencing any of at least 100 , 1000 , 10,000 , 100,000 , 1
     genomic DNAs, cDNAs ( complementary DNA ), cfDNAs, million , 10 million , 100 million , or 1 billion polynucleotide
     and circulating tumor DNAs (ctDNAs). The polynucleotides molecules . Sequencing methods may include , but are not
     being amplified can also be RNAs. As used herein, one 50 limited to : high -throughput sequencing, pyrosequencing,
     amplification reaction may comprise many rounds of DNA sequencing -by -synthesis, single -molecule sequencing, nan
     replication . DNA amplification reactions can include, for opore sequencing, semiconductor sequencing, sequencing
     example, polymerase chain reaction ( PCR) . One PCR reac- by - ligation , sequencing -by -hybridization , RNA -Seq ( Illu
     tion may comprise 2-100 “ cycles " of denaturation, anneal- mina ) , Digital Gene Expression (Helicos ) , Next generation
     ing , and synthesis of a DNA molecule . For example, 2-7 , 55 sequencing, Single Molecule Sequencing by Synthesis
     5-10 , 6-11 , 7-12 , 8-13 , 9-14 , 10-15 , 11-16 , 12-17 , 13-18 , ( SMSS ) ( Helicos ) , massively -parallel sequencing, Clonal
     14-19 , or 15-20 cycles can be performed during the ampli- Single Molecule Array ( Solexa ), shotgun sequencing,
     fication step . The condition of the PCR can be optimized Maxam -Gilbert or Sanger sequencing, primer walking,
     based on the GC content of the sequences, including the sequencing using PacBio , SOLID , Ion Torrent, or Nanopore
     primers.                                                          60 platforms and any other sequencing methods known in the
        Nucleic acid amplification techniques can be used with art .
     the assays described herein . Some amplification techniques            For example , duplex - tagged polynucleotides can be
     are the PCR methodologies which can include, but are not amplified, by for example PCR ( see e.g. , FIG . 4A duplex
     limited to , solution PCR and in situ PCR . For example , tagged polynucleotides are referred to as mm ' and nn '). In
     amplification may comprise PCR - based amplification . Alter- 65 FIG . 4A , the strand of the duplex polynucleotide including
     natively, amplification may comprise non PCR -based ampli- sequence m bears sequence tags w and y , while the strand of
     fication . Amplification of the template nucleic acid may the duplex polynucleotide including sequence m' bears
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     sequence tags x and z . Similarly, the strand of the duplex             introduced at this stage as well . However, comparison of
     polynucleotide including sequence n bears sequence tags a               sequence reads of molecules derived from a single original
     and c , while the strand of the duplex polynucleotide includ- molecule , including those that have sequence variants, can
     ing sequence n' bears sequence tags b and d . During ampli- 5 be analyzed so as to determine the original, or “ consensus ”
     fication , each strand produces itself and its complementary sequence . This can be done phylogenetically. Consensus
     sequence . However, for example, an amplification progeny sequences can be generated from families of sequence reads
     of original strand m that includes the complementary by any of a variety of methods. Such methods include, for
     sequence , m ' , is distinguishable from an amplification prog- example, linear or non-2 - linear methods of building consensus
     eny of original strand m' because the progeny from original 10 sequences ( such as voting (e.g. , biased voting ), averaging ,
     strand m will have the sequence 5 ' - y'm'w ' - 3 ' and the progeny statistical , maximum a posteriori or maximum likelihood
     of the original m ' strand one strand will have the sequence detection, dynamic programming, Bayesian, hidden Markov
     5 ' - zm'x - 3 . FIG . 4B shows amplification in more detail.
     During amplification, errors can be introduced into the or              support vector machine methods, etc.) derived from
                                                                         digital communication theory, information theory, or bioin
     amplification progeny, represented by dots. The application formatics
     progeny are sampled for sequencing, so that not all strands 15 tracking .back     For example , if all or most of the sequence reads
                                                                                            to an original molecule bear the same
     produce sequence reads, resulting in the sequence reads                 sequence variant, that variant probably existed in the origi
     indicated . Because sequence reads can come from either of              nal molecule . On the other hand, if a sequence variant exists
     a strand or its complement, both sequences and complement
     sequences will be included in the set of sequence reads . It            in a subset of redundant sequence reads, that variant may
     should be noted that it is possible that a polynucleotide 20 represents
                                                                  have been anintroduced  during amplification/sequencing and
                                                                                 artifact not existing in the original. Further
     would bear the same tag on each end . Thus, for a tag “ a ” , and
     polynucleotide “ m ” , a first strand could be tagged a -m - a' , more , if only sequence reads derived from the Watson or
     and the complement could be tagged a - m' - a .                      Crick strand of an original polynucleotide contain the vari
                                                                          ant, the variant may have been introduced through single
              E. Determining Consensus Sequence Reads                  25 sided DNA damage, first - cycle PCR error or through con
                                                                          taminating polynucleotides that were amplified from a
        Methods disclosed herein can comprise determining con different sample.
     sensus sequence reads in sequence reads ( e.g. , as shown in           After fragments are amplified and the sequences of ampli
     step ( 108 ) , FIG . 1 ) , such as by reducing or tracking redun- fied fragments are read and aligned , the fragments are
     dancy. Sequencing of amplified polynucleotides can produce 30 subjected to base calling , e.g. , determining for each locus the
     reads of the several amplification products from the same most likely nucleotide. However, variations in the number of
     original polynucleotide, referred to as “ redundant reads ” . By        amplified fragments and unseen amplified fragments ( e.g. ,
     identifying redundant reads , unique molecules in the origi-            those without being read their sequences ; reasons could be
     nal sample can be determined . If the molecules in a sample             too many such as amplification errors , sequencing reading
     are uniquely tagged, then reads generated from amplification 35 errors, too long, too short, being chopped, etc.) may intro
     of a single unique original molecule can be identified based duce errors in base calling . If there are too many unseen
     on their distinct barcode . Ignoring barcodes , reads from amplified fragments with respect to the seen amplified
     unique original molecules can be determined based on fragments ( amplified fragments actually being read ), the
     sequences at the beginning and end of a read , optionally in reliability of base calling may be diminished .
     combination with the length of the read . In certain cases , 40 Therefore, disclosed herein is a method to correct for the
     however, a sample may be expected to have a plurality of number of unseen fragments in base calling . For example,
     original molecules having the same start stop sequences and when base calling for locus A ( an arbitrary locus ) , it is first
     the same length . Without barcoding, these molecules are assumed that there are N amplified fragments. The sequence
     difficult to distinguish from one another. However, if a readouts can come from two types of fragments: double
     collection of polynucleotides is non -uniquely tagged ( that is , 45 strand fragments and single - strand fragments. Therefore, we
     an original molecule shares the same identifier with at least assign N1 , N2 , and N3 as the numbers of double - strands,
     one other original molecule ) , combining information from a single - strands, and unseen fragments, respectively . Thus,
     barcode with start/ stop sequence and / or polynucleotide N = N1 +N2 + N3 (N1 and N2 are known from the sequence
     length significantly increases the probability that any readouts, and N and N3 are unknown ). If the formula is
     sequence read can be traced back to an original polynucle- 50 solved for N (or N3 ) , then N3 (or N) will be inferred .
     otide . This is because , in part, even without unique tagging ,       Probability is used to estimate N. For example , we assign
     it is unlikely that any two original polynucleotides having “ p ” to be the probability of having detected ( or having read)
     the same start/ stop sequence and length also will be tagged a nucleotide of locus A in a sequence readout of a single
     with the same identifier.                                               strand .
                                                                        55      For sequence readouts from double - strands, the nucleo
                             F. Collapsing                                   tide call from a double - strand amplified fragment has a
                                                                             probability of p * p = p ^ 2, seeing all N1 double -strands has
        Collapsing allows for reduction in noise ( i.e. , back-              the following equation : N1 = N * ( p2 ).
     ground) that is generated at each step of the process .                    For sequence readouts from a single - strand . Assuming
     Methods disclosed herein can comprise collapsing , e.g. , 60 that one of the 2 strands is seen, and the other is unseen, the
     generating a consensus sequence by comparing multiple probability of seeing one strand is “ p ”, but the probability of
     sequence reads . For example , sequence reads generated missing the other strand is ( 1 - p ) . Furthermore, by not
     from a single original polynucleotide can be used to generate distinguishing the single strand sourcing from 5 -primer and
     a consensus sequence of that original polynucleotide. Itera- sourcing from 3 - primer, there is a factor of 2. Therefore, the
     tive rounds of amplification can introduce errors into prog- 65 nucleotide call from a single - strand amplified fragment has
     eny polynucleotides. Also , sequencing typically may not be a probability 2xpx ( 1 - p ) . Thus, seeing all N2 single - strands
     performed with perfect fidelity so sequencing errors are has the following equation: N2 = Nx2xpx ( 1 - p ).
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                                        33                                                                               34
        “ p ” is also unknown. To solve p , the ratio of N1 to N2 is                chromosome, a whole chromosome, or an entire genome. A
     used to solve for " p ” :                                                      genetic locus can be a polymorphic locus. Polymorphic
                                                                                    locus can be a locus at which sequence variation exists in the
                                                                                    population  and / or exists in a subject and / or a sample. A
             R=
                  N1       Np?             p2           ?                         5 polymorphic locus can be generated by two or more distinct
                  N2    2N p ( 1 - p ) 2p ( 1 - p ) 2( 1 - p)                         sequences coexisting at the same location of the genome.
                                                                                      The distinct sequences can differ from one another by one or
                                                                                      more nucleotide substitutions, a deletion /insertion , and / or a
     Once “ p ” is found , N can be found . After N is found, can be duplication of any number of nucleotides, generally a rela
     found N3 = N -N1 -N2.                                            10
        Besides the ratio of paired versus unpaired strands (which tively        small number of nucleotides, such as less than 50 , 45 ,
     is a measure post - collapsing ) , there is useful information in 12 , 11 , 3010,, 259 , , 824, 7, ,236 ,, 22
                                                                         40 , 35 ,
                                                                                                                5 ,
                                                                                                                    , 21 , 20 , 19 , 18 , 17 , 16 , 15 , 14 , 13 ,
                                                                                                                    4 , 3 , 2 , or 1 nucleotide ( s ) , among
     the pre -collapsing read depth at each locus . This information others. A polymorphic locus
     can be used to further improve the call for total molecule 15 nucleotide position that varies can                      within
                                                                                                                                  be created by a single
                                                                                                                                     the population, e.g. a
     count and /or increase confidence of calling variants .             single nucleotide variation (SNV ) or a single nucleotide
        For example, FIG . 4C demonstrates sequence reads cor polymorphism                       ( SNP ) .
     rected for complementary sequences. Sequences generated
     from an original Watson strand or an original Crick strand ofany       A reference genome for mapping can include the genome
     can be differentiated on the basis of their duplex tags .                     species of interest. Human genome sequences useful
     Sequences generated from the same original strand can be 20 as references can include the hg19 assembly or any previous
     grouped. Examination of the sequences can allow one to or available hg assembly. Such sequences can be interro
     infer the sequence of the original strand ( the “ consensus gated using the genome browser available at genom
     sequence ” ). In this case , for example, the sequence variant e.ucsc.edu/index.html. Other species genomes include , for
     in the nn ' molecule is included in the consensus sequence example PanTro2 ( chimp) and mm9 (mouse ).
     because it included in every sequence read while other 25 In methods disclosed herein , collapsing can be performed
     variants are seen to be stray errors. After collapsing before or after mapping. In some aspects , collapsing can be
     sequences, original polynucleotide pairs can be identified performed before mapping. For example, sequence reads
     based on their complementary sequences and duplex tags .            can be grouped into families based on their tags and one or
        FIG . 5 demonstrates increased confidence in detecting more endogenous sequences , without regard to where the
     sequence variants by pairing reads from Watson and Crick 30 reads map in the genome . Then , the members of a family can
     strands. Sequence nn ' can include a sequence variant indi- be collapsed into a consensus sequence . The consensus
     cated by a dot . In some cases , sequence pp ' does not include sequence can be generated using any collapsing method
     a sequence variant. Amplification, sequencing, redundancy disclosed herein . Then the consensus sequence can be
     reduction and pairing can result in both Watson and Crick mapped to locations in the genome . Reads mapped to a locus
     strands of the same original molecule including the sequence 35 can be quantified ( e.g. , counted ). Percentage of reads car
     variant. In contrast, as a result of errors introduced during rying a mutation at a locus can also be determined . Alter
     amplification and sampling during sequencing, the consen- natively, collapsing can be performed after mapping. For
     sus sequence of the Watson strand p can contain a sequence example, all reads can first be mapped to the genome. Then
     variant, while the consensus sequence of the Crick strand p ' the reads can be grouped into families based on their tags
     does not . It is less likely that amplification and sequencing 40 and one or more endogenous sequences. Since the reads
     will introduce the same variant into both strands (nn ' have been mapped to the genome , consensus bases can be
     sequence) of a duplex than onto one strand (pp' sequence ). determined for each family at each locus . In other aspects ,
     Therefore, the variant in the pp ' sequence is more likely to consensus sequence can be generated for one strand of a
     be an artifact, and the variant in the nn ' sequence is more DNA molecule ( e.g. , for a Watson strand or a Crick strand ).
     likely to exist in the original molecule .                                   45 Mapping can be performed before or after the consensus
        Methods disclosed herein can be used to correct errors                        sequence for one strand of the DNA molecule is determined .
     resulted from experiments, e.g. , PCR , amplification , and /or Numbers of Doublets and Singlets can be determined . These
     sequencing. For example, such a method can comprises numbers can be used to calculate unseen molecules . For
     attaching one or more double stranded adaptors to both ends example , the unseen molecules can be calculated using the
     of a double stranded polynucleotide, thereby providing a 50 following equation : N = D + S + U ; D = Np ( 2 ), S = N2pq , where
     tagged double stranded polynucleotide; amplifying the p = 1 - q , where p is the probability of seeing ; q is the
     double stranded tagged polynucleotide; sequencing both probability of missing a strand .
     strands of the tagged polynucleotide; comparing the
     sequence of one strand with its complement to determine                                        H. Grouping
     any errors introduced during sequencing; and correcting 55
     errors in the sequence based on (d) . The adaptors used in this        Methods disclosed herein can also comprise grouping
     method can be any adaptors disclosed herein , e.g. , Y - shaped sequence reads. Sequence reads can be grouped based on
     adaptors. The adaptor can comprise any barcodes ( e.g. , various types of sequences, e.g. , sequences of an oligonucle
     distinct barcodes ) disclosed herein .                              otide tag (e.g. , a barcode) , sequence of a polynucleotide
                                                                      60 fragments , or any combinations. For example, as shown in
                              G. Mapping                                 step ( 112 ) (FIG . 1 ) , sequence reads can be grouped as
                                                                         follows: Sequence reads generated from a “ Watson ” strand
         Sequence reads or consensus sequences can be mapped to and those generated from a “ Crick ” strand of a double
     one or more selected genetic loci (e.g. , as shown step ( 110 ) , stranded polynucleotide in the sample are identifiable based
     FIG . 1 ) . A genetic locus can be , for example , a specific 65 on the duplex tags that they bear. In this way, a sequence
     nucleotide position in the genome, a sequence of nucleotides read or consensus sequence from a Watson strand of a
     ( for example, an open reading frame ), a fragment of a duplex polynucleotide can be paired with a sequence read or
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                                   35                                                                    36
     consensus sequence from its complementary Crick strand . nential, beta , gamma or empirical distributions based on the
     Paired sequence reads are referred to as a “ Pair ” .     redundancy of sequence reads observed . In the latter case ,
        Sequence reads for which no sequence read correspond- the distribution of read counts for paired and unpaired
     ing to a complementary strand can be found among the molecules can be derived from such redundancy to infer the
     sequence reads are termed “ Singlets ”.                 5 underlying distribution of original polynucleotide molecules
       Double - stranded polynucleotides for which a sequence at a particular locus . This can often lead to a better estima
     read for neither of the two complementary strands has been            tion of the number of unseen molecules .
     generated are referred to as “ Unseen " molecules .
                                                                                                 J. CNV Detection
                                 I. Quantifying                             10
                                                                                  Methods disclosed herein also comprise detecting CNV.
          Methods disclosed herein also comprise quantifying For example, as shown in step ( 120 ) ( FIG . 1 ) , once the total
     sequence reads. For example , as shown in step ( 114 ) ( FIG . number of polynucleotides mapping to a locus is deter
     1 ) , Pairs and Singlets mapping to a selected genetic locus , or mined, this number can be used in standard methods of
     toe.g.each  of a plurality of selected genetic loci , are quantified , 15 determining CNV at the locus.A quantitative measure can
            , counted .                                                        be normalized against a standard . The standard can be an
          The quantifying can comprise estimating number of poly- amount of any polynucleotides. In one method , a quantita
     nucleotides in the sample ( e.g. , Pairs polynucleotides, Sin- tive measure at a test locus can be standardized against a
     glets polynucleotides , or Unseen polynucleotides. For quantitative measure of polynucleotides mapping to a con
     example, as shown in step ( 116 ) (FIG . 1 ) , the number of 20 trol locus in the genome, such as gene of known copy
     double -stranded polynucleotides in the sample for which no number. Quantitative measures can be compared against the
     sequence reads were generated (“ Unseen ” polynucleotides ) amount of nucleic acid in any sample disclosed herein . For
     is estimated . The probability that a double strand polynucle- example, in another method , the quantitative measure can be
     otide generates no sequence reads can be determined based compared against the amount of nucleic acid in the original
     on the relative number of Pairs and Singlets at any locus . 25 sample. For example, if the original sample contained
     Using this probability, the number of Unseen polynucleotide 10,000 haploid gene equivalents, the quantitative measure
     can be estimated .                                                        can be compared against an expected measure for diploidy.
          In step ( 118 ) an estimate for the total number of double- In another method , the quantitative measure can be normal
     stranded polynucleotides in a sample mapping to a selected ized against a measure from a control sample, and normal
     locus is the sum of the number of Pairs , the number of 30 ized measures at different loci can be compared.
     Singlets and the number of Unseen molecules mapping to                      In some cases , in which copy number variation analysis is
     the locus .                                                               desired , sequence data may be : 1 ) aligned with a reference
          The number of Unseen original molecules in a sample can genome; 2 ) filtered and mapped ; 3 ) partitioned into windows
     be estimated based on the relative number of Pairs and                or bins of sequence ; 4 ) coverage reads counted for each
     Singlets ( FIG . 2 ) . Referring to FIG . 2 , as an example, counts 35 window ; 5 ) coverage reads can then be normalized using a
     for a particular genomic locus , Locus A , are recorded , where stochastic or statistical modeling algorithm ; 6 ) and an output
     1000 molecules are paired and 1000 molecules are unpaired. file can be generated reflecting discrete copy number states
     Assuming a uniform probability , p , for an individual Watson at various positions in the genome. In other cases , in which
     or Crick strand to make it through the process subsequent to rare mutation analysis is desired, sequence data may be 1 )
     conversion , one can calculate the proportion of molecules 40 aligned with a reference genome ; 2 ) filtered and mapped ; 3 )
     that fail to make it through the process (Unseen ) as follows: frequency of variant bases calculated based on coverage
     Let R = ratio of paired to unpaired molecules = 1 , so R = 1 = p ?/ reads for that specific base ; 4 ) variant base frequency
     ( 2p ( 1 - p ) ) . This implies that p = 2 /3 and that the quantity of normalized using a stochastic , statistical or probabilistic
     lost molecules is equal to ( 1 - p ) 2 = 1 / 9 . Thus in this example , modeling algorithm ; 5 ) and an output file can be generated
     approximately 11 % of converted molecules are lost and 45 reflecting mutation states at various positions in the genome.
     never detected . Consider another genomic locus , Locus B , in     After the sequence read coverage ratios have been deter
     the same sample where 1440 molecules are paired and 720 mined, a stochastic modeling algorithm can be optionally
     are unpaired . Using the same method, we can infer the applied to convert the normalized ratios for each window
     number of molecules that are lost , is only 4 % . Comparing region into discrete copy number states . In some cases , this
     the two areas, it may be assumed that Locus A had 2000 50 algorithm may comprise a Hidden Markov Model . In other
     unique molecules as compared to 2160 molecules in Locus cases , the stochastic model may comprise dynamic program
     B a difference of almost 8 % . However, by correctly adding ming , support vector machine, Bayesian modeling, proba
     in the lost molecules in each region, we infer there are bilistic modeling, trellis decoding, Viterbi decoding , expec
     2000/ ( 8/9 ) =2250 molecules in Locus A and 2160 / 0.96 = 2250 tation maximization , Kalman filtering methodologies, or
     molecules in Locus B. Hence , the counts in both regions are 55 neural networks .
     actually equal. This correction and thus much higher sensi-        Methods disclosed herein can comprise detecting SNVS,
     tivity can be achievable by converting the original double- CNVs, insertions, deletions, and /or rearrangements at a
     stranded nucleic acid molecules and bioinformatically keep- specific region in a genome. The specific genomic region
     ing track of all those that are paired and unpaired at the end can comprise a sequence in a gene , such as ALK , APC ,
     of the process. Similarly, the same procedure can be used to 60 BRAF, CDKN2A , EGFR, ERBB2 , FBXW7 , KRAS, MYC ,
     infer true copy number variations in regions that appear to NOTCH1 , NRAS , PIK3CA , PTEN , RB1 , TP53 , MET, AR ,
     have similar counts of observed unique molecules . By ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,
     taking the number of unseen molecules into consideration in EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, GNA11, GNAQ ,
     the two or more regions, the copy number variation becomes GNAS , HNF1A , HRAS , IDH1 IDH2 , JAK2, JAK3, KDR ,
     apparent.                                                   65 KIT, MLH1 , MPL , NPM1 , PDGFRA , PROC , PTPN11 ,
        In addition to using binomial distribution, other methods RET, SMAD4 , SMARCB1, SMO , SRC , STK11 , VHL ,
     of estimating numbers of unseen molecules include expo- TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 ,
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     CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNEI ,             tered at a first amount and a second cycle during which the
     ESR1 , RITI , GATA3, MAP2K1, RHEB , ROS1 , ARAF,                 drug is administered at a second, reduced amount. The first
     MAP2K2, NFE2L2 , RHOA , or NTRK1 .                               period can be characterized by a tumor burden detected
       In some cases , the method uses a panel which comprises above a first clinical level . The second period can be
     exons of one or more genes. The panel can comprise introns 5 characterized by a tumor burden detected below a second
     of one or more genes as well . The panel can also comprise clinical level . First and second clinical levels can be different
     exons and introns of one or more genes. The one or more in different pulsed therapy cycles . For example, the first
     genes can be those disclosed above. The panel can comprise clinical level can be lower in succeeding cycles . A plurality
     about 80,000 bases which cover a panel of genes. The panel of cycles can include at least 2 , 3 , 4 , 5 , 6 , 7 , 8 or more cycles .
     can comprise about 1000 , 2000 , 3000 , 4000 , 5000 , 10000 , 10 For example, the BRAF mutant V600E may be detected in
     15000 , 20000 , 25000 , 30000 , 35000 , 40000 , 45000 , 50000 , polynucleotides of a disease cell at an amount indicating a
     55000 , 60000 , 65000 , 70000 , 75000 , 80000 , 85000 , 90000 ,     tumor burden of 5 % in cfDNA . Chemotherapy can com
     95000 , 100000 , 105000 , 110000 , 115000 , 120000 , 125000 ,       mence with dabrafenib . Subsequent testing can show that
     or more bases .                                                     the amount of the BRAF mutant in the cfDNA falls below
       In some aspects , copy number of a gene can be reflected 15 0.5 % or to undetectable levels . At this point, dabrafenib
     in the frequency of a genetic form of the gene in a sample . therapy can stop or be significantly curtailed . Further sub
     For example, in a healthy individual, no copy number sequent testing may find that DNA bearing the BRAF
     variation is reflected in a variant in a gene in one chromo- mutation has risen to 2.5 % of polynucleotides in cfDNA . At
     some ( e.g. , heterozygosity ) being detected in about 50 % of this point, dabrafenib therapy can be re - started, e.g. , at the
     detected molecules in a sample . Also , in a healthy indi- 20 same level as the initial treatment. Subsequent testing may
     vidual, duplication of a gene bearing a variant can be find that DNA bearing the BRAF mutation has decreased to
     reflected in the variant being detected in about 66 % of 0.5 % of polynucleotides in cfDNA . Again , dabrafenib
     detected molecules in a sample. Accordingly, if the tumor therapy can be stopped or reduced . The cycle can be
     burden in a DNA sample is 10% , the frequency of a somatic repeated a number of times .
     mutation in a gene in one chromosome of cancer cells , 25 A therapeutic intervention can also be changed upon
     without CNV, can be about 5 % . The converse can be true in detection of the rise of a mutant form resistant to an original
     the case of aneuploidy.                                              drug. For example, cancers with the EGFR mutation L858R
        The methods disclosed herein can be used to determine respond to therapy with erlotinib . However, cancers with the
     whether a sequence variant is more likely present in the EGFR mutation T790M are resistant to erlotinib . However,
     germ line level or resulted from a somatic cell mutation , e.g. , 30 they are responsive to ruxolitinib . A method of this invention
     in a cancer cell . For example, a sequence variant in a gene involves monitoring changes in tumor profile and changing
     detected at levels arguably consistent with heterozygosity in a therapeutic intervention when a genetic variant associated
     the germ line is more likely the product of a somatic with drug resistance rises to a predetermined clinical level.
     mutation if CNV is also detected in that gene . In some cases ,        Methods disclosed in this invention can comprise a
     to the extent we expect that a gene duplication in the germ 35 method of detecting disease cell heterogeneity from a
     line bears a variant consistent with genetic dose ( e.g. , 66 % sample comprising polynucleotides from somatic cells and
     for trisomy at a locus ) , detection gene amplification with a  disease cells , the method comprising : a ) quantifying poly
     sequence variant dose that deviates significantly from this     nucleotides in the sample bearing a sequence variant at each
     expected amount indicates that the CNV is more likely of a plurality of genetic loci ; b ) determining CNV at each of
     present as a result of somatic cell mutation .               40 the plurality of genetic loci ; different relative amounts of
         The methods disclosed herein can also be used to infer disease molecules at a locus , wherein the CNV indicates a
     tumor heterogeneity in a situation in which sequence vari- genetic dose of a locus in the disease cell polynucleotides ;
     ants in two genes are detected at different frequencies . For c ) determining a relative measure of quantity of polynucle
     example , tumor heterogeneity can be inferred when two otides bearing a sequence variant at a locus per genetic dose
     genes are detected at different frequencies but their copy 45 at the locus for each of a plurality of the loci ; and d)
     numbers are relatively equal. Alternatively, tumor homoge- comparing the relative measures at each of the plurality of
     neity can be inferred when the difference in frequency loci , wherein different relative measures indicates tumor
     between two sequence variants is consistent with difference heterogeneity. In the methods disclosed herein , the genetic
     in copy number for the two genes . Thus, for example, if an dose can be determined on a total molecule basis . For
     EGFR variant is detected at 11 % and a KRAS variant is 50 example, if there are 1x total molecules at a first locus , and
     detected at 5 % , and no CNV is detected at these genes , the 1.2x molecules mapped to a second locus , then the genetic
     difference in frequency likely reflects tumor heterogeneity dose is 1.2 . Variants at this locus can be divided by 1.2 . In
     ( e.g. , all tumor cells carry an EGFR mutant and half the some aspects , the method disclosed herein can be used to
     tumor cells also carry a KRAS mutant ). Alternatively, if the       detect any disease cell heterogeneity, e.g. , tumor cell het
     EGFR gene carrying the mutant is detected at 2 -times 55 erogeneity. The methods can be used to detect disease cell
     normal copy number, one interpretation is a homogenous heterogeneity from a sample comprising any types of poly
     population of tumor cells , each cell carrying a mutant in the nucleotides, e.g. , cfDNA , genomic DNA , cDNA , or ctDNA .
     EGFR and KRAS genes, but in which the KRAS gene is In the methods, the quantifying can comprise , for example ,
     duplicated.                                                     determining the number or relative amount of the polynucle
        In response to chemotherapy, a dominant tumor form can 60 otides . Determining CNV can comprise mapping and nor
     eventually give way through Darwinian selection to cancer malizing different relative amounts of total molecules to a
     cells carrying mutants that render the cancer unresponsive to locus .
     the therapy regimen . Appearance of these resistance mutants      In another aspect , in response to chemotherapy, a domi
     can be delayed through methods of this invention . In one nant tumor form can eventually give way through Darwinian
     embodiment of this method , a subject is subjected to one or 65 selection to cancer cells carrying mutants that render the
     more pulsed therapy cycles, each pulsed therapy cycle               cancer unresponsive to the therapy regimen . Appearance of
     comprising a first period during which a drug is adminis-           these resistance mutants can be delayed through methods
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                                       39                                                                                 40
     disclosed throughout. The methods disclosed herein can               FIG . 3 shows a reference sequence encoding a genetic
     comprise a method comprising: a ) subjecting a subject to Locus A. The polynucleotides in FIG . 3 may be Y -shaped or
     one or more pulsed therapy cycles , each pulsed therapy have other shapes, such as hairpin.
     cycle comprising (i ) a first period during which a drug is          In some cases , an SNV or multiple -nucleotide variant
     administered at a first amount and (ii ) a second period during 5 (MNV ) can be determined across multiple sequence reads at
     which the drug is administered at a second, reduced amount; a given locus (e.g. , nucleotide base ) by aligning sequence
     wherein (A) the first period is characterized by a tumor reads that correspond to that locus . Next, a plurality of
     burden detected above a first clinical level; and (B ) the sequential nucleotide bases from at least a subset of the
     second period is characterized by a tumor burden detected 10 sequence reads are mapped to the reference to a SNV or
     below a second clinical level .                                   MNV in a polynucleotide molecule or portion thereof that
                   K. Sequence Variant Detection                       corresponds to the reads. The plurality of sequential nucleo
                                                                       tide bases can span an actual, inferred or suspected location
        Systems and methods disclosed herein can be used to bases      of the SNV or MNV . The plurality of sequential nucleotide
     detect sequence variants, e.g. , SNVs. For example, a 15 bases . can span at least 3 , 4 , 5 , 6 , 7 , 8 , 9 , or 10 nucleotide
     sequence variant can be detected from consensus sequences
     from multiple sequence reads, for example, from at least 2 ,                L. Detecting/ Quantifying Nucleic Acids
     at least 3 , at least 4 , at least 5 , at least 6 , at least 7 , at least
     8 , at least 9 , at least 10 , at least 11 , at least 12 , at least 13 ,
     at least 14 , at least 15 , at least 16 , at least 17 , at least 18 , at 20 The methods described throughout can be used to tag
     least 19 , at least 20 , at least 21 , at least 22 , at least 23 , at least nucleic acids fragments, such as deoxyribonucleic acid
     24 , at least 25 , at least 26 , at least 27 , at least 28 , at least 29 , (DNA ), at extremely high efficiency. This efficient tagging
     at least 30 , at least 31 , at least 32 , at least 33 , at least 34 , at allows a person to efficiently and accurately detect rare DNA
     least 35 , at least 36 , at least 37 , at least 38 , at least 39 , at least in heterogenous populations of original DNA fragments
     40 , at least 41 , at least 42 , at least 43 , at least 44 , at least 45 , 25 ( such as in cfDNA ). A rare polynucleotide (e.g. , rare DNA )
     at least 46 , at least 47 , at least 48 , at least 49 , at least 50 , at can be a polynucleotide that comprises a genetic variant
     least 51 , at least 52 , at least 53 , at least 54 , at least 55 , at least occurring in a population of polynucleotides at a frequency
     56 , at least 57 , at least 58 , at least 59 , at least 60 , at least 61 , of less than 10% , 5 % , 4 % , 3 % , 2 % , 1 % , or 0.1 % . rare
     at least 62 , at least 63 , at least 64 , at least 65 , at least 66 , at DNA can be a polynucleotide with a detectable property at
     least 67 , at least 68 , at least 69 , at least 70 , at least 71 , at least 30 a concentration less than 50 % , 25 % , 10 % , 5 % , 1 % , or 0.1 %
     72 , at least 73 , at least 74 , at least 75 , at least 76 , at least 77 ,        Tagging can occur in a single reaction . In some cases , two
     at least 78 , at least 79 , at least 80 , at least 81 , at least 82 , at or more reactions can be performed and pooled together.
     least 83 , at least 84 , at least 85 , at least 86 , at least 87 , at least Tagging each original DNA fragments in a single reaction
     88 , at least 89 , at least 90 , at least 91 , at least 92 , at least 93 , can result in tagging such that greater than 50 % (e.g. , 60 % ,
     at least 94 , at least 95 , at least 96 , at least 97 , at least 98 , at 35 70    % , 80 % , 90 % , 95 % , or 99 % ) of the original DNA
     least 99 , at least 100 , at least 200 , at least 300 , at least 400 , fragments          are tagged at both ends with tags that comprise
     at least 500 , at least 600 , at least 700 , at least 800 , at least            molecular barcodes , thereby providing tagged DNA frag
     900 , at least 1000 , at least 2000 , at least 3000 , at least 4000 ,           ments. Tagging can also result in greater than 30% , 35 % ,
     at least 5000 , at least 6000 , at least 7000 , at least 8000 , at
     least 9000, at least 10000 or more sequence reads. A 40 4058%% ,, 4559%% ,, 5060%%,, 5161 %%,, 6252%% ,, 5363 %%,, 6454 %% ,, 6555%% ,, 5666%% ,, 6757%% ,,
     consensus sequence can be from sequence reads of a single
     strand polynucleotide. A consensus sequence can also be                         68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % ,
     from sequence reads of one strand of a double - stranded                        78 % , 79 % , 80 % , 81 % , 82 % , 83 % , 84 % , 85 % , 86 % , 87 % ,
     polynucleotide ( e.g. , pairing reads ). In an exemplary                        88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % ,
     method, pairing reads allows one to identify with increased 45 98 % , or 99 % of the original DNA fragments tagged at both
     confidence the existence of a sequence variant in a molecule . ends with tags that comprise molecular barcodes. Tagging
     For example, if both strands of a Pair include the same can also result in 100 % of the original DNA fragments
     variant, one can be reasonably sure that the variant existed tagged at both ends with tags that comprise molecular
     in the original molecule , as the chance that the same variant barcodes. Tagging can also result in single end tagging .
     is introduced into both strands during amplification / se- 50 Tagging can also occur by using an excess amount of tags
     quencing is rare . In contrast, if only one strand of a Pair as compared to the original DNA fragments. For example,
     includes the sequence variant, this is more likely to be an the excess can be at least 5 - fold excess . In other cases , the
     artifact. Similarly, the confidence that a Singlet bearing a                    excess can be at least 1.25 , 1.5 , 1.75 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 ,
     sequence variant existed in the original molecule is less than                  11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 30 ,
     the confidence if the variant exists in a Duplex , as there is 55 35 , 40 , 45 , 50 , 55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 or more
     higher probability that the variant can be introduced once fold excess . Tagging can comprise attachment to blunt ends
     than twice during amplification / sequencing.                     or sticky ends. Tagging can also be performed by hybrid
        Other methods of copy number variation detection and the ization PCR . Tagging can also be performed in low reaction
     sequence variant detection are described in PCT /US2013 / volumes , such as 1 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 ,
     058061 , which is entirely incorporated herein by reference . 60 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 ,
        Sequence reads can be collapsed to generate a consensus 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 ,
     sequence , which can be mapped to a reference sequence to 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 , 61 , 62 ,
     identify genetic variants , such as CNV or SNV . As an 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 , 77 , 78 ,
     alternative, the sequence reads are mapped prior to or even 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , 89 , 90 , 91 , 92 , 93 , 94 ,
     without mapping . In such a case , the sequence reads can be 65 95 , 96 , 97 , 98 , 99 , or 100 pico- and /or microliters.
     individually mapped to the reference to identify a CNV or          The method can also include performing high fidelity
     SNV.                                                                            amplification on the tagged DNA fragments. Any high
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     fidelity DNA polymerases can be used . For example, the each base occurs at each position of a genome represented
     polymerase may be KAPA HiFi DNA polymerase or Phu- by the tagged , amplified, and /or enriched DNA fragments.
     sion DNA polymerase.                                            The method can comprise tagging the original DNA
        Further, the method can comprise selectively enriching a fragments in a single reaction using a library of tags . The
     subset of the tagged DNA fragments. For example, selective 5 library can include at least 2 , at least 3 , at least 4 , at least 5 ,
     enrichment can be performed by hybridization or amplifi- at least 6 , at least 7 , at least 8 , at least 9 , at least 10 , at least
     cation techniques. The selective enrichment can be per 11 , at least 12 , at least 13 , at least 14 , at least 15 , at least 16 ,
     formed using a solid support ( e.g. , beads ) . The solid support atleastleast10017, ,atatleast
                                                                                                least 18 , at least 19 , at least 20 , at least 50 , at
                                                                                                     500 , at least 1000 , at least 5000 , at least
     ( e.g. , beads) can comprise probes ( e.g. , oligonucleotides
     specifically hybridizing to certain sequences . For example, 10 example
                                                                           10000 , or any number of tags as disclosed throughout. For
     the probes can hybridize with certain genomic regions, e.g. , library of, thetagslibrary          of tags can include at least 8 tags . The
     genes. In some cases , the genomic regions , e.g. , genes , can different possiblecancombinationsinclude 8 tags (which can generate 64
     be regions associated with diseases, e.g. , cancer . After ducted such that a high percentage). The                      method can be con
                                                                                                                         of fragments, e.g. , greater
     enrichment,adaptor
     sequencing     the selected fragmented
                           disclosed           can be. For
                                     in this invention   attached  any, 15 than 50% (or any percentages as described throughout) are
                                                             example
     a sequence adaptor can comprise a flow cell sequence, a tagged                  at both ends, wherein each of the tags comprises a
                                                                           molecular barcode.
     sample barcode, or both . In another example, a sequence
     adaptor can be a hairpin shaped adaptor and /or comprises a                   M. Processing and /or Analyzing Nucleic Acids
     sample barcode . Further, the resulting fragments can be 20
     amplified and sequenced. In some cases , the adaptor does               The methods described throughout can be used for pro
     not comprise a sequencing primer region.                              cessing and / or analyzing a nucleic acid sample of a subject.
         The method can include sequencing one or both strands of The method can comprising exposing polynucleotide frag
     the DNA fragments. In one case , both strands of the DNA ments of the nucleic acid sample to a plurality of polynucle
     fragment are independently sequenced. The tagged , ampli- 25 otide molecules to yield tagged polynucleotide fragments.
     fied, and / or selectively enriched DNA fragments are The plurality of polynucleotide molecules that can be used
     sequenced to obtain sequence reads that comprise sequence are described throughout the application .
     information of the molecular barcodes and at least a portion            For example , the plurality of polynucleotide molecules
     of the original DNA fragments.                                        can be each less than or equal to 40 nucleic acid bases in
         The method can include reducing or tracking redundancy 30 length and have distinct barcode sequences with respect to
     ( as described above) in the sequence reads to determine at least 4 nucleic acid bases and an edit distance of at least
     consensus reads that are representative of single - strands of 1 , wherein each of the distinct barcode sequences is within
     the original DNA fragments. For example, to reduce or track 20 nucleic acid bases from a terminal end of a respective one
     redundancy, the method can include comparing sequence of the plurality of polynucleotide molecules , and wherein
     reads having the same or similar molecular barcodes and the 35 the plurality of polynucleotide molecules are not sequencing
     same or similar end of fragment sequences . The method can adaptors .
     comprise performing a phylogentic analysis on the sequence          The tagged polynucleotide fragments can be subjected to
     reads having the same or similar molecular barcodes . The nucleic acid amplification reactions under conditions that
     molecular barcodes can have a barcode with varying edit yield amplified polynucleotide fragments as amplification
     distances ( including any edit distances as described through- 40 products of the tagged polynucleotide fragments. After
     out) , for example , an edit distance of up to 3. The end of the amplification, the nucleotide sequence of the amplified
     fragment sequences can include fragment sequences having tagged polynucleotide fragments is determined . In some
     an edit distance with varying distances ( including any edit cases , the nucleotide sequences of the amplified tagged
     distances as described throughout), for example , an edit polynucleotide fragments are determined without the use of
     distance of up to 3 .                                          45 polymerase chain reaction ( PCR ) .
        The method can comprise binning the sequence reads                The method can comprise analyzing the nucleotide
     according to the molecular barcodes and sequence informa- sequences with a programmed computer processor to iden
     tion . For example , binning the sequence reads according to tify one or more genetic variants in the nucleotide sample of
     the molecular barcodes and sequence information can be the subject. Any genetic alterations can be identified, includ
     performed from at least one end of each of the original DNA 50 ing but not limited to , base change ( s ), insertion (s ), repeat( s ),
     fragments to create bins of single stranded reads. The deletion ( s ) , copy number variation (s ) , epigenetic modifica
     method can further comprise in each bin , determining a tion ( s ) , nucleosome binding site ( s ) , copy number change ( s)
     sequence of a given original DNA fragment among the due to origin ( s) of replication, and transversion ( s ). Other
     original DNA fragments by analyzing sequence reads .              genetic alterations can include, but are not limited to , one or
        In  some  cases  , sequence  reads in each bin  can be
     lapsed to a consensus sequence and subsequently mapped to
                                                               col- 55 more   tumor associated genetic alterations.
                                                                          The subject of the methods can be suspected of having a
     a genome . As an alternative, sequence reads can be mapped disease . For example , the subject can be suspected of having
     to a genome prior to binning and subsequently collapsed to cancer . The method can comprise collecting a nucleic acid
     a consensus sequence .                                            sample from a subject. The nucleic acid sample can be
        The method can also comprise sorting sequence reads into 60 collected from blood , plasma , serum , urine, saliva , mucosal
     paired reads and unpaired reads . After sorting, the number of excretions, sputum , stool , cerebral spinal fluid , skin , hair,
     paired reads and unpaired reads that map to each of one or sweat , and /or tears . The nucleic acid sample can be a
     more genetic loci can be quantified.                              cell- free nucleic acid sample. In some cases , the nucleic acid
        The method can include quantifying the consensus reads sample is collected from no more than 100 nanograms (ng )
     to detect and / or quantify the rare DNA , which are described 65 of double -stranded polynucleotide molecules of the subject.
     throughout. The method can comprise detecting and / or               The polynucleotide fragments can comprise double
     quantifying the rare DNA by comparing a number of times stranded polynucleotide molecules . In some cases , the plu
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     rality of polynucleotide molecules are coupled to the poly- comprise classifying the plurality of sequence reads into
     nucleotide fragments via blunt end ligation , sticky end families by identifying ( i ) distinct molecular barcodes
     ligation, molecular inversion probes, polymerase chain reac- coupled to the plurality of polynucleotide molecules and ( ii )
     tion ( PCR ) , ligation -based PCR , multiplex PCR , single similarities between the plurality of sequence reads , wherein
     strand ligation, or single strand circularization .                      5 each family includes a plurality of nucleic acid sequences
        The method as described herein results in high efficiency that are associated with a distinct combination of molecular
     tagging of nucleic acids . For example, exposing the poly- barcodes and similar or identical sequence reads.
     nucleotide fragments of the nucleic acid sample to the                       Once merged, a consensus sequence can be called at a
     plurality of polynucleotide molecules yields the tagged given genomic locus among the genomic loci . At any given
     polynucleotide fragments with a conversion efficiency of at 10 genomic loci , any of the following can be determined : i )
     least 30 % , e.g. , of at least 50 % ( e.g. , 60 % , 70 % , 80 % , 90 % , genetic variants among the calls ; ii ) frequency of a genetic
     95 % , or 99 % ) . Conversion efficiency of at least 30 % , 35 % , alteration among the calls ; iii ) total number of calls ; and iv )
     40 % , 45 % , 50 % , 51 % , 52 % , 53 % , 54 % , 55 % , 56 % , 57 % ,             total number of alterations among the calls . The calling can
     58 % , 59 % , 60 % , 61 % , 62 % , 63 % , 64 % , 65 % , 66 % , 67 % ,             comprise calling at least one nucleic acid base at the given
     68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % , 15 genomic locus . The calling can also comprise calling a
     78 % , 79 % , 80 % , 81 % , 82 % , 83 % , 84 % , 85 % , 86 % , 87 % ,    plurality of nucleic acid bases at the given genomic locus . In
     88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % , some cases , the calling can comprise phylogenetic analysis ,
     98 % , or 99 % can be achieved .                                         voting ( e.g. , biased voting ), weighing , assigning a probabil
        The method can result in a tagged polynucleotide frag- ity to each read at the locus in a family, or calling the base
     ment that share common polynucleotide molecules . For 20 with the highest probability. The consensus sequence can be
     example, any of at least 5 % , 6 % , 7 % , 8 % , 9 % , 10 % , 20 % , generated by evaluating a quantitative measure or a statis
     25 % , 30 % , 35 % , 40 % , 45 % , 50 % , 55 % , 60% , 65 % , 70 % , tical significance level for each of the sequence reads . If a
     75 % , 80 % , 85 % , 90 % , 95 % , 96 % , 97 % , 98 % , 99 % or 100 % quantitative measure is performed , the method can comprise
     of the tagged polynucleotide fragments share a common use of a binomial distribution , exponential distribution , beta
     polynucleotide molecule . The method can comprise gener- 25 distribution , or empirical distribution. However, frequency
     ating the polynucleotide fragments from the nucleic acid                          of the base at the particular location can also be used for
     sample.                                                                           calling , for example, if 51 % or more of the reads is a “ A ” at
        In some cases , the subjecting of the method comprises                         the location , then the base may be called an “ A ” at that
     amplifying the tagged polynucleotide fragments in the pres- particular location . The method can further comprise map
     ence primers corresponding to a plurality of genes selected 30 ping a consensus sequence to a target genome.
     from the group consisting of ALK , APC , BRAF, CDKN2A ,          The method can further comprising performing consensus
     EGFR , ERBB2 , FBXW7 , KRAS, MYC , NOTCH1 , NRAS, calling at an additional genomic locus among the genomic
     PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,                              loci . The method can comprise determining a variation in
     ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,                               copy number at one of the given genomic locus and addi
     FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, GNAS, HNF1A , 35 tional genomic locus based on counts at the given genomic
     HRAS , IDH1 , IDH2 , JAK2, JAK3, KDR , KIT, MLHI , locus and additional genomic locus .
     MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4 ,     The methods described herein can comprise providing
     SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 , template polynucleotide molecules and a library of adaptor
     CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,                                polynucleotide molecules in a reaction vessel . The adaptor
     TP53 , ARID1A , BRCA2 , CCNE1 , ESR1 , RITI , GATA3, 40 polynucleotide molecules can have from 2 to 1,000 different
     MAP2K1, RHEB , ROS1 , ARAF, MAP2K2, NFE2L2 , barcode sequences and in some cases are not sequencing
     RHOA , and NTRK1 . Additionally, any combination of these                         adaptors. Other variations of adaptor polynucleotide mol
     genes can be amplified. For example, 1 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 ,          ecules are described throughout, which can also be used in
     10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 ,   the methods.
     26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 45 The polynucleotide molecules of the adaptors can have
     42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , or all 54 of these the same sample tag . The adaptor polynucleotide molecules
     genes can be amplified.                                                           can be coupled to both ends of the template polynucleotide
        The methods described herein can comprise generating a molecules . The method can comprise coupling the adaptor
     plurality of sequence reads from a plurality of polynucle- polynucleotide molecules to the template polynucleotide
     otide molecules . The plurality of polynucleotide molecules 50 molecules at an efficiency of at least 30 % , e.g. , of at least
     can cover genomic loci of a target genome. For example , the 50% (e.g. , 60 % , 70 % , 80 % , 90 % , 95 % , or 99 % ) , thereby
     genomic loci can correspond to a plurality of genes as listed tagging each template polynucleotide with a tagging com
     above . Further, the genomic loci can be any combination of bination that is among 4 to 1,000,000 different tagging
     these genes . Any given genomic locus can comprise at least combinations, to produce tagged polynucleotide molecules .
     two nucleic acid bases . Any given genomic locus can also 55 In some cases , the reaction can occur in a single reaction
     comprise a plurality of nucleic acid bases , for example, 2 , 3 , vessel . Coupling efficiency can also be at least 30 % , 35 % ,
     4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 40% , 45 % , 50 % , 51 % , 52 % , 53 % , 54 % , 55 % , 56 % , 57 % ,
     22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 58 % , 59 % , 60 % , 61 % , 62 % , 63 % , 64 % , 65 % , 66 % , 67 % ,
     38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , or more 68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % ,
     nucleic acid bases .                                                               60 78 % , 79 % , 80 % , 81 % , 82 % , 83 % , 84 % , 85 % , 86 % , 87 % ,
         The method can comprise grouping with a computer 88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % ,
     processor the plurality of sequence reads into families. Each 98 % , or 99 % . Tagging can be non -unique tagging .
     of the family can comprises sequence reads from one of the                               The tagged polynucleotide molecules can then be subject
     template polynucleotides. Each family can comprise                                to an amplification reaction under conditions that will yield
     sequence reads from only one of the template polynucle- 65 amplified polynucleotide molecules as amplification prod
     otides. For each of the family, the sequence reads can be                         ucts of the tagged polynucleotide molecules . The template
     merged to generate a consensus sequence . The grouping can                        polynucleotide molecules can be double - stranded . Further,
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     the template polynucleotide molecules can be blunt ended .          (c ) determining if there is a difference in the number of
     In some cases , the amplification reaction comprises non-           SNVs, level of SNVs, number or level of genomic rear
     specifically amplifying the tagged polynucleotide mol-              rangements, or copy numbers between (a ) and (b ) . The genes
     ecules . The amplification reaction can also comprises using can be selected from the group consisting of ALK , APC ,
     a priming site to amplify each of the tagged polynucleotide 5 BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS , MYC ,
     molecules . The priming site can be a primer, e.g. , a universal NOTCH1 , NRAS, PIK3CA , PTEN , RB1 , TP53 , MET, AR ,
     primer. The priming site can also be a nick .                    ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,
        The method can also comprise sequencing the amplified EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3 , GNA11, GNAQ ,
     polynucleotide molecules . The sequencing can comprise (i ) GNAS, HNF1A , HRAS , IDHI , IDH2 , JAK2 , JAK3 , KDR ,
     subjecting the amplified polynucleotide molecules to an 10 KIT, MLH1 , MPL , NPM1 , PDGFRA , PROC , PTPN11 ,
     additional amplification reaction under conditions that yield RET, SMAD4 , SMARCB1, SMO , SRC , STK11 , VHL ,
     additional amplified polynucleotide molecules as amplifica- TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 ,
     tion products of the amplified polynucleotide molecules , CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNE1 ,
     and / or (ii ) sequencing the additional amplified polynucle- ESR1 , RITI, GATA3, MAP2K1 , RHEB , ROS1 , ARAF,
     otide molecules . The additional amplification can be per- 15 MAP2K2, NFE2L2 , RHOA , and NTRK1 . The genes can be
     formed in the presence of primers comprising flow cells selected from any 5 , 10 , 15 , 20 , 30 , 40 , 50 , or all of the genes
     sequences, which will produce polynucleotide molecules in this group
     that are capable of binding to a flow cell . The additional
     amplification can also be performed in the presence of                        0. Sensitivity and Specificity
     primers comprising sequences for hairpin shaped adaptors. 20
     The hairpin shaped adaptors can be attached to both ends of      Methods disclosed herein can be used to detect cancer
     a polynucleotide fragment to generate a circular molecule , polynucleotides in a sample , and cancer in a subject, with
     which can be sequenced multiple times . The method can high measures of agreement, e.g. , high sensitivity and / or
     further comprise identifying genetic variants upon sequenc- specificity. For example, such methods can detect cancer
     ing the amplified polynucleotide molecules .                25 polynucleotides ( e.g. , rare DNA ) in a sample at a concen
        The method can further comprising separating polynucle- tration that is less than 5 % , 1 % , 0.5 % , 0.1 % , 0.05 % , or
     otide molecules comprising one or more given sequences 0.01 % , at a specificity of at least 99 % , 99.9 % , 99.99 % ,
     from the amplified polynucleotide molecules , to produce 99.999 % , 99.9999 % , or 99.99999 % . Such polynucleotides
     enriched polynucleotide molecules . The method can also may be indicative of cancer or other disease . Further, such
     comprise amplifying the enriched polynucleotide molecules 30 methods can detect cancer polynucleotides in a sample with
     with primers comprising the flow cell sequences. This a positive predictive value of at least 90 % , 91 % , 92 % , 93 % ,
     amplification with primers comprising flow cell sequences           94 % , 95 % , 96 % , 97 % , 98 % , 99 % , 99.9 % , 99.99 % ,
     will produce polynucleotide molecules that are capable of           99.999 % , or 99.9999 % .
     binding to a flow cell . The amplification can also be per-        Subjects identified as positive in a test that are in reality
     formed in the presence of primers comprising sequences for 35 positive are referred as true positives ( TP ) . Subjects identi
     hairpin shaped adaptors . The hairpin shaped adaptors can be fied as positive in a test that are in reality negative are
     attached to both ends of a polynucleotide fragment to referred as false positives (FP ) . Subjects identified as nega
     generate a circular molecule , which can be sequenced mul- tive in a test that are in reality negative are referred as true
     tiple times.                                                    negatives (TN) . Subjects identified as negative in a test that
        Flow cell sequences or hairpin shaped adaptors can be 40 are in reality positive are referred as false negatives ( FN) .
     added by non -amplification methods such as through liga- Sensitivity is the percentage of actual positives identified in
     tion of such sequences. Other techniques such as hybridiza- a test as positive . This includes, for example , instances in
     tion methods can be used , e.g. , nucleotide overhangs.         which one should have found a cancer genetic variant and
        The method can be performed without aliquoting the did . ( Sensitivity = TP / ( TP + FN ) . ) Specificity is the percentage
     tagged polynucleotide molecules . For example , once the 45 of actual negatives identified in a test as negative . This
     tagged polynucleotide molecule is made, the amplification includes, for example, instances in which one should have
     and sequencing can occur in the same tube without any found no cancer genetic variant and did not . Specificity can
     further preparation .                                           be calculated using the following equation: Specificity = TN /
        The methods described herein can be useful in detecting (TN + FP) . Positive predictive value ( PPV) can be measured
     single nucleotide variations ( SNV ), copy number variations 50 by the percentage of subjects who test positive that are true
     ( CNV ), insertions, deletions, and / or rearrangements. In positives . PPV can be calculated using the following equa
     some cases , the SNVs, CNVs, insertions , deletions, and / or       tion : PPV=TP/ ( TP + FP ) . Positive predictive value can be
     rearrangements, can be associated with disease , for example,       increased by increasing sensitivity ( e.g. , chance of an actual
     cancer .                                                            positive being detected ) and / or specificity ( e.g. , chance of
                                                                      55 not mistaking an actual negative for a positive ) .
                  N. Monitoring a Patient's Status                         Low conversion rates of polynucleotides into adaptor
                                                                         tagged polynucleotides can compromise sensitivity as it
        Methods disclosed herein can also be used to monitor a           decreases the chance of converting, and therefore detecting,
     patient's disease status . The disease of a subject can be          rare polynucleotide targets. Noise in a test can compromise
     monitored over time to determine a progression of the 60 specificity as it increases the number of false positives
     disease (e.g. , regression) . Markers indicative of the disease detected in a test . Both low conversion rate and noise
     can be monitored in a biological sample of the subject, such compromise positive predictive value as they decrease the
     as a cell- free DNA sample.                                         percentage of true positives and increase the percentage of
        For example, monitoring a subject's cancer status can false positives.
     comprise ( a) determining an amount of one or more SNVs 65 The methods disclosed herein can achieve high levels of
     or copy numbers of a plurality of genes (e.g. , in an exon) , ( b ) agreement, e.g. , sensitivity and specificity , leading to high
     repeating such determination at different points in time , and      positive predictive values . Methods of increasing sensitivity
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     include high efficiency conversion of polynucleotides into stop sequence information , the probability of confusing two
     adaptor -tagged polynucleotides in a sample . Methods of molecules having the same start/ stop sequence is signifi
     increasing specificity include reducing sequencing errors , cantly diminished .
     for example , by molecular tracking.                              Number of different identifiers used to tag a nucleic acid
        Methods of the present disclosure can be used to detect 5 ( e.g. , cfDNA ) can dependent on the number of different
     genetic variation in non -uniquely tagged initial starting haploid genome equivalents . Different identifiers can be
     genetic material (e.g. , rare DNA ) at a concentration that is used  to tag at least 2 , least 10 , least 100 , least 200 , least 300 ,
                                                                    least 400 , least 500 , least 600 , least 700 , least 800 , least 900 ,
     less than 5 % , 1 % , 0.5 % , 0.1 % , 0.05 % , or 0.01 % , at a least 1,000 , least 2,000 , least 3,000 , least 4,000 , least 5,000 ,
     specificity of at least 99 % , 99.9 % , 99.99 % , 99.999 % ,
     99.9999 % , or 99.99999 % . In some aspects , the methods can 10 orleastmore
                                                                               6,000 , least 7,000 , least 8,000 , least 9,000 , least 10,000
                                                                                  different haploid genome equivalents. Accordingly,
     further comprise converting polynucleotides in the initial the number
     starting material at an efficiency of at least at least 10 % , at sample, e.g.of     different identifiers used to tag a nucleic acid
                                                                                       , cell- free DNA from 500 to 10,000 different
     least 20% , at least 30 % , at least 40% , at least 50 % , at least   haploid genome equivalents and be between any of 1 , 2 , 3 ,
     60 % , at least 70 % , at least 80 % , or at least 90 % . Sequence 15 4 and 5 and no more than 100 , 90 , 80 , 70 , 60 , 50 , 40 or 30 .
     reads of tagged polynucleotides can be subsequently tracked For example, the number of different identifier used to tag a
     to generate consensus sequences for polynucleotides with an nucleic acid sample from 500 to 10,000 different haploid
     error rate of no more than 2 % , 1 % , 0.1 % , or 0.01 % .            genome equivalents can be 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 ,
                            2. Pooling Methods                             13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 ,
                                                                        20 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 ,
                                                                                  45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 ,
        Disclosed herein are methods of detecting copy number 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 ,
     variation and / or sequence variants at one or more genetic 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , 89 , 90 , 91 , 92 ,
     loci in a test sample. One embodiment is shown in FIG . 8 . 93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 or less .
     Typically, detecting copy number variation involves deter- 25 Polynucleotides can be tagged by ligation of adaptors
     mining a quantitative measure (e.g. , an absolute or relative comprising the tags or identifiers before amplification. Liga
     number) of polynucleotides mapping to a genetic locus of tion can be performed using an enzyme, e.g. , a ligase . For
     interest in a genome of a test sample, and comparing that example , tagging can be performed using a DNA ligase. The
     number to a quantitative measure of polynucleotides map DNA ligase can be a T4 DNA ligase , E. coli DNA ligase ,
     ping to that locus in a control sample. In certain methods, the 30 and / or mammalian ligase . The mammalian ligase can be
     quantitative measure is determined by comparing the num DNA ligase I , DNA ligase III , or DNA ligase IV . The ligase
     ber of molecules in the test sample that map to a locus of blunt   may also be a thermostable ligase . Tags can be ligated to a
     interest with a number of molecules in the test sample tively-, end            of a polynucleotide ( blunt-end ligation) . Alterna
     mapping to a reference sequence, e.g. , a sequence expected 35 ( sticky -endcan
                                                                                tags     be ligated to a sticky end of a polynucleotide
     to be present at wild type ploidy number. In some examples, blunt end ligation ).using
                                                                                     ligation   The polynucleotides can be tagged by
                                                                                                      adaptors ( e.g. , adaptors having
     the reference sequence is HG19 , build 37 , or build 38. The forked ends ) . High efficiency
     comparison could involve, for example, determining a ratio . using high excess of adaptors of              ligation can be achieved
                                                                                                           ( e.g. , more than 1.5x , more
     Then, this measure is compared with a similar measure than 2x , more than 3x , more than 4x , more than 5x , more
     determined in a control sample. So , for example, if a test 40 than 6x , more than 7x , more than 8x , more than 9x , more
     sample has a ratio of 1.5 : 1 for locus of interest versus                   than 10x , more than 11x , more than 12x , more than 13x ,
     reference locus , and a control sample has a ratio of 1 : 1 for              more than 14x , more than 15x , more than 20x , more than
     the same loci , one may conclude that the test sample exhibits               25x , more than 30x , more than 35x , more than 40x , more
     polyploidy at the locus of interest.                                         than 45x , more than 50x , more than 55x , more than 60x ,
        When the test sample and the control sample are analyzed 45 more than 65x , more than 70x , more than 75x , more than
     separately, the work flow can introduce distortions between                  80x , more than 85x , more than 90x , more than 95x , or more
     final numbers in the control and test samples.                               than 100 ).
        In one method disclosed herein ( e.g. , flow chart 800 ) ,         Once tagged with tags that identify source of the poly
     polynucleotides are provided from a test and a control              nucleotides, polynucleotides from different sources ( e.g. ,
     sample (802 ) . Polynucleotides in a test sample and those in 50 different samples ) can be pooled . After pooling , polynucle
     a control sample are tagged with tags that identify the otides from different sources ( e.g. , different samples) can be
     polynucleotides as originating from the test or control distinguished by any measurement using the tags , including
     sample ( a source tag ) . (804. ) The tag can be , for example, a any process of quantitative measurement. For example, as
     polynucleotide sequence or barcode that unambiguously shown in ( 806 ) (FIG . 8 ) , polynucleotides from the control
     identifies the source .                                          55 sample and the test sample can be pooled . The pooled
        The polynucleotides in each of the control and test molecules can be subject to the sequencing ( 808 ) and
     samples also can be tagged with identifier tags that will be bioinformatic work flow . Both will be subject to the same
     carried by all amplification progeny of a polynucleotide. variations in the process and, therefore, any differential bias
     Information from start and end sequences of a polynucle- is reduced . Because molecules originating from control and
     otide and identifier tags can identify sequence reads from 60 test samples are differently tagged, they can be distinguished
     polynucleotides amplified from an original parent molecule . in any process of quantitative measurement.
     Each molecule can be uniquely tagged compared with other              The relative amount of control and test sample pooled can
     molecules in the sample. Alternatively, each molecule need be varied . The amount of control sample can be same as the
     not be uniquely tagged compared with other molecules in amount of test sample. The amount of control sample can
     the sample. That is , the number of different identifier 65 also be larger than the amount of test sample. Alternatively,
     sequences can be fewer than that the number of molecules the amount of control sample can be smaller than the amount
     in sample. By combining identifier information with start/ of test sample. The smaller the relative amount of one
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                                   49                                                                    50
     sample to the total , the fewer identifying tags needed in the network , which may enable devices coupled to the computer
     original tagging process. A number can be selected to reduce          system 1501 to behave as a client or a server.
     to acceptable levels the probability that two parent mol-                The CPU 1505 can execute a sequence of machine
     ecules having the same start/ end sequences will bear the readable instructions, which can be embodied in a program
     same identifying tag . This probability can be less than 10 % , 5 or software. The instructions may be stored in a memory
     less than 1 % , less than 0.1 % or less than 0.01 % . The location , such as the memory 1510. The instructions can be
     probability can be less than 25 % , 24 % , 23 % , 22 % , 21 % , directed       to the CPU 1505 , which can subsequently program
     20 % , 19 % , 18 % , 17 % , 16 % , 15 % , 14 % , 13 % , 12 % , 11 % , of the presentconfigure
                                                                           or otherwise            the CPU 1505 to implement methods
                                                                                          disclosure . Examples of operations performed
     10 % , 9 % , 8 % , 7 % , 6 % , 5 % , 4 % , 3 % , 2 % , or 1 % .
        Methods disclosed herein can also comprise grouping 10 by              the CPU 1505 can include fetch , decode, execute, and
     sequence reads . For example , bioinformatic workflow can writeback      The  CPU
                                                                                      .
                                                                                          1505 can be part of a circuit, such as an
     include grouping sequence reads produced from progeny of integrated circuit
     a single parent molecule , as shown in ( 810 ) (FIG . 8 ) . This system 1501 can .beOne          or more other components of the
                                                                                                 included  in the circuit . In some cases ,
     can involve any of the redundancy reduction methods               15 the circuit is an application specific integrated circuit
     described herein . Molecules sourced from test and control           ( ASIC ) .
     samples can be differentiated based on source tags they carry           The storage unit 1515 can store files, such as drivers ,
     ( 812 ) . Molecules mapping to a target locus are quantified for libraries      and saved programs. The storage unit 1515 can
     both test - sourced and control - sourced molecules ( 812 ) . This store user data , e.g. , user preferences and user programs. The
     can include the normalization methods discussed herein , 20 computer system 1501 in some cases can include one or
     e.g. , in which numbers at a target locus are normalized               more additional data storage units that are external to the
     against numbers at a reference locus .                                 computer system 1501 , such as located on a remote server
        Normalized (or raw ) quantities at a target locus from test         that is in communication with the computer system 1501
     and control samples are compared to determine presence of              through an intranet or the Internet.
     copy number variation (814 ) .                                    25     The computer system 1501 can communicate with one or
                                                                            more remote computer systems through the network 1530 .
                  3. Computer Control Systems                         For instance, the computer system 1501 can communicate
                                                                      with a remote computer system of a user (e.g. , an operator ).
         The present disclosure provides computer control systems Examples of remote computer systems include personal
     that are programmed to implement methods of the disclo- 30 computers (e.g. , portable PC ) , slate or tablet PC's ( e.g. ,
     sure. FIG . 6 shows a computer system 1501 that is pro- Apple iPad , Samsung Galaxy Tab ), telephones, Smart
     grammed or otherwise configured to implement the methods phones ( e.g. , Apple iPhone , Android -enabled device,
     of the present disclosure. The computer system 1501 can Blackberry® ), or personal digital assistants. The user can
     regulate various aspects sample preparation , sequencing access the computer system 1501 via the network 1530 .
     and / or analysis. In some examples, the computer system 35 Methods as described herein can be implemented by way
     1501 is configured to perform sample preparation and of machine ( e.g. , computer processor) executable code
     sample analysis , including nucleic acid sequencing. The stored on an electronic storage location of the computer
     computer system 1501 can be an electronic device of a user system 1501 , such as , for example, on the memory 1510 or
     or a computer system that is remotely located with respect electronic storage unit 1515. The machine executable or
     tomobile
          the electronic   device . The electronic device can be a 40 machine readable code can be provided in the form of
                electronic device .                                   software. During use , the code can be executed by the
         The computer system 1501 includes a central processing processor 1505. In some cases , the code can be retrieved
     unit ( CPU , also “ processor " and " computer processor " from the storage unit 1515 and stored on the memory 1510
     herein ) 1505 , which can be a single core or multi core for ready access by the processor 1505. In some situations ,
     processor, or a plurality of processors for parallel process- 45 the electronic storage unit 1515 can be precluded, and
     ing . The computer system 1501 also includes memory or machine -executable instructions are stored on memory
     memory location 1510 (e.g. , random - access memory , read- 1510 .
     only memory, flash memory ), electronic storage unit 1515           The code can be pre - compiled and configured for use with
     ( e.g. , hard disk ), communication interface 1520 ( e.g. , net- a machine have a processer adapted to execute the code , or
     work adapter) for communicating with one or more other 50 can be compiled during runtime. The code can be supplied
     systems , and peripheral devices 1525 , such as cache, other in a programming language that can be selected to enable the
     memory , data storage and /or electronic display adapters. The code to execute in a pre -compiled or as - compiled fashion .
     memory 1510 , storage unit 1515 , interface 1520 and periph-        Aspects of the systems and methods provided herein , such
     eral devices 1525 are in communication with the CPU 1505               as the computer system 1501 , can be embodied in program
     through a communication bus (solid lines ), such as a moth- 55 ming . Various aspects of the technology may be thought of
     erboard . The storage unit 1515 can be a data storage unit (or         as “ products ” or “ articles of manufacture ” typically in the
     data repository ) for storing data . The computer system 1501          form of machine ( or processor ) executable code and / or
     can be operatively coupled to a computer network (“ net-               associated data that is carried on or embodied in a type of
     work ” ) 1530 with the aid of the communication interface              machine readable medium . Machine - executable code can be
     1520. The network 1530 can be the Internet, an internet 60 stored on an electronic storage unit , such memory ( e.g. ,
     and / or extranet, or an intranet and/ or extranet that is in read -only memory, random - access memory, flash memory )
     communication with the Internet. The network 1530 in some              or a hard disk . “ Storage ” type media can include any or all
     cases is a telecommunication and /or data network . The                of the tangible memory of the computers, processors or the
     network 1530 can include one or more computer servers,                 like, or associated modules thereof, such as various semi
     which can enable distributed computing, such as cloud 65 conductor memories, tape drives, disk drives and the like ,
     computing. The network 1530 , in some cases with the aid of which may provide non - transitory storage at any time for the
     the computer system 1501 , can implement a peer -to -peer software programming. All or portions of the software may
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     at times be communicated through the Internet or various                 loci of a target genome; computer memory that stores the
     other telecommunication networks. Such communications,                   nucleic acid sequence reads for the plurality of polynucle
     for example, may enable loading of the software from one                 otide molecules received by the communication interface ;
     computer or processor into another, for example, from a                  and a computer processor operatively coupled to the com
     management server or host computer into the computer 5 munication interface and the memory and programmed to (i )
     platform of an application server. Thus, another type of                 group the plurality of sequence reads into families, wherein
     media that may bear the software elements includes optical , each family comprises sequence reads from one of the
     electrical and electromagnetic waves, such as used across template polynucleotides, (ii ) for each of the families, merge
     physical interfaces between local devices , through wired and sequence reads to generate a consensus sequence, ( iii ) call
     optical landline networks and over various air -links. The 10 the consensus sequence at a given genomic locus among the
     physical elements that carry such waves , such as wired or genomic loci , and (iv ) detect at the given genomic locus any
     wireless links, optical links or the like , also may be consid- of genetic variants among the calls , frequency of a genetic
     ered as media bearing the software. As used herein , unless alteration among the calls , total number of calls , and total
     restricted to non - transitory , tangible “ storage” media , terms number of alterations among the calls , wherein the genomic
     such as computer or machine “ readable medium ” refer to 15 loci correspond to a plurality of genes selected from the
     any medium that participates in providing instructions to a              group consisting of ALK , APC , BRAF, CDKN2A , EGFR ,
     processor for execution .                                                ERBB2 , FBXW7 , KRAS, MYC , NOTCHI , NRAS ,
       Hence , a machine readable medium , such as computer-                  PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
     executable code , may take many forms, including but not ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     limited to , a tangible storage medium, a carrier wave 20 FGFR2 , FGFR3 , FLT3 , GNA11, GNAQ, GNAS, HNF1A,
     medium or physical transmission medium . Non -volatile HRAS , IDH1 , IDH2 , JAK2 , JAK3, KDR , KIT, MLH1 ,
     storage media include , for example, optical or magnetic MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4,
     disks , such as any of the storage devices in any computer ( s) SM CB1, SMO ,                    K11, VH           RT, CCND1 ,
     or the like , such as may be used to implement the databases , CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     etc. shown in the drawings. Volatile storage media include 25 TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RIT1 , GATA3,
     dynamic memory, such as main memory of such a computer MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     platform . Tangible transmission media include coaxial RHOA , and NTRK1 . The different variations of each com
     cables; copper wire and fiber optics , including the wires that ponent of the system are described throughout the disclosure
     comprise a bus within a computer system . Carrier - wave within the methods and compositions. These individual
     transmission media may take the form of electric or elec- 30 components and variations thereof, are also applicable in
     tromagnetic signals, or acoustic or light waves such as those this system .
     generated during radio frequency ( RF ) and infrared ( IR) data
     communications . Common forms of computer - readable                                        4. Kits
     media therefore include for example: a floppy disk , a flexible
     disk, hard disk , magnetic tape , any other magnetic medium , 35 Kits comprising the compositions as described herein .
     a CD - ROM , DVD or DVD - ROM , any other optical The kits can be useful in performing the methods as
     medium , punch cards paper tape, any other physical storage described herein . Disclosed herein is a kit comprising a
     medium with patterns of holes , a RAM , a ROM , a PROM plurality of oligonucleotide probes that selectively hybridize
     and EPROM , a FLASH - EPROM , any other memory chip or to least 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , 40 or all genes selected from
     cartridge, a carrier wave transporting data or instructions, 40 the group consisting of ALK , APC , BRAF, CDKN2A ,
     cables or links transporting such a carrier wave , or any other EGFR , ERBB2 , FBXW7 , KRAS, MYC , NOTCHI , NRAS,
     medium from which a computer may read programming PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
     code and / or data. Many of these forms of computer readable ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     media may be involved in carrying one or more sequences         FGFR2 , FGFR3 , FLT3 , GNA11, GNAQ , GNAS , HNF1A ,
     of one or more instructions to a processor for execution . 45 HRAS , IDH1 , IDH2 , JAK2 , JAK3, KDR , KIT, MLHI ,
        The computer system 1501 can include or be in commu- MPL , NPM1 , PDGFRA, PROC , PTPN11 , RET, SMAD4,
     nication with an electronic display 1535 that comprises a SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
     user interface (UI ) 1540. The UI can allow a user to set CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     various conditions for the methods described herein , for TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RIT1 , GATA3,
     example , PCR or sequencing conditions . Examples of UI's 50 MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     include , without limitation, a graphical user interface (GUI) RHOA , and NTRK1 . The number genes to which the
     and web -based user interface .                                 oligonucleotide probes can selectively hybridize can vary.
        Methods and systems of the present disclosure can be For example, the number of genes can comprise 1 , 2 , 3 , 4 ,
     implemented by way of one or more algorithms. An algo-                   5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 ,
     rithm can be implemented by way of software upon execu- 55 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 ,
     tion by the central processing unit 1505. The algorithm can , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 ,
     for example, process the reads to generate a consequence or 54. The kit can include a container that includes the
     sequence .                                                     plurality of oligonucleotide probes and instructions for per
        FIG . 7 schematically illustrates another system for ana- forming any of the methods described herein .
     lyzing a sample comprising nucleic acids from a subject. 60 The oligonucleotide probes can selectively hybridize to
     The system includes a sequencer, bioinformatic software exon regions of the genes, e.g. , of the at least 5 genes. In
     and internet connection for report analysis by, for example, some cases , the oligonucleotide probes can selectively
     a hand held device or a desktop computer                       hybridize to at least 30 exons of the genes, e.g. , of the at least
        Disclosed herein is a system for analyzing a target nucleic 5 genes. In some cases , the multiple probes can selectively
     acid molecule of a subject, comprising: a communication 65 hybridize to each of the at least 30 exons . The probes that
     interface that receives nucleic acid sequence reads for a hybridize to each exon can have sequences that overlap with
     plurality of polynucleotide molecules that cover genomic                 at least 1 other probe . In some embodiments, the oligoprobes
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                                        53                                                                         54
     can selectively hybridize to non - coding regions of genes acid bases , e.g. , at least 8 bases . The barcode can be
     disclosed herein , for example , intronic regions of the genes . contiguous or non -contiguous sequences, as described
     The oligoprobes can also selectively hybridize to regions of above .
     genes comprising both exonic and intronic regions of the 5 The library adaptors can be blunt ended and Y - shaped and
     genes disclosed herein .                                                      can be less than or equal to 40 nucleic acid bases in length .
        Any number of exons can be targeted by the oligonucle- Other variations of the can be found throughout and are
     otide probes . For example, at least 1 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , applicable to the kit.
     11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 30 ,
     35 , 40 , 45 , 50 , 55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 , 105 , 10                          EXAMPLES
     110 , 115 , 120 , 125 , 130 , 135 , 140 , 145 , 150 , 155 , 160 , 165 ,
     170 , 175 , 180 , 185 , 190 , 195 , 200 , 205 , 210 , 215 , 220 , 225 ,                Example 1. Methods for Copy Number Variation
     230 , 235 , 240 , 245 , 250 , 255 , 260 , 265 , 270 , 275 , 280 , 285 ,                                    Detection
     290 , 295 , 300 , 400 , 500 , 600 , 700 , 800 , 900 , 1,000 , or more ,
     exons can be targeted .                                                 15                             Blood Collection
       The kit can comprise at least 4 , 5 , 6 , 7 , or 8 different
     library adaptors having distinct molecular barcodes and                              10-30 mL Blood samples are collected at room tempera
     identical sample barcodes. The library adaptors may not be                        ture. The samples are centrifuged to remove cells . Plasma is
     sequencing adaptors. For example, the library adaptors do
     not include flow cell sequences or sequences that permit the 20 collected after centrifugation .
     formation of hairpin loops for sequencing. The different                              cfDNA Extraction
     variations and combinations of molecular barcodes and
     sample barcodes are described throughout, and are appli            The sample is subjected to proteinase K digestion . DNA
     cable to the kit . Further, in some cases , the adaptors are not
     sequencing adaptors. Additionally, the adaptors provided 25 ispurification
                                                                     precipitatedcolumn
                                                                                   with isopropanol   . DNA iscaptured on a DNA
                                                                                         ( e.g. , a QIAamp DNA Blood Mini Kit )
     with the kit can also comprise sequencing adaptors. A
     sequencing adaptor can comprise a sequence hybridizing to and       eluted in 100 ul solution . DNAs below 500 bp are
     one or more sequencing primers. A sequencing adaptor can salt ) . Thewith
                                                                    selected       Ampure SPRI magnetic bead capture (PEG /
                                                                               resulting production is suspended in 30 ul H , O .
     further comprise a sequence hybridizing to a solid support, 30 Size distribution is checked (major peak = 166 nucleotides ;
     e.g. , a flow cell sequence. For example, a sequencing minor peak = 330 nucleotides) and quantified . 5 ng of
     adaptor can be a flow cell adaptor. The sequencing adaptors extracted DNA contain approximately 1700 haploid genome
     can be attached to one or both ends of a polynucleotide equivalents (“ HGE ” ). The general correlation between the
     fragment. In some cases , the kit can comprise at least 8 amount of DNA and HGE is as follow : 3 pg DNA = 1 HGE ;
     different library adaptors having distinct molecular barcodes 35 3 ng DNA = 1K HGE ; 3 ug DNA = 1M HGE ; 10 pg DNA = 3
     and identical sample barcodes. The library adaptors may not HE ; 10 ng DNA = 3K HGE ; 10 ug DNA = 3M HGE .
     be sequencing adaptors. The kit can further include a
     sequencing adaptor having a first sequence that selectively                      “ Single Molecule” Library Prep
     hybridizes to the library adaptors and a second sequence that
     selectively hybridizes to a flow cell sequence . In another 40 High - efficiency DNA tagging ( > 80 % ) is performed by
     example , a sequencing adaptor can be hairpin shaped. For blunt        - end repair and ligation with 8 different octomers (i.e. ,
     example , the hairpin shaped adaptor can comprise a comple 64 combinations           ) with overloaded hairpin adaptors . 2.5 ng
     mentary double stranded portion and a loop portion , where DNA (i.e. approximately 800 HGE ) is used as the starting
     the double stranded portion can be attached ( e.g. , ligated) to material. Each hairpin adaptor comprises a random sequence
     a double - stranded polynucleotide. Hairpin shaped sequenc- 45 on its non -complementary portion. Both ends of each DNA
     ing adaptors can be attached to both ends of a polynucleotide fragment are attached with hairpin adaptors. Each tagged
     fragment to generate a circular molecule , which can be fragment can be identified by the random sequence on the
     sequenced multiple times . A sequencing adaptor can be up hairpin adaptors and a 10 p endogenous sequence on the
     to 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , fragment
     25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 50 Tagged DNA is amplified by 10 cycles of PCR to produce
     41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , about 1-7 ug DNAs that contain approximately 500 copies
     57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 ,
     73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , of Buffer
                                                                                        each of the 800 HGE in the starting material.
     89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 , or more bases reduction optimization    , polymerase optimization and cycle
                                                                                               may be performed to optimize the PCR reactions.
     from end to end. The sequencing adaptor can comprise 55 Amplification bias , e.g. , non - specific bias , GC bias , and / or
     20-30 , 20-40 , 30-50 , 30-60 , 40-60 , 40-70 , 50-60 , 50-70 ,
     bases from end to end . In a particular example, the sequenc polymerase            size bias are also reduced by optimization . Noise ( s ) ( e.g. ,
     ing adaptor can comprise 20-30 bases from end to end. In fidelity polymerases                  - introduced errors ) are reduced by using high
     another example, the sequencing adaptor can comprise                                                    .
     50-60 bases from end to end . A sequencing adaptor can 60                             The Library  may  be prepared using Verniata or Sequenom
     comprise one or more barcodes. For example, a sequencing methods.
     adaptor can comprise a sample barcode . The sample barcode                            Sequences may be enriched as follow : DNAs with regions
     can comprise a pre - determined sequence . The sample bar- of interest (ROI ) are captured using biotin -labeled bead with
     codes can be used to identify the source of the polynucle- probe to ROIs . The ROIs are amplified with 12 cycles of
     otides. The sample barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 , 7 , 65 PCR to generate a 2000 times amplification. The resulting
     8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , DNA is then denatured and diluted to 8 PM and loaded into
     25 , or more (or any length as described throughout) nucleic an Illumina sequencer.
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                                    55                                                                     56
                     Massively Parallel Sequencing                           2000 Q = 500 P.
                                                                             2000 ( 1 - P ) = 500P
        0.1 to 1 % of the sample ( approximately 100 pg ) are used           2000-2000 P = 500P.
     for sequencing. BDigital bioinformatics                                 2000 = 500P + 2000 P.
        Sequence reads are grouped into families, with about 10 5            2000 =2500 P.
     sequence reads in each family. Families are collapsed into              2000 : 2500 = P .
     consensus sequences by voting ( e.g. , biased voting ) each             0.8 = P .
     position in a family. A base is called for consensus sequence           1000 / P ( 2 ) = N .
     if 8 or 9 members agree . A base is not called for consensus 10         1000 : 0.64 = N .
     sequence if no more than 60% of the members agree .                     1562 = N .
        The resulting consensus sequences are mapped to a ref-               Number of unseen fragments = 62.
     erence genome. Each base in a consensus sequence is
     covered by about 3000 different families . A quality score for             Example 3. Identification of Genetic Variants in
     each sequence is calculated and sequences are filtered based 15             Cancer - Associated Somatic Variants in a Patient
     on the their quality scores .
        Sequence variation is detected by counting distribution of       An assay is used to analyze a panel of genes to identify
     bases at each locus . If 98 % of the reads have the same base    genetic variants in cancer- associated somatic variants with
     ( homozygous) and 2 % have a different base , the locus is high sensitivity.
     likely to have a sequence variant, presumably from cancer           Cell - free DNA is extracted from plasma of a patient and
     DNA .                                                         20 amplified by PCR . Genetic variants are analyzed by mas
        CNV is detected by counting the total number of sively parallel sequencing of the amplified target genes. For
     sequences ( bases) mapping to a locus and comparing with a one set of genes , all exons are sequenced as such sequencing
     control locus . To increase CNV detection , CNV analysis is coverage had shown to have clinically utility ( Table 1 ) . For
     performed specific regions , including regions on ALK , APC ,         another set of genes, sequencing coverage included those
     BRAF, CDKN2A , EGFR, ERBB2 , FBXW7 , KRAS, MYC , 25 exons with a previously reported somatic mutation ( Table 2) .
     NOTCH1 , NRAS, PIK3CA , PTEN , RB1 , TP53 , MET, AR ,                 The minimum detectable mutant allele ( limit of detection ) is
     ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,                    dependent on the patient's sample cell - free DNA concen
     EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3 , GNA11 , GNAQ,                   tration , which varied from less than 10 to over 1,000
     GNAS, HNF1A , HRAS , IDH1 , IDH2 , JAK2, JAK3 , KDR , genomic equivalents per mL of peripheral blood . Amplifi
     KIT, MLH1, MPL , NPM1 , PDGFRA , PROC , PTPN11 , 30 cation may not be detected in samples with lower amounts
     RET, SMAD4, SMARCB1, SMO , SRC , STK11 , VHL , of cell- free DNA and/ or low - level gene copy amplification .
     TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 , Certain sample or variant characteristics resulted in reduced
     CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNE1 , analytic sensitivity, such as low sample quality or improper
     ESR1 , RIT1 , GATA3, MAP2K1, RHEB , ROS1 , ARAF, 35 collection .
     MAP2K2, NFE2L2 , RHOA , or NTRK1 genes .                The percentage of genetic variants found in cell- free DNA
        Example 2. Method for Correcting Base Calling by
                                                          circulating  in blood is related to the unique tumor biology of
         Determining the Total Number Unseen Molecules
                                                          this patient. Factors that affected the amount/ percentages of
                           in a Sample
                                                          detected  genetic   variants in circulating cell - free DNA in
                                                          blood include tumor growth , turn -over, size , heterogeneity,
                                                                  40 vascularization , disease progression or treatment. Table 3
        After fragments are amplified and the sequences of ampli- annotates the percentage, or allele frequency, of altered
     fied fragments are read and aligned , the fragments are circulating cell - free DNA ( % cfDNA ) detected in this
     subjected to base calling . Variations in the number of patient. Some of the detected genetic variants are listed in
     amplified fragments and unseen amplified fragments can descending order by % cfDNA .
     introduce errors in base calling . These variations are cor- 45 Genetic variants are detected in the circulating cell -free
     rected by calculating the number of unseen amplified frag- DNA isolated from this patient's blood specimen . These
     ments .                                                      genetic variants are cancer - associated somatic variants,
       When base calling for locus A ( an arbitrary locus ) , it is
                                                                  some of which have been associated with either increased or
     first assumed that there are N amplified fragments. The reduced clinical response to specific treatment. “ Minor
     sequence readouts can come from two types of fragments: 50 Alterations ” are defined as those alterations detected at less
     double - strand fragments and single - strand fragments. The than 10 % the allele frequency of “ Major Alterations ” . The
     following is a theoretical example of calculating the total detected allele frequencies of these alterations ( Table 3 ) and
     number of unseen molecules in a sample.                      associated treatments for this patient are annotated .
        N is the total number of molecules in the sample.           All genes listed in Tables 1 and 2 are analyzed as part of
       Assuming 1000 is the number of duplexes detected . 55 the Guardant360TM test . Amplification is not detected for
       Assuming 500 is the number of single - stranded molecule ERBB2 , EGFR, or MET in the circulating cell- free DNA
     detected .                                                            isolated from this patient's blood specimen .
       P is the probability of seeing a strand .                              Patient test results comprising the genetic variants are
       Q is the probability of not detecting a strand.                     listed in Table 4 .
       Since Q = 1 - P .                                              60
       1000 = NP (2 ).                                                                                 TABLE 1
       500 = N2PQ .
       1000 / P ( 2 )= N .                                                                Genes in which all exons are sequenced
       500-2 PQ = N .                                                                GENES IN WHICH ALL EXONS ARE SEQUENCED
       1000 / P ( 2 ) = 500-2PQ .                                     65         ALK             <0.1 %     APC             < 0.1 %
       1000 * 2 PQ = 500 P (2 ) .                                                AR              < 0.1 %    BRAF            < 0.1 %
       2000 PQ = 500 P ( 2 ) .
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                                      TABLE 1 - continued                                                                TABLE 2 - continued
                           Genes in which all exons are sequenced                                        Genes in which exons with a previously reported somatic
                 GENES IN WHICH ALL EXONS ARE SEQUENCED                                                                  mutation are sequenced
                                                                                                    GENES IN WHICH EXONS WITH A PREVIOUSLY REPORTED
              CDKN2A                  < 0.1 %    EGFR                    < 0.1 %           5
                                                                                                               SOMATIC MUTATION ARE SEQUENCED
              ERBB2                   < 0.1 %    FBXW7                   < 0.1 %
              KRAS                    <0.1 %     MET                     < 0.1 %                    IDH2                  <0.1 %          JAK2                 < 0.1 %
              MYC                     <0.1 %     NOTCH1                  < 0.1 %                    JAK3                  <0.1 %          KDR                  < 0.1 %
              NRAS                    <0.1 %     PIK3CA                  < 0.1 %                    KIT                   <0.1 %          MLH1                 < 0.1 %
              PTEN                    <0.1 %     PROC                    < 0.1 %                    MPL                   <0.1 %          NPM1                <0.1 %
              RB1                     < 0.1 %    TP53                    < 0.1 %           10       PDGFRA                < 0.1 %         PTPN11               < 0.1 %
                                                                                                    RET                   < 0.1 %         SMAD4                < 0.1 %
     LOD : Limit of Detection .                                                                     SMARCB1               <0.1 %          SMO                  < 0.1 %
     The minimum detectable mutant allele frequency for this specimen in which 80 % of              SRC                   < 0.1 %         STK11                < 0.1 %
     somatic variants is detected .                                                                 TERT                  < 0.1 %         VHL                  < 0.1 %

                                                                                           15 LOD : Limit of Detection ,
                                           TABLE 2                                            The minimum detectable mutant allele frequency for this specimen in which 80 % of
                                                                                              somatic variants is detected .
            Genes in which exons with a previously reported somatic
                            mutation are sequenced
         GENES IN WHICH EXONS WITH A PREVIOUSLY REPORTED                                                                       TABLE 3
                 SOMATIC MUTATION ARE SEQUENCED                                            20
                                                                         < 0.1 %
                                                                                                           Allele frequency of altered circulating cell- free DNA
           ABL1                       <0.1 %     AKT1                                                                     detected in this patient
           ATM                        <0.1 %     CDH1                    < 0.1 %
           CSF1R                      <0.1 %     CTNNB1                  < 0.1 %                                              CfDNA with              cfDNA without
           ERBB4                      <0.1 %     EZH2                    < 0.1 %                    Gene                    alterations (% )          alterations ( % )
           FGFR1                      < 0.1 %    FGFR2                   < 0.1 %
           FGFR3                      < 0.1 %    FLT3                    < 0.1 %           25        BRAF V600E                     8.9                    91.1
           GNA11                      <0.1 %     GNAQ                    < 0.1 %                    NRAS Q61K                       6.2                    93.8
           GNAS                       <0.1 %     HNF1A                   < 0.1 %                    JAK V617F                       1.5                    98.6
           HRAS                       <0.1 %     IDH1                    <0.1 %

                                                                                                           TABLE 4
                                                                                         Genomic alterations detected in selected genes
                                                                                                Detected : 51 Genomic Alterations
                                                     Gene     Chromosome            Position    Mutation ( nt ) Mutation ( AA) Percentage Cosmic ID            DBSNP ID
                                                     KRAS           12             25368462 C > T                                   100.0 %                    rs4362222
                                                     ALK             2             29416572 T > C             11461V                100.0 %                    rs1 670283
                                                     ALK             2             29444095 C > T                                   100.0 %                    rs1569156
                                                     ALK             2              29543663 T > C            Q500Q                 100.0 %                    rs2293564
                                                     ALK             2              29940529 AXT              P234P                 100.0 %                    rs 2246745
                                                     APC             5             112176756 T > A            V1822D                100.0 %                    rs459552
                                                     CDKN2A          9              21968199 C > G                                  100.0 % COSM14251          rs11515
                                                     FGFR3          .
                                                                     4               1807894 G > A            T651T                 100.0 %                    rs7688609
                                                     NOTCH1          9             139410424 A > G                                  100.0 %                    rs3125006
                                                     PDGFRA          4              55141055 A > G            P567P                 100.0 %                    rs 1873778
                                                     HRAS           11                534242 A > G            H27H                  100.0 % COSM249860         rs12628
                                                     EGFR            7              55214348 C > T            N158N                  99.9 % COSM42978          rs2072454
                                                     TP53           17              7579472 G > C             P72R                   99.8 %                    rs 1042522
                                                     APC             5             112162854 T > C            Y486Y                  55.0 %                    rs2229992
                                                     APC             5             112177171 G > A            P1960P                 53.8 %                    rs465899
                                                     EGFR            7              55266417 T > C            T903T                  53.6 %                    rs1140475
                                                     APC             5             112176325 G > A            G1678G                 53.2 %                    rs42427
                                                     APC             5             112176559 T > G            S1756S                 53.0 %                    rs866006
                                                     EGFR            7              55229255 G > A            R521K                  53.0 %
                                                     MET             7             116397572 A > G            Q648Q                  52.7 %
                                                     APC             5             112175770 GA               T1493T                 52.7 %                    rs41115
                                                     EGFR            7              55249063 G > A            0787Q                  52.6 %                    rs 1050171
                                                     NOTCH1          9             139411714 T > C                                   52.4%                     rs11145767
                                                     EGFR            7              55238874 T > A            T629T                  52.0 %                    rs2227984
                                                     ERBB2          17              37879588 A > G            1655V                  51.6 %                    rs1136201
                                                     NOTCH1          9             139397707 G > A            D1698D                 51.3 % COSM33747          rs10521
                                                     ALK             2              30143499    G>C           LOL                    51.0 %                    rs4358080
                                                     APC             5             112164561    G>A           A545A                  51.0 %                    rs351771
                                                     FLT3           13              28610183    A>G                                  50.8 %                    rs2491231
                                                     NOTCH1          9             139418260    A>G           N104N                  50.5 %                    rs4489420
                                                 ALK                 2              29444076    G>T                                  50.4%                     rs1534545
                                                 PIK3CA              3             178917005 A > G                                   50.3 %                    rs3729674
                                                 NOTCH1              9             139412197 G > A                                   50.2 %                    rs9411208
                                                 ALK                 2              29455267 A > G            G845G                  50.0 % COSM148825         rs2256740
                                                 KIT                 4              55593464 A > C            M541L                  49.9 % COSM28026
                                                 NOTCH1              9             139391636 G > A            D2185D                48.9 %             rs2229974
                                                 PDGFRA              4              55152040 C > T            V824V                 48.9 % COSM22413 rs2228230
                                                 ALK                 2              29416481 T > C            K1491R                48.9 % COSM1130802 rs1881420
                                                 ALK                 2              29445458 G > T            G1125G                 48.6 %                    rs3795850
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                                          59                                                                               60
                                                   TABLE 4 -continued
                                          Genomic alterations detected in selected genes
                                                Detected : 51 Genomic Alterations
     Gene         Chromosome        Position    Mutation ( nt) Mutation ( AA ) Percentage Cosmic ID          DBSNP ID
     NOTCH1                       139410177 T > C                                     48.5 %                 rs3124603
     RET                10         43613843 G > T             L769L                   48.2 %                 rs1800861
     EGFR                7         55214443     G >A                                  48.0 %                 rs7801956
     ALK                 2         29416366     G>C           D1529E                  47.2 %                 rs1881421
     EGFR                7         55238087     C>T                                   45.5 %                 rs10258429
     RET                10         43615633     C>G           S904S                   44.8 %                 rs1800863
     BRAF                7        140453136     AXT           V600E                    8.9 %   COSM476
     NRAS                1        115256530     G>T           Q61K                     6.2 %   COSM580       rs121913254
     JAK2                9           5073770 G > T            V617F                    1.5 %   COSM12600     rs77375493

                                                                                       15
           Example 4. Determining Patient -Specific Limits of                               adaptors are attached to both ends of each cell - free DNA
            Detection for Genes Analyzed by Guardant360TM                                 fragment by ligation. After ligation , each of the cell- free
                                Assays                                                    DNA fragment can be distinctly identified by the sequence
                                                                                       20 of the distinct barcodes and two 20 bp endogenous
        Using the method of Example 3 , Genetic alterations in                              sequences at each end of the cell- free DNA fragment.
     cell- free DNA of a patient are detected . The sequence reads                            The tagged cell- free DNA fragments are amplified by
     of these genes include exon and / or intron sequences.                                 PCR . The amplified fragments are enriched using beads
        Limits of detection of the test are shown in Table 5. The                           comprising oligonucleotide probes that specifically bind to a
     limits of detection values are dependent on cell- free DNA 25 group of cancer -associated genes . Therefore , cell - free DNA
     concentration and sequencing coverage for each gene .         fragments from the group of cancer - associated genes are
                                                                                            selectively enriched .
                                       TABLE 5                                                 Sequencing adaptors, each of which comprises a sequenc
           Limits of Detection of selected genes in a patient using Guardant                ing primer binding site , a sample barcode, and a cell- flow
                                                                                       30 sequence , are attached to the enriched DNA molecules . The
                      Complete Exon and Partial Intron Coverage                             resulting molecules are amplified by PCR .
     APC                0.1 %    AR*                0.2 %   ARIDIA                             Both strands of the amplified fragments are sequenced.
     BRAF *             0.1 %    BRCA1                      BRCA2                           Because each bubble -containing adaptor comprises a non
     CCND1 *                     CCND2 *                    CCNE1 *                       complementary portion ( e.g. , the bubble ) , the sequence of
     CDK4 *
     CDKN2B
                                 CDK6 *
                                 EGFR *           <0.1 %
                                                            CDKN2A
                                                            ERBB2 *
                                                                          0.1 %
                                                                          0.1 %
                                                                                       35 the one strand of the bubble - containing adaptor is different
     FGFR1 *           < 0.1 %   FGFR2 *            0.1 %   HRAS          0.1 %             from the sequence of the other strand ( complement ). There
     KIT *              0.1 %    KRAS *             0.1 %   MET *         0.1 %             fore, the sequence reads of amplicons derived from the
     MYC *              0.1 %    NF1                        NRAS          0.1 %             Watson strand of an original cell- free DNA can be distin
     PDGFRA *
     RAF1 *
                        0.1 %    PIK3CA *
                                 TP53
                                                    0.1 %
                                                    0.1 %
                                                            PTEN          0.1 %             guished from amplicons from the Crick strand of the original
                  Exons Covered with Reported Somatic Mutations                        40 cell- free DNA by the attached bubble -containing adaptor
                                                                                          sequences .
     AKT1                  0.1 % ALK                < 0.1 % ARAF                             The sequence reads from a strand of an original cell - free
     ATM
     ESR1
                            0.1 % CDH1
                                    EZH2
                                                      0.1 % CTNNB1
                                                      0.1 % FBXW7
                                                                              0.1 %
                                                                              0.1 %
                                                                                          DNA    fragment are compared to the sequence reads from the
     FGFR3                  0.1 % GATA3                        GNA11          0.1 %       other   strand of the original cell- free DNA fragment. If a
     GNAQ                   0.1 % GNAS                0.1 % HNF1A             0.1 % 45 variant occurs in only the sequence reads from one strand,
     IDH1                   0.1 % IDH2                0.1 % JAK2              0.1 %       but not other strand, of the original cell- free DNA fragment,
     JAK3
     MLH1
                            0.1 % MAP2K1
                            0.1 % MPL
                                                               MAP2K2
                                                      0.2 % NFE2L2
                                                                                          this variant will be identified as an error ( e.g. , resulted from
     NOTCH1                 0.1 % NPM1                0.1 % PTPN11            0.1 %       PCR and / or amplification ), rather than a true genetic variant.
     RET                    0.1 % RHEB                         RHOA                          The sequence reads are grouped into families. Errors in
     RIT1                           ROS1                       SMAD4          0.1 %    50 the sequence reads are corrected . The consensus sequence of
     SMO
     TERT
                            0.1 % SRC
                            0.1 % VHL
                                                    < 0.1 % STK11
                                                      0.2 %
                                                                              0.2 %       each   family is generated by collapsing.
                                         Fusions                                             While   preferred embodiments of the present invention
                                                                                          have been shown and described herein , it will be obvious to
     ALK                  < 0.1 % RET                 0.1 % ROS1                          those skilled in the art that such embodiments are provided
     NTRK1                                                                             55 by way of example only . It is not intended that the invention
     LOD : Limit of Detection .                                                           be limited by the specific examples provided within the
     The minimum detectable mutant allele frequency for this specimen in which 80 % of    specification. While the invention has been described with
     somatic variants is detected .
     * indicates CNV genes.                                                               reference   to the aforementioned specification, the descrip
                                                                                          tions and illustrations of the embodiments herein are not
                                                                                       60 meant to be construed in a limiting sense . Numerous varia
           Example 5. Correcting Sequence Errors Comparing                                tions , changes, and substitutions will now occur to those
                            Watson and Crick Sequences                                    skilled in the art without departing from the invention .
                                                                                            Furthermore, it shall be understood that all aspects of the
        Double - stranded cell - free DNA is isolated from the                              invention are not limited to the specific depictions , configu
     plasma of a patient. The cell- free DNA fragments are tagged 65 rations or relative proportions set forth herein which depend
     using 16 different bubble - containing adaptors, each ofwhich                          upon a variety of conditions and variables. It should be
     comprises a distinctive barcode . The bubble -containing                               understood that various alternatives to the embodiments of
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                                   61                                                                    62
     the invention described herein may be employed in practic-     9. The method of claim 1 , further comprising enriching a
     ing the invention . It is therefore contemplated that the plurality of the amplified progeny polynucleotides for target
     invention shall also cover any such alternatives, modifica- regions of interest prior to the sequencing to produce
     tions , variations or equivalents. It is intended that the enriched progeny polynucleotides.
     following claims define the scope of the invention and that 5 10. The method of claim 9 , wherein the target regions of
     methods and structures within the scope of these claims and interest comprise genetic sequences of a plurality of genes
     their equivalents be covered thereby.                        selected from the group consisting of ALK , APC , BRAF,
        What is claimed is :                                           CDKN2A , EGFR ERBB2 , FBXW7 , KRAS , MYC ,
       1. A method , comprising:
       (a ) providing a population of cell -free deoxyribonucleic 10 NOTCH1 , NRAS, PIK3CA , PTEN , RB1 , TP53 , MET, AR ,
            acid ( cfDNA ) molecules having first and second ABL1     EZH2
                                                                            , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,
                                                                            ,   FGFR1 , FGFR2 , FGFR3 , FLT3 , GNA11, GNAQ ,
            complementary strands;
                                                                      GNAS
       ( b ) tagging a plurality of the cfDNA molecules of the KIT, MLHI      , HNF1A , HRAS, IDH1 , IDH2 , JAK2 , JAK3 , KDR ,
            population with a set of duplex tags comprising                         , MPL , NPM1 , PDGFRA, PROC , PTPN11 ,
            molecular barcodes from a set of molecular barcodes to 15 RET, SMAD4 , SMARCB1, SMO , SRC , STK11 , VHL ,
            produce tagged parent polynucleotides, wherein duplex TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 ,
            tags from the set of duplex tags are attached at both CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNEI ,
            ends of a molecule of the plurality of the cfDNA ESR1 , RIT1, GATA3, MAP2K1 , RHEB , ROS1 , ARAF,
            molecules ;                                               MAP2K2, NFE2L2 , RHOA , and NTRK1 .
       (c ) amplifying a plurality of the tagged parent polynucle- 20 11. The method of claim 9 , further comprising amplifying
            otides to produce amplified progeny polynucleotides; a plurality of the enriched progeny polynucleotides prior to
       (d) sequencing at least a subset of the amplified progeny the sequencing.
            polynucleotides to produce a set of sequence reads; and     12. The method of claim 1 , wherein the duplex tags of the
       ( e ) reducing or tracking redundancy in the set of sequence set of duplex tags are part of sequencing adapters.
            reads using at least sequence information from the 25 13. The method of claim 12 , wherein the sequencing
            molecular barcodes to generate a plurality of consensus adapters are Y -shaped adapters.
            sequences representative of original cfDNA molecules        14. The method of claim 1 , wherein the reducing or
          from among the tagged parent polynucleotides , tracking redundancy in the set of sequence reads comprises
          wherein the plurality of consensus sequences is gener- mapping a plurality of the set of sequence reads to a
          ated from (i ) paired reads corresponding to sequence 30 reference sequence .
          reads generated from a first tagged strand and a second         15. The method of claim 1 , further comprising:
          tagged complementary strand derived from a cfDNA                ( f) determining quantitative measures of at least two of (i )
          molecule from among the tagged parent polynucle                      the paired reads , ( ii ) the unpaired reads, ( iii ) read depth
          otides , and (ii ) unpaired reads corresponding to                   of the paired reads, and ( iv ) read depth of the unpaired
          sequence reads generated from a first tagged strand 35               reads at one or more loci of a reference sequence .
          having no second tagged complementary strand                    16. The method of claim 15 , further comprising:
          derived from a cfDNA molecule from among the                    ( g ) estimating with a programmed computer processor a
           tagged parent polynucleotides .                               quantitative measure of tagged parent polynucleotides
        2. The method of claim 1 , wherein the population of             based at least in part on the quantitative measures of the
     cfDNA molecules is obtained or derived from a sample from 40        at least two of (i ) the paired reads, (ii ) the unpaired
     a subject having cancer.                                            reads, (iii ) the read depth of the paired reads, and ( iv )
        3. The method of claim 1 , wherein the plurality of cfDNA        the read depth of the unpaired reads at the one or more
     molecules comprises between 1 nanogram ( ng) and 100 ng             loci .
     of cfDNA molecules .                                             17. The method of claim 16 , wherein ( f) comprises
        4. The method of claim 1 , wherein the tagging comprises 45 determining quantitative measures of the paired reads and
     ligating the duplex tags to the plurality of the cfDNA the unpaired reads , and wherein in ( g) , the quantitative
     molecules using more than a 10x excess of duplex tags as measure of the tagged parent polynucleotides is determined
     compared to the population of cfDNA molecules .                   based at least in part on the quantitative measures of the
       5. The method of claim 4 , wherein at least 20% of the paired reads and the unpaired reads .
     cfDNA molecules of the population are tagged with the 50 18. A method , comprising:
     duplex tags .                                              ( a) providing a population of double - stranded cell- free
       6. The method of claim 1 , wherein the tagging comprises               deoxyribonucleic acid ( cfDNA ) molecules having first
     non- uniquely tagging the plurality of the cfDNA molecules               and second complementary strands ;
     with the set of duplex tags comprising molecular barcodes            (b ) non - uniquely tagging a plurality of the double
     from the set of molecular barcodes, wherein the cfDNA 55                 stranded cfDNA molecules of the population with a set
     molecules that map to a mappable base position of a                      of duplex tags comprising molecular barcodes from a
     reference sequence are tagged with a number of different                 set of molecular barcodes to produce non -uniquely
     molecular barcodes ranging from at least 2 to fewer than a               tagged parent polynucleotides,
     number of the cfDNA molecules that map to the mappable               wherein the double - stranded cfDNA molecules that map
     base position .                                             60           to a mappable base position of a reference sequence are
       7. The method of claim 1 , wherein the molecular barcodes              tagged with a number of different molecular barcodes
     of the set of molecular barcodes have pre -determined                   ranging from at least 2 to fewer than a number of the
     sequences .                                                            double - stranded cfDNA molecules that map to the
       8. The method of claim 1 , wherein the molecular barcodes            mappable base position;
     of the set of molecular barcodes have between 5 and 10,000 65        ( c ) amplifying a plurality of the non -uniquely tagged
     different molecular barcode sequences and have a length of                parent polynucleotides to produce amplified progeny
     between 5 and 20 base pairs .                                             polynucleotides;
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                                    63                                                                       64
        (d) sequencing at least a subset of the amplified progeny               25. The method of claim 24 , wherein the target regions of
            polynucleotides to produce a set of sequence reads ;             interest comprise genetic sequences of a plurality of genes
        (e ) reducing or tracking redundancy in the set of sequence          selected from the group consisting of ALK , APC , BRAF,
          reads using at least sequence information from the CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS , MYC ,
          molecular barcodes;                               5 NOTCH1 , NRAS, PIK3CA , PTEN , RB1 , TP53 , MET, AR ,
       ( f) sorting the set of sequence reads into paired reads and ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,
           unpaired reads , wherein (i ) a paired read corresponds to EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, GNA11, GNAQ ,
           sequence reads generated from a first tagged strand and
           a second tagged complementary strand derived from a GNAS   KIT ,
                                                                             , HNF1A , HRAS, IDH1 , IDH2 , JAK2 , JAK3 , KDR ,
                                                                             MLH1   , MPL , NPM1 , PDGFRA, PROC , PTPN11 ,
           double - stranded cfDNA molecule from among the non- 10
           uniquely tagged parent polynucleotides, and (ii ) an RET        , SMAD4 , SMARCB1, SMO , SRC , STK11 , VHL ,
                                                                      TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 ,
           unpaired read corresponds to sequence reads generated CCND2         , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNE1 ,
           from a first tagged strand having no second tagged ESR1 , RIT1           , GATA3, MAP2K1 , RHEB , ROS1 , ARAF,
           complementary strand derived from a double - stranded MAP2K2, NFE2L2            , RHOA , and NTRK1 .
           cfDNA molecule from among the non -uniquely tagged 15 26. The method of             claim 24 , further comprising ampli
           parent polynucleotides ; and
       (g ) determining, at one or more loci of a reference prior to the sequencing. enriched progeny polynucleotides
                                                                      fying  a plurality of  the
           sequence , quantitative measures of at least two of (i )     27. The method of claim 18 , wherein reducing or tracking
           the paired reads , (ii ) the unpaired reads , (iii ) read depth
                                                                           the redundancy in the set of sequence reads comprises
           of the paired reads, and ( iv ) read depth of the unpaired 20 collapsing
           reads.                                                                          a plurality of the set of sequence reads to generate
        19. The method of claim 18 , wherein the population of consensus                    sequences representative of original double
                                                                           stranded cfDNA molecules from among the non -uniquely
     double -stranded cfDNA molecules is obtained or derived tagged                    parent polynucleotides.
     from a sample from a subject having cancer .
        20. The method of claim 18 , wherein the plurality of 25 a plurality method
                                                                              28.    The
                                                                                            of  the
                                                                                                    of claim 27 , further comprising mapping
                                                                                                    set of sequence reads or the consensus
     double - stranded cfDNA molecules comprises between 1
     nanogram ( ng ) and 100 ng of double -stranded cfDNA sequences                        to a reference sequence .
                                                                              29. The method of claim 18 , further comprising:
     molecules .
        21. The method of claim 18 , wherein the non -uniquely                 (h) estimating with a programmed computer processor a
     tagging comprises ligating the duplex tags to the plurality of 30            quantitative measure of non -uniquely tagged parent
     the double - stranded cfDNA molecules .                                      polynucleotides based at least in part on the quantita
        22. The method of claim 18 , wherein the molecular                        tive measures of the at least two of (i ) the paired reads ,
     barcodes of the set of molecular barcodes have between 2                     ( ii ) the unpaired reads, ( iii ) the read depth of the paired
     and 10,000 different molecular barcode sequences.                            reads, and ( iv ) the read depth of the unpaired reads at
        23. The method of claim 18 , wherein the molecular 35 30.theThe                  one or more loci .
                                                                                             method of claim 29 , wherein (g ) comprises
     barcodes of the set of molecular barcodes have between 5
     and 10,000 different molecular barcode sequences and have the         determining quantitative measures of the paired reads and
     a length of between 5 and 20 base pairs in length .                         unpaired reads , and wherein in ( h ), the quantitative
        24. The method of claim 18 , further comprising enriching measure  is
                                                                                         of the non - uniquely tagged parent polynucleotides
                                                                                determined       based at least in part on the quantitative
     a plurality of the amplified progeny polynucleotides for 40
     target regions of interest prior to the sequencing to produce measures of the paired reads and the unpaired reads.
     enriched progeny polynucleotides .                                                                         *     *
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                           EXHIBIT D
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                                                                                                      US011149306B2


     ( 12) United States Patent                                                   ( 10 ) Patent No.: US 11,149,306 B2
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            continuation of application No. 15 / 892,178 , filed on          Guardant Health vs. FMI Invalidity Exhibit C - 2 , dated Jun . 25 ,
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               C12P 19/34                   (2006.01 )
               C12Q 1/6869                  ( 2018.01 )                      Primary Examiner Kenneth R Horlick
               C12Q 1/6886                  ( 2018.01 )                      (74 ) Attorney, Agent, or Firm — Timothy A. Hott
               G16B 15/00           ( 2019.01 )
     ( 52 ) U.S. CI .                                                        ( 57 )                        ABSTRACT
            CPC           C12Q 1/6869 (2013.01 ) ; C12Q 1/6886               Disclosed herein in are methods and systems for determin
                   ( 2013.01 ) ; C12Q 2535/122 ( 2013.01 ) ; C12Q            ing genetic variants (e.g. , copy number variation ) in a
                     2600/158 (2013.01 ) ; G16B 15/00 (2019.02 )             polynucleotide sample. A method for determining copy
     ( 58 ) Field of Classification Search                                   number variations includes tagging double - stranded poly
            CPC                                    C12Q 1/6869               nucleotides with duplex tags, sequencing polynucleotides
            See application file for complete search history.                from the sample and estimating total number of polynucle
                                                                             otides mapping to selected genetic loci . The estimate of total
     ( 56 )                   References Cited                               number of polynucleotides can involve estimating the num
                                                                             ber of double -stranded polynucleotides in the original
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                                                                             number can be generated using the number of polynucle
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                         Extract and isolate cell free polynucleotides
                                       from bodily fluid                    102


                       Tag double stranded polynucleotides with duplex
                        tags (“ Watson " strand tag distinguishable from
                                      " Crick " strand tag )
                                                                             104

                             Generate sequence reads for tagged
                                    polynucleotide strands
                                                                             106
                         Reduce and /or track redundancy of reads to
                                correspond to original strands
                                                                             108
                        Map reads to selected locus or loci in genome
                                                                            110
                            Group reads into " Pairs” and “ Singlets ”;
                        -Pairs are reads from complementary strands of
                            original double stranded polynucleotides
                              Singlets are reads for which there is no
                       sequence read from the complementary strand of
                             the original double stranded molecule           112

                         Determine quantitative measure of Pairs and
                         Singlets mapping to each selected locus ( also
                         optionally read depth of paired and unpaired
                                            strands

                        Estimate number of Unseen polynucleotides in
                          original population mapping to each locus
                                                                              116
                         Estimate number of Total polynucleotides in
                          original population mapping to each locus
                                                                             118

                        Estimate Copy Member Variation at each locus
                                                                              120


                                           Fig. 1
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                                                  Fig. 2
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                                       Fig. 3
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            1510 DC



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                                          Fig . 6
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                        Provide cell free polynucleotides from bodily
                          fluid of (a) a test sample and (b ) a control       802
                                            sample


                         Tag polynucleotides. Tag includes a source            804
                         identifier ( test or control ) and , optionally, a
                       further identifier (optionally with duplex tags ) .
                      Polynucleotides can be uniquely or non -uniquely
                                            tagged
                                                                               806
                             Pool tagged test and tagged control
                       polynucleotides at desired ratio (usually greater
                                        amount of test )


                                                                               808
               800     Generate sequence reads from pooled test and
                                 control polynucleotides

                                                                                810
                         Reduce and/or track redundancy of reads to
                             correspond to original molecules

                                                                               812
                       Quantify original molecules from each of test
                      and control mapping to one or more genetic loci .
                        (Can include normalizing against a reference
                                             locus )



                       Estimate copy number variation at each locus as              814
                            a function of test control comparison


                                            Fig. 8
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                                                < 80 nucleotides

                    S'                                                                                   Partial

     Fig. 9A
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                                                                   V
                                                                    o                        59
                                                                                                         adaptor

                Primer hybridization site                   Barcode             < 10 nucleotides
                                                            scqucncc




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      Fig. 9B       3
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                                                                                                     polynucleotide




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      Fig. 9C       39 BRE           ?????
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                              Sequencer motif                                      Sequencer motif
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        METHODS AND SYSTEMS FOR DETECTING                                    To address this issue , input double - stranded deoxyribo
                GENETIC VARIANTS                                          nucleic acid (DNA ) can be converted by a process that tags
                                                                          both halves of the individual double - stranded molecule , in
                         CROSS -REFERENCE                                 some cases differently. This can be performed using a variety
                                                                          of techniques, including ligation of hairpin , bubble , or
       This application is aa continuation of U.S. application Ser.       forked adapters or other adaptors having double - stranded
     No. 16 / 601,168 , filed Oct. 14 , 2019 ( now U.S. Pat . No.         and single stranded segments ( the unhybridized portion of a
     10,801,063 , issued Oct. 13 , 2020 ) , which is a continuation of
                                  2                                       bubble, forked or hairpin adapter are deemed single
     U.S. application Ser. No. 15 / 892,178 , filed Feb. 8 , 2018         stranded herein ). If tagged correctly, each original Watson
     ( now U.S. Pat. No. 10,883,139 , issued Jan. 5 , 2021), which 10 and Crick (i.e. , strand ) side of the input double -stranded
     is a continuation of U.S. application Ser. No. 14 / 861,989 , DNA molecule can be differently tagged and identified by
     filed Sep. 22 , 2015 ( now U.S. Pat. No. 9,920,366 , issued the sequencer and subsequent bioinformatics. For all mol
     Mar. 20 , 2018 ) , which is a continuation application of ecules in a particular region , counts of molecules where both
     International Application No. PCT/US2014 / 072383 , filed Watson and Crick sides were recovered ( “ Pairs ” ) versus
     Dec. 24 , 2014 , which application claims the benefit under 35 15 those where only one half was recovered (“ Singlets ”) can be
     U.S.C. $ 119 ( e ) of U.S. Provisional Application No. 61/921 , recorded  . The number of unseen molecules can be estimated
     456 , filed Dec. 28 , 2013 , and U.S. Provisional Application        based on the number of Pairs and Singlets detected .
     No. 61 / 948,509 , filed Mar. 5 , 2014 , each of which is entirely
     incorporated herein by reference .                                     An aspect of the present disclosure provides a method for
                                                                     20 detecting and /or quantifying rare deoxyribonucleic acid
                            BACKGROUND                                  (DNA ) in a heterogeneous population of original DNA
                                                                        fragments, comprising tagging the original DNA fragments
        The detection and quantification of polynucleotides is in a single reaction using a library of a plurality of different
     important for molecular biology and medical applications, tags such that greater than 30 % of the fragments are tagged
     such as diagnostics. Genetic testing is particularly useful for 25 at both ends, wherein each of the tags comprises a molecular
     a number of diagnostic methods. For example, disorders that barcode . The single reaction can be in a single reaction
     are caused by rare genetic alterations (e.g. , sequence vari vessel . Greater than 50% of the fragments can be tagged at
     ants) or changes in epigenetic markers , such as cancer and both ends . The plurality of different tags can be no more than
     partial or complete aneuploidy, may be detected or more any of 100 , 500 , 1000 , 10,000 or 100,000 different tags .
     accurately characterized with DNA sequence information . 30 Another aspect provides a set of library adaptors that can
        Early detection and monitoring of genetic diseases , such be used to tag the molecules of interest ( e.g. , by ligation ,
     as cancer, is often useful and needed in the successful hybridization, etc. ) . The set of library adaptors can comprise
     treatment or management of the disease . One approach may plurality of polynucleotide molecules with molecular bar
     include the monitoring of a sample derived from cell - free codes , wherein the plurality of polynucleotide molecules are
     nucleic acids , a population of polynucleotides that can be 35 less than or equal to 80 nucleotide bases in length , wherein
     found in different types of bodily fluids . In some cases , the molecular barcodes are at least 4 nucleotide bases in
     disease may be characterized or detected based on detection length , and wherein (a ) the molecular barcodes are different
     of genetic aberrations, such as copy number variation and / or from one another and have an edit distance of at least 1
     sequence variation of one or more nucleic acid sequences, or between one another ; (b ) the molecular barcodes are located
     the development of other certain rare genetic alterations. 40 at least one nucleotide base away from a terminal end of
     Cell- free DNA ( cfDNA ) may contain genetic aberrations their respective polynucleotide molecules ; (c ) optionally, at
     associated with a particular disease . With improvements in least one terminal base is identical in all of the polynucle
     sequencing and techniques to manipulate nucleic acids , otide molecules ; and ( d ) none of the polynucleotide mol
     there is a need in the art for improved methods and systems ecules contains a complete sequencer motif.
     for using cell - free DNA to detect and monitor disease . 45 In some embodiments, the library adaptors (or adapters)
        In particular, many methods have been developed for are identical to one another but for the molecular barcodes .
     accurate copy number variation estimation , especially for In some embodiments, each of the plurality of library
     heterogeneous genomic samples, such as tumor-derived adaptors comprises at least one double - stranded portion and
     gDNA or for cfDNA for many applications (e.g. , prenatal, at least one single - stranded portion (e.g. , a non -complemen
     transplant, immune, metagenomics or cancer diagnostics ). 50 tary portion or an overhang ). In some embodiments , the
     Most of these methods include sample preparation whereby double - stranded portion has a molecular barcode selected
     the original nucleic acids are converted into a sequenceable from a collection of different molecular barcodes. In some
     library, followed by massively parallel sequencing, and embodiments, the given molecular barcode is aa randomer. In
     finally bioinformatics to estimate copy number variation at some embodiments, each of the library adaptors further
     one or more loci .                                              55 comprises a strand - identification barcode on the at least one
                                                                        single - stranded portion. In some embodiments, the strand
                               SUMMARY                                  identification barcode includes at least 4 nucleotide bases . In
                                                                        some embodiments, the single - stranded portion has a partial
        Although many of these methods are able to reduce or sequencer motif. In some embodiments, the library adaptors
     combat the errors introduced by the sample preparation and 60 do not include a complete sequencer motif.
     sequencing processes for all molecules that are converted             In some embodiments, none of the library adaptors con
     and sequenced, these methods are not able to infer the counts tains a sequence for hybridizing to a flow cell or forming a
     of molecules that were converted but not sequenced . Since hairpin for sequencing.
     this count of converted by unsequenced molecules can be               In some embodiments , all of the library adaptors have a
     highly variable from genomic region to region, these counts 65 terminal end with nucleotide( s ) that are the same . In some
     can dramatically and adversely affect the sensitivity that can embodiments, the identical terminal nucleotide ( s) are over
     be achieved .                                                      two or more nucleotide bases in length.
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        In some embodiments, each of the library adapters is barcodes and at least a portion of the original DNA frag
     Y - shaped , bubble shaped or hairpin shaped . In some ments ; ( e) from the sequence reads , determining consensus
     embodiments, none of the library adapters contains a sample reads that are representative of single - strands of the original
     identification motif. In some embodiments, each of the DNA fragments; and (f) quantifying the consensus reads to
     library adapters comprises a sequence that is selectively 5 detect and / or quantify the rare DNA at a specificity that is
     hybridizable to a universal primer. In some embodiments , greater than 99.9% .
     each of the library adapters comprises a molecular barcode                In some embodiments, ( e) comprises comparing sequence
     that is at least 5 , 6 , 7 , 8 , 9 and 10 nucleotide bases in length . reads having the same or similar molecular barcodes and the
     In some embodiments, each of the library adapters is from same or similar end of fragment sequences. In some embodi
     10 nucleotide bases to 80 in length, or 30 to 70 nucleotide 10 ments, the comparing further comprises performing a phy
     bases in length, or 40 to 60 nucleotide bases in length . In logentic analysis on the sequence reads having the same or
     some embodiments, at least 1 , 2 , 3 , or 4 terminal bases are      similar molecular barcodes . In some embodiments, the
     identical in all of the library adaptors. In some embodiments,      molecular barcodes include a barcode having an edit dis
     at least 4 terminal bases are identical in all of the library       tance of up to 3. In some embodiments, the end of fragment
     adaptors .                                                       15 sequence includes fragment sequences having an edit dis
       In some embodiments, the edit distance of the molecular           tance of up to 3 .
     barcodes of the library adapters is a Hamming distance . In           In some embodiments, the method further comprises
     some embodiments, the edit distance is at least 1 , 2 , 3 , 4 or sorting sequence reads into paired reads and unpaired reads ,
     5. In some embodiments, the edit distance is with respect to and quantifying a number of paired reads and unpaired reads
     individual bases of the plurality of polynucleotide mol- 20 that map to each of one or more genetic loci .
     ecules . In some embodiments, the molecular barcodes are              In some embodiments, the tagging occurs by having an
     located at least 10 nucleotide base away from a terminal end excess amount of library adaptors as compared to original
     of an adapter. In some embodiments, the plurality of library DNA fragments. In some embodiments, n the excess is at
     adapters includes at least 2 , 4 , 6 , 8 , 10 , 20 , 30 , 40 or 50 least a 5 - fold excess . In some embodiments, the tagging
     different molecular barcodes, or from 2-100 , 4-80 , 6-60 or 25 comprises using a ligase . In some embodiments, the tagging
     8-40 different molecular barcodes. In any of the embodi- comprises attachment to blunt ends .
     ments herein , there are more polynucleotides ( e.g. , cfDNA          In some embodiments, the method further comprises
     fragments ) to be tagged than there are different molecular binning the sequence reads according to the molecular
     barcodes such that the tagging is not unique.                      barcodes and sequence information from at least one end of
         In some embodiments, the terminal end of an adaptor is 30 each of the original DNA fragments to create bins of single
     configured for ligation ( e.g. , to a target nucleic acid mol- stranded reads . In some embodiments, the method further
     ecule ) . In some embodiments, the terminal end of an adaptor comprises, in each bin , determining a sequence of a given
     is aa blunt end .                                                  original DNA fragment among the original DNA fragments
         In some embodiments, the adaptors are purified and by analyzing sequence reads. In some embodiments, the
     isolated . In some embodiments, the library comprises one or 35 method further comprises detecting and / or quantifying the
     more non -naturally occurring bases .                              rare DNA by comparing a number of times each base occurs
         In some embodiments, the polynucleotide molecules at each position of a genome represented by the tagged ,
     comprise a primer sequence positioned 5 ' with respect to the amplified, and optionally enriched DNA fragments.
     molecular barcodes .                                                  In some embodiments, the library adaptors do not contain
         In some embodiments, the set of library adaptors consists 40 complete sequencer motifs. In some embodiments, the
      essentially of the plurality of polynucleotide molecules .        method further comprises selectively enriching a subset of
         In another aspect , a method comprises (a ) tagging a the tagged DNA fragments. In some embodiments , the
     collection of polynucleotides with a plurality of polynucle- method further comprises, after enriching, amplifying the
     otide molecules from a library of adaptors to create a enriched tagged DNA fragments in the presence of sequenc
     collection of tagged polynucleotides; and (b ) amplifying the 45 ing adaptors comprising primers . In some embodiments, (a )
     collection of tagged polynucleotides in the presence of provides tagged DNA fragments having from 2 to 1000
     sequencing adaptors, wherein the sequencing adaptors have           different combinations of molecular barcodes.
     primers with nucleotide sequences that are selectively                In some embodiments, the DNA fragments are tagged
     hybridizable to complementary sequences in the plurality of         with polynucleotide molecules from a library of adaptors as
     polynucleotide molecules . The library of adaptors may be as 50 described above or elsewhere herein .
     described above or elsewhere herein . In some embodiments,        In another aspect , a method for processing and / or ana
     each of the sequencer adaptors further comprises an index lyzing a nucleic acid sample of a subject comprises (a )
     tag , which can be a sample identification motif.               exposing polynucleotide fragments from the nucleic acid
        Another aspect , provides a method for detecting and / or sample to a set of library adaptors to generate tagged
     quantifying rare DNA in a heterogeneous population of 55 polynucleotide fragments; and ( b ) subjecting the tagged
     original DNA fragments, wherein the rare DNA has a polynucleotide fragments to nucleic acid amplification reac
     concentration that is less than 1 % , the method comprising tions under conditions that yield amplified polynucleotide
     ( a ) tagging the original DNA fragments in a single reaction  fragments as amplification products of the tagged polynucle
     such that greater than 30 % of the original DNA fragments      otide fragments. The set of library adaptors comprises a
     are tagged at both ends with library adaptors that comprise 60 plurality of polynucleotide molecules with molecular bar
     molecular barcodes , thereby providing tagged DNA frag- codes , wherein the plurality of polynucleotide molecules are
     ments; (b ) performing high - fidelity amplification on the         less than or equal to 80 nucleotide bases in length , wherein
     tagged DNA fragments; ( c ) optionally, selectively enriching       the molecular barcodes are at least 4 nucleotide bases in
     a subset of the tagged DNA fragments; (d) sequencing one            length, and wherein ( 1 ) the molecular barcodes are different
     or both strands of the tagged, amplified and optionally 65 from one another and have an edit distance of at least 1
     selectively enriched DNA fragments to obtain sequence between one another; (2 ) the molecular barcodes are located
     reads comprising nucleotide sequences of the molecular at least one nucleotide base away from a terminal end of
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     their respective polynucleotide molecules ; (3 ) optionally, at PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
     least one terminal base is identical in all of the polynucle- ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     otide molecules ; and ( 4 ) none of the polynucleotide mol- FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, GNAS, HNF1A ,
     ecules contains a complete sequencer motif .                    HRAS , IDHI , IDH2 , JAK2 , JAK3, KDR , KIT, MLH1 ,
        In some embodiments, the method further comprises 5 MPL , NPM1 , PDGFRA, PROC , PTPN11 , RET, SMAD4,
     determining nucleotide sequences of the amplified tagged SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
     polynucleotide fragments. In some embodiments, the CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     nucleotide sequences of the amplified tagged polynucleotide TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RITI , GATA3,
     fragments are determined without polymerase chain reaction MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     (PCR) . In some embodiments, the method further comprises 10 RHOA, and NTRK1 ; (b ) grouping with a computer proces
     analyzing the nucleotide sequences with a programmed sor the plurality of sequence reads into families, wherein
     computer processor to identify one or more genetic variants each family comprises sequence reads from one of the
     in the nucleotide sample of the subject. In some embodi- template polynucleotides; ( c ) for each of the families, merg
     ments, the one or more genetic variants are selected from the ing sequence reads to generate a consensus sequence ; (d)
     group consisting of base change ( s ), insertion ( s ), repeat ( s ), 15 calling the consensus sequence at a given genomic locus
     deletion ( s ), copy number variation ( s ) and transversion ( s ). In among the genomic loci ; and ( e ) detecting at the given
     some embodiments, the one or more genetic variants include genomic locus any of genetic variants among the calls ,
     one or more tumor associated genetic alterations.                        frequency of a genetic alteration among the calls , total
        In some embodiments, the subject has or is suspected of number of calls , and total number of alterations among the
     having a disease . In some embodiments , the disease is 20 calls .
     cancer . In some embodiments , the method further comprises                 In some embodiments, each family comprises sequence
     collecting the nucleic acid sample from the subject. In some reads from only one of the template polynucleotides. In
     embodiments , the nucleic acid sample is collected from a some embodiments, the given genomic locus comprises at
     location selected from the group consisting of blood , least one nucleic acid base . In some embodiments, the given
     plasma , serum , urine, saliva , mucosal excretions, sputum , 25 genomic locus comprises a plurality ofnucleic acid bases . In
     stool , cerebral spinal fluid and tears of the subject. In some some embodiments, the calling comprises calling at least
     embodiments, the nucleic acid sample is aa cell- free nucleic one nucleic acid base at the given genomic locus . In some
     acid sample. In some embodiments, the nucleic acid sample embodiments, the calling comprises calling a plurality of
     is collected from no more than 100 nanograms (ng) of nucleic acid bases at the given genomic locus . In some
     double - stranded polynucleotide molecules of the subject. 30 embodiments, the calling comprises any one of phylogenetic
        In some embodiments, the polynucleotide fragments com- analysis , voting, weighing, assigning a probability to each
     prise double - stranded polynucleotide molecules . In some read at the locus in a family and calling the base with the
     embodiments, in (a ) , the plurality of polynucleotide mol- highest probability .
     ecules couple to the polynucleotide fragments via blunt end     In some embodiments , the method further comprises
     ligation, sticky end ligation, molecular inversion probes, 35 performing ( d) - ( e ) at an additional genomic locus among the
     PCR , ligation -based PCR , multiplex PCR , single stranded genomic loci . In some embodiments, the method further
     ligation, and single stranded circularization . In some comprises determining a variation in copy number at one of
     embodiments, exposing the polynucleotide fragments of the the given genomic locus and additional genomic locus based
     nucleic acid sample to the plurality of polynucleotide mol- on counts at the given genomic locus and additional
     ecules yields the tagged polynucleotide fragments with a 40 genomic locus .
     conversion efficiency of at least 10 % . In some embodiments ,           In some embodiments, the grouping comprises classifying
     any of at least 5 % , 6 % , 7 % , 8 % , 9 % , 10% , 20 % , or 25 % of the plurality of sequence reads into families by identifying
     the tagged polynucleotide fragments share a common poly- (i ) different molecular barcodes coupled to the plurality of
     nucleotide molecule or sequence . In some embodiments , the polynucleotide molecules and (ii ) similarities between the
     method further comprises generating the polynucleotide 45 plurality of sequence reads, wherein each family includes a
     fragments from the nucleic acid sample.                            plurality of nucleic acid sequences that are associated with
       In some embodiments, the subjecting comprises ampli-             a different combination of molecular barcodes and similar or
     fying the tagged polynucleotide fragments from sequences           identical sequence reads. Different molecular barcodes have
     corresponding to genes selected from the group consisting of       different sequences.
     ALK , APC , BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , 50 In some embodiments , the consensus sequence is gener
     KRAS, MYC , NOTCHI , NRAS, PIK3CA , PTEN , RB1 , ated by evaluating a quantitative measure or a statistical
     TP53 , MET, AR , ABL1 , AKT1 , ATM , CDHI , CSF1R , significance level for each of the sequence reads. In some
     CTNNB1, ERBB4 , EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, embodiments , the quantitative measure comprises use of a
     GNA11, GNAQ, GNAS, HNF1A , HRAS, IDH1 , IDH2 , binomial distribution, exponential distribution , beta distri
     JAK2 , JAK3, KDR , KIT, MLH1 , MPL , NPM1 , PDGFRA , 55 bution , or empirical distribution . In some embodiments, the
     PROC , PTPN11 , RET, SMAD4, SMARCB1, SMO , SRC , method further comprises mapping the consensus sequence
     STK11 , VHL , TERT, CCND1 , CDK4 , CDKN2B , RAF1, to the target genome. In some embodiments, the plurality of
     BRCA1 , CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , genes includes at least 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , 40 ,
     CCNE1 , ESR1 , RIT ) , GATA3, MAP2K1, REHB , ROSI , 50 or all of the plurality of genes selected from the group .
     ARAF, MAP2K2, NFE2L2 , RHOA , and NTRK1 .            60   Another aspect of the present disclosure provides a
       In another aspect, a method comprises ( a ) generating           method , comprising ( a ) providing template polynucleotide
     plurality of sequence reads from a plurality of polynucle- molecules and a set of library adaptors in a single reaction
     otide molecules , wherein the plurality of polynucleotide vessel , wherein the library adaptors are polynucleotide mol
     molecules cover genomic loci of a target genome, wherein ecules that have different molecular barcodes (e.g. , from 2 to
     the genomic loci correspond to a plurality of genes selected 65 1,000 different molecular barcodes ), and wherein none of
     from the group consisting of ALK , APC , BRAF, CDKN2A , the library adaptors contains a complete sequencer motif; ( b )
     EGFR , ERBB2 , FBXW7 , KRAS , MYC , NOTCH1 , NRAS ,                in the single reaction vessel , coupling the library adaptors to
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     the template polynucleotide molecules at an efficiency of at group the plurality of sequence reads into families, wherein
     least 10 % , thereby tagging each template polynucleotide each family comprises sequence reads from one of the
     with a tagging combination that is among a plurality of template polynucleotides, (ii ) for each of the families, merge
     different tagging combinations ( e.g. , 4 to 1,000,000 different sequence reads to generate a consensus sequence , ( iii ) call
     tagging combinations ), to produce tagged polynucleotide 5 the consensus sequence at a given genomic locus among the
     molecules ; ( c ) subjecting the tagged polynucleotide mol- genomic loci , and (iv ) detect at the given genomic locus any
     ecules to an amplification reaction under conditions that of genetic variants among the calls , frequency of a genetic
     yield amplified polynucleotide molecules as amplification alteration among the calls , total number of calls ; and total
     products of the tagged polynucleotide molecules ; and (d) number of alterations among the calls , wherein the genomic
     sequencing the amplified polynucleotide molecules .             10 loci correspond to a plurality of genes selected from the
        In some embodiments , the template polynucleotide mol- group consisting of ALK , APC , BRAF, CDKN2A , EGFR ,
     ecules are blunt ended or sticky -ended . In some embodi- ERBB2 , FBXW7 , KRAS, MYC , NOTCHI , NRAS ,
     ments , the library adaptors are identical but for the molecu- PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
     lar barcodes. In some embodiments, each of the library ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     adaptors has a double stranded portion and at least one 15 FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, GNAS, HNF1A ,
     single - stranded portion . In some embodiments, the double- HRAS, IDH1 , IDH2 , JAK2 , JAK3, KDR , KIT, MLHI ,
     stranded portion has a molecular barcode among the MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4,
     molecular barcodes . In some embodiments, each of the SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
     library adaptors further comprises a strand - identification CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     barcode on the at least one single - stranded portion . In some 20 TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RIT1 , GATA3,
     embodiments , the single - stranded portion has a partial MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     sequencer motif. In some embodiments , the library adaptors RHOA , and NTRK1 .
     have a sequence of terminal nucleotides that are the same . In       In another aspect , a set of oligonucleotide molecules that
     some embodiments , the template polynucleotide molecules selectively hybridize to at least 5 genes selected from the
     are double - stranded . In some embodiments, the library adap- 25 group consisting of ALK , APC , BRAF, CDKN2A , EGFR ,
     tors couple to both ends of the template polynucleotide ERBB2 , FBXW7 , KRAS , MYC , NOTCHI , NRAS,
     molecules .                                                       PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
        In some embodiments, subjecting the tagged polynucle-          ATM , CDH1 , CSF1R , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     otide molecules to the amplification reaction comprises FGFR2 , FGFR3 , FLT3, GNA11, GNAQ , GNAS , HNF1A ,
     non - specifically amplifying the tagged polynucleotide mol- 30 HRAS, IDHI , IDH2 , JAK2 , JAK3, KDR , KIT, MLH1 ,
     ecules .                                                          MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4,
        In some embodiments, the amplification reaction com-           SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCNDI ,
     prises use of a priming site to amplify each of the tagged        CDK4 , CDKN         1 , BRCA1 , CCND2 , CDK6 , NF
     polynucleotide molecules . In some embodiments , the prim-        TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RITI , GATA3 ,
     ing site is a primer. In some embodiments, the primer is a 35 MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     universal primer. In some embodiments , the priming site is RHOA , and NTRK1 .
     a nick.                                                            In some embodiments , the oligonucleotide molecules are
        In some embodiments, the method further comprises, from 10-200 bases in length. In some embodiments, the
     prior to ( e) , (i ) separating polynucleotide molecules com- oligonucleotide molecules selectively hybridize to exon
     prising one or more given sequences from the amplified 40 regions of the at least 5 genes . In some embodiments, the
     polynucleotide molecules , to produce enriched polynucle- oligonucleotide molecules selectively hybridize to at least
     otide molecules ; and (ii ) amplifying the enriched polynucle- 30 exons in the at least 5 genes . In some embodiments ,
     otide molecules with sequencing adaptors.                        multiple oligonucleotide molecules selectively hybridize to
        In some embodiments, the efficiency is at least 30 % , 40 % , each of the at least 30 exons . In some embodiments, the
     or 50 % . In some embodiments, the method further com- 45 oligonucleotide molecules that hybridize to each exon have
     prises identifying genetic variants upon sequencing the sequences that overlap with at least 1 other oligonucleotide
     amplified polynucleotide molecules . In some embodiments , molecule .
     the sequencing comprises ( i ) subjecting the amplified poly-      In another aspect , a kit comprises a first container con
     nucleotide molecules to an additional amplification reaction taining a plurality of library adaptors each having a different
     under conditions that yield additional amplified polynucle- 50 molecular barcode ; and a second container containing a
     otide molecules as amplification products of the amplified plurality of sequencing adaptors , each sequencing adaptor
     polynucleotide molecules , and ( ii ) sequencing the additional comprising at least a portion of a sequencer motif and
     amplified polynucleotide molecules . In some embodiments, optionally a sample barcode . The library adaptors can be as
     the additional amplification is performed in the presence of described above or elsewhere herein .
     sequencing adaptors .                                          55   In some embodiments, the sequencing adaptor comprises
        In some embodiments, (b ) and ( c ) are performed without the sample barcode . In some embodiments, the library
     aliquoting the tagged polynucleotide molecules . In some adaptors are blunt ended and Y -shaped, and are less than or
     embodiments , the tagging is non - unique tagging.                equal to 80 nucleic acid bases in length . In some embodi
        Another aspect , provides a system for analyzing a target ments, the sequencing adaptor is up to 70 bases from end to
     nucleic acid molecule of a subject, comprising a communi- 60 end .
     cation interface that receives nucleic acid sequence reads for      In another aspect , a method for detecting sequence vari
     a plurality of polynucleotide molecules that cover genomic ants in a cell free DNA sample, comprising detecting rare
     loci of a target genome; computer memory that stores the DNA at a concentration less than 1 % with a specificity that
     nucleic acid sequence reads for the plurality of polynucle- is greater than 99.9 % .
     otide molecules received by the communication interface; 65 In another aspect , a method comprises detecting genetic
     and a computer processor operatively coupled to the com- variants in a sample comprising DNA with a detection limit
     munication interface and the memory and programmed to (i ) of at least 1 % and specificity greater than 99.9 % . In some
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     embodiments , the method further comprises converting               method comprising (a ) receiving into memory a set of
     cDNA ( e.g. cfDNA ) into adaptor tagged DNA with a con-             sequence reads of polynucleotides tagged with duplex tags ;
     version efficiency of at least 30% , 40 % , or 50 % and reducing    ( b ) reducing and / or tracking redundancy in the set of
     sequencing noise ( or distortion ) by eliminating false positive    sequence reads; ( c ) sorting sequence reads into paired reads
     sequence reads.                                                   5 and unpaired reads , wherein (i ) each paired read corresponds
         Another aspect provides a method , comprising ( a) pro- to sequence reads generated from aa first tagged strand and a
     viding a sample comprising a set of double - stranded poly- second differently tagged complementary strand derived
     nucleotide molecules , each double - stranded polynucleotide from aa double - stranded polynucleotide molecule in the set,
     molecule including first and second complementary strands; and (ii ) each unpaired read represents a first tagged strand
     (b ) tagging the double - stranded polynucleotide molecules 10 having no second differently tag complementary strand
     with a set of duplex tags , wherein each duplex tag differently derived from a double - stranded polynucleotide molecule
     tags the first and second complementary strands of a double- represented among the sequence reads in the set of sequence
     stranded polynucleotide molecule in the set; (c ) sequencing reads; ( d ) determining quantitative measures of (i ) the paired
     at least some of the tagged strands to produce a set of reads and ( ii ) the unpaired reads that map to each of one or
     sequence reads; ( d ) reducing and /or tracking redundancy in 15 more genetic loci ; and (e) estimating a quantitative measure
     the set of sequence reads; ( e) sorting sequence reads into of total double - stranded polynucleotide molecules in the set
     paired reads and unpaired reads, wherein ( i ) each paired read that map to each of the one or more genetic loci based on the
     corresponds to sequence reads generated from aa first tagged quantitative measure of paired reads and unpaired reads
     strand and aa second differently tagged complementary strand mapping to each locus .
     derived from aa double - stranded polynucleotide molecule in 20 Another aspect provides a method, comprising ( a) pro
     the set, and ( ii ) each unpaired read represents a first tagged viding a sample comprising a set of double - stranded poly
     strand having no second differently tag complementary nucleotide molecules , each double - stranded polynucleotide
     strand derived from a double - stranded polynucleotide mol- molecule including first and second complementary strands ;
     ecule represented among the sequence reads in the set of ( b ) tagging the double - stranded polynucleotide molecules
     sequence reads ; ( f) determining quantitative measures of ( i ) 25 with aa set of duplex tags , wherein each duplex tag differently
     the paired reads and ( ii ) the unpaired reads that map to each        tags the first and second complementary strands of a double
     of one or more genetic loci ; and ( g ) estimating with a              stranded polynucleotide molecule in the set ; (c ) sequencing
     programmed computer processor a quantitative measure of at least some of the tagged strands to produce a set of
     total double - stranded polynucleotide molecules in the set sequence reads ; ( d ) reducing and / or tracking redundancy in
     that map to each of the one or more genetic loci based on the 30 the set of sequence reads; ( e) sorting sequence reads into
     quantitative measure of paired reads and unpaired reads paired reads and unpaired reads, wherein (i ) each paired read
     mapping to each locus .                                          corresponds to sequence reads generated from a first tagged
        In some embodiments , the method further comprises ( h ) strand and aa second differently tagged complementary strand
     detecting copy number variation in the sample by determin- derived from a double -stranded polynucleotide molecule in
     ing a normalized total quantitative measure determined in 35 the set, and (ii) each unpaired read represents a first tagged
     step ( g) at each of the one or more genetic loci and strand having no second differently tag complementary
     determining copy number variation based on the normalized strand derived from a double - stranded polynucleotide mol
     measure . In some embodiments, the sample comprises ecule represented among the sequence reads in the set of
     double - stranded polynucleotide molecules sourced substan- sequence reads; and ( f) determining quantitative measures of
     tially from cell- free nucleic acids . In some embodiments , the 40 at least two of (i ) the paired reads, ( ii ) the unpaired reads that
     duplex tags are not sequencing adaptors.                            map to each of one or more genetic loci , (iii ) read depth of
        In some embodiments, reducing redundancy in the set of the paired reads and (iv ) read depth of unpaired reads .
     sequence reads comprises collapsing sequence reads pro-                In some embodiments, ( f) comprises determining quan
     duced from amplified products of an original polynucleotide titative measures of at least three of ( i ) - (iv ) . In some
     molecule in the sample back to the original polynucleotide 45 embodiments , ( f) comprises determining quantitative mea
     molecule . In some embodiments, the method further com- sures of all of (i ) - (iv) . In some embodiments , the method
     prises determining a consensus sequence for the original further comprises ( g) estimating with a programmed com
     polynucleotide molecule . In some embodiments, the method puter processor a quantitative measure of total double
     further comprises identifying polynucleotide molecules at stranded polynucleotide molecules in the set that map to
     one or more genetic loci comprising a sequence variant. In 50 each of the one or more genetic loci based on the quantita
     some embodiments, the method further comprises determin- tive measure of paired reads and unpaired reads and their
     ing a quantitative measure of paired reads that map to a read depths mapping to each locus .
     locus , wherein both strands of the pair comprise a sequence           In another aspect , a method comprises (a ) tagging control
     variant. In some embodiments, the method further comprises parent polynucleotides with a first tag set to produce tagged
     determining a quantitative measure of paired molecules in 55 control parent polynucleotides, wherein the first tag set
     which only one member of the pair bears a sequence variant comprises a plurality of tags , wherein each tag in the first tag
     and / or determining a quantitative measure of unpaired mol- set comprises a same control tag and an identifying tag , and
     ecules bearing a sequence variant. In some embodiments , wherein the tag set comprises a plurality of different iden
     the sequence variant is selected from the group consisting of       tifying tags ; ( b ) tagging test parent polynucleotides with a
     a single nucleotide variant, an indel , a transversion , a 60 second tag set to produce tagged test parent polynucleotides,
     translocation, an inversion, a deletion , a chromosomal struc- wherein the second tag set comprises a plurality of tags ,
     ture alteration , a gene fusion , a chromosome fusion, a gene wherein each tag in the second tag set comprises a same test
     truncation , a gene amplification, a gene duplication and a tag that is distinguishable from the control tag and an
     chromosomal lesion .                                                identifying tag , and wherein the second tag set comprises a
        Another aspect provides a system comprising a computer 65 plurality of different identifying tags ; ( c ) mixing tagged
     readable medium comprising machine - executable code that, control parent polynucleotides with tagged test parent poly
     upon execution by a computer processor, implements a nucleotides to form a pool ; (d) amplifying tagged parent
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     polynucleotides in the pool to form a pool of amplified, corresponds to sequence reads generated from aa first tagged
     tagged polynucleotides ; ( e ) sequencing amplified , tagged strand and a second differently tagged complementary strand
     polynucleotides in the amplified pool to produce a plurality derived from a double - stranded polynucleotide molecule in
     of sequence reads ; ( f) grouping sequence reads into families, the set , and ( ii ) each unpaired read represents a first tagged
     each family comprising sequence reads generated from a 5 strand having no second differently tag complementary
     same parent polynucleotide, which grouping is optionally strand derived from a double - stranded polynucleotide mol
     based on information from an identifying tag and from ecule represented among the sequence reads in the set of
     start / end sequences of the parent polynucleotides, and , sequence reads . In some embodiments , the method further
     optionally, determining a consensus sequence for each of a comprises determining quantitative measures of ( i ) the
     plurality of parent polynucleotides from the plurality of 10 paired reads and ( ii ) the unpaired reads that map to each of
     sequence reads in a group ; ( g ) classifying each family or one or more genetic loci to determine a quantitative measure
                                                                                                                  a

     consensus sequence as a control parent polynucleotide or as of total double - stranded DNA molecules in the sample that
     a test parent polynucleotide based on having a test tag or a map to each of the one or more genetic loci based on the
     control tag ; (h ) determining a quantitative measure of con- quantitative measure of paired reads and unpaired reads
     trol parent polynucleotides and control test polynucleotides 15 mapping to each locus .
     mapping to each of at least two genetic loci ; and (i )              In another aspect , a method for reducing distortion in a
     determining copy number variation in the test parent poly- sequencing assay, comprises (a ) tagging control parent poly
     nucleotides at at least one locus based on relative quantity of nucleotides with a first tag set to produce tagged control
     test parent polynucleotides and control parent polynucle- parent polynucleotides; ( b ) tagging test parent polynucle
     otides mapping to the at least one locus .                     20 otides with a second tag set to produce tagged test parent
        In another aspect , a method comprises (a ) generating a polynucleotides; ( c ) mixing tagged control parent poly
     plurality of sequence reads from a plurality of template nucleotides with tagged test parent polynucleotides to form
     polynucleotides , each polynucleotide mapped to a genomic a pool ; (d) determining quantities of tagged control parent
     locus ; (b ) grouping the sequence reads into families, each polynucleotides and tagged test parent polynucleotides; and
     family comprising sequence reads generated from one of the 25 (e ) using the quantities of tagged control parent polynucle
     template polynucleotides; ( c ) calling a base ( or sequence) at     otides to reduce distortion in the quantities of tagged test
     the genomic locus for each of the families; ( d) detecting at parent polynucleotides.
     the genomic locus any of genomic alterations among the               In some embodiments, the first tag set comprises a plu
     calls , frequency of a genetic alteration among the calls , total rality of tags , wherein each tag in the first tag set comprises
     number of calls and total number of alterations among the 30 a same control tag and an identifying tag , and wherein the
     calls .                                                           first tag set comprises a plurality of different identifying
        In some embodiments, calling comprises any of phylo- tags . In some embodiments , the second tag set comprises a
     genetic analysis, voting , weighing, assigning a probability to plurality of tags , wherein each tag in the second tag set
     each read at the locus in a family, and calling the base with comprises a same test tag and an identifying tag , wherein the
     the highest probability. In some embodiments, the method is 35 test tag is distinguishable from the control tag , and wherein
     performed at two loci , comprising determining CNV at one the second tag set comprises a plurality of different identi
     of the loci based on counts at each of the loci .                 fying tags . In some embodiments, (d) comprises amplifying
        Another aspect provides a method for determining a tagged parent polynucleotides in the pool to form a pool of
     quantitative measure indicative of aa number of individual amplified, tagged polynucleotides, and sequencing ampli
     double - stranded DNA fragments in a sample comprising (a ) 40 fied, tagged polynucleotides in the amplified pool to produce
     determining a quantitative measure of individual DNA mol- a plurality of sequence reads . In some embodiments, the
     ecules for which both strands are detected ; (b ) determining method further comprises grouping sequence reads into
     a quantitative measure of individual DNA molecules for families, each family comprising sequence reads generated
     which only one of the DNA strands are detected ; ( c ) infer- from a same parent polynucleotide, which grouping is
     ring from (a ) and ( b ) above a quantitative measure of 45 optionally based on information from an identifying tag and
     individual DNA molecules for which neither strand was from start/ end sequences of the parent polynucleotides, and ,
     detected ; and ( d ) using ( a ) - ( c ) determining the quantitative optionally, determining a consensus sequence for each of a
     measure indicative of a number of individual double                   plurality of parent polynucleotides from the plurality of
     stranded DNA fragments in the sample.                                 sequence reads in a group .
        In some embodiments , the method further comprises 50 In some embodiments, (d) comprises determining copy
     detecting copy number variation in the sample by determin- number variation in the test parent polynucleotides at greater
     ing a normalized quantitative measure determined in step (d) than or equal to one locus based on relative quantity of test
     at each of one or more genetic loci and determining copy parent polynucleotides and control parent polynucleotides
     number variation based on the normalized measure . In some mapping to the locus .
     embodiments, the sample comprises double - stranded poly- 55 Another aspect provides a method comprising ( a ) ligating
     nucleotide molecules sourced substantially from cell- free adaptors to double - stranded DNA polynucleotides, wherein
     nucleic acids .                                                       ligating is performed in a single reaction vessel , and wherein
        In some embodiments , determining the quantitative mea- the adaptors comprise molecular barcodes, to produce a
     sure of individual DNA molecules comprises tagging the tagged library comprising an insert from the double -stranded
     DNA molecules with a set of duplex tags , wherein each 60 DNA polynucleotides, and having between 4 and 1 million
     duplex tag differently tags complementary strands of a different tags ; (b ) generating a plurality of sequence reads
     double - stranded DNA molecule in the sample to provide for each of the double - stranded DNA polynucleotides in the
     tagged strands. In some embodiments, the method further tagged library ; (c ) grouping sequence reads into families,
     comprises sequencing at least some of the tagged strands to each family comprising sequence reads generated from a
     produce a set of sequence reads . In some embodiments, the 65 single DNA polynucleotide among the double - stranded
     method further comprises sorting sequence reads into paired DNA polynucleotides, based on information in a tag and
     reads and unpaired reads , wherein ( i ) each paired read            information at an end of the insert; and (d) calling bases at
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                                                         US 11,149,306 B2
                                  13                                                                    14
     each position in the double - stranded DNA molecule based       FIG . 1 is a flowchart representation of a method of the
     on bases at the position in members of a family. In some present disclosure for determining copy number variation
     embodiments , ( b ) comprises amplifying each of the double- ( CNV );
     stranded DNA polynucleotide molecules in the tagged             FIG . 2 depicts mapping of pairs and singlets to Locus A
     library to generate amplification products, and sequencing 5 and Locus B in a genome;
     the amplification products. In some embodiments, the            FIG . 3 shows a reference sequence encoding a genetic
     method further comprises sequencing the double - stranded Locus A;
     DNA polynucleotide molecules a plurality of times . In some     FIGS . 4A - C shows amplification , sequencing, redun
     embodiments, ( b ) comprises sequencing the entire insert. In dancy reduction and pairing of complementary molecules ;
     some embodiments, (c ) further comprises collapsing 10 FIG . 5 shows increased confidence in detecting sequence
     sequence reads in each family to generate a consensus variants by pairing reads from Watson and Crick strands;
     sequence. In some embodiments, ( d) comprises calling a         FIG . 6 shows a computer system that is programmed or
     plurality of sequential bases from least a subset of the otherwise configured to implement various methods of the
     sequence reads to identify single nucleotide variations 15 present disclosure;
     ( SNV ) in the double - stranded DNA molecule .                 FIG . 7 is schematic representation of a system for ana
        Another aspect provides a method of detecting disease lyzing a sample comprising nucleic acids from a user,
     cell heterogeneity from a sample comprising polynucle- including a sequencer; bioinformatic software and internet
     otides from somatic cells and disease cells . The method connection for report analysis by, for example , a hand held
     comprises quantifying polynucleotides in the sample bear- device or a desk top computer;
     ing a nucleotide sequence variant at each of a plurality of 20 FIG . 8 is a flowchart representation of a method of this
     genetic loci ; determining copy number variation ( CNV ) at invention for determining CNV using pooled test and con
     each of the plurality of genetic loci , wherein the CNV trol pools ; and
     indicates a genetic dose of a locus in the disease cell         FIGS . 9A - 9C schematically illustrate a method for tag
     polynucleotides; determining with a programmed computer ging a polynucleotide molecule with a library adaptor and
     processor a relative measure of quantity of polynucleotides 25 subsequently a sequencing adaptor.
     bearing a sequence variant at a locus per the genetic dose at                 DETAILED DESCRIPTION
    the locus for each of a plurality of the loci ; and comparing
    the relative measures at each of the plurality of loci , wherein       While various embodiments of the invention have been
    different relative measures is indicative of tumor heteroge
    neity.                                                           30 shown and described herein , it will be obvious to those
         In another aspect , a method comprises subjecting a sub skilled in the art that such embodiments are provided by way
    ject to one or more pulsed therapy cycles , each pulsed of example only. Numerous variations, changes , and substi
    therapy cycle comprising (a ) a first period during which a tutions may occur to those skilled in the art without depart
    drug is administered at a first amount; and (b ) a second ing from the invention . It should be understood that various
    period during which the drug is administered at a second, 35 alternatives to the embodiments of the invention described
    reduced amount, wherein ( i ) the first period is characterized herein may be employed .
    by a tumor burden detected above a first clinical level ; and          The term “ genetic variant,” as used herein , generally
    ( ii ) the second period is characterized by a tumor burden refers to an alteration , variant or polymorphism in a nucleic
    detected below a second clinical level.                             acid sample or genome of a subject. Such alteration , variant
         Additional aspects and advantages of the present disclo- 40 or polymorphism can be with respect to a reference genome,
    sure will become readily apparent to those skilled in this art which may be a reference genome of the subject or other
    from the following detailed description , wherein only illus individual. Single nucleotide polymorphisms ( SNPs ) are a
    trative embodiments of the present disclosure are shown and form of polymorphisms. In some examples, one or more
    described . As will be realized , the present disclosure is polymorphisms comprise one or more single nucleotide
    capable of other and different embodiments, and its several 45 variations ( SNVs ), insertions, deletions , repeats, small inser
    details are capable of modifications in various obvious tions , small deletions, small repeats, structural variant junc
    respects , all without departing from the disclosure . Accord- tions , variable length tandem repeats, and / or flanking
    ingly, the drawings and description are to be regarded as sequences. Copy number variants (CNVs), transversions
    illustrative in nature , and not as restrictive .                   and other rearrangements are also forms of genetic variation .
                                                                     50 A genomic alternation may be a base change, insertion,
                 INCORPORATION BY REFERENCE                             deletion , repeat, copy number variation , or transversion.
                                                                           The term “ polynucleotide , ” as used herein , generally
         All publications , patents, and patent applications men- refers to a molecule comprising one or more nucleic acid
    tioned in this specification are herein incorporated by ref- subunits . A polynucleotide can include one or more subunits
    erence to the same extent as if each individual publication, 55 selected from adenosine ( A ), cytosine (C) , guanine (G) ,
    patent, or patent application was specifically and individu- thymine (T ) and uracil ( U ), or variants thereof. A nucleotide
    ally indicated to be incorporated by reference.                     can include A , C , G , T or U , or variants thereof. A nucleotide
                                                                        can include any subunit that can be incorporated into a
             BRIEF DESCRIPTION OF THE DRAWINGS                          growing nucleic acid strand. Such subunit can be an A , C , G ,
                                                                      60 T, or U , or any other subunit that is specific to one or more
       The novel features of the invention are set forth with            complementary A , C , G , T or U , or complementary to a
     particularity in the appended claims . A better understanding purine (i.e. , A or G , or variant thereof) or a pyrimidine (i.e. ,
     of the features and advantages of the present invention will C , T or U , or variant thereof). A subunit can enable indi
     be obtained by reference to the following detailed descrip- vidual nucleic acid bases or groups of bases ( e.g. , AA , TA ,
     tion that sets forth illustrative embodiments , in which the 65 AT, GC , CG , CT, TC , GT, TG , AC , CA , or uracil -counter
     principles of the invention are utilized, and the accompany- parts thereof) to be resolved . In some examples, a poly
     ing drawings (also “ figure” and “ FIG . ” herein ), of which : nucleotide is deoxyribonucleic acid ( DNA ) or ribonucleic
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                                     15                                                                        16
     acid ( RNA ), or derivatives thereof. A polynucleotide can be example, the amount “ at least 10 ” can include the value 10
     single - stranded or double stranded .                                and any numerical value above 10 , such as 11 , 100 , and
         The term “ subject," as used herein , generally refers to an 1,000 .
     animal, such as a mammalian species ( e.g. , human ) or avian            The term “ at most ” and its grammatical equivalents in
     ( e.g. , bird ) species , or other organism , such as a plant. More 5 relation to a reference numerical value can include the
     specifically, the subject can be a vertebrate , a mammal, a              reference numerical value and less than that value . For
     mouse , a primate , a simian or a human . Animals include , but          example, the amount “ at most 10 ” can include the value 10
     are not limited to , farm animals, sport animals, and pets . A           and any numerical value under 10 , such as 9 , 8 , 5 , 1 , 0.5 , and
     subject can be a healthy individual, an individual that has or 0.1 .
     is suspected of having a disease or a pre -disposition to the 10 1. Methods for Processing and / or Analyzing a Nucleic
     disease , or an individual that is in need of therapy or                 Acid Sample
     suspected of needing therapy. A subject can be a patient.                  An aspect of the present disclosure provides methods for
         The term “ genome ” generally refers to an entirety of an determining a genomic alternation in a nucleic acid sample
     organism's hereditary information . A genome can be of a subject. FIG . 1 shows a method of determining copy
     encoded either in DNA or in RNA . A genome can comprise 15 number variation (CNV ). The method can be implemented
     coding regions that code for proteins as well as non -coding to determine other genomic alternations, such as SNVs.
     regions . A genome can include the sequence of all chromo-                        A. Polynucleotide Isolation
     somes together in an organism . For example, the human                            Methods disclosed herein can comprise isolating one or
     genome has a total of 46 chromosomes. The sequence of all more polynucleotides. A polynucleotide can comprise any
     of these together constitutes a human genome.                               20 type of nucleic acid , for example, a sequence of genomic
         The terms “ adaptor (s ) ", " adapter ( s ) ” and “ tag ( s ) ” are used nucleic acid , or an artificial sequence ( e.g. , a sequence not
     synonymously throughout this specification. An adaptor or found in genomic nucleic acid) . For example, an artificial
     tag can be coupled to a polynucleotide sequence to be sequence can contain non -natural nucleotides . Also , a poly
     " tagged " by any approach including ligation , hybridization , nucleotide can comprise both genomic nucleic acid and an
     or other approaches .                                                       25 artificial sequence , in any portion . For example, a polynucle
         The term " library adaptor " or " library adapter " as used otide can comprise 1 to 99 % of genomic nucleic acid and
     herein , generally refers to a molecule (e.g. , polynucleotide) 99 % to 1 % of artificial sequence, where the total adds up to
     whose identity ( e.g. , sequence ) can be used to differentiate 100 % . Thus, fractions of percentages are also contemplated.
     polynucleotides in a biological sample ( also " sample " For example, a ratio of 99.1 % to 0.9 % is contemplated.
     herein ).                                                                   30    A polynucleotide can comprise any type of nucleic acids ,
         The term “ sequencing adaptor, ” as used herein , generally such as DNA and / or RNA . For example, if a polynucleotide
     refers to a molecule ( e.g. , polynucleotide) that is adapted to is DNA , it can be genomic DNA , complementary DNA
     permit a sequencing instrument to sequence a target poly- ( cDNA ), or any other deoxyribonucleic acid . A polynucle
     nucleotide, such as by interacting with the target polynucle- otide can also be cell- free DNA ( cfDNA ). For example, the
     otide to enable sequencing. The sequencing adaptor permits 35 polynucleotide can be circulating DNA . The circulating
     the target polynucleotide to be sequenced by the sequencing DNA can comprise circulating tumor DNA ( ctDNA ). A
     instrument. In an example, the sequencing adaptor com- polynucleotide can be double - stranded or single - stranded.
     prises a nucleotide sequence that hybridizes or binds to a Alternatively, a polynucleotide can comprise a combination
     capture polynucleotide attached to a solid support of a of aa double - stranded portion and a single - stranded portion .
     sequencing system , such as a flow cell . In another example, 40 Polynucleotides do not have to be cell- free . In some cases ,
     the sequencing adaptor comprises a nucleotide sequence that the polynucleotides can be isolated from a sample . For
     hybridizes or binds to a polynucleotide to generate a hairpin example , in step ( 102 ) ( FIG . 1 ) , double - stranded polynucle
     loop , which permits the target polynucleotide to be otides are isolated from a sample. A sample can be any
     sequenced by a sequencing system . The sequencing adaptor biological sample isolated from a subject. For example, a
     can include a sequencer motif, which can be a nucleotide 45 sample can comprise, without limitation, bodily fluid , whole
      sequence that is complementary to a flow cell sequence of blood , platelets , serum , plasma , stool , red blood cells , white
     other molecule ( e.g. , polynucleotide ) and usable by the blood cells or leucocytes, endothelial cells , tissue biopsies ,
     sequencing system to sequence the target polynucleotide.                 synovial fluid, lymphatic fluid, ascites fluid , interstitial or
     The sequencer motif can also include a primer sequence for               extracellular fluid , the fluid in spaces between cells , includ
     use in sequencing, such as sequencing by synthesis. The 50 ing gingival crevicular fluid , bone marrow , cerebrospinal
     sequencer motif can include the sequence ( s) needed to fluid , saliva , mucous, sputum , semen , sweat , urine, or any
     couple a library adaptor to a sequencing system and other bodily fluids. A bodily fluid can include saliva , blood ,
     sequence the target polynucleotide.                                     or serum . For example, a polynucleotide can be cell - free
        As used herein the terms at least” , “ at most” or “ about ” , DNA isolated from a bodily fluid , e.g. , blood or serum . A
     when preceding a series, refers to each member of the series, 55 sample can also be a tumor sample , which can be obtained
     unless otherwise identified .                                           from a subject by various approaches, including , but not
        The term " about" and its grammatical equivalents in limited to , venipuncture, excretion, ejaculation, massage ,
     relation to a reference numerical value can include a range biopsy, needle aspirate, lavage , scraping, surgical incision,
     of values up to plus or minus 10% from that value . For or intervention or other approaches.
     example , the amount “ about 10 ” can include amounts from 60 A sample can comprise various amount of nucleic acid
     9 to 11. In other embodiments, the term “ about” in relation that contains genome equivalents. For example , a sample of
     to a reference numerical value can include a range of values about 30 ng DNA can contain about 10,000 ( 104 ) haploid
     plus or minus 10 % , 9 % , 8 % , 7 % , 6 % , 5 % , 4 % , 3 % , 2 % , or human genome equivalents and, in the case of cfDNA , about
     1 % from that value .                                                   200 billion (2x101 ) individual polynucleotide molecules .
        The term “ at least ” and its grammatical equivalents in 65 Similarly, a sample of about 100 ng of DNA can contain
     relation to a reference numerical value can include the                  about 30,000 haploid human genome equivalents and , in the
     reference numerical value and greater than that value . For              case of cfDNA , about 600 billion individual molecules .
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        A sample can comprise nucleic acids from different Efficiency can also be optimized by varying the addition
     sources . For example, a sample can comprise germline DNA           order of various components of the reaction . The end of tag
     or somatic DNA . A sample can comprise nucleic acids sequence can comprise dinucleotide to increase ligation
     carrying mutations. For example, a sample can comprise efficiency . When the tag comprises a non -complementary
     DNA carrying germline mutations and / orsomatic mutations. 5 portion ( e.g. , Y - shaped adaptor ), the sequence on the
     A sample can also comprise DNA carrying cancer-associ- complementary portion of the tag adaptor can comprise one
     ated mutations (e.g. , cancer - associated somatic mutations). or more selected sequences that promote ligation efficiency.
        B. Tagging                                                       Preferably such sequences are located at the terminal end of
        Polynucleotides disclosed herein can be tagged . For the tag . Such sequences can comprise 1 , 2 , 3 , 4 , 5 , or 6                       3

     example , in step ( 104 ) (FIG . 1 ) the double - stranded poly- 10 terminal bases . Reaction solution with high viscosity (e.g. , a
     nucleotides are tagged with duplex tags , tags that differently low Reynolds number ) can also be used to increase ligation
     label the complementary strands ( i.e. , the “ Watson” and efficiency. For example, solution can have a Reynolds num
     “ Crick ” strands ) of a double - stranded molecule . In one                 ber less than 3000 , less than 2000 , less than 1000 , less than
     embodiment the duplex tags are polynucleotides having                        900 , less than 800 , less than 700 , less than 600 , less than
     complementary and non -complementary portions.                            15 500 , less than 400 , less than 300 , less than 200 , less than
        Tags can be any types of molecules attached to a poly- 100 , less than 50 , less than 25 , or less than 10. It is also
     nucleotide , including , but not limited to , nucleic acids , contemplated that roughly unified distribution of fragments
     chemical compounds, florescent probes , or radioactive (e.g. , tight standard deviation ) can be used to increase
     probes. Tags can also be oligonucleotides (e.g. , DNA or ligation efficiency. For example, the variation in fragment
     RNA ). Tags can comprise known sequences , unknown 20 sizes can vary by less than 20% , less than 15 % , less than
     sequences , or both . A tag can comprise random sequences , 10% , less than 5 % , or less than 1 % . Tagging can also
     pre -determined sequences, or both . A tag can be double- comprise primer extension , for example , by polymerase
     stranded or single -stranded . A double - stranded tag can be a chain reaction ( PCR) . Tagging can also comprise any of
     duplex tag . A double - stranded tag can comprise two comple- ligation- based PCR , multiplex PCR , single strand ligation ,
     mentary strands . Alternatively, a double - stranded tag can 25 or single strand circularization .
     comprise a hybridized portion and a non -hybridized portion .     In some instances , the tags herein comprise molecular
     The double - stranded tag can be Y -shaped, e.g. , the hybrid-               barcodes . Such molecular barcodes can be used to differen
     ized portion is at one end of the tag and the non -hybridized tiate polynucleotides in a sample. Preferably molecular
     portion is at the opposite end of the tag . One such example barcodes are different from one another. For example,
     are the “ Y adapters ” used in Illumina sequencing. Other 30 molecular barcodes can have aa difference between them that
     examples include hairpin shaped adapters or bubble shaped can be characterized by a predetermined edit distance or a
     adapters. Bubble shaped adapters have non -complementary Hamming distance . In some instances, the molecular bar
     sequences flanked on both sides by complementary codes herein have a minimum edit distance of 1 , 2 , 3 , 4 , 5 ,                             9

     sequences.                                                                6 , 7 , 8 , 9 , or 10. To further improve efficiency of conversion
        Tagging disclosed herein can be performed using any 35 (e.g. , tagging ) of untagged molecular to tagged molecules ,
     method . A polynucleotide can be tagged with an adaptor by one preferably utilizes short tags . For example, in some
     hybridization. For example, the adaptor can have a nucleo- embodiments, a library adapter tag can be up to 65 , 60 , 55 ,
     tide sequence that is complementary to at least a portion of 50 , 45 , 40 , or 35 nucleotide bases in length . A collection of
     a sequence of the polynucleotide. As an alternative, a such short library barcodes preferably includes a number of
     polynucleotide can be tagged with an adaptor by ligation . 40 different molecular barcodes , e.g. , at least 2 , 4 , 6 , 8 , 10 , 12 ,
        For example, tagging can comprise using one or more 14 , 16 , 18 or 20 different barcodes with a minimum edit
     enzymes . The enzyme can be a ligase . The ligase can be a distance of 1 , 2 , 3 or more.
     DNA ligase . For example, the DNA ligase can be aa T4 DNA                     Thus, a collection of molecules can include one or more
     ligase , E. coli DNA ligase , and / or mammalian ligase . The tags . In some instances, some molecules in a collection can
     mammalian ligase can be DNA ligase I , DNA ligase III , or 45 include an identifying tag ( “ identifier” ) such as a molecular
     DNA ligase IV . The ligase can also be a thermostable ligase . barcode that is not shared by any other molecule in the
     Tags can be ligated to a blunt - end of a polynucleotide collection . For example, in some instances of a collection of
     ( blunt - end ligation) . Alternatively, tags can be ligated to a molecules , at least 50 % , at least 51 % , at least 52 % , at least
     sticky end of a polynucleotide ( sticky - end ligation ). Effi- 53 % , at least 54 % , at least 55 % , at least 56 % , at least 57 % ,
     ciency of ligation can be increased by optimizing various 50 at least 58 % , at least 59 % , at least 60 % , at least 61 % , at least
     conditions . Efficiency of ligation can be increased by opti- 62 % , at least 63 % , at least 64 % , at least 65 % , at least 66 % ,
     mizing the reaction time of ligation. For example, the at least 67 % , at least 68 % , at least 69 % , at least 70% , at least
     reaction time of ligation can be less than 12 hours, e.g. , less 71 % , at least 72 % , at least 73 % , at least 74 % , at least 75 % ,
     than 1 , less than 2 , less than 3 , less than 4 , less than 5 , less at least 76 % , at least 77 % , at least 78 % , at least 79 % , at least
                                         2

     than 6 , less than 7 , less than 8 , less than 9 , less than 10 , less 55 80% , at least 81 % , at least 82 % , at least 83 % , at least 84 % ,
     than 11 , less than 12 , less than 13 , less than 14 , less than 15 ,
             2                                                                    at least 85 % , at least 86 % , at least 87 % , at least 88 % , at least
     less than 16 , less than 17 , less than 18 , less than 19 , or less
                                                  2                               89 % , at least 90% , at least 91 % , at least 92 % , at least 93 % ,
     than 20 hours. In a particular example, reaction time of                     at least 94 % , at least 95 % , at least 96 % , at least 97 % , at least
     ligation is less than 20 hours . Efficiency of ligation can be               98 % , at least 99 % , or 100 % of the molecules in the collec
     increased by optimizing the ligase concentration in the 60 tion an include an identifier or molecular barcode that is not
     reaction . For example, the ligase concentration can be at shared by any other molecule in the collection . As used
     least 10 , at least 50 , at least 100 , at least 150 , at least 200 ,        herein , a collection of molecules is considered to be
     at least 250 , at least 300 , at least 400 , at least 500 , or at least      “ uniquely tagged ” if each of at least 95 % of the molecules
     600 unit/microliter. Efficiency can also be optimized by in the collection bears an identifier that is not shared by any
     adding or varying the concentration of an enzyme suitable 65 other molecule in the collection (“ unique tag ” or “ unique
     for ligation, enzyme cofactors or other additives , and / or identifier " ). A collection of molecules is considered to be
     optimizing a temperature of a solution having the enzyme. " non -uniquely tagged ” if each of at least 1 % , at least 5 % , at
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     least 10% , at least 15 % , at least 20% , at least 25 % , at least         cancer, cutaneous T - cell lymphoma, ductal carcinoma in
     30 % , at least 35 % , at least 40 % , at least 45 % , or at least or       situ , endometrial cancer , esophageal cancer, Ewing Sar
     about 50 % of the molecules in the collection bears an                      coma , eye cancer, intraocular melanoma, retinoblastoma ,
     identifying tag or molecular barcode that is shared by at least fibrous histiocytoma , gallbladder cancer, gastric cancer,
     one other molecule in the collection ( “ non -unique tag ” or 5 glioma , hairy cell leukemia, head and neck cancer, heart
     “ non -unique identifier” ). Accordingly, in a non -uniquely cancer, hepatocellular (liver) cancer, Hodgkin lymphoma,
     tagged population no more than 1 % of the molecules are hypopharyngeal cancer, kidney cancer, laryngeal cancer , lip
     uniquely tagged . For example, in a non -uniquely tagged cancer, oral cavity cancer, lung cancer, non - small cell car
     population , no more than 1 % , 5 % , 10 % , 15 % , 20% , 25 % , cinoma , small cell carcinoma, melanoma, mouth cancer,
     30 % , 35 % , 40 % , 45 % , or 50 % of the molecules can be 10 myelodysplastic syndromes, multiple myeloma, medullo
     uniquely tagged .                                                      blastoma , nasal cavity cancer , paranasal sinus cancer, neu
        A number of different tags can be used based on the roblastoma, nasopharyngeal cancer , oral cancer, oropharyn
     estimated number of molecules in a sample. In some tagging geal cancer, osteosarcoma, ovarian cancer, pancreatic
     methods, the number of different tags can be at least the cancer, papillomatosis, paraganglioma, parathyroid cancer,
     same as the estimated number ofmolecules in the sample. In 15 penile cancer, pharyngeal cancer, pituitary tumor, plasma
     other tagging methods, the number of different tags can be cell neoplasm , prostate cancer, rectal cancer , renal cell
     at least two , three, four, five, six , seven , eight, nine, ten , one cancer, rhabdomyosarcoma, salivary gland cancer, Sezary
     hundred or one thousand times as many as the estimated syndrome, skin cancer, nonmelanoma, small intestine can
     number of molecules in the sample . In unique tagging , at cer, soft tissue sarcoma, squamous cell carcinoma, testicular
     least two times (or more ) as many different tags can be used 20 cancer , throat cancer, thymoma, thyroid cancer , urethral
     as the estimated number of molecules in the sample .                   cancer, uterine cancer, uterine sarcoma, vaginal cancer,
        The molecules in the sample may be non -uniquely tagged . vulvar cancer , Waldenstrom macroglobulinemia , and / or
     In such instances a fewer number of tags or molecular                        Wilms Tumor.
     barcodes is used then the number of molecules in the sample            In certain embodiments, a population of polynucleotides
     to be tagged . For example, no more than 100 , 50 , 40 , 30 , 20 25 in a sample of fragmented genomic DNA is tagged with n
     or 10 unique tags or molecular barcodes are used to tag a different unique identifiers , wherein n is at least 2 and no
     complex sample such as a cell free DNA sample with many more than 100,000 * z , wherein z is a measure of central
     more different fragments.                                           tendency (e.g. , mean , median, mode ) of an expected number
        The polynucleotide to be tagged can be fragmented , such of duplicate molecules having the same start and stop
     as either naturally or using other approaches, such as , for 30 positions . In certain embodiments, n is at least any of 2 * z ,
                                                                                                                          2

     example, shearing. The polynucleotides can be fragmented 3 * z , 4 * z , 5 * z , 6 * 2 , 7 * z , 8 * z , 9 * z , 10 * z , 11 * z , 12 * z , 13 * z ,
     by certain methods, including but not limited to , mechanical 14 * z , 15 * 2 , 16 * z , 17 * z , 18 * z , 19 * z , or 20 * z ( e.g. , lower
     shearing, passing the sample through a syringe , sonication , limit ) . In other embodiments, n is no greater than 100,000 * Z ,
     heat treatment (e.g. , for 30 minutes at 90 ° C. ) , and / or 10,000 * z , 1000 * z or 100 * z ( e.g. , upper limit) . Thus, n can
     nuclease treatment (e.g. , using DNase , RNase, endonu- 35 range between any combination of these lower and upper
     clease , exonuclease , and / or restriction enzyme ).               limits . In certain embodiments, n is between 5 * z and 15 * Z ,
        The polynucleotides fragments ( prior to tagging ) can between 8 * z and 12 * z , or about 10 * z . A haploid human
     comprise sequences of any length . For example, polynucle- genome equivalent has about 3 picograms of DNA . A
     otide fragments (prior to tagging ) can comprise at least 50 ,               sample of about 1 microgram of DNA contains about
     55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 , 105 , 110 , 115 , 120 , 40 300,000 haploid human genome equivalents. Improvements
     125 , 130 , 135 , 140 , 145 , 150 , 155 , 160 , 165 , 170 , 175 , 180 , in sequencing can be achieved as long as at least some of the
     185 , 190 , 195 , 200 , 205 , 210 , 215 , 220 , 225 , 230 , 235 , 240 , duplicate or cognate polynucleotides bear unique identifiers
     245 , 250 , 255 , 260 , 265 , 270 , 275 , 280 , 285 , 290 , 295 , 300 , with respect to each other, that is bear different tags . How
     400 , 500 , 600 , 700 , 800 , 900 , 1000 , 1100 , 1200 , 1300 , 1400 , ever, in certain embodiments, the number of tags used is
                     2

     1500 , 1600 , 1700 , 1800 , 1900 , 2000 or more nucleotides in 45 selected so that there is at least a 95 % chance that all
     length . The polynucleotide fragment are preferably about duplicate molecules starting at any one position bear unique
     the average length of cell- free DNA . For example, the identifiers . For example, in a sample comprising about
     polynucleotide fragments can comprise about 160 bases in 10,000 haploid human genome equivalents of fragmented
     length . The polynucleotide fragment can also be fragmented genomic DNA , e.g. , cfDNA , z is expected to be between 2
     from a larger fragment into smaller fragments about 160 50 and 8. Such a population can be tagged with between about
     bases in length .                                           10 and 100 different identifiers, for example, about 2 iden
        Polynucleotides tagged can comprise sequences associ- tifiers, about 4 identifiers , about 9 identifiers, about 16
     ated with cancer . The cancer -associated sequences can com- identifiers , about 25 identifiers, about 36 different identifiers ,
     prise single nucleotide variation ( SNV ), copy number varia- about 49 different identifiers, about 64 different identifiers,
     tion (CNV ), insertions, deletions, and / or rearrangements. 55 about 81 different identifiers, about 100 different identifiers .
       The polynucleotides can comprise sequences associated         Nucleic acid barcodes having identifiable sequences
     with cancer , such as acute lymphoblastic leukemia (ALL ) , including molecular barcodes, can be used for tagging . For
     acute myeloid leukemia ( AML ), adrenocortical carcinoma, example, a plurality of DNA barcodes can comprise various
     Kaposi Sarcoma, anal cancer, basal cell carcinoma, bile duct numbers of sequences of nucleotides. A plurality of DNA
     cancer, bladder cancer, bone cancer, osteosarcoma, malig- 60 barcodes having 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 ,
     nant fibrous histiocytoma , brain stem glioma , brain cancer, 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 or
                                                                                                                     9                 2

     craniopharyngioma, ependymoblastoma, ependymoma, more identifiable sequences of nucleotides can be used .
     medulloblastoma, medulloeptithelioma, pineal parenchymal When attached to only one end of a polynucleotide, the
     tumor, breast cancer, bronchial tumor, Burkitt lymphoma, plurality of DNA barcodes can produce 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 ,
     Non -Hodgkin lymphoma, carcinoid tumor, cervical cancer, 65 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 ,
     chordoma, chronic lymphocytic leukemia (CLL ) , chronic 26 , 27 , 28 , 29 , 30 or more different identifiers. Alternatively,
     myelogenous leukemia (CML ) , colon cancer, colorectal when attached to both ends of a polynucleotide, the plurality
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     DNA barcodes can produce 4 , 9 , 16 , 25 , 36 , 49 , 64 , 81 , 100 ,    The systems and methods disclosed herein may be used in
     121 , 144 , 169 , 196 , 225 , 256 , 289 , 324 , 361 , 400 or more applications that involve the assignment of molecular bar
     different identifiers ( which is the ^ 2 of when the DNA codes . The molecular barcodes can be assigned to any types
     barcode is attached to only 1 end of a polynucleotide ). In one of polynucleotides disclosed in this invention . For example,
     example, a plurality of DNA barcodes having 6 , 7 , 8 , 9 or 10 5 the molecular barcodes can be assigned to cell- free poly
     identifiable sequences of nucleotides can be used . When nucleotides ( e.g. , cfDNAs). Often , an identifier disclosed
     attached to both ends of a polynucleotide, they produce 36 ,
     49 , 64 , 81 or 100 possible different identifiers, respectively. herein
                                                                          the
                                                                                 can be a barcode oligonucleotide that is used to tag
                                                                              polynucleotide. The barcode identifier may be aa nucleic
     In a particular example, the plurality of DNA barcodes can acid oligonucleotide
     comprise 8 identifiable sequences of nucleotides . When 10 barcode identifier can (bee.g.single, a DNA oligonucleotide ). The
                                                                                                         -stranded . Alternatively, the
     attached to only one end of a polynucleotide, the plurality of barcode identifier can be double         -stranded . The barcode
     DNA barcodes can produce 8 different identifiers. Alterna identifier can be attached to polynucleotides
     tively, when attached to both ends of a polynucleotide, the method disclosed herein . For example, the barcodeusing            any
                                                                                                                              identifier
     plurality of DNA barcodes can produce 64 different identi can be attached to the polynucleotide by ligation using an
     fiers. Samples tagged in such a way can be those with a 15
     range of about 10 ng to any of about 100 ng , about 1 ug , enzyme. The barcode identifier can also be incorporated into
     about 10 ug of fragmented polynucleotides, e.g. , genomic                    the polynucleotide through PCR . In other cases , the reaction
     DNA, e.g. , cfDNA .                                           may comprise addition of a metal isotope , either directly to
       A polynucleotide can be uniquely identified in various the analyte or by a probe labeled with the isotope . Generally,
     ways . A polynucleotide can be uniquely identified by a 20 assignment of unique or non -unique identifiers or molecular
     unique DNA barcode . For example, any two polynucleotides barcodes in reactions of this disclosure may follow methods
     in a sample are attached two different DNA barcodes . and systems described by, for example, U.S. patent appli
     Alternatively, a polynucleotide can be uniquely identified by cations 2001/0053519 , 2003/0152490 , 2011/0160078 and
     the combination of a DNA barcode and one or more endog- U.S. Pat. No. 6,582,908 , each of which is entirely incorpo
     enous sequences of the polynucleotide. For example, any 25 rated herein by reference.
     two polynucleotides in a sample can be attached the same                        Identifiers or molecular barcodes used herein may be
     DNA barcode, but the two polynucleotides can still be                        completely endogenous whereby circular ligation of indi
     identified by different endogenous sequences . The endog                     vidual fragments may be performed followed by random
     enous sequence can be on an end of a polynucleotide. For       shearing or targeted amplification. In this case , the combi
     example , the endogenous  sequence can be adjacent ( e.g.
     base in between ) to the attached DNA barcode . In some
                                                               , 30 nation of a new start and stop point of the molecule and the
     instances the endogenous sequence can be at least 2 , 4 , 6 , 8 , original         identifier
                                                                                                  intramolecular ligation point can form a specific
                                                                                                  .
     10 , 20 , 30 , 40 , 50 , 60 , 70 , 80 , 90 , or 100 bases in length.                  Identifiers or molecular barcodes used herein can com
     Preferably , the endogenous sequence is aa terminal sequence prise
     of the fragment/polynucleotides to be analyzed . The endog- 35 fiers any                  may
                                                                                                    types of oligonucleotides . In some cases , identi
                                                                                                      be predetermined, random , or semi- random
     enous sequence may be the length of the sequence. For
     example , a plurality of DNA barcodes comprising 8 different sequence oligonucleotides . Identifiers can be barcodes. For
     DNA barcodes can be attached to both ends of each poly- example, a plurality of barcodes may be used such that
     nucleotide in a sample. Each polynucleotide in the sample barcodes are not necessarily unique to one another in the
     can be identified by the combination of the DNA barcodes 40 plurality . Alternatively, a plurality of barcodes may be used
     and about 10 base pair endogenous sequence on an end of such that each barcode is unique to any other barcode in the
     the polynucleotide. Without being bound by theory, the plurality. The barcodes can comprise specific sequences
     endogenous sequence of a polynucleotide can also be the (e.g. , predetermined sequences) that can be individually
     entire polynucleotide sequence.                                                    tracked . Further, barcodes may be attached ( e.g. , by ligation )
        Also disclosed herein are compositions of tagged poly- 45 to individual molecules such that the combination of the
     nucleotides. The tagged polynucleotide can be single- barcode and the sequence it may be ligated to creates a
     stranded . Alternatively , the tagged polynucleotide can be specific sequence that may be individually tracked . As
     double -stranded ( e.g. , duplex -tagged polynucleotides ). described herein , detection of barcodes in combination with
     Accordingly, this invention also provides compositions of sequence data of beginning ( start) and / or end ( stop ) portions
     duplex -tagged polynucleotides. The polynucleotides can 50 of sequence reads can allow assignment of a unique identity
     comprise any types of nucleic acids (DNA and / or RNA ). to a particular molecule . The length or number of base pairs
     The polynucleotides comprise any types of DNA disclosed of an individual sequence read may also be used to assign a
     herein . For example, the polynucleotides can comprise unique identity to such a molecule . As described herein ,
     DNA , e.g. , fragmented DNA or cfDNA . A set of polynucle- fragments from a single strand of nucleic acid having been
     otides in the composition that map to a mappable base 55 assigned a unique identity, may thereby permit subsequent
     position in a genome can be non -uniquely tagged, that is , the identification of fragments from the parent strand. In this
     number of different identifiers can be at least 2 and fewer way the polynucleotides in the sample can be uniquely or
     than the number of polynucleotides that map to the map- substantially uniquely tagged. A duplex tag can include a
     pable base position . The number of different identifiers can degenerate or semi-degenerate nucleotide sequence , e.g. , a
     also be at least 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 60 random degenerate sequence . The nucleotide sequence can
     17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 and fewer than the number comprise any number of nucleotides. For example, the
     of polynucleotides that map to the mappable base position . nucleotide sequence can comprise 1 ( if using a non - natural
        In some instances, as a composition goes from about 1 ng nucleotide ), 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 ,
     to about 10 ug or higher, a larger set of different molecular 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 ,
     barcodes can be used . For example, between 5 and 100 65 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 ,       2

     different library adaptors can be used to tag polynucleotides 49 , 50 or more nucleotides . In a particular example, the
     in a cfDNA sample.                                                                 sequence can comprise 7 nucleotides . In another example,
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                                                                          US 11,149,306 B2
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     the sequence can comprise 8 nucleotides. The sequence can polynucleotides molecules can also have other ranges of
     also comprise 9 nucleotides . The sequence can comprise 10 different barcode sequences such as , 1-4 , 2-5 , 3-6 , 4-7 , 5-8 ,
     nucleotides .                                                        6-9 , 7-10 , 8-11 , 9-12 , 10-13 , 11-14 , 12-15 , 13-16 , 14-17 ,
        A barcode can comprise contiguous or non -contiguous 15-18 , 16-19 , 17-20 , 18-21 , 19-22 , 20-23 , 21-24 , or 22-25
     sequences . A barcode that comprises at least 1 , 2 , 3 , 4 , 5 or 5 different barcode sequences . In other cases , a plurality of
     more nucleotides is a contiguous sequence or non -contigu- polynucleotide molecules can have at least 2 , 3 , 4 , 5 , 6 , 7 , 8 ,
     ous sequence . if the 4 nucleotides are uninterrupted by any 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 ,
     other nucleotide . For example, if aa barcode comprises the 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 ,
     sequence TTGC , a barcode is contiguous if the barcode is 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 ,
                                                                                                        .

     TTGC . On the other hand, a barcode is non -contiguous if the 10 57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 ,
                                                                                                                                             2

     barcode is TTXGC , where X is a nucleic acid base .                                73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 ,
        An identifier or molecular barcode can have an n -mer 89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , or 100 more
     sequence which may be 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , different barcode sequences . In a particular example, the
                                                          >


     14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , plurality library adapters comprise at least 8 different
                                           2

     30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 15 sequences .
     46 , 47 , 48 , 49 , 50 or more nucleotides in length. A tag herein                    The location of the different barcode sequences can vary
     can comprise any range of nucleotides in length . For within the plurality of polynucleotides. For example, the
     example , the sequence can be between 2 to 100 , 10 to 90 , 20 different barcode sequences can be within 20 , 15 , 10 , 9 , 8 ,
     to 80 , 30 to 70 , 40 to 60 , or about 50 nucleotides in length . 7 , 6 , 5 , 4 , 3 , or 2 nucleic acid bases from a terminal end of
        The tag can comprise a double - stranded fixed reference 20 a respective one of the plurality of polynucleotide mol
     sequence downstream of the identifier or molecular barcode . ecules. In an example, a plurality of polynucleotide mol
     Alternatively, the tag can comprise a double - stranded fixed ecules has distinct barcode sequences that are within 10
     reference sequence upstream or downstream of the identifier nucleic acid bases from the terminal end . In another
     or molecular barcode . Each strand of a double - stranded fixed example , a plurality of polynucleotide molecules has distinct
     reference sequence can be , for example , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 25 barcode sequences that are within 5 or 1 nucleic acid bases
                                                                            2

     10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 ,    from the terminal end . In other instances, the distinct bar
     26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 ,    code sequences can be at the terminal end of a respective one
     42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 nucleotides in length .                 of the plurality of polynucleotide molecules . Other varia
       C. Adaptors                                                                      tions include that the distinct molecular barcode sequences
        A library of polynucleotide molecules can be synthesized 30 can be within 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 ,
                                                                                                             2                   9


     for use in sequencing. For example, a library of polynucle- 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 ,
     otides comprising a plurality of polynucleotide molecules 33 , 34 , 35 , 36 , 37 , 38 , 39 , or 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 ,
     that are each less than or equal 100 , 90 , 80 , 70 , 60 , 50 , 45 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 , 61 , 62 , 63 ,
     40 , or 35 nucleic acid (or nucleotide ) bases in length can be 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 , 77 , 78 , 79 ,
     made . A plurality of polynucleotide molecules can be each 35 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , 89 , 90 , 91 , 92 , 93 , 94 , 95 ,
     less than or equal to 35 nucleic acid bases in length. A 96 , 97 , 98 , 99 , 100 , 101 , 102 , 103 , 104 , 105 , 106 , 107 , 108 ,
                                                                                                        .

     plurality of polynucleotide molecules can be each less than 109 , 110 , 111 , 112 , 113 , 114 , 115 , 116 , 117 , 118 , 119 , 120 ,
     or equal to 30 nucleic acid bases in length . A plurality of 121 , 122 , 123 , 124 , 125 , 126 , 127 , 128 , 129 , 130 , 131 , 132 ,
     polynucleotide molecules can also be less than or equal to                         133 , 134 , 135 , 136 , 137 , 138 , 139 , 140 , 141 , 142 , 143 , 144 ,
     250 , 200 , 150 , 100 , or 50 nucleic acid bases . Additionally, 40 145 , 146 , 147 , 148 , 149 , 150 , 151 , 152 , 153 , 154 , 155 , 156 ,
     the plurality of polynucleotide molecules can also be less 157 , 158 , 159 , 160 , 161 , 162 , 163 , 164 , 165 , 166 , 167 , 168 ,
                                                                                                    >


     than or equal to 100 , 99 , 98 , 97 , 96 , 95 , 94 , 93 , 92 , 91 , 90 , 169 , 170 , 171 , 172 , 173 , 174 , 175 , 176 , 177 , 178 , 179 , 180 ,
     89 , 88 , 87 , 86 , 85 , 84 , 83 , 82 , 81 , 80 , 79 , 78 , 77 , 76 , 75 , 74 , 181 , 182 , 183 , 184 , 185 , 186 , 187 , 188 , 189 , 190 , 191 , 192 ,
                                                2

     73 , 72 , 71 , 70 , 69 , 68 , 67 , 66 , 65 , 64 , 63 , 62 , 61 , 60 , 59 , 58 , 193 , 194 , 195 , 196 , 197 , 198 , 199 , 200 , or more nucleic acid
        9                             2                           2

     57 , 56 , 55 , 54 , 53 , 52 , 51 , 50 , 49 , 48 , 47 , 46 , 45 , 44 , 43 , 42 , 45 bases from a terminal end of a respective one of the plurality
     41 , 40 , 39 , 38 , 37 , 36 , 35 , 34 , 33 , 32 , 31 , 30 , 29 , 28 , 27 , 26 , of polynucleotide molecules .
     25 , 24 , 23 , 22 , 21 , 20 , 19 , 18 , 17 , 16 , 15 , 14 , 13 , 12 , 11 , or         The terminal end of the plurality of polynucleotide mol
     10 nucleic acid bases .                                   ecules can be adapted for ligation to a target nucleic acid
        A library of polynucleotides comprising a plurality of molecule . For example , the terminal end can be aa blunt end.
     polynucleotide molecules can also have distinct (with 50 In some other cases , the terminal end is adapted for hybrid
     respect to each other ) molecular barcode sequences (or ization to a complementary sequence of a target nucleic acid
     molecular barcodes) with respect to at least 4 nucleic acid                         molecule .
     bases . A molecular barcode (also " barcode ” or “ identifier"                        A library of polynucleotides comprising a plurality of
     herein ) sequence is a nucleotide sequence that distinguishes                       polynucleotide molecules can also have an edit distance of
     one polynucleotide from another. In other embodiments, the 55 at least 1. In some cases , the edit distance is with respect to
     polynucleotide molecules can also have different barcode individual bases of the plurality of polynucleotide mol
     sequences with respect to 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , ecules . In other cases , the plurality of polynucleotide mol
                                                      2       .       2

     14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , ecules can have an edit distance of at least 1 , 2 , 3 , 4 , 5 , 6 ,
     30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 ,
     46 , 47 , 48 , 49 , 50 or more nucleic acid bases .                            60 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 ,
        A library of polynucleotides comprising a plurality of 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 or more . The edit
     polynucleotide molecules can also have a plurality of dif-                          distance can be a Hamming distance .
     ferent barcode sequences. For example, a plurality of poly-     In some cases , the plurality of polynucleotides does not
     nucleotide molecules can have at least 4 different molecular contain sequencing adaptors. A sequence adaptor can be a
     barcode sequences. In some cases , the plurality of poly- 65 polynucleotide that comprises a sequence that hybridizes to
     nucleotide molecules has from 2-100 , 4-50 , 4-30 , 4-20 , or one or more sequencing adaptors or primers . A sequencing
     4-10 different molecular barcode sequences. The plurality of adaptor can further comprise a sequence hybridizing to a
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                                                                   US 11,149,306 B2
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     solid support, e.g. , a flow cell sequence . The term “ flow cell barcode . The different barcode can be a randomer in the
     sequence" and its grammatical equivalents as used herein , complementary portion (e.g. , double stranded portion ) of the
     refers to a sequence that permits hybridization to a substrate, Y -shaped or hairpin -shaped adaptor. Alternatively, the dif
     for example, by way of a primer attached to the substrate. ferent barcode can be in one strand of the non - complemen
     The substrate can be bead or a planar surface. In some 5 tary portion (e.g. , one of the Y - shaped arms). As discussed
     embodiments, a flow cell sequence can allow a polynucle- above , the different barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 ,
     otide to attach to a flow cell or surface (e.g. , surface of a 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 ,
     bead , for example, an Illumina flow cell .                       24 , 25 , or more ( or any length as described throughout)
        When a plurality of polynucleotide molecules does not nucleic acid bases , e.g. , 7 bases . The barcode can be con
     contain sequencing adaptors or primers, each polynucleotide 10 tiguous or non -contiguous sequences, as described above .
     molecule of the plurality does not contain a nucleic acid The plurality of polynucleotide molecules is from 10 nucleic
     sequence or other moiety that is adapted to permit sequenc- acid bases to 35 nucleic acid bases ( or any length as
     ing of a target nucleic acid molecule with a given sequencing described above ) in length . Further, the plurality of poly
     approach, such as Illumina , SOLID , Pacific Biosciences, nucleotide molecules can comprise an edit distance (as
     GeneReader, Oxford Nanopore, Complete Genomics, Gnu- 15 described above ), that is a Hamming distance. A plurality of
     Bio , Ion Torrent, Oxford Nanopore or Genia . In some polynucleotide molecules         can                  have distinct barcode
     examples, when a plurality of polynucleotide molecules sequences that are within 10 nucleic acid bases from the
     does not contain sequencing adaptors or primers , the plu- terminal end .
     rality of polynucleotide molecules does not contain flow cell           In another aspect , a plurality of polynucleotide molecules
     sequences . For example, the plurality of polynucleotide 20 can be sequencing adaptors. A sequencing adaptor can
     molecules cannot bind to flow cells , such as used in Illumina comprise a sequence hybridizing to one or more sequencing
     flow cell sequencers. However, these flow cell sequences, if primers. A sequencing adaptor can further comprise a
     desired , can be added to the plurality of polynucleotide sequence hybridizing to a solid support, e.g. , a flow cell
     molecules by methods such as PCR amplification or liga- sequence. For example, a sequencing adaptor can be aa flow
     tion . At this point, Illumina flow cell sequencers can be used . 25 cell adaptor. The sequencing adaptors can be attached to one
     Alternatively, when the plurality of polynucleotide mol- or both ends of a polynucleotide fragment. In another
     ecules does not contain sequencing adaptors or primers , the example, a sequencing adaptor can be hairpin shaped. For
     plurality of polynucleotide molecules does not contain hair- example , the hairpin shaped adaptor can comprise a comple
     pin shaped adaptors or adaptors for generating hairpin loops mentary double - stranded portion and a loop portion , where
     in a target nucleic acid molecule , such as Pacific Bioscience 30 the double - stranded portion can be attached (e.g. , ligated) to
     SMRTbellTM adaptors . However, these hairpin shaped adap- a double - stranded polynucleotide. Hairpin shaped sequenc
     tors , if desired , can be added to the plurality of polynucle- ing adaptors can be attached to both ends of a polynucleotide
     otide molecules by methods such as PCR amplification or fragment to generate a circular molecul which can be
     ligation. The plurality of polynucleotide molecules can be sequenced multiple times . A sequencing adaptor can be up
     circular or linear.                                                           35 to 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 ,
       A plurality of polynucleotide molecules can be double 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 ,
     stranded . In some cases , the plurality of polynucleotide 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 ,
     molecules can be single stranded , or can comprise hybrid- 57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 ,
                                                                                          2

     ized and non -hybridized regions. A plurality of polynucle- 73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 ,
     otide molecules can be non -naturally occurring polynucle- 40 89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 , or more bases
     otide molecules .                                                            from end to end . For example, a sequencing adaptor can be
         Adaptors can be polynucleotide molecules . The poly- up to 70 bases from end to end . The sequencing adaptor can
     nucleotide molecules can be Y -shaped , bubble - shaped or comprise 20-30 , 20-40 , 30-50 , 30-60 , 40-60 , 40-70 , 50-60 ,
     hairpin - shaped. A hairpin adaptor may contain a restriction 50-70 , bases from end to end . In a particular example, the
     site ( s ) or a Uracil containing base . Adaptors can comprise a 45 sequencing adaptor can comprise 20-30 bases from end to
     complementary portion and a non -complementary portion . end . In another example, the sequencing adaptor can com
     The non -complementary portion can have an edit distance prise 50-60 bases from end to end . A sequencing adaptor can
     ( e.g. , Hamming distance ). For example, the edit distance can comprise one or more barcodes. For example, a sequencing
     be at least 1 , at least 2 , at least 3 , at least 4 , at least 5 , at least adaptor can comprise a sample barcode. The sample barcode
                   .                                                 2

     6 , at least 7 , at least 8 , at least 9 , at least 10 , at least 11 , at 50 can comprise a pre -determined sequence. The sample bar
     least 12 , at least 13 , at least 14 , at least 15 , at least 16 , at least
                            >                                                          codes can be used to identify the source of the polynucle
     17 , at least 18 , at least 19 , at least 20 , at least 21 , at least 22 ,        otides . The sample barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 , 7 ,
     at least 23 , at least 24 , at least 25 , at least 26 , at least 27 , at          8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 ,
     least 28 , at least 29 , or at least 30. The complementary                        25 , or more (or any length as described throughout) nucleic
     portion of the adaptor can comprise sequences that are 55 acid bases , e.g. , at least 8 bases . The barcode can be
     selected to enable and / or promote ligation to a polynucle- contiguous or non -contiguous sequences, as described
     otide, e.g. , a sequence to enable and / or promote ligation to above .
     a polynucleotide at a high yield .                                   The plurality of polynucleotide molecules as described
        A plurality of polynucleotide molecules as disclosed herein can be used as adaptors . Adaptors can comprise one
     herein can be purified. In some cases , a plurality of poly- 60 or more identifiers. An adaptor can comprise an identifier
     nucleotide molecules as disclosed herein can be isolated with a random sequence. Alternatively, an adaptor can
     polynucleotide molecules . In other cases , a plurality of comprise an identifier with pre -determined sequences. Some
     polynucleotide molecules as disclosed herein can be purified adaptors can comprise an identifier with aa random sequence
     and isolated polynucleotide molecules .                            and another identifier with a pre -determined sequence. The
        In certain aspects , each of the plurality of polynucleotide 65 adaptors comprising identifiers can be double - stranded or
     molecules is Y -shaped or hairpin - shaped. Each of the plu- single - stranded adaptors. The adaptors comprising identifi
     rality of polynucleotide molecules can comprise a different ers can be Y - shaped adaptors . A Y - shaped adaptor can
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                                                           US 11,149,306 B2
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     comprise one or more identifiers with a random sequence .                 In some examples, each of the library adaptors has a
     The one or more identifiers can be on the hybrid portion double - stranded portion with a molecular barcode and two
     and/ or non -hybridized portion of the Y - shaped adaptor. A single - stranded portions. The single - stranded portions may
     Y - shaped adaptor can comprise one or more identifiers with not hybridize to one another. The single - stranded portions
     a pre -determined sequence. The one or more identifiers with 5 may not be completely complementary to one another.
     pre -determined sequence can be on the hybridized portion nucleotides     The library adaptors can have a sequence of terminal
     and / or non -hybridized portion of the Y - shaped adaptor . A                       in a double - stranded portion that are the same .
     Y - shaped adaptor can comprise one or more identifiers with The sequence of terminal nucleotides can be at least 2 , 3 , 4 ,
     a random sequence and one or more identifiers with a 10 a5 double        or 6 nucleotide bases in length . For example, one strand of
     pre -determined sequence. For example, the one or more sequence- stranded        ACTT    ,
                                                                                                 portion of the library adaptor can have the
                                                                                                TCGC  , or TACC at the terminal end , while
     identifiers with a random sequence can be on the hybridized
                       a
     portion of the Y - shaped adaptor and / or the non -hybridized the          other strand can have a complementary sequence. In
                                                                            some cases , such a sequence is selected to optimize the
     portion of the Y - shaped adaptor. The one or more identifiers efficiency          at which the library adaptors ligate to target
     with a pre -determined sequence can be on the hybridized 15 polynucleotides. Such sequences can be selected to optimize
     portion of the Y -shaped adaptor and / or the non -hybridized a binding interaction between the ends of the library adap
     portion of the Y - shaped adaptor. In a particular example , a tors and the target polynucleotides.
     Y - shaped adaptor can comprise an identifier with a random               In some cases , none of the library adaptors contains a
     sequence on its hybridized portion and an identifier with a sample identification motif (or sample molecular barcode ).
     pre -determined sequence on its non -hybridized portion. The 20 Such sample identification motif can be provided via
     identifiers can be in any length disclosed herein . For sequencing adaptors . A sample identification motif can
     example, a Y -shaped adaptor can comprise an identifier with include a sequencer of at least 4 , 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , or
                                                                                                                2

     a random sequence of 7 nucleotides on its hybridized portion 40 nucleotide bases that permits the identification of poly
     and an identifier with a pre -determined sequence of 8 nucleotide molecules from a given sample from polynucle
     nucleotides on its non -hybridized portion.                         25 otide molecules from other samples. For example, this can
         An adaptor can include a double - stranded portion with a permit polynucleotide molecules from two subjects to be
     molecular barcode and at least one or two single - stranded sequenced in the same pool and sequence reads for the
     portion . For example, the adaptor can be Y - shaped and subjects subsequently identified .
     include a double -stranded portion and two single - stranded              A sequencer motif includes nucleotide sequence ( s)
     portions. The single - stranded portions can include 30 needed to couple a library adaptor to a sequencing system
     sequences that are not complementary to one another.                   and sequence a target polynucleotide coupled to the library
         The adaptor can include a terminal end that has a adaptor. The sequencer motif can include a sequence that is
     sequence that is selected to permit the adaptor to be effi- complementary to a flow cell sequence and a sequence
     ciently (e.g. , at an efficiency of at least about 20 % , 30 % , ( sequencing initiation sequence) that is selectively hybrid
     40% , 50%) ligated or otherwise coupled to a polynucleotide. 35 izable to a primer (or priming sequence) for use in sequenc
     In some examples, terminal nucleotides in a double - stranded ing . For example, such sequencing initiation sequence can
     portion of an adaptor are selected from a combination of be complementary to a primer that is employed for use in
     purines and pyrimidines to provide for efficient ligation.             sequence by synthesis ( e.g. , Illumina ) . Such primer can be
         In some examples, a set of library adaptors comprises a included in a sequencing adaptor. A sequencing initiation
     plurality of polynucleotide molecules (library adaptors) with 40 sequence can be a primer hybridization site.
     molecular barcodes . The library adaptors are less than or                In some cases , none of the library adaptors contains a
     equal to 80 , 70 , 60 , 50 , 45 , or 40 nucleotide bases in length . complete sequencer motif. The library adaptors can contain
     The molecular barcodes can be at least 4 nucleotide bases in          partial or no sequencer motifs. In some cases , the library
     length , but may be from 4 to 20 nucleotide bases in length . adaptors include a sequencing initiation sequence. The
     The molecular barcodes can be different from one another 45 library adaptors can include a sequencing initiation sequence
     and have an edit distance of at least 1 , 2 , 3 , 4 , or 5 between    but no flow cell sequence . The sequence initiation sequence
     one another. The molecular barcodes are located at least 1 ,          can be complementary to a primer for sequencing. The
     2 , 3 , 4 , 5 , 10 , or 20 nucleotide bases away from a terminal  primer can be a sequence specific primer or a universal
     end of their respective library adaptors. In some cases , the at  primer. Such sequencing initiation sequences may be situ
     least one terminal base is identical in all of the library 50 ated on single - stranded portions of the library adaptors. As
     adaptors.                                                         an alternative, such sequencing initiation sequences may be
        The library adaptors can be identical but for the molecular priming sites (e.g. , kinks or nicks ) to permit a polymerase to
     barcodes. For example, the library adaptors can have iden- couple to the library adaptors during sequencing.
     tical sequences but differ only with respect to nucleotide          In some cases , partial or complete sequencer motifs are
     sequences of the molecular barcodes.                           55 provided by sequencing adaptors . A sequencing adaptor can
        Each of the library adaptors can have a double stranded include a sample molecular barcode and a sequencer motif .
     portion and at least one single -stranded portion . By “ single The sequencing adaptors can be provided in a set that is
     stranded portion ” is meant an area of non - complementarity separate from the library adaptors. The sequencing adaptors
     or an overhang. In some cases , each of the library adaptors in a given set can be identical i.e. , they contain the same
     has a double - stranded portion and two single -stranded por- 60 sample barcode and sequencer motif.
     tions . The double - stranded portion can have a molecular          Sequencing adaptors can include sample identification
     barcode . In some cases , the molecular barcode is a rando- motifs and sequencer motifs. Sequencer motifs can include
     mer. Each of the library adaptors can further include a primers that are complementary to a sequencing initiation
     strand - identification barcode on a single -stranded portion . sequence . In some cases , sequencer motifs also include flow
     The strand - identification barcode can include at least 4 65 cell sequences or other sequences that permit a polynucle
     nucleotide bases , in some cases from 4 to 20 nucleotide              otide to a configured or arranged in a manner that permits the
     bases .                                                               polynucleotide to be sequenced by a sequencer.
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       Library adaptors and sequencing adaptors can each be             are the PCR methodologies which can include, but are not
     partial adaptors , that is , containing part but not all of the limited to , solution PCR and in situ PCR . For example,
     sequences necessary to enable sequencing by a sequencing amplification may comprise PCR -based amplification . Alter
     platform . Together they provide complete adaptors. For natively, amplification may comprise non PCR -based ampli
     example, library adaptors can include partial or no sequencer 5 fication . Amplification of the template nucleic acid may
     motifs , but such sequencer motifs are provided by sequenc- comprise use of one or more polymerases. For example, the
     ing adaptors .                                                        polymerase may be a DNA polymerase or an RNA poly
        FIGS . 9A - 9C schematically illustrate a method for tag merase . In some cases , high fidelity amplification is per
     ging a target polynucleotide molecule with library adaptors. formed such as with the use ofhigh fidelity polymerase ( e.g. ,
     FIG . 9A shows a library adaptor as a partial adaptor con- 10 Phusion® High - Fidelity DNA Polymerase ) or PCR proto
     taining a primer hybridization site on one of the strands and cols        . In some cases , the polymerase may be a high fidelity
     a molecular barcode towards another end . The primer polymerase
     hybridization site can be a sequencing initiation sequence HiFi DNA .polymerase    For example, the polymerase may be KAPA
     for subsequent sequencing. The library adaptor is less than sion DNA polymerase . . The         The polymerase may also be Phu
                                                                                                        polymerase may be used under
     or equal to 80 nucleotide bases in length . In FIG . 9B ,      the 15
     library adaptors are ligated at both ends of the target reaction conditions that reduce or minimize amplification
     polynucleotide molecule to provide a tagged target poly biases , e.g. , due to fragment length , GC content, etc.
     nucleotide molecule . The tagged target polynucleotide mol-             Amplification of a single strand of a polynucleotide by
     ecule may be subjected to nucleic acid amplification to PCR will generate copies both of that strand and its comple
     generate copies of the target. Next , in FIG . 9C , sequencing 20 ment. During sequencing, both the strand and its comple
     adaptors containing sequencer motifs are provided and ment will generate sequence reads . However, sequence
     hybridized to the tagged target polynucleotide molecule . The reads generated from the complement of, for example, the
     sequencing adaptors contain sample identification motifs . Watson strand, can be identified as such because they bear
     The sequencing adaptors can contain sequences to permit the complement of the portion of the duplex tag that tagged
     sequencing of the tagged target with a given sequencer. 25 the original Watson strand . In contrast, a sequence read
        D. Sequencing                                                      generated from a Crick strand or its amplification product
        Tagged polynucleotides can be sequenced to generate will bear the portion of the duplex tag that tagged the
     sequence reads ( e.g. , as shown in step ( 106 ) , FIG . 1 ) . For original Crick strand . In this way, a sequence read generated
     example , a tagged duplex polynucleotide can be sequenced. from an amplified product of a complement of the Watson
     Sequence reads can be generated from only one strand of a 30 strand can be distinguished from a complement sequence
     tagged duplex polynucleotide . Alternatively, both strands of read generated from an amplification product of the Crick
     a tagged duplex polynucleotide can generate sequence reads. strand of the original molecule .
     The two strands of the tagged duplex polynucleotide can                 All amplified polynucleotides can be submitted to a
     comprise the same tags . Alternatively, the two strands of the sequencing device for sequencing. Alternatively, a sampling,
     tagged duplex polynucleotide can comprise different tags . 35 or subset, of all of the amplified polynucleotides is submitted
     When the two strands of the tagged duplex polynucleotide           to a sequencing device for sequencing. With respect to any
     are differently tagged , sequence reads generated from one original double - stranded polynucleotide there can be three
     strand ( e.g. , a Watson strand ) can be distinguished from results with respect to sequencing. First , sequence reads can
     sequence reads generated from the other strands (e.g. , a be generated from both complementary strands of the origi
     Crick strand ). Sequencing can involve generating multiple 40 nal molecule (that is , from both the Watson strand and from
     sequence reads for each molecule . This occurs , for example, the Crick strand ). Second, sequence reads can be generated
     as a result the amplification of individual polynucleotide from only one of the two complementary strands ( that is ,
     strands during the sequencing process , e.g. , by PCR .          either from the Watson strand or from the Crick strand, but
        Methods disclosed herein can comprise amplifying of not both ). Third , no sequence read may be generated from
     polynucleotides . Polynucleotides amplification can result in 45 either of the two complementary strands. Consequently,
     the incorporation of nucleotides into a nucleic acid molecule counting unique sequence reads mapping to a genetic locus
     or primer thereby forming a new nucleic acid molecule will underestimate the number of double - stranded poly
     complementary to a template nucleic acid . The newly nucleotides in the original sample mapping to the locus .
     formed polynucleotide molecule and its template can be Described herein are methods of estimating the unseen and
     used as templates to synthesize additional polynucleotides. 50 uncounted polynucleotides.
     The polynucleotides being amplified can be any nucleic           The sequencing method can be massively parallel
     acids , for example, deoxyribonucleic acids , including sequencing, that is , simultaneously ( or in rapid succession )
     genomic DNAs, cDNAs ( complementary DNA ), cfDNAs, sequencing any of at least 100 , 1000 , 10,000 , 100,000 , 1
     and circulating tumor DNAs ( ctDNAs). The polynucleotides million , 10 million , 100 million , or 1 billion polynucleotide
     being amplified can also be RNAs. As used herein , one 55 molecules . Sequencing methods may include , but are not
     amplification reaction may comprise many rounds of DNA limited to : high - throughput sequencing, pyrosequencing,
     replication. DNA amplification reactions can include, for sequencing -by - synthesis, single -molecule sequencing, nan
     example, polymerase chain reaction ( PCR) . One PCR reac- opore sequencing, semiconductor sequencing, sequencing
     tion may comprise 2-100 “ cycles " of denaturation, anneal- by - ligation , sequencing -by -hybridization, RNA -Seq (Illu
     ing , and synthesis of ?a DNA molecule . For example, 2-7 , 60 mina ) , Digital Gene Expression (Helicos ) , Next generation
     5-10 , 6-11 , 7-12 , 8-13 , 9-14 , 10-15 , 11-16 , 12-17 , 13-18 , sequencing, Single Molecule Sequencing by Synthesis
     14-19 , or 15-20 cycles can be performed during the ampli- ( SMSS ) (Helicos ) , massively -parallel sequencing, Clonal
     fication step . The condition of the PCR can be optimized Single Molecule Array (Solexa ), shotgun sequencing,
     based on the GC content of the sequences , including the Maxam -Gilbert or Sanger sequencing, primer walking ,
     primers.                                                          65 sequencing using PacBio , SOLID , Ion Torrent, or Nanopore
        Nucleic acid amplification techniques can be used with platforms and any other sequencing methods known in the
     the assays described herein . Some amplification techniques        art.
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       For example, duplex -tagged polynucleotides can be            eny polynucleotides. Also , sequencing typically may not be
     amplified, by for example PCR ( see e.g. , FIG . 4A duplex-     performed with perfect fidelity so sequencing errors are
     tagged polynucleotides are referred to as mm ' and nn '). In    introduced at this stage as well . However, comparison of
     FIG . 4A , the strand of the duplex polynucleotide including sequence reads of molecules derived from a single original
     sequence m bears sequence tags w and y , while the strand of 5 molecule , including those that have sequence variants , can
     the duplex polynucleotide including sequence m ' bears be analyzed so as to determine the original, or “ consensus ”
     sequence tags x and z . Similarly, the strand of the duplex sequence . This can be done phylogenetically. Consensus
     polynucleotide including sequence n bears sequence tags a sequences
     and c , while the strand of the duplex polynucleotide includ by any of acanvariety
                                                                                   be generated from families of sequence reads
     ing sequence n ' bears sequence tags b and d . During ampli- 10 example, linear or nonof- linear
                                                                                               methods. Such methods include , for
                                                                                                      methods of building consensus
     fication , each strand produces itself and its complementary sequences ( such as voting ( e.g.
     sequence. However, for example, an amplification progeny statistical , maximum a posteriori, biased        voting ), averaging ,
     of original strand m that includes the complementary detection , dynamic programming, Bayesian, hiddenlikelihood
                                                                                                           or maximum
                                                                                                                            Markov
     sequence , m' , is distinguishable from an amplification prog
     eny of original strand m' because the progeny from original 15 ordigital
                                                                          support vector machine methods, etc.) derived from
                                                                              communication theory, information theory , or bioin
     strand m will have the sequence 5 ' - y'm'w ' - 3 ' and the progeny
     of the original m ' strand one strand will have the sequence formatics. For example, if all or most of the sequence reads
     5 ' - zm'x - 3 ' . FIG . 4B shows amplification in more detail. tracking back to an original molecule bear the same
     During amplification, errors can be introduced into the sequence variant, that variant probably existed in the origi
     amplification progeny, represented by dots . The application 20 nal molecule . On the other hand, if a sequence variant exists
     progeny are sampled for sequencing, so that not all strands in a subset of redundant sequence reads, that variant may
     produce sequence reads, resulting in the sequence reads have been introduced during amplification /sequencing and
     indicated . Because sequence reads can come from either of represents an artifact not existing in the original. Further
     a strand or its complement, both sequences and complement more , if only sequence reads derived from the Watson or
     sequences will be included in the set of sequence reads . It 25 Crick strand of an original polynucleotide contain the vari
     should be noted that it is possible that a polynucleotide ant, the variant may have been introduced through single
     would bear the same tag on each end . Thus, for a tag “ a ” , and sided DNA damage, first - cycle PCR error or through con
     polynucleotide “ m ” , a first strand could be tagged a -m - a' , taminating polynucleotides that were amplified from a
     and the complement could be tagged a - m' - a .                        different sample .
           E. Determining Consensus Sequence Reads                       30    After fragments are amplified and the sequences of ampli
           Methods disclosed herein can comprise determining con- fied fragments are read and aligned , the fragments are
     sensus sequence reads in sequence reads ( e.g. , as shown in subjected to base calling, e.g. , determining for each locus the
     step ( 108 ) , FIG . 1 ) , such as by reducing or tracking redun- most likely nucleotide. However, variations in the number of
     dancy. Sequencing of amplified polynucleotides can produce amplified fragments and unseen amplified fragments ( e.g. ,
     reads of the several amplification products from the same 35 those without being read their sequences ; reasons could be
     original polynucleotide, referred to as “ redundant reads ” . By too many such as amplification errors , sequencing reading
     identifying redundant reads , unique molecules in the origi- errors , too long, too short, being chopped, etc.) may intro
     nal sample can be determined . If the molecules in a sample duce errors in base calling . If there are too many unseen
     are uniquely tagged , then reads generated from amplification amplified fragments with respect to the seen amplified
     of a single unique original molecule can be identified based 40 fragments ( amplified fragments actually being read ), the
     on their distinct barcode . Ignoring barcodes , reads from reliability of base calling may be diminished .
     unique original molecules can be determined based on                      Therefore, disclosed herein is a method to correct for the
     sequences at the beginning and end of a read, optionally in number of unseen fragments in base calling . For example,
     combination with the length of the read . In certain cases , when base calling for locus A ( an arbitrary locus ) , it is first
     however, a sample may be expected to have a plurality of 45 assumed that there are N amplified fragments. The sequence
     original molecules having the same start stop sequences and readouts can come from two types of fragments: double
     the same length . Without barcoding, these molecules are strand fragments and single - strand fragments. Therefore, we
     difficult to distinguish from one another. However, if a assign N1 , N2 , and N3 as the numbers of double - strands,
     collection of polynucleotides is non - uniquely tagged ( that is , single - strands, and unseen fragments, respectively . Thus,
     an original molecule shares the same identifier with at least 50 N = N1 + N2 + N3 (N1 and N2 are known from the sequence
     one other original molecule ) , combining information from a readouts , and N and N3 are unknown ). If the formula is
     barcode with start /stop sequence and /or polynucleotide solved for N (or N3 ) , then N3 (or N) will be inferred .
     length significantly increases the probability that any                   Probability is used to estimate N. For example , we assign
     sequence read can be traced back to an original polynucle- “ p ” to be the probability of having detected ( or having read)
     otide. This is because , in part, even without unique tagging , 55 a nucleotide of locus A in a sequence readout of a single
     it is unlikely that any two original polynucleotides having strand.
     the same start/ stop sequence and length also will be tagged              For sequence readouts from double - strands, the nucleo
     with the same identifier.                                              tide call from a double - strand amplified fragment has a
          F. Collapsing                                                     probability of p * p = p ^ 2, seeing all N1 double - strands has the
          Collapsing allows for reduction in noise ( i.e. , back- 60 following equation : N1 = N * ( p ^ 2 ).
     ground ) that is generated at each step of the process .                  For sequence readouts from a single - strand. Assuming
     Methods disclosed herein can comprise collapsing , e.g. ,               that one of the 2 strands is seen, and the other is unseen, the
     generating a consensus sequence by comparing multiple probability of seeing one strand is “ p ”, but the probability of
     sequence reads. For example, sequence reads generated missing the other strand is ( 1 - p ) . Furthermore , by not
     from a single original polynucleotide can be used to generate 65 distinguishing the single strand sourcing from 5 -primer and
     a consensus sequence of that original polynucleotide. Itera- sourcing from 3 -primer, there is a factor of 2. Therefore, the
     tive rounds of amplification can introduce errors into prog-            nucleotide call from a single - strand amplified fragment has
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     a probability 2xpx ( 1 - p ) . Thus, seeing all N2 single -strands      chromosome, a whole chromosome, or an entire genome. A
     has the following equation: N2 = Nx2xpx ( 1 - p ) .                     genetic locus can be a polymorphic locus. Polymorphic
        " p ” is also unknown. To solve p , the ratio of N1 to N2 is         locus can be a locus at which sequence variation exists in the
     used to solve for " p " :                                               population  and / or exists in a subject and / or a sample. A
                                                                           5 polymorphic locus can be generated by two or more distinct

                             Np2 = p2
                                                                               sequences coexisting at the same location of the genome.
                  R=
                       N1
                          =
                                                          P                    The distinct sequences can differ from one another by one or
                       N2 2N p ( 1 - p ) 2p (1 – p )   2(1 - p)                more nucleotide substitutions, a deletion /insertion , and / or a
                                                                          10
                                                                               duplication of any number of nucleotides, generally a rela
     Once “ p ” is found, N can be found. After N is found, can be             tively small number of nucleotides, such as less than 50 , 45 ,
     found N3 = N -N1 - N2 .                                                   40 , 35 , 30 , 25 , 24 , 23 , 22 , 21 , 20 , 19 , 18 , 17 , 16 , 15 , 14 , 13 ,
                                                                       12 , 11 , 10 , 9 , 8 , 7 , 6 , 5 , 4 , 3 , 2 , or 1 nucleotide ( s ) , among
        Besides the ratio of paired versus unpaired strands (which others
     is a measure post - collapsing ) , there is useful information in        . A polymorphic locus can be created by a single
     the pre-collapsing read depth at each locus. This information 15 nucleotide     position that varies within the population, e.g. a
                                                                       single nucleotide variation (SNV ) or a single nucleotide
     can be used to further improve the call for total molecule polymorphism               ( SNP ) .
     count and /or increase confidence of calling variants .
        For example, FIG . 4C demonstrates sequence reads cor            A reference genome for mapping can include the genome
     rected for complementary sequences . Sequences generated ofany species of interest. Human genome sequences useful
     from an original Watson strand or an original Crick strand 20 as references can include the hg19 assembly or any previous
     can be differentiated on the basis of their duplex tags . or available hg assembly. Such sequences can be interro
     Sequenceses generated from the same original strand can be gated using the genome browser available at genom
     grouped. Examination of the sequences can allow one to e.ucsc.edu/index.html. Other species genomes include , for
     infer the sequence of the original strand ( the “ consensus example PanTro2 ( chimp) and mm9 (mouse ).
     sequence ” ). In this case , for example, the sequence variant 25 In methods disclosed herein , collapsing can be performed
     in the nn ' molecule is included in the consensus sequence before or after mapping. In some aspects , collapsing can be
     because it included in every sequence read while other performed before mapping. For example, sequence reads
     variants are seen to be stray errors. After collapsing can be grouped into families based on their tags and one or
     sequences , original polynucleotide pairs can be identified more endogenous sequences, without regard to where the
     based on their complementary sequences and duplex tags . 30 reads map in the genome . Then , the members of a family can
        FIG . 5 demonstrates increased confidence in detecting be collapsed into a consensus sequence. The consensus
     sequence variants by pairing reads from Watson and Crick sequence can be generated using any collapsing method
     strands. Sequence nn' can include a sequence variant indi- disclosed herein . Then the consensus sequence can be
     cated by a dot . In some cases , sequence pp ' does not include mapped to locations in the genome . Reads mapped to a locus
     a sequence variant. Amplification, sequencing, redundancy 35 can be quantified ( e.g. , counted ). Percentage of reads car
     reduction and pairing can result in both Watson and Crick rying a mutation at a locus can also be determined . Alter
     strands of the same original molecule including the sequence natively, collapsing can be performed after mapping. For
     variant. In contrast, as a result of errors introduced during example, all reads can first be mapped to the genome. Then
     amplification and sampling during sequencing, the consen- the reads can be grouped into families based on their tags
     sus sequence of the Watson strand p can contain a sequence 40 and one or more endogenous sequences. Since the reads
     variant, while the consensus sequence of the Crick strand p ' have been mapped to the genome , consensus bases can be
     does not. It is less likely that amplification and sequencing determined for each family at each locus . In other aspects ,
     will introduce the same variant into both strands ( nn ' consensus sequence can be generated for one strand of a
     sequence ) of a duplex than onto one strand ( pp' sequence ). DNA molecule ( e.g. , for a Watson strand or a Crick strand ).
     Therefore , the variant in the pp ' sequence is more likely to 45 Mapping can be performed before or after the consensus
     be an artifact, and the variant in the nn ' sequence is more sequence for one strand of the DNA molecule is determined .
     likely to exist in the original molecule .                        Numbers of Doublets and Singlets can be determined . These
        Methods disclosed herein can be used to correct errors         numbers can be used to calculate unseen molecules . For
     resulted from experiments, e.g. , PCR , amplification , and / or example, the unseen molecules can be calculated using the
     sequencing. For example, such a method can comprises 50 following equation: N=D + S +U ; D = Np ( 2 ), S = N2pq, where
     attaching one or more double stranded adaptors to both ends p = 1-4 , where p is the probability of seeing ; q is the
     of a double stranded polynucleotide, thereby providing a probability of missing a strand .
     tagged double stranded polynucleotide; amplifying the               H. Grouping
     double stranded tagged polynucleotide; sequencing both               Methods disclosed herein can also comprise grouping
     strands of the tagged polynucleotide; comparing the 55 sequence reads. Sequence reads can be grouped based on
     sequence of one strand with its complement to determine various types of sequences, e.g. , sequences of an oligonucle
     any errors introduced during sequencing; and correcting otide tag (e.g. , a barcode) , sequence of a polynucleotide
     errors in the sequence based on (d) . The adaptors used in this fragments, or any combinations. For example, as shown in
     method can be any adaptors disclosed herein , e.g. , Y -shaped step ( 112 ) (FIG . 1 ) , sequence reads can be grouped as
     adaptors. The adaptor can comprise any barcodes ( e.g. , 60 follows: Sequence reads generated from a “ Watson ” strand
     distinct barcodes ) disclosed herein .                            and those generated from a “ Crick ” strand of a double
        G. Mapping                                                     stranded polynucleotide in the sample are identifiable based
         Sequence reads or consensus sequences can be mapped to on the duplex tags that they bear. In this way, a sequence
     one or more selected genetic loci (e.g. , as shown step ( 110 ) , read or consensus sequence from a Watson strand of a
     FIG . 1 ) . A genetic locus can be , for example , a specific 65 duplex polynucleotide can be paired with a sequence read or
     nucleotide position in the genome, a sequence of nucleotides consensus sequence from its complementary Crick strand .
     ( for example, an open reading frame ), a fragment of a Paired sequence reads are referred to as a “ Pair ” .
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        Sequence reads for which no sequence read correspond- underlying distribution of original polynucleotide molecules
     ing to a complementary strand can be found among the at a particular locus . This can often lead to a better estima
     sequence reads are termed “ Singlets ”.                     tion of the number of unseen molecules .
       Double - stranded polynucleotides for which a sequence       J. CNV Detection
     read for neither of the two complementary strands has been 5 Methods disclosed herein also comprise detecting CNV.
     generated are referred to as “ Unseen ” molecules .         For example, as shown in step ( 120 ) ( FIG . 1 ) , once the total
       I. Quantifying                                            number of polynucleotides mapping to a locus is deter
       Methods disclosed herein also comprise quantifying                 mined, this number can be used in standard methods of
     sequence reads. For example, as shown in step ( 114 ) ( FIG .        determining CNV at the locus . A quantitative measure can
     1 ) , Pairs and Singlets mapping to a selected genetic locus , or 10 be normalized against a standard . The standard can be an
     to each of a plurality of selected genetic loci , are quantified , amount of any polynucleotides. In one method, a quantita
     e.g. , counted.                                                         tive measure at a test locus can be standardized against a
          The quantifying can comprise estimating number of poly- quantitative measure of polynucleotides mapping to a con
     nucleotides in the sample ( e.g. , Pairs polynucleotides, Sin- trol locus in the genome, such as gene of known copy
     glets polynucleotides, or Unseen polynucleotides . For 15 number. Quantitative measures can be compared against the
     example, as shown in step ( 116 ) (FIG . 1 ) , the number of amount of nucleic acid in any sample disclosed herein . For
     double - stranded polynucleotides in the sample for which no example, in another method, the quantitative measure can be
     sequence reads were generated (“Unseen ” polynucleotides) compared against the amount of nucleic acid in the original
     is estimated . The probability that a double strand polynucle- sample. For example, if the original sample contained
     otide generates no sequence reads can be determined based 20 10,000 haploid gene equivalents, the quantitative measure
     on the relative number of Pairs and Singlets at any locus . can be compared against an expected measure for diploidy.
     Using this probability, the number of Unseen polynucleotide In another method, the quantitative measure can be normal
     can be estimated .                                                      ized against a measure from a control sample , and normal
          In step ( 118 ) an estimate for the total number of double- ized measures at different loci can be compared.
     stranded polynucleotides in a sample mapping to aa selected 25 In some cases , in which copy number variation analysis is
     locus is the sum of the number of Pairs , the number of desired , sequence data may be : 1 ) aligned with a reference
     Singlets and the number of Unseen molecules mapping to genome; 2 ) filtered and mapped ; 3 ) partitioned into windows
     the locus .                                                             or bins of sequence ; 4 ) coverage reads counted for each
          The number of Unseen original molecules in a sample can window ; 5 ) coverage reads can then be normalized using a
     be estimated based on the relative number of Pairs and 30 stochastic or statistical modeling algorithm ; 6 ) and an output
     Singlets ( FIG . 2 ) . Referring to FIG . 2 , as an example, counts file can be generated reflecting discrete copy number states
     for a particular genomic locus , Locus A , are recorded , where at various positions in the genome. In other cases , in which
     1000 molecules are paired and 1000 molecules are unpaired. rare mutation analysis is desired, sequence data may be 1 )
     Assuming a uniform probability, p , for an individual Watson aligned with a reference genome ; 2 ) filtered and mapped; 3 )
     or Crick strand to make it through the process subsequent to 35 frequency of variant bases calculated based on coverage
     conversion , one can calculate the proportion of molecules reads for that specific base ; 4 ) variant base frequency
     that fail to make it through the process (Unseen ) as follows: normalized using a stochastic , statistical or probabilistic
     Let R = ratio of paired to unpaired molecules = 1, so R = 1 = p²/ modeling algorithm ; 5 ) and an output file can be generated
     ( 2p ( 1 - p ) ) . This implies that p =22 / 3 and that the quantity of reflecting mutation states at various positions in the genome.
     lost molecules is equal to ( 1 - p ) 2 = 1 / 9 . Thus in this example, 40 After the sequence read coverage ratios have been deter
     approximately 11 % of converted molecules are lost and mined, a stochastic modeling algorithm can be optionally
     never detected . Consider another genomic locus , Locus B , in applied to convert the normalized ratios for each window
     the same sample where 1440 molecules are paired and 720 region into discrete copy number states . In some cases , this
     are unpaired. Using the same method , we can infer the algorithm may comprise a Hidden Markov Model . In other
     number of molecules that are lost , only 4 % . Comparing 45 cases , the stochastic model may comprise dynamic program
     the two areas , it may be assumed that Locus A had 2000 ming , support vector machine, Bayesian modeling, proba
     unique molecules as compared to 2160 molecules in Locus bilistic modeling, trellis decoding, Viterbi decoding , expec
     B- a difference of almost 8 % . However, by correctly adding tation maximization , Kalman filtering methodologies, or
     in the lost molecules in each region , we infer there are neural networks.
     2000/ ( 8/9 ) =2250 molecules in Locus A and 2160 /0.96 = 2250 50 Methods disclosed herein can comprise detecting SNVs,
     molecules in Locus B. Hence , the counts in both regions are CNVs, insertions, deletions, and /or rearrangements at a
     actually equal. This correction and thus much higher sensi- specific region in a genome. The specific genomic region
     tivity can be achievable by converting the original double- can comprise a sequence in a gene , such as ALK , APC ,
     stranded nucleic acid molecules and bioinformatically keep- BRAF , CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS , MYC ,
     ing track of all those that are paired and unpaired at the end 55 NOTCH1 , NRAS, PIK3CA , PTEN , RB1 , TP53 , MET, AR ,
     of the process. Similarly, the same procedure can be used to ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,
     infer true copy number variations in regions that appear to EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, GNA11, GNAQ ,
     have similar counts of observed unique molecules . By GNAS, HNF1A , HRAS, IDHL IDH2 , JAK2 , JAK3 , KDR ,
     taking the number of unseen molecules into consideration in KIT, MLHI , MPL , NPM1 , PDGFRA, PROC , PTPN11 ,
     the two or more regions, the copy number variation becomes 60 RET, SMAD4 , SMARCB1, SMO , SRC , STK11 , VHL ,
     apparent.                                                         TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 ,
        In addition to using binomial distribution , other methods CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNE1 ,
                                                                                   2

     of estimating numbers of unseen molecules include expo- ESR1 , RIT1, GATA3, MAP2K1 , RHEB , ROS1 , ARAF,
     nential, beta, gamma or empirical distributions based on the MAP2K2, NFE2L2 , RHOA , or NTRK1 .
     redundancy of sequence reads observed . In the latter case , 65 In some cases , the method uses a panel which comprises
     the distribution of read counts for paired and unpaired exons of one or more genes . The panel can comprise introns
     molecules can be derived from such redundancy to infer the of one or more genes as well . The panel can also comprise
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                                                           US 11,149,306 B2
                                 37                                                                    38
     exons and introns of one or more genes. The one or more           in different pulsed therapy cycles . For example, the first
     genes can be those disclosed above. The panel can comprise        clinical level can be lower in succeeding cycles . A plurality
     about 80,000 bases which cover a panel of genes . The panel       of cycles can include at least 2,3,4,5,6,7,8 ormore cycles .
     can comprise about 1000 , 2000 , 3000 , 4000 , 5000 , 10000 , For example, the BRAF mutant V600E may be detected in
     15000 , 20000 , 25000 , 30000 , 35000 , 40000 , 45000 , 50000 , 5 polynucleotides of aa disease cell at an amount indicating a
     55000 , 60000 , 65000 , 70000 , 75000 , 80000 , 85000 , 90000 , tumor burden of 5 % in cfDNA . Chemotherapy can com
     95000 , 100000 , 105000 , 110000 , 115000 , 120000 , 125000 ,        mence with dabrafenib . Subsequent testing can show that
     or more bases .                                                      the amount of the BRAF mutant in the cfDNA falls below
        In some aspects , copy number of a gene can be reflected 0.5 % or to undetectable levels . At this point, dabrafenib
     in the frequency of a genetic form of the gene in a sample. 10 therapy can stop or be significantly curtailed . Further sub
     For example, in a healthy individual, no copy number sequent testing may find that DNA bearing the BRAF
     variation is reflected in a variant in a gene in one chromo- mutation has risen to 2.5 % of polynucleotides in cfDNA . At
     some ( e.g. , heterozygosity ) being detected in about 50 % of this point, dabrafenib therapy can be re - started, e.g. , at the
     detected molecules in a sample. Also , in a healthy indi- same level as the initial treatment. Subsequent testing may
     vidual, duplication of a gene bearing a variant can be 15 find that DNA bearing the BRAF mutation has decreased to
     reflected in the variant being detected in about 66 % of 0.5 % of polynucleotides in cfDNA . Again , dabrafenib
     detected molecules in a sample. Accordingly, if the tumor therapy can be stopped or reduced . The cycle can be
     burden in aa DNA sample is 10% , the frequency of a somatic repeated a number of times .
     mutation in a gene in one chromosome of cancer cells ,               A therapeutic intervention can also be changed upon
     without CNV, can be about 5 % . The converse can be true in 20 detection of the rise of a mutant form resistant to an original
     the case of aneuploidy.                                            drug. For example, cancers with the EGFR mutation L858R
        The methods disclosed herein can be used to determine respond to therapy with erlotinib . However, cancers with the
     whether a sequence variant is more likely present in the EGFR mutation T790M are resistant to erlotinib . However,
     germ line level or resulted from a somatic cell mutation , e.g. , they are responsive to ruxolitinib . A method of this invention
     in a cancer cell . For example, a sequence variant in a gene 25 involves monitoring changes in tumor profile and changing
     detected at levels arguably consistent with heterozygosity in a therapeutic intervention when a genetic variant associated
     the germ line is more likely the product of a somatic with drug resistance rises to a predetermined clinical level.
     mutation if CNV is also detected in that gene. In some cases ,        Methods disclosed in this invention can comprise a
     to the extent we expect that a gene duplication in the germ method of detecting disease cell heterogeneity from a
     line bears a variant consistent with genetic dose ( e.g. , 66 % 30 sample comprising polynucleotides from somatic cells and
     for trisomy at a locus ) , detection gene amplification with a disease cells, the method comprising: a ) quantifying poly
     sequence variant dose that deviates significantly from this nucleotides in the sample bearing a sequence variant at each
     expected amount indicates that the CNV is more likely of a plurality of genetic loci ; b ) determining CNV at each of
     present as a result of somatic cell mutation .                     the plurality of genetic loci ; different relative amounts of
        The methods disclosed herein can also be used to infer 35 disease molecules at a locus , wherein the CNV indicates a
     tumor heterogeneity in a situation in which sequence vari- genetic dose of a locus in the disease cell polynucleotides ;
     ants in two genes are detected at different frequencies. For c ) determining a relative measure of quantity of polynucle
     example, tumor heterogeneity can be inferred when two otides bearing a sequence variant at a locus per genetic dose
     genes are detected at different frequencies but their copy at the locus for each of a plurality of the loci ; and d)
     numbers are relatively equal. Alternatively, tumor homoge- 40 comparing the relative measures at each of the plurality of
     neity can be inferred when the difference in frequency loci , wherein different relative measures indicates tumor
     between two sequence variants is consistent with difference heterogeneity. In the methods disclosed herein , the genetic
     in copy number for the two genes . Thus, for example, if an dose can be determined on a total molecule basis . For
     EGFR variant is detected at 11 % and a KRAS variant is example, if there are 1x total molecules at a first locus , and
     detected at 5 % , and no CNV is detected at these genes , the 45 1.2x molecules mapped to a second locus , then the genetic
     difference in frequency likely reflects tumor heterogeneity dose is 1.2 . Variants at this locus can be divided by 1.2 . In
     ( e.g. , all tumor cells carry an EGFR mutant and half the some aspects , the method disclosed herein can be used to
     tumor cells also carry a KRAS mutant). Alternatively, if the detect any disease cell heterogeneity, e.g. , tumor cell het
     EGFR gene carrying the mutant is detected at 2 -times erogeneity. The methods can be used to detect disease cell
     normal copy number, one interpretation is a homogenous 50 heterogeneity from a sample comprising any types of poly
     population of tumor cells , each cell carrying a mutant in the nucleotides, e.g. , cfDNA , genomic DNA , cDNA , or ctDNA .
     EGFR and KRAS genes, but in which the KRAS gene is In the methods, the quantifying can comprise, for example,
     duplicated.                                                    determining the number or relative amount of the polynucle
        In response to chemotherapy, a dominant tumor form can otides . Determining CNV can comprise mapping and nor
     eventually give way through Darwinian selection to cancer 55 malizing different relative amounts of total molecules to a
     cells carrying mutants that render the cancer unresponsive to locus .
     the therapy regimen . Appearance of these resistance mutants     In another aspect , in response to chemotherapy, a domi
     can be delayed through methods of this invention . In one nant tumor form can eventually give way through Darwinian
     embodiment of this method , a subject is subjected to one or selection to cancer cells carrying mutants that render the
     more pulsed therapy cycles , each pulsed therapy cycle 60 cancer unresponsive to the therapy regimen . Appearance of
     comprising a first period during which a drug is adminis- these resistance mutants can be delayed through methods
     tered at a first amount and aa second cycle during which the disclosed throughout. The methods disclosed herein can
     drug is administered at a second, reduced amount. The first comprise a method comprising: a ) subjecting a subject to
     period can be characterized by a tumor burden detected one or more pulsed therapy cycles , each pulsed therapy
     above a first clinical level. The second period can be 65 cycle comprising ( i ) a first period during which a drug is
     characterized by a tumor burden detected below a second              administered at a first amount and (ii ) a second period during
     clinical level . First and second clinical levels can be different   which the drug is administered at a second , reduced amount;
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                                                             US 11,149,306 B2
                                 39                                                            40
     wherein (A) the first period is characterized by a tumor sequence reads are mapped to the reference to a SNV or
     burden detected above a first clinical level; and (B ) the MNV in a polynucleotide molecule or portion thereof that
     second period is characterized by a tumor burden detected corresponds to the reads. The plurality of sequential nucleo
     below a second clinical level .                             tide bases can span an actual, inferred or suspected location
        K. Sequence Variant Detection                          5 of the SNV or MNV. The plurality of sequential nucleotide
        Systems and methods disclosed herein can be used to bases can span at least 3 , 4 , 5 , 6 , 7 , 8 , 9 , or 10 nucleotide
                                                                                                                        2

     detect sequence variants, e.g. , SNVs. For example , a bases .
     sequence variant can be detected from consensus sequences      L. Detecting / Quantifying Nucleic Acids
     from multiple sequence reads, for example, from at least 2 ,                    The methods described throughout can be used to tag
     at least 3 , at least 4 , at least 5 , at least 6 , at least 7 , at least 10 nucleic acids fragments, such as deoxyribonucleic acid
     8 , at least 9 , at least 10 , at least 11 , at least 12 , at least 13 , (DNA ), at extremely high efficiency. This efficient tagging
     at least 14 , at least 15 , at least 16 , at least 17 , at least 18 , at allows a person to efficiently and accurately detect rare DNA
     least 19 , at least 20 , at least 21 , at least 22 , at least 23 , at least in heterogenous populations of original DNA fragments
     24 , at least 25 , at least 26 , at least 27 , at least 28 , at least 29 , ( such as in cfDNA ). A rare polynucleotide (e.g. , rare DNA )
     at least 30, at least 31 , at least 32, at least 33 , at least 34 , at 15 can be a polynucleotide that comprises a genetic variant
     least 35 , at least 36 , at least 37 , at least 38 , at least 39 , at least occurring in a population of polynucleotides at a frequency
     40 , at least 41 , at least 42 , at least 43 , at least 44 , at least 45 , of less than 10% , 5 % , 4 % , 3 % , 2 % , 1 % , or 0.1 % . rare
     at least 46 , at least 47 , at least 48 , at least 49 , at least 50 , at DNA can be a polynucleotide with a detectable property at
     least 51 , at least 52 , at least 53 , at least 54 , at least 55 , at least a concentration less than 50 % , 25 % , 10 % , 5 % , 1 % , or 0.1 %
     56 , at least 57 , at least 58 , at least 59 , at least 60 , at least 61 , 20 Tagging can occur in a single reaction . In some cases , two
     at least 62 , at least 63 , at least 64 , at least 65 , at least 66 , at or more reactions can be performed and pooled together.
     least 67 , at least 68 , at least 69 , at least 70 , at least 71 , at least Tagging each original DNA fragments in a single reaction
                                       2

     72 , at least 73 , at least 74 , at least 75 , at least 76 , at least 77 , can result in tagging such that greater than 50 % (e.g. , 60 % ,
     at least 78 , at least 79 , at least 80 , at least 81 , at least 82 , at 70% , 80 % , 90 % , 95 % , or 99 % ) of the original DNA
     least 83 , at least 84 , at least 85 , at least 86 , at least 87 , at least 25 fragments are tagged at both ends with tags that comprise
                                                                ?
     88 , at least 89 , at least 90 , at least 91 , at least 92 , at least 93 , molecular barcodes, thereby providing tagged DNA frag
     at least 94 , at least 95 , at least 96 , at least 97 , at least 98 , at ments . Tagging can also result in greater than 30% , 35 % ,
     least 99 , at least 100 , at least 200 , at least 300 , at least 400 , 40% , 45 % , 50 % , 51 % , 52 % , 53 % , 54 % , 55 % , 56 % , 57 % ,
     at least 500 , at least 600 , at least 700 , at least 800 , at least 58 % , 59 % , 60 % , 61 % , 62 % , 63 % , 64 % , 65 % , 66 % , 67 % ,
     900 , at least 1000 , at least 2000 , at least 3000 , at least 4000 , 30 68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % ,
     at least 5000 , at least 6000 , at least 7000 , at least 8000 , at 78 % , 79 % , 80 % , 81 % , 82 % , 83 % , 84 % , 85 % , 86 % , 87 % ,
     least 9000, at least 10000 or more sequence reads . A 88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % ,
     consensus sequence can be from sequence reads of a single 98 % , or 99 % of the original DNA fragments tagged at both
     strand polynucleotide. A consensus sequence can also be ends with tags that comprise molecular barcodes. Tagging
     from sequence reads of one strand of a double - stranded 35 can also result in 100 % of the original DNA fragments
     polynucleotide (e.g. , pairing reads). In an exemplary tagged at both ends with tags that comprise molecular
     method, pairing reads allows one to identify with increased barcodes. Tagging can also result in single end tagging .
     confidence the existence of a sequence variant in a molecule .     Tagging can also occur by using an excess amount of tags
     For example, if both strands of a Pair include the same as compared to the original DNA fragments. For example,
     variant, one can be reasonably sure that the variant existed 40 the excess can be at least 5 - fold excess . In other cases , the
     in the original molecule , as the chance that the same variant excess can be at least 1.25 , 1.5 , 1.75 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 ,
                                                                                                                    2           2         2   .

     is introduced into both strands during amplification/ se- 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 30 ,
                                                                                          2                     2                     9


     quencing is rare . In contrast, if only one strand of a Pair 35 , 40 , 45 , 50 , 55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 or more
     includes the sequence variant, this is more likely to be an fold excess . Tagging can comprise attachment to blunt ends
     artifact. Similarly, the confidence that a Singlet bearing a 45 or sticky ends. Tagging can also be performed by hybrid
     sequence variant existed in the original molecule is less than ization PCR . Tagging can also be performed in low reaction
     the confidence if the variant exists in a Duplex, as there is volumes, such as 1 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 ,
     higher probability that the variant can be introduced once 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 ,
     than twice during amplification /sequencing.                    31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 ,
                                                                                                            2                                     9


        Other methods of copy number variation detection and the 50 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 , 61 , 62 ,
     sequence variant detection are described in PCT /US2013 / 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 , 77 , 78 ,
     058061 , which is entirely incorporated herein by reference . 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , 89 , 90 , 91 , 92 , 93 , 94 ,
        Sequence reads can be collapsed to generate a consensus 95 , 96 , 97 , 98 , 99 , or 100 pico- and / or microliters .
     sequence , which can be mapped to a reference sequence to          The method can also include performing high fidelity
     identify genetic variants, such as CNV or SNV. As an 55 amplification on the tagged DNA fragments. Any high
     alternative, the sequence reads are mapped prior to or even fidelity DNA polymerases can be used . For example, the
     without mapping . In such a case , the sequence reads can be              polymerase may be KAPA HiFi DNA polymerase or Phu
     individually mapped to the reference to identify a CNV or                 sion DNA polymerase .
     SNV                                                                         Further, the method can comprise selectively enriching a
        FIG . 3 shows a reference sequence encoding a genetic 60 subset of the tagged DNA fragments. For example , selective
     Locus A. The polynucleotides in FIG . 3 may be Y - shaped or    enrichment can be performed by hybridization or amplifi
     have other shapes, such as hairpin.                             cation techniques. The selective enrichment can be per
       In some cases , an SNV or multiple - nucleotide variant formed using a solid support ( e.g. , beads ) . The solid support
     (MNV ) can be determined across multiple sequence reads at ( e.g., beads ) can comprise probes ( e.g. , oligonucleotides
     a given locus (e.g. , nucleotide base ) by aligning sequence 65 specifically hybridizing to certain sequences. For example ,
     reads that correspond to that locus . Next, a plurality of the probes can hybridize with certain genomic regions , e.g. ,
     sequential nucleotide bases from at least a subset of the genes. In some cases , the genomic regions, e.g. , genes, can
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                                                            US 11,149,306 B2
                                    41                                                                       42
     be regions associated with diseases, e.g. , cancer. After ducted such that a high percentage of fragments, e.g. , greater
     enrichment, the selected fragmented can be attached any than 50 % ( or any percentages as described throughout) are
     sequencing adaptor disclosed in this invention . For example, tagged at both ends, wherein each of the tags comprises a
     a sequence adaptor can comprise a flow cell sequence , a molecular barcode .
     sample barcode, or both . In another example, a sequence 5 M. Processing and / or Analyzing Nucleic Acids
     adaptor can be a hairpin shaped adaptor and / or comprises a         The methods described throughout can be used for pro
     sample barcode . Further, the resulting fragments can be cessing and / or analyzing a nucleic acid sample of a subject.
     amplified and sequenced. In some cases , the adaptor does The method can comprising exposing polynucleotide frag
     not comprise a sequencing primer region .                         ments of the nucleic acid sample to a plurality of polynucle
         The method can include sequencing one or both strands of 10 otide molecules to yield tagged polynucleotide fragments.
     the DNA fragments. In one case , both strands of the DNA The plurality of polynucleotide molecules that can be used
     fragment are independently sequenced. The tagged, ampli- are described throughout the application .
     fied , and /or selectively enriched DNA fragments are                For example , the plurality of polynucleotide molecules
     sequenced to obtain sequence reads that comprise sequence can be each less than or equal to 40 nucleic acid bases in
     information of the molecular barcodes and at least a portion 15 length and have distinct barcode sequences with respect to
     of the original DNA fragments .                                   at least 4 nucleic acid bases and an edit distance of at least
         The method can include reducing or tracking redundancy 1 , wherein each of the distinct barcode sequences is within
     ( as described above) in the sequence reads to determine 20 nucleic acid bases from aa terminal end of a respective one
     consensus reads that are representative of single - strands of of the plurality of polynucleotide molecules , and wherein
     the original DNA fragments. For example , to reduce or track 20 the plurality of polynucleotide molecules are not sequencing
     redundancy, the method can include comparing sequence adaptors.
     reads having the same or similar molecular barcodes and the          The tagged polynucleotide fragments can be subjected to
     same or similar end of fragment sequences . The method can nucleic acid amplification reactions under conditions that
     comprise performing a phylogentic analysis on the sequence yield amplified polynucleotide fragments as amplification
     reads having the same or similar molecular barcodes . The 25 products of the tagged polynucleotide fragments. After
     molecular barcodes can have a barcode with varying edit amplification, the nucleotide sequence of the amplified
     distances ( including any edit distances as described through- tagged polynucleotide fragments is determined . In some
     out) , for example, an edit distance of up to 3. The end of the cases , the nucleotide sequences of the amplified tagged
     fragment sequences can include fragment sequences having polynucleotide fragments are determined without the use of
     an edit distance with varying distances ( including any edit 30 polymerase chain reaction ( PCR) .
     distances as described throughout ), for example, an edit            The method can comprise analyzing the nucleotide
     distance of up to 3 .                                             sequences with a programmed computer processor to iden
         The method can comprise binning the sequence reads tify one or more genetic variants in the nucleotide sample of
     according to the molecular barcodes and sequence informa- the subject. Any genetic alterations can be identified, includ
     tion . For example , binning the sequence reads according to 35 ing but not limited to , base change ( s ), insertion ( s ), repeat ( s ),
     the molecular barcodes and sequence information can be deletion ( s ), copy number variation ( s ), epigenetic modifica
     performed from at least one end of each of the original DNA tion ( s ) , nucleosome binding site ( s ) , copy number change ( s)
     fragments to create bins of single stranded reads. The due to origin ( s) of replication , and transversion ( s ). Other
     method can further comprise in each bin , determining a genetic alterations can include, but are not limited to , one or
     sequence of a given original DNA fragment among the 40 more tumor associated genetic alterations.
     original DNA fragments by analyzing sequence reads.                  The subject of the methods can be suspected of having a
         In some cases , sequence reads in each bin can be col- disease . For example, the subject can be suspected of having
     lapsed to a consensus sequence and subsequently mapped to cancer . The method can comprise collecting a nucleic acid
     a genome . As an alternative, sequence reads can be mapped sample from a subject. The nucleic acid sample can be
     to a genome prior to binning and subsequently collapsed to 45 collected from blood , plasma , serum , urine, saliva , mucosal
     a consensus sequence .                                            excretions, sputum , stool , cerebral spinal fluid , skin , hair,
         The method can also comprise sorting sequence reads into sweat , and /or tears . The nucleic acid sample can be a
     paired reads and unpaired reads . After sorting, the number of cell- free nucleic acid sample. In some cases , the nucleic acid
     paired reads and unpaired reads that map to each of one or sample is collected from no more than 100 nanograms (ng )
     more genetic loci can be quantified.                           50 of double - stranded polynucleotide molecules of the subject.
         The method can include quantifying the consensus reads           The polynucleotide fragments can comprise double
     to detect and / or quantify the rare DNA , which are described                stranded polynucleotide molecules . In some cases , the plu
     throughout. The method can comprise detecting and / or                        rality of polynucleotide molecules are coupled to the poly
     quantifying the rare DNA by comparing a number of times nucleotide fragments via blunt end ligation , sticky end
     each base occurs at each position of a genome represented 55 ligation, molecular inversion probes , polymerase chain reac
     by the tagged , amplified, and /or enriched DNA fragments. tion ( PCR ) , ligation -based PCR , multiplex PCR , single
        The method can comprise tagging the original DNA strand ligation , or single strand circularization.
     fragments in a single reaction using a library of tags . The                     The method as described herein results in high efficiency
     library can include at least 2 , at least 3 , at least 4 , at least 5 , tagging of nucleic acids . For example, exposing the poly
     at least 6 , at least 7 , at least 8 , at least 9 , at least 10 , at least 60 nucleotide fragments of the nucleic acid sample to the
     11 , at least 12 , at least 13 , at least 14 , at least 15 , at least 16 , plurality of polynucleotide molecules yields the tagged
     at least 17 , at least 18 , at least 19 , at least 20 , at least 50 , at polynucleotide fragments with aa conversion efficiency of at
     least 100 , at least 500 , at least 1000 , at least 5000 , at least least 30 % , e.g. , of at least 50% ( e.g. , 60 % , 70 % , 80 % , 90 % ,
     10000 , or any number of tags as disclosed throughout. For 95 % , or 99 % ) . Conversion efficiency of at least 30 % , 35 % ,
     example, the library of tags can include at least 8 tags . The 65 40% , 45 % , 50 % , 51 % , 52 % , 53 % , 54 % , 55 % , 56 % , 57 % ,
     library of tags can include tags (which can generate 64 58 % , 59 % , 60 % , 61 % , 62 % , 63 % , 64 % , 65 % , 66 % , 67 % ,
     different possible combinations ). The method can be con- 68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % ,
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                                                                  US 11,149,306 B2
                                        43                                                                                  44
     78 % , 79 % , 80 % , 81 % , 82 % , 83 % , 84 % , 85 % , 86 % , 87 % , plurality of nucleic acid bases at the given genomic locus . In
     88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % , some cases , the calling can comprise phylogenetic analysis ,
     98 % , or 99 % can be achieved .                                                      voting (e.g. , biased voting ) , weighing , assigning a probabil
         The method can result in a tagged polynucleotide frag- ity to each read at the locus in a family, or calling the base
     ment that share common polynucleotide molecules . For 5 with the highest probability. The consensus sequence can be
     example , any of at least 5 % , 6 % , 7 % , 8 % , 9 % , 10 % , 20 % , generated by evaluating a quantitative measure or a statis
     25 % , 30 % , 35 % , 40 % , 45 % , 50 % , 55 % , 60% , 65 % , 70 % , tical significance level for each of the sequence reads . If a
     75 % , 80 % , 85 % , 90 % , 95 % , 96 % , 97 % , 98 % , 99 % or 100 % quantitative measure is performed , the method can comprise
     of the tagged polynucleotide fragments share a common use of a binomial distribution, exponential distribution , beta
     polynucleotide molecule . The method can comprise gener- 10 distribution , or empirical distribution . However, frequency
     ating the polynucleotide fragments from the nucleic acid of the base at the particular location can also be used for
     sample.                                                                               calling , for example, if 51 % or more of the reads is aa “ A ” at
         In some cases , the subjecting of the method comprises the location , then the base may be called an “ A ” at that
     amplifying the tagged polynucleotide fragments in the pres- particular location . The method can further comprise map
     ence primers corresponding to a plurality of genes selected 15 ping a consensus sequence to a target genome.
     from the group consisting of ALK , APC , BRAF, CDKN2A ,                                  The method can further comprising performing consensus
     EGFR , ERBB2 , FBXW7 , KRAS, MYC , NOTCH1 , NRAS , calling at an additional genomic locus among the genomic
     PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABLI , AKT1 , loci . The method can comprise determining a variation in
     ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 , copy number at one of the given genomic locus and addi
     FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, GNAS, HNF1A , 20 tional genomic locus based on counts at the given genomic
     HRAS, IDHI , IDH2 , JAK2, JAK3, KDR , KIT, MLHI , locus and additional genomic locus .
     MPL , NPM1 , PDGFRA, PROC , PTPN11 , RET, SMAD4,                                         The methods described herein can comprise providing
     SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 , template polynucleotide molecules and a library of adaptor
     CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 , polynucleotide molecules in a reaction vessel . The adaptor
     TP53 , ARID1A , BRCA2 , CCNE1 , ESR1 , RITI , GATA3, 25 polynucleotide molecules can have from 2 to 1,000 different
     MAP2K1, RHEB , ROSI , ARAF, MAP2K2, NFE2L2 , barcode sequences and in some cases are not sequencing
     RHOA , and NTRK1 . Additionally, any combination of these adaptors. Other variations of adaptor polynucleotide mol
     genes can be amplified . For example , 1 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , ecules are described throughout, which can also be used in
     10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , the methods.
                                                           9

     26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 30 The polynucleotide molecules of the adaptors can have
            2                       2                                    2

     42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , or all 54 of these the same sample tag . The adaptor polynucleotide molecules
     genes can be amplified .                                                              can be coupled to both ends of the template polynucleotide
         The methods described herein can comprise generating a molecules . The method can comprise coupling the adaptor
     plurality of sequence reads from a plurality of polynucle- polynucleotide molecules to the template polynucleotide
     otide molecules . The plurality of polynucleotide molecules 35 molecules at an efficiency of at least 30 % , e.g. , of at least
     can cover genomic loci of a target genome. For example, the 50% (e.g. , 60 % , 70 % , 80 % , 90 % , 95 % , or 99 % ) , thereby
     genomic loci can correspond to a plurality of genes as listed tagging each template polynucleotide with a tagging com
     above . Further, the genomic loci can be any combination of bination that is among 4 to 1,000,000 different tagging
     these genes . Any given genomic locus can comprise at least combinations, to produce tagged polynucleotide molecules .
     two nucleic acid bases . Any given genomic locus can also 40 In some cases , the reaction can occur in a single reaction
     comprise a plurality of nucleic acid bases , for example , 2 , 3 , vessel . Coupling efficiency can also be at least 30 % , 35 % ,
     4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 40% , 45 % , 50 % , 51 % , 52 % , 53 % , 54 % , 55 % , 56 % , 57 % ,
     22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 58 % , 59 % , 60 % , 61 % , 62 % , 63 % , 64 % , 65 % , 66 % , 67 % ,
                                                                     2

     38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , or more 68 % , 69 % , 70 % , 71 % , 72 % , 73 % , 74 % , 75 % , 76 % , 77 % ,
             2

     nucleic acid bases .                                                               45 78 % , 79 % , 80 % , 81 % , 82 % , 83 % , 84 % , 85 % , 86 % , 87 % ,
         The method can comprise grouping with a computer 88 % , 89 % , 90 % , 91 % , 92 % , 93 % , 94 % , 95 % , 96 % , 97 % ,
     processor the plurality of sequence reads into families. Each 98 % , or 99 % . Tagging can be non - unique tagging.
     of the family can comprises sequence reads from one of the                               The tagged polynucleotide molecules can then be subject
     template polynucleotides. Each family can comprise to an amplification reaction under conditions that will yield
     sequence reads from only one of the template polynucle- 50 amplified polynucleotide molecules as amplification prod
     otides . For each of the family, the sequence reads can be ucts of the tagged polynucleotide molecules . The template
     merged to generate a consensus sequence . The grouping can polynucleotide molecules can be double - stranded . Further,
     comprise classifying the plurality of sequence reads into the template polynucleotide molecules can be blunt ended .
     families by identifying ( i ) distinct molecular barcodes In some cases , the amplification reaction comprises non
     coupled to the plurality of polynucleotide molecules and (ii ) 55 specifically amplifying the tagged polynucleotide mol
     similarities between the plurality of sequence reads , wherein ecules. The amplification reaction can also comprises using
     each family includes a plurality of nucleic acid sequences a priming site to amplify each of the tagged polynucleotide
     that are associated with a distinct combination of molecular        molecules . The priming site can be a primer, e.g. , a universal
     barcodes and similar or identical sequence reads.                   primer. The priming site can also be aa nick .
        Once merged , a consensus sequence can be called at a 60 The method can also comprise sequencing the amplified
     given genomic locus among the genomic loci. At any given polynucleotide molecules . The sequencing can comprise ( i )
     genomic loci , any of the following can be determined : i ) subjecting the amplified polynucleotide molecules to an
     genetic variants among the calls ; ii ) frequency of aa genetic additional amplification reaction under conditions that yield
     alteration among the calls ; iii ) total number of calls ; and iv ) additional amplified polynucleotide molecules as amplifica
     total number of alterations among the calls . The calling can 65 tion products of the amplified polynucleotide molecules ,
     comprise calling at least one nucleic acid base at the given and /or ( ii ) sequencing the additional amplified polynucle
     genomic locus . The calling can also comprise calling a otide molecules . The additional amplification can be per
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                                                            US 11,149,306 B2
                                    45                                                                      46
     formed in the presence of primers comprising flow cells                 0. Sensitivity and Specificity
     sequences, which will produce polynucleotide molecules                  Methods disclosed herein can be used to detect cancer
     that are capable of binding to a flow cell . The additional polynucleotides in a sample, and cancer in a subject, with
     amplification can also be performed in the presence of high measures of agreement, e.g. , high sensitivity and / or
     primers comprising sequences for hairpin shaped adaptors. 5 specificity. For example, such methods can detect cancer
     The hairpin shaped adaptors can be attached to both ends of polynucleotides ( e.g. , rare DNA ) in a sample at a concen
     a polynucleotide fragment to generate a circular molecule ,
     which can be sequenced multiple times . The method can tration                that is less than 5 % , 1 % , 0.5 % , 0.1 % , 0.05 % , or
     further comprise identifying genetic variants upon sequenc 99.999 %at, 99.9999
                                                                          0.01 % ,     a specificity of at least 99 % , 99.9 % , 99.99 % ,
                                                                                               % , or 99.99999 % . Such polynucleotides
     ing the amplified polynucleotide molecules .                      10
          The method can further comprising separating polynucle may            be indicative of cancer or other disease . Further, such
     otide molecules comprising one or more given sequences methods                  can detect cancer polynucleotides in a sample with
     from the amplified polynucleotide molecules , to produce 94 % , 95 %predictive
                                                                          a positive
                                                                                        ,  96 % ,
                                                                                                  value of at least 90 % , 91 % , 92 % , 93 % ,
                                                                                                   97 % , 98 % , 99 % , 99.9 % , 99.99 % ,
     enriched polynucleotide molecules . The method can also
     comprise amplifying the enriched polynucleotide molecules 15 99.999 % , or 99.9999 % .
     with primers comprising the flow cell sequences. This                   Subjects identified as positive in a test that are in reality
     amplification with primers comprising flow cell sequences positive are referred as true positives (TP) . Subjects identi
     will produce polynucleotide molecules that are capable of fied as positive in a test that are in reality negative are
     binding to a flow cell . The amplification can also be per- referred as false positives (FP ) . Subjects identified as nega
     formed in the presence of primers comprising sequences for 20 tive in a test that are in reality negative are referred as true
     hairpin shaped adaptors. The hairpin shaped adaptors can be negatives (TN) . Subjects identified as negative in a test that
     attached to both ends of a polynucleotide fragment to are in reality positive are referred as false negatives ( FN) .
     generate a circular molecule , which can be sequenced mul- Sensitivity is the percentage of actual positives identified in
     tiple times.                                                         a test as positive . This includes, for example, instances in
         Flow cell sequences or hairpin shaped adaptors can be 25 which one should have found a cancer genetic variant and
     added by non -amplification methods such as through liga- did . ( Sensitivity = TP /( TP + FN ) .) Specificity is the percentage
     tion of such sequences . Other techniques such as hybridiza of actual negatives identified in a test as negative . This
     tion methods can be used , e.g. , nucleotide overhangs .             includes , for example, instances in which one should have
          The method can be performed without aliquoting the found               no cancer genetic variant and did not . Specificity can
     tagged    polynucleotide  molecules . For  example   , once   the 30 be calculated   using the following equation: Specificity = TN /
     tagged polynucleotide molecule is made, the amplification (TN + FP) . Positive predictive value ( PPV) can be measured
     and sequencing can occur in the same tube without any by the percentage of subjects who test positive that are true
     further preparation.
          The methods described herein can be useful in detecting positives . PPV can be calculated using the following equa
     single nucleotide variations ( SNV ), copy number variations 35 tion     : PPVby= TPincreasing
                                                                          increased        /(TP + FP ).sensitivity
                                                                                                         Positive predictive
                                                                                                                   ( e.g. , chancevalue
                                                                                                                                    of ancan  be
                                                                                                                                          actual
     (CNV ), insertions, deletions, and / or rearrangements. In positive            being detected ) and / or specificity (e.g. , chance of
     some cases , the SNVs, CNVs, insertions, deletions, and /or
                                                              9

     rearrangements, can be associated with disease , for example , not mistaking an actual negative for a positive ) .
     cancer .                                                                Low conversion rates of polynucleotides into adaptor
          N. Monitoring a Patient's Status                             40 tagged polynucleotides can compromise sensitivity as it
          Methods disclosed herein can also be used to monitor a decreases the chance of converting, and therefore detecting,
     patient's disease status . The disease of a subject can be rare polynucleotide targets. Noise in a test can compromise
     monitored over time to determine a progression of the specificity as it increases the number of false positives
     disease (e.g. , regression) . Markers indicative of the disease detected in a test . Both low conversion rate and noise
     can be monitored in a biological sample of the subject, such 45 compromise positive predictive value as they decrease the
     as a cell - free DNA sample.                                         percentage of true positives and increase the percentage of
          For example, monitoring a subject's cancer status can false positives.
     comprise ( a ) determining an amount of one or more SNVs                The methods disclosed herein can achieve high levels of
     or copy numbers of a plurality of genes (e.g. , in an exon) , (b ) agreement, e.g. , sensitivity and specificity, leading to high
     repeating such determination at different points in time , and 50 positive predictive values . Methods of increasing sensitivity
     ( c ) determining if there is a difference in the number of include high efficiency conversion of polynucleotides into
     SNVs, level of SNVs, number or level of genomic rear- adaptor-tagged polynucleotides in a sample. Methods of
     rangements, or copy numbers between (a ) and ( b ). The genes increasing specificity include reducing sequencing errors ,
     can be selected from the group consisting of ALK , APC , for example , by molecular tracking.
     BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS, MYC , 55 Methods of the present disclosure can be used to detect
     NOTCHI , NRAS, PIK3CA , PTEN , RB1 , TP53 , MET, AR , genetic variation in non -uniquely tagged initial starting
     ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , genetic material ( e.g. , rare DNA ) at a concentration that is
     EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, GNA11, GNAQ, less than 5 % , 1 % , 0.5 % , 0.1 % , 0.05 % , or 0.01 % , at a
     GNAS, HNF1A , HRAS, IDH1 , IDH2 , JAK2, JAK3 , KDR , specificity of at least 99 % , 99.9 % , 99.99 % , 99.999 % ,
     KIT, MLHI , MPL , NPM1 , PDGFRA , PROC , PTPN11 , 60 99.9999 % , or 99.99999 % . In some aspects , the methods can
     RET, SMAD4, SMARCB1, SMO , SRC , STK11 , VHL , further comprise converting polynucleotides in the initial
     TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 , starting material at an efficiency of at least at least 10 % , at
     CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNE1 , least 20% , at least 30 % , at least 40 % , at least 50% , at least
     ESR1 , RITI , GATA3, MAP2K1, RHEB , ROS1 , ARAF, 60% , at least 70 % , at least 80 % , or at least 90 % . Sequence
     MAP2K2, NFE2L2 , RHOA , and NTRK1 . The genes can be 65 reads of tagged polynucleotides can be subsequently tracked
     selected from any 5 , 10 , 15 , 20 , 30 , 40 , 50 , or all of the genes to generate consensus sequences for polynucleotides with an
     in this group .                                                         error rate of no more than 2 % , 1 % , 0.1 % , or 0.01 % .
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                                                                      US 11,149,306 B2
                                          47                                                                                48
        2. Pooling Methods                                                             61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , 73 , 74 , 75 , 76 ,
                                                                                                    2                        2

        Disclosed herein are methods of detecting copy number                          77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , 89 , 90 , 91 , 92 ,
                                                                                          2

     variation and / or sequence variants at one or more genetic                       93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 or less .
     loci in a test sample. One embodiment is shown in FIG . 8 .          Polynucleotides can be tagged by ligation of adaptors
     Typically, detecting copy number variation involves deter- 5 comprising the tags or identifiers before amplification. Liga
     mining a quantitative measure (e.g. , an absolute or relative tion can be performed using an enzyme, e.g. , a ligase . For
     number) of polynucleotides mapping to a genetic locus of example , tagging can be performed using a DNA ligase. The
     interest in a genome of a test sample, and comparing that DNA ligase can be a T4 DNA ligase , E. coli DNA ligase ,
     number to a quantitative measure of polynucleotides map- and / or mammalian ligase . The mammalian ligase can be
     ping to that locus in aa control sample. In certain methods, the 10 DNA ligase I , DNA ligase III , or DNA ligase IV . The ligase
     quantitative measure is determined by comparing the num- may also be a thermostable ligase . Tags can be ligated to a
     ber of molecules in the test sample that map to a locus of blunt - end of a polynucleotide ( blunt-end ligation) . Alterna
     interest with a number of molecules in the test sample tively, tags can be ligated to a sticky end of a polynucleotide
     mapping to a reference sequence , e.g. , a sequence expected ( sticky -end ligation ). The polynucleotides can be tagged by
     to be present at wild type ploidy number. In some examples, 15 blunt end ligation using adaptors ( e.g. , adaptors having
     the reference sequence is HG19 , build 37 , or build 38. The forked ends ) . High efficiency of ligation can be achieved
     comparison could involve, for example, determining a ratio . using high excess of adaptors ( e.g. , more than 1.5x , more
     Then , this measure is compared with a similar measure          than 2x , more than 3x , more than 4x , more than 5x , more
     determined in a control sample. So , for example , if a test    than 6x , more than 7x , more than 8x , more than 9x , more
     sample has a ratio of 1.5 : 1 for locus of interest versus 20 than 10x , more than 11x , more than 12x , more than 13x ,
     reference locus , and a control sample has a ratio of 1 : 1 for more than 14x , more than 15x , more than 20x , more than
     the same loci , one may conclude that the test sample exhibits 25x , more than 30x , more than 35x , more than 40x , more
     polyploidy at the locus of interest.                            than 45x , more than 50x , more than 55x , more than 60x ,
        When the test sample and the control sample are analyzed more than 65x , more than 70x , more than 75x , more than
     separately, the work flow can introduce distortions between 25 80x , more than 85x , more than 90x , more than 95x , or more
     final numbers in the control and test samples.                  than 100 ).
        In one method disclosed herein ( e.g. , flow chart 800 ) ,     Once tagged with tags that identify source of the poly
     polynucleotides are provided from a test and a control nucleotides, polynucleotides from different sources ( e.g. ,
     sample (802 ) . Polynucleotides in a test sample and those in different samples) can be pooled . After pooling , polynucle
     a control sample are tagged with tags that identify the 30 otides from different sources ( e.g. , different samples) can be
     polynucleotides as originating from the test or control distinguished by any measurement using the tags , including
     sample ( a source tag ) . (804. ) The tag can be , for example, a any process of quantitative measurement. For example, as
     polynucleotide sequence or barcode that unambiguously shown in ( 806 ) (FIG . 8 ) , polynucleotides from the control
     identifies the source .                                                           sample and the test sample can be pooled . The pooled
        The polynucleotides in each of the control and test 35 molecules can be subject to the sequencing ( 808 ) and
     samples also can be tagged with identifier tags that will be bioinformatic work flow . Both will be subject to the same
     carried by all amplification progeny of a polynucleotide. variations in the process and, therefore, any differential bias
     Information from start and end sequences of a polynucle- is reduced . Because molecules originating from control and
     otide and identifier tags can identify sequence reads from test samples are differently tagged , they can be distinguished
     polynucleotides amplified from an original parent molecule . 40 in any process of quantitative measurement.
     Each molecule can be uniquely tagged compared with other                   The relative amount of control and test sample pooled can
     molecules in the sample. Alternatively, each molecule need be varied . The amount of control sample can be same as the
     not be uniquely tagged compared with other molecules in amount of test sample. The amount of control sample can
     the sample. That is , the number of different identifier also be larger than the amount of test sample. Alternatively,
     sequences can be fewer than that the number of molecules 45 the amount of control sample can be smaller than the amount
     in sample. By combining identifier information with start/ of test sample. The smaller the relative amount of one
     stop sequence information, the probability of confusing two sample to the total , the fewer identifying tags needed in the
     molecules having the same start/ stop sequence is signifi- original tagging process. A number can be selected to reduce
     cantly diminished .                                                     to acceptable levels the probability that two parent mol
         Number of different identifiers used to tag a nucleic acid 50 ecules having the same start/ end sequences will bear the
     ( e.g. , cfDNA ) can dependent on the number of different same identifying tag . This probability can be less than 10 % ,
     haploid genome equivalents. Different identifiers can be less than 1 % , less than 0.1 % or less than 0.01 % . The
     used to tag at least 2 , least 10 , least 100 , least 200 , least 300 , probability can be less than 25 % , 24 % , 23 % , 22 % , 21 % ,
     least 400 , least 500 , least 600 , least 700 , least 800 , least 900 , 20% , 19 % , 18 % , 17 % , 16 % , 15 % , 14 % , 13 % , 12 % , 11 % ,
     least 1,000 , least 2,000 , least 3,000 , least 4,000 , least 5,000 , 55 10% , 9 % , 8 % , 7 % , 6 % , 5 % , 4 % , 3 % , 2 % , or 1 % .
     least 6,000 , least 7,000 , least 8,000 , least 9,000 , least 10,000                 Methods disclosed herein can also comprise grouping
     or more different haploid genome equivalents. Accordingly,                        sequence reads . For example , bioinformatic workflow can
     the number of different identifiers used to tag a nucleic acid                    include grouping sequence reads produced from progeny of
     sample, e.g. , cell - free DNA from 500 to 10,000 different                       a single parent molecule , as shown in (810 ) (FIG . 8 ) . This
     haploid genome equivalents and be between any of 1, 2 , 3 , 60 can involve any of the redundancy reduction methods
     4 and 5 and no more than 100 , 90 , 80 , 70 , 60 , 50 , 40 or 30 . described herein . Molecules sourced from test and control
                                                                      2

     For example , the number of different identifier used to tag a samples can be differentiated based on source tags they carry
     nucleic acid sample from 500 to 10,000 different haploid (812 ) . Molecules mapping to a target locus are quantified for
     genome equivalents can be 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , both test - sourced and control - sourced molecules (812 ) . This
     13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 26 , 27 , 28 , 65 can include the normalization methods discussed herein ,
                                           2         9                             2

     29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , 41 , 42 , 43 , 44 ,
                                                >                                      e.g. , in which numbers at a target locus are normalized
     45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56 , 57 , 58 , 59 , 60 ,   against numbers at a reference locus .
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                                                        US 11,149,306 B2
                                  49                                                                 50
       Normalized (or raw ) quantities at a target locus from test   The computer system 1501 can communicate with one or
     and control samples are compared to determine presence of more remote computer systems through the network 1530 .
     copy number variation (814 ) .                                For instance , the computer system 1501 can communicate
       3. Computer Control Systems                                 with aa remote computer system of a user (e.g. , an operator).
       The present disclosure provides computer control systems 5 Examples of remote computer systems include personal
     that are programmed to implement methods of the disclo- computers (e.g. , portable PC ) , slate or tablet PC's ( e.g. ,
     sure . FIG . 6 shows a computer system 1501 that is pro- Apple iPad , Samsung Galaxy Tab ), telephones, Smart
     grammed or otherwise configured to implement the methods phones ( e.g. , Apple iPhone , Android -enabled device,
     of the present disclosure. The computer system 1501 can Blackberry® ), or personal digital assistants. The user can
     regulate various aspects sample preparation , sequencing 10 access the computer system 1501 via the network 1530 .
     and / or analysis. In some examples, the computer system      Methods as described herein can be implemented by way
     1501 is configured to perform sample preparation and of machine ( e.g. , computer processor) executable code
     sample analysis, including nucleic acid sequencing. The stored on an electronic storage location of the computer
     computer system 1501 can be an electronic device of a user system 1501 , such as , for example, on the memory 1510 or
     or a computer system that is remotely located with respect 15 electronic storage unit 1515. The machine executable or
     to the electronic device . The electronic device can be a machine readable code can be provided in the form of
     mobile electronic device .                                    software. During use , the code can be executed by the
        The computer system 1501 includes a central processing processor 1505. In some cases , the code can be retrieved
     unit ( CPU , also “ processor” and “ computer processor” from the storage unit 1515 and stored on the memory 1510
     herein ) 1505 , which can be a single core or multi core 20 for ready access by the processor 1505. In some situations ,
     processor, or a plurality of processors for parallel process- the electronic storage unit 1515 can be precluded , and
     ing . The computer system 1501 also includes memory or machine -executable instructions are stored on memory
     memory location 1510 (e.g. , random - access memory, read- 1510 .
     only memory , flash memory ), electronic storage unit 1515             The code can be pre -compiled and configured for use with
     ( e.g. , hard disk ), communication interface 1520 ( e.g. , net- 25 a machine have a processer adapted to execute the code , or
     work adapter ) for communicating with one or more other can be compiled during runtime. The code can be supplied
     systems , and peripheral devices 1525 , such as cache, other in a programming language that can be selected to enable the
     memory, data storage and / or electronic display adapters. The code to execute in a pre -compiled or as - compiled fashion .
     memory 1510 , storage unit 1515 , interface 1520 and periph-          Aspects of the systems and methods provided herein , such
     eral devices 1525 are in communication with the CPU 1505 30 as the computer system 1501 , can be embodied in program
     through a communication bus ( solid lines ) , such as a moth- ming . Various aspects of the technology may be thought of
     erboard . The storage unit 1515 can be a data storage unit (or as “ products ” or “ articles of manufacture ” typically in the
     data repository ) for storing data . The computer system 1501 form of machine ( or processor) executable code and / or
     can be operatively coupled to a computer network (" net- associated data that is carried on or embodied in a type of
     work ” ) 1530 with the aid of the communication interface 35 machine readable medium . Machine -executable code can be
     1520. The network 1530 can be the Internet, an internet stored on an electronic storage unit , such memory ( e.g. ,
     and / or extranet, or an intranet and /or extranet that is in read -only memory, random - access memory, flash memory )
     communication with the Internet . The network 1530 in some or a hard disk . “ Storage” type media can include any or all
     cases is a telecommunication and /or data network . The of the tangible memory of the computers, processors or the
     network 1530 can include one or more computer servers , 40 like , or associated modules thereof, such as various semi
     which can enable distributed computing, such as cloud conductor memories , tape drives, disk drives and the like ,
     computing. The network 1530 , in some cases with the aid of which may provide non - transitory storage at any time for the
     the computer system 1501 , can implement a peer - to -peer software programming. All or portions of the software may
     network , which may enable devices coupled to the computer at times be communicated through the Internet or various
     system 1501 to behave as a client or a server .                 45 other telecommunication networks. Such communications,
        The CPU 1505 can execute a sequence of machine- for example, may enable loading of the software from one
     readable instructions, which can be embodied in a program computer or processor into another, for example, from a
     or software. The instructions may be stored in a memory management server or host computer into the computer
     location , such as the memory 1510. The instructions can be platform of an application server. Thus, another type of
     directed to the CPU 1505 , which can subsequently program 50 media that may bear the software elements includes optical ,
     or otherwise configure the CPU 1505 to implement methods electrical and electromagnetic waves , such as used across
     of the present disclosure . Examples of operations performed physical interfaces between local devices, through wired and
     by the CPU 1505 can include fetch , decode , execute , and optical landline networks and over various air - links . The
     writeback .                                                        physical elements that carry such waves, such as wired or
        The CPU 1505 can be part of a circuit, such as an 55 wireless links, optical links or the like , also may be consid
     integrated circuit . One or more other components of the ered as media bearing the software. As used herein , unless
     system 1501 can be included in the circuit . In some cases , restricted to non - transitory, tangible “ storage ” media , terms
     the circuit is an application specific integrated circuit such as computer or machine “ readable medium ” refer to
     ( ASIC ).                                                          any medium that participates in providing instructions to a
        The storage unit 1515 can store files, such as drivers, 60 processor for execution.
     libraries and saved programs. The storage unit 1515 can               Hence , a machine readable medium , such as computer
     store user data , e.g. , user preferences and user programs. The executable code , may take many forms, including but not
     computer system 1501 in some cases can include one or limited to , a tangible storage medium , a carrier wave
     more additional data storage units that are external to the medium or physical transmission medium . Non - volatile
     computer system 1501 , such as located on a remote server 65 storage media include , for example, optical or magnetic
     that is in communication with the computer system 1501 disks , such as any of the storage devices in any computer ( s)
     through an intranet or the Internet .                              or the like , such as may be used to implement the databases ,
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                                                               US 11,149,306 B2
                                      51                                                                         52
     etc. shown in the drawings. Volatile storage media include TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RIT1 , GATA3,
     dynamic memory, such as main memory of such a computer MAP2K1, RHEB , ROS1, ARAF, MAP2K2, NFE2L2 ,
     platform . Tangible transmission media include coaxial RHOA , and NTRK1 . The different variations of each com
     cables ; copper wire and fiber optics , including the wires that ponent of the system are described throughout the disclosure
     comprise a bus within a computer system . Carrier -wave 5 within the methods and compositions. These individual
     transmission media may take the form of electric or elec- components and variations thereof, are also applicable in
     tromagnetic signals, or acoustic or light waves such as those this system .
     generated during radio frequency ( RF ) and infrared ( IR ) data       4. Kits
     communications. Common forms of computer -readable                     Kits comprising the compositions as described herein .
     media therefore include for example: a floppy disk , a flexible 10 The kits can be useful in performing the methods as
     disk, hard disk , magnetic tape , any other magnetic medium , described herein . Disclosed herein is a kit comprising a
     a CD - ROM , DVD or DVD - ROM , any other optical plurality of oligonucleotide probes that selectively hybridize
     medium , punch cards paper tape , any other physical storage to least 5 , 6 , 7 , 8 , 9 , 10 , 20 , 30 , 40 or all genes selected from
     medium with patterns of holes , a RAM , a ROM , a PROM the group consisting of ALK , APC , BRAF, CDKN2A ,
     and EPROM , a FLASH -EPROM , any other memory chip or 15 EGFR , ERBB2 , FBXW7 , KRAS , MYC , NOTCHI , NRAS ,
     cartridge, a carrier wave transporting data or instructions, PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 ,
     cables or links transporting such a carrier wave , or any other ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 ,
     medium from which a computer may read programming FGFR2 , FGFR3 , FLT3, GNA11, GNAQ , GNAS, HNF1A ,
     code and / or data . Many of these forms of computer readable HRAS, IDH1 , IDH2 , JAK2 , JAK3, KDR , KIT, MLHI ,
     media may be involved in carrying one or more sequences 20 MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4 ,
     of one or more instructions to a processor for execution .         SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,
        The computer system 1501 can include or be in commu- CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,
     nication with an electronic display 1535 that comprises a TP53 , ARIDIA , BRCA2 , CCNE1, ESR1 , RITI , GATA3,
     user interface (UI ) 1540. The UI can allow a user to set MAP2K1, RHEB , ROSI, ARAF, MAP2K2, NFE2L2 ,
     various conditions for the methods described herein , for 25 RHOA , and NTRK1 . The number genes to which the
     example , PCR or sequencing conditions . Examples of UI's oligonucleotide probes can selectively hybridize can vary .
     include , without limitation, a graphical user interface (GUI) For example, the number of genes can comprise 1 , 2 , 3 , 4 ,
     and web -based user interface .                                    5 , 6 , 7 , 8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 ,
        Methods and systems of the present disclosure can be 22 , 23 , 24 , 25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 ,
                                                                                                                           2

     implemented by way of one or more algorithms. An algo- 30 38 , 39 , 40 , 41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 ,
                                                                                        2

     rithm can be implemented by way of software upon execu-                    or 54. The kit can include a container that includes the
     tion by the central processing unit 1505. The algorithm can ,              plurality of oligonucleotide probes and instructions for per
     for example, process the reads to generate a consequence                   forming any of the methods described herein .
     sequence.                                                                    The oligonucleotide probes can selectively hybridize to
        FIG . 7 schematically illustrates another system for ana- 35 exon regions of the genes, e.g., of the at least 5 genes. In
     lyzing a sample comprising nucleic acids from a subject. some cases , the oligonucleotide probes can selectively
     The system includes a sequencer, bioinformatic software hybridize to at least 30 exons of the genes, e.g. , of the at least
     and internet connection for report analysis by, for example, 5 genes. In some cases , the multiple probes can selectively
     a hand held device or a desktop computer                          hybridize to each of the at least 30 exons . The probes that
        Disclosed herein is a system for analyzing a target nucleic 40 hybridize to each exon can have sequences that overlap with
     acid molecule of a subject, comprising: a communication at least 1 other probe. In some embodiments, the oligoprobes
     interface that receives nucleic acid sequence reads for a can selectively hybridize to non -coding regions of genes
     plurality of polynucleotide molecules that cover genomic disclosed herein , for example, intronic regions of the genes .
     loci of a target genome; computer memory that stores the The oligoprobes can also selectively hybridize to regions of
     nucleic acid sequence reads for the plurality of polynucle- 45 genes comprising both exonic and intronic regions of the
     otide molecules received by the communication interface ; genes disclosed herein .
     and a computer processor operatively coupled to the com-            Any number of exons can be targeted by the oligonucle
     munication interface and the memory and programmed to (i ) otide probes . For example, at least 1 , 2 , 3 , 4 , 5 , 6 , 7 , 8 , 9 , 10 ,
     group the plurality of sequence reads into families, wherein 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , 25 , 30 ,
     each family comprises sequence reads from one of the 50 35 , 40 , 45 , 50 , 55 , 60 , 65 , 70 , 75 , 80 , 85 , 90 , 95 , 100 , 105 ,
     template polynucleotides, (ii ) for each of the families, merge 110 , 115 , 120 , 125 , 130 , 135 , 140 , 145 , 150 , 155 , 160 , 165 ,
     sequence reads to generate a consensus sequence, ( iii ) call 170 , 175 , 180 , 185 , 190 , 195 , 200 , 205 , 210 , 215 , 220 , 225 ,
     the consensus sequence at a given genomic locus among the 230 , 235 , 240 , 245 , 250 , 255 , 260 , 265 , 270 , 275 , 280 , 285 ,
     genomic loci , and ( iv ) detect at the given genomic locus any 290 , 295 , 300 , 400 , 500 , 600 , 700 , 800 , 900 , 1,000 , or more ,
     of genetic variants among the calls , frequency of a genetic 55 exons can be targeted.
     alteration among the calls , total number of calls ; and total The kit can comprise at least 4 , 5 , 6 , 7 , or 8 different
                                                                                                                               2

     number of alterations among the calls , wherein the genomic library adaptors having distinct molecular barcodes and
     loci correspond to a plurality of genes selected from the identical sample barcodes. The library adaptors may not be
     group consisting of ALK , APC , BRAF, CDKN2A , EGFR , sequencing adaptors. For example, the library adaptors do
     ERBB2 , FBXW7 , KRAS, MYC , NOTCHI , NRAS, 60 not include flow cell sequences or sequences that permit the
     PIK3CA , PTEN , RB1 , TP53 , MET, AR , ABL1 , AKT1 , formation of hairpin loops for sequencing. The different
     ATM , CDH1 , CSFIR , CTNNB1, ERBB4 , EZH2 , FGFR1 , variations and combinations of molecular barcodes and
     FGFR2 , FGFR3 , FLT3, GNA11, GNAQ , GNAS, HNF1A , sample barcodes are described throughout, and are appli
     HRAS , IDH1 , IDH2 , JAK2, JAK3, KDR , KIT, MLHI ,                         cable to the kit . Further, in some cases , the adaptors are not
     MPL , NPM1 , PDGFRA , PROC , PTPN11 , RET, SMAD4, 65 sequencing adaptors. Additionally, the adaptors provided
     SMARCB1, SMO , SRC , STK11 , VHL , TERT, CCND1 ,                           with the kit can also comprise sequencing adaptors. A
     CDK4 , CDKN2B , RAF1, BRCA1 , CCND2 , CDK6 , NF1 ,                         sequencing adaptor can comprise a sequence hybridizing to
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                                                                         US 11,149,306 B2
                                           53                                                                                54
     one or more sequencing primers. A sequencing adaptor can                                equivalents ( “ HGE ” ). The general correlation between the
     further comprise a sequence hybridizing to a solid support, amount of DNA and HGE is as follow : 33 pg DNA = 1 HGE ;
     e.g. , a flow cell sequence. For example, a sequencing 3 ng DNA = 1K HGE ; 3 ug DNA = 1M HGE ; 10 pg DNA = 3
     adaptor can be a flow cell adaptor. The sequencing adaptors HE ; 10 ng DNA = 3K HGE ; 10 ug DNA = 3M HGE .
     can be attached to one or both ends of a polynucleotide 5 “ Single Molecule” Library Prep
     fragment. In some cases , the kit can comprise at least 8         High - efficiency DNA tagging ( > 80 % ) is performed by
     different library adaptors having distinct molecular barcodes blunt - end repair and ligation with 8 different octomers (i.e. ,
     and identical sample barcodes. The library adaptors may not 64 combinations) with overloaded hairpin adaptors . 2.5 ng
     be sequencing adaptors. The kit can further include a DNA (i.e. approximately 800 HGE ) is used as the starting
     sequencing adaptor having a first sequence that selectively 10 material. Each hairpin adaptor comprises a random sequence
     hybridizes to the library adaptors and a second sequence that on its non -complementary portion. Both ends of each DNA
     selectively hybridizes to a flow cell sequence. In another fragment are attached with hairpin adaptors. Each tagged
     example, a sequencing adaptor can be hairpin shaped . For fragment can be identified by the random sequence on the
     example, the hairpin shaped adaptor can comprise a comple- hairpin adaptors and a 10 p endogenous sequence on the
     mentary double stranded portion and a loop portion, where 15 fragment.
     the double stranded portion can be attached ( e.g. , ligated ) to Tagged DNA is amplified by 10 cycles of PCR to produce
     a double - stranded polynucleotide. Hairpin shaped sequenc about 1-7 ug DNAs that contain approximately 500 copies
     ing adaptors can be attached to both ends of a polynucleotide of each of the 800 HGE in the starting material.
     fragment to generate a circular molecule , which can be           Buffer optimization, polymerase optimization and cycle
     sequenced multiple times . A sequencing adaptor can be up 20 reduction may be performed to optimize the PCR reactions.
     to 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 , Amplification bias , e.g. , non - specific bias , GC bias, and / or
                                           9

     25 , 26 , 27 , 28 , 29 , 30 , 31 , 32 , 33 , 34 , 35 , 36 , 37 , 38 , 39 , 40 , size bias are also reduced by optimization . Noise ( s ) ( e.g. ,
     41 , 42 , 43 , 44 , 45 , 46 , 47 , 48 , 49 , 50 , 51 , 52 , 53 , 54 , 55 , 56     polymerase - introduced errors) are reduced by using high
     57 , 58 , 59 , 60 , 61 , 62 , 63 , 64 , 65 , 66 , 67 , 68 , 69 , 70 , 71 , 72 , fidelity polymerases.
                             2

     73 , 74 , 75 , 76 , 77 , 78 , 79 , 80 , 81 , 82 , 83 , 84 , 85 , 86 , 87 , 88 , 25 The Library may be prepared using Verniata or Sequenom
     89 , 90 , 91 , 92 , 93 , 94 , 95 , 96 , 97 , 98 , 99 , 100 , or more bases
                                                                  2                          methods .
     from end to end . The sequencing adaptor can comprise                                     Sequences may be enriched as follow : DNAs with regions
     20-30 , 20-40 , 30-50 , 30-60 , 40-60 , 40-70 , 50-60 , 50-70 , of interest (ROI ) are captured using biotin -labeled bead with
     bases from end to end . In a particular example, the sequenc- probe to ROIs . The ROIs are amplified with 12 cycles of
     ing adaptor can comprise 20-30 bases from end to end . In 30 PCR to generate a 2000 times amplification. The resulting
     another example, the sequencing adaptor can comprise DNA is then denatured and diluted to 8 PM and loaded into
     50-60 bases from end to end . A sequencing adaptor can an Illumina sequencer .
     comprise one or more barcodes. For example, a sequencing                Massively Parallel Sequencing
     adaptor can comprise a sample barcode. The sample barcode               0.1 to 1 % of the sample ( approximately 100 pg ) are used
     can comprise a pre -determined sequence. The sample bar- 35 for sequencing.
     codes can be used to identify the source of the polynucle-              Digital Bioinformatics
     otides . The sample barcode can be at least 1 , 2 , 3 , 4 , 5 , 6 , 7 , Sequence reads are grouped into families, with about 10
     8 , 9 , 10 , 11 , 12 , 13 , 14 , 15 , 16 , 17 , 18 , 19 , 20 , 21 , 22 , 23 , 24 ,      sequence reads in each family. Families are collapsed into
     25 , or more (or any length as described throughout) nucleic consensus sequences by voting ( e.g. , biased voting ) each
     acid bases , e.g. , at least 8 bases . The barcode can be 40 position in a family. A base is called for consensus sequence
     contiguous or non - contiguous sequences, as described if 8 or 9 members agree . A base is not called for consensus
     above .                                                        sequence if no more than 60% of the members agree .
        The library adaptors can be blunt ended and Y - shaped and    The resulting consensus sequences are mapped to a ref
     can be less than or equal to 40 nucleic acid bases in length . erence genome. Each base in a consensus sequence is
     Other variations of the can be found throughout and are 45 eachcovered by about 3000 different families. A quality score for
     applicable to the kit .                                             sequence is calculated and sequences are filtered based
                                                                                             on the their quality scores .
                                     EXAMPLES                                                  Sequence variation is detected by counting distribution of
                                                                                             bases at each locus . If 98 % of the reads have the same base
                                      Example 1                                           50 (homozygous) and 2 % have a different base , the locus is
                                                                                             likely to have a sequence variant, presumably from cancer
            Methods for Copy Number Variation Detection                                      DNA .
                                                                                               CNV is detected by counting the total number of
        Blood Collection                                            sequences (bases ) mapping to a locus and comparing with a
         10-30 mL Blood samples are collected at room tempera- 55 control locus . To increase CNV detection , CNV analysis is
     ture . The samples are centrifuged to remove cells . Plasma is performed specific regions, including regions on ALK , APC ,
     collected after centrifugation .                               BRAF, CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS, MYC ,
        cfDNA Extraction                                            NOTCH1 , NRAS, PIK3CA , PTEN , RB1 , TP53 , MET, AR ,
        The sample is subjected to proteinase K digestion . DNA ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,
     is precipitated with isopropanol. DNA is captured on a DNA 60 EZH2 , FGFR1 , FGFR2 , FGFR3 , FLT3, GNA11, GNAQ ,
     purification column ( e.g. , a QIAamp DNA Blood Mini Kit ) GNAS, HNF1A , HRAS, IDH1 , IDH2 , JAK2 , JAK3 , KDR ,
     and eluted in 100 ul solution . DNAs below 500 bp are KIT, MLH1 , MPL , NPM1 , PDGFRA , PROC , PTPN11 ,
     selected with Ampure SPRI magnetic bead capture (PEG / RET, SMAD4 , SMARCB1, SMO , SRC , STK11 , VHL ,
     salt ) . The resulting production is suspended in 30 ul H , O . TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 ,
     Size distribution is checked (major peak = 166 nucleotides ; 65 CCND2 , CDK6 , NF1 , TP53 , ARIDIA , BRCA2 , CCNE1 ,
     minor peak = 330 nucleotides) and quantified. 5 ng of ESR1 , RITI, GATA3, MAP2K1 , RHEB , ROS1 , ARAF ,
     extracted DNA contain approximately 1700 haploid genome MAP2K2, NFE2L2 , RHOA , or NTRK1 genes .
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                                                               US 11,149,306 B2
                                            55                                                                        56
                                         Example 2                                 Cell - free DNA is extracted from plasma of a patient and
                                                                                 amplified by PCR . Genetic variants are analyzed by mas
              Method for Correcting Base Calling by                              sively parallel sequencing of the amplified target genes . For
         Determining the Total Number Unseen Molecules            one set of genes , all exons are sequenced as such sequencing
                             in a Sample                        5
                                                                  coverage had shown to have clinically utility ( Table 1 ) . For
        After fragments are amplified and the sequences of ampli another set of genes, sequencing coverage included those
     fied fragments are read and aligned , the fragments are exons with a previously reported somatic mutation ( Table 2 ) .
     subjected to base calling . Variations in the number of The minimum detectable mutant allele ( limit of detection ) is
     amplified fragments and unseen amplified fragments can 10 dependent on the patient's sample cell -free DNA concen
     introduce errors in base calling . These variations are cor tration , which varied from less than 10 to over 1,000
     rected by calculating the number of unseen amplified frag genomic equivalents per mL of peripheral blood . Amplifi
     ments .
        When base calling for locus A ( an arbitrary locus ) , it is cation
                                                                       of cell
                                                                               may not be detected in samples with lower amounts
                                                                               - free DNA and / or low - level gene copy amplification.
     first assumed that there are N amplified fragments. The 15
     sequence readouts can come from two types of fragments: Certain sample or variant characteristics resulted in reduced
     double -strand fragments and single - strand fragments. The analytic sensitivity, such as low sample quality or improper
     following is a theoretical example of calculating the total collection .
     number of unseen molecules in a sample .
        N is the total number of molecules in the sample.                 The percentage of genetic variants found in cell- free DNA
        Assuming 1000 is the number of duplexes detected . 20 circulating in blood is related to the unique tumor biology of
        Assuming 500 is the number of single - stranded molecule this patient. Factors that affected the amount /percentages of
     detected .                                                        detected genetic variants in circulating cell - free DNA in
        Pis the probability of seeing a strand .                       blood  include tumor growth , turn - over, size , heterogeneity ,
        Q is the probability of not detecting a strand.
                                                                    25 vascularization , disease progression or treatment . Table 3
            Since Q = 1 - P.                                           annotates the percentage, or allele frequency, of altered
            1000 = NP ( 2 ).
                                                                       circulating cell - free DNA ( % cfDNA ) detected in this
                                                                       patient. Some of the detected genetic variants are listed in
            500 = N2PQ.                                                descending order by % cfDNA .
                                                                    30    Genetic variants are detected in the circulating cell -free
            1000 / P ( 2 ) = N .                                       DNA isolated from this patient's blood specimen . These
            500: 2 PQ = N .                                            genetic variants are cancer - associated somatic variants,
                                                                                 some of which have been associated with either increased or
           1000 / P ( 2 ) = 500 : 2PQ.                                      35
                                                                               reduced clinical response to specific treatment. “ Minor
                                                                               Alterations” are defined as those alterations detected at less
           1000 * 2 PQ = 500 P ( 2 ) .                                         than 10 % the allele frequency of “ Major Alterations ” . The
           2000 PQ = 500 P ( 2 ) .
                                                                               detected allele frequencies of these alterations ( Table 3 ) and
                                                                               associated treatments for this patient are annotated .
           2000 Q= 500 P.                                                   40   All genes listed in Tables 1 and 2 are analyzed as part of
                                                                                 the Guardant360TM test . Amplification is not detected for
           2000 ( 1 - P ) = 500P                                                 ERBB2 , EGFR , or MET in the circulating cell - free DNA
           2000-2000 P = 500P .
                                                                               isolated from this patient's blood specimen.
                                                                            45
                                                                                  Patient test results comprising the genetic variants are
           2000 = 500P + 2000 P.                                                 listed in Table 4 .
           2000 =2500 P.                                                                                       TABLE 1
           2000-2500 = P .
                                                                            50                  Genes in which all exons are sequenced
           0.8 = P .
                                                                                           GENES IN WHICH ALL EXONS ARE SEQUENCED
           1000 / P ( 2 ) = N .
                                                                                     ALK                   < 0.1 %         APC               <0.1 %
           1000 : 0.64 = N .                                                         AR                    <0.1 %          BRAF              <0.1 %
                                                                            55
           1562 = N .                                                                CDKN2A                < 0.1 %         EGFR              <0.1 %
                                                                                     ERBB2                  <0.1 %         FBXW7             <0.1 %
           Number of unseen fragments = 62.                                          KRAS                   < 0.1 %        MET               <0.1 %
                                                                                     MYC                   <0.1 %          NOTCH1            <0.1 %
                                         Example 3                          60
                                                                                     NRAS                   < 0.1 %        PIK3CA            <0.1 %
               Identification of Genetic Variants in                                 PTEN                   < 0.1 %        PROC              <0.1 %
          Cancer - Associated Somatic Variants in aa Patient                         RB1                    < 0.1 %        TP53              < 0.1 %


       An assay is used to analyze a panel of genes to identify 65 specimen
     genetic variants in cancer - associated somatic variants with
                                                                   LOD : Limitin which
                                                                                  of Detection . The minimum detectable mutant allele frequency for this
                                                                                        80 % of somatic variants is detected .
     high sensitivity.
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                                                            US 11,149,306 B2
                                   57                                                                                      58
                               TABLE 2                                                                           TABLE 2 - continued
                  Genes in which exons with a previously                                                Genes in which exons with a previously
                  reported somatic mutation are sequenced                                               reported somatic mutation are sequenced
              GENES IN WHICH EXONS WITH A PREVIOUSLY                       5
                                                                                           GENES IN WHICH EXONS WITH A PREVIOUSLY
         REPORTED SOMATIC MUTATION ARE SEQUENCED                                          REPORTED SOMATIC MUTATION ARE SEQUENCED
       ABL1                  < 0.1 %     AKT1                < 0.1 %                    SRC                         < 0.1 %         STK11                <0.1 %
                                                                                        TERT                        < 0.1 %         VHL                  <0.1 %
       ATM                   < 0.1 %     CDH1                <0.1 %
       CSF1R                 < 0.1 %     CTNNB1              < 0.1 %             LOD : Limit of Detection . The minimum detectable mutant allele frequency for this
       ERBB4                 < 0.1 %     EZH2                <0.1 %        10 specimen in which 80 % of somatic variants is detected .
       FGFR1                 < 0.1 %     FGFR2               < 0.1 %
       FGFR3                 < 0.1 %     FLT3                < 0.1 %
       GNA11                 < 0.1 %     GNAQ                <0.1 %                                              TABLE 3
       GNAS                  < 0.1 %     HNFIA               < 0.1 %
       HRAS                  < 0.1 %     IDH1                < 0.1 %             Allele frequency of altered circulating cell-free DNA detected in this patient
       IDH2                  < 0.1 %     JAK2                <0.1 %        15
       JAK3                  < 0.1 %     KDR                 < 0.1 %                                                                   CfDNA without alterations
       KIT                   <0.1 %      MLH1                < 0.1 %             Gene                   CfDNA with alterations (% )               (% )
       MPL                   < 0.1 %     NPM1                < 0.1 %             BRAF V600E                         8.9                           91.1
       PDGFRA                < 0.1 %     PTPN11              <0.1 %              NRAS Q61K                          6.2                           93.8
       RET                   < 0.1 %     SMAD4               < 0.1 %             JAK V617F                          1.5                           98.6
       SMARCB1               < 0.1 %     SMO                 < 0.1 %


                                                                                                       TABLE 4
                                                                                Genomic alterations detected in selected genes
                                                                                      Detected : 51 Genomic Alterations
                                                                                          Mutation Mutation
                                                 Gene       Chromosome Position                ( nt)     (AA )        Percentage Cosmic ID         DBSNP ID
                                                 KRAS            12         25368462       C>T                            100.0 %                  rs4362222
                                                 ALK              2         29416572       T>C           11461V           100.0 %                  rs1 670283
                                                 ALK                        29444095       C>T                            100.0 %                  rs1569156
                                                 ALK
                                                 ALK
                                                 APC
                                                                 ScNuiCn    29543663
                                                                            29940529
                                                                           112176756
                                                                                           T>C
                                                                                           A>T
                                                                                           T >A
                                                                                                         Q500Q
                                                                                                         P234P
                                                                                                         V1822D
                                                                                                                          100.0 %
                                                                                                                          100.0 %
                                                                                                                          100.0 %
                                                                                                                                                   rs2293564
                                                                                                                                                   rs 2246745
                                                                                                                                                   rs459552
                                                 CDKN2A           9         21968199       C>G                            100.0 % COSM14251        rs11515
                                                 FGFR3            4          1807894       G>A           T651T            100.0 %                  rs7688609
                                                 NOTCH1           9        139410424       A>G                            100.0 %                  rs3125006
                                                 PDGFRA           4.        55141055       A>G           P567P            100.0 %                  rs1873778
                                                 HRAS            11           534242       A>G           H27H             100.0 % COSM249860       rs 12628
                                                 EGFR              7        55214348       C>T           N158N             99.9 % COSM42978        rs2072454
                                                 TP53            17            7579472     G>C           P72R              99.8 %                  rs1042522
                                                 APC              5        112162854       T>C           Y486Y             55.0 %                  rs2229992
                                                 APC              5        112177171       G>A           P1960P            53.8 %                  rs465899
                                                 EGFR             7         55266417       T>C           T903T             53.6 %                  rs1140475
                                                 APC              5        112176325       G>A           G1678G            53.2 %                  rs42427
                                                 APC              5        112176559       T>G           S1756S            53.0 %                  rs866006
                                                 EGFR             7         55229255       G>A           R521K             53.0 %
                                                 MET              7        116397572       A>G           Q648Q             52.7 %
                                                 APC              5        112175770       G>A           T1493T            52.7 %                  rs41115
                                                 EGFR             7         55249063       G>A           Q7870             52.6 %                  rs1050171
                                                 NOTCH1           9        139411714       T>C                             52.4%                   rs11145767
                                                 EGFR             7         55238874       T >A          T629T             52.0 %                  rs2227984
                                                 ERBB2           17         37879588       A>G           1655V             51.6 %                  rs1136201
                                                 NOTCH1            9       139397707       G>A           D1698D            51.3 % COSM33747        rs10521
                                                 ALK               2        30143499       G>C           LIL               51.0 %                  rs4358080
                                                 APC               5       112164561       G>A           A545A             51.0 %                  rs351771
                                                 FLT3            13         28610183       A>G                             50.8 %                  rs2491231
                                                 NOTCH1           9        139418260       A>G           N104N             50.5%                   rs4489420
                                                 ALK              2         29444076       G>T                             50.4%                   rs1534545
                                                 PIK3CA           3        178917005       A>G                             50.3 %                  rs3729674
                                                 NOTCH1           9        139412197       G>A                             50.2 %                  rs9411208
                                                 ALK              2         29455267       A>G           G845G            50.0 % COSM148825        rs2256740
                                                 KIT              4         55593464       A>C           M541L            49.9 % COSM28026
                                                 NOTCH1           9        139391636       G>A           D2185D           48.9 %             rs2229974
                                                 PDGFRA           4         55152040       C>T           V824V            48.9 % COSM22413 rs2228230
                                                 ALK              2         29416481       T>C           K1491R           48.9 % COSM1130802 rs1881420
                                                 ALK              2        29445458        G>T           G1125G            48.6 %                  rs3795850
                                                 NOTCH1           9        139410177       T>C                             48.5 %                  rs3124603
                                                 RET             10         43613843       G>T           L769L             48.2 %                  rs1800861
                                                 EGFR             7         55214443       G>A                             48.0 %                  rs7801956
                                                 ALK              2         29416366       G>C           D1529E            47.2 %                  rs1881421
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                                                                 US 11,149,306 B2
                                       59                                                                           60
                                            TABLE 4 - continued
                                 Genomic alterations detected in selected genes
                                        Detected : 51 Genomic Alterations
                                            Mutation Mutation
     Gene        Chromosome Position           ( nt)   (AA )      Percentage Cosmic ID         DBSNP ID

     EGFR              7        55238087       C>T                   45.5 %                    rs10258429
     RET              10        43615633       C > G S904S           44.8 %                    rs1800863
     BRAF              7       140453136       A>T     V600E          8.9 % COSM476
     NRAS              1       115256530       G > T Q61K             6.2% COSM580             rs121913254
     JAK2              9         5073770       G>T     V617F          1.5 % COSM12600          rs77375493



                                   Example 4                                  adaptors are attached to both ends of each cell - free DNA
                                                                           15 fragment by ligation. After ligation , each of the cell - free
           Determining Patient - Specific Limits of Detection                 DNA fragment can be distinctly identified by the sequence
             for Genes Analyzed by Guardant360TM Assays                       of the distinct barcodes and two 20 bp endogenous
                                                                              sequences at each end of the cell - free DNA fragment.
        Using the method of Example 3 , Genetic alterations in                   The tagged cell- free DNA fragments are amplified by
     cell- free DNA of a patient are detected . The sequence reads 20 comprising
                                                                              PCR . The amplified      fragments
                                                                                          oligonucleotide      probesarethatenriched   usingbindbeads
                                                                                                                              specifically        to a
     of these genes include exon and / or intron sequences.                   group  of cancer - associated   genes . Therefore    , cell - free DNA
        Limits of detection of the test are shown in Table 5. The fragments from the group of cancer - associated genes are
     limits of detection values are dependent on cell- free DNA selectively               enriched .
     concentration and sequencing coverage for each gene . 25 Sequencing                      adaptors, each of which comprises a sequenc
                                   TABLE 5                                    ing primer  binding    site , a sample barcode, and a cell- flow
                                                                              sequence , are attached to the enriched DNA molecules . The
         Limits of Detection of selected genes in a patient using Guardant    resulting molecules are amplified by PCR .
                    Complete Exon and Partial Intron Coverage
                                                                                        Both strands of the amplified fragments are sequenced.
                                                                                  30 Because each bubble - containing adaptor comprises a non
     APC                0.1 % AR *              0.2 % ARIDIA                         complementary portion ( e.g. , the bubble ) , the sequence of
     BRAF *             0.1 % BRCA1                   BRCA2                          the one strand of the bubble -containing adaptor is different
     CCND1 *
     CDK4 *
                              CCND2 *
                              CDK6 *
                                                      CCNE1 *
                                                      CDKN2A          0.1 %
                                                                                     from the sequence of the other strand ( complement ). There
     CDKN2B                   EGFR *           <0.1 % ERBB2 *         0.1 %          fore , the sequence reads of amplicons derived from the
     FGFR1 *          < 0.1 % FGFR2 *           0.1 % HRAS            0.1 %       35 Watson strand of an original cell - free DNA can be distin
     KIT *              0.1 % KRAS *            0.1 % MET *           0.1 %          guished from amplicons from the Crick strand of the original
     MYC *
     PDGFRA *
                        0.1 % NF1
                        0.1 % PIK3CA *
                                                      NRAS
                                                0.1 % PTEN
                                                                      0.1 %
                                                                      0.1 %
                                                                                     cell- free DNA by the attached bubble -containing adaptor
     RAF1 *                   TP53              0.1 %
                                                                                     sequences.
                 Exons Covered with Reported Somatic Mutations                          The sequence reads from a strand of an original cell - free
                                                                                  40 DNA fragment are compared to the sequence reads from the
     AKT1
     ATM
                        0.1 % ALK
                        0.1 % CDH1
                                               <0.1 % ARAF
                                                0.1 % CTNNB1          0.1 %
                                                                                     other strand of the original cell- free DNA fragment. If a
     ESR1                     EZH2              0.1 % FBXW7           0.1 %          variant occurs in only the sequence reads from one strand,
     FGFR3              0.1 % GATA3                   GNA11           0.1 %          but not other strand, of the original cell- free DNA fragment,
     GNAQ               0.1 % GNAS              0.1 % HNF1A           0.1 %          this variant will be identified as an error ( e.g. , resulted from
     IDH1
     JAK3
                        0.1 % IDH2
                        0.1 % MAP2K1
                                                0.1 % JAK2
                                                      MAP2K2
                                                                      0.1 %       45 PCR and / or amplification ), rather than a true genetic variant.
     MLH1               0.1 % MPL               0.2 % NFE2L2                            The sequence reads are grouped into families. Errors in
     NOTCH1             0.1 % NPM1              0.1 % PTPN11          0.1 %          the sequence reads are corrected . The consensus sequence of
     RET                0.1 % RHEB                     RHOA                          each family is generated by collapsing.
     RIT1
     SMO
                              ROS1
                        0.1 % SRC
                                                       SMAD4
                                               < 0.1 % STK11
                                                                      0.1 %
                                                                      0.2%
                                                                                        While preferred embodiments of the present invention
     TERT               0.1 % VHL                0.2 %                            50 have been shown and described herein , it will be obvious to
                                     Fusions                                         those skilled in the art that such embodiments are provided
                                                                                     by way of example only . It is not intended that the invention
     ALK
     NTRK1
                      < 0.1 % RET               0.1 % ROS1                           be limited by the specific examples provided within the
                                                                                               specification . While the invention has been described with
     LOD  : Limit of Detection . The minimum   detectable  mutant
     specimen in which 80 % of somatic variants is detected .
                                                                  allele frequency for this 55 reference  to the aforementioned specification, the descrip
     * indicates CNV genes.                                                                    tions and illustrations of the embodiments herein are not
                                                                                               meant to be construed in a limiting sense . Numerous varia
                                                                                     tions , changes, and substitutions will now occur to those
                                  Example 5                                          skilled in the art without departing from the invention.
                                                                                  60 Furthermore, it shall be understood that all aspects of the
         Correcting Sequence Errors Comparing Watson and                             invention are not limited to the specific depictions , configu
                         Crick Sequences                                             rations or relative proportions set forth herein which depend
                                                                                     upon a variety of conditions and variables. It should be
        Double - stranded cell - free DNA is isolated from the                       understood that various alternatives to the embodiments of
     plasma of a patient. The cell - free DNA fragments are tagged 65 the invention described herein may be employed in practic
     using 16 different bubble - containing adaptors, each ofwhich ing the invention . It is therefore contemplated that the
     comprises a distinctive barcode . The bubble -containing                        invention shall also cover any such alternatives , modifica
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                                                       US 11,149,306 B2
                                 61                                                                  62
     tions , variations or equivalents. It is intended that the        progeny polynucleotides for target regions of interest to
     following claims define the scope of the invention and that       produce enriched progeny polynucleotides.
     methods and structures within the scope of these claims and        10. The method of claim 9 , wherein the target regions of
     their equivalents be covered thereby.                           interest comprise genetic sequences of a plurality of genes
        What is claimed is :                                       5 selected from the group consisting of ALK , APC , BRAF,
        1. A method , comprising:                                    CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS , MYC ,
        (a ) providing a population of cell - free deoxyribonucleic NOTCH1      , NRAS , PIK3CA , PTEN , RB1 , TP53 , MET, AR ,
            acid ( cfDNA ) molecules having first and second ABL1 , AKT1            , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,
            complementary strands ;
        (b ) tagging a plurality of the cfDNA molecules in the 10 GNAS, HNF1A, , FGFR2
                                                                     EZH2   , FGFR1
                                                                                       HRAS  ,
                                                                                              , FGFR3 , FLT3, GNA11, GNAQ ,
                                                                                               IDH1 , IDH2 , JAK2 , JAK3 , KDR ,
            population with duplex tags comprising molecular bar KIT, MLHI , MPL , NPM1
            codes to produce tagged parent polynucleotides , RET, SMAD4 , SMARCB1,, PDGFRA          SMO  ,
                                                                                                             , PROC , PTPN11 ,
                                                                                                           SRC  , STK11 , VHL ,
            wherein the duplex tags are attached to both ends of a TERT, CCND1 , CDK4 , CDKN2B , RAF                 1 , BRCA1 ,
            molecule of the plurality of the cfDNA molecules ,
       wherein the plurality of the cfDNA molecules are tagged 15 CCND2  , CDK6, NF1, TP53 , ARIDIA, BRCA2, CCNEI ,
                                                                  ESR1 , RITI, GATA3, MAP2K1 , RHEB , ROS1 , ARAF,
          with n different combinations of molecular barcodes,
           wherein n is at least 2 and no more than 100,000 * z , MAP2K2        , NFE2L2 , RHOA , and NTRK1 .
                                                                         11. The method of claim 10 , further comprising, prior to
           wherein z is a mean of an expected number of duplicate
           molecules in the population of cfDNA molecules that the sequencing, amplifying a plurality of the enriched prog
           map to identical start and stop positions on a reference 20 eny polynucleotides.
           sequence ;                                                    12. The method of claim 1 , wherein the duplex tags are
       (c ) amplifying a plurality of the tagged parent polynucle- part of sequencing adapters.
           otides to produce amplified progeny polynucleotides;          13. The method of claim 1 , wherein reducing or tracking
                                                                                                      9

       (d) sequencing at least aa subset of the amplified progeny      the redundancy of the plurality of sequence reads comprises
          polynucleotides to produce a set of sequence reads; and 25 grouping the paired reads or the unpaired reads into families
       ( e ) reducing or tracking redundancy of a plurality of         based at least in part on (i ) the molecular barcodes associated
            sequence reads from the set of sequence reads using at     with the paired reads or the unpaired reads and ( ii ) sequence
            least sequencing information from the molecular bar   information at the start and stop positions of the paired reads
          codes of the duplex tags to determine distinct cfDNA or the unpaired reads .
          molecules from among the tagged parent polynucle- 30 14. The method of claim 1 , further comprising:
          otides , wherein the distinct cfDNA molecules are deter   ( f) determining quantitative measures of ( i ) paired reads
          mined based on ( i ) paired reads corresponding to             or (ii ) unpaired reads that map to a genomic locus of the
          sequence reads generated from a first tagged strand and       reference     sequence .
          a second tagged complementary strand derived from
          cfDNA molecules from among the tagged parent poly- 35 15.       The method of claim 14 , further comprising:
                                                                    ( g ) estimating with a programmed computer processor a
          nucleotides, or (ii ) unpaired reads corresponding to          quantitative measure of tagged parent polynucleotides
          sequence reads generated from a first tagged strand
          having no second tagged complementary strand                  that map to the genomic locus based on the quantitative
          derived from cfDNA molecules from among the tagged            measures of the paired reads and the unpaired reads.
          parent polynucleotides, wherein reducing or tracking 40 16. The method of claim 15 , further comprising:
          the redundancy of the plurality of sequence reads         (h) detecting copy number variation in the population of
          comprises mapping at least aa subset of the plurality of          cfDNA molecules by determining a normalized quan
          sequence reads to the reference sequence .                         titative measure determined in (g ) at each of one or
       2. The method of claim 1 , wherein the population of                  more genomic loci .
     cfDNA molecules is obtained or derived from a subject 45            17. A method , comprising :
     having cancer.                                                      ( a) tagging a population of double - stranded cell - free
       3. The method of claim 1 , wherein the population of                  deoxyribonucleic acid ( cfDNA ) molecules obtained or
     cfDNA molecules comprises 1 nanogram (ng) to 100 ng of                   derived from a sample of a subject with a set of tags
     cfDNA molecules .                                                        comprising molecular barcodes to produce tagged par
       4. The method of claim 1 , wherein the molecular barcodes 50           ent polynucleotides;
     are ligated to the plurality of the cfDNA molecules using           (b ) amplifying a plurality of the tagged parent polynucle
     more than a 10x excess of duplex tags as compared to the                 otides to produce amplified progeny polynucleotides;
     population of cfDNA molecules , wherein at least 20% of the         ( c ) sequencing at least aa subset of the amplified progeny
     cfDNA molecules from the population are tagged with the                  polynucleotides to produce a set of sequence reads ; and
     duplex tags .                                                55     ( d) sorting a plurality of sequence reads from the set of
        5. The method of claim 1 , wherein the molecular barcodes            sequence reads into (i ) families comprising paired reads
     are ligated to the plurality of the cfDNA molecules using               corresponding to sequence reads generated from aa first
     more than an 80x excess of duplex tags as compared to the               tagged strand and a second tagged complementary
     population of cfDNA molecules .                                         strand derived from double - stranded cfDNA molecules
        6. The method of claim 5 , wherein at least 40% of the 60            from among the tagged parent polynucleotides, and ( ii )
     cfDNA molecules from the population are tagged with the                families comprising unpaired reads corresponding to
     duplex tags .                                                          sequence reads generated from a first tagged strand
       7. The method of claim 1 , wherein z is between 2 and 8 .            having no second tagged complementary strand
       8. The method of claim 1 , wherein the molecular barcodes            derived from double -stranded cfDNA molecules from
     have a length of 5 to 20 base pairs .                         65    among the tagged parent polynucleotides .
       9. The method of claim 1 , further comprising, prior to the    18. The method of claim 17 , wherein the sample is blood ,
     sequencing, enriching at least a subset of the amplified plasma , or serum .
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                                  63                                                                  64
       19. The method of claim 17 , wherein the population of         the reducing or tracking is based on ( i ) the molecular
     double -stranded cfDNA molecules comprises 1 nanogram            barcodes associated the paired reads or the unpaired reads
     (ng ) to 100 ng of double - stranded cfDNA molecules .           and (ii ) sequence information at the start and stop positions
        20. The method of claim 17 , wherein the tagging com of the paired reads or the unpaired reads .
     prises ligating the molecular barcodes to double - stranded 5 25. The method of claim 24 , wherein reducing or tracking
                                                                                                       2


     cfDNA molecules .                                                the redundancy of the plurality of sequence reads comprises
        21. The method of claim 17 , wherein the set of tags determining a base call at one or more genomic loci for a
     comprises 2 to 10,000 different molecular barcode plurality of sequence reads that map to the one or more
     sequences .                                                      genomic loci on the reference sequence .
        22. The method of claim 17 , further comprising, prior to 10 the26.redundancy
                                                                             The method of claim 24 , wherein reducing or tracking
                                                                                                       2

                                                                                       of the plurality of sequence reads comprises
     the sequencing, enriching at least a subset of the amplified collapsing the plurality       of sequence reads to produce con
     progeny polynucleotides for target regions of interest to sensus sequences representative           of a sequence of the original
     produce enriched progeny polynucleotides .                       double - stranded cfDNA molecules from among the tagged
        23. The method of claim 22 , wherein the target regions of 15 parent   polynucleotides.
     interest comprise genetic sequences of a plurality of genes
                                                                         27.  The
     selected from the group consisting of ALK , APC , BRAF, mining quantitative   method of claim 24 , further comprising deter
     CDKN2A , EGFR , ERBB2 , FBXW7 , KRAS , MYC , reads that map to onemeasures                         of at least two of (i ) paired
                                                                                                or more genomic loci , (ii ) unpaired
     NOTCH1 , NRAS, PIK3CA , PTEN , RB1 , TP53 , MET, AR , reads             that map to one or more genomic loci , (iii ) a read depth
     ABL1 , AKT1 , ATM , CDH1 , CSFIR , CTNNB1, ERBB4 ,
     EZH2, FGFR1, FGFR2, FGFR3, FLT3, GNA11, GNAQ, 20 ofreadsthe. paired reads, and (iv) a read depth of the unpaired
     GNAS , HNF1A , HRAS, IDH1 , IDH2 , JAK2, JAK3 , KDR ,  28. The method of claim 27 , further comprising estimat
     KIT, MLH1 , MPL , NPM1 , PDGFRA , PROC , PTPN11 ,   ing with a programmed computer processor a quantitative
     RET, SMAD4, SMARCB1, SMO , SRC , STK11 , VHL ,      measure of tagged parent polynucleotides that map to a
     TERT, CCND1 , CDK4 , CDKN2B , RAF1, BRCA1 ,
     CCND2 , CDK6, NF1 , TP53 , ARIDIA, BRCA2, CCNEL, 25 quantitative
                                                         genomic locus     of theofreference
                                                                      measures        at least twosequence    basedreads
                                                                                                    of (i ) paired    on, the
                                                                                                                          (ii )
     ESR1 , RIT1 , GATA3, MAP2K1, RHEB , ROS1 , ARAF, unpaired reads    , (iii ) a read depth of the paired reads , and ( iv )
     MAP2K2, NFE2L2 , RHOA , and NTRK1 .                                a read depth of the unpaired reads at the genomic locus .
       24. The method of claim 17 , wherein (d) further com            29. The method of claim 1 , wherein the distinct cfDNA
     prises reducing or tracking redundancy of a plurality of
     sequence reads from the set of sequencing reads, wherein the 30 molecules in (e) are determined based on (i) the paired reads
     reducing or tracking comprises mapping at least a subset of and ( ii ) the unpaired reads.
     the plurality of sequence reads to a reference sequence, and
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                           EXHIBIT E
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                                                                   Standard Illumina® Sequencing   Duplex Sequencing




                                        Variant Allele Frequency

                                                                           Panel Position (bp)       Panel Position (bp)
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                                      I. Mutagenic exposure   J. Ageing                    A. Tumour evolution

                                                                                                                                                     Tumor Evolution
            Genetic Toxicity                                                                                                                       Emergence of resistance,
        Occupational exposures,                                                                                                                     drug selection, combo
      Genetic     Toxicity
       cancer risk, biological age,                                                                                                                 Tumor      Evolution
                                                                                                                                                        development
 Occupational
      drug safety,exposures,
                   gene editing
cancer risk, biological                                                                                                                          Emergence of drug
          safety, CRISPR age,
 drug safety, gene editing                                                                                                                    resistance, drug selection
      safety, CRISPR                                                                                  EGFR exon     KRAS G12C   EGFR T790M

                                                                                                                                                     Liquid Biopsies
                                                                                                      19 deletion   mutations    mutations

                                      H. Forensics                                         B. Circulating
                                                                                              tumour DNA
                                                                                                                                               Early detection of cancer,
               Forensics                                                                                                                          Liquid Biopsies
                                                                                                                                              residual disease monitoring
         Crime  scenes, assault,
          Forensics                                                                                                                           Early detection of cancer,
         Disasters, ancient DNA,                                                                                                                   residual disease
     Crime scenes,    assault,
               archeology                                                                                                                            monitoring
 Disasters, ancient DNA,
 
      archaeology
                                                                                                                                                         Organ & Cell
                                                                                                                                             Organ & Cell Transplant
                                                                                           C. Circulating


                                                                                                                                                   Transplant
                                                                                              fetal DNA


                                                                                                                                               Chimerism, engraftment,
                                                                                                                                               Chimerism,
                                                                                                                                             rejection,      engraftment,
                                                                                                                                                        genetic mosaicism
             Microbiota
          Microbiota                  G. Metagenomics
                                                                                                                                                     rejection, genetic




                                                                                                                                                     
       Human health, environmental                                                                                                                       mosaicism
         Human health,
         monitoring, bioreactors
environmental monitoring,
       bioreactors                                                                                                                            Prenatal   Diagnostics
                                                                                                                                               Prenatal Diagnostics
                                                                                                                                                         Fetal genomics
                                                                                                                                                         Fetal  genomics

        Antimicrobial                                                                                                                        Immunological Health
           Antimicrobial
                                      F. Antimicrobial                                     D. Fetal microchimerism
                                         resistance
                                                              E. Immunological mosaicism
Emergence     of antibiotic
      Emergence                &
                  of resistance,                                                                                                                Fetal microchimerism,
 antiviral drug   resistance,
        drug selection, combo                                                                                                                  Immunological Health
                                                                                                                                               autoimmunity,     adaptive
      drugdevelopment
             selection                                                                                                                           Fetal microchimerism,
                                                                                                                                               
                                                                                                                                                        immunity
                                                                                                                                                   autoimmunity, adaptive
                                                                                                                                                           
                                                                                                                                                         immunity
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                            EXHIBIT F
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                                                            Sequencing’s30
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                                                                                                       Dimensions




              Sequencing’s Stars Urge Exploration of New Dimensions
              At the 2020 AGBT meeting, established and up-and-coming scientists alike hailed
              developments in spatial transcriptomics, progress toward the $100 genome, and greater
              appreciation of rare variants
           (https://www.genengnews.com/wp-content/uploads/2020/03/GenomeMap_AGBT_10xGenomics-scaled-
             By Julianna LeMieux, PhD (https://www.genengnews.com/author/juliannalemieux/) - April 1, 2020
           e1585670045996.jpg)

              At Left. Combining whole transcriptome analysis with morphological context, spatial transcriptomics allows researchers to uncover the “where” for
              every “what,” according to 10X Genomics. Here, a section of mouse brain, visualized using the company’s spatial transcriptomics platform, the Visium
              Gene Expression Solution, shows immunoﬂuorescence staining of glial cells (GFAP: magenta). Overlaid spots represent GFAP mRNA selected from
              whole transcriptome data from the Visium Solution. [10x Genomics]




                 A casual observer might have failed to see past the merriment—the sun and sand, the food and
                 drink, the singing and dancing. But make no mistake, despite occurring in a resort atmosphere, the
                 most recent Advances in Genome Biology and Technology (AGBT) meeting was mostly business.

                 The meeting, which took place last February in Marco Island, FL, marked a signiﬁcant anniversary
                 (oﬃcially the 20th, but technically the 21st). The robust conference program featured presentations
                 by the pioneers of genomics, luminaries such as Richard Wilson, PhD, Francis Collins, MD, PhD,
                 Barbara Wold, PhD, Leroy Hood, MD, PhD, George Church, PhD, Rick Myers, PhD, and Marco
                 Marra, PhD, while showcasing the current work of up-and- coming researchers.




https://www.genengnews.com/insights/sequencings-stars-urge-exploration-of-new-dimensions/                                                                            1/5
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                                            The sharing of insights was lively and intense. One of the genomics pioneers,
                                            Wold, emphasized another kind of sharing, the sharing of data. A culture of
                                            data sharing, she insisted, represents a hard-won achievement, and it
                                            contributes, she continued, to genomic science as much as inspiration, grit,
                                            and funding.

                                              Focusing largely on technology, AGBT meetings
                                              have often served as the place to introduce big
                Barbara Wold, PhD,            developments. For example, over the years, AGBT
                professor at the California   meetings have highlighted the launches of next-
                Institute of Technology and a
                pioneer in the ﬁeld of        generation sequencing stars such as Complete
                genomics, has led many        Genomics, Paciﬁc Biosciences, Ion Torrent, and
                development eﬀorts,
                including the one that        Oxford Nanopore. This year’s meeting did not
                produced the large-scale      disappoint. From the much anticipated “$100
                chromatin
                immunoprecipitation assay     genome” to the launch of multiple spatial           Francis S. Collins, MD, PhD,
                known as ChIPSeq. [AGBT]      transcriptomics platforms, conversation from the    director of the National
                                                                                                  Institutes of Health, is a
                                              pools to the beach cabanas was buzzing with news    physician-geneticist noted for
                of a ﬁeld that shows no signs of slowing down.                                    his landmark discoveries of
                                                                                                  disease genes and his leadership
                                                                                                  of the international Human
                The AGBT meeting, then, was mainly about the work of genomic science’s            Genome Project. At the annual
                                                                                                  Advances in Genome Biology
                movers and shakers, notwithstanding the spectacle, one evening, of                and Technology meeting, his
                scientists moving and shaking to an oceanfront performance of “Love               plenary session included this
                                                                                                  quote: “Two decades of
                Shack” by the B-52s. Given the venue, the song’s refrain, the “bang bang          breathtaking progress in
                                                                                                  genomics—but the best is yet to
                bang on the door,” seemed less about the urge to party, and more about            come.” [AGBT]
                the determination to propel genomic science forward.

                Exploring the transcriptome-space continuum

                At this year’s AGBT meeting, the biggest stir was caused by spatial transcriptomics, a technique to
                visualize gene expression in the context of a tissue. The technique allows researchers to perform
                transcriptomics while retaining the positional information for the cells. That is, the cells are allowed
                to occupy intact tissue sections instead of being obliged to contribute to homogenized biopsies.

                Spatial transcriptomics is “at the nexus of pathology, molecular biology, computational biology, cell
                biology, and genomics” noted Alex Swarbrick, PhD, principal research fellow at the Garvan Institute
                in Sydney, Australia. He told GEN that spatial transcriptomics could be used to answer broad
                research questions as well as “directed” translational questions. Regardless of the application,
                Swarbrick asserted, spatial transcriptomics could almost always “bring a unique perspective.”

                Last year, 10x Genomics took a deep dive into this ﬁeld when it acquired Spatial Transcriptomics, a
                Swedish company that developed the technology that supports 10x Genomics’ spatial
                transcriptomics platform, the Visium Spatial Gene Expression Solution. Two other spatial
                transcriptomics platforms were announced at the AGBT meeting. The ﬁrst, from NanoString, is the
                GeoMX digital spatial proﬁler, and the second, from Readcoor, is the RC2 multi-omic spatial
                solution.

                The launch of 10x Genomics’ Chromium, about four years ago, expanded the utility of single-cell
                genomics by moving the technology into the hands of researchers. The company is looking to the
                Visium to do the same with spatial transcriptomics. Visium is basically a slide and reagent kit that is




https://www.genengnews.com/insights/sequencings-stars-urge-exploration-of-new-dimensions/                                            2/5
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                readily adoptable within existing lab infrastructure.

                                                          By contrast, Nanostring’s GeoMX is big, robust, and powerful—and
                                                          expensive (roughly $300k). It provides an incredibly dense and
                                                          complex array of information with an easy-to-use interface.

                                                          Both protein and RNA expression can be obtained on slides that
                                                          present fresh tissue or formalin-ﬁxed, paraﬃn-embedded (FFPE)
                                                          tissue. The researcher can evaluate two distinct areas, for example,
                Kit Fuhrman, PhD, the GeoMx               comparing the tissue of a tumor with the stroma or microenvironment
                Digital Spatial Proﬁler product
                manager at Nanostring, delivers a         surrounding it. Alternatively, the researcher can pinpoint an area,
                presentation at the company’s suite at
                the annual meeting of Advances in
                                                          enclosing just a few cells within a circle.
                Genome Biology and Technology.
                Here, he explains the nuts and bolts of
                the GeoMX platform. From dawn to
                                                The antibodies that bind the tissue have photo-cleavable
                                                oligonucleotide tags (or barcodes) that are a ached by a UV light–
                dusk, the Nanostring team answered
                scientists’ questions and explained
                                                sensitive linker. When the UV light hits the sample, the tags released
                how researchers are currently using
                                                from the bound antibodies, and the oligos are moved onto a microtiter
                the platform in their research. [AGBT]
                                                plate where they can be analyzed by sequencing. The barcode design
                                                with sequencing readout “will open up the imagination of every
                scientist,” assert Brad Gray, president and CEO of Nanostring.

                Readcoor was founded by Richard Terry, who is now the company’s CEO and CTO. Previously, he
                had spent several years in George Church’s lab at Harvard Medical School. Then he developed
                Readcoor’s technology while working at the Wyss Institute.

                Although Readcoor’s launch was signposted all over the conference center, information about the
                company’s RC2 platform was hard to ﬁnd. Terry told GEN that Readcoor is “diﬀerent than other
                companies” and has “a new approach.” The RC2 is powered by proprietary FISSEQ (ﬂuorescent in
                situ sequencing) technology, but other details have yet to be revealed. However, the company has
                divulged that the RC2 has been designed to provide higher resolution than other spatial
                transcriptomics platforms—down to a single cell.

                The proliferation of platforms, which is bound to continue, suggests that spatial transcriptomics has
                arrived. Spatial analysis of tissue is “already revealing new biology across many research disciplines
                like cancer biology, neuroscience, and infectious disease,” notes Gray. He adds that in the next 5 to
                10 years, we will be able to create visual constructs of how cells are organized in organs, and that
                these constructs will provide new insights into how organs function and respond to stimuli.

                Chasing the $100 Genome

                At the AGBT conference, the last presentation—a coveted speaking slot—
                promised to be a blockbuster. Its title: “First $100 genome sequencing
                enabled by new extreme throughput DNBSEQ platform.” Its speaker:
                Radoje (Rade) Drmanac, PhD, CSO of MGI (a subsidiary of China’s
                genomics powerhouse BGI) and a co-founder of Complete Genomics.

                Drmanac presented details of two MGI products: the DNBSeq Tx
                sequencing platform and the CoolMPS sequencing chemistry. He also
                announced that MGI’s sequencing platforms will be made available in the




https://www.genengnews.com/insights/sequencings-stars-urge-exploration-of-new-dimensions/                                               3/5
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                United States for the ﬁrst time in April 2020.                                        Radoje (Rade) Drmanac, PhD,
                                                                                                      CSO of MGI

                The DNBSeq Tx can boast of several improvements over its predecessors.
                These improvements, Drmanac asserts are “not about going from bad to good.” Rather they are
                “about going from excellent to extremely excellent.” MGI reports on average one error in 170
                kilobases of sequenced DNA. According to Drmanac, users are usually happy with about one error
                in one thousand.

                With a surface that is ﬁve times larger and a doubling of the number of spots that can capture DNA,
                the DNBSeq Tx can sequence up to 700 genomes on a single run—a capacity that is an order of
                magnitude larger than any sequencer on the market today. Also notable is the new ﬂuidics system
                designed to handle the big arrays in the DNBSeq Tx. Rather than a ﬂow cell, where the solutions
                wash over the samples, a robot dips a large panel through a series of solutions, conserving reagents
                and cu ing cost.

                CoolMPS (MPS stands for massively parallel sequencing) is the ﬁrst nucleobase-speciﬁc antibody-
                based sequencing chemistry. Drmanac told GEN that MGI wanted to avoid the DNA “scars” that can
                accumulate with traditional sequencing methods that use dye-labeled reversibly terminated
                nucleotides (RTs) and aﬀect the accuracy of subsequent reads.

                “MGI has taken a really out-of-the-box approach to drive the per genome cost down for a large
                project—eliminating ﬂuidics and instead dipping huge slides in reagents” noted Keith Robison,
                PhD, a leading genomics blogger and authority on next-generation sequencing platforms. The new
                platform, he says, is “unlikely to inﬂuence the pa ern of sequencer design,” but it’s “a clever way to
                minimize the waste of expensive reagents.”

                “It’s not unthinkable that a $10 genome may be a useful genome,” Drmanac suggested. There is “no
                theoretical limitation.” He ended his talk on an optimistic note: “At future AGBTs, we’ll hopefully
                present even crazier innovations and breakthroughs.”

                Searching for rare variants is becoming more common

                “Launching at AGBT is a big deal for us because this is where the technical leaders in the ﬁeld
                come,” noted Jesse Salk, MD, PhD, CEO of TwinStrand Biosciences. “We want to put our nickel
                down [physician-speak for ‘stand our ground’] and say that our product is ready to go and ready to
                be widely used.”

                                                    TwinStrand has developed duplex sequencing technology to improve
                                                    sequencing accuracy, making it possible to ﬁnd low-frequency variants
                                                    at a level of detection that has not been achievable before. At AGBT, Salk
                                                    spoke about two of the primary applications where their product could
                                                    be useful, the ﬁrst of which is cancer—more speciﬁcally, the detection of
                                                    minimal residual disease in acute myeloid leukemia (AML) patients. The
                Jesse Salk, MD, PhD, CEO of
                TwinStrand Biosciences, presented   hope is to be able to assess how well treatment works or if cancer
                duplex sequencing technology data   remains after treatment. This information could spare patients
                to a endees of the annual meeting
                of Advances in Genome Biology       additional, unnecessary treatments and allow drug companies to run
                and Technology. The information     smaller, safer, faster clinical trials.
                generated—mutation frequencies,
                simple mutation spectra, and
                trinucleotide mutation spectra—
                can be used together to detect,




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                quantify, and characterize induced
                                           Why did the company start in this area? Salk, who maintains a part-time
                DNA mutagenesis. [AGBT]
                                           position as an oncologist at a University of Washington–aﬃliated VA
                                           hospital, explained to GEN, “This is the area where I live.” He added that
                he wants to focus on something that would bring an immediate beneﬁt by addressing this particular
                unmet need, which is one that he sees on a daily basis. He said, “It’s not just nice, it’s necessary.”

                Besides cancer applications, TwinStrand’s duplex sequencing could be used in almost any
                application where detection of rare variants is useful. The technology, Salk suggested, could detect
                the impact of environmental factors on DNA mutagenesis and recognize pa erns of mutations that
                result from smoking, aﬂatoxin, aristolochic acid, urethane, etc. This work could be important in areas
                of research such as forensics, NASA’s studies on cosmic radiation, or CRISPR-mediated eﬀects of oﬀ-
                target mutagenesis.

                Salk noted that interest has been expressed for applications that he would never have known were
                important to people. He said that “every few weeks, something new comes up,” and that he has a
                hard time not ge ing distracted because there are so many new, cool things the company could do.

                PacBio embraces being single

                Last year at AGBT, Jonas Korlach, PhD, the CSO of Paciﬁc Biosciences (PacBio) could not speak
                about much of anything. At that time, PacBio was stuck in the middle of a prolonged process
                (beginning in November 2018) of merging with Illumina. But, with the deal abandoned earlier this
                year, GEN asked Korlach, “What is next for PacBio?”

                Korlach’s answer had a strong, singular message: PacBio is ﬁring on all cylinders. Its HiFi
                sequencing technology—which oﬀers reads that are long and accurate—is be er than ever.

                “We feel really good about where we are going,” declared Korlach. “A year ago, it wasn’t clear what
                the future would be.” Korlach explained that people stayed on the task at hand—to launch the
                Sequel II—which turned out to be PacBio’s most successful launch ever. Now the gurus of long-read
                sequencing have a place to stand and can turn toward the future.

                When asked about the continuous lowering cost of sequencing, Korlach told GEN that “there are
                limitations to the cheap genomes.” A cheap genome, he asserted, isn’t really a genome. It’s an “SNP
                table” or a series of reads that is mapped to the reference genome. Those are useful, he conceded, but
                he insisted that when it comes to wanting a high-quality human reference assembly, long stretches
                are important. This is where he sees PacBio’s HiFi continuous long reads playing a key part. They
                are not as long as those some other long-read technologies can produce, notably nanopore
                sequencing, but they are more accurate. “To do good functional biology,” Korlach concluded, “you
                need a good genome.”




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              Liquid Biopsies Generate Ample Insights from Sparse Clues
              Duplex sequencing, target enrichment, and other technologies reveal incipient and residual
              disease as well early signs of drug resistance
              By Jon Kelvey (https://www.genengnews.com/author/jonkelvey/) - August 3, 2020
            (https://www.genengnews.com/wp-content/uploads/2020/07/LiquidBiopsies_NIH_ExtracellularVesicles.jpg)

              According to Captis Diagnostics, extracellular vesicles (EVs) have several advantages over other liquid biopsies such as circulating tumor DNA
              (ctDNA) and circulating tumor cells (CTCs). EVs in blood contain circulating biomarkers such as DNA, RNA, lipids, and proteins for potentially
              comprehensive biomarker analyses. (This image, from the NIH, shows extracellular RNA encapsulated in an EV.)




                    Like many other professional gatherings in the bioscience world, this year’s Liquid Biopsy
                    Summit was canceled due to the COVID-19 (h ps://www.genengnews.com/coronavirus)
                    pandemic. It was to have been the ﬁfth such event organized by the Cambridge Health
                    Institute, which had arranged for liquid biopsy’s leaders to present their latest advances June
                    15–17 in Sea le.

                    The cancellation of any bioscience event is unwelcome news, but the loss of this year’s Liquid
                    Biopsy Summit may be felt especially keenly because it comes just when the liquid biopsy ﬁeld
                    is burgeoning. According to Grand View Research, the ﬁeld a ained a value of $24 million in
                    2016 and is projected to grow to more than $2 billion by 2030.

                    In partial compensation for the loss, GEN presents this article. It is a virtual summit of sorts. It
                    highlights what would have been discussed at the real summit by several key presenters. The
                    emphasis here is on emerging technologies that are helping the liquid biopsy ﬁeld overcome its
                    biggest challenges: weak signals, subtly variable fragments, and vexing interpretive puzzles.

                    Tiny diﬀerences in tiny samples

                    “If you [take a liquid biopsy], you are sampling a liquid to detect something,” says Jesse Salk,
                    MD, PhD, the CEO of TwinStrand Biosciences. “A blood draw is a liquid biopsy. Taking a urine
                    sample—that’s a liquid biopsy. Taking a sample of cerebrospinal ﬂuid—that’s a liquid biopsy.
                    You could say a complete blood count is a liquid biopsy.”



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                    But when it comes to a liquid biopsy designed to detect signs of a particular cancer, or a rare
                    mutation in a tumor, the signal-to-noise ratio can cause real problems for existing next-
                    generation sequencing (NGS) techniques, according to Salk, who notes that limitations in both
                    optics and biochemistry typically lead to background error rates of 0.1–1%“That’s not a
                    problem at all,” he says, “if you’re looking at the genetic diﬀerence between person A and
                    person B while focusing, for example, on the gene that codes for green eyes versus brown eyes.”

                    The background error rate, however, becomes a big problem when you’re looking at tiny
                    diﬀerences in a tiny sample. “Suppose you’re trying to detect one leukemia cell carrying one
                    leukemia-deﬁning mutation mixed in with 100,000 normal cells,” Salk suggests. “If your
                    background error rate is 1%, you can’t do that.”

                    What TwinStrand has developed is a high-accuracy NGS technique called duplex sequencing,
                    which uses both strands of a DNA molecule in the sequencing process to check for errors.
                    Duplex sequencing, Salk maintains, can reduce the error rate to about one in 10 million. “We
                    can,” he continues, “detect incredibly low-frequency variants and mutations.” What he had
                    planned for the summit was a presentation on two applications of duplex sequencing: the
                    detection of residual disease in patients being treated for blood cancers, and the detection of
                    emerging drug resistance in those patients.

                    In patients with acute myeloid leukemia, the front-line treatment, Salk says, is chemotherapy.
                    But determining whether the cancer is truly gone or whether there are residual cancer cells is
                    diﬃcult with existing technologies, and giving additional, cytotoxic treatment carries its own
                    risks for patients who might not actually carry any residual disease.

                    “Historically, we have done bone marrow biopsies because it gives us a higher concentration of
                    cells, but we know they are pre y unpleasant,” Salk acknowledges. “We would love to be able
                    to take a blood sample and look for one in a million cancer cells left.” He asserts that if duplex
                    sequencing were performed instead, it would be possible to detect leukemia-related mutations
                    at levels of one in a million. Doing so, he argues, could improve the development of new
                    therapies and be er inform treatment decisions. For example, clinicians could identify people
                    who should start or continue taking anticancer therapies. “Clinicians could,” Salk emphasizes,
                    “prevent people from ge ing toxicities from unnecessary treatments when their cancer is
                    already cured.”

                    Duplex sequencing could also help clinicians detect cancer drug resistance as soon as it emerges
                    because the genetic changes that characterize drug resistance in a tumor are understood. At
                    present, Salk says, these changes seldom inform assessments of drug resistance. Instead, the
                    typical clinical sign that a tumor has become resistant to a chemotherapy drug is that a patient
                    relapses.

                    “What if,” Salk asks “you could see that happening really, really early—like months before
                    somebody apparently relapsed. What if you saw their leukemia count come back then?”

                    With duplex sequencing, he says, clinicians could see resistance occurring at “low, low
                    frequency.” He adds that in clinical practices where there are multiple generations of drugs
                    already approved, “you just switch somebody to a diﬀerent one to prevent their relapse.”




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                    TwinStrand Biosciences is currently oﬀering duplex sequencing kits and bioinformatics
                    analysis, but the company is also collaborating with other companies, discusses Salk, in some
                    cases helping the other companies identify patients most suitable to clinical trials.

                    “You really want to ﬁnd the subset of patients who are likely to beneﬁt and not the ones who
                    are already cured or not at risk of relapse,” he advises. “They just slow down your trial. They
                    ﬂood out your signal.” Working with the right patients, he points out, can “really help these
                    trials move along quickly so these drugs can get approved and get to patients.”

                    One means for many ends

                    At Claret Bioscience, research has focused on capturing genetic information that is typically lost
                    during analysis of the cell-free DNA (cfDNA) in a liquid biopsy, relates Varsha Rao, PhD, the
                    company’s director of clinical research and development.

                    “When DNA is fragmented, it has diﬀerent types of ends,” she says. “There can be blunt ends,
                    5′ ends, 5′ overhangs, and 3′ overhangs, depending on the nuclear activity. This information is
                    usually lost because you have to do end polishing. You ﬁll in 5′ overhangs or you cleave 3′
                    overhangs, and then you basically generate blunt-ended molecules.”

                    Rao was headed to the Liquid Biopsy Summit to present on Claret’s Single Reaction Single-
                    Stranded LibrarY (SRSLY) technology, which uses a single-step phosphorylation/ligation
                    reaction to produce complex libraries from small samples of DNA. This approach avoids end
                    polishing and preserves the native ends of DNA fragments.

                    “We believe that DNA fragmentation is important in trying to understand the biology of any
                    disease,” she declares. “Our aim is to generate technologies that will retain the DNA ends.”

                    Claret’s technology also captures many shorter fragments of DNA, providing more information
                    than other techniques, asserts Rao, who adds that there are a lot of fragments between 30 and
                    120 base pairs that are lost in conventional methods. “Our technology addresses the
                    shortcomings in current approaches that suggest you have to ignore your short fragments, and
                    that you have to do end repair and lose information about DNA fragmentation points.”

                    Claret is currently oﬀering SRSLY library preparation kits in 12- or 96-reaction formats.
                    According to Rao, the company is just ge ing started. “We just recently came out of stealth
                    mode,” she explains. “We’ve been selling the kits since November and gaining a lot of
                    a ention.”

                    Magnetic enrichment of short fragments

                    When Apostle entered the liquid biopsy space, the company resolved to develop technology
                    that could capture information that eluded existing technologies. Soon, the company began
                    exploring what it characterizes as a unique solution to a common problem.

                    Apostle’s CEO, David Ge, MD, PhD, notes that any liquid biopsy technology needs to detect a
                    small signal (generated by a diseased tissue) within a huge amount of noise (generated by
                    healthy tissues). In addition to this basic requirement, Ge points to more advanced challenges:
                    “When nucleic acids come from diseased organs or tissues, they are for the most part shorter—




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                    or sometimes even longer—than the nucleic acids from normal tissues. In general, the small
                    pieces from diseased tissues are more diverse or varied compared with those from normal
                    tissues.”

                    The cfDNA molecules of interest are not the sections of genomic DNA that are so large that one
                    might use conventional technology to sequence them. Instead of focusing on these sections,
                    which are hundreds to thousands of base pairs long, Apostle distinguishes between cfDNA
                    fragments that are much shorter. These cfDNA fragments often range from 165 to 175 base pairs
                    if they come from healthy tissues, and they are typically about 20 base pairs shorter if they
                    come from diseased organs.

                    The very subtle diﬀerence between short and even shorter fragments could be very helpful—if
                    it could be measured eﬃciently in a clinical se ing. “What we tried to do,” Ge says, “is invent a
                    new way to isolate those circulating, small fragments of genetic materials.”

                    At present, cfDNA enrichment technology usually involves spin columns or magnetic
                    nanoparticles. Seeing an opportunity to use magnetic nanoparticles more eﬀectively, Apostle
                    developed its MiniEnrich technology. “We invented a new way to bind and enrich the
                    functional groups to interact with the nucleic acid fragments, on top of a new magnetic bead
                    core,” Ge details. The result, he says, is a technology that can recover DNA fragments as small
                    as 20 base pairs. He adds that MiniEnrich technology provides the resolution necessary to
                    utilize the length of fragments as a means of detecting disease.

                    Ge is willing to entertain diﬀerent options for MiniEnrich’s introduction to the market. The
                    technology could be developed into a standalone product, or it could be integrated into another
                    company’s existing product line. Either way, he hopes that Apostle will bring a ﬁnished
                    product to the market before 2021.

                    A peek inside extracellular vesicles

                    If the Liquid Biopsy Summit hadn’t been canceled, Captis Diagnostics CEO HongZhang He,
                    PhD, would have discussed his company’s focus on a very diﬀerent medium for conducting
                    liquid biopsy. Rather than detect or analyze non-encasulated cfDNA in the blood, Captis
                    harnesses information contained in nanoscale extracellular vesicles (EVs) from tumor tissues.

                    “EVs have several unique advantages over tissue biopsies and other liquid biopsies such as
                    circulating tumor DNA (ctDNA) and circulating tumor cells (CTCs),” He tells GEN. “EVs in
                    blood contain circulating biomarkers such as DNA, RNA, lipids, and proteins for potentially
                    comprehensive biomarker analyses.”




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                         Among the more interesting biomarkers found in liquid biopsies are the molecular fragments shed by tumors. Circulating
                         tumor DNA (ctDNA), for example, is being subjected to increasingly sophisticated analyses that can tune into vanishingly
                         weak signals while ﬁltering out enormous amounts of background noise. [Jill George/NIH]




                    Captis has developed a lipid nanoprobe that can label EVs for magnetic enrichment and isolate
                    EVs from plasma within 15 minutes. According to He, the lipid nanoprobe “does not require
                    expensive and bulky equipment, which is suitable for miniaturization, automation, and high-
                    throughput instrumentation.”

                    Captis published a proof-of-concept study of this technology in 2017, in Nature, but He said that
                    the company has more work to do before its approach is ready for the clinic. “In the next
                    phase,” He notes, “we will validate the analytical sensitivity/speciﬁcity, the clinical
                    sensitivity/speciﬁcity, and the clinical utility of the developed assay in large clinical trials
                    evaluating patients with advanced cancer.”

                    Making sequencing a snap

                    NGS is essential to liquid biopsy approaches, but according to Avida Biomed’s head of clinical
                    research, Grace Zhao, PhD, the technology has several drawbacks—it’s complicated, time
                    consuming, and often quite expensive, especially when it is used to search for cancer-speciﬁc
                    mutations and biomarkers through methylation analysis. “Nowadays, if you need whole
                    genome methylation analysis, you might pay $3000 for cfDNA analysis,” she says. “Even if you
                    need smaller coverage, you might pay up to $1000. It’s still too expensive if, say, you want to do
                    early screening.”

                    So, Avida’s focus as a company, according to Zhao, has been to make NGS as simple and
                    inexpensive as possible. “We named our technology Point-n-Seq™ because we want to make
                    NGS as easy to use as a point-and-shoot camera,” she points out.




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                    Point-n-Seq, as Zhao would have discussed at the summit, is a platform for combined
                    methylation sequencing and mutation analysis of cfDNA signals of cancer in blood plasma. It
                    may be used to assess all disease stages, but it may be most valuable as a means of enabling
                    early detection, which requires high sensitivity. Typically, only minuscule signals are emi ed
                    by early-stage tumors.

                    “Current bisulﬁte-based technologies have a very low recovery rate. If you put in, say, 10
                    nanograms of human DNA, which is around 3000 copies of the genome, you may get 100–200
                    copies back,” she explains. “If your recovery is so low, you’ve lost a lot of signal. You’ve lost
                    your sensitivity.”

                    Point-n-Seq, by contrast, can handle nanogram-level inputs and perform a combined
                    methylation and genetic alteration analysis without spli ing a DNA sample. And by focusing
                    on small panels suﬃcient for one cancer type, Avida can keep the cost of sequencing low, the
                    workﬂow eﬃcient, and the ﬁdelity of the signal high.

                    “If you’re looking at a huge panel, your background noise is very high,” Zhao points out. “The
                    target capture step in Point-n-Seq for targeted methylation sequencing is before C-to-T
                    conversion and before any ampliﬁcation, which enables highly speciﬁc target enrichment even
                    in very focused panels. If we do a very focused panel, it is cheap and fast, and the background
                    noise can be very low.”

                    The result is an NGS tool that has a turnaround time of 1–2 days instead of 5–10 days, Zhao
                    asserts, and at 1/10th the usual sequencing cost.

                    “Our goal is to make our platform technology readily available to researchers and clinicians
                    doing cu ing-edge work, and we’re open to partnering with collaborators,” she indicates. “If a
                    big pharmaceutical company looks for an assay to screen for patients—say, it wants to stratify
                    the patients at the early relapse stage—we believe that our assay can provide such a tool.”

                    Challenges ahead

                    The emerging technologies in the liquid biopsy ﬁeld, like all emerging technologies, present
                    new opportunities and challenges. As Salk notes, liquid biopsy technologies that enhance
                    sensitivity not only probe deeper and detect more ﬁne variations in genetic samples, they also
                    generate data that can be hard to interpret.

                    “Mutations accumulate at low frequency during life that look completely like they come from
                    cancer, but they are actually just a part of aging,” he says. “One has to be very careful now that
                    we are able to detect these, to not automatically assume that this means someone has cancer.
                    With great sensitivity comes great responsibility.”

                    And then there is the more immediate and universal challenge posed by the COVID-19
                    pandemic, which is complicating operations in every ﬁeld. The bioscience ﬁeld—as the
                    cancellation of the Liquid Biopsy Summit demonstrates—is no exception.

                    “The COVID-19 situation has had a very lasting impact on our operations,” says Ge, who adds
                    that the impact goes beyond work-from-home arrangements. “We were working to get to the
                    next stage in clinical studies with a larger sample size,” he explains. “That has been paused as




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                    well, as every hospital is ﬁghting COVID-19 at the moment.”

                    Still, Ge believes that the challenges presented by COVID-19, like the liquid biopsy ﬁeld’s
                    technological challenges, will shake out with time. “I personally believe it will be over in no
                    time, within several months,” he says. “It will be over, and we will get back on track very
                    soon.”


                     Smarter Immuno-Oncology Trials Using Tumor-Informed ctDNA
                     Analysis
                     By Alexey Aleshin

                     Immune checkpoint inhibitors are being increasingly investigated
                     through clinical trials for a range of cancers. However, only a minority
                     of patients beneﬁt from these interventions, and current biomarkers do
                     not reliably predict treatment response.

                     A prospective Phase II clinical trial, described in Nature Cancer, assessed
                     circulating tumor DNA (ctDNA) as a biomarker of response to immune
                     checkpoint inhibitors in patients with advanced solid tumors being treated with
                     pembrolizumab. It demonstrated that sensitive ctDNA assessment, using a tumor-informed
                     assay—namely, the Signatera assay from Natera—can predict response to pembrolizumab in
                     a histology-agnostic manner.

                     Signatera provided a readout on the trial in as short a time as six weeks, while
                     complementing standard radiologic imaging to diﬀerentiate pseudoprogression from true
                     progression, potentially enabling patients who are deriving clinical beneﬁt to continue
                     therapy, while sparing others from unnecessary toxicities and costs.




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                                                                                                 Article

 Ultra-Sensitive TP53 Sequencing for Cancer
 Detection Reveals Progressive Clonal Selection in
 Normal Tissue over a Century of Human Lifespan
 Graphical Abstract                                                Authors
                                                                   Jesse J. Salk, Kaitlyn Loubet-Senear,
                                                                   Elisabeth Maritschnegg, ...,
                                                                   Robert Zeillinger, Paul Speiser,
                                                                   Rosa Ana Risques

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                                                                   In Brief
                                                                   Salk et al. demonstrate that ultra-
                                                                   sensitive DNA sequencing to identify
                                                                   TP53 mutations among cells shed into
                                                                   uterine fluid shows potential for minimally
                                                                   invasive ovarian cancer detection. Yet
                                                                   they also reveal ubiquitous age-related
                                                                   accumulations of cancer-like TP53
                                                                   mutations in the normal tissues of healthy
                                                                   women. This highlights an important
                                                                   challenge of using tumor driver mutations
                                                                   for cancer screening.


 Highlights
 d   Ovarian cancer can be detected by ultra-accurate
     sequencing of uterine lavage DNA

 d   However, low-frequency TP53 mutations also exist in normal
     tissue of healthy women

 d   TP53 mutations are increasingly selected for with age,
     revealing somatic evolution

 d   Age-associated, cancer-like mutations challenge specificity
     for cancer detection




            Salk et al., 2019, Cell Reports 28, 132–144
            July 2, 2019 ª 2019 The Authors.
            https://doi.org/10.1016/j.celrep.2019.05.109
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                                                                                                                          Cell Reports

                                                                                                                     Article

  Ultra-Sensitive TP53 Sequencing for Cancer
  Detection Reveals Progressive Clonal Selection in
  Normal Tissue over a Century of Human Lifespan
  Jesse J. Salk,1,2 Kaitlyn Loubet-Senear,3,12 Elisabeth Maritschnegg,4,13 Charles C. Valentine,2 Lindsey N. Williams,2
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  SUMMARY                                                               INTRODUCTION

  High-accuracy next-generation DNA sequencing                          Worldwide, >250,000 new cases of ovarian cancer are diag-
  promises a paradigm shift in early cancer detection                   nosed each year, and two-thirds of these women die from the
  by enabling the identification of mutant cancer mole-                 disease (Bray et al., 2018). This high mortality is largely due to
  cules in minimally invasive body fluid samples. We                    the high frequency of metastasis before diagnosis and a lack
  demonstrate 80% sensitivity for ovarian cancer                        of effective screening and early detection methods. More than
                                                                        60% of cases are diagnosed at an advanced stage, when the
  detection using ultra-accurate Duplex Sequencing
                                                                        5-year survival rate is only 29% (Siegel et al., 2017). In contrast,
  to identify TP53 mutations in uterine lavage. How-
                                                                        survival for women with localized disease is 92%, indicating that
  ever, in addition to tumor DNA, we also detect                        early ovarian cancer detection could vastly decrease mortality,
  low-frequency TP53 mutations in nearly all lavages                    yet diagnosis at this stage is rare. The most used approach for
  from women with and without cancer. These muta-                       ovarian cancer screening involves a combination of serum pro-
  tions increase with age and share the selection traits                tein CA-125 level and transvaginal ultrasound, but this has not
  of clonal TP53 mutations commonly found in human                      demonstrated survival benefit, and it may result in harm due to
  tumors. We show that low-frequency TP53 mutations                     false-positives, such as unnecessary surgeries in cancer-free
  exist in multiple healthy tissues, from newborn to                    women (Henderson et al., 2018). Thus, the US Preventive Ser-
  centenarian, and progressively increase in abun-                      vices Task Force recommends against its use (Grossman
  dance and pathogenicity with older age across                         et al., 2018). Better tools for early ovarian cancer detection re-
                                                                        mains an urgent and unmet clinical need (Drescher and Ander-
  tissue types. Our results illustrate that subclonal
                                                                        son, 2018).
  cancer evolutionary processes are a ubiquitous
                                                                           In recent years, it has been demonstrated that cancers can be
  part of normal human aging, and great care must                       non-invasively detected in ‘‘liquid biopsies,’’ that is, blood or
  be taken to distinguish tumor-derived from age-                       other body fluids in which cancers shed cells or DNA (Diaz and
  associated mutations in high-sensitivity clinical                     Bardelli, 2014). Proof-of-principle for this approach in ovarian
  cancer diagnostics.                                                   cancer detection was initially accomplished via the identification


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  A                                                                 C                                                   D




                                                                    E




  B



                                                                    F




 Figure 1. Detection of Ovarian Cancer Using UL and DS
 (A) UL is carried out by passing a small catheter through the cervix, followed by concurrent flushing and aspiration with 10 mL of saline.
 (B) After cell isolation by centrifugation, DNA is extracted, fragmented, and ligated with DS adapters, which include degenerate molecular tags (a and b). Following
 amplification, hybrid capture, and sequencing, reads sharing the same tags are grouped and mutations are scored only if present in both strands of each original
 DNA molecule.
 (C and D) Each spot on the 2D surface represents one of the 1,179 coding positions in TP53. The y axis indicates mutant allele frequency (MAF). By standard NGS,
 all positions show false mutations (C). DS of the same sample (case 6 in E) eliminates errors and reveals only true mutations (D).
 (E and F) TP53 mutations identified by DS in UL from women with ovarian cancer (E) and women who are cancer-free (controls; F). Fuchsia bars, matching tumor
 mutation; blue bars, biological background mutations. Mutations are sorted by ascending MAF within each patient and patients are sorted by age.


 of tumor-derived mutations in DNA extracted from routine                           fallopian tubes, the latter being the site of origin of most serous
 Papanicolaou (Pap) tests (Kinde et al., 2013). Although the sensi-                 ovarian cancers (Labidi-Galy et al., 2017). This lavage technique
 tivity for ovarian cancer detection was only 41%, these findings                   demonstrated 80% sensitivity for ovarian cancer detection
 supported the exciting possibility that ovarian cancer could be                    (Maritschnegg et al., 2015). The challenge, however, was that
 detected by the genetic identification of cancer cells dissemi-                    cancer-derived mutations, particularly those from early-stage
 nated into the gynecological tract. A follow-up study recently                     tumors, were often present in a very small fraction of the total
 reported that improved sensitivity, up to 63%, could be obtained                   lavage DNA. To detect these mutations, digital droplet PCR
 by combining mutation detection in Pap tests and plasma. In                        (ddPCR) was required, which is a sensitive method but not prac-
 addition, sampling with an intrauterine brush also improved                        tical for prospective screening because the tumor mutation
 sensitivity, probably due to increased tumor cell recovery by                      needs to be known a priori.
 more proximal collection to the anatomical site of tumors                             Next-generation DNA sequencing (NGS) is a widely used,
 (Wang et al., 2018).                                                               variant-agnostic form of mutation detection, but it has a
    An alternate means for tumor cell collection, developed by                      background error rate of up to 1%, which precludes confident
 members of our team, consists of trans-cervical lavage of the                      identification of lower-frequency mutations (Salk et al., 2018). Of
 uterine cavity (Figure 1A; Maritschnegg et al., 2015). This method                 the mutations that make up the 80% sensitivity achieved in our
 improves the efficiency of collection by rinsing the uterus and                    previous study, conventional NGS missed 25% (Maritschnegg


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  et al., 2015). Currently, the most accurate NGS method is Duplex       special adapters with double-stranded molecular barcodes,
  Sequencing (DS) (Salk et al., 2018), which uses double-stranded        which allow the identification of sequencing reads that are
  molecular barcodes for error correction and decreases the error        derived from both strands of each starting DNA molecule. Muta-
  rate of sequencing from 10 3 to <10 7 (Kennedy et al., 2014;           tions are only scored if they are present in the majority of reads
  Schmitt et al., 2012). We previously demonstrated that DS can          from both DNA strands, effectively eliminating sequencing
  detect ovarian cancer-derived mutations in DNA extracted               and PCR artifacts (Figure 1B). The estimated error rate of DS
  from peritoneal fluid at frequencies as low as 1 tumor mutation        is <1 in 10 million (Schmitt et al., 2012), which allows for extreme
  per 25,000 normal genomes (Krimmel et al., 2016). This extreme         sensitivity and specificity of mutation detection when carrying
  sensitivity for mutation detection also led to the discovery of        out high-depth sequencing. To illustrate the superior accuracy
  prevalent yet very-low-frequency (<0.01%) TP53 mutations in            of DS compared with standard NGS, an example of a UL sample
  both the peritoneal fluid and peripheral blood from healthy            (case 6) processed by both methods is shown in Figures 1C and
  women. These ‘‘biological background’’ mutations resembled             1D. Standard NGS entails alignment and variant calling from Illu-
  TP53 mutations found in cancers, but appeared to result from           mina sequencing reads. Whereas every nucleotide position in
  the normal aging process. This observation was among the first         the gene artifactually appears mutated in 0.1%–0.5% of mole-
  of an emerging body of literature that has identified age-related,     cules with standard sequencing, DS eliminates these tens of
  cancer-associated mutations within non-cancerous tissue                thousands of erroneous mutations to reveal the known tumor
  (Risques and Kennedy, 2018).                                           mutation at a mutant allele frequency (MAF) of 0.15%, a value
     In the present study, we combine the most sensitive reported        that is very close to the frequency previously determined
  sampling technique for ovarian cancer detection, uterine lavage        by ddPCR (0.12%; case 6 in Table S2; Maritschnegg et al., 2015).
  (UL), with the highest-accuracy sequencing technology avail-              Among the 10 lavages from women with ovarian cancer, we
  able, DS. High-grade serous ovarian carcinoma (HGSOC) is               identified the expected tumor mutation (fuchsia bars, Figure 1E)
  both the most common and the most deadly histological type,            in 8, matching the post hoc 80% sensitivity of the previous study.
  accounting for 70%–80% of ovarian cancer deaths (Bowtell               In the subset of these lavages that had been analyzed by con-
  et al., 2015). More than 98% of HGSOCs carry mutations in              ventional NGS and/or ddPCR, we confirmed tumor mutations
  TP53, which makes this gene an ideal, cost-effective target for        at similar allele frequencies in most cases (Table S2). In addition
  sequencing (Ahmed et al., 2010; The Cancer Genome Atlas                to the tumor mutations, in nearly all of the lavages from women
  Research Network, 2011; Vang et al., 2016). In addition, TP53          with and without ovarian cancer, we identified very-low-fre-
  mutations are one of the earliest genetic events in HGSOC for-         quency TP53 mutations (blue bars, Figures 1E and 1F). To
  mation, as demonstrated by their presence in early serous              confirm that these mutations were not due to technical errors,
  epithelial proliferations found in the fallopian tubes (often termed   two of the mutations identified in controls (lavages con2 and
  p53 signatures), as well as serous tubal intraepithelial carci-        con7) were assessed by ddPCR (Table S2). This orthogonal
  nomas (Chien et al., 2015; Kuhn et al., 2012; Kurman and Shih,         assay demonstrated that these mutations, present at a compa-
  2010; Soong et al., 2019).                                             rable frequency of <0.1% by both assays, were authentic. As a
     The primary goal of this study is to demonstrate the technical      further demonstration of the high sensitivity, accuracy, and pre-
  feasibility of using DS to deeply sequence TP53 from UL as a           cision of DS, we carried out a mixing experiment whereby cell
  potential test for ovarian cancer detection. We capitalize on          lines bearing point mutations in TP53 and two other genes
  the accuracy of DS to identify true-positive cancer-derived mu-        were spiked into a normal DNA sample at ratios from 1/100 to
  tations and to uniquely detect low-frequency, age-related              1/100,000. Three replicates of this mixture were prepared and
  mutations that may affect diagnostic performance. To better            sequenced on different days at DS depths of up to 400,0003.
  understand the extent and nature of these biological back-             All of the variants were identified in each replicate at expected
  ground mutations, we perform a detailed characterization of            frequencies (R2 of 0.95–0.98), demonstrating excellent repro-
  somatic TP53 mutations in multiple gynecologic tissues from            ducibility and accuracy (Figure S1).
  women without ovarian cancer of ages spanning a century of                Although TP53 background mutations were common, their
  human lifetime.                                                        MAF was always <1% (Figures 1E and 1F), which could be
                                                                         used as a threshold to optimally identify patients with ovarian
  RESULTS                                                                cancers from patients who are cancer-free. In this, albeit small,
                                                                         pilot study, a 1% threshold yielded a sensitivity of 70% and a
  DS Detects Ovarian Cancer Mutations in ULs with High                   specificity of 100%. Furthermore, the maximum mutation
  Sensitivity                                                            frequency was significantly higher in cases than controls
  We used DS to examine the coding region of TP53 in DNA ex-             (p = 0.0005 for test of no difference in log maximum frequency
  tracted from the lavage cell pellet (Figures 1A and 1B) of 10          between groups and no change after adjustment for age), and
  women with ovarian cancer and 11 controls under blinded con-           in the lavages in which the tumor mutation was identified, its
  ditions. Most of the lavages from women with ovarian cancer            frequency was at least 10-fold above the highest background
  were included in the original study that reported 80% sensitivity      mutation in that individual.
  for ovarian cancer detection with prior knowledge of tumor
  mutation (Maritschnegg et al., 2015; Table S1). We sought to           TP53 Mutations in UL Increase with Age
  determine whether similarly high sensitivity was possible without      To better understand the basis of TP53 background muta-
  prior knowledge of the tumor mutation by using DS. DS uses             tions, we examined the association of their abundance with


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         A                                                                          one allele is mutated (Leroy et al., 2014). An age-associated in-
                                                                                    crease in ultra-low-frequency TP53 background mutations could
                                                                                    result from random, age-related mutagenic processes or, alter-
                                                                                    natively, from mutagenesis coupled with clonal selection of
                                                                                    pathogenic variants. To distinguish between these possibilities,
                                                                                    we performed a detailed analysis of traits of selection among
                                                                                    the 112 age-associated TP53 background mutations collectively
                                                                                    identified among all 21 patients (tumor mutations and intronic
                                                                                    and UTR mutations excluded) (Figure 3; Table S3).
                                                                                       First, we calculated the proportion of non-synonymous TP53
                                                                                    mutations in ULs from cases and controls and compared it
                                                                                    with the expected proportion when considering all of the
                                                                                    possible mutations in the TP53 gene (n = 3,546). The percentage
         B                                                                          of non-synonymous mutations in both UL controls (90.5%) and
                                                                                    cases (93.5%) was significantly higher than expected under no
                                                                                    selection (76.6%) with p = 0.0035 and p = 0.031, respectively
                                                                                    (Figure 3A, exact binomial test). The excess of non-synonymous
                                                                                    mutations was not driven by a subset of outlier samples, but
                                                                                    rather was uniformly observed across nearly all of the lavage
                                                                                    samples (Figure S3A).
                                                                                       Second, we examined the metrics of selection related to the
                                                                                    genic location of mutations. Background TP53 mutations were
                                                                                    not randomly distributed along the gene but clustered in certain
                                                                                    regions of biological significance. Nearly 25% of TP53 lavage
                                                                                    background mutations occurred in the context of CpG dinucleo-
 Figure 2. The Frequency of TP53 Mutations in UL Increases with Age                 tides, which is remarkable given the fact that these dinucleotides
 Frequency is calculated as the total number of unique TP53 mutations iden-         make up <5% of the coding region of TP53 (Figure 3B, p = 2.2 3
 tified in each sample (including exons and flanking intronic regions) divided by
                                                                                    10 10 for controls and p = 1.4 3 10 5 for ovarian cancer muta-
 the total number of DS nucleotides sequenced.
 (A) UL samples from patients with ovarian cancer; n = 10, r = 0.89, p = 0.0006
                                                                                    tions, by the exact binomial test). Mutations were also enriched
 by Spearman’s correlation test.                                                    in exons 5–8, which encode the DNA-binding domain of the
 (B) UL samples from control patients without cancer; n = 11, r = 0.83, p = 0.001   protein (Figure 3C, p = 2.4 3 10 6 for controls and p = 4.5 3
 by Spearman’s correlation test.                                                    10 4 for ovarian cancer mutations, by exact binomial test). The
                                                                                    most significant enrichment, however, was observed in TP53
 age. When patients were ordered by ascending age (Figures                          cancer-associated hotspot codons, which are the codons
 1E and 1F), it appeared that older patients carried more muta-                     most recurrently mutated in cancer. We considered the nine
 tions. However, the number of mutations found depends on                           most abundantly mutated codons in the Universal Mutation
 the total number of nucleotides sequenced (Figure S2), which                       Database (UMD; April 2017 version) (Leroy et al., 2014). These
 was variable across samples and tended to be higher in                             codons encompass only 2.3% of the coding region of TP53,
 controls due to increased sequencing depths (Table S1). To                         yet >25% of lavage background mutations clustered within
 compensate for this variation, for each sample we calculated                       these 27 bp (Figure 3D, p = 5.1 3 10 17 for controls and p =
 the total TP53 mutation frequency by dividing the number                           2.4 3 10 9 for ovarian cancer mutations, by exact binomial
 of mutations identified in UL (including exons and flanking                        test), and among these, all were non-synonymous. The biases
 intronic sequences) by the total number of DS bases                                for each characteristic were not driven by outliers but were
 sequenced. For patients with cancer, we excluded the tumor                         distributed evenly across samples in both groups (Figure S3B–
 mutation from this calculation to fairly reflect only TP53 back-                   S3D). Cases and controls were not significantly different for
 ground mutations. For patients with ovarian cancer, as well as                     any of these traits (using Fisher’s exact test or using generalized
 cancer-free control patients, the TP53 mutation frequency                          estimating equations [GEEs]) to account for the correlation
 significantly increased with age (Figure 2; p = 0.0006 for                         between patients with and without adjustment for sequencing
 ovarian cancer, p = 0.001 for controls, Spearman’s correlation                     depth).
 test). This trend was identical to prior observations of TP53                         To assess the impact of these mutations on TP53 protein func-
 background mutation frequency in peritoneal fluid and periph-                      tion, we took advantage of Seshat, a recently developed online
 eral blood (Krimmel et al., 2016).                                                 tool for TP53 analysis that provides comprehensive mutational
                                                                                    information, including prediction of impact on protein activity
                                                                                    and pathogenicity (Tikkanen et al., 2018). We queried all back-
 TP53 Mutations in UL Are Not Random, but Rather Are                                ground TP53 mutations identified in the 21 lavages and color-
 Positively Selected                                                                coded them according to 5 binned categories of protein activity
 The TP53 gene is a tumor suppressor, the genetic disruption of                     and predicted pathogenicity. Nearly all of the samples carried at
 which facilitates cell proliferation in tumors, even when only                     least one TP53 mutation that inactivated the protein totally or


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  A                                E                                                           Figure 3. Evidence of Positive Selection in
                                                                                               TP53 Background Mutations from ULs
                                                                                               (A–D) Percentage of non-synonymous TP53
                                                                                               mutations (A), and percentage of TP53 mutations
                                                                                               localized in CpG dinucleotides (B), in exons 5–8 (C),
                                                                                               and in hotspot codons (D). For (A–D), TP53 muta-
                                                                                               tions identified in UL from controls and cancer
                                                                                               significantly exceed expected values without se-
                                                                                               lection. *p < 0.05, **p < 0.0001 by binomial exact
                                                                                               test, n = 79 for UL controls, and n = 33 for UL cancer.
                                                                                               (E and F) Protein activity (E) and predicted patho-
  B                                                                                            genicity (F) color-coded as five groups from Seshat
                                                                                               data. Patients are sorted by ascending age. For
                                                                                               each patient, TP53 mutation frequency is calculated
                                                                                               as the number of mutations in the coding region
                                                                                               divided by the total number of DS nucleotides
                                                                                               sequenced in that region. Two cancer patients with
                                                                                               unusually low sequencing depth and no identified
                                                                                               TP53 mutations are not shown. Nearly all cases and
                                                                                               controls carry mutations that have an impact on
                                                                                               protein activity and predicted pathogenicity.

  C                                F

                                                                                                sites, cancer hotspots, and exons 5–8, as
                                                                                                well as the percentage of mutations that
                                                                                                affect protein activity (first 3 categories in
                                                                                                Figure 3E) or are predicted to be patho-
                                                                                                genic (first 3 categories in Figure 3F). For
                                                                                                each trait, we compared the distribution
                                                                                                of mutations in the theoretical absence of
  D                                                                                             selection, in the 21 ULs, and in the cancer
                                                                                                database (Figure 4A). Remarkably, for all
                                                                                                of the traits, TP53 background mutations
                                                                                                from ULs far more strongly resembled
                                                                                                TP53 mutations in the cancer database
                                                                                                than the pattern expected by random
                                                                                                chance. This was true for TP53 mutations
                                                                                                found in lavages from cases and controls
                                                                                                (Figure S4), as expected due to the fact
                                                                                                that mutations in both groups were not sta-
  partially (Figure 3E) and/or was predicted to be pathogenic (Fig-     tistically different for these traits (Figure 3). We also used a
  ure 3F). Cases and controls were not significantly different          feature of Seshat that categorizes TP53 mutations according
  when comparing the proportion of mutations that inactivated           to their frequency in the UMD database. Nearly all of the UL sam-
  protein activity (categories of ‘‘inactive,’’ ‘‘splice/truncated,’’   ples harbored TP53 mutations listed as ‘‘frequent’’ or ‘‘very
  and ‘‘partially inactive’’ in Figure 3E) or the proportion of muta-   frequent’’ in the database (Figure 4B). Again, cases and controls
  tions with predicted pathogenicity (categories of ‘‘pathogenic,’’     did not significantly differ in the proportion of mutations that were
  ‘‘likely pathogenic,’’ and ‘‘possibly pathogenic’’ in Figure 3F)      common in the cancer database (neither when comparing ‘‘very
  (Fisher’s exact test p values are 0.49 and 0.99, respectively).       frequent’’ and ‘‘frequent’’ versus the rest nor when comparing all
  The unambiguous signature across six distinct metrics of posi-        groups separately; Fisher’s exact test, p = 0.84 and p = 0.27,
  tive selection (Figures 3A–3F) within the ultra-low-frequency         respectively).
  TP53 mutations observed in all lavages, regardless of cancer             To further characterize background TP53 mutations in UL in
  status, indicate that these mutations expanded under strong se-       comparison to those in cancers, we compared mutation type,
  lective pressure and are not the result of technical errors.          spectrum, and gene location. Non-cancer-derived mutations in
                                                                        ULs from women with and without cancer were predominantly
  TP53 Mutations in UL Resemble Mutations in Cancer                     missense, similar to mutations in the database (Figure 4C), and
  We next compared the features of the selection of TP53 muta-          displayed a mutational spectrum enriched in G > A and C > T
  tions identified in lavages to TP53 mutations from cancers. For       transitions, comparable to cancer mutations (Figure 4D). The
  this analysis, we used all of the cancer mutations present in         distribution of low-frequency TP53 background mutations from
  the UMD cancer database (April 2017, n = 71,051). We deter-           only 21 women along the length of the gene is a mirror image
  mined the percentage of these mutations that reside at CpG            of the distribution of TP53 mutations from >71,000 different


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  A                                                                   C                                               D




                                                                      E




  B




 Figure 4. TP53 Mutations in UL Are Very Similar to TP53 Mutations Found in Human Cancers
 (A) Traits of positive selection are compared between all of the possible mutations in the TP53 coding region (no selection; n = 3,546), TP53 background mutations
 found in UL (n = 112), and TP53 mutations reported in the UMD cancer database (n = 71,051).
 (B) UL mutations in cases and controls color-coded by their abundance in the UMD TP53 database. For each sample, TP53 mutation frequency is calculated as
 the number of mutations in the coding region divided by the total number of DS nucleotides sequenced in that region. Most samples harbor TP53 mutations that
 are common in the database.
 (C and D) TP53 mutation type (C) and TP53 mutation spectrum (D) are compared between mutations identified in UL from controls (n = 79), UL from cases (n = 33),
 and the UMD database (n = 71,051).
 (E) TP53 mutation distribution map for UL (top) and the UMD cancer database (bottom). Bars quantify the frequency of mutations at each codon. Colored
 background reflects a 20-bp sliding window average of mutation density around each position. Gene exons and protein domains are indicated in the center
 section.


 tumors included in the database (Figure 4E). Thus, the somatic                    address this question, we sequenced TP53 from DNA obtained
 TP53 mutations recovered from cells sloughed into the uterine                     from pre-operative UL and peripheral blood, as well as multiple
 cavity from normal healthy women are not random, but appear                       gynecological tissues collected postoperatively following total
 to emerge from an evolutionary process of mutation, selection,                    hysterectomy and bilateral salpingo-oophorectomy for symp-
 and clonal expansion akin to what takes place in tumors, but                      tomatic fibroids (benign leiomyomas) from two middle-aged
 within normal tissue.                                                             women (Figure 5A; Table S4). DNA was extracted and processed
                                                                                   for DS as before, except that samples were sequenced to a
 TP53 Mutations Are Common in Healthy Tissues from                                 higher average depth (Table S4). We identified TP53 mutations
 Middle-Aged Women                                                                 in all of the samples from a 56-year-old woman and in all but 2
 These striking results prompted us to consider what the tissue                    samples from a 46-year-old woman (Figure 5B). When we
 origin of the mutation-bearing cells in the ULs may be. To                        compared the mutation frequency across all of the samples,


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              A                                                    B




  Figure 5. TP53 Mutations in Normal Tissues and UL from Two Middle-Aged Women
  (A) Normal tissues collected included leukocytes, peritoneum, cervix, endometrium, myometrium, fallopian tube, ovary, and UL.
  (B) TP53 mutation frequency for each sample calculated as the number of TP53 mutations in the coding region divided by the total number of DS nucleotides
  sequenced. (a) and (b) indicate two spatially separated samples from the same tissue. The blue bars correspond to the samples in this study; the orange bars
  correspond to the mean values for ULs from control women in the first study.



  several interesting observations emerged. First, the UL from the               old female who died of natural causes (Table S4). Together
  56-year-old had a mutation frequency that appeared                             with the middle-aged samples, this unique specimen collection
  disproportionally high, both when compared to that of most                     represents the full breadth of a century of human lifespan.
  other tissues and when compared with the lavage of the                            Although the tissue types available were not fully identical
  46-year-old. However, when compared to the mean values of                      across all four subjects, the pattern of TP53 mutations, never-
  ULs from control women of similar ages (50- to 56- and 40- to                  theless, yielded unique insights. To help more intuitively visu-
  46-year-olds) from the first part of the study, the frequencies                alize this multiparametric data, in Figure 6 we annotated all of
  by age were quite similar (Figure 5B).                                         the mutations found among the different tissues of the four
      Moreover, the distribution of mutations according to each trait            subjects as color-coded boxes for each feature of selection:
  of positive selection (type, frequency in the cancer database,                 red for ‘‘cancer-like,’’ blue for non-cancer-like. The number of
  predicted activity and pathogenicity, exon clustering, CpG                     columns of colored boxes per sample reflects the total number
  clustering, and enrichment for cancer hotspots) was comparable                 of mutations identified. When viewed in this format, it is
  to the lavages previously analyzed (Figure S5). Both lines of                  apparent that TP53 mutations are not only more abundant
  reasoning support the conclusion that the elevated frequency                   with age but are also more ‘‘cancer-like.’’ Mutations found in
  of mutations in the UL of the 56-year-old woman is not artifactual             older tissues are disproportionately observed in cancers and
  and confirm the previously observed age effect.                                are predicted to inactivate the protein or be otherwise patho-
      For other tissues, however, we did not observe an obvious in-              genic. In contrast, mutations found in the newborn are rarely
  crease in TP53 mutation frequency between 46 and 56 years of                   found in cancer, tend to preserve the protein activity, and are
  age. There was substantial variability in the mutation content of              not predicted to be pathogenic.
  different tissues and of different biopsies of the same tissue,                   Different tissues and different biopsies within the same tissue
  which reflects either a stochastic effect or the imprecision of                showed substantial variability in both the number of mutations
  macrodissection for obtaining exactly comparable tissue sam-                   and their cancer-like features. In aggregate, fallopian tube
  ples (e.g., the depth of endometrium harvested, how distal the                 epithelium appeared to be a ‘‘hot’’ tissue, with a high number
  tubal fimbriae were cut). No single tissue stood out as obviously              of mutations and a high percentage of cancer-like mutations.
  more mutation prone than another, nor could any tissue be iden-                However, in the 56-year-old, one fallopian tube sample harbored
  tified as a dominant source of the mutations found in lavages.                 only a single synonymous mutation, which is consistent with the
  When we checked for mutations shared between tissues, we                       notion of ‘‘hot’’ and ‘‘cold’’ zones within a tissue. This was
  did not find any common mutation between UL and any of the                     similarly seen in the two distinct endometrial biopsies of the
  rest of the tissues analyzed from the 49-year-old woman and                    centenarian.
  only 1 mutation in the 56-year-old woman that was shared                          In addition to a larger number of clones, with aging we would
  between UL and leukocytes (Figure S6).                                         predict an increase in the size of clones, as would be reflected by
                                                                                 a higher MAF of each variant found. However, in this study, some
  TP53 Mutations Increase in Number and Cancer-like                              samples were sequenced at a lower depth, which may lead to
  Features during Normal Human Aging                                             outlier (low event count) biases in the calculation of MAFs, thus
  With the hope of observing a stronger aging mutational signal,                 precluding a fair comparison between samples (Figure S7).
  we looked to tissue samples from greater extremes of age. While                Despite this caveat, 2 large clones were clearly seen within the
  the procurement of such material was challenging, we obtained                  peripheral blood leukocytes of the 101-year-old (Figure S7; Ta-
  several gynecologic tissues at autopsy from a neonate who died                 ble S5; c.659A > G MAF: 1.2 3 10 2, and c.455C > T MAF:
  from a congenital vascular malformation and from a 101-year-                   4.5 3 10 3). The exact TP53 mutation that defined each of these


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 Figure 6. Characterization of TP53 Mutations in Normal Tissues over a Century of Human Lifespan
 TP53 mutations identified by DS in leukocytes and gynecological tissues are indicated as columns within each tissue. Each mutation is characterized by four
 parameters: type (synonymous, non-synonymous, and hotspots), frequency in cancer, protein activity, and predicted pathogenicity. The last three parameters
 are color-coded, with red indicating ‘‘cancer-like’’ mutations and blue indicating benign mutations. Vertical black lines separate different biopsies from the same
 tissue. Within each biopsy, mutations are ordered left to right by decreasing cancer frequency. The biopsies that were sequenced but no mutations were
 identified are shown in gray. Note that the female newborn in the study had no blood collected. The leukocytes included here correspond to a similarly aged
 newborn male.



 clones was also detected at lower frequencies in peritoneal and                    it is essential to compare samples based on their mutation
 endometrial samples from the same subject, revealing an                            frequency, which is a sequencing-normalized value calculated
 apparent contribution of leukocyte DNA to those tissue samples                     as the number of mutations divided by the number of total DS
 (Figure S6).                                                                       error-corrected nucleotides sequenced (Figure S8B). TP53
    In fact, this cross-tissue mutation sharing was common in the                   mutation frequency tended to be higher at older ages in the three
 101-year-old woman, suggesting that aged leukocytes may                            tissue types shared by the neonate and the centenarian (leuko-
 indeed harbor relatively large clones that recurrently contribute                  cytes, peritoneum, and endometrium), although there was sub-
 to the mutations found when sequencing other biopsies.                             stantial variability across samples.
 Mutation sharing was less prevalent in middle-aged women.
 While very-low-frequency mutations are often hard to replicate                     TP53 Mutations in Newborn Tissue Are Random, yet
 due to the low precision of the measurement resulting purely                       Become Positively Selected over a Lifetime
 from sampling statistics (not technical accuracy), it is important                 As further illustration of the increase of cancer-like mutations
 to keep in mind that certain mutations may also be recurrently                     with aging, we divided all TP53 mutations into two binary cate-
 identified simply because they are hotspots, and thus a common                     gories: ‘‘common in cancer’’ and ‘‘not common in cancer,’’
 origin cannot automatically be assumed. For example, the                           with the former being defined by those classified as ‘‘frequent’’
 hotspot mutation c.659A > G was identified in the large blood                      or ‘‘very frequent’’ in the UMD cancer database. When plotted
 clone of the 101-year-old woman and in a myometrium                                by age, the progressive enrichment for cancer-like mutations
 sample and a fallopian tube biopsy of the 46-year-old woman                        was easily apparent, especially in certain tissues such as fallo-
 (Figure S6). The processing of these particular samples was                        pian tubes and leukocytes (Figure 7A).
 done on different days, making a cross-contamination explana-                         We then examined the five traits of selection previously calcu-
 tion improbable.                                                                   lated for the UL study, but for TP53 mutations found in the
    As already considered, an important limitation of this study                    newborn, middle-aged, and centenarian tissues (Figures 7B
 was the different depth of sequencing achieved across samples,                     and S9). For mutations found in newborn tissue, all five traits
 due to the inherent variability in library preparations and differ-                yielded values consistent with random processes (e.g., absence
 ences in DNA availability. Because numerically more mutations                      of selection), yet in middle-aged and even more so in centenarian
 will be identified in samples with more sequencing (Figure S8A),                   tissue, values reflected selection to an extent that neared that


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              A




              B




              C                                                                         D




  Figure 7. Cancer-Associated TP53 Mutations Are Positively Selected during Normal Aging
  (A) Across a variety of human tissues, TP53 mutations accumulate with age and are progressively enriched for mutations commonly found in cancers. Tissues are
  color-coded. (a) and (b) indicate two biopsies from the same tissue.
  (B) Traits of positive selection are compared between all of the possible mutations in the TP53 coding region (n = 3,546); TP53 mutations found in newborns
  (n = 19), middle-aged individuals (n = 85), and centenarian individuals (n = 38); and TP53 mutations reported in the UMD cancer database (n = 71,051).
  (C and D) Distribution of TP53 mutation type (C) and mutation spectrum (D) for newborn, middle-aged, and centenarian mutations compared to the UMD cancer
  database.




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 seen in mutations from tumors in the UMD database. Analysis of          sues. Specifically, we identified widespread low-frequency
 mutation type (Figure 7C) revealed a decrease in synonymous             TP53 mutations that were heavily enriched for pathogenic vari-
 mutations with age (in fact, no synonymous mutations were iden-         ants. This enrichment reflects a process of natural selection
 tified in centenarian tissue; Table S5).                                that favors the survival and proliferation of cells with mutations
     Lastly, regarding the mutation spectrum, we noted an inter-         that are identical to those observed in cancer, but as part of
 esting preponderance of C and G mutations in newborn tissue,            routine aging. The unambiguous selection signature is sup-
 which progressively shifted toward an increased representation          ported by multiple orthogonal metrics and cannot be explained
 of A and T mutations in centenarian tissue, which is more similar       by technical errors; both the biological and diagnostic implica-
 to the pattern in cancers. The significance of this shift is unknown    tions are substantial.
 as it could represent both biases in the nucleotide composition of         One of the main reasons that cancer biomarkers fail to reach
 the gene at selectable hotspots and differential age-associated         the clinic is their inability to achieve the extremely high speci-
 mutagenic processes (Alexandrov et al., 2015), which dispropor-         ficity that is required for screening (Diamandis, 2012). This is
 tionately contribute to the clonal mutation burden of tumors            critical for cancers with low incidence and that require an inva-
 because tumors mostly arise in the elderly.                             sive procedure to follow up positive screening tests, such as
                                                                         the case with ovarian cancer (Drescher and Anderson, 2018).
 TP53 Mutations in cfDNA and Peritoneal Fluid Follow the                 Harms due to false-positives and a lack of proven reduction
 Same Patterns as Solid Tissue                                           in mortality are the reasons for the recent recommendation
 To explore the abundance of TP53 mutations in liquid biopsies of        against the use of CA-125 and transvaginal sonography for
 clinical interest, we analyzed plasma-derived cell-free DNA             screening asymptomatic women (Grossman et al., 2018). In
 (cfDNA) and peritoneal fluid from the 46-year-old woman. TP53           recent years, mutation-based cancer screening from plasma
 mutations were identified in both, with cancer-like features            or other body fluids has emerged as a promising method to
 similar to what was observed for solid tissue biopsies, UL, and         detect cancer based on the supposition that cancer-associated
 leukocytes (Figure S10). None of the mutations identified in            mutations found in liquid biopsies are a specific indication of
 cfDNA or peritoneal fluid overlapped with mutations detected            cancer somewhere in the body (Aravanis et al., 2017). Here,
 in other samples from the same woman (Figure S6). Peritoneal            we demonstrate that cancer-associated mutations can be
 fluid is routinely collected for disease staging during gynecologic     found in most normal tissues and, therefore, they are not can-
 surgery, and we previously demonstrated that it carries TP53            cer specific.
 background mutations with cancer-like features (Krimmel                    The detection of cancer-associated mutations in normal tis-
 et al., 2016), in agreement with our findings here. cfDNA had           sues is not entirely new (Risques and Kennedy, 2018). In 2014,
 not been analyzed previously by DS. The fact that we identified         3 groups reported acute myeloid leukemia mutations found as
 one pathogenic mutation commonly found in cancers within                minority subclones in the blood of 10% of healthy elderly indi-
 cfDNA from a healthy woman (Figure S10; Table S5) raises                viduals—a phenomena dubbed clonal hematopoiesis of indeter-
 important concerns over specificity in cancer-screening studies         minate potential (CHIP) (Genovese et al., 2014; Jaiswal et al.,
 based on mutation detection in plasma.                                  2014; Xie et al., 2014). One year later, Martincorena et al.
                                                                         (2015) observed hundreds of tiny clones carrying cancer-associ-
 DISCUSSION                                                              ated driver mutations on sun-exposed eyelids, a finding recently
                                                                         replicated in normal aged esophagus (Martincorena et al., 2018).
 We have demonstrated that DS can detect TP53 ovarian cancer             Cancer-associated mutations have been similarly reported in
 mutations in UL, providing proof-of-principle for an innovative         abnormal but non-cancerous tissues, including endometriosis
 approach with the potential for ovarian cancer detection. Our           (Anglesio et al., 2017; Suda et al., 2018) and benign dermal
 combined approach of UL plus DS improves upon past muta-                nevi (Shain et al., 2015). The use of laser capture microdissection
 tion-based screening efforts through the use of a collection            in recent studies has revealed that as many as 1% of normal
 method that recovers cancer cells very close to the anatomical          colorectal crypts of middle-aged individuals (Lee-Six et al.,
 site of the tumor and an ultra-accurate DNA sequencing technol-         2018) and >50% of normal endometrial glands of middle-aged
 ogy that can resolve exceptionally low-frequency mutations. We          women (Suda et al., 2018) carry mutations in cancer driver
 were able to achieve remarkable sensitivity and specificity             genes. A broader body of work related to quantifying the accu-
 without prior knowledge of the tumor mutation and using a               mulation of neutral mutations in aging normal tissues (Abyzov
 MAF threshold for differentiating cancers from controls. The            et al., 2017; Welch et al., 2012; Yadav et al., 2016) has afforded
 study, however, was small and patients had advanced ovarian             important insights into the mechanisms of age-associated muta-
 cancer, important limitations that will need to be addressed            genic processes.
 with much larger prospective trials. These trials will be facilitated      The relation between mutations and cancer has been known
 by the fact that UL is minimally invasive and can be practically in-    for decades, yet the delay in appreciating their presence outside
 tegrated into routine gynecologic primary care (Maritschnegg            cancer can be largely attributed to technical limitations. The
 et al., 2018).                                                          advent of NGS enabled surveying wide swaths of the genome
    However, the most profound finding of this work is not the           and detection of mutations present clonally or as modest-size
 biomarker performance itself, but the incidentally found muta-          subclones. In the above studies, standard whole exome or
 tional patterns that reflect a somatic evolutionary process that        multi-gene NGS was able to identify driver mutations because
 appears operative throughout much of human life in normal tis-          of unique scenarios in which clones were either relatively large


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  (CHIP in a subset of very elderly individuals) (Genovese et al.,       have fewer background mutations and mutations with lower
  2014; Jaiswal et al., 2014; Xie et al., 2014) or spatially coherent    MAFs, which suggest that, moving forward, sensitivity could
  and comprising a sizeable percentage of cells when very small          probably be increased by using age-adjusted thresholds. In
  biopsies were taken (Lee-Six et al., 2018; Martincorena et al.,        addition, specificity could likely be improved by uniform lavage
  2015, 2018; Suda et al., 2018). With higher-accuracy NGS tech-         collection at the luteal phase in premenopausal women,
  niques able to resolve lower-frequency subclones, later studies        sequencing of peripheral blood to identify and exclude CHIP
  have found that CHIP mutations are abundant in middle-aged             clones that may be present in lavage, and longitudinal assess-
  adults (Acuna-Hidalgo et al., 2017; Young et al., 2016). Using         ment of mutations to identify MAF increases over time. Of
  ultra-accurate DS, we found extremely low-frequency cancer-            note, we have demonstrated detection of intermediate- and
  associated TP53 mutations in both the blood and peritoneal fluid       late-stage cancers, but the most critical targets for screening
  of women without cancer, and, in both sample types, the abun-          are early-stage cancers because they are the most curable. In
  dance of mutations increased with age (Krimmel et al., 2016). A        that regard, monitoring of high-risk populations, such as
  subsequent study that used UL for endometrial cancer detection         BRCA1 and BRCA2 carriers, may be the highest-impact near-
  found pathogenic mutations in cancer driver genes in lavages of        term clinical implementation.
  cases as well as controls (Nair et al., 2016), in agreement with the      The sensitivity improvements lent by new sequencing technol-
  data reported here.                                                    ogies are forcing a far more nuanced genetic definition of what
     In addition to UL, we examined 10 different tissue or sample        distinguishes a cancer cell from simply an old cell. Our results
  types from a unique cohort of individuals spanning more than a         show that CHIP clones are merely one relatively easy to detect
  century of human lifespan and assessed the pattern of mutations        manifestation of a far broader phenomena that appears to extend
  found using multiple different metrics of selection. A significant     to most, if not all, tissues in the body. From a biomarker perspec-
  finding was that not only do TP53 mutations increase in abundance      tive, the fact that those who are at greatest risk of cancer and for
  with age but also the relative representation of random mutations      whom cancer screening holds the most benefit (older adults) are
  versus cancer-associated mutations transitioned from almost            also the population with the most cancer-like age-associated
  entirely the former to almost entirely the latter from birth to the    background mutations is particularly inconvenient. Ongoing im-
  end of life. Moreover, the extent of mutation frequency varied         provements will be needed to find ways to maximize specificity
  considerably by sample type and tissue. Our research comple-           through careful MAF threshold calibration and combination with
  ments recent efforts to characterize the accumulation of random,       orthogonal biomarkers. Further investigation into the significance
  unselected somatic mutations with aging (Blokzijl et al., 2016;        of biological background mutations from the perspective of hu-
  Hoang et al., 2016) and suggests that these findings are likely        man aging and biology is similarly warranted. While the notion
  only the tip of the iceberg. Further work is important to expand       that our somatic genomes are steadily evolving toward neoplasia
  beyond the main limitations of this study, which include the anal-     with each passing decade may viewed as disheartening, an alter-
  ysis of mostly gynecological tissues from only four individuals at     native perspective is that despite this, most people do not
  a coarse spacing along the aging continuum; imperfect matching         develop overt cancer in their lifetime. This serves as a reminder
  of sample types for each subject due to the inherent challenges        of just how much remains unknown about the body’s many com-
  of tissue acquisition at the extremes of age; and focus on a single    plex mechanisms of tumor suppression, a toolkit that we can
  gene, albeit the one most commonly mutated in cancer.                  perhaps augment with future technologies for cancer prevention.
     The implications of our findings are important as a cautionary
  message for mutation-based cancer biomarkers. At the same              STAR+METHODS
  time as we have shown that highly sensitive NGS methods are
  essential for maximal mutation detection, we have also illus-          Detailed methods are provided in the online version of this paper
  trated a substantial specificity challenge related to biology, not     and include the following:
  technology, the extent of which has been under-appreciated.
  This is not limited to one or a few tissues; rather, it seems to          d KEY RESOURCES TABLE
  be ubiquitous among the epithelial, mesenchymal, and hemato-              d LEAD CONTACT AND MATERIALS AVAILABILITY
  poietic cell lineages that we investigated. Moreover, cancer-             d EXPERIMENTAL MODEL AND SUBJECT DETAIL
  associated mutations were found in liquid biopsies, including                B Uterine Lavage
  UL and cfDNA. This suggests that ongoing large-scale efforts                 B Normal Tissue
  to develop universal liquid biopsy cancer screening tests via             d METHOD DETAILS
  deep sequencing of cfDNA need to be approached with great                    B Digital Droplet Polymerase Chain Reaction
  caution (Alix-Panabières and Pantel, 2016; Aravanis et al., 2017).          B Duplex Sequencing
     Despite biological background mutations and with the caveat               B Characterization of TP53 mutations using Seshat and
  of this being a quite small study from a biomarker perspective,                  the UMD TP53 database
  our approach worked remarkably well as a minimally invasive                  B TP53 cancer database mutational analysis
  cancer test. We identified 80% of tumor mutations, and 70%                   B TP53 mutations without selection
  of those were above the 1% MAF threshold we used to distin-               d QUANTIFICATION AND STATISTICAL ANALYSIS
  guish cases from controls. The only tumor mutation missed                 d DATA AND CODE AVAILABILITY
  below this threshold corresponded to a 42-year-old woman,                    B Code availability
  one of the youngest in the study. Younger women tended to                    B Data availability



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 STAR+METHODS

 KEY RESOURCES TABLE



 REAGENT or RESOURCE                            SOURCE                                              IDENTIFIER
 Biological Samples
 Uterine lavage                                 Medical University of Vienna (Austria),             N/A
                                                Charles University Pilsen (Czech Republic)
                                                and University Hospitals Leuven (Belgium).
 Newborn tissue                                 Autopsies from Seattle Childrens’ Hospital          N/A
 Middle age tissue                              Hysterectomies from Medical University              N/A
                                                of Vienna (Austria)
 Centenarian tissue                             Autopsy from Tissue for Research Inc.               N/A
 Critical Commercial Assays
 Custom TaqMan SNP Genotyping                   Life Technologies                                   No.4331349
 Assays for ddPCR
 Droplet Digital PCR system                     BioRad                                              QX200
 Massively parallel DNA sequencer               Illumina                                            HiSeq 2500
 Massively parallel DNA sequencer               Illumina                                            NextSeq 550
 KAPA HyperPrep library Kit                     Roche Sequencing                                    KK8505
 Deposited Data
 TP53 Duplex Sequencing data                    This article                                        PRJNA503496
 Oligonucleotides
 Primers for ddPCR                              Maritschnegg et al., 2015                           N/A
 Duplex Sequencing primers and adapters         Kennedy et al., 2014                                N/A
 Software and Algorithms
 Duplex Sequencing Analysis                     Kennedy et al., 2014                                https://github.com/loeblab/Duplex-
                                                                                                    Sequencing
 Seshat                                         Tikkanen et al. 2018                                https://p53.fr/tp53-database/seshat
 IGV                                            Broad Institute                                     https://software.broadinstitute.org/
                                                                                                    software/igv/
 Other
 UMD TP53 database                              TP53 website                                        https://p53.fr/tp53-database




 LEAD CONTACT AND MATERIALS AVAILABILITY

 Further information and requests for resources and reagents should be directed to and will be fulfilled by the Lead Contact, Rosana
 Risques (rrisques@uw.edu).

 EXPERIMENTAL MODEL AND SUBJECT DETAIL

 We performed two complementary studies. The objective of the uterine lavage study was to determine the ability of DS to detect
 ovarian cancer through deep sequencing of TP53 mutations in uterine lavage. This study included 10 patients with high grade serous
 ovarian cancer (cases) and 11 with benign gynecological masses (controls). The objective of the normal tissue study was to
 characterize somatic TP53 mutations that accumulate during aging. This study included tissue from two newborn subjects (one
 newborn male only provided blood), two middle age women (ages 46 and 56 year-old) and one centenarian woman (101 year-
 old). Clinico-pathological information for all subjects is listed in Table S1.

 Uterine Lavage
 In the first study, we analyzed uterine lavages collected by a trans-cervical catheter from women undergoing procedures for
 suspected gynecological malignancies (Table S1). None of the women had endometriosis. Lavages were collected immediately



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  pre-operatively as previously described (Maritschnegg et al., 2015). Lavage samples were centrifuged at 300x g for 10 minutes at
  room temperature and DNA was isolated from the cell pellet (QIAamp MinElute Kit, QIAGEN, Hilden, Germany). Patients were
  recruited in three institutions: Medical University of Vienna (Austria), Charles University Pilsen (Czech Republic) and University
  Hospitals Leuven (Belgium). Sample procurement was performed in accordance with the institutional review boards of the Medical
  University of Vienna (EK#1148/2011 and EK#1766/2013), the Catholic University Leuven (B322201214864/S54406) and the Medical
  Faculty Hospital Pilsen (No 502/2013).

  Normal Tissue
  In the second study, multiple gynecological tissues were collected per Table S4. Not all sample types were available for all subjects.
  Newborn and centenarian tissue was collected at autopsy, while tissue from middle age women was collected following hysterec-
  tomy. Peripheral blood was unavailable from the female newborn, so we sequenced peripheral blood from a similar aged neonatal
  male. No other tissue was collected from the newborn male other than blood. The two newborn autopsies were performed at Seattle
  Childrens’ Hospital and tissues were collected under research IRB #52304. The diagnoses were vein of Galen malformation (newborn
  female) and bronchopulmonary dysplasia (newborn male). The two middle age women had uterine leiomyoma and were operated on
  at the Medical University of Vienna. Samples were collected with informed consent and according to approved IRB EK# 1152/2014.
  Uterine lavage was collected with the same procedure as in the first study. For the 46 year-old woman, cfDNA was collected preop-
  eratively and peritoneal lavage collected intraoperatively. For the centenarian woman, tissue was obtained via rapid autopsy from
  Tissue for Research Inc. and processed at the University of Washington under IRB waiver 2016-52304. All samples were collected
  using sterile new instruments between biopsies and frozen over liquid nitrogen immediately after collection and stored at 80 C until
  DNA extraction. To confirm normal histology, tissue biopsies immediately adjacent to the biopsy used for DNA extraction were
  embedded in OCT, sectioned, stained with H&E and reviewed by a pathologist (M.T.). In all samples, morphologic examination re-
  vealed only normal tissue, without inflammation, necrosis, hyperplasia or neoplasia.

  METHOD DETAILS

  Digital Droplet Polymerase Chain Reaction
  Lavage DNA from 5 ovarian cancer cases and 2 controls was analyzed by ddPCR (Table S2). In ovarian cancer lavage, ddPCR ampli-
  fied the tumor mutation whereas in benign lavage, the assay targeted two mutations previously identified by DS at frequencies below
  0.1%. ddPCR was performed with the QX100 Droplet Digital PCR system (Bio-Rad Laboratories, Hercules, CA) using custom
  TaqMan SNP Genotyping Assays (Life Technologies, Carlsbard, CA) designed using Primer Express 3.0 software (ThermoFisher).
  10-20ng of DNA were used in each reaction and samples were analyzed at least in duplicates. A positive control and a wild-type con-
  trol were included in every run.

  Duplex Sequencing
  Duplex Sequencing was performed as previously described with minor modifications (Kennedy et al., 2014). Briefly for most samples,
  DNA was sonicated, end-repaired, A-tailed, and ligated with DS adapters using the KAPA HyperPrep library kit (Roche Sequencing,
  Pleasanton, CA). DNA from the two sets of normal tissues obtained from the middle-aged hysterectomy specimens were prepared
  with a prototype Duplex Sequencing kit (TwinStrand Biosciences, Seattle, WA). After initial amplification, 120 bp biotinylated oligo-
  nucleotide probes (Integrated DNA Technologies, Coralville, Iowa) were used to capture the coding region of TP53. Two successive
  rounds of captures were performed to ensure sufficient target enrichment, as previously described (Schmitt et al., 2015). Indexed
  libraries were pooled and sequenced on an Illumina HiSeq2500 or NextSeq500. Sequencing reads were aligned to hg19 then reads
  sharing a common molecular tag in both distinct strand orientations were grouped and assembled into an error-corrected Duplex
  Consensus Sequence as previously described (Kennedy et al., 2014).
     The total number of Duplex nucleotides sequenced for each uterine lavage and tissue sample is listed in Tables S1 and S4. In
  aggregate, we sequenced 587,169,708 unique nucleotides, 319,576,913 of which corresponded to coding nucleotides. We targeted
  a median DS depth of 1000x. Three tissue biopsies were excluded because of insufficient depth. Because Duplex reads corre-
  spond to original DNA molecules, DS depth reflects the total number of haploid genomes sequenced. For each sample, TP53 mu-
  tation frequency was calculated as the number of identified mutations divided by the total number of Duplex nucleotides sequenced.
  For each individual mutation, mutant allele frequency (MAF) was calculated as number of mutated Duplex bases divided by the total
  DS depth at a given nucleotide position. Mutations identified as SNPs in the 1000 genome database were excluded from mutation
  analysis. All mutations were manually reviewed with the Integrative Genome Viewer (IGV).

  Characterization of TP53 mutations using Seshat and the UMD TP53 database
  The final list of mutations from all samples in the study (uterine lavage study n = 166, normal tissue study n = 264) was converted into a
  Variant Call Format (VCF) file and submitted to Seshat (https://p53.fr/TP53-database/seshat), a web service that performs TP53 mu-
  tation annotation using data derived from the UMD TP53 database (Tikkanen et al., 2018). This database is the most updated and
  comprehensive repository of TP53 variants. From the Seshat output, the following variables were extracted: cDNA variant, HG19
  Variant, Variant Classification, Frequency, Activity, Pathogenicity, Exon, Codon, CpG, Mutational Event and Variant Comment. These


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 variables were used to annotate the DS pipeline-generated mutational calls in Table S3 (uterine lavage) and Table S5 (normal tissue).
 The human genomic reference hg19 (GRCH37) was used for data reporting. Mutations occurring in the coding region and adjacent
 splice sites were selected for mutational analysis (uterine lavage n = 112, normal tissue n = 180).
   Mutations were annotated based on type (missense, nonsense, splice, indel, synonymous), mutation spectrum (each of the 12
 possible nucleotide substitutions), localization to CpG dinucleotides, localization in exons 5 to 8 (encoding the protein’s DNA binding
 domain), localization to mutational hotspot (9 most common mutated codons in the UMD TP53 database: 175, 179, 213, 220, 245,
 248, 249, 273, 282), frequency of the mutation in the cancer database, functional activity, and predicted pathogenicity. Functional
 activity was assessed by a transcriptional activity chart assay for 3,000 variants performed by Kato et al. (2003). Pathogenicity
 was based on multiple predictive algorithms included from dbNSFP (Liu et al., 2016) as well as functional activity (Tikkanen et al.,
 2018). For the last 3 variables (frequency in cancer database, activity, and pathogenicity), mutations were aggregated into 5
 categories and 2 categories. Categories of frequency in cancer database included very frequent, frequent, not frequent, rare/unique,
 and never identified in human cancer. The first 2 categories were considered ‘‘common in cancer’’ and the last 3 categories ‘‘not
 common in cancer.’’ Categories of activity included inactive, splice/truncated, partially active, active, and synonymous/unknown.
 The first 3 categories were considered ‘‘impaired activity’’ and the last 2 categories ‘‘active/likely active.’’ Categories of pathogenicity
 included pathogenic, likely pathogenic, possibly pathogenic, benign, and variants of uncertain significance. The first 3 categories
 were considered ‘‘expected pathogenic’’ and the last 2 categories ‘‘unlikely pathogenic.’’

 TP53 cancer database mutational analysis
 From the UMD TP53 database (April 2017 version), we selected the set of 71,051 mutations reported within human tumors of all types
 (mutations from cell lines, normal, and premalignant tissue were excluded). Then we determined the distribution of mutations in the
 following categories: CpG, hotspots, exons 5-8, activity, pathogenicity, mutation type, and mutation spectrum. These values were
 used as a comparator for TP53 mutations identified in uterine lavage and normal tissues.

 TP53 mutations without selection
 To assess the distribution of TP53 mutations in the absence of selection, we generated a list of all possible mutations in the gene
 coding region (n = 3,546) in silico. Then we submitted this list to Seshat to determine the distribution of mutations in the same
 categories as above. The values obtained represent the distribution of all possible TP53 mutations in the absence of selection
 and were used as a comparator for TP53 mutations identified in uterine lavage and normal tissue.

 QUANTIFICATION AND STATISTICAL ANALYSIS

 Correlations were tested with Spearman’s rank test due to high variability in the outcomes (non-normality). Comparisons by groups
 were performed with Fisher’s exact tests (for comparison between case and control groups) or with the exact binomial test for
 comparison of one group with a hypothesized null probability of a success (mutation). Generalized estimating equations (GEE)
 also was investigated to take into account possible correlation within patients (lack of independence among observations/mutations
 with a patient) for these comparisons, but the results from the exact tests that assume independence were more conservative and
 thus, are the ones reported. Further, taking into account the sequencing depth either as an adjustment in binomial models or an offset
 in Poisson count models did not affect the significance of results. Sensitivity and specificity were calculated as simple proportions.
 Adjustment for age was performed by fitting log (maximum frequency) in a linear model. All tests were two-sided at an alpha level
 (type 1 error rate) of 0.05. Statistical analyses were performed with SPSS and R.

 DATA AND CODE AVAILABILITY

 Code availability
 Software for DS data analysis is available at https://github.com/loeblab/Duplex-Sequencing

 Data availability
 The accession number for the sequencing data reported in this paper is Sequence Read Archive BioProject ID: PRJNA503496.




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    Supplemental Information



    Ultra-Sensitive TP53 Sequencing for Cancer
    Detection Reveals Progressive Clonal Selection in
    Normal Tissue over a Century of Human Lifespan
    Jesse J. Salk, Kaitlyn Loubet-Senear, Elisabeth Maritschnegg, Charles C. Valentine, Lindsey
    N. Williams, Jacob E. Higgins, Reinhard Horvat, Adriaan Vanderstichele, Daniela
    Nachmanson, Kathryn T. Baker, Mary J. Emond, Emily Loter, Maria Tretiakova, Thierry
    Soussi, Lawrence A. Loeb, Robert Zeillinger, Paul Speiser, and Rosa Ana Risques
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    SUPPLEMENTAL FIGURES


    Figure S1. Duplex Sequencing spike-in test of reproducibility and accuracy
    Figure S2. Association between number of independent TP53 mutations detected and total
      number of Duplex nucleotides sequenced
    Figure S3. TP53 mutation frequency and characteristics by age for individual patient lavages in
      case-control study
    Figure S4. Comparison of traits of positive selection between TP53 mutations in the UMD
      cancer database and uterine lavages.
    Figure S5. TP53 mutation frequency and characteristics by age including uterine lavages from
      the two middle age women in the normal tissue study
    Figure S6. Analysis of mutations shared across multiple tissue samples within the same
      individual
    Figure S7. Mutant allele frequency as a function of Duplex Sequencing depth
    Figure S8. TP53 mutation frequency by tissue type
    Figure S9. TP53 mutation characteristics by age for individual tissue samples
    Figure S10. TP53 mutation characteristics within non-invasively collected body fluids from a 46
      year old woman
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   A.                                                                          B.
                                                Replicate 1                                                                    Replicate 2
    Duplex Sequencing MAF   10-1                                                                            10-1




                                                                                    Duplex Sequencing MAF
                                    Max depth: 257,058x                                                             Max depth: 404,837x
                            10-2                                                                            10-2


                            10-3                                                                            10-3

                            10-4                                                                            10-4


                            10-5                                                                            10-5

                            10-6                                                                            10-6
                                10-6    10-5    10-4      10-3   10-2   10-1                                    10-6    10-5    10-4      10-3   10-2   10-1
                                   Expected MAF from dilution factor                                               Expected MAF from dilution factor

   C.                                           Replicate 3                                                   D.
                            10-1
                                    Max depth: 300,570x
    Duplex Sequencing MAF




                            10-2


                            10-3


                            10-4


                            10-5


                            10-6
                                10-6     10-5    10-4     10-3   10-2   10-1

                                   Expected MAF from dilution factor


             Figure S1. Duplex Sequencing spike-in test of reproducibility and accuracy [related to
             Fig. 1B-E]. (A-C) DNAs from 9 cell lines, each carrying one or more unique single nucleotide
             mutation in TP53 or a RAS gene, were serially diluted into DNA obtained from the peripheral
             blood of a healthy 26 year old male donor at levels ranging from 1:100-1:100,000. This single
             mixture was divided into three portions, with each prepared into Duplex libraries on three
             different days and sequenced on three independent runs. The total Duplex depth achieved
             approximately 1-million-fold (i.e. a million independent genome equivalents). All mutations
             were detected in all runs, with R2 values of measured vs. expected MAFs respectively being
             0.98, 0.96 and 0.95. Larger MAF variations among replicates at higher dilutions reflects the
             greater impact of stochastic Poisson sampling with lower frequency mutations. (D) Table of
             each spike-in mutation and the dilution factor used to generate the mixture. Expected MAF
             values for each data point in A-C were uniformly adjusted from the dilution factor listed in D
             by known copy number variation/zygosity at the loci of interest, as determined by Duplex
             Sequencing of pure DNA from each cell line.
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       Total number of TP53 mutations
                                        30
                                                                                   p=0.008

                                        20




                                        10




                                        0
                                             0.0          5.0*106        1.0*107         1.5*107


                                                   Total Duplex nucleotides sequenced

   Figure S2. Association between number of independent TP53 mutations detected and
   total number of Duplex nucleotides sequenced [related to Fig. 1E-F]. The total number of
   TP53 mutations found (including exons and flanking intronic regions) in the 21 uterine lavages
   of the study was plotted against the total number of Duplex nucleotides sequenced in each
   sample. More TP53 mutations were identified in samples with more nucleotides sequenced
   (p=0.008 by Spearman’s correlation test).
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A.                                                           B.
Cases
Controls




                       TP53 mutation frequency                           TP53 mutation frequency

 C.                                                           D.
Cases
Controls




                    TP53 mutation frequency                             TP53 mutation frequency

           Figure S3. TP53 mutation frequency and characteristics by age for individual patient
           lavages in case-control study [related to Fig. 3A-D]. Data is parsed by (A) mutation type, (B)
           CpG dinucleotide site, (C) exon type and (D) cancer-associated hotspots. Patients are divided in
           cases (women with ovarian cancer) and controls (women without ovarian cancer) and ordered
           by age within each group. For each patient, TP53 mutation frequency was calculated as the
           number of TP53 mutations identified in the coding region divided by the total number of
           Duplex nucleotides sequenced in that region. For each trait, the fraction of mutations corre-
           sponding to each of the categories of analysis is indicated by color.
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                                                        Traits of Positive Selection
                                                100

                    Percentage TP53 Mutations   80

                                                60

                                                40

                                                20

                                                 0
                                                                       ts          -8            ity             city
                                                                    po          s5
                                                         G




                                                                                             tiv              ni
                                                      Cp




                                                                 s
                                                                t             on        Ac                ge
                                                             Ho             Ex                         ho
                                                                                                  t
                                                                                                Pa
                                                             no selection                UL controls

                                                             UL cancer                   cancer



       Figure S4. Comparison of traits of positive selection between TP53 mutations in
       the UMD cancer database and uterine lavages [related to Fig. 4A]. For each trait, the
       percentage of observed TP53 mutations is color-coded for each group. The ’no selection’
       group includes all possible mutations in the TP53 coding region (n=3,546). TP53 back-
       ground mutations found in uterine lavage from women without ovarian cancer (con-
       trols, n= 79) and uterine lavage from women with ovarian cancer (cases, n=33) show
       similar distribution of mutational traits, which more closely resemble mutations found
       in cancers (n=71,051) than mutations expected in the absence of selection. UL: Uterine
       lavage.
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               Cases
               Controls




                                           TP53 mutation frequency                             TP53 mutation frequency
               Cases
               Controls




                                           TP53 mutation frequency                             TP53 mutation frequency
Cases
Controls




                          TP53 mutation frequency                    TP53 mutation frequency                             TP53 mutation frequency




           Figure S5. TP53 mutation frequency and characteristics by age including uterine lavages
           from the two middle age women in the normal tissue study [related to Figs. 3E-F and 4B].
           The two new lavages correspond to a 46 year old woman and a 56 year old woman and are indi-
           cated by arrows. TP53 mutation type, frequency in cancer database, activity, pathogenicity,
           exon 5-8 location, CpG location, and hotspot location are indicated by color, with warm colors
           indicating ‘cancer-like’ features. The TP53 mutation frequency and the distribution of mutation-
           al cancer-like traits in the two new lavages are very similar to the data obtained for women of
           comparable age in the first part of the study.
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            TISSUE      TP53 MUTATIONS FOUND IN DIFFERENT TISSUES OF SAME INDIVIDUAL
             101 yo          c.659A>G    c.596G>A   c.517G>A    c.455C>T   c.389T>G    c.149T>C
     A001-Leukocytes          85/6971     2/11543                44/9587    1/10797     1/11512
     A001-Peritoneum (a)       1/4501                             1/4939
     A001-Peritoneum (b)       1/5344     3/8248      1/7342      2/6633
     A001-Endometrium (a)      1/5712                 1/7803                 1/7961
     A001-Endometrium (b)                                                                1/9988

              56 yo          c.151G>T
     A004-Leukocytes          1/13560
     A004-Cervix (a)
     A004-Cervix (b)
     A004-Endometrium (a)
     A004-Endometrium (b)
     A004-Myometrium
     A004-FT (a)
     A004-FT (b)
     A004-Ovary (a)
     A004-Ovary (b)
     A004-Uterine lavage       1/4843

              46 yo          c.659A>G    c.524G>T
     A006-Leukocytes                       1/6665
     A006-Peritoneum (a)
     A006-Peritoneum (b)
     A006-Cervix                          1/4349
     A006-Endometrium
     A006-Myometrium (a)      16/2694
     A006-Myometrium (b)
     A006-FT (a)               1/1918
     A006-FT (b)                                                                        MAF>1%
     A006-Uterine lavage                                                               MAF>0.1%
     A006-Peritoneal fluid
     A006-ctDNA


     Figure S6. Analysis of mutations shared across multiple tissue samples within the same
     individual [related to Figs 5B and 6]. For each individual, all analyzed samples are listed and
     color coded by tissue type. Mutations identified in more than one biopsy are indicated in
     columns with ratios provided for the biopsies in which the mutation was identified. The ratios
     indicate the number of Duplex reads with the given mutation divided by the depth of
     sequencing in that position. Mutations found at MAF>1% and MAF>0.1% are indicated. It
     should be noted that the first mutation listed for the 101 year old woman and the 46 year old
     woman is the same and corresponds to codon 220, one of the most common hotspots in
     TP53. FT: fallopian tube.
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 Mutant allele frequency




                                                             Duplex depth

                       Figure S7. Mutant allele frequency as a function of Duplex Sequencing depth [related to
                       Fig. 5B]. Each dot corresponds to a TP53 mutation identified in normal tissue. Mutations are
                       color coded by subject. MAF is calculated as the number of times a mutation was observed
                       divided by the depth of sequencing at the given position. Because MAF is inversely associated
                       with depth, mutations identified in biopsies sequenced at a lower depth (mostly from the 46
                       year old woman and newborn) present with higher MAF.
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A.
                            Number of TP53 mutations
                              in TP53 coding region




                                                                                    Total Duplex nucleotides
                                                                                 sequenced in TP53 coding region

B.
  TP53 mutation frequency




                                                       Leukocytes   Peritoneum     Endometrium   Cervix   Myometrium   Fallopian tube   Ovary




                 Figure S8. TP53 mutation frequency by tissue type [related to Figs. 5B, 6, 7A]. (A) Association
                 between number of TP53 mutations and total number of Duplex nucleotides sequenced in the
                 TP53 coding region. Dots correspond to samples and are color coded by individual of origin. (B)
                 For each sample, TP53 mutation frequency was calculated as the number of TP53 mutations
                 identified in the coding region divided by the total number of Duplex nucleotides sequenced
                 in that region. Subject age is indicated in the X-axis.
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                                                                     Figure S9. TP53 mutation
                                                                     characteristics by age for
                                                                     individual tissue samples
                                                                     [related to Fig. 7]. Characteri-
                                                                     zation of TP53 mutations
                                                                     identified in normal tissue
                                                                     from newborn, middle age
                                                                     and centenarian females.
                                                                     TP53 mutation type, frequen-
                                                                     cy in cancer database, activity,
                                                                     pathogenicity, CpG location,
                                                                     exon 5-8 location, and
                                                                     hotspot location are color
                                                                     coded as labeled in the corre-
 Age                                                                 sponding legends, with warm
             Number of TP53 mutations     Number of TP53 mutations
                                                                     colors indicating ‘cancer-
                                                                     like’ features. FT: fallopian
                                                                     tube.




 Age

             Number of TP53 mutations     Number of TP53 mutations




 Age

              Number of TP53 mutations    Number of TP53 mutations               Number of TP53 mutations
     Case 1:21-cv-01126-GBW-SRF Document 30 Filed 01/12/22 Page 348 of 439 PageID #: 1794
A.                                                                                                          B.
                                                                                        Peri.                                               46 YEAR OLD
        46 YEAR OLD                       Leukocytes                 cfDNA              fluid       UL




                                                                                                             TP53 mutation frequency
     Type
     Cancer frequency
     Protein activity
     Pathogenicity

     Mutation type:        Hotspot           Non-synonymous, indel, splice      Synonymous

     Cancer database frequency               TP53 protein activity           Predicted pathogenicity
         Very frequent                             Inactive                     Pathogenic




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         Frequent                                  Splice/truncated             Likely pathogenic




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         Not frequent                              Partially active             Possibly pathogenic




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         Rare/unique




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                                                   Active                       Benign




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                                                                                                                                    M
         Never reported in human cancer            Synonymous/unknown           VUS




C.




                       Number of TP53 mutations                                  Number of TP53 mutations                                   Number of TP53 mutations




                        Number of TP53 mutations                                 Number of TP53 mutations                                   Number of TP53 mutations




              Figure S10. TP53 mutation characteristics within non-invasively collected body fluids
              from a 46 year-old woman [related to Figs. 5B and 6]. (A) Heatmap indicating mutation type,
              frequency in cancer database, impact on protein activity, and predicted pathogenicity for each
              of the TP53 mutations identified in leukocytes, cfDNA, peritoneal fluid, and uterine lavage.
              Categories and color coding are the same as for Figure 6. Each column represents a mutation.
              (B) Comparison of TP53 mutation frequency in all tissues collected from the 46 year old woman,
              including liquid biopsies. (C) Comparison of TP53 mutational features in all tissues collected
              from the 46 year old woman, including liquid biopsies (indicated by arrows). FT: fallopian tube.
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                            EXHIBIT I
                                                   Case 1:21-cv-01126-GBW-SRF Document 30 Filed 01/12/22 Page 350 of 439 PageID #: 1796
                                                         protocol

                                                   Detecting ultralow-frequency mutations by
                                                   Duplex Sequencing
                                                   Scott R Kennedy1, Michael W Schmitt2, Edward J Fox1, Brendan F Kohrn3, Jesse J Salk2, Eun Hyun Ahn1,
                                                   Marc J Prindle1, Kawai J Kuong1, Jiang-Cheng Shen1, Rosa-Ana Risques1 & Lawrence A Loeb1,4
                                                   1Department of Pathology, University of Washington, Seattle, USA. 2Department of Medicine, University of Washington, Seattle, USA. 3Department of Biology,
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                                                   L.A.L. (laloeb@uw.edu).

                                                   Published online 9 October 2014; corrected online 22 October 2014 (details online); doi:10.1038/nprot.2014.170

                                                   Duplex equencing (D ) is a next-generation sequencing methodology capable of detecting a single mutation among >1 × 107
                                                                  S
                                                                                          S
                                                   wild-type nucleotides, thereby enabling the study of heterogeneous populations and very-low-frequency genetic alterations.
                                                   D can be applied to any double-stranded D        sample, but it is ideal for small genomic regions of <1 Mb in size. he method
                                                              S
                                                                                                         NA
                                                                                                                                                                                                   T
                                                   relies on the ligation of sequencing adapters harboring random yet complementary double-stranded nucleotide sequences to the
                                                   sample D     of interest. Individually labeled strands are then      -amplified, creating sequence ‘families’ that share a common
                                                                            NA
                                                                                                                                PCR
                                                   tag sequence derived from the two original complementary strands. Mutations are scored only if the variant is present in the




                                                                                                                                                                                                                  PCR
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                                                   families arising from both of the two D     strands. Here we provide a detailed protocol for efficient D adapter synthesis, library
                                                                                                   NA
                                                                                                                                                                                     S
                                                   preparation and target enrichment, as well as an overview of the data analysis workflow. he protocol typically takes 1–3 d.




                                                                                                                                                                  T
                                                   I              D              I
                                                       NTRO
                                                                      UCT
                                                                                     ON
                                                   Next-generation DNA sequencing (NGS) defines the modern                             we recently developed a highly sensitive sequencing methodology
                                                   genomic era. This powerful technology has revolutionized tra-                       termed Duplex Sequencing (DS). DS yields unprecedented accu-
                                                   ditional genetics and has made feasible the emerging field of                       racy in sequencing of double-stranded DNA, with a >10,000-fold
                                                   personalized medicine. It is now routine to sequence billions of                    improvement compared with conventional NGS, and it has the
                                                   nucleotides and to identify inherited clonal mutations. However,                    unique ability to detect a single mutation among >107 sequenced
                                                   all NGS approaches have a relatively high error rate: on the order                  bases19. DS takes advantage of the inherent complementarity of
                                                   of one erroneous base call per 100–1,000 sequenced nucleotides                      double-stranded DNA by using degenerate molecular tags 20–26 to
                                                   (Table 1; ref. 1). Although this error rate is acceptable for study-                label each fragmented DNA molecule with its own unique DNA
                                                   ing inherited mutations, it greatly limits the analysis of subclonal                sequence. By tagging duplex DNA with adapters containing ran-
                                                   mutations, which are defined as mutations that are present in only                  dom yet complementary double-stranded nucleotide sequences,
                                                   a fraction of cells within a population.                                            it becomes feasible to trace every sequence read back to one of
                                                      There is growing need for technologies capable of resolving                      the two strands of the original double-stranded DNA molecule
                                                   subclonal mutations. For example, genetic heterogeneity has                         (Fig. 1a). After adapter ligation, the individually labeled strands
                                                   long been proposed to be an intrinsic driver of cancer initiation                   are PCR-amplified to create sequence families that share the same
                                                   and progression2. Recent tumor genome sequencing studies                            tag sequences derived from each of the two single parental strands
                                                   suggest that human cancers exhibit extreme levels of genetic                        (Fig. 1b). After sequencing, members of each tag family are
                                                   heterogeneity3–6. Subclonal mutations are probably a major                          grouped and a consensus sequence is established for each of the
                                                   factor in cancer relapse and in rapid emergence of chemo-                           two strands to form ‘single-strand consensus sequences’ (SSCSs;
                                                   therapy resistance7–9. However, the study of cancer subclones                       Fig. 1c). The two complementary consensus sequences derived
                                                   requires the confident detection of mutations that are present in                   from the two strands of an individual DNA duplex are then com-
                                                   <1% of cells—a level of resolution that cannot be obtained by                       pared with each other, and the base identity at each position is
                                                   conventional sequencing approaches. Similarly, the genetic diver-
                                                   sity found within microbial populations underlies their ability to
                                                   adapt to changing environments, including development of drug
                                                                                                                                           able 1 | NGS platforms and their associated errors1.
                                                   resistance10–13, but this genetic diversity is difficult to directly
                                                                                                                                       T
                                                   assess owing to the high background error rate of conventional                                                                                           ackground
                                                   NGS sequencing. Other fields with a similar need for robust
                                                                                                                                                                                                        B
                                                                                                                                               latform                         rimary error type              (%)
                                                   low-frequency mutation detection include forensics14, paleog-
                                                                                                                                           P
                                                                                                                                                                           P
                                                   enomics15,16, evolution17 and toxicology18, as high-accuracy                            Pacific Biosciences        G/C deletions                             16
                                                   sequencing would allow one to assess the potential mutagenicity
                                                   of new chemical compounds without the need for a genetic                                Life Ion Torrent           Short deletions, homopolymers             1
                                                   selection system to identify mutant genes.                                              ABI SOLiD                  A-T bias                                  0.2

                                                   The concept of DS                                                                       Illumina MiSeq             Single nucleotide                         0.1
                                                   To overcome the high error rate of next-generation sequencing and
                                                   thereby facilitate the study of subclonal and random mutations,                         Illumina HiSeq             Single nucleotide                         0.1


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                                                   Case 1:21-cv-01126-GBW-SRF Document 30 Filed 01/12/22 Page 351 of 439 PageID #: 1797
                                                                                                                                                                                                       protocol
                                                   Figure 1 | Overview of Duplex Sequencing. (a) Schematic of a Duplex            a                   Randomized duplex tag                c
                                                                                                                                                                                               α                   β
                                                   Sequencing adapter, showing the random double-stranded tag and the
                                                                                                                                                                                               α                   β
                                                   invariant spacer sequence. (b) Ligation of the adapters to the sample DNA                          N′N′N′N′N′N′N′N′N′N′N′N′ T G A C T
                                                                                                                                                      NNNNNNNNNNNN ACTG                        α                   β
                                                   results in a unique 12-nt tag sequence on both ends of the molecule. PCR                                                                    α                   β
                                                   amplification of each strand of a DNA duplex results in two distinct, but                                                                   α                   β
                                                   related, PCR products. (c) Reads sharing unique α and β tag sequences are      b                                                            β                   α
                                                   grouped together into tag families of form αβ or βα, and an SSCS is created    1                                                   2
                                                                                                                                                                                               β                   α
                                                   for each tag family. Mutations are of three different types: sequencing                                               β
                                                                                                                                                  α                                            β                   α
                                                   mistakes (blue or purple dots); first-round PCR errors (brown dots); true
                                                                                                                                  2                                                   1        β                   α
                                                   mutations (green dots). Formation of the SSCS removes the first type of                                PCR duplicates both                  β                   α
                                                   error, but not first-round PCR errors. Comparing SSCSs from the paired                                 strands of duplex
                                                                                                                                                                                                           Single-strand
                                                   families with tags αβ and βα generates a DCS, which eliminates these               αβ family                                                        consensus sequences
                                                   first-round PCR errors. True mutations are scored if and only if they are      1               α                  β               2                       (SSCSs)
                                                   present at the same position in both strands of the DNA. Figure is adapted                                                                  α                   β
                                                   from ref. 33, © 2013 Kennedy et al.                                                                                                         β                   α

                                                                                                                                      βα family                                                              Duplex
                                                                                                                                                                                                       consensus sequences
                                                                                                                                  1               β                  α               2                       (DCSs)

                                                                                                                                                                                                   True mutation
                                                   retained only if the two strands match perfectly at that position,
                                                   yielding a ‘duplex consensus sequence’ (DCS; Fig. 1c). Mutations
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                                                   introduced during PCR by DNA polymerase misincorporations
                                                   or arising from DNA damage will appear in only one of the two                 Advantages of DS
                                                   DNA strands and thus are not counted as real mutations.                       The primary advantage of DS over other approaches is its superior
                                                                                                                                 accuracy. In our original publication on DS19, we demonstrated
                                                   Alternatives to DS                                                            the direct measurement of the mutation frequency for the M13
                                                   As the need for accurate sequencing methods has increased,                    bacteriophage as 2.5 × 10−6 mutations per base pair. We have
                                                   three main strategies besides DS have emerged: (i) single-cell                subsequently measured mutation frequencies as low as 5 × 10 −8
                                                   sequencing4,27–29, (ii) single-stranded molecular barcoding20,21,23           in human nuclear DNA (E.J.F. and L.A.L., unpublished results).
                                                   and (iii) circle sequencing (CirSeq)30,31. Although each approach             In addition, we recently applied DS to measuring the mutation
                                                   has unique strengths, all three of these methods involve sequenc-             frequency of human mtDNA in brain tissue from young and old
                                                   ing DNA derived from a single strand of a double-stranded                     individuals33. We showed that the frequency of mtDNA point
                                                   molecule. Misincorporation events by DNA polymerase                           mutations is 10–100-fold lower than that previously reported, and
                                                   occurring during the first round of amplification will inherently             the frequency increases approximately fivefold over an 80-year
                                                   be propagated to the daughter molecules, and they are likely to               lifespan. Surprisingly, we observed no significant age-associated
                                                   be erroneously scored as mutations. In the case of single-cell                increase in the mutations most commonly associated with
                                                   sequencing, the use of random primer sequences in conjunction                 oxidative damage to mtDNA. This finding is inconsistent with
                                                   with a strand-displacing DNA polymerase results in random                     free-radical theories of aging and suggests that previous studies
                                                   priming from the newly synthesized DNA and the generation of                  indicating that reactive oxygen species induced mutations increase
                                                   ‘copies of copies’, thus propagating any initial misincorporation             with age may be the result of PCR artifacts.
                                                   events to all of the reads. Because all the reads are derived from               Similarly to our results with mtDNA, we have found that DS
                                                   a single cell, the propagated error would be incorrectly called a             can help mitigate artifactual mutations derived from chemically
                                                   genetic variant. A similar process can occur in CirSeq and single-            damaged DNA. Numerous studies using NGS to sequence DNA
                                                   stranded barcoding, whereby a misinsertion event occurring                    from formalin-fixed tissues have reported a high number of false
                                                   during the first round of synthesis can be propagated to subse-               mutations34–36. Because complementary artifacts from damage
                                                   quently synthesized daughter molecules. When sequenced, these                 events are unlikely to occur at the same corresponding position
                                                   subpopulations of related molecules will all contain a copy of the            on paired DNA strands, the use of sequencing information from
                                                   original misincorporation event, and they will be erroneously                 both strands to correct these errors makes DS extremely resist-
                                                   scored as a mutation. However, because the same mutation is                   ant to damage-induced misincorporations. By using DS, we have
                                                   unlikely to occur in unrelated molecules, these artifactual vari-             sequenced paired formalin-fixed and unfixed tissue samples, and
                                                   ants would give the appearance of a subclonal mutation. DNA                   we found only a twofold change in the mutation frequency, indi-
                                                   polymerases typically used in library construction make misin-                cating that DS is useful for removing mutational artifacts even in
                                                   sertions at a frequency between 10−4 and 10−6, which can lead to              extremely damaged and degraded DNA (M.J.P., E.J.F. and L.A.L.,
                                                   thousands of false positives on a typical sequencing run. Damaged             unpublished results).
                                                   or degraded DNA is particularly sensitive to this form of error
                                                   because of the prevalence of DNA adducts that cause erroneous                 Limitations of DS
                                                   base pairings during polymerization. Removal of DNA dam-                      DS is a uniquely sensitive method that is capable of detecting and
                                                   age with the addition of glycosylases or in vitro repair kits has             quantifying mutations that occur at extremely low frequencies;
                                                   been shown to reduce the number of false mutations in these                   however, this ability comes at a cost. Owing to the method’s reli-
                                                   samples31,32. However, not all mutagenic lesions are recognized               ance on sequencing multiple PCR duplicates of both DNA strands,
                                                   by these enzymes, nor is the fidelity of repair perfect, thus limiting        DS requires much larger sequencing capacity than conventional
                                                   their utility in error correction.                                            NGS to produce a given depth of sequencing. At present, the use

                                                                                                                                                                   nature protocols | VOL.9 NO.11 | 2014 | 2587
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                                                    protocol

                                                     Box 1 | Synthesis of DS adapters ● IMI G 2 d




                                                                                                                                                                                                                         T
                                                                                                                                                                                                                                N
                                                     The adapter synthesis protocol generates a sufficient amount of adapters for several hundred samples.
                                                     1. Anneal the two oligonucleotides (MWS51 and MWS55 in able 3) by combining 100 µl of each 100 µM oligonucleotide in a 0.2-ml




                                                                                                                                                                                                                     T
                                                     PCR tube; heat the tube to 95 °C for 5 min in a thermocycler with a heated lid. Turn off the machine and leave it for 1 h. Remove and
                                                     save 1 µl for quality control; label it as ‘annealed adapters’.
                                                      I I              It is extremely important that the oligonucleotides be allowed to cool slowly. Make sure that the thermocycler does
                                                                CR
                                                                            T
                                                                                                CAL
                                                                                                           STEP
                                                     not automatically cool after the heating cycle.
                                                     2. Extend the annealed adapters by mixing the components in the table below by gently pipetting up and down, and then splitting
                                                     into two 0.2-ml PCR tubes and incubating for 1 h at 37 °C.
                                                         eagent                                                                                                         Volume (ml)                   Final concentration
                                                     R
                                                                                                    		
                                                                                                                                                                                          	
                                                     DNA from step 1                                                                                                         199                                Variable
                                                                                                                        		  
                                                                                                                                                                                 	
                                                     10× NEB buffer #2                                                                                                      27.9                                   1×
                                                                                                                                        	
                                                                                                                                                                                  	
                                                     10 mM dNTP mix                                                                                                         27.9                                 1 mM
                                                                                                                               		  
                                                                                                                                                                                 	
                                                     ddH2O                                                                                                                  11.6                                  N/A
                                                                                   			  
                                                                                                                                                                                 
                                                     Klenow exo− (5 U/µl)                                                                                                   11.6                                0.5 U/µl
                                                                                                                                                       	  
                                                                                                                                                                                 
                                                     3. Ethanol-precipitate the DNA and resuspend it with 200 µl of ddH2O. We recommend saving 1 µl of the resuspended adapters for
                                                     quality control purposes; label as ‘extended adapters’.
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                                                      I I               It is essential that the two strands never melt. If they do, the complementarity of the tags will be lost, and DS will
                                                                CR
                                                                            T
                                                                                                CAL
                                                                                                           STEP
                                                     not work. The strands could melt if the DNA is overdried after precipitation.
                                                     ?             H     I G
                                                                TROUBLES
                                                                                                                  OOT
                                                                                                                                            N
                                                     4. Cleave the extended adapters by mixing the components in the table below by carefully pipetting up and down and then dividing
                                                     into four 0.2-ml PCR tubes. Incubate the tubes for 16 h at 37 °C in a thermocycler with a heated lid. After 16 h, remove and save 1 µl
                                                     for quality control purposes; label as ‘cut adapters’.
                                                         eagent                                                                                                                       Volume (ml)                    Final concentration
                                                     R
                                                                                                  		  		
                                                                                                                                                                                                            	
                                                     DNA from step 3                                                                                                                    200                                   Variable
                                                                                                                                                               	
                                                                                                                                                                                                	
                                                     10× NEB CutSmart buffer                                                                                                             50                                     1×
                                                                                                                                                                     
                                                                                                                                                                                                  	
                                                     ddH2O                                                                                                                              235                                    N/A
                                                                           			  
                                                                                                                                                                                                	
                                                     HpyCH4III (5 U/µl)                                                                                                                  15                                  0.5 U/µl
                                                                                                                                                	  	
                                                                                                                                                                                                  
                                                     5. Add 50 µl of 3 M sodium acetate (pH 5.2) and mix. The final volume should be 550 µl.
                                                     6. Divide the solution into aliquots in 1.5-ml tubes, 275 µl per tube (~2 tubes total), and add 675 µl (i.e., 2.5 volumes) of
                                                     room-temperature 100% ethanol to each tube; mix the tubes by inversion.
                                                     ?             H     I G
                                                                TROUBLES
                                                                                                                  OOT
                                                                                                                                            N
                                                     7. Centrifuge the mixture for 30 min at 4 °C at >10,000g.
                                                     8. Remove the supernatant, add 1 ml of 75% (vol/vol) ethanol to each tube and mix by inversion. Immediately centrifuge the
                                                     tubes for 30 min at 4 °C at >10,000g.
                                                     9. Remove the supernatant. Dry the tube for 10 min inverted on a paper towel, and then for 5 min upright.
                                                      I I               Dry the DNA pellet for the exact times specified. Overdrying the DNA could lead to strand melting.
                                                                CR
                                                                            T
                                                                                                CAL
                                                                                                           STEP
                                                     10. Resuspend the pellet in each tube with 100 µl TElow. After resuspension, pool all the tubes together for a final volume of 200 µl.
                                                     Remove and save 1 µl for quality control; label as ‘final adapters’.
                                                     11. Divide the adapters into 50-µl aliquots, and place them at −80 °C for long-term storage. The final concentration will be ~50 µM.
                                                     12. (Optional) Radiolabel the sample from each step and run it on an 8 M urea, 14% (wt/vol) acrylamide gel (Fig. 2a). Although this
                                                     step is optional, it is strongly recommended. See ox 2 for a detailed protocol.
                                                                                                                                                                                                      B
                                                     !       I   γ-32P-ATP is radioactive. Take appropriate steps to avoid exposure to radioactive compounds.
                                                         CAUT
                                                                                           ON
                                                     ?             H     I G
                                                                TROUBLES
                                                                                                                  OOT
                                                                                                                                            N
                                                   of current NGS technology with DS to sequence large genomes or                                                                                                                   important updates and optimizations to the protocol since its
                                                                                                                                                                                                                                    ­
                                                   genome targets >1–2 Mbp in size to a high depth of coverage is pro-                                                                                                              initial publication, which have substantially increased its reli-
                                                   hibitively expensive; however, as the cost of sequencing continues                                                                                                               ability and reproducibility. Specifically, we have re-designed the
                                                   to fall, we anticipate that this will become increasingly practical.                                                                                                             sequencing adapters to allow for more efficient dA-tailing of the
                                                                                                                                                                                                                                    sample DNA. As part of this new design, the adapters require a
                                                   Overview of the procedure                                                                                                                                                        different synthesis method that we have included in Boxes 1 and 2.
                                                   Sequencing library construction for DS is similar to the standard                                                                                                                An additional change in the protocol involves the amount of DNA
                                                   Illumina library preparation protocol. The protocol follows the                                                                                                                  used during the PCR step. In the original publication, we specified
                                                   basic standard steps of DNA shearing by sonication, size selec-                                                                                                                  that ~40 attomoles of DNA was optimal. However, we have since
                                                   tion, end repair, 3′ dA-tailing, adapter ligation, PCR amplifica-                                                                                                                determined that the PCR input amount depends on a number of
                                                   tion and, optionally, targeted DNA capture. We have made several                                                                                                                 factors, including the number of reads devoted to a sample, the

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                                                                                                                                                                                                                                           protocol

                                                     Box 2 | Optional quality control steps for adapter synthesis using radiolabeled
                                                     adapters and PAGE ● IMI G 1 d




                                                                                                                                    T
                                                                                                                                              N
                                                     The following steps provide a method by which to evaluate the synthesis of the adapters. We have found that the use of radiolabeling
                                                     with polyacrylamide electrophoresis provides the most consistent and sensitive way to evaluate the success of the adapter
                                                     synthesis steps. Agarose electrophoresis could also be used; however, the fluorescent dyes used require double-stranded DNA.
                                                     Therefore, the evaluation of the extension step (step 3) will be limited. Technical solutions, such as the Agilent TapeStation 2200 or
                                                     Bioanalyzer 2100, do not have enough resolution to detect the 9-bp size change that occurs during enzymatic restriction (step 4)
                                                     and should be avoided.
                                                     1. Dilute each DNA sample from steps 1, 3, 4 and 5 from ox 1 in 9 µl of ddH2O.




                                                                                                                                                             B
                                                     2. For each DNA sample, mix the following components and incubate the mixture at 37 °C for 30 min.
                                                     !       I   γ-32P-ATP is radioactive. Take appropriate steps to avoid exposure.
                                                         CAUT
                                                                                   ON
                                                         eagent                                                                                   Volume (ml)                              Final concentration
                                                     R
                                                                                            				
                                                                                                                                                                                	
                                                     DNA from step 1                                                                                 1                                          Variable
                                                                                                          				  
                                                                                                                                                        
                                                     10× NEB polynucleotide kinase (PNK) buffer                                                      1                                             1×
                                                                                                                                        	  
                                                                                                                                                        		
                                                     γ-32P-ATP (6,000 Ci/mmol)                                                                      0.25                                         0.4 µM
                                                                                                                            			  
                                                                                                                                                                    		
                                                     ddH2O                                                                                          16.25                                         N/A
                                                                         					  
                                                                                                                                                                           
                                                                                                                                                                                    		
                                                     T4 PNK (10 U/µl)                                                                               0.5                                          0.5 U/µl
                                                                                                                   				  
                                                                                                                                                               
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                                                     3. Add 20 µl of the denaturing gel-loading buffer containing sequencing gel dye mix for a total volume of 40 µl.
                                                     4. Boil the DNA:buffer mixture for 1 min.
                                                     5. Mix 100 ml of the 8 M urea, 14% (wt/vol) polyacrylamide gel mixture with 130 µl of ammonium persulfate and 75 µl of
                                                     tetramethylethylenediamine (TEMED). Pour it rapidly into the sequencing gel plate setup, as described by the manufacturer.
                                                     6. Run 5 µl of the final DNA:buffer mixture on the 8 M urea, 14% (wt/vol) polyacrylamide gel at 60 W for 1.5–2 h or until the
                                                     bromophenol blue band reaches three-fourths of the way to the bottom of the gel.
                                                      I I              The small fragment that is removed by ethanol precipitation migrates near the bottom of the bromophenol
                                                                CR
                                                                     T
                                                                                        CAL
                                                                                                   STEP
                                                     blue marker. Do not run the gel for too long to avoid loss of the fragment. See Figure 3 for an example gel.


                                                   use of targeted DNA capture, genome and target size, and gene                                                                         a python script called ‘ConsensusMaker.py’. By default, the script
                                                   and target copy number. We formally outline the relationship                                                                          requires three members to result in a tag family. The family mem-
                                                   between these parameters and provide the optimal DNA input                                                                            bers are then compared at each sequence position, and the identity
                                                   amounts to maximize the final amount of data. Finally, we have                                                                        of a position is kept only when at least 70% of the members have
                                                   included the option to use targeted DNA capture, which greatly                                                                        the same sequence at that position. Positions that cannot form a
                                                   expands the utility of DS beyond small, highly pure genomes,                                                                          consensus are replaced by an ‘N’ and are considered undefined.
                                                   such as mtDNA and other small plasmids that were presented in                                                                         The resulting data are referred to as SSCSs (Supplementary Fig. 2).
                                                   our original publication.                                                                                                             We have experimented with requiring more than three members
                                                      In addition to the updated protocol, we also include a compre-                                                                     per family or >70% sequence agreement, but we have found that
                                                   hensive computational pipeline that we use to process and ana-                                                                        this reduces data yield without any appreciable change in the
                                                   lyze our data (Fig. 2). The computational workflow for DS uses                                                                        method’s accuracy (Supplementary Fig. 3).
                                                   a number of standard software packages to process the sequenc-                                                                           Next, the two related SSCS reads corresponding to the two ini-
                                                   ing data; these include the Burrows-Wheeler Aligner (BWA) 37,                                                                         tial DNA strands are grouped together and compared by a script
                                                   SAMtools38, Picard and the Genome Analysis Toolkit (GATK)39,40,                                                                       called ‘DuplexMaker.py’. The 24-nt tag associated with each
                                                   as well as several custom Python scripts. The computational work-                                                                     sequence read consists of two 12-nt sequences, and the tags cor-
                                                   flow is broken down into three major steps: (i) Tag parsing and                                                                       responding to a pair of SSCS reads can be grouped by virtue of
                                                   initial alignment; (ii) SSCS assembly; and (iii) DCS assembly. The                                                                    being transposed relative to one another. Specifically, if the two
                                                   latest version of the DS software package can be downloaded from                                                                      12-nt sub-tag sequences are designated α and β, then a sequence
                                                   https://github.com/loeblab/Duplex-Sequencing.                                                                                         with a tag αβ in read 1 is compared with the sequence having the
                                                      Each read obtained from a DS run consists of a 12-nt tag                                                                           tag βα in read 2. The paired strand SSCS reads are then compared
                                                   sequence, followed by an invariant 5-bp sequence corresponding                                                                        at each position, with only matching bases being kept to produce a
                                                   to the ligation site. First, the invariant 5-bp sequence is compu-                                                                    DCS. Non-matching bases are considered undefined, and they are
                                                   tationally removed from each read, and the 12-nt tag present on                                                                       replaced by ‘N’. Reads containing a high proportion of Ns (>30%)
                                                   each of the two paired-end reads is combined to a single 24-nt                                                                        are filtered out during this step (Supplementary Fig. 4). The proc-
                                                   tag that is stored in the read header. Sequences with ambiguous                                                                       essed DCS data are then re-aligned to the reference genome.
                                                   nucleotides or homopolymers greater than nine bases within the
                                                   tag are discarded. These steps are all performed by the custom                                                                        Experimental design
                                                   python script called ‘tag_to_header.py’ (Supplementary Fig. 1).                                                                       In the following sections, we will highlight important considera-
                                                   The reads are then aligned to the reference genome using BWA37.                                                                       tions that should be taken into account for each stage in the proto-
                                                   After alignment, reads sharing the same tag sequence and genomic                                                                      col, as well as provide details about the changes and improvements
                                                   coordinates are identified and grouped to form ‘tag families’ with                                                                    we have made since the initial publication19.

                                                                                                                                                                                                               nature protocols | VOL.9 NO.11 | 2014 | 2589
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                                                    protocol
                                                                                    Sequence DNA                                (e.g., Illumina’s Nextera DNA sample prep kit), are currently
                                                                                             47 or 53                           incompatible with DS because they make use of an invariant
                                                                                                                                transposon sequence that is incompatible with molecular bar-
                                                                                 Extract duplex tags                            codes. Because the DNA strands are not marked with molecular
                                                                                 (tag_to_header.py) 56
                                                                                                                                barcodes, it is impossible to identify unique DNA molecules and
                                                                                                                                perform the comparison between complementary strands.
                                                          Index reference              Align reads
                                                          genome w/BWA 55             (paired end) 57
                                                                                                                                Size selection. Many protocols for next-generation sequencing
                                                                                                                                library preparation use PAGE, with excision and purification
                                                                                                              Sort reads
                                                                                                                    58 and 59   of the desired fragment range from the gel. However, gel-based
                                                                                                                                size selection can result in melting of the two DNA strands, pre-
                                                                                                            Make SSCSs 60       cluding its use with DS. In addition, the use of gels increases the
                                                                                                         (ConsensusMaker.py)
                                                                                                                                introduction of DNA damage during UV transillumination. To
                                                                                                                                mitigate these problems, we perform size selection with Ampure
                                                                                                             Sort SSCSs
                                                                                                                                XP beads, which has the additional benefits of higher recovery
                                                                                                                          61
                                                                                                                                and greater speed.

                                                                                                             Make DCS 62        End repair and dA-tailing. Similar to the standard Illumina
                                                                                                           (DuplexMaker.py)
                                                                                                                                library construction protocol, the sheared DNA is subjected to
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                                                                                                                                end repair and 3′-end dA-tailing. Notably, in our initial descrip-
                                                                                  Realign DCS reads
                                                                                           63 and 64                            tion of DS19, we used A-tailed adapters and enzymatically added
                                                                                                                                a 3′ dT overhang on the fragmented DNA sample. However, since
                                                                                     Sort and filter                            then, we have determined enzymatic T-tailing to be consider-
                                                                                        DCSs 65–67                              ably less efficient than A-tailing (Supplementary Fig. 5), which
                                                                                                                                results in a substantially reduced number of final reads. We have
                                                                                Local realignment/end                           re-engineered the adapters to have a 3′ dT overhang (Fig. 1a, see
                                                                                   clipping (GATK) 68–71                        ‘Adapter synthesis’ section and Boxes 1 and 2), which simulta-
                                                                                                                                neously increases the final data yield (Supplementary Table 1)
                                                                                  Mutation detection                            and makes the protocol more consistent with conventional NGS
                                                                                    and analysis 73–75
                                                                                                                                library preparations.
                                                   Figure 2 | Schematic of the basic computational workflow for Duplex
                                                   Sequencing. The blue numbers correspond to the steps in the PROCEDURE.       Adapter synthesis. DS adapters are constructed by annealing
                                                                                                                                two oligonucleotides, one of which contains a 12-nt single-
                                                                                                                                stranded randomized tag sequence. A DNA polymerase is used
                                                                                                                                to copy the degenerate tag sequence, thereby converting it to a
                                                   Sample requirements. The amount of fragmented DNA actually
                                                                                                                                double-stranded form (Fig. 3). The extended product contains
                                                   used in the PCR amplification step is typically in the low-attomole
                                                   range, so the theoretical amount of starting DNA needed for DS
                                                   is extremely low. However, when feasible, it is most convenient to                               a           c
                                                                                                                                                                                    b
                                                   start with excess amounts of DNA to allow for easy quantification                                                    d       d
                                                                                                                                                                                            b
                                                                                                                                                        b
                                                   of the DNA throughout the initial sample preparation steps and to                                    a
                                                                                                                                                                a       a       a       1
                                                                                                                                                                        e       e           a
                                                   account for expected sample loss at the enzymatic and purification
                                                   steps. Typically, 1–3 µg of DNA is required for targeted DNA cap-                                                                        c
                                                   ture and 100–300 ng of DNA for smaller genomes, such as purified                                                                     2
                                                   plasmid or mtDNA, that do not require targeted capture. When                                                                             a
                                                   performing DNA isolation, it is imperative to avoid any manipula-
                                                                                                                                                                                            d
                                                   tions that could result in melting of the two DNA strands, such as                                                                           T
                                                                                                                                                                                        3
                                                   heating above 80 °C, the use of chaotropic agents such as urea or                                                                        e   A
                                                                                                                                                                                                    f
                                                   overdrying the DNA during ethanol precipitations.
                                                                                                                                                                                            d
                                                                                                                                                                        f                       T
                                                   DNA fragmentation. We physically shear the DNA by sonica-                                                                        4
                                                                                                                                                            1       2       3   4           e
                                                   tion using a Covaris acoustic ultrasonicator. The shearing time is
                                                   varied depending on the size of the genome, with shorter times               Figure 3 | Quality control of the sequencing adapters at each step of
                                                   for small genomes (such as mtDNA or viral DNA) and longer                    synthesis. (a) Representative 14% (wt/vol) polyacrylamide gel for each
                                                   times for nuclear DNA. Specific shearing parameters are given                step of the adapter synthesis. Lane numbers correspond to the following
                                                                                                                                steps in the synthesis protocol described in ox 1. Lane 1: step 1 (annealed
                                                   in Equipment Setup below. Other methods such as nebuliza-
                                                                                                                                                                                            B
                                                                                                                                adapters); lane 2: step 3 (extended adapters); lane 3: step 4 (cut adapters);
                                                   tion or enzymatic digestion should both be compatible with DS,               and lane 4: step 10 (final adapters). Band sizes are as follows: a = 58 nt;
                                                   but would probably require optimization. ‘Tagmentation’                      b = 56 nt; c = 83 nt; d = 75 nt; e = 48 nt; and f = 9 nt. (b) Schematic of
                                                   methods, which involve simultaneous fragmentation of the                     the adapters at each step on the synthesis. Lane and gel band designations
                                                   sample DNA and ligation of sequencing adapters by a transposase              correspond to the designations in a.


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                                                                                                                                                                                                                                                                                                                         protocol
                                                      a                                                                                b                                                                                                            c 0.06
                                                                              0.10                                                                              0.30




                                                                                                                                                                                                                                                  Fraction of total reads
                                                    Fraction of total reads




                                                                                                                                      Fraction of total reads
                                                                                                                                                                                                                                                                            0.05
                                                                              0.08                                                                              0.25
                                                                                                                                                                0.20                                                                                                        0.04
                                                                              0.06
                                                                                                                                                                0.15                                                                                                        0.03
                                                                              0.04
                                                                                                                                                                0.10                                                                                                        0.02
                                                                              0.02                                                                              0.05                                                                                                        0.01
                                                                                0                                                                                 0                                                                                                             0
                                                                                     1   5   10 15 20 25              30 35 40                                         1    3     5       7      9      11     13    15                                                             1       29     59 89       125 163 201 239                277
                                                                                          Tag family size (no. of reads per family)                                        Tag family size (no. of reads per family)                                                                             Tag family size (no. of reads per family)

                                                   Figure 4 | Representative tag family size distributions. (a) Optimal family size distribution. (b) Tag family size distribution that is too small because of too
                                                   much PCR input. (c) Tag family size distribution that is too large because of too little PCR input. We have found that a family size that is centered around
                                                   approximately six members maximizes the final number of DCS reads. Samples that exhibit a small peak family size can be sequenced again and the raw
                                                   sequencing data from the two sequencing runs can be combined and analyzed. Importantly, further sequencing of a sample with a large peak family size will
                                                   not increase the final depth of coverage.


                                                   an HpyCH4III restriction site downstream of the tag sequence.                                                                             different tag families and occur in a distribution (Fig. 4), we use
                                                   Cleavage of this site results in a 3′ dT overhang on the end of the                                                                       ‘peak family size’ as our preferred metric to refer to tag family sizes
                                                   final adapter (Figs. 1a and 3b), which can be ligated to the 3′ dA                                                                        generated under a given set of conditions. This distribution occurs
                                                   overhang on the DNA fragment library to be sequenced. Twelve                                                                              during PCR amplification, and it is the result of different ampli-
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                                                   random nucleotides per adapter (24 nt per final ligated molecule)                                                                         fication efficiencies of the DNA molecules present in the library.
                                                   significantly exceed the degeneracy needed to ensure unique labe-                                                                         By plotting the proportion of reads belonging to tag families of
                                                   ling of every molecule in a library. However, a tag length of <12                                                                         the same size (e.g., tag families can have the same number of reads
                                                   is incompatible with the Illumina sequencer because of technical                                                                          as different tags) as a function of tag family size (the ‘PE_reads.
                                                   limitations of the platform’s ‘phasing’ requirement and should                                                                            tagstats’ file generated in Step 60 of the PROCEDURE section
                                                   be avoided.                                                                                                                               provides these data), we typically observe a distribution of tag
                                                                                                                                                                                             family sizes with a solitary peak at a tag family size of one, which
                                                   Adapter ligation. The DNA:adapter ratio is a crucial variable, as                                                                         is probably the result of sequencing errors in the tag region, and
                                                   too few adapters lead to inefficient ligation, and the use of excess                                                                      a broader distribution centered at the peak family size (see Fig. 4a
                                                   adapters can result in adapter dimers, which, owing to their small                                                                        as an example). We formally define peak family size as the tag
                                                   size, preferentially amplify during PCR. The presence of these                                                                            family size >1 containing the highest proportion of reads. On
                                                   adapter dimers interferes with DNA sequencing. To minimize                                                                                the basis of the analysis of samples with different values for the
                                                   the presence of adapter dimers, we determine the molar con-                                                                               peak family size, we have determined that a peak family size of
                                                   centration of DNA molecules in the preligated DNA library on                                                                              six maximizes the efficiency of DS: that is, requiring the smallest
                                                   an Agilent TapeStation 2200 or Bioanalyzer 2100 and then use                                                                              number of raw reads to produce a single DCS (Fig. 5a). Although
                                                   20-fold molar excess of adapter relative to DNA. Unligated adapt-
                                                   ers and adapter dimers are then removed by purification with
                                                   Ampure XP beads (Supplementary Fig. 6).
                                                                                                                                                                                                    a                             0.014
                                                                                                                                                                                                Number of DCS reads / number of




                                                   Setting tag family size by PCR amplification. The sequencing                                                                                                                   0.012

                                                   library is PCR-amplified for the purpose of creating multiple                                                                                                                  0.010
                                                   copies of each strand of a double-stranded DNA molecule. The
                                                                                                                                                                                                          total reads




                                                                                                                                                                                                                                  0.008
                                                   number of DNA fragments used in the PCR, along with the frac-
                                                   tion of a sequencing lane dedicated to a particular sample, are the                                                                                                            0.006

                                                   primary adjustable variables that dictate the number of sequenc-                                                                                                               0.004
                                                   ing reads that share the same tag sequence (i.e., tag family size),
                                                                                                                                                                                                                                  0.002
                                                   which strongly influences the final number of DCSs formed. If
                                                   there are too few reads sharing the same tag sequence (i.e., small                                                                                                                0
                                                                                                                                                                                                                                          0   2                             4           6       8      10          12      14       16        18
                                                   tag family size), a consensus sequence cannot be calculated; con-                                                                                                                                                                         Peak family size
                                                   versely, too many reads having the same tag sequence (i.e., large                                                                                b 1E+05
                                                   tag family size) wastes sequencing capacity without appreciably
                                                                                                                                                                                                                           1E+05
                                                   improving data yield. Because the number of reads varies between
                                                                                                                                                                                                    Number of DCS reads




                                                                                                                                                                                                                           8E+04

                                                   Figure 5 | Optimal peak family size. Replicates of the same sample at                                                                                                   6E+04
                                                   different lane fractions. (a) Plot compares peak family size to the number of
                                                   final DCSs that are formed for every read originally dedicated to a sample.                                                                                             4E+04
                                                   The maximum efficiency of DCS formations occurs at a peak family size of
                                                                                                                                                                                                                           2E+04
                                                   six and corresponds to ~40 raw reads being required to form one DCS read.
                                                   (b) The total number of DCSs increases until a peak family size of ~16 is                                                                                                         0
                                                   reached. A peak family size >16 does not result in an increase in the final                                                                                                            0   2                             4       6          8      10          12      14      16         18
                                                   number of DCSs.                                                                                                                                                                                                                          Peak family size


                                                                                                                                                                                                                                                                            nature protocols | VOL.9 NO.11 | 2014 | 2591
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                                                    protocol
                                                   a peak family size of six is optimal, it should be noted that data           When performing targeted capture, a PCR input amount of
                                                   yield continues to increase, albeit at a decreasing overall efficiency,   4 amol of target DNA is used for ~8 million paired-end reads
                                                   for peak family sizes ranging between six and 16 members                  (i.e., ~5% sequencing capacity of a HiSeq2500 lane). However, in
                                                   (Fig. 5b). As the peak family size approaches 16 reads per tag            contrast to a noncapture sample, this value refers specifically to
                                                   family, nearly all additional reads are redundant and consume             the amount of target DNA being captured in the sample, which is
                                                   sequencing capacity without yielding further DCS data. Therefore,         generally much less than the amount of total DNA. The amount
                                                   when deciding on DNA input amounts for PCR, we aim for a                  of total DNA used in the PCR is dependent on its relative copy
                                                   peak family size ranging between six and 12 members. This range           number and the size of the genomic target, and it can be estimated
                                                   allows for some tolerance in peak family size because of pipet-           by the following formula:
                                                   ting or measurement error, while maximizing the final number
                                                   of DCSs that we obtain.
                                                                                                                                                                         mG
                                                      To achieve greater sequencing depth for a given target, or to                                        Total DNA =
                                                   achieve the same depth for a larger genome or genome target,                                                          NT
                                                   more DCSs are needed. To increase the number of reads obtained
                                                   in DS, it is necessary to proportionally increase both the input          Where m is the desired amount of target DNA in attomoles of
                                                   amounts of DNA for PCR and the dedicated lane fraction to                 fragments (Table 2), G is the size of total genome in base pairs,
                                                   maintain a peak family size of six (Table 2). Nonproportional             T is the size of the target DNA in base pairs and N is the number
                                                   changes to PCR input and lane fraction lead to suboptimal peak            of copies of the target per copy of the nontarget portion of the
                                                   family sizes and substantial decreases in DS efficiency (Figs. 4b,c       genome. For single-copy genes, N will have a value of 1 and can be
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                                                   and 5a). The choice of lane fraction (i.e., the number of reads           ignored. However, in the case of multicopy targets such as mtDNA
                                                   devoted to a particular sample) will be influenced by the size of         or ribosomal genes, N can be on the order of hundreds or thou-
                                                   the targeted region and the desired depth of coverage. In par-            sands of copies per nontarget genome and can markedly influ-
                                                   ticular, for a given lane fraction, the final sequencing depth of a       ence the amount of input DNA. The value of N can be reasonably
                                                   sample will decrease as the size of the genome target increases.          estimated by performing copy number analysis with quantitative
                                                   The following formula can be used to estimate the number of               PCR (qPCR) using primers that are specific to the target and
                                                   reads to devote to a sample:                                              nontarget DNA. Similar to the nontarget DNA inputs, the target
                                                                                                                             DNA input amounts should also be proportionally increased with
                                                                                       40DG
                                                                                  N=                                         increasing lane fraction (Table 2).
                                                                                         R
                                                                                                                               The number of PCR cycles is an important variable. Additional
                                                   Where N is the number of paired-end reads devoted to a sample             cycles beyond the exponential phase can result in the appearance
                                                   (i.e., lane fraction), D is the desired average depth of coverage,        of nonspecific, higher-molecular-weight products (Fig. 6a,b).
                                                   G is the genome or genome target size in base pairs and R is              To avoid this complication, we carefully monitor the number of
                                                   the postanalysis read length in bases (76 in our analysis). The           PCR cycles. For samples requiring <10 fmol of input DNA, such
                                                   value of 40 is an empirically determined pseudo-constant that             as for mtDNA, we monitor the reaction by qPCR and remove the
                                                   approximately corresponds to the average number of unprocessed            reactions one or two cycles before the SYBR Green signal plateaus,
                                                   read-pairs needed to form a single DCS. This value roughly cor-           which typically occurs between cycles 15 and 20. Notably, the
                                                   responds to the product of the optimal peak family size (i.e., six)
                                                   and the number of SSCSs typically needed to form a single DCS
                                                   (we typically obtain SSCS:DCS ratios between four and ten, with               able 2 | DNA input amounts for PCR.
                                                                                                                             T
                                                   an average of around six). However, because not all raw reads
                                                   are of high quality, several extra reads are typically present that                                     ttomoles of D       ttomoles of D
                                                                                                                                                       A
                                                                                                                                                                         NA
                                                                                                                                                                              A
                                                                                                                                                                                            NA
                                                   fail to form a DCS, and this tends to raise the number of raw                     eads per sample       (with capture)     (with no capture)
                                                                                                                                 R
                                                   reads needed to form a single DCS to ~40. Notably, this formula
                                                   provides a rough estimate of the depth that will be obtained pro-             8 × 106                          4                  40
                                                   vided that the peak family size and SSCS:DCS ratio are optimal.
                                                                                                                                 16 × 106                         8                  80
                                                   After determining the per-sample lane fraction, this value can be
                                                   referred to in Table 2 to determine the amount of target DNA                  24 × 106                        12                 120
                                                   that should be used in the PCR to obtain the appropriate peak
                                                   family size of six.                                                           32 × 106                        16                 160
                                                      For samples that do not make use of targeted capture,
                                                                                                                                 40 × 106                        20                 200
                                                   such as purified mtDNA or plasmid DNA, we have found that
                                                   a PCR input of 40 amol of DNA produces an optimal peak                        48 × 106                        24                 240
                                                   family size of six when devoting eight million paired-end reads
                                                   to a sample (i.e., ~5% sequencing capacity of a HiSeq2500 lane).              56 × 106                        28                 280
                                                   For the 16.5-kb human mtDNA, this typically results in a depth                64 × 106                        32                 320
                                                   of 500–1,000. Given the linear relationship between PCR input
                                                   and lane fraction needed to keep the peak family size constant,               72 × 106                        36                 360
                                                   200 attomoles of input mtDNA for 25% of a HiSeq lane results
                                                   in a depth of 2,500–5,000.                                                    80 × 106                        40                 400


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                                                                                                                                                                                                                                                                                                protocol
                                                     a                                                                                       b                                                                                         c

                                                                                       er




                                                                                                                                 er




                                                                                                                                                                                er




                                                                                                                                                                                                                          er




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                                                                                                                                                                                                                                                                                                                 er
                                                                                   w




                                                                                                                             pp




                                                                                                                                                                            w




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                                                                                                                                                                                                                                                                                                             pp
                                                                                                              3




                                                                                                                                                                                                       6




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                                                                                                                                                                                                                                                                                                     4
                                                                                                                                                                                                                                                                                                         1
                                                                                  Lo




                                                                                                             33




                                                                                                                                                                           Lo




                                                                                                                                                                                                      34




                                                                                                                                                                                                                                                                    Lo




                                                                                                                                                                                                                                                                                         18



                                                                                                                                                                                                                                                                                                 50
                                                                                                                                                                                                                                                                                                      68
                                                                                                                           U




                                                                                                                                                                                                                    U




                                                                                                                                                                                                                                                                                                             U
                                                    Sample intensity (FU)




                                                                                                                                             Sample intensity (FU)




                                                                                                                                                                                                                                      Sample intensity (FU)
                                                                            600                                                                                      600                                                                                      600
                                                                            500                                                                                      500                                                                                      500
                                                                            400                                                                                      400                                                                                      400
                                                                            300                                                                                      300                                                                                      300
                                                                            200                                                                                      200                                                                                      200
                                                                            100                                                                                      100                                                                                      100
                                                                              0                                                                                        0                                                                                        0
                                                                                                                                      Size                                                                                     Size                                                                                   Size
                                                                                  25


                                                                                            50

                                                                                                 100

                                                                                                       200
                                                                                                             300
                                                                                                             400
                                                                                                             500
                                                                                                                   700
                                                                                                                         1,000
                                                                                                                         1,500




                                                                                                                                                                           25


                                                                                                                                                                                     50

                                                                                                                                                                                          100

                                                                                                                                                                                                200
                                                                                                                                                                                                      300
                                                                                                                                                                                                      400
                                                                                                                                                                                                      500
                                                                                                                                                                                                            700
                                                                                                                                                                                                                  1,000
                                                                                                                                                                                                                  1,500




                                                                                                                                                                                                                                                                    25


                                                                                                                                                                                                                                                                              50

                                                                                                                                                                                                                                                                                   100

                                                                                                                                                                                                                                                                                         200
                                                                                                                                                                                                                                                                                               300
                                                                                                                                                                                                                                                                                               400
                                                                                                                                                                                                                                                                                               500

                                                                                                                                                                                                                                                                                                        700
                                                                                                                                                                                                                                                                                                      1,000
                                                                                                                                                                                                                                                                                                      1,500
                                                                                                                                      (bp)                                                                                     (bp)                                                                                   (bp)



                                                   Figure 6 | Example Agilent TapeStation 2200 electropherograms. (a) Electropherogram of an optimal post-PCR sample at Step 47. (b) Electropherogram from
                                                   Step 47 showing higher molecular species resulting from too many PCR cycles. See Experimental design for details on determining the number of PCR cycles.
                                                   (c) Electropherogram of the postligation at Step 36; note that the double peaks are normal. The peaks can vary in size and intensity without affecting the final results.



                                                   specific plateau point will be dependent on the amount of DNA                                                                                10,000-fold enrichment will result in only 7% of the final DNA
                                                   used in the PCR and should be carefully monitored.                                                                                           being on-target. However, we have found that repeating the tar-
                                                     If a sample requires >10 fmol of DNA, such as when performing                                                                              geted capture steps typically results in >85% of reads mapping
                                                   targeted capture of nuclear DNA, we have found that the SYBR                                                                                 to the target sequence.
                                                   Green signal can be unreliable. As a benchmark for determining
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                                                   the number of cycles that should be used during PCR, we have                                                                                 Quality metrics. The overall efficiency of DS is calculated by
                                                   found that samples requiring ~600 fmol of total input DNA should                                                                             dividing the number of DCS reads by the number of raw reads,
                                                   be stopped between cycles six and eight. Importantly, for every                                                                              and in our hands it can range from 1 to 10%. We have found that
                                                   twofold increase or decrease in the amount of DNA used in the                                                                                two primary factors determine overall data yield: the peak family
                                                   PCR, the reactions should be stopped one cycle earlier or later,                                                                             size and the SSCS:DCS ratio. The peak family size is determined
                                                   respectively. When first setting up DS for a new experimental sys-                                                                           by the amount of DNA used for the PCR and the fraction of a lane
                                                   tem or genomic target, we recommend testing the number of cycles                                                                             dedicated to a sample, and it should optimally be adjusted to six,
                                                   needed to maximize yield while avoiding higher-molecular-weight                                                                              as discussed previously (see the ‘Setting tag family size by PCR
                                                   products by pausing the thermocycler every two cycles and care-                                                                              amplification’ section; Fig. 5a). Should a sample exhibit a peak
                                                   fully removing a small aliquot from the reaction. The aliquots can                                                                           family size that is smaller than what is desired, then an optimal
                                                   then be quantified on an Agilent TapeStation 2200 or Bioanalyzer                                                                             peak family size can be obtained by resequencing the same sample
                                                   2100 to determine the optimal cycle number (Fig. 6a,b).                                                                                      using the information in Supplementary Table 2 and combining
                                                                                                                                                                                                the data with the previous run(s). Importantly, the resequenced
                                                   Targeted DNA capture. Targeted capture of the sequences of                                                                                   sample must be a technical replicate; performing the protocol
                                                   interest is often desirable. We have used the Agilent SureSelectXT                                                                           again on the same biological sample will not work. The SSCS:DCS
                                                   target enrichment system. We have designed and used several                                                                                  ratio is the other key factor. A ratio of two is the theoretically ideal
                                                   custom-designed targeted capture sets against both nuclear and                                                                               and would indicate that every SSCS can find its partner and form
                                                   mtDNA from a number of organisms, including humans, mice                                                                                     a DCS. We typically obtain SSCS:DCS ratios between four and
                                                   and flies, with good success. Hybridization-based enrichment                                                                                 ten, with an average of ~6. An excessively high ratio (i.e., >14–15)
                                                   methods offered by other manufacturers would probably work                                                                                   can occur for several reasons. If peak family sizes are too small,
                                                   as well. However, we have not evaluated these technologies, and                                                                              then families with at least three members might not form from
                                                   they are likely to require some optimization. Of note, PCR-based                                                                             both DNA strands. This issue is readily overcome by increasing
                                                   enrichment methods are not compatible with DS because the                                                                                    the family size, as noted above, although it does not appreciably
                                                   targeted duplex DNA is melted into its single-stranded com-                                                                                  improve above peak sizes of 5–6 (Fig. 5b). If a poor ratio is seen
                                                   ponents during PCR, and the complementarity of the original                                                                                  despite adequate family sizes, this suggests that only one of the two
                                                   DNA is lost.                                                                                                                                 DNA strands was successfully ligated and amplified during PCR.
                                                      Capture is readily performed on large targets, or on high-copy-                                                                           In such cases, the sample library will need to be remade in order
                                                   number targets such as mtDNA. However, capture is inefficient                                                                                to obtain more data, with attention to optimizing ligation condi-
                                                   when targeting small, low-copy-number regions. The reason is                                                                                 tions and library tailing steps.
                                                   that capture typically results in a 10,000-fold enrichment of the                                                                               Finally, mutations should theoretically be distributed through-
                                                   target DNA. For example, the mitochondrial genome, owing to                                                                                  out all possible read positions; however, we observe an increased
                                                   its high copy number, composes ~0.2% of the total mass of DNA                                                                                frequency of mutations at the 5′ and 3′ends of reads. These arti-
                                                   in a human cell. Therefore, a 10,000-fold enrichment will result                                                                             facts are likely due to errors that occur during the end-repair
                                                   in nearly 100% purity of the targeted DNA. However, a 20-kb                                                                                  process and alignment. These artifacts can be mitigated by per-
                                                   locus in genomic DNA, which is present in a single copy per hap-                                                                             forming local re-alignment with GATK, followed by clipping the
                                                   loid genome, composes only 0.0007% of the total DNA. Thus, a                                                                                 first and last five bases of each read39.




                                                                                                                                                                                                                                                    nature protocols | VOL.9 NO.11 | 2014 | 2593
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                                                       protocol

                                                   M                              I
                                                           ATER
                                                                                        ALS
                                                   REAGENTS                                                                                               EQUIPMENT
                                                   • DNA of interest  I I          It must be purified under non-strand-                                 • Eight-well PCR strip tubes (0.2 ml; BioExpress, cat. no. T-3035-1)

                                                                                                  CR
                                                                                                       T
                                                                                                           CAL
                                                     denaturing conditions.                                                                               • DynaMag-96 side magnetic plate separator (Life Technologies,
                                                   • Agencourt AMPure XP beads (Beckman Coulter, cat. no. A63880)                                           cat. no. 12331D)
                                                     Alternatively, Agencourt RNAclean XP (Beckman Coulter, cat. no. A63987)                              • Vacuum centrifuge
                                                     may be used                                                                                          • Microcentrifuge tubes (1.7 ml, Eppendorf)
                                                   • Klenow fragment (3′→5′exo−; New England Biolabs (NEB)                                                • qPCR thermocycler (Bio-Rad)
                                                     cat. no. M0212L, includes NEB buffer #2)                                                             • qPCR-compatible eight-well PCR strip tubes (0.2 ml; Bio-Rad,
                                                   • 10× TBE electrophoresis buffer (Sigma-Aldrich, cat. no. T4415)                                         cat. no. TLS0851)
                                                   • TElow (Affymetrix, cat. no. 75793)                                                                   • qPCR-compatible eight-well PCR strip caps (Bio-Rad, cat. no. TCS0803)
                                                   • Nuclease-free water (Life Technologies, cat. no. AM9937)                                             • Microcentrifuge (Eppendorf, cat. no. 5424 000.410)
                                                   • T4 polynucleotide kinase (NEB, cat. no. M0201; includes reaction buffer)                             • Heating block (37 °C)
                                                   • HpyCH4III (NEB, cat. no. R0618; includes CutSmart buffer)                                            • Heating stir plate
                                                   • dNTPs, 2.5 mM each (Promega, cat. no. U1511)                                                         • Covaris Sonicator S220 (Covaris)
                                                   • Ethanol (100%, 200 proof; Sigma-Aldrich, cat. no. E7023)                                             • Sonication tubes (Covaris, cat. no. 520045)
                                                     !       I Ethanol is flammable. Keep it away from flames.                                            • Agilent TapeStation 2200 (Agilent, cat. no. G2964AA) or Agilent
                                                                  CAUT
                                                                                  ON
                                                   • Sodium acetate (Sigma-Aldrich, cat. no. S2889)                                                         Bioanalyzer 2100 (Agilent, cat. no. G2938C)
                                                   • γ-32P-ATP (6,000 Ci/mmol; MP Biomedicals, cat. no. 0135001U01)                                       • Illumina HiSeq2500 and associated equipment (Illumina):
                                                     !       I γ-32P-ATP is radioactive. Take appropriate care when                                         NextSeq500, HiSeq1000 and HiSeq2000 are all compatible with
                                                                  CAUT
                                                                                  ON
                                                     handling it.                                                                                           this protocol. The MiSeq uses a substantially reduced number of
                                                   • Urea (Sigma-Aldrich, cat. no. U6504)
                                                                                                                                                            clusters relative to the other Illumina platforms and, although not
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                                                   • Acrylamide (Supplied as a 19:1 30% (wt/vol) acrylamide/bis-acrylamide
                                                                                                                                                            incompatible with this protocol, is not recommended. Non-Illumina
                                                     solution; Bio-Rad, cat. no. 161-0154) !       I Acrylamide is a known
                                                                                                                                                            sequencing platforms have not been evaluated and would require
                                                                                                                 CAUT
                                                                                                                        ON
                                                     neurotoxin; handle it with care.
                                                                                                                                                            re-designing of the adapters
                                                   • Denaturing gel loading buffer (Life Technologies, cat. no. AM8546G)
                                                                                                                                                          • Pipette tips
                                                   • DS adapter oligonucleotides (IDT; see Table 3 for sequences)
                                                                                                                                                          • BWA software package (http://bio-bwa.sourceforge.net/): the protocol is
                                                      I I         Oligonucleotides must be PAGE purified.
                                                                                                                                                            known to work with versions ≤0.6.2. The software distributed with this
                                                                         CR
                                                                              T
                                                                                       CAL
                                                   • Sequencing adapter PCR oligonucleotide primers (IDT; see Table 3
                                                                                                                                                            protocol has been designed for use with BWA; different aligners may
                                                     for sequences
                                                   • NEBNext end-repair module (NEB, cat. no. E6050L; includes reaction                                     not be compatible
                                                     buffer)                                                                                              • SAMtools software package (http://samtools.sourceforge.net/):
                                                   • NEBNext dA-tailing module (NEB, cat. no. E6053L; includes reaction                                     the protocol is known to work with versions ≤0.1.18. The software
                                                     buffer)                                                                                                distributed with this protocol has been designed for use with
                                                   • Ultrapure T4 ligase (600,000 U/ml; Enzymatics, cat. no. L6030-HC-L;                                    SAMtools; the use of other software to manipulate sam/bam files may
                                                     supplied with 10× Ultrapure ligation buffer)                                                           not be compatible
                                                   • KAPA HiFi HotStart DNA polymerase (1 U/ml; KAPA Biosystems,                                          • Python software package (http://python.org/): the scripts used in this
                                                     cat. no. KK2502; supplied with 5× fidelity buffer and 10 mM dNTP mix)                                  protocol have been tested with v2.7.x. They are not currently compatible
                                                   • SYBR Green (10,000×; Life Technologies, cat. no. S-7563)                                               with Python 3.x
                                                   • Agilent DNA high-sensitivity D1K TapeStation kit (Agilent,                                           • BioPython software package (http://biopython.org/): the scripts used in this
                                                     cat. no. 5067-5363 and 5067-5364). Alternatively, an Agilent                                           protocol are compatible with v1.62.
                                                     high-sensitivity DNA for the Bioanalyzer 2100 may be used                                            • Pysam software package (http://code.google.com/p/pysam/): the scripts
                                                     (Agilent, cat. no. 5067-4626)                                                                          used in this protocol are compatible with v0.7.5
                                                   • Agilent SureSelectXT target enrichment Set (protocol version 1.6; Agilent)                           • Genome Analysis Toolkit (GATK) software package
                                                      I I         The use of target enrichment is optional for this protocol.                              (http://www.broadinstitute.org/gatk/): the scripts used in this protocol
                                                                         CR
                                                                              T
                                                                                       CAL
                                                     The target enrichment section uses Agilent SureSelectXT. The use of                                    are known to be compatible with v2.4-9
                                                     other targeted capture products will probably work; however, they have                               • Picard software package (http://picard.sourceforge.net/): the scripts used
                                                     not been evaluated and their compatibility is unknown.                                                 in this protocol are known to be compatible with v1.107
                                                   • SureSelectXT reagent kit, HSQ, 16 (Agilent, cat. no. G9611A) This item is                            • Distance software package: the scripts used in this protocol are compatible
                                                     optional and is needed only if targeted capture is performed                                           with v0.1.3.




                                                       able 3 | Sequences of the adapter and PCR oligonucleotides.
                                                   T
                                                                  ame                                                            equence                                                                       urpose
                                                       N
                                                                                                                             S
                                                                                                                                                                                                           P
                                                       MWS51                                  5′-AATGATACGGCGACCACCGAGATCTACACTCTTTCCCTACACGACGCTCTTCCGATCT-3′                            Duplex sequencing adapter oligos.
                                                       MWS55                                  5′-TCTTCTACAGTCANNNNNNNNNNNNAGATCGGAAGAGCACACGTCTGAACTCCAGTCAC-3′                           Annealed adapters prepared as described
                                                                                                                                                                                          in ox 1 and used in PROCEDURE Step 30
                                                                                                                                                                                            B
                                                       MWS13                                  5′-AATGATACGGCGACCACCGAG-3′                                                                 PCR primers used at PROCEDURE Steps 38
                                                       MWS20                                  5′-GTGACTGGAGTTCAGACGTGTGC-3′                                                               and 51 to generate amplified tag families,
                                                       MWS21                                  5′-CAAGCAGAAGACGGCATACGAGATXXXXXXGTGACTGGAGTTCAGACGTGTGC-3′                                 with (Steps 38B and 51) or without
                                                                                                                                                                                          (Step 38A) targeted capture
                                                   Xs represent the sample indexing sequence. We recommend using the Illumina TruSeq index sequences available on the Illumina website.




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                                                                                                                                                                                                                protocol
                                                   REAGENT SETUP                                                                           Immediately freeze the oligonucleotides at −20 °C until further use.
                                                   Urea 8 M, polyacrylamide gel mixture 14% (wt/vol) Add 480 g of urea to                  Oligonucleotides can be stored at this temperature for 6–12 months.
                                                   466 ml of acrylamide and 100 ml of 10× TBE. Allow the urea to dissolve by               Sequencing adapter PCR primers Dissolve each respective PCR primer
                                                   slowly stirring with mild heat using a stir plate. After the urea is dissolved, bring   in TE or ddH2O in separate microcentrifuge tubes to a final concentration of
                                                   the volume up to 1 liter with ddH2O. Store it at 4 °C for up to 1–2 months.             20 µM each. Immediately freeze the oligonucleotides at −20 °C until further
                                                   Sodium acetate solution, 3 M Add 24.6 g of sodium acetate and dissolve                  use. Primers can be stored at this temperature for 6–12 months.
                                                    it in 90 ml of ddH2O. Adjust the pH to 5.2 with 1 M HCl, and then add                  AMPure XP magnetic beads The beads are normally stored at 4 °C. Allow
                                                   ddH2O to adjust the final volume to 100 ml. Sterilize the solution by                   the beads to warm to room temperature before use.  I I           The beads




                                                                                                                                                                                                     CR
                                                                                                                                                                                                                T
                                                                                                                                                                                                                    CAL
                                                   autoclaving. This solution can be stored indefinitely at room temperature               will not function properly if they are not at room temperature.
                                                   (20–25 °C).                                                                             EQUIPMENT SETUP
                                                   Ethanol solution, 75% (vol/vol) Add 25 ml of ddH2O to 75 ml of 100%                     Covaris S220 Sonicator The following settings are used to shear nuclear
                                                   ethanol. This solution can be stored at room temperature for up to 1 month.             DNA to ~300 bp (range 100–500 bp): duty cycle, 10%; intensity, 5; cycles/
                                                   SYBR Green, 12.5× Dilute 1 µl of 10,000× SYBR Green in 799 µl of ddH2O,                 burst, 200; and time, 20 s × 6. For small genomes, such as mtDNA, viral
                                                   and divide the solution into 50-µl aliquots; store the aliquots at −20 °C for           or plasmid DNA, the following settings should be used: duty cycle, 10%;
                                                   up to 6 months.                                                                         intensity, 5; cycles/burst, 100; and time, 20 s × 3.  I I    The water-bath




                                                                                                                                                                                            CR
                                                                                                                                                                                                 T
                                                                                                                                                                                                          CAL
                                                   Sequencing adapter oligonucleotides Dissolve the oligos in TE or ddH2O                  temperature should be 4 °C, and the water bath should be degassed for
                                                   in separate microcentrifuge tubes to a final concentration of 100 µM each.              30 min before shearing.
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                                                          D
                                                   PROCE
                                                                    URE
                                                    onication of D      ● IMI G 1 h
                                                   S
                                                                                       NA
                                                                                            T
                                                                                                N
                                                    I I        The following procedure is presented for a single sample; however, the protocol can be scaled up for an
                                                           CR
                                                                T
                                                                          CAL
                                                   arbitrary number of DNA samples.
                                                   1| For each library, dilute the DNA into a final volume of 130 µl of TElow. For samples that do not use targeted capture,
                                                   we typically start with 200–500 ng of DNA. For targeted capture, we typically start with 1–3 µg of DNA.

                                                   2| Transfer the DNA to a Covaris sonication tube and shear DNA using the settings outlined in Equipment Setup.
                                                    I I             Ensure that there are no air bubbles in the bottom of the tube after loading the sample. In the case of air
                                                           CR
                                                                T
                                                                          CAL
                                                                                STEP
                                                   bubbles, gently tap or shake to bring the solution to the bottom of the well. In addition, the water bath temperature should
                                                   be 4 °C, and the water bath should be degassed for 30 min before shearing.

                                                   3| Vortex the room-temperature AMPure XP bead mixture to resuspend any magnetic particles that may have settled.
                                                    I I            The beads must be at room temperature before use. A cold bead mixture significantly reduces yield.
                                                           CR
                                                                T
                                                                          CAL
                                                                                STEP
                                                   4| Split the 130 µl of sonicated DNA into 2 × 65-µl aliquots in 0.2-ml PCR tubes.

                                                   5| Add 130 µl of AMPure XP beads to each PCR tube (2:1 bead:sample ratio) and mix well by vortexing or by pipetting up
                                                   and down. The 2:1 ratio is used to ensure the maximal retention of all DNA.

                                                   6| Incubate the mixture for 5 min at room temperature.

                                                   7| Place PCR tubes onto the DynaMag-96 side magnetic plate separator (or equivalent) for at least 2 min or until all the
                                                   beads are out of solution. Visually confirm that the beads have moved to the side of the tubes and that the solution is clear.

                                                   8| Aspirate the supernatant from each tube and discard it. Keep the tubes on the magnetic plate separator.

                                                   9| Carefully dispense 200 µl of room-temperature 75% (vol/vol) ethanol to each PCR tube and incubate the tubes for
                                                   30 s at room temperature.

                                                   10| Aspirate out the ethanol and discard it. Repeat Steps 9 and 10 once more for a total of two washes.

                                                   11| Allow the beads to dry for 5 min at room temperature until there are no visible traces of ethanol.
                                                    I I            Overdrying or underdrying the beads reduces yield.
                                                           CR
                                                                T
                                                                          CAL
                                                                                STEP
                                                   12| Remove the PCR tubes from the magnetic plate separator and add 40 µl of ddH2O to only one of the two tubes of each
                                                   sample and resuspend.



                                                                                                                                                                    nature protocols | VOL.9 NO.11 | 2014 | 2595
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                                                       protocol

                                                   13| Carefully transfer the resuspended bead mixture to the second sample PCR tube and resuspend the beads. Let the bead
                                                   mixture sit for at least 2 min.

                                                   14| Place the tube containing the combined sample back on the magnetic plate separator for 2 min or until the supernatant
                                                   is clear. Transfer the supernatant to a new 0.2-ml PCR tube. Discard the beads.
                                                                I Samples can be stored at −20 °C for several weeks.
                                                           PAUSE
                                                                    PO
                                                                         NT
                                                    nd repair of sonicated D     and size selection ● IMI G 1 h
                                                   E
                                                                                  NA
                                                                                                               T
                                                                                                                    N
                                                   15| Combine the components in the table below in a 0.2-ml PCR tube and mix them carefully by pipetting up and down.
                                                   Incubate the mixture in a thermocycler for 30 min at 20 °C.

                                                           eagent                               Volume (ml)        Final concentration
                                                       R
                                                       DNA from Step 14                              40                      Variable

                                                       10× NEBNext end-repair buffer                  5                        1×

                                                       NEBNext end-repair enzyme Mix                  5                        N/A
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                                                   16| Add 35 µl of AMPure XP beads (0.7:1 bead:sample ratio) and incubate the tube at room temperature for 5 min. This
                                                   selects against large (>500 bp), poorly sheared DNA fragments.

                                                   17| Place the tube containing the end-repaired DNA onto the magnetic plate separator for at least 2 min or until all the
                                                   beads are out of solution, and then transfer the supernatant (should be 85 µl) to a new 0.2-ml PCR tube. Discard the beads.

                                                   18| Add 55 µl of AMPure XP beads to the sample and incubate the tube at room temperature for 5 min. Place the PCR tube
                                                   onto the magnetic plate separator for at least 2 min or until all the beads are out of solution, and discard the 140-µl
                                                   supernatant. Keep the beads.

                                                   19| Repeat the double 75% (vol/vol) ethanol wash outlined in Steps 9–11.

                                                   20| Remove the PCR tube from the magnet and add 42 µl of ddH2O to each sample and gently pipette up and down until the
                                                   beads are resuspended. Let the bead mixture sit for at least 2 min.

                                                   21| Place the PCR tube back onto the magnetic plate separator for at least 2 min or until all the beads are out of solution,
                                                   and then transfer the supernatant to a new 0.2-ml PCR tube.
                                                              I Samples can be stored at −20 °C for up to several weeks.
                                                           PAUSE
                                                                    PO
                                                                         NT
                                                   3′ -tailing of blunt-ended D     library ● IMI G 1 h
                                                            A
                                                                                       NA
                                                                                                      T
                                                                                                          N
                                                   22| Combine the components in the table below in a 0.2-ml PCR tube and mix them carefully by pipetting up and down.
                                                   Incubate the mixture in a thermocycler for 30 min at 37 °C.

                                                           eagent                           Volume (ml)       Final concentration
                                                       R
                                                       DNA from Step 21                         42                 Variable

                                                       10× NEBNext dA-tailing buffer             5                      1×

                                                       NEBNext Klenowexo−                        3


                                                   23| Add 60 µl of AMPure XP beads (1.2:1 bead:sample ratio) and mix. The bead ratio selects against DNA fragments <150 bp
                                                   in size. Incubate the tube for 5 min at room temperature.

                                                   24| Place A-tailed DNA sample onto the magnetic plate separator for at least 2 min or until all the beads are out of solution,
                                                   and then remove and discard the supernatant.



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                                                                                                                                                                                         protocol

                                                   25| Repeat the double 75% (vol/vol) ethanol wash outlined in Steps 9–11.

                                                   26| Remove the tube from the magnetic plate separator and resuspend the beads in 37 µl of ddH2O. Let the bead mixture sit
                                                   for at least 2 min.

                                                   27| Place the sample back onto the magnetic plate separator for at least 2 min or until all the beads are out of solution, and
                                                   then transfer the 37 µl of eluent to a new 0.2-ml PCR tube.
                                                              I Samples can be stored at −20 °C for several weeks.
                                                                      PAUSE
                                                                                        PO
                                                                                                    NT
                                                   28| Remove 2 µl from the A-tailed library and quantify the amount of DNA using the high-sensitivity kits for either the
                                                   Agilent TapeStation 2200 or Agilent Bioanalyzer 2100, according to the manufacturer’s instructions.
                                                   ?           H     I G
                                                           TROUBLES
                                                                                                          OOT
                                                                                                                N
                                                     igation of D adapters to sample D         ● IMI G 1 h
                                                   L
                                                                                                         S
                                                                                                                    NA
                                                                                                                            T
                                                                                                                                     N
                                                   29| By using the amount of sample DNA determined in Step 28, calculate the amount of DS adapters (synthesized as
                                                   described in oxes 1 and 2) that will be needed for a 20:1 molar excess relative to the total DNA concentration in the final
                                                                                             B
                                                   ligation reaction. If necessary, dilute the adapters in ddH2O to an easily pipetteable volume.
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                                                   30| Mix the following components, in order, in a 0.2-ml PCR tube, and mix them carefully by pipetting up and down.
                                                   As noted in Step 29, the volumes of adapters and water that are used will need to be adjusted on the basis of the
                                                   DNA concentration of your sample, but the total volume should be 60 µl.

                                                                      eagent                                             Volume (ml)     Final concentration
                                                       R
                                                       DNA from Step 27                                                         35            Variable

                                                       10× Ultrapure ligation buffer                                             6               1×

                                                       Duplex Sequencing adapters (50 µM)                                  Variable           Variable

                                                       ddH2O                                                               Variable             N/A

                                                       Ultrapure T4 ligase (600 U/µl)                                            6            60 U/µl

                                                       Total volume                                                             60



                                                   31| Incubate the tube for 15 min at 25 °C in a thermocycler (no heated lid).

                                                   32| Add 60 µl of AMPure beads (1.2× bead:sample ratio) and mix. This ratio selects against DNA fragments <150 bp in size.
                                                   Incubate the tube for 5 min at room temperature.

                                                   33| Place the PCR tube containing the ligated sample onto the magnetic plate separator for at least 2 min or until all the
                                                   beads are out of solution. Remove and discard the supernatant.

                                                   34| Repeat the double 75% (vol/vol) ethanol washes outlined in Steps 9–11, with the exception that the beads be fully
                                                   resuspended in the ethanol by vortexing before being placed on the magnetic separator. Dry the beads for 5 min at
                                                   37 °C in a heat block with the tube cap opened.
                                                    I I              Resuspending the magnetic beads during the ethanol washes is essential for removing adapter dimers
                                                                        CR
                                                                              T
                                                                                  CAL
                                                                                             STEP
                                                   that form during ligation. Failure to do so will adversely affect the downstream PCR steps. Removal of any residual ethanol
                                                   by drying at 37 °C is also important, as ethanol inhibits PCR.

                                                   35| Remove samples from the magnetic separator and add 30 µl of TElow to each sample. After 2 min, place the samples back on
                                                   the magnetic separator for 2 min or until the supernatant is clear. Transfer the 30 µl of supernatant to a new 0.2-ml PCR tube.
                                                              I Samples can be stored at −20 °C for several weeks.
                                                                      PAUSE
                                                                                        PO
                                                                                                    NT
                                                                                                                                                               nature protocols | VOL.9 NO.11 | 2014 | 2597
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                                                         protocol

                                                       amplification ● IMI G 1 h
                                                   PCR
                                                                                                                          T
                                                                                                                                  N
                                                   36| Quantify the molar amount of adapter-ligated DNA library from Step 35 on an Agilent TapeStation 2200 or Bioanalyzer
                                                   2100. The ligation reaction can result in multiple peaks; we quantify all DNA seen between 200 and 900 bp (Fig. 6c).
                                                   ?           H     I G
                                                             TROUBLES
                                                                                                         OOT
                                                                                                                      N
                                                   37| Determine the number of attomoles of input DNA required for PCR on the basis of target size and lane fraction.
                                                   For noncapture experiments, we use 40 amol of input for every 8 million paired-end reads. For capture of mtDNA,
                                                   we use ~2 fmol of total DNA for the same number of reads. For nuclear DNA capture (20 kb target size), we use ~600 fmol
                                                   of total DNA per 8 million reads. The formula for estimating the total DNA input is

                                                                                                                                                                                  mG
                                                                                                                                                                   Total DNA =
                                                                                                                                                                                  NT

                                                   where m is the desired amount of target DNA in attomoles of fragments, G is the size of total genome in base pairs,
                                                   T is the size of the target DNA in base pairs and N is the number of copies of the target per copy of the nontarget
                                                   portion of the genome. (Refer to the INTRODUCTION and able 2 for further details.)

                                                                                                                                                                     T
                                                   38| Generate amplified tag families by qPCR. To generate tag families for small homogeneous genomes such as mtDNA or
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                                                   plasmids that do not require targeted capture, follow option A. To generate duplicate families of genomic targets that require
                                                   targeted capture, follow option B.
                                                   ( ) Generation of duplicate families without targeted capture
                                                         A
                                                      (i) Mix the components in the table below in a qPCR-compatible PCR tube, and mix carefully by pipetting up and down.
                                                                               
                                                          The volumes of DNA and water that are used will need to be adjusted on the basis of the DNA concentration and the
                                                          desired input amount of the sample, but the total volume should be 50 µl. See able 3 for MWS13 and MWS21 primer



                                                                                                                                                                                                 T
                                                          sequences.

                                                                                            eagent                                                     Volume (ml)         Final concentration
                                                                                   R
                                                                                   ddH2O                                                                 Variable                       N/A

                                                                                   5× KAPA fidelity buffer                                                 10                           1×

                                                                                   10 mM dNTP mix                                                          1.5                       0.3 mM

                                                                                   20 µM Primer MWS13                                                          1                     0.4 µM

                                                                                   20 µM Primer MWS21                                                          1                     0.4 µM

                                                                                   12.5× SYBR Green                                                            1                     0.25×

                                                                                   DNA (From Step 37)                                                    Variable                   Variable

                                                                                   KAPA HiFi DNA polymerase (1 U/µl)                                           1                    0.02 U/µl

                                                                                   Total volume                                                            50

                                                                        (ii) Incubate the mixture in a qPCR thermocycler as follows:
                                                                               
                                                                                            ycle                                Denature               nneal                    xtend
                                                                                   C
                                                                                                                                                   A
                                                                                                                                                                            E
                                                                                   1                                          95 °C for 4 min          —                        —

                                                                                   2–variable                                 98 °C for 20 s    60 °C for 20 s           72 °C for 15 s

                                                                               I I             The number of PCR cycles is a crucial variable; a difference of a single cycle can result in nonspecific,
                                                                         	
                                                                                       CR
                                                                                              T
                                                                                                   CAL
                                                                                                               STEP
                                                                              higher-molecular-weight products appearing (Fig. 6b). See ‘PCR Amplification’ in the INTRODUCTION for details on
                                                                              determining the number of PCR cycles.




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                                                                                                                                                                                                   protocol

                                                   ( ) Generation of duplicate families for targeted D       capture
                                                    B
                                                                                                                                              NA
                                                      (i) Dilute the DNA from Step 37 to a final volume of 30 µl with ddH2O (see ‘PCR Amplification’ in the INTRODUCTION
                                                              
                                                          and able 2). We have found that splitting the input DNA into three equal aliquots and performing a separate
                                                                                 T
                                                          PCR on each sample aliquot provides enough PCR product for targeted capture (each PCR will contain one-third of the
                                                          total input DNA).
                                                     (ii) For each PCR, mix the components in the tables below in a qPCR-compatible PCR tube and mix carefully by pipetting
                                                              
                                                          up and down (see able 3 for MWS13 and MWS20 primer sequences):
                                                                                                              T
                                                                        eagent                                                   Volume (ml)       Final concentration
                                                                  R
                                                                  ddH2O                                                                24.5                   N/A

                                                                  5× KAPA fidelity buffer                                               10                    1×

                                                                  10 mM dNTP mix                                                        1.5                 0.3 mM

                                                                  20 µM primer MWS13                                                      1                 0.4 µM

                                                                  20 µM primer MWS20                                                      1                 0.4 µM
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                                                                  12.5× SYBR Green                                                        1                 0.25×

                                                                  DNA (from Step 38B(i))                                                10                 Variable

                                                                  KAPA HiFi DNA polymerase (1 U/µl)                                       1                0.02 U/µl

                                                               I I            It is important that the nonindexed primer MWS20 be used and not MWS21.
                                                                            CR
                                                                                     T
                                                                                                CAL
                                                                                                      STEP
                                                        (iii) Incubate the mixture in a qPCR thermocycler as follows:

                                                                      ycle                                        Denature            nneal               xtend
                                                                  C
                                                                                                                                  A
                                                                                                                                                      E
                                                                  1                                          95 °C for 4 min          —                   —

                                                                  2–Variable                                 98 °C for 20 s    60 °C for 20 s      72 °C for 15 s

                                                               I I             The number of PCR cycles is a crucial variable; a difference of a single cycle can result in
                                                                            CR
                                                                                     T
                                                                                                CAL
                                                                                                      STEP
                                                              nonspecific, higher-molecular-weight products appearing (Fig. 6b). See ‘PCR Amplification’ in the INTRODUCTION for
                                                              details on determining the number of PCR cycles.

                                                   39| Transfer and pool all the PCRs from a single sample into a single 1.7-ml microcentrifuge tube.

                                                   40| Add 1.0 volumes of AMPure XP beads to the pooled PCRs (typically 50 µl of beads for every 50 µl of PCR). The bead ratio
                                                   selects against DNA fragments <200 bp in size. Incubate the mixture for 5 min at room temperature.

                                                   41| Place the PCR sample onto a magnetic separator for at least 2 min or until all the beads are out of solution, and then
                                                   remove and discard the supernatant.

                                                   42| Remove the beads from the magnetic plate and resuspend them in 200 µl of room-temperature 75% (vol/vol) ethanol
                                                   by vortexing.
                                                    I I            Failure to completely resuspend the beads during this step can lead to the retention of nonspecific
                                                         CR
                                                              T
                                                                      CAL
                                                                                         STEP
                                                   PCR products ( upplementary Fig. 6).
                                                                                                S
                                                   43| Place the microcentrifuge tube onto a magnetic separator for at least 2 min or until all the beads are out of solution,
                                                   and then remove and discard the supernatant.

                                                   44| Repeat Steps 42 and 43. Let the beads dry for 5 min.

                                                   45| Remove the microcentrifuge tube from the magnetic plate separator and resuspend the beads in 20 µl of ddH2O.
                                                   Let the bead mixture sit for at least 2 min.



                                                                                                                                                                         nature protocols | VOL.9 NO.11 | 2014 | 2599
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                                                    protocol

                                                   46| Place the sample onto the magnetic separator for at least 2 min or until all the beads are out of solution, and then
                                                   transfer the 20 µl of eluent to a new 0.2-ml PCR tube.
                                                               I Samples can be stored at −20 °C for several weeks.
                                                                   PAUSE
                                                                                     PO
                                                                                                      NT
                                                   47| Quantify the final bead-purified PCR products between 200 and 900 bp using an Agilent TapeStation 2200 or Bioanalyzer 2100.
                                                   If targeted capture is being performed, continue to Step 48; otherwise, the sample can be submitted for sequencing at this point.
                                                   ?             H    I G
                                                        TROUBLES
                                                                                                           OOT
                                                                                                                 N
                                                   ( ptional) argeted D       capture ● IMI G 24 h
                                                    O
                                                                                           T
                                                                                                                     NA
                                                                                                                                     T
                                                                                                                                            N
                                                   48| Remove 200 ng of purified PCR product from Step 47 and lyophilize it completely using a vacuum centrifuge.
                                                   Resuspend it in 1.7 µl of ddH2O.
                                                   ?           H     I G
                                                        TROUBLES
                                                                                                           OOT
                                                                                                                 N
                                                   49| Perform targeted DNA capture according to the Agilent SureSelectXT instructions (version 1.6). Alternatively,
                                                   we routinely perform the targeted capture at 0.25× volume reduction, relative to those recommended by the manufacturer.
                                                   The lower volume capture greatly reduces cost, with no adverse effects noted. The 0.25× capture follows the standard
                                                   Agilent SureSelectXT protocol with all reagent volumes reduced by three-quarters. The final capture DNA should be eluted
                                                   in 30 µl of ddH2O.
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                                                   50| PCR-amplify the 30 µl of captured sample by mixing the components in the table below in a qPCR-compatible
                                                   PCR tube and mix carefully by pipetting up and down (see able 3 for MWS13 and MWS21 primer sequences):
                                                                                                                                                                    T
                                                                   eagent                                                                Volume (ml)            Final concentration
                                                    R
                                                    ddH2O                                                                                       5                         N/A
                                                    5× KAPA fidelity buffer                                                                     10                         1×
                                                    10 mM dNTP mix                                                                              1                        0.2 mM
                                                    20 µM primer MWS13                                                                          1                        0.4 µM
                                                    20 µM primer MWS21                                                                          1                        0.4 µM
                                                    12.5× SYBR Green                                                                            1                        0.25×
                                                    Captured DNA (from Step 49)                                                                 30                      Variable
                                                    KAPA HiFi DNA polymerase (1 U/µl)                                                           1                       0.02 U/µl

                                                    I I            For DNA prepared using target capture, it is essential to use all the DNA from the targeted capture to
                                                                     CR
                                                                           T
                                                                               CAL
                                                                                               STEP
                                                   maintain sample diversity.

                                                   51| Incubate the mixture in a qPCR thermocycler as follows:

                                                             ycle                                     Denature                   nneal                      xtend
                                                    C
                                                                                                                             A
                                                                                                                                                        E
                                                    1                                     95 °C for 4 min                        —                          —

                                                    2–30                                  98 °C for 20 s                  60 °C for 20 s             72 °C for 15 s

                                                    I I             The number of PCR cycles is a crucial variable; a difference of a single cycle can result in nonspecific,
                                                                     CR
                                                                           T
                                                                               CAL
                                                                                               STEP
                                                   higher-molecular-weight products appearing. We monitor the reaction by the SYBR Green signal, and we remove the tube one
                                                   or two cycles before the signal plateaus. The SYBR Green signal typically begins to plateau between cycles 15 and 22.

                                                   52| Purify each completed PCR by repeating Steps 40–44.
                                                              I Samples can be stored at −20 °C for several weeks.
                                                                   PAUSE
                                                                                     PO
                                                                                                      NT
                                                   53| Quantify the final bead-purified PCR products between 200 and 900 bp using an Agilent TapeStation 2200 or
                                                   Bioanalyzer 2100 and submit for sequencing.
                                                   ?           H     I G
                                                        TROUBLES
                                                                                                           OOT
                                                                                                                 N
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                                                                                                                                                                    protocol

                                                     ioinformatic processing: prepare a reference genome for use with W and Mtools ● IMI G variable
                                                   B
                                                                                                                             B
                                                                                                                                 A
                                                                                                                                     SA
                                                                                                                                                   T
                                                                                                                                                        N
                                                   54| First, download and decompress the genome of interest. For the human nuclear and mitochondrial genomes,
                                                   we use v37 of the human reference genome from the 1,000 Genomes Project. This reference genome can be obtained at
                                                   ftp://ftp-trace.ncbi.nih.gov/1000genomes/ftp/technical/reference/human_g1k_v37.fasta.gz. Alternatively, the hg19
                                                   reference genome from the University of California, Santa Cruz (UCSC) Genome Browser can be used.

                                                   55| The reference genome must be indexed before being used with BWA. Follow the instructions on the website
                                                   (http://bio-bwa.sourceforge.net/bwa.shtml) using the recommended options relevant to the genome of interest.
                                                    I I              The bioinformatics steps outlined in this protocol are specific to BWA. We have not used other sequencing
                                                        CR
                                                              T
                                                                  CAL
                                                                        STEP
                                                   aligners, and their compatibility with the downstream bioinformatics steps is not known.

                                                    ioinformatic processing: parsing and filtering duplex tags ● IMI G variable
                                                   B
                                                                                                                     T
                                                                                                                         N
                                                   56| Concatenate the 12-nt tag sequences from the paired reads and evaluate for tag quality using ‘tag_to_header.py’ using
                                                   the following command:
                                                             python tag_to_header.py --infile1 read_1.fq --infile2
                                                             read_2.fq --outfile1 read_1.fq.smi --outfile2
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                                                             read_2.fq.smi –-barcode_length 12 –-spacer_length 5

                                                   This command results in two fastq files (one for each read) that are ready to be aligned. A flowchart schematic can be found
                                                   in upplementary Figure 1.
                                                        S
                                                    I I              If samples are multiplexed within the same sequencing lane, then these samples should be sorted into
                                                        CR
                                                              T
                                                                  CAL
                                                                        STEP
                                                   separate files based on their index sequence before tag parsing.

                                                   57| Align each read to the reference genome:
                                                             bwa aln reference_genome.fasta read_1.fq.smi > read_1.aln
                                                   and
                                                             bwa aln reference_genome.fasta read_2.fq.smi > read_2.aln


                                                   58| Make a single paired-end .sam file:
                                                             bwa sampe –s reference_genome.fasta read_1.aln
                                                   	
                                                             read_2.aln read_1.fq.smi read_2.fq.smi > PE_reads.sam

                                                   59| Convert to .bam format and sort by position:
                                                             samtools view -Sbu PE_reads.sam | samtools sort - PE_reads.sort


                                                    ioinformatics processing: making     s ● IMI G variable
                                                   B
                                                                                        SSCS
                                                                                                  T
                                                                                                      N
                                                   60| Run the Python program ‘ConsensusMaker.py’ to collapse PCR duplicates into SSCS:
                                                             python ConsensusMaker.py --infile PE_reads.sort.bam --
                                                             tagfile PE_reads.tagcounts --outfile SSCS.bam --min 3 --
                                                             max 1000 --cutoff 0.7 --Ncutoff 0.3 --readlength 84 --
                                                             read_type dpm --filt osn
                                                   A detailed flowchart schematic of the program can be found in upplementary Figure 2.
                                                                                                                 S
                                                   61| Sort the SSCS reads:
                                                             samtools view -bu SSCS.bam | samtools sort - SSCS.sort




                                                                                                                                          nature protocols | VOL.9 NO.11 | 2014 | 2601
                                                   Case 1:21-cv-01126-GBW-SRF Document 30 Filed 01/12/22 Page 366 of 439 PageID #: 1812
                                                        protocol

                                                    ioinformatics processing: making D s ● IMI G variable
                                                   B
                                                                                             CS
                                                                                                  T
                                                                                                       N
                                                   62| Construct DCSs from SSCSs using ‘DuplexMaker.py’.
                                                         python DuplexMaker.py --infile SSCS.sort.bam --outfile
                                                   	
                                                         DCS_data --Ncutoff 0.3 --read_length 84
                                                   A detailed flowchart schematic of the program can be found in upplementary Figure 3.




                                                                                                                  S
                                                   63| Align each DCS .fastq to the reference genome:
                                                         bwa aln reference_genome.fasta DCS_data_read_1.fq >
                                                         DCS_data_read_1.aln
                                                   and
                                                         bwa aln reference_genome.fasta DCS_data_read_2.fq >
                                                         DCS_data_read_2.aln

                                                   64| Make a paired-end .sam file for the DCS data:
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                                                         bwa sampe –s reference_genome.fasta DCS_data_read_1.aln
                                                   	
                                                         DCS_data_read_2.aln DCS_data_read_1.fq
                                                         DCS_data_read_2.fq > DCS_PE.aln.sam

                                                   65| Convert to .bam format and sort by position:
                                                         samtools view -Sbu DCS_PE.aln.sam | samtools sort –
                                                         DCS_PE.aln.sort

                                                    ioinformatics processing: prepare files for analysis ● IMI G variable
                                                   B
                                                                                                             T
                                                                                                                  N
                                                   66| Index the final sorted DCS .bam file:
                                                         samtools index DCS_PE.aln.sort.bam

                                                   67| Filter out unmapped reads from the final DCS .bam file:
                                                         samtools view -F 4 -b DCS_PE.aln.sort.bam >
                                                         DCS_PE.filt.bam

                                                   68| Add readgroups field to the header of the final DCS .bam file with Picard to allow for compatibility with the GATK using
                                                   Picard tools. An example command is provided below:
                                                         java -jar –Xmx2g AddOrReplaceReadGroups.jar
                                                         INPUT=DCS.filt.bam OUTPUT=DCS_PE.filt.readgroups.bam
                                                         RGLB=UW RGPL=Illumina RGPU=ATATAT RGSM=default

                                                   69| Index the final sorted DCS .bam file:
                                                         samtools index DCS_PE.filt.readgroups.bam

                                                   70| Perform local re-alignment of the reads using GATK. First identify the genome targets for local re-alignment.
                                                   An example command is as follows:
                                                         java -Xmx2g -jar GenomeAnalysisTK.jar -T
                                                   	
                                                         RealignerTargetCreator -R reference_genome.fasta -I
                                                         DCS_PE.filt.readgroups.bam -o
                                                         DCS_PE.filt.readgroups.intervals

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                                                                                                                                                                   protocol
                                                   This command is followed by the actual local re-alignment. An example command is as follows:
                                                                        java -Xmx2g -jar GenomeAnalysisTK.jar -T IndelRealigner
                                                                        -R reference_genome.fasta -I DCS_PE.filt.readgroups.bam
                                                                        -targetIntervals DCS_PE.filt.readgroups.intervals -o
                                                                        DCS_PE.filt.readgroups.realign.bam

                                                    I I              Alignment increases the occurrence of false mutations that occur at the 3′ and 5′ ends of the reads,
                                                                   CR
                                                                         T
                                                                             CAL
                                                                                   STEP
                                                   so this step is highly recommended. In addition, local re-alignment must be done after the last alignment step.

                                                   71| Perform end-trimming of DCS reads. An example command that trims five bases from both the 3′ and 5′ ends of each
                                                   read is provided:
                                                                        java -Xmx2g -jar GenomeAnalysisTK.jar -T ClipReads -I
                                                   	
                                                                        DCS_PE_reads.filt.readgroups.realign.bam -o DCS-
                                                                        final.bam -R reference_genome.fasta --cyclesToTrim "1-
                                                   	
                                                                        5,80-84" --clipRepresentation SOFTCLIP_BASES
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                                                    I I             Failure to clip the ends of reads increases the occurrence of false positives that occur during the
                                                                   CR
                                                                         T
                                                                             CAL
                                                                                   STEP
                                                   enzymatic steps used during sequencing library preparation.

                                                     ioinformatics analysis: quality metrics and basic mutation analysis ● IMI G variable
                                                   B
                                                                                                                               T
                                                                                                                                    N
                                                    I I          The processed DCS .bam files can be used in any downstream analysis that is desired. We present the basic data
                                                                   CR
                                                                         T
                                                                             CAL
                                                   analysis protocol that we currently use.
                                                   72| Plot the tag family size distribution (see Fig. 4 as an example). The information for this plot is found in the ‘PE_reads.
                                                   tagstats’ file created in Step 60. Plot the family size (column 1) on the x axis and the fraction of total reads (column 3)
                                                   on the y axis.
                                                   ?             H     I G
                                                        TROUBLES
                                                                                          OOT
                                                                                                N
                                                   73| Make a pileup file from the final DCS reads using the following example command:
                                                                        samtools mpileup -B –A -d 500000 -f
                                                                        reference_genome.fasta DCS-final.bam > DCS-
                                                                        final.bam.pileup


                                                   74| Count the number of unique mutations present in the final DCS sequences and calculate their frequencies:
                                                                        cat DCS-final.bam.pileup | python CountMuts.py -d 100 -c 0 -C
                                                                        0.01 -u > DCS-final.bam.pileup.countmuts

                                                      The optional argument -u invokes unique mutation counting; if it is left out, all mutations are counted, instead of
                                                   only counting each type of mutation at each position once. The argument -d specifies that a minimum depth of 100 is
                                                   required to score a position, and -C indicates that only mutations present at a clonality of <1% are counted. The output
                                                   file lists the number and frequency of mutations with Wilson confidence intervals for each type of mutation, as well as
                                                   total mutation frequency.

                                                   75| Locate the genomic position of each mutation:
                                                                        python mut-position.py -i DCS-final.bam.pileup -o DCS-
                                                   	
                                                                        final.bam.pileup.mutpos -d 100 –C .01

                                                     This program outputs a tab-delimited file containing the following information for each genomic position in the
                                                   reference genome: chromosome, position, wild-type base identity, depth, total number of mutations observed, number
                                                   of nonreference Ts, number of nonreference Cs, number of nonreference Gs, number of nonreference As, number of
                                                   nonreference insertions, and number of nonreference deletions.

                                                                                                                                         nature protocols | VOL.9 NO.11 | 2014 | 2603
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                                                       protocol
                                                   ?           H    I G
                                                           TROUBLES
                                                                           OOT
                                                                                   N
                                                   Troubleshooting advice can be found in able 4.




                                                                                                         T
                                                       able 4 | Troubleshooting table.
                                                   T
                                                               tep        roblem                             ossible reason                  olution
                                                       S
                                                                      P
                                                                                                     P
                                                                                                                                         S
                                                         ox 1,        Sample becomes cloudy upon     Precipitation of enzymes and        Precipitate does not affect downstream steps or library
                                                       B
                                                       steps 3        addition of ethanol            buffer salts                        preparation. Continue with the protocol
                                                       and 6

                                                        ox 1,         Adapters are not properly      Adapters are not fully extended     Replace reagents, re-anneal oligonucleotides and
                                                       B
                                                       Step 12        synthesized (bands in lane 4   (Fig. 3a, lane 2 does not match)    perform the extension reaction again
                                                                      of Fig. 3a do not match)

                                                                                                     Adapters are incompletely cut       Add an additional 2 µl of HpyCH4III and incubate
                                                                                                     (Fig. 2a, lane 3 does not match)    overnight at 37 °C. If necessary, replace enzyme and
                                                                                                                                         start the synthesis over again

                                                                                                     Restriction fragment is still       Perform ethanol precipitation again using the protocol
                                                                                                     present after final ethanol         outlined in step 5 of ox 1
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                                                                                                                                                                 B
                                                                                                     precipitation (Fig. 3a, band f
                                                                                                     still present in lane 4)

                                                       28, 36         No DNA is detectable           Ethanol concentration used          Remake the 75% (vol/vol) ethanol and start over
                                                                      during quantification          during the washes is too low

                                                                                                     Not enough DNA 1s used during       Repeat the library preparation with a larger amount
                                                                                                     library preparation                 of input DNA

                                                       47, 53         Dimerized adapter or           Adapter dimers are not              Bring the volume up to 50 µl with ddH2O and repeat the
                                                                      nonspecific PCR products       efficiently removed                 bead clean-up (Steps 40–44; upplementary Fig. 6b)




                                                                                                                                                                      S
                                                                      are present after cleaning
                                                                      with AMPure XP beads

                                                                      No DNA is detectable           DNA concatemerization owing         Run a titration of the PCR cycle number. Quantify
                                                                      during quantitation or         to too many PCR cycles              the unpurified PCR on a TapeStation or Bioanalyzer
                                                                      large-molecular-weight                                             to confirm that the expected product is present
                                                                      products are present                                               (see Fig. 6a for an example). Rerun the PCR steps as
                                                                                                                                         outlined in the PROCEDURE and remove the samples
                                                                                                                                         at the determined cycle

                                                                                                     Ethanol concentration used          Remake the 75% (vol/vol) ethanol and repeat PCR
                                                                                                     during the washes is too low

                                                       48             Not enough DNA is present to Not enough DNA is produced            Perform additional PCRs under the same conditions to
                                                                      perform targeted capture     during PCR amplification              obtain additional DNA, pool all the reactions, and purify
                                                                                                                                         the DNA (Steps 38B–47)

                                                       72             Not enough depth is            Too much DNA is used during the Sequence the sample again (do not re-do the PCR) and
                                                                      obtained and the peak family   initial PCR or too small a lane pool the raw sequencing reads prior to data analysis.
                                                                      size is too small              fraction was used               See upplementary able 2 to determine the lane
                                                                                                                                               S
                                                                                                                                                             T
                                                                                                                                     fraction needed to obtain a peak family size of six

                                                                      Not enough depth is            Too little DNA is used during the   Depth is directly proportional to the number of
                                                                      obtained and the peak family   initial PCR                         DCS reads, which is directly proportional to the number of
                                                                      size is too large                                                  DNA molecules used as input in the PCR. If the number
                                                                                                                                         of molecules was too low, the depth will be too low.
                                                                                                                                         Further resequencing will only increase the family size,
                                                                                                                                         not the depth. Divide your peak family size by six, which
                                                                                                                                         is the optimal peak family size. Then increase the DNA
                                                                                                                                         amount in the PCR proportionally. For example, if the
                                                                                                                                         obtained peak family size is 24, 24/6 = 4, 4× more
                                                                                                                                         DNA is needed in the PCR


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                                                   ● IMI G
                                                         T
                                                                                          N
                                                   Steps 1–14, sonication of DNA: 1 h
                                                   Steps 15–21, end repair of sonicated DNA and size selection: 1 h
                                                   Steps 22–28, 3′ dA-tailing of end-repaired DNA: 1 h
                                                   Steps 29–35, ligation of DS adapters to sample DNA: 1 h
                                                   Steps 36–47, PCR amplification: 1 h
                                                   Steps 48–53 (optional), targeted DNA capture: 24 h
                                                   Steps 54–75, bioinformatic processing: variable and dependent on computational resources
                                                    ox 1, synthesis of DS adapters: 2 d
                                                   B
                                                    ox 2, optional quality control steps for adapter synthesis using radiolabeled adapters and PAGE: 1 d
                                                   B
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                                                                                        PATE
                                                                                                                  RESULTS
                                                   We have applied DS to a number of biological systems, including the M13mp2 phagemid19, human mtDNA from frozen
                                                   brain tissue33 and human nuclear DNA from both frozen and formalin-fixed samples (M.J.P., E.J.F. and L.A.L.; unpublished
                                                   results). We consistently observe a >50,000-fold reduction in the apparent mutation frequency in these samples, relative to
                                                   conventional NGS methods. We have found that SSCS formation is capable of removing almost all sequencer-derived false
                                                   positives, which account for >99% of all artifacts. However, this step is unable to remove artifacts arising from first-round
                                                   PCR errors that have been propagated to all tag family members. The mutational spectrum of the SSCS typically shows a
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                                                   high frequency of G→T mutations, which is the result of fixation of oxidative damage occurring during the DNA purification
                                                   and processing steps19. Formation of the DCS reads consistently removes these artifacts, as well as those from other damage
                                                   events, and it results in a further 90–99+% reduction in mutational artifacts.



                                                   Note: Any Supplementary Information and Source Data files are available in the                                                                      9.  Schmitt, M.W., Prindle, M.J. & Loeb, L.A. Implications of genetic
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                                                                                                          CORRIGENDA

Corrigendum: Detecting ultralow-frequency mutations
by Duplex Sequencing
Scott R Kennedy, Michael W Schmitt, Edward J Fox, Brendan F Kohrn, Jesse J Salk, Eun Hyun Ahn, Marc J Prindle,
Kawai J Kuong, Jiang-Cheng Shen, Rosa-Ana Risques & Lawrence A Loeb
Nat. Protoc. 9, 2586–2606 (2014); doi:10.1038/nprot.2014.170; corrected online 22 October 2014
In the version of this article initially published online, the sequence for the MWS21 oligonucleotide was incorrectly listed in
Table 3 as 5′-CCAGCAGAAGACGGCATACGAGATXXXXXXGTGACTGGAGTTCAGACGTGTGC-3′. The second nucleotide in the sequence
should be A, not C, and the correct sequence is 5′-CAAGCAGAAGACGGCATACGAGATXXXXXXGTGACTGGAGTTCAGACGTGTGC-3′.
The error has been corrected in the PDF and HTML versions of this article.




                                                                                                             nature protocols
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                            EXHIBIT J
     Case 1:21-cv-01126-GBW-SRF
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                                               end-to-end solution, Filed  01/12/22biochemistry
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                            is now revealed.
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         American Society of Hematology (ASH 2020) December 5-8, 2020
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                                            Direct Quantification of In
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                                                Carcinogenesis Using
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       by reducing error rates from about 1-in-100 to 1-in-10
       million.

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       unparalleled sensitivity and unprecedented specificity.




       A complete solution
       Overcoming obscurity in 5 Days
       TwinStrand Duplex Sequencing technology is an end-to-end
       solution, from pre-sequencing biochemistry to post-sequencing
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                                                       (click to expand)



       Superior error correction
       Using standard sequencing systems and an easy-to-adopt workﬂow,
       errors are reduced to below one artifactual mutation per ten million
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                                                       (click to expand)



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       Duplex Sequencing can inform critical decisions in clinical medicine,
       public health, and other ﬁelds of science—on a faster time scale,
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       Cancers can be detected and treated sooner. Drug resistance can be
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       Mutagenetic chemicals can be recognized faster.
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                                                                        Technology




       Duplex Sequencing
       Technology


       Duplex Sequencing is an ultra-high accuracy
       sequencing method that overcomes the limitations of
       Next-Generation Sequencing by independently
       tracking both strands of individual DNA molecules. The
       paired sequences are compared to eliminate errors.




       Duplex Sequencing Reveals True
       Mutations

               > 10,000 fold increase in accuracy over standard NGS
               Eliminates virtually all background errors, revealing ultra-low
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               Compatible with any Illumina® sequencer
               Easy to adopt with no special equipment needed


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                                                                        Technology




       The same gene sequenced by standard Illumina® sequencing (left)
       and with Duplex Sequencing (right). With conventional methods,
       every position in the gene appears mutated in 0.1 – 1% of molecules
       sequenced. Duplex Sequencing eliminates the background noise,
       revealing the previously hidden true mutation.




       Duplex Sequencing Eliminates
       Technical Noise

               Duplex Sequencing capitalizes on the naturally-occurring
               complementarity between strands of the DNA double-helix
               Each strand of each original molecule is uniquely labelled such
               that both can be tracked throughout ampliﬁcation and
               sequencing for subsequent error correction




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                                                                        Technology

       TwinStrand’s Duplex Sequencing product oﬀers the greatest
       accuracy in DNA sequencing available today. Our kits include
       everything needed to convert DNA into Duplex Libraries, ready to
       run on any Illumina® sequencer. The robust 2 – 3 day hybrid capture-
       based workﬂow is familiar to and easily integrated into existing
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       Our platform includes access to a secure cloud-based
       bioinformatics pipeline. The pipeline is expertly tuned and optimized
       for accurate, easy-to-use, primary and secondary analysis.




                               TwinStrand Duplex
                                  Sequencing




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                                                                        Technology




          You bring:

                  DNA sample
                  Water and ethanol




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                                                                        Technology




          We provide library prep kit:

                  Duplex-optimized library preparation reagents
                  DuplexSeqTM adapters
                  Dual unique indexes
                  PCR reagents
                  Hybrid capture reagents
                  Magnetic beads
                  TwinStrand DNA standards



          Multi-box conﬁguration facilitates best practices, separating pre-
          and post- PCR protocol steps.




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                                                                        Technology




          You bring:

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                                                                        Technology




          We provide bioinformatics solution:
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                  Easy-to-use, secure cloud-based software hosted on DNAnexus®
                  Processes raw read ﬁles to produce duplex error-corrected
                  sequences, variant calls, and assay quality metrics
                  Industry standard formats compatible with existing annotation




          Inputs: demultiplexed FASTQ ﬁles from any Illumina® platform

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                                                                        Technology



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                                                        Applications




       Duplex Sequencing solves
       genetic
       needle-in-a-haystack
       challenges




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                                                                   Applications

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       for rare variant detection with many diverse applications.
       TwinStrand has purpose-built solutions for mutagenesis and AML
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       Direct Quantiﬁcation of In Vivo Mutagenesis and Carcinogenesis
       Using Duplex Sequencing




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       Enhancing the Accuracy of Next-Generation Sequencing for
       Detecting Rare and Subclonal Mutations




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                                                                  Publications




       Next-Generation Genotoxicology: Using Modern Sequencing
       Technologies to Assess Somatic Mutagenesis and Cancer Risk




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       Ultra-Sensitive TP53 Sequencing for Cancer Detection Reveals
       Progressive Clonal Selection in Normal Tissue Over a Century of
       Human Lifespan




           PNAS. December 2020

                                            Charles C. Valentine III, Robert R. Young, Mark R. Fielden et al.

           Direct Quantiﬁcation of In Vivo Mutagenesis and Carcinogenesis
           Using Duplex Sequencing

           pnas.org/content/117/52/33414




           Blood Cancer Journal. 2020                         Nicholas J. Short and Hagop Kantarjian et al.

           Ultra-accurate Duplex Sequencing for the assessment of
           pretreatment ABL1 kinase domain mutations in Ph+ ALL

           DOI: 10.1038/s41408-020-0329-y                                               PubMed: 32457305




           PNAS. 2019                                        Lawrence A. Loeb and Brendan F. Kohrn et al.


           Extensive Subclonal Mutational Diversity in Human Colorectal
           Cancer and its Signiﬁcance

           DOI: 10.1016/j.ygyno.2019.11.124                                              PubMed: 31806761




           PNAS. 2019                                Jiang-Cheng Shen and Ashwini S. Kamath-Loeb et al.




https://twinstrandbio.com/resources/publications/                                                                 7/13
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           A High-Resolution Landscape of Mutations in the BCL6 Super-
           Enhancer in Normal Human B Cells

           DOI: 10.1073/pnas.1914163116                                                 PubMed: 31748270




           Gynecologic Oncology. 2019

                                            Jeffrey D. Krimmel-Morrison and Talayeh S. Ghezelayagh et al.

           Characterization of TP53 Mutations in Pap Test DNA of Women
           with and without Serous Ovarian Carcinoma

           DOI: 10.1016/j.ygyno.2019.11.124                                             PubMed: 31839337




           Environmental and Molecular Mutagenesis. 2019

                                                                        Jesse J. Salk and Scott R. Kennedy

           Next-Generation Genotoxicology: Using Modern Sequencing
           Technologies to Assess Somatic Mutagenesis and Cancer Risk

           10.1002/em.22342                                                             PubMed: 31595553




           Nature Communication. 2019                    Simonetta Andreazza and Colby L. Samstag et al.

           Mitochondrially-Targeted APOBEC1 is a Potent mtDNA Mutator
           Aﬀecting Mitochondrial Function and Organismal Fitness in
           Drosophila

           DOI: 10.1038/s41467-019-10857-y                                              PubMed: 31337756




           Cell Reports. 2019                                 Jesse J. Salk andKaitlyn Loubet-Senear et al.



https://twinstrandbio.com/resources/publications/                                                                 8/13
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           Ultra-Sensitive TP53 Sequencing for Cancer Detection Reveals
           Progressive Clonal Selection in Normal Tissue Over a Century of
           Human Lifespan

           doi.org/10.1016                                                              PubMed: 31269435




           eLife. 2019                                                      Jianing Xu and Ed Reznik et al.

           Abnormal Oxidative Metabolism in a Quiet Genomic
           Background Underlies Clear Cell Papillary Renal Cell Carcinoma

           DOI: 10.7554/eLife.38986                                                    PubMed: 30924768




           Nature. 2018                                         Gannie Tzoneva and Chelsea L. Dieck et al.

           Clonal Evolution Mechanisms in NT5C2 Mutant-Relapsed Acute
           Lymphoblastic Leukaemia

           DOI: 10.1038/nature25186                                                     PubMed: 29342136




           PLoS Genetics. 2018                                Colby L. Samstag and Jake G. Hoekstra et al.


           Deleterious Mitochondrial DNA Point Mutations are
           Overrepresented in Drosophila Expressing a Proofreading-
           Defective DNA Polymerase γ

           DOI: 10.1371/journal.pgen.1007805                                           PubMed: 30452458




           Genome Research. 2018                               Daniela Nachmanson and Shenyi Lian et al.

           Targeted Genome Fragmentation with CRISPR/Cas9 Enables
           Fast and Eﬃcient Enrichment of Small Genomic Regions and
https://twinstrandbio.com/resources/publications/                                                                 9/13
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           Ultra-Accurate Sequencing with Low DNA Input (CRISPR-DS)

           DOI: 10.1101/gr.235291.118                                                    PubMed: 30232196




           Clinical Cancer Research. 2018                   Michael W. Schmitt and Justin R. Pritchard et al.


           Single-Molecule Sequencing Reveals Patterns of Preexisting
           Drug Resistance That Suggest Treatment Strategies in
           Philadelphia-Positive Leukemias

           DOI: 10.1158/1078-0432.CCR-18-0167                                           PubMed: 30042204




           Nature Review Genetics. 2018

                                                    Jesse J. Salk, Michael W. Schmitt, and Lawrence A. Loeb

           Enhancing the Accuracy of Next-Generation Sequencing for
           Detecting Rare and Subclonal Mutations

           10.1038/nrg.2017.117                                                          PubMed: 29576615




           PNAS. 2017                    Supawadee Chawanthayatham and Charles C. Valentine III et al.

           Mutational Spectra of Aﬂatoxin B1 in vivo Establish Biomarkers
           of Exposure for Human Hepatocellular Carcinoma

           DOI: 10.1073/pnas.1700759114                                                  PubMed: 28351974




           PNAS. 2016                                          Kate S. Reid-Bayliss and Sarah T. Arron et al.

           Why Cockayne Syndrome Patients Do Not Get Cancer Despite
           Their DNA Repair Deﬁciency

https://twinstrandbio.com/resources/publications/                                                               10/13
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           DOI: 10.1073/pnas.1610020113                                                PubMed: 27543334




           Anneals of Neurology. 2016                      Jake G. Hoekstra, PhD and Michael J. Hipp et al.


           Mitochondrial DNA Mutations Increase in Early Stage Alzheimer
           Disease and Are Inconsistent with Oxidative Damage

           DOI: 10.1002/ana.24709                                                        PubMed: 27315116




           eLife. 2016                                         Maulik R. Patel and Ganesh K. Miriyala et al.


           A Mitochondrial DNA Hypomorph of Cytochrome Oxidase
           Speciﬁcally Impairs Male Fertility in Drosophila Melanogaster

           DOI: 10.7554/eLife.16923                                                     PubMed: 27481326




           PNAS. 2016                                     Jeffrey D. Krimmel and Michael W. Schmitt et al.


           Ultra-Deep Sequencing Detects Ovarian Cancer Cells in
           Peritoneal Fluid and Reveals Somatic TP53 Mutations in
           Noncancerous Tissues

           DOI: 10.1073/pnas.1601311113                                                 PubMed: 27152024




           Nature Review Clinical Oncology. 2015

                                                           Michael W. Schmitt and Lawrence A. Loeb et al.

           The Inﬂuence of Subclonal Resistance Mutations on Targeted
           Cancer Therapy

           DOI: 10.1038/nrclinonc.2015.175                                             PubMed: 26483300


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           PLoS One. 2015                                        Eun Hyun Ahn and Kensen Hirohata et al.

           Detection of Ultra-Rare Mitochondrial Mutations in Breast Stem
           Cells by Duplex Sequencing

           DOI: 10.1371/journal.pone.0136216                                           PubMed: 26305705




           Neuron. 2015                                         Alicia M. Pickrell and Chiu-Hui Huang et al.


           Endogenous Parkin Preserves Dopaminergic Substantia Nigral
           Neurons Following Mitochondrial DNA Mutagenic Stress

           DOI: 10.1016/j.neuron.2015.06.034                                            PubMed: 26182419




           Nature Methods. 2015                                Michael W. Schmitt and Edward J. Fox et al.

           Sequencing Small Genomic Targets with High Eﬃciency

           DOI: 10.1038/nmeth.3351                                                     PubMed: 25849638




           Nature Protocols. 2014                          Scott R. Kennedy and Michael W. Schmitt et al.

           Detecting Ultralow-Frequency Mutations by Duplex Sequencing

           DOI: 10.1038/nprot.2014.170                                                  PubMed: 25299156




           PLoS Genetics. 2013                                    Scott R. Kennedy and Jesse J. Salk et al.


           Ultra-Sensitive Sequencing Reveals an Age-Related Increase in
           Somatic Mitochondrial Mutations That Are Inconsistent with
           Oxidative Damage

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           DOI: 10.1371/journal.pgen.1003794                                                                  PubMed: 24086148




           PNAS. 2012                                             Michael W. Schmitt and Scott R. Kennedy et al.

           Detection of Ultra-Rare Mutations by Next-Generation
           Sequencing

           PNAS.1208715109                                                                                    PubMed: 22853953




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       Posters


       At TwinStrand we put science ﬁrst in everything we do. We routinely
       present at academic conferences to share our own discoveries as
       well as those made with our many collaborators across the scientiﬁc
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       POSTER: Detection of Ultra-rare Mutations in vivo Establish biomarkers of
       Endogenous and Environmental Exposure



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       POSTER: Duplex Sequencing Detects Rare Subclonal Variants that Mark Early
       Carcinogenesis and Preneoplastic Clonal Evolution


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       POSTER: Duplex Sequencing for MRD Detection in Acute Myeloid Leukemia



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       POSTER: Super CHIP: Duplex Sequencing Reveals Clonal Dynamics in Blood that are
       Magnitudes more Complex than Previously Recognized


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       POSTER: Non-invasive Detection of Aristolochic Acid Exposure Using Ultra-Sensitive
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       POSTER: Redeﬁning “Gold Standard” Ultra-Sensitive Characterization of Commercial
       DNA Standards with Duplex Sequencing


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                                                    Company




      Company




      We are a vibrant young company committed to applying a powerful
      new genomic technology across disciplines to improve human
      health and accelerate scientiﬁc discovery. Our mission is to develop
      and deliver the unprecedented accuracy of Duplex Sequencing™
      Technology to applications in clinical medicine and life sciences
      where it can do the greatest good for the greatest number of
      people. Our approach is multifaceted and encompasses internal
      development projects, external collaborations and empowering of
      partner organizations. Our operation is strongly rooted in academic
      principles of responsible citizenship within the broader scientiﬁc
      community, yet executed with the nimbleness of a startup, such that
      research can be rapidly translated into products that beneﬁt people.


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      Our Team




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       Jesse Salk MD PhD
       Chief Executive Oﬃcer, Chief Scientiﬁc Oﬃcer, Board Member




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       Elena Cant
       Chief Operating Oﬃcer




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       Jeﬀ Grainger JD
       Chief Legal Oﬃcer




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       Kellie Bickel PhD
       Vice President of Intellectual Property




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       Li d      Willi      PhD
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       Lindsey Williams PhD
       Senior Director of Assay Development




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       Clint Valentine MS
       Director of Computational Biology




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       Brett Fritz MS
       Head of Global Sales and Commercial Development




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       Aaron Boswell MBA
       Associate Director of Market Development, Acting Head of Marketing




      Board of Directors




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       Chad Waite
       Chairman of the Board




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       Steve Dow
       Board Member




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       Terry Myerson
       Board Member




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       D. Gary Gilliland MD PhD
       Board Member




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       Jesse Salk MD PhD
       Chief Executive Oﬃcer, Chief Scientiﬁc Oﬃcer, Board Member




      Scientiﬁc Advisors




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       Lawrence A. Loeb MD PhD
       Co-founder, Scientiﬁc Advisor




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       Jerald Radich MD
       Scientiﬁc Advisor




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      In the News




      PRNewswire - November 18, 2020




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      TwinStrand Biosciences Licenses Duplex Sequencing Technology to
      Foundation Medicine
      TwinStrand Biosciences today announced it has entered into a worldwide non-
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      Medicine and its affiliates relating to TwinStrand Duplex Sequencing™ error-correction
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          DNA sequencing, promising early cancer detection and other
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